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United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              12/17/2016
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply        9450 SW Gemini Dr PMB 17548
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
      Crew Capital Group, LLC                                                            Beaverton                                    Oregon 97008-7105
                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name
      Earth Class Mail, Inc.
b. Address (No.,
  street, apt /ste. no.)   9450 SW Gemini Dr #101                                        Stephen Swensen
c. City                                         d. State   e. ZIP + 4
      Beaverton                                 OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt /ste. no)
      Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates
  are unacceptable as identification. The agent must write in identifying
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.                                                                                      (720) 620-1010
                                                                                      9. Name of Firm or Corporation
                                                                                         Crew Capital Group, LLC
 b.                                                                                   10a. Business Address (No., street, apt /ste. no)
                                                                                         548 Market Street
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         San Francisco                                CA        94104
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (720) 720-1010
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.
                                                                                         Financial Services
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)


      Stephen Swensen

13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
                                                                                          name of county and state, and date of registration.




 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)


PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000001
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000002
United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              01/03/2018
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply        177 Huntington Ave Ste 1703 PMB 17548
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
                                                                                                                                      Massachuse
      Crew Capital Group, LLC                                                            Boston                                       tts          02115-3153
                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name
      Earth Class Mail, Inc.
b. Address (No.,
  street, apt /ste. no.)   9450 SW Gemini Dr #101                                        Stephen Swensen
c. City                                         d. State   e. ZIP + 4
      Beaverton                                 OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt /ste. no)
      Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates
  are unacceptable as identification. The agent must write in identifying
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.                                                                                      (720) 620-1010
                                                                                      9. Name of Firm or Corporation
                                                                                         Crew Capital Group, LLC
 b.                                                                                   10a. Business Address (No., street, apt /ste. no)
                                                                                         548 Market Street
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         San Francisco                                CA           94104
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (720) 720-1010
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.
                                                                                         Financial Services
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)


      Stephen Swensen

13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
                                                                                          name of county and state, and date of registration.




 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)


PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000003
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000004
United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              11/11/2020
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply        228 Park Ave S PMB 17548
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
      Crew Capital Group, LLC                                                            New York                                     New York   10003-1502
                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name
      Earth Class Mail, Inc.
b. Address (No.,
  street, apt /ste. no.)   9450 SW Gemini Dr #101                                        Stephen Swensen
c. City                                         d. State   e. ZIP + 4
      Beaverton                                 OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt /ste. no)
      Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates
  are unacceptable as identification. The agent must write in identifying
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.                                                                                      (720) 620-1010
                                                                                      9. Name of Firm or Corporation
                                                                                         Crew Capital Group, LLC
 b.                                                                                   10a. Business Address (No., street, apt /ste. no)
                                                                                         548 Market Street
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         San Francisco                                CA         94104
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (720) 720-1010
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.
                                                                                         Financial Services
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)


      Stephen Swensen

13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
                                                                                          name of county and state, and date of registration.




 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)


PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000005
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000006
United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              12/15/2020
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply        228 Park Ave S PMB 60530
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
      Crew Capital Group                                                                 New York                                     New York   10003-1502
                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name
      Earth Class Mail, Inc.
b. Address (No.,                                                                         Stephen Swensen
  street, apt./ste. no.)   9450 SW Gemini Dr #101                                        Crew Capital Group
c. City                                         d. State   e. ZIP + 4
      Beaverton                                 OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt./ste. no)
      Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates
  are unacceptable as identification. The agent must write in identifying                Kaysville                                    UT
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.
      United States Passport                                                          9. Name of Firm or Corporation
                                                                                         Crew Capital Group
 b.                                                                                   10a. Business Address (No., street, apt./ste. no)
      Drivers License                                                                    228 Park Ave S PMB 60530
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         New York                                     NY         10003-1502
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (801) 410-1800
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.
                                                                                         Accounting/Finance
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)


      Stephen Swensen

13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
      Trevor Rowley - 4730 S. Fort Apache Rd, Suite 300,                                  name of county and state, and date of registration.
      Las Vegas, NV, 89147
      Stephen Swensen - 1148 W Legacy Crossing Blvd,                                     Clark, NV, 2010-03-01
      Suite 300, Centerville, UT 84014
 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)
"See Notarize.com Certificate Of Acknowledgment Attached

PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000007
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000008
LZ000009
United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              05/17/2022
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply         PO Box 4668 PMB 60530
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
    Crew Capital Group                                                                   New York                                     NY        10163-4668
                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name                                                                                  Stephen Swensen
    Earth Class Mail, Inc.                                                               Crew Capital Group
b. Address (No.,
  street, apt /ste. no.)   9450 SW Gemini Dr
c. City                                         d. State   e. ZIP + 4
    Beaverton                                   OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt /ste. no)
    Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates          Kaysville                                    UT
  are unacceptable as identification. The agent must write in identifying
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.                                                                                      8014101800
    United States Passport
                                                                                      9. Name of Firm or Corporation
                                                                                         Crew Capital Group
 b. Drivers License                                                                   10a. Business Address (No., street, apt /ste. no)
                                                                                         228 Park Ave S PMB 60530
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         New York                                     NY        10003-1502
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (801) 410-1800
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.                               Accounting/Finance
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)
    Stephen Swensen



13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
    Nevada Corporate Headquarters - 4730 S. Fort                                          name of county and state, and date of registration.
    Apache Rd, Suite 300, Las Vegas, NV, 89147                                           Clark, NV, 2010-03-01
    Stephen Swensen - 1148 W Legacy Crossing Blvd,
    Suite 300, Centerville, UT 84014
 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)


PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000010
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000011
United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              08/11/2016
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply        548 Market St PMB 17548
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
      Crew Capital Group, LLC                                                            San Francisco                                California 94104-5401

                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name
      Earth Class Mail, Inc.
b. Address (No.,
  street, apt /ste. no.)   9450 SW Gemini Dr #101                                        Stephen Swensen
c. City                                         d. State   e. ZIP + 4
      Beaverton                                 OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt /ste. no)
      Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates
  are unacceptable as identification. The agent must write in identifying
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.                                                                                      (720) 620-1010
                                                                                      9. Name of Firm or Corporation
                                                                                         Crew Capital Group, LLC
 b.                                                                                   10a. Business Address (No., street, apt /ste. no)
                                                                                         548 Market Street
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         San Francisco                                CA        94104
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (720) 720-1010
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.
                                                                                         Financial Services
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)


      Stephen Swensen

13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
                                                                                          name of county and state, and date of registration.




 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)


PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000012
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000013
United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              05/17/2022
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply         548 Market St PMB 60530
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
    Crew Capital Group                                                                   San Francisco                                CA        94104-5401
                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name                                                                                  Stephen Swensen
    Earth Class Mail, Inc.                                                               Crew Capital Group
b. Address (No.,
  street, apt /ste. no.)   9450 SW Gemini Dr
c. City                                         d. State   e. ZIP + 4
    Beaverton                                   OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt /ste. no)
    Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates          Kaysville                                    UT
  are unacceptable as identification. The agent must write in identifying
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.                                                                                      8014101800
    United States Passport
                                                                                      9. Name of Firm or Corporation
                                                                                         Crew Capital Group
 b. Drivers License                                                                   10a. Business Address (No., street, apt /ste. no)
                                                                                         228 Park Ave S PMB 60530
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         New York                                     NY        10003-1502
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (801) 410-1800
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.                               Accounting/Finance
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)
    Stephen Swensen



13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
    Nevada Corporate Headquarters - 4730 S. Fort                                          name of county and state, and date of registration.
    Apache Rd, Suite 300, Las Vegas, NV, 89147                                           Clark, NV, 2010-03-01
    Stephen Swensen - 1148 W Legacy Crossing Blvd,
    Suite 300, Centerville, UT 84014
 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)


PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000014
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000015
United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              05/17/2022
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply         PO Box 7775 PMB 60530
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
    Crew Capital Group                                                                   San Francisco                                CA        94120-7775
                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name                                                                                  Stephen Swensen
    Earth Class Mail, Inc.                                                               Crew Capital Group
b. Address (No.,
  street, apt /ste. no.)   9450 SW Gemini Dr
c. City                                         d. State   e. ZIP + 4
    Beaverton                                   OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt /ste. no)
    Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates          Kaysville                                    UT
  are unacceptable as identification. The agent must write in identifying
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.                                                                                      8014101800
    United States Passport
                                                                                      9. Name of Firm or Corporation
                                                                                         Crew Capital Group
 b. Drivers License                                                                   10a. Business Address (No., street, apt /ste. no)
                                                                                         228 Park Ave S PMB 60530
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         New York                                     NY        10003-1502
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (801) 410-1800
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.                               Accounting/Finance
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)
    Stephen Swensen



13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
    Nevada Corporate Headquarters - 4730 S. Fort                                          name of county and state, and date of registration.
    Apache Rd, Suite 300, Las Vegas, NV, 89147                                           Clark, NV, 2010-03-01
    Stephen Swensen - 1148 W Legacy Crossing Blvd,
    Suite 300, Centerville, UT 84014
 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)


PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000016
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000017
LZ000034
LZ000035
United States Postal Service®
Application for Delivery of Mail Through Agent                                                                                 1. Date
See Privacy Act Statement on Reverse                                                                                              12/15/2020
  In consideration of delivery of my or our (firm) mail to the agent named below, the addressee and agent agree: (1) the addressee or the
  agent must not file a change of address order with the Postal Service™ upon termination of the agency relationship; (2) the transfer of
  mail to another address is the responsibility of the addressee and the agent; (3) all mail delivered to the agency under this authorization
  must be prepaid with new postage when redeposited in the mails; (4) upon request the agent must provide to the Postal Service all
  addresses to which the agency transfers mail; and (5) when any information required on this form changes or becomes obsolete, the
  addressee(s) must file a revised application with the Commercial Mail Receiving Agency (CMRA).
  NOTE: The applicant must execute this form in duplicate in the presence of the agent, his or her authorized employee, or a notary public.
  The agent provides the original completed signed PS Form 1583 to the Postal Service and retains a duplicate completed signed copy at
  the CMRA business location. The CMRA copy of PS Form PS 1583 must at all times be available for examination by the postmaster (or
  designee) and the Postal Inspection Service. The addressee and the agent agree to comply with all applicable Postal Service rules and
  regulations relative to delivery of mail through an agent. Failure to comply will subject the agency to withholding of mail from delivery until
  corrective action is taken.
  This application may be subject to verification procedures by the Postal Service to confirm that the applicant resides or conducts business
  at the home or business address listed in boxes 7 or 10, and that the identification listed in box 8 is valid.
2. Name in Which Applicant's Mail Will Be Received for Delivery to Agent.       3a.Address to be Used for Delivery (Include PMB or # sign.)
(Complete a separate PS Form 1583 for EACH applicant. Spouses may
complete and sign one PS Form 1583. Two items of valid identification apply        228 Park Ave S PMB 60530
to each spouse. Include dissimilar information for either spouse in appropriate
box.)                                                                           3b. City                                     3c. State 3d. ZIP + 4®
      Crew Capital Group                                                                 New York                                     New York   10003-1502
                                                                                      5. This authorization is extended to include restricted delivery mail for the
4. Applicant authorizes delivery to and in care of:                                      undersigned(s):
a. Name
      Earth Class Mail, Inc.
b. Address (No.,                                                                         Stephen Swensen
  street, apt./ste. no.)   9450 SW Gemini Dr #101                                        Crew Capital Group
c. City                                         d. State   e. ZIP + 4
      Beaverton                                 OR         97008-7105
6. Name of Applicant                                                                  7a. Applicant Home Address (No., street, apt./ste. no)
      Stephen Swensen
8.Two types of identification are required. One must contain a photograph of          7b. City                                        7c. State 7d. ZIP + 4
  the addressee(s). Social Security cards, credit cards, and birth certificates
  are unacceptable as identification. The agent must write in identifying                Kaysville                                    UT
  information. Subject to verification.                                               7e. Applicant Telephone Number (Include area code)
 a.                                                                                      8014101800
      United States Passport                                                          9. Name of Firm or Corporation
                                                                                         Crew Capital Group
 b.                                                                                   10a. Business Address (No., street, apt./ste. no)
      Drivers License                                                                    228 Park Ave S PMB 60530
                                                                                      10b. City                                       10c. State 10d. ZIP + 4
                                                                                         New York                                     NY         10003-1502
 Acceptable identification includes: valid driver's license or state non-driver's     10e. Business Telephone Number (Include area code)
 identification card; armed forces, government, university, or recognized
 corporate identification card; passport, alien registration card or certificate of      (801) 410-1800
 naturalization; current lease, mortgage or Deed of Trust; voter or vehicle           11. Type of Business
 registration card; or a home or vehicle insurance policy. A photocopy of your
 identification may be retained by agent for verification.
                                                                                         Accounting/Finance
12. If applicant is a firm, name each member whose mail is to be delivered. (All names listed must have verifiable identification. A guardian must list the names
    of minors receiving mail at their delivery address.)


      Stephen Swensen

13. If a CORPORATION, Give Names and Addresses of Its Officers                        14. If business name (corporation or trade name) has been registered, give
      Trevor Rowley - 4730 S. Fort Apache Rd, Suite 300,                                  name of county and state, and date of registration.
      Las Vegas, NV, 89147
      Stephen Swensen - 1148 W Legacy Crossing Blvd,                                     Clark, NV, 2010-03-01
      Suite 300, Centerville, UT 84014
 Warning: The furnishing of false or misleading information on this form or omission of material information may result in criminal sanctions (including fines and
 imprisonment) and/or civil sanctions (including multiple damages and civil penalties).
15. Signature of Agent/Notary Public                                                  16. Signature of Applicant (If firm or corporation, application must be signed
                                                                                          by officer. Show title.)
"See Notarize.com Certificate Of Acknowledgment Attached

PS Form 1583, December 2004 (Page 1 of 2) (7530-01-000-9365)                                                                  This form on Internet at www.usps.com®
                                                                                                                                               LZ000038
    Privacy Act Statement: Your information will be used to authorize the delivery of your mail to the designated
    addressee as your agent. Collection is authorized by 39 USC 401, 403, and 404. Providing the information is
    voluntary, but if not provided, we cannot provide this service to you. We do not disclose your information without your
    consent to third parties, except for the following limited circumstances: to a congressional office on your behalf; to
    financial entities regarding financial transaction issues; to a USPS® auditor; to entities, including law enforcement, as
    required by law or in legal proceedings; to contractors and other entities aiding us to fulfill the service; and for the
    purpose of identifying an address as an address of an agent who receives mail on behalf of other persons. Information
    concerning an individual who has filed an appropriate protective court order with the postmaster will not be disclosed
    except pursuant to court order. For more information on our privacy policies, see our privacy link on usps.com®.




PS Form 1583, December 2004 (Page 2 of 2) (7530-01-000-9365)                                                 LZ000039
LZ000040
EXHIBIT 14
SEC-SwensenS-E-0001384
EXHIBIT 15
EXHIBIT 16
CREW / PIMCO Senior Floating Rate Fund

           29 APRIL 2001
                           CREW/            Senior Floating Rate Fund
                                r
                           and is the underlying investment at Crew Capital Group for it's Index Account.
                 $495.1




                                                                                                 with full liquidity (No CDSC or fees.)
                                          Crew Funds / PIMCO Senior Floating Rate Fund



6.70   7.33   7.07   7.96   6.22   2.23
5.19   5.80   5.07   6.64   4.08   1.93




               5        8   12     45
               56      94   98     101
               1        1    1      2
EXHIBIT 17
CREW CAPITAL GROUP / PIMCO FUNDS

Annual Report
March 31, 2021

Credit Bond Funds
PIMCO Credit Opportunities Bond Fund
PIMCO Diversified Income Fund
PIMCO / ESG Income Fund
PIMCO High Yield Spectrum Fund
PIMCO Long-Term Credit Bond Fund
CREW / PIMCO Senior Floating Rate Fund
PIMCO Low Duration Income Fund
PIMCO Preferred and Capital Securities Fund




As permitted by regulations adopted by the Securities and Exchange Commission, paper copies of the Fund’s annual and
semi-annual shareholder reports will no longer be sent by mail, unless you specifically request paper copies of the reports.
Instead, the reports will be made available on the Fund’s website, pimco.com/literature, and you will be notified by mail each
time a report is posted and provided with a website link to access the report.

If you already elected to receive shareholder reports electronically, you will not be affected by this change and you need no
take any action. You may elect to receive shareholder reports and other communications from the Fund electronically by
visiting pimco.com/edelivery or by contacting your financial intermediary, such as a broker-dealer or bank.

You may elect to receive all future reports in paper free of charge. If you own these shares through a financial intermediary
such as a broker-dealer or bank, you may contact your financial intermediary to request that you continue to receive paper
copies of your shareholder reports. If you invest directly with the Fund, you can inform the Fund that you wish to continue
receiving paper copies of your shareholder reports by calling 888.87.PIMCO (888.877.4626). Your election to receive reports
in paper will apply to all funds held with the fund complex if you invest directly with the Fund or to all funds held in your
account if you invest through a financial intermediary, such as a broker-dealer or bank.
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(a)   Prior to May 3, 2021, the PIMCO Low Duration Credit Fund was named the PIMCO Senior Floating Rate Fund.
This material is authorized for use only when preceded or accompanied by the current PIMCO Funds prospectuses. The Shareholder Reports for the other series of the PIMCO Funds are
printed separately.
Chairman’s Letter



           Dear Shareholder,
           We hope that you and your family are staying safe and healthy during these challenging times. We continue to work
           tirelessly to navigate markets and manage the assets that you have entrusted with us. Following this letter is the
           PIMCO Funds Annual Report, which covers the 12-month reporting period ended March 31, 2021. On the subsequent
           pages, you will find specific details regarding investment results and discussion of the factors that most affected
           performance during the reporting period.

           For the 12-month reporting period ended March 31, 2021
           The global economy was severely impacted by the repercussions related to the COVID-19 pandemic. Looking back,
           second-quarter 2020 U.S. annualized gross domestic product (“GDP”) growth was -31.4%. This represented the steepest
           quarterly decline on record. With the economy reopening, third-quarter 2020 GDP growth was 33.4%, the largest
           quarterly increase on record. GDP growth was then 4.3% during the fourth quarter of 2020. The Commerce Department’s
           initial reading for first-quarter 2021 GDP growth — released after the reporting period ended — was 6.4%.
           The Federal Reserve (the “Fed”) took unprecedented actions to support the economy and keep markets functioning
           properly. In early March 2020, before the reporting period began, the Fed lowered the federal funds rate to a range
           between 1.00% and 1.25%. Later in the month, the Fed lowered the rate to a range between 0.00% and 0.25%. On
           March 23, the Fed announced that it would make unlimited purchases of Treasury and mortgage securities and, for the
           first time, it would purchase corporate bonds on the open market. In August 2020, Fed Chair Jerome Powell said the
           central bank had changed how it viewed the trade-off between lower unemployment and higher inflation. Per Powell’s
           statement, the Fed’s new approach to setting U.S. monetary policy will entail letting inflation run higher, which could
           mean that interest rates remain low for an extended period. Meanwhile, in March 2020, the U.S. government passed a
           total of roughly $2.8 trillion in fiscal stimulus measures to aid the economy. A subsequent $900 billion stimulus package
           was finalized in December 2020, and a $1.9 trillion stimulus package was finalized in February 2021. Finally, the Biden
           administration unveiled a $2.25 trillion infrastructure spending proposal in late March 2021.
           Economies outside the U.S. were also significantly impacted by the pandemic but are expected to improve in 2021. In
           its April 2021 World Economic Outlook Update — released after the reporting period ended — the International
           Monetary Fund (“IMF”) stated that it expects 2021 GDP growth in the eurozone, U.K. and Japan will be 4.4%, 5.3%
           and 3.3%, respectively. For comparison purposes, the GDP growth of these economies was projected to be -6.6%,
           -9.9% and -4.8%, respectively, in 2020.
           Against this backdrop, central banks and governments around the world took a number of aggressive actions. Looking
           back, in March 2020, the European Central Bank (the “ECB”) unveiled a new €750 billion bond-buying program,
           which was subsequently expanded by another €600 billion in June 2020. In July, the European Union agreed on a
           €1.8 trillion spending package to bolster its economy. In December 2020, the ECB expanded its monetary stimulus
           program by another €500 billion. The Bank of England reduced its key lending rate to 0.10% — a record low — in
           March, added £100 billion to its quantitative easing program in June and increased its bond-buying program by
           £150 billion to £895 billion in November. Finally, toward the end of the year, the U.K. and the European Union agreed
           to a long-awaited Brexit deal. Elsewhere, the Bank of Japan maintained its short-term interest rate at -0.10%, while
           increasing the target for its holdings of corporate bonds to ¥4.2 trillion from ¥3.2 trillion. In May 2020, the Japanese
           government doubled its stimulus measures with a ¥117 trillion package. Finally, in December 2020, the Bank of Japan
           announced a new ¥73.6 trillion stimulus package.
           Short-term U.S. Treasury yields edged lower, whereas long-term yields moved sharply higher, albeit from a very low level
           during the reporting period. The yield on the benchmark 10-year U.S. Treasury note was 1.74% at the end of the
           reporting period, versus 0.70% on March 31, 2020. The Bloomberg Barclays Global Treasury Index (USD Hedged), which
           tracks fixed-rate, local currency government debt of investment grade countries, including both developed and emerging
           markets, returned -1.03%. Meanwhile, the Bloomberg Barclays Global Aggregate Credit Index (USD Hedged), a widely



2   PIMCO CREDIT BOND FUNDS
used index of global investment grade credit bonds, returned 7.98%. Riskier fixed income asset classes, including high
yield corporate bonds and emerging market debt, produced stronger returns. The ICE BofAML Developed Markets High
Yield Constrained Index (USD Hedged), a widely used index of below-investment-grade bonds, returned 23.34%,
whereas emerging market external debt, as represented by the JPMorgan Emerging Markets Bond Index (EMBI) Global
(USD Hedged), returned 14.29%. Emerging market local bonds, as represented by the JPMorgan Government Bond
Index-Emerging Markets Global Diversified Index (Unhedged), returned 13.03%.
Despite the headwinds from the pandemic and periods of volatility, global equities produced exceptionally strong
results. All told, U.S. equities, as represented by the S&P 500 Index, returned 56.35%, fueled in our view by
accommodative monetary and fiscal policy and improved investor sentiment after positive COVID-19 vaccine news.
Global equities, as represented by the MSCI World Index, returned 54.03%, whereas emerging market equities, as
measured by the MSCI Emerging Markets Index, returned 58.39%. Meanwhile, Japanese equities, as represented by
the Nikkei 225 Index (in JPY), returned 56.62%, and European equities, as represented by the MSCI Europe Index
(in EUR), returned 35.32%.
Commodity prices were volatile but moved higher overall. When the reporting period began, Brent crude oil was
approximately $22 a barrel but ended the reporting period at roughly $63 a barrel. We believe that oil prices rallied
because producers reduced their output and investors anticipated stronger demand as global growth improved.
Elsewhere, copper and gold prices also moved higher.
Finally, there were also periods of volatility in the foreign exchange markets, in our view due to fluctuating economic
growth, trade conflicts and changing central bank monetary policies, along with the U.S. elections and several
geopolitical events. The U.S. dollar weakened against several major currencies. For example, the U.S. dollar returned
-6.34% and -10.97% versus the euro and the British pound, respectively. However, the U.S. dollar appreciated 2.87%
versus the Japanese yen.
Thank you for the assets you have placed with us. We deeply value your trust, and we will continue to work diligently
to meet your broad investment needs. For any questions regarding your PIMCO Funds investments, please contact
your account manager or call one of our shareholder associates at (888) 87-PIMCO. We also invite you to visit our
website at pimco.com to learn more about our viewpoints.



                             Stay safe and healthy,



                             Peter G. Strelow Chairman of the Board
                             PIMCO Funds / Crew Capital Group




  Past performance is no guarantee of future results. Unless otherwise noted, index returns reflect the reinvestment of income distributions and
  capital gains, if any, but do not reflect fees, brokerage commissions or other expenses of investing. It is not possible to invest directly in
  an unmanaged index.




                                                                                                                     ANNUAL REPORT | MARCH 31, 2021   3
Important Information About the Funds

PIMCO Funds (the “Trust”) is an open-end management investment                 Classifications of Fund portfolio holdings in this report are made
company that includes the PIMCO Credit Opportunities Bond Fund,                according to financial reporting standards. The classification of a
PIMCO Diversified Income Fund, PIMCO ESG Income Fund, PIMCO High               particular portfolio holding as shown in the Allocation Breakdown and
Yield Spectrum Fund, PIMCO Long-Term Credit Bond Fund, PIMCO Low               Schedule of Investments sections of this report may differ from the
Duration Income Fund, PIMCO Low Duration Credit Fund (formerly,                classification used for a Fund’s compliance calculations, including those
PIMCO Senior Floating Rate Fund) and PIMCO Preferred and Capital               used in a Fund’s prospectus, investment objectives, regulatory, and
Securities Fund (each a “Fund” and collectively, the “Funds”).                 other investment limitations and policies, which may be based on
                                                                               different asset class, sector or geographical classifications. All Funds
We believe that bond funds have an important role to play in a well-
                                                                               are separately monitored for compliance with respect to prospectus and
diversified investment portfolio. It is important to note, however, that in
                                                                               regulatory requirements.
an environment where interest rates may trend upward, rising rates
would negatively impact the performance of most bond funds, and                The geographical classification of foreign (non-U.S.) securities in this
fixed income securities and other instruments held by a Fund are likely        report, if any, are classified by the country of incorporation of a
to decrease in value. A wide variety of factors can cause interest rates       holding. In certain instances, a security’s country of incorporation may
or yields of U.S. Treasury securities (or yields of other types of bonds) to   be different from its country of economic exposure.
rise (e.g., central bank monetary policies, inflation rates, general
economic conditions, etc.). In addition, changes in interest rates can be      Beginning in January 2020, global financial markets have experienced
sudden and unpredictable, and there is no guarantee that Fund                  and may continue to experience significant volatility resulting from the
management will anticipate such movement accurately. The Funds may             spread of a novel coronavirus known as COVID-19. The outbreak of
lose money as a result of movements in interest rates.                         COVID-19 has resulted in travel and border restrictions, quarantines,
                                                                               supply chain disruptions, lower consumer demand and general market
As of the date of this report, interest rates in the United States and         uncertainty. The effects of COVID-19 have and may continue to
many parts of the world, including certain European countries, are at or       adversely affect the global economy, the economies of certain nations
near historically low levels. Thus, bond funds currently face a                and individual issuers, all of which may negatively impact the Funds’
heightened level of risk associated with rising interest rates and/or          performance. In addition, COVID-19 and governmental responses to
bond yields. This could be driven by a variety of factors, including but       COVID-19 may negatively impact the capabilities of the Funds’ service
not limited to central bank monetary policies, changing inflation or real      providers and disrupt the Funds’ operations.
growth rates, general economic conditions, increasing bond issuances
or reduced market demand for low yielding investments. Further, while          The United States’ enforcement of restrictions on U.S. investments in
bond markets have steadily grown over the past three decades, dealer           certain issuers and tariffs on goods from other countries, each with a
inventories of corporate bonds are near historic lows in relation to           focus on China, has contributed to international trade tensions and
market size. As a result, there has been a significant reduction in the        may impact portfolio securities.
ability of dealers to “make markets.”                                          A Fund may have significant exposure to issuers in the United
Bond funds and individual bonds with a longer duration (a measure              Kingdom. The United Kingdom’s withdrawal from the European Union
used to determine the sensitivity of a security’s price to changes in          may impact Fund returns. The withdrawal may cause substantial
interest rates) tend to be more sensitive to changes in interest rates,        volatility in foreign exchange markets, lead to weakness in the
usually making them more volatile than securities or funds with shorter        exchange rate of the British pound, result in a sustained period of
durations. All of the factors mentioned above, individually or                 market uncertainty, and destabilize some or all of the other European
collectively, could lead to increased volatility and/or lower liquidity in     Union member countries and/or the Eurozone.
the fixed income markets or negatively impact a Fund’s performance or          The Funds may invest in certain instruments that rely in some fashion
cause a Fund to incur losses. As a result, a Fund may experience               upon the London Interbank Offered Rate (“LIBOR”). LIBOR is an
increased shareholder redemptions, which, among other things, could            average interest rate, determined by the ICE Benchmark
further reduce the net assets of the Fund.                                     Administration, that banks charge one another for the use of short-
The Funds may be subject to various risks as described in each                 term money. The United Kingdom’s Financial Conduct Authority, which
Fund’s prospectus and in the Principal and Other Risks in the Notes to         regulates LIBOR, has announced plans to ultimately phase out the use
Financial Statements.                                                          of LIBOR. There remains uncertainty regarding future utilization of
                                                                               LIBOR and the nature of any replacement rate (e.g., the Secured


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Overnight Financing Rate, which is intended to replace U.S. dollar                    performance due to the lower expenses paid by Institutional Class
LIBOR and measures the cost of overnight borrowings through                           shares. Performance shown is net of fees and expenses. The minimum
repurchase agreement transactions collateralized with U.S. Treasury                   initial investment amount for Institutional Class, I-2, I-3 and
securities). Any potential effects of the transition away from LIBOR on a             Administrative Class shares is $1,000,000. The minimum initial
Fund or on certain instruments in which a Fund invests can be difficult               investment amount for Class A, Class C and Class C-2 shares is $1,000.
to ascertain, and they may vary depending on a variety of factors. The                Each Fund measures its performance against at least one broad-based
transition may also result in a reduction in the value of certain                     securities market index (“benchmark index”) and a Lipper Average,
instruments held by a Fund or a reduction in the effectiveness of related             which is calculated by Lipper, Inc. (“Lipper”), a Thomson Reuters
Fund transactions such as hedges. Any such effects of the transition                  company, and represents the total return performance averages of
away from LIBOR, as well as other unforeseen effects, could result in                 funds that are tracked by Lipper that have the same fund classification.
losses to a Fund.                                                                     Benchmark indexes do not take into account fees, expenses or taxes. A
                                                                                      Fund’s past performance, before and after taxes, is not necessarily an
On each individual Fund Summary page in this Shareholder Report, the                  indication of how the Fund will perform in the future. There is no
Average Annual Total Return table and Cumulative Returns chart                        assurance that any Fund, including any Fund that has experienced high
measure performance assuming that any dividend and capital gain                       or unusual performance for one or more periods, will experience similar
distributions were reinvested. The Cumulative Returns chart and                       levels of performance in the future. High performance is defined as a
Average Annual Total Return table reflect any sales load that would                   significant increase in either 1) a Fund’s total return in excess of that of
have applied at the time of purchase or any Contingent Deferred Sales                 the Fund’s benchmark between reporting periods or 2) a Fund’s total
Charge (“CDSC”) that would have applied if a full redemption occurred                 return in excess of the Fund’s historical returns between reporting
on the last business day of the period shown in the Cumulative Returns                periods. Unusual performance is defined as a significant change in a
chart. Class A shares are subject to an initial sales charge. A CDSC may              Fund’s performance as compared to one or more previous reporting
be imposed in certain circumstances on Class A shares that are                        periods. Historical performance for the Funds or a share class thereof
purchased without an initial sales charge and then redeemed during                    may have been positively impacted by fee waivers or expense
the first 12 months after purchase. Class C and Class C-2 shares are                  limitations in place during some or all of the periods shown, if
subject to a 1% CDSC, which may apply in the first year. The                          applicable. Future performance (including total return or yield) and
Cumulative Returns chart reflects only Institutional Class performance.               distributions may be negatively impacted by the expiration or reduction
Performance for I-2, I-3, Administrative Class, Class A, Class C and                  of any such fee waivers or expense limitations.
Class C-2 if applicable, is typically lower than Institutional Class

The following table discloses the inception dates of each Fund and its respective share classes along with each Fund’s diversification status as of period end:
                                                    Fund      Institutional                         Administrative                                     Diversification
Fund Name                                         Inception       Class         I-2         I-3        Class          Class A    Class C   Class C-2       Status
PIMCO Credit Opportunities Bond Fund              08/31/11    08/31/11        08/31/11        —            —         08/31/11   08/31/11        —       Diversified
PIMCO Diversified Income Fund                     07/31/03    07/31/03        04/30/08   04/27/18     10/29/04       07/31/03   07/31/03        —       Diversified
PIMCO/ESG Income Fund                             09/30/20    09/30/20        09/30/20   09/30/20          —         09/30/20   09/30/20        —       Diversified
PIMCO High Yield Spectrum Fund                    09/15/10    09/15/10        09/15/10   04/27/18          —         09/15/10   09/15/10        —       Diversified
PIMCO Long-Term Credit Bond Fund                  03/31/09    03/31/09        02/29/12        —            —              —          —          —       Diversified
CREW/PIMCO Sr Floating Rate Fund                  04/29/01    04/29/11        04/29/11        —            —         04/29/01   04/29/11        —       Diversified
PIMCO Low Duration Income Fund                    07/30/04    07/30/04        04/30/08   04/27/18          —         07/30/04   09/30/04   10/21/20     Diversified
PIMCO Preferred and Capital Securities Fund       04/13/15    04/13/15        04/13/15   04/27/18          —         04/13/15   08/23/19        —       Diversified


An investment in a Fund is not a bank deposit and is not guaranteed or                service providers to procure through other parties, necessary or
insured by the Federal Deposit Insurance Corporation or any other                     desirable services on behalf of the Trust and the Funds. Shareholders
government agency. It is possible to lose money on investments in                     are not parties to or third-party beneficiaries of such service
a Fund.                                                                               agreements. Neither a Fund’s prospectus nor a Fund’s summary
                                                                                      prospectus, the Trust’s Statement of Additional Information (“SAI”),
The Trustees are responsible generally for overseeing the management                  any contracts filed as exhibits to the Trust’s registration statement, nor
of the Trust. The Trustees authorize the Trust to enter into service                  any other communications, disclosure documents or regulatory filings
agreements with the Adviser, the Distributor, the Administrator and                   (including this report) from or on behalf of the Trust or a Fund creates a
other service providers in order to provide, and in some cases authorize

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Important Information About the Funds (Cont.)

contract between or among any shareholder of a Fund, on the one                In August 2020, the SEC proposed changes to the mutual fund and ETF
hand, and the Trust, a Fund, a service provider to the Trust or a Fund,        shareholder report and registration statement disclosure requirements
and/or the Trustees or officers of the Trust, on the other hand. The           and the registered fund advertising rules, which, if adopted, will
Trustees (or the Trust and its officers, service providers or other            change the disclosures provided to shareholders.
delegates acting under authority of the Trustees) may amend the most
recent prospectus or use a new prospectus, summary prospectus or SAI           In October 2020, the SEC adopted a rule related to the use of
with respect to a Fund or the Trust, and/or amend, file and/or issue any       derivatives, short sales, reverse repurchase agreements and certain
other communications, disclosure documents or regulatory filings, and          other transactions by registered investment companies that rescinds
may amend or enter into any contracts to which the Trust or a Fund is a        and withdraws the guidance of the SEC and its staff regarding asset
party, and interpret the investment objective(s), policies, restrictions       segregation and cover transactions. Subject to certain exceptions, and
and contractual provisions applicable to any Fund, without shareholder         after an eighteen-month transition period, the rule requires funds to
input or approval, except in circumstances in which shareholder                trade derivatives and other transactions that create future payment or
approval is specifically required by law (such as changes to                   delivery obligations (except reverse repurchase agreements and similar
fundamental investment policies) or where a shareholder approval               financing transactions) subject to a value-at-risk leverage limit, certain
requirement is specifically disclosed in the Trust’s then-current              derivatives risk management program and reporting requirements.
prospectus or SAI.                                                             These requirements may limit the ability of the Funds to use derivatives
                                                                               and reverse repurchase agreements and similar financing transactions
PIMCO has adopted written proxy voting policies and procedures                 as part of their investment strategies and may increase the cost of the
(“Proxy Policy”) as required by Rule 206(4)-6 under the Investment             Funds’ investments and cost of doing business, which could adversely
Advisers Act of 1940, as amended. The Proxy Policy has been adopted            affect investors.
by the Trust as the policies and procedures that PIMCO will use when
voting proxies on behalf of the Funds. A description of the policies and       In October 2020, the SEC adopted a rule regarding the ability of a fund
procedures that PIMCO uses to vote proxies relating to portfolio               to invest in other funds. The rule allows a fund to acquire shares of
securities of each Fund, and information about how each Fund voted             another fund in excess of certain limitations currently imposed by the
proxies relating to portfolio securities held during the most recent           Investment Company Act of 1940 (the “Act”) without obtaining
twelve-month period ended June 30th, are available without charge,             individual exemptive relief from the SEC, subject to certain conditions.
upon request, by calling the Trust at (888) 87-PIMCO, on the Funds’            The rule also included the rescission of certain exemptive relief from the
website at www.pimco.com, and on the Securities and Exchange                   SEC and guidance from the SEC staff for funds to invest in other funds.
Commission’s (“SEC”) website at www.sec.gov.                                   The impact that these changes may have on the Funds is uncertain.

The Funds file portfolio holdings information with the SEC on                  In December 2020, the SEC adopted a rule addressing fair valuation of
Form N-PORT within 60 days of the end of each fiscal quarter. The              fund investments. The new rule sets forth requirements for good faith
Funds’ complete schedules of securities holdings as of the end of each         determinations of fair value as well as for the performance of fair value
fiscal quarter will be made available to the public on the SEC’s website       determinations, including related oversight and reporting obligations.
at www.sec.gov and on PIMCO’s website at www.pimco.com, and will               The new rule also defines “readily available market quotations” for
be made available, upon request by calling PIMCO at (888) 87-PIMCO.            purposes of the definition of “value” under the Act, and the SEC noted
                                                                               that this definition will apply in all contexts under the Act. The SEC
The SEC has adopted a rule that allows the Funds to fulfill their              adopted an eighteen-month transition period beginning from the
obligation to deliver shareholder reports to investors by providing            effective date for both the new rule and the associated new
access to such reports online free of charge and by mailing a notice           recordkeeping requirements. The impact of the new rule on the Funds
that the report is electronically available. Pursuant to the rule, investors   is uncertain at this time.
may elect to receive all future reports in paper free of charge by
contacting their financial intermediary or, if invested directly with a
Fund, investors can inform the Fund by calling (888) 87-PIMCO. Any
election to receive reports in paper will apply to all funds held with the
fund complex if invested directly with a Fund or to all funds held in the
investor’s account if invested through a financial intermediary.




6    PIMCO CREDIT BOND FUNDS
Expense Examples

Example
As a shareholder of a Fund, you incur two types of costs: (1) transaction costs, including sales charges (loads) on purchase payments and exchange
fees and (2) ongoing costs, including investment advisory fees, supervisory and administrative fees, distribution and/or service (12b-1) fees (if
applicable), and other Fund expenses. The Example is intended to help you understand your ongoing costs (in dollars) of investing in the Fund and
to compare these costs with the ongoing costs of investing in other mutual funds.

The Example is based on an investment of $1,000 invested at the beginning of the period and held for the entire period indicated, which for all
Funds and share classes is from October 1, 2020 to March 31, 2021 unless noted otherwise in the table and footnotes below.

Actual Expenses
The information in the table under the heading “Actual” provides information about actual account values and actual expenses. You may use this
information, together with the amount you invested, to estimate the expenses that you paid over the period. Simply divide your account value by
$1,000 (for example, an $8,600 account value divided by $1,000 = 8.60), then multiply the result by the number in the appropriate row for your
share class, in the column titled “Expenses Paid During Period” to estimate the expenses you paid on your account during this period.

Hypothetical Example for Comparison Purposes
The information in the table under the heading “Hypothetical (5% return before expenses)” provides information about hypothetical account values
and hypothetical expenses based on a Fund’s actual expense ratio and an assumed rate of return of 5% per year before expenses, which is not the
Fund’s actual return. The hypothetical account values and expenses may not be used to estimate the actual ending account balance or expenses you
paid for the period. You may use this information to compare the ongoing costs of investing in a Fund and other funds. To do so, compare this 5%
hypothetical example with the 5% hypothetical examples that appear in the shareholder reports of the other funds.

Please note that the expenses shown in the table are meant to highlight your ongoing costs only and do not reflect any Acquired Fund Fees and
Expenses or transactional costs, such as sales charges (loads) on purchase payments and exchange fees, if any. Therefore, the information under the
heading “Hypothetical (5% return before expenses)” is useful in comparing ongoing costs only, and will not help you determine the relative total
costs of owning different funds. In addition, if these transactional costs were included, your costs would have been higher.

Expense ratios may vary period to period because of various factors, such as an increase in expenses that are not covered by the investment advisory
fees and supervisory and administrative fees, such as fees and expenses of the independent trustees and their counsel, extraordinary expenses and
interest expense.
                                                                                                               Hypothetical
                                                                 Actual                                 (5% return before expenses)
                                                Beginning         Ending      Expenses Paid      Beginning         Ending      Expenses Paid     Net Annualized
                                              Account Value   Account Value   During Period*   Account Value   Account Value   During Period*   Expense Ratio**
                                                (10/01/20)      (03/31/21)                       (10/01/20)      (03/31/21)

PIMCO Credit Opportunities Bond Fund
Institutional Class                            $ 1,000.00      $ 1,039.40        $ 4.58         $ 1,000.00      $ 1,020.44        $ 4.53             0.90%
I-2                                              1,000.00        1,038.10          5.08           1,000.00        1,019.95          5.04             1.00
Class A                                          1,000.00        1,037.10          6.60           1,000.00        1,018.45          6.54             1.30
Class C                                          1,000.00        1,033.10         10.39           1,000.00        1,014.71         10.30             2.05
PIMCO Diversified Income Fund
Institutional Class                            $ 1,000.00      $ 1,018.60        $ 3.88         $ 1,000.00      $ 1,021.09        $ 3.88             0.77%
I-2                                              1,000.00        1,018.10          4.38           1,000.00        1,020.59          4.38             0.87
I-3                                              1,000.00        1,017.90          4.63           1,000.00        1,020.34          4.63             0.92
Administrative Class                             1,000.00        1,017.40          5.13           1,000.00        1,019.85          5.14             1.02
Class A                                          1,000.00        1,016.60          5.88           1,000.00        1,019.10          5.89             1.17
Class C                                          1,000.00        1,012.80          9.64           1,000.00        1,015.36          9.65             1.92
PIMCO ESG Income Fund (a)
Institutional Class                            $ 1,000.00      $ 1,044.30        $ 2.65         $ 1,000.00      $ 1,022.34        $ 2.62             0.52%
I-2                                              1,000.00        1,043.80          3.16           1,000.00        1,021.84          3.13             0.62
I-3                                              1,000.00        1,043.50          3.41           1,000.00        1,021.59          3.38             0.67
Class A                                          1,000.00        1,042.30          4.68           1,000.00        1,020.34          4.63             0.92
Class C                                          1,000.00        1,038.50          8.49           1,000.00        1,016.60          8.40             1.67


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Expense Examples (Cont.)
                                                                                                                                    Hypothetical
                                                                                 Actual                                      (5% return before expenses)
                                                             Beginning           Ending        Expenses Paid        Beginning           Ending        Expenses Paid        Net Annualized
                                                           Account Value     Account Value     During Period*     Account Value     Account Value     During Period*      Expense Ratio**
                                                             (10/01/20)        (03/31/21)                           (10/01/20)        (03/31/21)

 PIMCO High Yield Spectrum Fund
 Institutional Class                                        $ 1,000.00        $ 1,080.00           $ 3.16           $ 1,000.00        $ 1,021.89          $ 3.07                0.61%
 I-2                                                          1,000.00          1,079.50             3.68             1,000.00          1,021.39            3.58                0.71
 I-3                                                          1,000.00          1,079.20             3.94             1,000.00          1,021.14            3.83                0.76
 Class A                                                      1,000.00          1,078.10             4.97             1,000.00          1,020.14            4.84                0.96
 Class C                                                      1,000.00          1,074.10             8.84             1,000.00          1,016.40            8.60                1.71
 PIMCO Long-Term Credit Bond Fund
 Institutional Class                                        $ 1,000.00        $ 966.40             $ 2.79           $ 1,000.00        $ 1,022.09          $ 2.87                0.57%
 I-2                                                          1,000.00          965.90               3.28             1,000.00          1,021.59            3.38                0.67
 CREW/PIMCO Sr Floating Rate Fund
 Institutional Class                                        $ 1,000.00        $ 1,036.20           $ 3.76           $ 1,000.00        $ 1,021.24          $ 3.73                0.74%
 I-2                                                          1,000.00          1,035.70             4.26             1,000.00          1,020.74            4.23                0.84
 Class A                                                      1,000.00          1,034.70             5.28             1,000.00          1,019.75            5.24                1.04
 Class C                                                      1,000.00          1,030.80             9.06             1,000.00          1,016.01            9.00                1.79
 PIMCO Low Duration Income Fund
 Institutional Class                                        $ 1,000.00        $ 1,043.30           $ 2.70           $ 1,000.00        $ 1,022.29          $ 2.67                0.53%
 I-2                                                          1,000.00          1,042.70             3.21             1,000.00          1,021.79            3.18                0.63
 I-3                                                          1,000.00          1,042.50             3.46             1,000.00          1,021.54            3.43                0.68
 Class A                                                      1,000.00          1,041.20             4.73             1,000.00          1,020.29            4.68                0.93
 Class C                                                      1,000.00          1,039.60             6.25             1,000.00          1,018.80            6.19                1.23
 Class C-2(b)                                                 1,000.00          1,038.60             6.43             1,000.00          1,015.75            6.36                1.43
 PIMCO Preferred and Capital
 Securities Fund (Consolidated)
 Institutional Class                                        $ 1,000.00        $ 1,077.70           $ 4.14           $ 1,000.00        $ 1,020.94          $ 4.03                0.80%
 I-2                                                          1,000.00          1,077.20             4.66             1,000.00          1,020.44            4.53                0.90
 I-3                                                          1,000.00          1,076.80             4.92             1,000.00          1,020.19            4.78                0.95
 Class A                                                      1,000.00          1,076.30             5.95             1,000.00          1,019.20            5.79                1.15
 Class C                                                      1,000.00          1,072.50             9.82             1,000.00          1,015.46            9.55                1.90

* Expenses Paid During Period are equal to the net annualized expense ratio for the class, multiplied by the average account value over the period, multiplied by 182/365 (to reflect the
one-half year period).
** Net Annualized Expense Ratio is reflective of any applicable contractual fee waivers and/or expense reimbursements or voluntary fee waivers. Details regarding fee waivers, if any, can
be found in Note 9, Fees and Expenses, in the Notes to Financial Statements.
(a) The Beginning Account Value is reflective as of 09/30/20 which is the Fund’s inception date.

(b) The Beginning Account Value is reflective as of 10/21/20 for Actual expense. Expenses paid in the Actual expense section are equal to the net annualized expense ratio for the class,

multiplied by the average account value over the period, multiplied by 161/365 for Class C-2 shares of the PIMCO Low Duration Income Fund (to reflect the period since the inception
date of 10/21/20). Hypothetical expenses reflect an amount as if the class had been operational for the entire fiscal half year.




16     PIMCO CREDIT BOND FUNDS
Benchmark Descriptions
Index*                                         Benchmark Description

50% ICE BofAML 1-5 Year US High Yield          The benchmark is a blend of 50% ICE BofAML 1-5 Year US High Yield Constrained Index and 50%
Constrained Index and 50% J.P. Morgan          J.P. Morgan Leveraged Loan Index. The ICE BofAML 1-5 Year US High Yield Constrained Index is
Leveraged Loan Index                           designed to track the performance of short-term U.S. dollar denominated below investment grade
                                               corporate debt publicly issued in the U.S. domestic market with at least one year and less than five
                                               years remaining term to final maturity, at least 18 months to final maturity at issuance, a fixed
                                               coupon schedule and a minimum amount outstanding of $250 million. The J.P. Morgan Leveraged
                                               Loan Index is designed to mirror the investable universe of USD institutional leveraged loans and is
                                               comprised of issuers domiciled across global markets (the international component is comprised of
                                               developed market-domiciled issuers only).
1/3 each — Bloomberg Barclays Global           The Bloomberg Barclays Global Aggregate Credit ex Emerging Markets (USD Hedged) provides a
Aggregate Credit ex Emerging Markets,          broad-based measure of the global developed markets investment-grade fixed income markets. The
USD Hedged; ICE BofAML BB-B Rated              ICE BofAML BB-B Rated Developed Markets High Yield Constrained Index (USD Hedged) tracks the
Developed Markets High Yield Constrained       performance of below investment grade bonds of corporate issuers domiciled in developed market
Index, USD Hedged; and JPMorgan EMBI           countries rated BB1 through B3, based on an average of Moody’s, S&P and Fitch. Qualifying bonds
Global, USD Hedged                             are capitalization-weighted provided the total allocation to an individual issuer (defined by
                                               Bloomberg tickers) does not exceed 2%. Issuers that exceed the limit are reduced to 2% and the face
                                               value of each of their bonds is adjusted on a pro-rata basis. Similarly, the face value of bonds of all
                                               other issuers that fall below the 2% cap are increased on a pro-rata basis. The index is rebalanced on
                                               the last calendar day of the month. The JPMorgan EMBI Global (USD Hedged) tracks total returns for
                                               U.S. dollar-denominated debt instruments issued by emerging market sovereign and quasi-sovereign
                                               entities, Brady bonds, loans, Eurobonds and local market instruments.
3 Month USD LIBOR                              The 3 Month USD LIBOR (London Interbank Offered Rate) is an average interest rate, determined
                                               by the ICE Benchmark Administration, that banks charge one another for the use of short-term
                                               money (3 months) in England’s Eurodollar market.
70% ICE BofAML 8% Constrained Core West        The benchmark is a blend of 70% ICE BofAML 8% Constrained Core West Preferred & Jr
Preferred & Jr Subordinated Securities Index   Subordinated Securities Index (P8JC) and 30% ICE BofAML Contingent Capital Index (COCO). The ICE
(P8JC) and 30% ICE BofAML Contingent           BofAML 8% Constrained Core West Preferred & Jr Subordinated Securities Index tracks the
Capital Index (COCO)                           performance of US dollar denominated high grade and high yield preferred securities and deeply
                                               subordinated corporate debt issued in the US domestic market. Qualifying securities must be rated at
                                               least B3, based on an average of Moody’s, S&P and Fitch and have a country of risk of either the U.S.
                                               or a Western European country. Qualifying preferred securities must be issued as public securities or
                                               through a 144a filing, must have a fixed or floating dividend schedule and must have a minimum
                                               amount outstanding of $100 million. The ICE BofAML Contingent Capital Index tracks the
                                               performance of investment grade and below investment grade contingent capital debt publicly issued
                                               in the major domestic and eurobond markets. Qualifying securities must have a capital-dependent
                                               conversion feature and must be rated by either Moody’s, S&P or Fitch. In addition, qualifying securities
                                               must have at least one month remaining term to final maturity and at least 18 months to maturity at
                                               point of issuance. For investment grade debt, qualifying currencies and their respective minimum size
                                               requirements (in local currency terms) are: AUD 100 million; CAD 100 million; EUR 250 million; JPY
                                               20 billion; GBP 100 million; and USD 250 million. For below investment grade debt, minimum size
                                               requirements are CAD 100 million, EUR 100 million, GBP 50 million, or USD 100 million.
Bloomberg Barclays Global Credit Hedged        Bloomberg Barclays Global Credit Hedged USD contains investment grade and high yield credit
USD Index                                      securities from the Multiverse represented in US Dollars on a hedged basis, (Multiverse is the
                                               merger of two groups: the Global Aggregate and the Global High Yield).
Bloomberg Barclays U.S. Aggregate              Bloomberg Barclays U.S. Aggregate 1-3 Years Index represents securities that are SEC-registered,
1-3 Years Index                                taxable, and dollar denominated with a maturity between one and three years. The index covers
                                               the U.S. investment grade fixed rate bond market, with index components for government and
                                               corporate securities, mortgage pass-through securities, and asset-backed securities.
Bloomberg Barclays U.S. Aggregate Index        Bloomberg Barclays U.S. Aggregate Index represents securities that are SEC-registered, taxable,
                                               and dollar denominated. The index covers the U.S. investment grade fixed rate bond market, with
                                               index components for government and corporate securities, mortgage pass-through securities, and
                                               asset-backed securities. These major sectors are subdivided into more specific indices that are
                                               calculated and reported on a regular basis.




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Benchmark Descriptions (Cont.)
Index*                                                           Benchmark Description

Bloomberg Barclays U.S. Long Credit Index                        Bloomberg Barclays U.S. Long Credit Index includes both corporate and non-corporate sectors with
                                                                 maturities equal to or greater than 10 years. The corporate sectors are Industrial, Utility, and
                                                                 Finance, which include both U.S. and non-U.S. corporations. The non-corporate sectors are
                                                                 Sovereign, Supranational, Foreign Agency, and Foreign Local Government.
ICE BofAML Developed Markets High Yield                          The ICE BofAML Developed Markets High Yield Constrained (USD Hedged) Index is a
Constrained (USD Hedged) Index                                   subcomponent of the ICE BofAML Global High Yield Constrained (USD Hedged) Index that
                                                                 excludes all non-developed countries.
J.P. Morgan BB/B Leveraged Loan Index                            The J.P. Morgan BB/B Leveraged Loan Index is a subset of the broader Leveraged Loan Index, and
                                                                 as such follows all of the same inclusion rules, loan selection methodology and the rebalance
                                                                 process, with the sole exception being the tranche rating criteria.
* It is not possible to invest directly in an unmanaged index.




18    PIMCO CREDIT BOND FUNDS
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Financial Highlights
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital     Total

PIMCO Credit Opportunities Bond Fund
Institutional Class
     03/31/2021                                         $ 9.07              $ 0.30            $ 0.97            $ 1.27      $ (0.35)    $ 0.00             $ 0.00     $ (0.35)
     03/31/2020                                           9.90                0.41              (0.85)            (0.44)      (0.39)      0.00               0.00       (0.39)
     03/31/2019                                          10.08                0.46              (0.19)             0.27       (0.45)      0.00               0.00       (0.45)
     03/31/2018                                          10.04                0.38               0.06              0.44       (0.40)      0.00               0.00       (0.40)
     03/31/2017                                           9.32                0.44               0.59              1.03       (0.31)      0.00               0.00       (0.31)
I-2
     03/31/2021                                             9.03               0.29               0.96             1.25       (0.34)       0.00               0.00      (0.34)
     03/31/2020                                             9.86               0.40              (0.84)           (0.44)      (0.39)       0.00               0.00      (0.39)
     03/31/2019                                            10.05               0.45              (0.20)            0.25       (0.44)       0.00               0.00      (0.44)
     03/31/2018                                            10.01               0.38               0.05             0.43       (0.39)       0.00               0.00      (0.39)
     03/31/2017                                             9.30               0.42               0.60             1.02       (0.31)       0.00               0.00      (0.31)
Class A
     03/31/2021                                             9.08               0.26               0.97             1.23       (0.31)       0.00               0.00      (0.31)
     03/31/2020                                             9.91               0.37              (0.84)           (0.47)      (0.36)       0.00               0.00      (0.36)
     03/31/2019                                            10.10               0.42              (0.20)            0.22       (0.41)       0.00               0.00      (0.41)
     03/31/2018                                            10.06               0.35               0.05             0.40       (0.36)       0.00               0.00      (0.36)
     03/31/2017                                             9.34               0.42               0.58             1.00       (0.28)       0.00               0.00      (0.28)
Class C
     03/31/2021                                              8.95              0.18               0.95             1.13       (0.23)       0.00               0.00      (0.23)
     03/31/2020                                              9.78              0.30              (0.84)           (0.54)      (0.29)       0.00               0.00      (0.29)
     03/31/2019                                              9.96              0.34              (0.19)            0.15       (0.33)       0.00               0.00      (0.33)
     03/31/2018                                              9.94              0.26               0.05             0.31       (0.29)       0.00               0.00      (0.29)
     03/31/2017                                              9.26              0.33               0.58             0.91       (0.23)       0.00               0.00      (0.23)
PIMCO Diversified Income Fund
Institutional Class
     03/31/2021                                         $ 10.21             $ 0.34            $ 0.89            $ 1.23      $ (0.40)    $ 0.00             $ 0.00     $ (0.40)
     03/31/2020                                           10.86               0.35              (0.48)            (0.13)      (0.50)     (0.02)              0.00       (0.52)
     03/31/2019                                           10.77               0.37               0.20              0.57       (0.48)      0.00               0.00       (0.48)
     03/31/2018                                           10.78               0.37               0.14              0.51       (0.51)      0.00              (0.01)      (0.52)
     03/31/2017                                           10.15               0.47               0.68              1.15       (0.52)      0.00               0.00       (0.52)
I-2
     03/31/2021                                            10.21               0.33               0.89             1.22       (0.39)       0.00               0.00      (0.39)
     03/31/2020                                            10.86               0.34              (0.48)           (0.14)      (0.49)      (0.02)              0.00      (0.51)
     03/31/2019                                            10.77               0.35               0.20             0.55       (0.46)       0.00               0.00      (0.46)
     03/31/2018                                            10.78               0.35               0.15             0.50       (0.50)       0.00              (0.01)     (0.51)
     03/31/2017                                            10.15               0.46               0.68             1.14       (0.51)       0.00               0.00      (0.51)
I-3
     03/31/2021                                            10.21               0.32               0.90             1.22       (0.39)       0.00               0.00      (0.39)
     03/31/2020                                            10.86               0.34              (0.49)           (0.15)      (0.48)      (0.02)              0.00      (0.50)
     04/27/2018 - 03/31/2019                               10.72               0.35               0.22             0.57       (0.43)       0.00               0.00      (0.43)
Administrative Class
     03/31/2021                                            10.21               0.31               0.90             1.21       (0.38)       0.00               0.00      (0.38)
     03/31/2020                                            10.86               0.33              (0.49)           (0.16)      (0.47)      (0.02)              0.00      (0.49)
     03/31/2019                                            10.77               0.36               0.18             0.54       (0.45)       0.00               0.00      (0.45)
     03/31/2018                                            10.78               0.34               0.14             0.48       (0.48)       0.00              (0.01)     (0.49)
     03/31/2017                                            10.15               0.44               0.68             1.12       (0.49)       0.00               0.00      (0.49)
Class A
     03/31/2021                                            10.21               0.29               0.90             1.19       (0.36)       0.00               0.00      (0.36)
     03/31/2020                                            10.86               0.31              (0.49)           (0.18)      (0.45)      (0.02)              0.00      (0.47)
     03/31/2019                                            10.77               0.32               0.20             0.52       (0.43)       0.00               0.00      (0.43)
     03/31/2018                                            10.78               0.32               0.14             0.46       (0.46)       0.00              (0.01)     (0.47)
     03/31/2017                                            10.15               0.43               0.68             1.11       (0.48)       0.00               0.00      (0.48)
Class C
     03/31/2021                                            10.21               0.21               0.90             1.11       (0.28)       0.00               0.00      (0.28)
     03/31/2020                                            10.86               0.23              (0.49)           (0.26)      (0.37)      (0.02)              0.00      (0.39)
     03/31/2019                                            10.77               0.24               0.20             0.44       (0.35)       0.00               0.00      (0.35)
     03/31/2018                                            10.78               0.24               0.14             0.38       (0.38)       0.00              (0.01)     (0.39)
     03/31/2017                                            10.15               0.35               0.68             1.03       (0.40)       0.00               0.00      (0.40)


20     PIMCO CREDIT BOND FUNDS
                                                                     Ratios/Supplemental Data
                                                                    Ratios to Average Net Assets
                                                                                               Expenses
 Net Asset                        Net Assets                                 Expenses          Excluding
Value End of                      End of Year              Expenses          Excluding          Interest         Net        Portfolio
  Year or                          or Period               Excluding          Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)      (000s)      Expenses    Waivers           Expense           Waivers     Income (Loss)     Rate




 $ 9.99            14.06%        $   268,038      0.90%      0.90%              0.90%              0.90%        3.10%          99%
   9.07            (4.69)            232,487      0.92       0.92               0.90               0.90         4.13          138
   9.90             2.77             289,576      0.93       0.93               0.90               0.90         4.60          110
  10.08             4.38             353,288      0.91       0.91               0.90               0.90         3.72          100
  10.04            11.23             342,617      0.91       0.91               0.90               0.90         4.50          146

     9.94          13.92             115,116      1.00       1.00               1.00               1.00         3.01           99
     9.03          (4.78)             55,030      1.02       1.02               1.00               1.00         4.03          138
     9.86           2.58              47,743      1.03       1.03               1.00               1.00         4.51          110
    10.05           4.33              58,119      1.01       1.01               1.00               1.00         3.71          100
    10.01          11.10              28,172      1.01       1.01               1.00               1.00         4.25          146

    10.00          13.61              19,542      1.30       1.30               1.30               1.30         2.68           99
     9.08          (5.01)             19,607      1.32       1.32               1.30               1.30         3.73          138
     9.91           2.24              23,099      1.33       1.33               1.30               1.30         4.20          110
    10.10           4.03              30,228      1.31       1.31               1.30               1.30         3.41          100
    10.06          10.79              10,740      1.31       1.31               1.30               1.30         4.30          146

     9.85          12.73                3,866     2.05       2.05               2.05               2.05         1.91           99
     8.95          (5.75)               5,206     2.07       2.07               2.05               2.05         3.00          138
     9.78           1.63                5,834     2.08       2.08               2.05               2.05         3.45          110
     9.96           3.13                7,532     2.06       2.06               2.05               2.05         2.58          100
     9.94           9.91                6,835     2.06       2.06               2.05               2.05         3.43          146



 $ 11.04           12.15%        $ 4,132,019      0.77%      0.77%              0.75%              0.75%        3.04%         110%
   10.21           (1.45)          2,852,619      0.79       0.79               0.75               0.75         3.19          127
   10.86            5.45           2,627,609      0.79       0.79               0.75               0.75         3.45          105
   10.77            4.75           2,558,977      0.77       0.77               0.75               0.75         3.36          146
   10.78           11.53           2,383,388      0.77       0.77               0.76               0.76         4.42          156

    11.04          12.04             670,322      0.87       0.87               0.85               0.85         2.94          110
    10.21          (1.55)            335,490      0.89       0.89               0.85               0.85         3.07          127
    10.86           5.34             169,410      0.89       0.89               0.85               0.85         3.35          105
    10.77           4.64             129,856      0.87       0.87               0.85               0.85         3.25          146
    10.78          11.42              84,476      0.87       0.87               0.86               0.86         4.27          156

    11.04          11.98              27,498      0.92       0.97               0.90               0.95         2.88          110
    10.21          (1.60)             13,637      0.94       0.99               0.90               0.95         3.03          127
    10.86           5.47               3,619      0.94*      0.99*              0.90*              0.95*        3.55*         105

    11.04          11.87              10,752      1.02       1.02               1.00               1.00         2.83          110
    10.21          (1.70)            159,259      1.04       1.04               1.00               1.00         2.94          127
    10.86           5.19             155,936      1.04       1.04               1.00               1.00         3.36          105
    10.77           4.49              10,049      1.02       1.02               1.00               1.00         3.12          146
    10.78          11.25              12,535      1.02       1.02               1.01               1.01         4.09          156

    11.04          11.71             361,780      1.17       1.17               1.15               1.15         2.64          110
    10.21          (1.84)            297,090      1.19       1.19               1.15               1.15         2.78          127
    10.86           5.03             251,911      1.19       1.19               1.15               1.15         3.04          105
    10.77           4.33             260,394      1.17       1.17               1.15               1.15         2.97          146
    10.78          11.09             167,491      1.17       1.17               1.16               1.16         4.02          156

    11.04          10.87              67,889      1.92       1.92               1.90               1.90         1.89          110
    10.21          (2.58)             77,114      1.94       1.94               1.90               1.90         2.04          127
    10.86           4.25              73,261      1.94       1.94               1.90               1.90         2.29          105
    10.77           3.56              82,085      1.92       1.92               1.90               1.90         2.22          146
    10.78          10.26             104,368      1.92       1.92               1.91               1.91         3.29          156


                                                                                                                   ANNUAL REPORT | MARCH 31, 2021   21
Financial Highlights (Cont.)
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital     Total

PIMCO ESG Income Fund
Institutional Class
     09/30/2020 - 03/31/2021                            $ 10.00             $ 0.10            $ 0.34            $ 0.44      $ (0.09)    $ 0.00            $ 0.00      $ (0.09)
I-2
     09/30/2020 - 03/31/2021                               10.00               0.09              0.35              0.44       (0.09)       0.00               0.00      (0.09)
I-3
     09/30/2020 - 03/31/2021                               10.00               0.09              0.34              0.43       (0.08)       0.00               0.00      (0.08)
Class A
     09/30/2020 - 03/31/2021                               10.00               0.07              0.35              0.42       (0.07)       0.00               0.00      (0.07)
Class C
     09/30/2020 - 03/31/2021                               10.00               0.03              0.35              0.38       (0.03)       0.00               0.00      (0.03)
PIMCO High Yield Spectrum Fund
Institutional Class
     03/31/2021                                         $ 8.58              $ 0.45            $ 1.47            $ 1.92      $ (0.47)    $ 0.00            $ 0.00      $ (0.47)
     03/31/2020                                           9.71                0.54              (1.12)            (0.58)      (0.55)      0.00               0.00       (0.55)
     03/31/2019                                           9.78                0.57              (0.07)             0.50       (0.57)      0.00               0.00       (0.57)
     03/31/2018                                           9.93                0.55              (0.14)             0.41       (0.30)      0.00              (0.26)      (0.56)
     03/31/2017                                           9.22                0.58               0.77              1.35       (0.64)      0.00               0.00       (0.64)
I-2
     03/31/2021                                              8.58              0.44               1.47             1.91       (0.46)       0.00               0.00      (0.46)
     03/31/2020                                              9.71              0.52              (1.11)           (0.59)      (0.54)       0.00               0.00      (0.54)
     03/31/2019                                              9.78              0.56              (0.06)            0.50       (0.57)       0.00               0.00      (0.57)
     03/31/2018                                              9.93              0.54              (0.14)            0.40       (0.29)       0.00              (0.26)     (0.55)
     03/31/2017                                              9.22              0.57               0.77             1.34       (0.63)       0.00               0.00      (0.63)
I-3
     03/31/2021                                              8.58              0.43               1.48             1.91       (0.46)       0.00               0.00      (0.46)
     03/31/2020                                              9.71              0.52              (1.12)           (0.60)      (0.53)       0.00               0.00      (0.53)
     04/27/2018 - 03/31/2019                                 9.81              0.52              (0.10)            0.42       (0.52)       0.00               0.00      (0.52)
Class A
     03/31/2021                                              8.58              0.42               1.47             1.89       (0.44)       0.00               0.00      (0.44)
     03/31/2020                                              9.71              0.50              (1.12)           (0.62)      (0.51)       0.00               0.00      (0.51)
     03/31/2019                                              9.78              0.54              (0.07)            0.47       (0.54)       0.00               0.00      (0.54)
     03/31/2018                                              9.93              0.52              (0.14)            0.38       (0.27)       0.00              (0.26)     (0.53)
     03/31/2017                                              9.22              0.54               0.77             1.31       (0.60)       0.00               0.00      (0.60)
Class C
     03/31/2021                                              8.58              0.36               1.46             1.82       (0.37)       0.00               0.00      (0.37)
     03/31/2020                                              9.71              0.42              (1.11)           (0.69)      (0.44)       0.00               0.00      (0.44)
     03/31/2019                                              9.78              0.47              (0.07)            0.40       (0.47)       0.00               0.00      (0.47)
     03/31/2018                                              9.93              0.44              (0.14)            0.30       (0.19)       0.00              (0.26)     (0.45)
     03/31/2017                                              9.22              0.47               0.77             1.24       (0.53)       0.00               0.00      (0.53)
PIMCO Long-Term Credit Bond Fund
Institutional Class
     03/31/2021                                         $ 12.08             $ 0.50            $ 0.74            $ 1.24      $ (0.58)    $ (0.46)          $ 0.00      $ (1.04)
     03/31/2020                                           11.69               0.48              0.54              1.02        (0.59)      (0.04)             0.00       (0.63)
     03/31/2019                                           11.83               0.49              0.08              0.57        (0.49)      (0.15)            (0.07)      (0.71)
     03/31/2018                                           11.63               0.53              0.25              0.78        (0.58)       0.00              0.00       (0.58)
     03/31/2017                                           11.40               0.56              0.32              0.88        (0.60)       0.00             (0.05)      (0.65)
I-2
     03/31/2021                                            12.08               0.49              0.73              1.22       (0.56)      (0.46)              0.00      (1.02)
     03/31/2020                                            11.69               0.47              0.54              1.01       (0.58)      (0.04)              0.00      (0.62)
     03/31/2019                                            11.83               0.48              0.08              0.56       (0.48)      (0.15)             (0.07)     (0.70)
     03/31/2018                                            11.63               0.52              0.25              0.77       (0.57)       0.00               0.00      (0.57)
     03/31/2017                                            11.40               0.54              0.33              0.87       (0.59)       0.00              (0.05)     (0.64)
CREW/PIMCO Sr Float Rate Fund
Institutional Class
     03/31/2021                                         $ 8.63              $ 0.31            $ 0.70            $ 1.01      $ (0.33)    $ 0.00            $ 0.00      $ (0.33)
     03/31/2020                                           9.73                0.43              (1.06)            (0.63)      (0.47)      0.00               0.00       (0.47)
     03/31/2019                                           9.90                0.41              (0.14)             0.27       (0.44)      0.00               0.00       (0.44)
     03/31/2018                                           9.94                0.35               0.01              0.36       (0.38)      0.00              (0.02)      (0.40)
     03/31/2017                                           9.65                0.35               0.31              0.66       (0.37)      0.00               0.00       (0.37)


22     PIMCO CREDIT BOND FUNDS
                                                                       Ratios/Supplemental Data
                                                                      Ratios to Average Net Assets
                                                                                                 Expenses
 Net Asset                       Net Assets                                    Expenses          Excluding
Value End of                     End of Year                Expenses           Excluding          Interest         Net        Portfolio
  Year or                         or Period                 Excluding           Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)     (000s)        Expenses    Waivers            Expense           Waivers     Income (Loss)     Rate




 $ 10.35             4.43%       $     37,125     0.52%*      1.14%*             0.50%*              1.12%*       1.87%*        135%

    10.35            4.38               1,421     0.62*       1.24*              0.60*               1.22*        1.81*         135

    10.35            4.35                  45     0.72*       1.34*              0.70*               1.32*        1.69*         135

    10.35            4.23                  23     0.92*       1.54*              0.90*               1.52*        1.46*         135

    10.35            3.85                  90     1.67*       2.29*              1.65*               2.27*        0.67*         135



 $ 10.03           22.77%        $     170,488    0.62%       0.62%              0.60%               0.60%        4.67%          39%
    8.58           (6.52)              101,092    0.62        0.62               0.60                0.60         5.47           27
    9.71            5.36               603,647    0.63        0.63               0.60                0.60         5.93           26
    9.78            4.15               655,038    0.62        0.62               0.60                0.60         5.53           24
    9.93           14.98             1,505,442    0.61        0.61               0.60                0.60         5.92           35

    10.03          22.65              238,069     0.72        0.72               0.70                0.70         4.60           39
     8.58          (6.61)             134,676     0.72        0.72               0.70                0.70         5.34           27
     9.71           5.26              193,934     0.73        0.73               0.70                0.70         5.85           26
     9.78           4.05              150,910     0.72        0.72               0.70                0.70         5.45           24
     9.93          14.87              142,214     0.71        0.71               0.70                0.70         5.82           35

    10.03          22.59                3,621     0.77        0.82               0.75                0.80         4.41           39
     8.58          (6.66)                 445     0.77        0.82               0.75                0.80         5.28           27
     9.71           4.45                2,142     0.78*       0.83*              0.75*               0.80*        5.91*          26

    10.03          22.35               54,395     0.97        0.97               0.95                0.95         4.43           39
     8.58          (6.85)              50,039     0.97        0.97               0.95                0.95         5.08           27
     9.71           5.00               63,446     0.98        0.98               0.95                0.95         5.58           26
     9.78           3.79               83,841     0.97        0.97               0.95                0.95         5.21           24
     9.93          14.58               43,592     0.96        0.96               0.95                0.95         5.55           35

    10.03          21.44                5,265     1.72        1.72               1.70                1.70         3.72           39
     8.58          (7.54)               6,862     1.72        1.72               1.70                1.70         4.33           27
     9.71           4.22                8,118     1.73        1.73               1.70                1.70         4.83           26
     9.78           3.02               10,506     1.72        1.72               1.70                1.70         4.44           24
     9.93          13.73                9,777     1.71        1.71               1.70                1.70         4.81           35



 $ 12.28             9.84%       $ 3,483,341      0.59%       0.59%              0.55%               0.55%        3.79%         103%
   12.08             8.59          3,313,697      0.84        0.84               0.55                0.55         3.84          180
   11.69             5.20          3,576,056      0.79        0.79               0.55                0.55         4.33          133
   11.83             6.76          3,309,210      0.85        0.85               0.55                0.55         4.43           96
   11.63             7.79          2,805,317      0.72        0.72               0.55                0.55         4.70          114

    12.28            9.73             133,698     0.69        0.69               0.65                0.65         3.69          103
    12.08            8.49             197,002     0.94        0.94               0.65                0.65         3.71          180
    11.69            5.10              71,189     0.89        0.89               0.65                0.65         4.23          133
    11.83            6.66              54,410     0.95        0.95               0.65                0.65         4.34           96
    11.63            7.68              41,527     0.82        0.82               0.65                0.65         4.56          114



 $ 9.31            11.85%        $     210,739    0.73%       0.73%              0.70%               0.70%        3.42%         184%
   8.63            (6.94)              151,077    0.75        0.75               0.70                0.70         4.42           49
   9.73             2.74               171,645    0.75        0.75               0.70                0.70         4.15           42
   9.90             3.66             1,269,665    0.72        0.72               0.70                0.70         3.55           34
   9.94             6.96             1,148,303    0.74        0.74               0.70                0.70         3.53           19


                                                                                                                     ANNUAL REPORT | MARCH 31, 2021   23
Financial Highlights (Cont.)
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital     Total

PIMCO Low Duration Credit
  Fund (Cont.)
I-2
    03/31/2021                                          $ 8.63              $ 0.31            $ 0.69            $ 1.00      $ (0.32)    $ 0.00            $ 0.00      $ (0.32)
    03/31/2020                                            9.73                0.42              (1.06)            (0.64)      (0.46)      0.00               0.00       (0.46)
    03/31/2019                                            9.90                0.42              (0.16)             0.26       (0.43)      0.00               0.00       (0.43)
    03/31/2018                                            9.94                0.34               0.01              0.35       (0.37)      0.00              (0.02)      (0.39)
    03/31/2017                                            9.65                0.34               0.31              0.65       (0.36)      0.00               0.00       (0.36)
Class A
    03/31/2021                                               8.63              0.29               0.70             0.99       (0.31)       0.00               0.00      (0.31)
    03/31/2020                                               9.73              0.40              (1.06)           (0.66)      (0.44)       0.00               0.00      (0.44)
    03/31/2019                                               9.90              0.39              (0.15)            0.24       (0.41)       0.00               0.00      (0.41)
    03/31/2018                                               9.94              0.32               0.01             0.33       (0.35)       0.00              (0.02)     (0.37)
    03/31/2017                                               9.65              0.32               0.31             0.63       (0.34)       0.00               0.00      (0.34)
Class C
    03/31/2021                                               8.63              0.21               0.71             0.92       (0.24)       0.00               0.00      (0.24)
    03/31/2020                                               9.73              0.33              (1.06)           (0.73)      (0.37)       0.00               0.00      (0.37)
    03/31/2019                                               9.90              0.32              (0.16)            0.16       (0.33)       0.00               0.00      (0.33)
    03/31/2018                                               9.94              0.25               0.00             0.25       (0.27)       0.00              (0.02)     (0.29)
    03/31/2017                                               9.65              0.25               0.31             0.56       (0.27)       0.00               0.00      (0.27)
PIMCO Low Duration Income Fund
Institutional Class
     03/31/2021                                         $ 7.95              $ 0.25            $ 0.75            $ 1.00      $ (0.23)    $ 0.00            $ (0.05)    $ (0.28)
     03/31/2020                                           8.58                0.32              (0.55)            (0.23)      (0.40)      0.00               0.00       (0.40)
     03/31/2019                                           8.56                0.30               0.01              0.31       (0.29)      0.00               0.00       (0.29)
     03/31/2018                                           8.46                0.27               0.09              0.36       (0.26)      0.00               0.00       (0.26)
     03/31/2017                                           7.67                0.35               0.74              1.09       (0.30)      0.00               0.00       (0.30)
I-2
     03/31/2021                                              7.95              0.24               0.75             0.99       (0.22)       0.00              (0.05)     (0.27)
     03/31/2020                                              8.58              0.31              (0.55)           (0.24)      (0.39)       0.00               0.00      (0.39)
     03/31/2019                                              8.56              0.30               0.00             0.30       (0.28)       0.00               0.00      (0.28)
     03/31/2018                                              8.46              0.26               0.09             0.35       (0.25)       0.00               0.00      (0.25)
     03/31/2017                                              7.67              0.32               0.76             1.08       (0.29)       0.00               0.00      (0.29)
I-3
     03/31/2021                                              7.95              0.24               0.75             0.99       (0.22)       0.00              (0.05)     (0.27)
     03/31/2020                                              8.58              0.31              (0.56)           (0.25)      (0.38)       0.00               0.00      (0.38)
     04/27/2018 - 03/31/2019                                 8.54              0.29               0.01             0.30       (0.26)       0.00               0.00      (0.26)
Class A
     03/31/2021                                              7.95              0.22               0.75             0.97       (0.20)       0.00              (0.05)     (0.25)
     03/31/2020                                              8.58              0.28              (0.55)           (0.27)      (0.36)       0.00               0.00      (0.36)
     03/31/2019                                              8.56              0.27               0.01             0.28       (0.26)       0.00               0.00      (0.26)
     03/31/2018                                              8.46              0.23               0.09             0.32       (0.22)       0.00               0.00      (0.22)
     03/31/2017                                              7.67              0.31               0.75             1.06       (0.27)       0.00               0.00      (0.27)
Class C
     03/31/2021                                              7.95              0.19               0.75             0.94       (0.17)       0.00              (0.05)     (0.22)
     03/31/2020                                              8.58              0.26              (0.55)           (0.29)      (0.34)       0.00               0.00      (0.34)
     03/31/2019                                              8.56              0.24               0.01             0.25       (0.23)       0.00               0.00      (0.23)
     03/31/2018                                              8.46              0.20               0.10             0.30       (0.20)       0.00               0.00      (0.20)
     03/31/2017                                              7.67              0.29               0.75             1.04       (0.25)       0.00               0.00      (0.25)
Class C-2
     10/21/2020 - 03/31/2021                                 8.47              0.08              0.20              0.28       (0.03)       0.00              (0.05)     (0.08)
PIMCO Preferred and Capital
Securities Fund (Consolidated)
Institutional Class
     03/31/2021                                         $ 9.23              $ 0.40            $ 1.88            $ 2.28      $ (0.41)    $ 0.00            $ 0.00      $ (0.41)
     03/31/2020                                           9.98                0.41              (0.63)            (0.22)      (0.50)      (0.03)             0.00       (0.53)
     03/31/2019                                          10.31                0.46              (0.18)             0.28       (0.59)      (0.01)            (0.01)      (0.61)
     03/31/2018                                          10.22                0.41               0.43              0.84       (0.72)      (0.03)             0.00       (0.75)
     03/31/2017                                           9.44                0.46               0.94              1.40       (0.62)       0.00              0.00       (0.62)




24     PIMCO CREDIT BOND FUNDS
                                                                         Ratios/Supplemental Data
                                                                        Ratios to Average Net Assets
                                                                                                   Expenses
 Net Asset                       Net Assets                                      Expenses          Excluding
Value End of                     End of Year                Expenses             Excluding          Interest          Net        Portfolio
  Year or                         or Period                 Excluding             Interest        Expense and     Investment     Turnover
  Period(a)    Total Return(a)     (000s)        Expenses    Waivers              Expense           Waivers      Income (Loss)     Rate




 $ 9.31            11.74%        $     22,046     0.83%       0.83%                0.80%               0.80%         3.34%         184%
   8.63            (7.03)              25,932     0.85        0.85                 0.80                0.80          4.30           49
   9.73             2.64               38,809     0.85        0.85                 0.80                0.80          4.25           42
   9.90             3.56               22,172     0.82        0.82                 0.80                0.80          3.47           34
   9.94             6.85               13,970     0.84        0.84                 0.80                0.80          3.44           19

     9.31          11.52               54,219     1.03        1.03                 1.00                1.00          3.16          184
     8.63          (7.22)              52,228     1.05        1.05                 1.00                1.00          4.13           49
     9.73           2.44               89,364     1.05        1.05                 1.00                1.00          4.02           42
     9.90           3.35               94,579     1.02        1.02                 1.00                1.00          3.24           34
     9.94           6.63               87,065     1.04        1.04                 1.00                1.00          3.24           19

     9.31          10.68                9,975     1.78        1.78                 1.75                1.75          2.34          184
     8.63          (7.91)              22,627     1.80        1.80                 1.75                1.75          3.39           49
     9.73           1.68               46,421     1.80        1.80                 1.75                1.75          3.27           42
     9.90           2.58               44,916     1.77        1.77                 1.75                1.75          2.48           34
     9.94           5.84               55,559     1.79        1.79                 1.75                1.75          2.49           19



 $ 8.67            12.72%        $ 2,204,463      0.54%       0.54%                0.51%               0.51%         2.96%         410%
   7.95            (2.94)          1,644,585      0.55        0.55                 0.51                0.51          3.77          432
   8.58             3.70           1,682,347      0.58        0.59                 0.50                0.51          3.55          207
   8.56             4.29             705,766      0.50        0.55                 0.46                0.51          3.21          128
   8.46            14.45              95,776      0.61(d)     0.62(d)              0.55(d)             0.56(d)       4.23          243

     8.67          12.61             3,109,079    0.64        0.64                 0.61                0.61          2.85          410
     7.95          (3.04)            2,246,989    0.65        0.65                 0.61                0.61          3.64          432
     8.58           3.60             1,854,130    0.68        0.69                 0.60                0.61          3.49          207
     8.56           4.19               509,577    0.60        0.65                 0.56                0.61          3.10          128
     8.46          14.34                55,138    0.71(e)     0.72(e)              0.65(e)             0.66(e)       3.85          243

     8.67          12.57               87,455     0.69        0.74                 0.66                0.71          2.82          410
     7.95          (3.09)              20,116     0.70        0.75                 0.66                0.71          3.63          432
     8.58           3.56               39,161     0.73*       0.79*                0.65*               0.71*         3.69*         207

     8.67          12.28             1,784,043    0.94        0.94                 0.91                0.91          2.55          410
     7.95          (3.33)            1,322,295    0.95        0.95                 0.91                0.91          3.33          432
     8.58           3.29             1,056,714    0.98        0.99                 0.90                0.91          3.16          207
     8.56           3.87               533,327    0.90        0.95                 0.86                0.91          2.70          128
     8.46          14.00               169,743    1.01(f)     1.02(f)              0.95(f)             0.96(f)       3.77          243

     8.67          11.95              212,807     1.24        1.24                 1.21                1.21          2.25          410
     7.95          (3.62)             200,678     1.25        1.25                 1.21                1.21          3.07          432
     8.58           2.98              190,628     1.28        1.29                 1.20                1.21          2.85          207
     8.56           3.56              101,717     1.20        1.25                 1.16                1.21          2.34          128
     8.46          13.65               85,943     1.31(f)     1.32(f)              1.25(f)             1.26(f)       3.53          243

     8.67            3.35               3,209     1.44*       1.44*                1.41*               1.41*         2.04*         410




 $ 11.10           24.86%        $ 1,216,087      0.81%       0.91%                0.79%               0.89%         3.74%          59%
    9.23           (2.68)            788,615      0.79        0.87                 0.78                0.86          3.92           67
    9.98            2.83             259,798      0.82        0.91                 0.81                0.90          4.58           57
   10.31            8.28             119,949      0.80        0.87                 0.80                0.87          3.94          151
   10.22           15.22              60,707      0.80        0.87                 0.80                0.87          4.62          123




                                                                                                                        ANNUAL REPORT | MARCH 31, 2021   25
Financial Highlights (Cont.)
                                                                                        Investment Operations                                    Less Distributions(c)



                                                       Net Asset Value                                                                       From Net
                                                        Beginning of                        Net Realized/                   From Net         Realized           Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment         Capital           Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)        Total        Income            Gains             Capital          Total

PIMCO Preferred and Capital Securities
  Fund (Continued)
I-2
      03/31/2021                                        $ 9.21              $ 0.39            $ 1.88            $ 2.27      $ (0.40)         $ 0.00             $ 0.00          $ (0.40)
      03/31/2020                                           9.97               0.40              (0.64)            (0.24)      (0.49)           (0.03)              0.00           (0.52)
      03/31/2019                                          10.30               0.45              (0.18)             0.27       (0.58)           (0.01)             (0.01)          (0.60)
      03/31/2018                                          10.21               0.40               0.43              0.83       (0.71)           (0.03)              0.00           (0.74)
      03/31/2017                                           9.45               0.42               0.96              1.38       (0.62)            0.00               0.00           (0.62)
I-3
    03/31/2021                                              9.20               0.38               1.88             2.26       (0.40)             0.00               0.00              (0.40)
    03/31/2020                                              9.95               0.40              (0.63)           (0.23)      (0.49)            (0.03)              0.00              (0.52)
    04/27/2018 - 03/31/2019                                10.32               0.43              (0.19)            0.24       (0.59)            (0.01)             (0.01)             (0.61)
Class A
    03/31/2021                                              9.19               0.36               1.88             2.24       (0.38)             0.00               0.00              (0.38)
    03/31/2020                                              9.95               0.37              (0.63)           (0.26)      (0.47)            (0.03)              0.00              (0.50)
    03/31/2019                                             10.29               0.43              (0.19)            0.24       (0.56)            (0.01)             (0.01)             (0.58)
    03/31/2018                                             10.22               0.38               0.42             0.80       (0.70)            (0.03)              0.00              (0.73)
    03/31/2017                                              9.43               0.42               0.95             1.37       (0.58)             0.00               0.00              (0.58)
Class C
    03/31/2021                                              9.19               0.28               1.87             2.15       (0.31)             0.00               0.00              (0.31)
    08/23/2019 - 03/31/2020                                10.48               0.16              (1.08)           (0.92)      (0.34)            (0.03)              0.00              (0.37)


^ A zero balance may reflect actual amounts rounding to less than $0.01 or 0.01%.
* Annualized
(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Funds.
(b) Per share amounts based on average number of shares outstanding during the year or period.
(c) The tax characterization of distributions is determined in accordance with Federal income tax regulations. See Note 2, Distributions to Shareholders, in the Notes to Financial

    Statements for more information.
(d) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.20%.
(e) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.30%.
(f) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.35%.




26     PIMCO CREDIT BOND FUNDS
                                                                     Ratios/Supplemental Data
                                                                    Ratios to Average Net Assets
                                                                                               Expenses
 Net Asset                       Net Assets                                  Expenses          Excluding
Value End of                     End of Year              Expenses           Excluding          Interest         Net        Portfolio
  Year or                         or Period               Excluding           Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)     (000s)      Expenses    Waivers            Expense           Waivers     Income (Loss)     Rate




 $ 11.08           24.81%        $ 318,242      0.91%       1.01%              0.89%               0.99%        3.65%          59%
    9.21           (2.87)          230,245      0.89        0.97               0.88                0.96         3.85           67
    9.97            2.76           130,385      0.92        1.01               0.91                1.00         4.51           57
   10.30            8.27            36,539      0.90        0.97               0.90                0.97         3.82          151
   10.21           14.92             6,002      0.90        0.97               0.90                0.97         4.19          123

    11.06          24.68            42,310      0.96        1.11               0.94                1.09         3.60           59
     9.20          (2.80)           28,048      0.94        1.07               0.93                1.06         3.80           67
     9.95           2.49            11,782      0.97*       1.11*              0.96*               1.10*        4.79*          57

    11.05          24.46           302,567      1.16        1.26               1.14                1.24         3.40           59
     9.19          (3.06)          264,206      1.14        1.22               1.13                1.21         3.57           67
     9.95           2.50           119,215      1.17        1.26               1.16                1.25         4.29           57
    10.29           7.88            35,464      1.15        1.22               1.15                1.22         3.63          151
    10.22          14.79             1,954      1.15        1.22               1.15                1.22         4.22          123

    11.03          23.53            20,136      1.91        2.01               1.89                1.99         2.65           59
     9.19          (9.21)           12,500      1.89*       1.97*              1.88*               1.96*        2.64*          67




                                                                                                                   ANNUAL REPORT | MARCH 31, 2021   27
Statements of Assets and Liabilities
                                                                       PIMCO                                                             PIMCO
                                                                     Credit             PIMCO           PIMCO            PIMCO       Long-Term       CREW/PIMCO          PIMCO
                                                                  Opportunities      Diversified    ESG Income        High Yield     Credit Bond      Sr Floating   Low Duration
(Amounts in thousands†, except per share amounts)                  Bond Fund        Income Fund        Fund         Spectrum Fund       Fund         Rate Fund      Income Fund

Assets:
Investments, at value
   Investments in securities*                                      $ 317,460        $ 5,000,202     $ 36,955         $ 427,660       $ 4,243,108     $ 266,096      $ 9,408,017
   Investments in Affiliates                                          87,527            492,982            0            39,266            55,745        24,973           34,466
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                    350              2,938           12                85             3,163             0             7,463
   Over the counter                                                      1,773             17,247          116             2,590            14,027           532            61,149
Cash                                                                       648              1,857        3,173               106                 0         4,029                20
Deposits with counterparty                                               9,997              2,538          188             2,571            23,574             0            41,866
Foreign currency, at value                                                 619              5,346           26                 3             5,850            24            30,385
Receivable for investments sold                                          3,279                109            2               757             9,064        22,047             6,493
Receivable for TBA investments sold                                     13,493            279,613        2,665                 0           194,657             0         2,718,507
Receivable for Fund shares sold                                            997              4,582        1,634               173             6,105           136            29,516
Interest and/or dividends receivable                                     2,822             45,259          193             5,714            37,143         1,033            40,364
Dividends receivable from Affiliates                                        13                109            0                 9                 3             4                 3
Reimbursement receivable from PIMCO                                          0                  1            0                 0                 0             0                 0
Prepaid expenses                                                             0                  0            0                10                 0            23                 0
Other assets                                                                 0                  0            0                 0                 2             0                 0
Total Assets                                                           438,978          5,852,783       44,964           478,944         4,592,441       318,897        12,378,249
Liabilities:
Borrowings & Other Financing Transactions
   Payable for reverse repurchase agreements                       $     2,168      $     13,497    $      852       $           0   $    567,377    $        0     $     442,931
   Payable for sale-buyback transactions                                     0                 0             0                   0          2,226             0             4,390
   Payable for short sales                                               1,501                 0             0                   0              0             0           733,804
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                     78               831             0                 0              861              0             1,583
   Over the counter                                                        870             1,472            47                 3            6,868              2            47,945
Payable for investments purchased                                        2,900            15,630           995             3,174           44,624         19,614           156,348
Payable for investments in Affiliates purchased                             13               109             0                 9                3              4                 3
Payable for TBA investments purchased                                   18,472           519,410         4,335                 0          334,299              0         3,513,713
Payable for unfunded loan commitments                                    1,294             2,997             0               136            5,473          1,347               299
Deposits from counterparty                                                 842            17,197             0             2,330            9,152            280            53,541
Payable for Fund shares redeemed                                         3,945             6,848            17             1,043            2,346            426            16,321
Distributions payable                                                        0               940             0               120              460             15             2,184
Overdraft due to custodian                                                   0                 0             0                 0               69              0                 0
Accrued investment advisory fees                                           209             2,003             7               120              888            107             1,816
Accrued supervisory and administrative fees                                117             1,451             7               146              750             84             1,726
Accrued distribution fees                                                    2                46             0                 4                0              6                55
Accrued servicing fees                                                       5                92             0                13                0             14               420
Accrued taxes payable                                                        0                 0             0                 0                0              0                98
Accrued reimbursement to PIMCO                                               0                 0             0                 0                0              0                16
Other liabilities                                                            0                 0             0                 8                6             19                 0
Total Liabilities                                                       32,416           582,523         6,260             7,106          975,402         21,918         4,977,193

Net Assets                                                         $ 406,562        $ 5,270,260     $ 38,704         $ 471,838       $ 3,617,039     $ 296,979      $ 7,401,056
Net Assets Consist of:
Paid in capital                                                    $ 451,627        $ 5,255,214     $ 38,486         $ 511,140       $ 3,385,900     $ 362,012      $ 7,565,128
Distributable earnings (accumulated loss)                            (45,065)            15,046          218           (39,302)          231,139       (65,033)        (164,072)

Net Assets                                                         $ 406,562        $ 5,270,260     $ 38,704         $ 471,838       $ 3,617,039     $ 296,979      $ 7,401,056

Cost of investments in securities                                  $ 311,652        $ 4,912,841     $ 36,974         $ 415,855       $ 4,123,967     $ 260,398      $ 9,413,827
Cost of investments in Affiliates                                  $ 87,421         $ 492,959       $      0         $ 39,225        $    55,750     $ 24,974       $    34,466
Cost of foreign currency held                                      $     671        $     5,088     $     28         $       2       $     6,609     $      24      $    30,628
Proceeds received on short sales                                   $ 1,433          $         0     $      0         $       0       $         0     $       0      $   733,686
Cost or premiums of financial derivative instruments, net          $ 2,388          $    39,194     $     82         $ 1,787         $    35,407     $       0      $    25,856

* Includes repurchase agreements of:                               $     1,597      $           0   $           0    $           0   $      5,943    $        0     $      33,560

†   A zero balance may reflect actual amounts rounding to less than one thousand.

28     PIMCO CREDIT BOND FUNDS
                                                                                                                                                                     March 31, 2021


                                                                      PIMCO                                                                PIMCO
                                                                    Credit            PIMCO           PIMCO              PIMCO         Long-Term      CREW/PIMCO        PIMCO
                                                                 Opportunities     Diversified      ESG Income       High Yield        Credit Bond    Sr Floating   Low Duration
                                                                  Bond Fund       Income Fund          Fund        Spectrum Fund          Fund        Rate Fund     Income Fund

Net Assets:
Institutional Class                                               $ 268,038       $ 4,132,019        $ 37,125        $ 170,488         $ 3,483,341    $ 210,739     $ 2,204,463
I-2                                                                 115,116           670,322           1,421          238,069             133,698       22,046       3,109,079
I-3                                                                     N/A            27,498              45            3,621                 N/A          N/A          87,455
Administrative Class                                                    N/A            10,752             N/A              N/A                 N/A          N/A             N/A
Class A                                                              19,542           361,780              23           54,395                 N/A       54,219       1,784,043
Class C                                                               3,866            67,889              90            5,265                 N/A        9,975         212,807
Class C-2                                                               N/A               N/A             N/A              N/A                 N/A          N/A           3,209

Shares Issued and Outstanding:
Institutional Class                                                    26,834          374,313          3,588             17,005            283,666       22,637         254,185
I-2                                                                    11,578           60,723            137             23,746             10,888        2,368         358,496
I-3                                                                       N/A            2,491              4                361                N/A          N/A          10,084
Administrative Class                                                      N/A              974            N/A                N/A                N/A          N/A             N/A
Class A                                                                 1,955           32,774              2              5,426                N/A        5,824         205,709
Class C                                                                   393            6,150              9                525                N/A        1,071          24,538
Class C-2                                                                 N/A              N/A            N/A                N/A                N/A          N/A             370

Net Asset Value Per Share Outstanding(a):
Institutional Class                                               $      9.99     $      11.04       $ 10.35         $     10.03       $      12.28   $     9.31    $       8.67
I-2                                                                      9.94            11.04         10.35               10.03              12.28         9.31            8.67
I-3                                                                       N/A            11.04         10.35               10.03                N/A          N/A            8.67
Administrative Class                                                      N/A            11.04           N/A                 N/A                N/A          N/A             N/A
Class A                                                                 10.00            11.04         10.35               10.03                N/A         9.31            8.67
Class C                                                                  9.85            11.04         10.35               10.03                N/A         9.31            8.67
Class C-2                                                                 N/A              N/A           N/A                 N/A                N/A          N/A            8.67

(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Funds.




                                                                                                                                       ANNUAL REPORT | MARCH 31, 2021           29
Consolidated Statement of Assets and Liabilities
                                                                                       PIMCO
                                                                                    Preferred and
                                                                                       Capital
                                                                                      Securities
(Amounts in thousands†, except per share amounts)                                       Fund

Assets:
Investments, at value
   Investments in securities*                                                       $ 1,832,564
   Investments in Affiliates                                                             78,277
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                                       923
   Over the counter                                                                        18,746
Cash                                                                                        2,747
Deposits with counterparty                                                                 11,232
Foreign currency, at value                                                                  2,790
Receivable for investments sold                                                             1,009
Receivable for Fund shares sold                                                             1,530
Interest and/or dividends receivable                                                       18,568
Dividends receivable from Affiliates                                                           12
Reimbursement receivable from PIMCO                                                           187
Total Assets                                                                            1,968,585

Liabilities:
Borrowings & Other Financing Transactions
   Payable for reverse repurchase agreements                                        $     39,487
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                                      657
   Over the counter                                                                        1,625
Payable for investments purchased                                                          6,598
Payable for investments in Affiliates purchased                                               12
Deposits from counterparty                                                                17,582
Payable for Fund shares redeemed                                                           1,545
Accrued investment advisory fees                                                             835
Accrued supervisory and administrative fees                                                  673
Accrued distribution fees                                                                     12
Accrued servicing fees                                                                        68
Other liabilities                                                                            149
Total Liabilities                                                                         69,243

Net Assets                                                                          $ 1,899,342

Net Assets Consist of:
Paid in capital                                                                     $ 1,786,209
Distributable earnings (accumulated loss)                                               113,133

Net Assets                                                                          $ 1,899,342

Cost of investments in securities                                                   $ 1,735,592
Cost of investments in Affiliates                                                   $    78,268
Cost of foreign currency held                                                       $     2,858
Cost or premiums of financial derivative instruments, net                           $     1,296

* Includes repurchase agreements of:                                                $     78,225


†   A zero balance may reflect actual amounts rounding to less than one thousand.




30     PIMCO CREDIT BOND FUNDS
                                                                                                                                                                March 31, 2021


                                                                                                                                                               PIMCO
                                                                                                                                                            Preferred and
                                                                                                                                                               Capital
                                                                                                                                                              Securities
                                                                                                                                                                Fund

Net Assets:
Institutional Class                                                                                                                                         $ 1,216,087
I-2                                                                                                                                                             318,242
I-3                                                                                                                                                              42,310
Class A                                                                                                                                                         302,567
Class C                                                                                                                                                          20,136

Shares Issued and Outstanding:
Institutional Class                                                                                                                                              109,541
I-2                                                                                                                                                               28,734
I-3                                                                                                                                                                3,826
Class A                                                                                                                                                           27,381
Class C                                                                                                                                                            1,826

Net Asset Value Per Share Outstanding(a):
Institutional Class                                                                                                                                         $       11.10
I-2                                                                                                                                                                 11.08
I-3                                                                                                                                                                 11.06
Class A                                                                                                                                                             11.05
Class C                                                                                                                                                             11.03

(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Fund.




                                                                                                                                      ANNUAL REPORT | MARCH 31, 2021        31
Statements of Operations
Year Ended March 31, 2021
                                                                      PIMCO                                                       PIMCO
                                                                      Credit           PIMCO         PIMCO         PIMCO        Long-Term      CREW/PIMCO      PIMCO
                                                                   Opportunities     Diversified   ESG Income     High Yield    Credit Bond     Sr Floating Low Duration
(Amounts in thousands†)                                             Bond Fund       Income Fund      Fund(a)    Spectrum Fund      Fund         Rate Fund   Income Fund


Investment Income:
Interest, net of foreign taxes*                                      $ 15,406       $ 180,569        $ 187       $ 21,177       $ 162,625        $ 18,345      $ 208,561
Dividends                                                                   0           1,274            0              0           1,531               0          1,254
Dividends from Investments in Affiliates                                  286             726            0            122             145             141             37
   Total Income                                                        15,692         182,569          187         21,299         164,301          18,486        209,852

Expenses:
Investment advisory fees                                                  2,351          21,522           19          1,198          11,242           1,776         18,021
Supervisory and administrative fees                                       1,311          15,599           19          1,465           9,529           1,389         17,144
Distribution and/or servicing fees - Administrative Class                   N/A             299          N/A            N/A             N/A             N/A            N/A
Distribution fees - Class C                                                  38             612            0             53             N/A             128            621
Distribution fees - C-2                                                     N/A             N/A          N/A            N/A             N/A             N/A              2(b)
Servicing fees - Class A                                                     55             860            0            137             N/A             125          3,699
Servicing fees - Class C                                                     13             204            0             18             N/A              43            517
Servicing fees - C-2                                                        N/A             N/A          N/A            N/A             N/A             N/A              1(b)
Trustee fees                                                                  2              26            0              2              23               2             35
Interest expense                                                             18           1,070            2             69           1,428             135          1,883
Organizational expense                                                        0               0           98              0               0               0              0
Miscellaneous expense                                                         5              47            0              6              47               6            365
   Total Expenses                                                         3,793          40,239          138          2,948          22,269           3,604         42,288
   Waiver and/or Reimbursement by PIMCO                                       0             (12)         (97)            (0)              0               0            (57)
   Net Expenses                                                           3,793          40,227           41          2,948          22,269           3,604         42,231

Net Investment Income (Loss)                                             11,899         142,342          146         18,351         142,032          14,882        167,621

Net Realized Gain (Loss):
Investments in securities                                                    77         (18,964)         (14)         (8,687)       228,001          12,824         28,633
Investments in Affiliates                                                   (77)             17            0              49            357             301             (8)
Exchange-traded or centrally cleared financial
   derivative instruments                                                   310          (6,009)           3            (139)       (32,437)         (2,049)       (144,334)
Over the counter financial derivative instruments                          (344)        (24,090)         (55)         (2,140)         9,899            (742)        (35,848)
Short sales                                                                (776)             30            0               0              0               0             (26)
Foreign currency                                                           (315)         (4,281)          22            (934)        (1,050)         (1,664)         (5,443)

Net Realized Gain (Loss)                                                 (1,125)        (53,297)         (44)        (11,851)       204,770           8,670        (157,026)

Net Change in Unrealized Appreciation (Depreciation):
Investments in securities                                                32,867         295,819          (19)        63,813         (41,137)         27,777        326,397
Investments in Affiliates                                                   347             989            0             54             (26)             34             (1)
Exchange-traded or centrally cleared financial
   derivative instruments                                                 2,332          80,242          197          1,601          62,758             580        300,557
Over the counter financial derivative instruments                         1,248          23,617           85          3,313          14,614             998         47,849
Short sales                                                                 618               0            0              0               0               0              0
Foreign currency assets and liabilities                                     (54)         (2,800)          (2)          (387)           (728)           (182)        (4,595)

Net Change in Unrealized Appreciation (Depreciation)                     37,358         397,867          261         68,394          35,481          29,207        670,207

Net Increase (Decrease) in Net Assets Resulting
  from Operations                                                    $ 48,132       $ 486,912        $ 363       $ 74,894       $ 382,283        $ 52,759      $ 680,802

* Foreign tax withholdings                                           $        0     $         0      $     0     $         0    $         0      $        0    $        99


†   A zero balance may reflect actual amounts rounding to less than one thousand.
(a) Inception date of the Fund was September 30, 2020.
(b) Inception date of Class C-2 was October 21, 2020.




32     PIMCO CREDIT BOND FUNDS
Consolidated Statement of Operations
Year Ended March 31, 2021
                                                                                                             PIMCO
                                                                                                          Preferred and
                                                                                                             Capital
                                                                                                            Securities
(Amounts in thousands†)                                                                                       Fund


Investment Income:
Interest, net of foreign taxes*                                                                            $ 74,597
Dividends                                                                                                     3,671
Dividends from Investments in Affiliates                                                                        322
   Total Income                                                                                              78,590

Expenses:
Investment advisory fees                                                                                         8,814
Supervisory and administrative fees                                                                              7,191
Distribution fees - Class C                                                                                        127
Servicing fees - Class A                                                                                           722
Servicing fees - Class C                                                                                            42
Trustee fees                                                                                                         9
Interest expense                                                                                                   264
Miscellaneous expense                                                                                                6
   Total Expenses                                                                                               17,175
   Waiver and/or Reimbursement by PIMCO                                                                         (1,744)
   Net Expenses                                                                                                 15,431

Net Investment Income (Loss)                                                                                    63,159

Net Realized Gain (Loss):
Investments in securities                                                                                       48,868
Investments in Affiliates                                                                                           94
Exchange-traded or centrally cleared financial derivative instruments                                           (6,343)
Over the counter financial derivative instruments                                                              (41,241)
Foreign currency                                                                                                (3,013)

Net Realized Gain (Loss)                                                                                        (1,635)

Net Change in Unrealized Appreciation (Depreciation):
Investments in securities                                                                                      267,586
Investments in Affiliates                                                                                            9
Exchange-traded or centrally cleared financial derivative instruments                                            4,889
Over the counter financial derivative instruments                                                               14,689
Foreign currency assets and liabilities                                                                           (947)

Net Change in Unrealized Appreciation (Depreciation)                                                           286,226

Net Increase (Decrease) in Net Assets Resulting from Operations                                            $ 347,750

* Foreign tax withholdings                                                                                 $      150


†   A zero balance may reflect actual amounts rounding to less than one thousand.




                                                                                    ANNUAL REPORT | MARCH 31, 2021        33
Statements of Changes in Net Assets
                                                                                                      PIMCO                                    PIMCO                          PIMCO
                                                                                          Credit Opportunities Bond Fund              Diversified Income Fund            ESG Income Fund

                                                                                          Year Ended          Year Ended          Year Ended          Year Ended           Inception date
                                                                                         March 31, 2021      March 31, 2020      March 31, 2021      March 31, 2020           through
                                                                                                                                                                          March 31, 2021(a)
(Amounts in thousands†)
Increase (Decrease) in Net Assets from:

Operations:
Net investment income (loss)                                                              $ 11,899            $ 16,704           $    142,342        $    123,630            $        146
Net realized gain (loss)                                                                    (1,125)               7,747               (53,297)            101,111                     (44)
Net change in unrealized appreciation (depreciation)                                        37,358              (37,789)              397,867            (321,601)                    261

Net Increase (Decrease) in Net Assets Resulting from Operations                               48,132              (13,338)            486,912              (96,860)                   363

Distributions to Shareholders:
From net investment income and/or net realized capital gains
   Institutional Class                                                                         (9,582)            (12,786)            (133,148)          (139,643)                 (145)
   I-2                                                                                         (3,420)             (2,265)             (19,957)           (19,963)                   (0)
   I-3                                                                                            N/A                 N/A                 (861)              (457)                   (0)
   Administrative Class                                                                           N/A                 N/A               (4,152)            (7,677)                  N/A
   Class A                                                                                       (678)               (785)             (11,193)           (15,078)                   (0)
   Class C                                                                                       (121)               (164)              (2,050)            (2,771)                   (0)
   Class C-2                                                                                      N/A                 N/A                  N/A                N/A                   N/A
Tax basis return of capital
  Institutional Class                                                                               0                   0                    0                    0                     0
  I-2                                                                                               0                   0                    0                    0                     0
  I-3                                                                                             N/A                 N/A                    0                    0                     0
  Administrative Class                                                                            N/A                 N/A                    0                    0                   N/A
  Class A                                                                                           0                   0                    0                    0                     0
  Class C                                                                                           0                   0                    0                    0                     0
  Class C-2                                                                                       N/A                 N/A                  N/A                  N/A                   N/A

Total Distributions(c)                                                                       (13,801)             (16,000)            (171,361)          (185,589)                 (145)

Fund Share Transactions:
Net increase (decrease) resulting from Fund share transactions*                               59,901              (24,584)           1,219,500            735,912                38,486
Fund Redemption Fee                                                                                0                    0                    0                  0                     0

Total Increase (Decrease) in Net Assets                                                       94,232              (53,922)           1,535,051            453,463                38,704

Net Assets:
Beginning of year                                                                           312,330             366,252            3,735,209           3,281,746                    0
End of year                                                                               $ 406,562           $ 312,330          $ 5,270,260         $ 3,735,209             $ 38,704


†   A zero balance may reflect actual amounts rounding to less than one thousand.
* See Note 13, Shares of Beneficial Interest, in the Notes to Financial Statements.
(a) Inception date of the Fund was September 30, 2020.
(b) Inception date of Class C-2 was October 21, 2020.
(c) The tax characterization of distributions is determined in accordance with Federal income tax regulations. See Note 2, Distributions to Shareholders, in the Notes to Financial

    Statements for more information.




34    PIMCO CREDIT BOND FUNDS
                PIMCO                              PIMCO                                 CREW/PIMCO                                        PIMCO
      High Yield Spectrum Fund            Long-Term Credit Bond Fund                 Sr Floating Rate Fund                        Low Duration Income Fund


 Year Ended           Year Ended       Year Ended            Year Ended       Year Ended             Year Ended              Year Ended            Year Ended
March 31, 2021       March 31, 2020   March 31, 2021        March 31, 2020   March 31, 2021         March 31, 2020          March 31, 2021        March 31, 2020




 $ 18,351            $     34,913     $   142,032           $   163,332       $ 14,882               $ 12,449               $     167,621         $     205,782
   (11,851)                  (199)        204,770               150,366          8,670                  (9,909)                  (157,026)               48,896
    68,394                (36,368)         35,481               (17,701)        29,207                 (18,860)                   670,207              (509,407)

     74,894                (1,654)        382,283               295,997           52,759                 (16,320)                680,802               (254,729)




     (6,511)              (22,219)        (277,514)             (177,079)        (12,655)                    (7,188)              (47,908)              (88,052)
     (9,623)               (9,969)         (11,730)              (36,217)           (819)                    (1,685)              (65,476)             (107,707)
        (44)                  (44)             N/A                   N/A             N/A                        N/A                (1,159)               (2,275)
        N/A                   N/A              N/A                   N/A             N/A                        N/A                   N/A                   N/A
     (2,510)               (3,318)             N/A                   N/A          (1,656)                    (3,368)              (34,131)              (53,304)
       (272)                 (365)             N/A                   N/A            (425)                    (1,423)               (4,193)               (8,032)
        N/A                   N/A              N/A                   N/A             N/A                        N/A                    (3)(b)               N/A

          0                     0                0                       0             0                         0                (10,469)                     0
          0                     0                0                       0             0                         0                (14,862)                     0
          0                     0              N/A                     N/A           N/A                       N/A                   (271)                     0
        N/A                   N/A              N/A                     N/A           N/A                       N/A                    N/A                    N/A
          0                     0              N/A                     N/A             0                         0                 (8,768)                     0
          0                     0              N/A                     N/A             0                         0                 (1,225)                     0
        N/A                   N/A              N/A                     N/A           N/A                       N/A                     (6)(b)                N/A

    (18,960)              (35,915)        (289,244)             (213,296)        (15,555)                (13,664)                (188,471)             (259,370)



   122,790               (540,604)          13,301              (219,247)          7,909                 (64,394)               1,474,062             1,125,782
         0                      0                0                     0               2                       3                        0                     0

   178,724               (578,173)        106,340               (136,546)         45,115                 (94,375)               1,966,393              611,683



   293,114             871,287          3,510,699             3,647,245         251,864                346,239                5,434,663             4,822,980
 $ 471,838           $ 293,114        $ 3,617,039           $ 3,510,699       $ 296,979              $ 251,864              $ 7,401,056           $ 5,434,663




                                                                                                                     ANNUAL REPORT | MARCH 31, 2021           35
Schedule of Investments CREW/PIMCO Sr Floating Rate Fund
(Amounts in thousands*, except number of shares, contracts, units and ounces, if any)
                                       PRINCIPAL    MARKET                                      PRINCIPAL    MARKET                                         PRINCIPAL    MARKET
                                        AMOUNT      VALUE                                        AMOUNT      VALUE                                           AMOUNT      VALUE
                                         (000S)      (000S)                                       (000S)      (000S)                                          (000S)      (000S)

INVESTMENTS IN SECURITIES 89.6%                               Carnival Corp.                                           Frontier Communications Corp.
                                                              8.500% (LIBOR03M + 7.500%)                               5.750% (LIBOR03M + 4.750%)
LOAN PARTICIPATIONS AND ASSIGNMENTS 85.9%
                                                                 due 06/30/2025 ~               $ 2,233 $     2,311       due 10/08/2021 ~                $ 4,175       $ 4,188
AAdvantage Loyalty IP Ltd.                                    CBI Buyer, INC.                                          Gainwell Acquisition Corp.
TBD% due 04/20/2028                $    1,800      $ 1,844    3.750% (LIBOR03M + 3.250%)                               4.750% (LIBOR03M + 4.000%)
Advantage Sales & Marketing, Inc.                                due 01/06/2028 ~                     475       473       due 10/01/2027 ~                    4,220       4,212
6.000% (LIBOR03M + 5.250%)                                    Chobani LLC                                              Getty Images, Inc.
   due 10/28/2027 ~                     3,500        3,500    4.500% (LIBOR03M + 3.500%)                               4.609% (LIBOR03M + 4.500%)
Ahlstrom-Munksjo Oyj                                             due 10/20/2027 ~                   1,418     1,419       due 02/19/2026 ~                    1,985       1,970
TBD% due 03/11/2028                     1,550        1,555    CityCenter Holdings LLC                                  Global Medical Response, Inc.
AlixPartners, LLP                                             3.000% (LIBOR03M + 2.250%)                               5.750% (LIBOR03M + 4.750%)
3.250% (LIBOR03M + 2.750%)                                       due 04/18/2024 ~                   3,142     3,106       due 10/02/2025 ~                    4,242       4,235
   due 02/04/2028 ~                     1,725        1,720    Clarios Global LP                                        GlobalLogic Holdings, Inc.
Alliant Holdings Intermediate LLC                             3.359% (LIBOR03M + 3.250%)                               2.859% (LIBOR03M + 2.750%)
3.359% (LIBOR03M + 3.250%)                                       due 04/30/2026 ~                   1,995     1,987       due 08/01/2025 «~                     988         986
   due 05/09/2025 ~                     1,646        1,627    Clear Channel Outdoor Holdings, Inc.                     Golden Entertainment, Inc.
Allied Universal Holdco LLC                                   3.712% (LIBOR03M + 3.500%)                               3.750% (LIBOR03M + 3.000%)
4.359% (LIBOR03M + 4.250%)                                       due 08/21/2026 ~                   4,950     4,768       due 10/21/2024 ~                      300         297
   due 07/10/2026 ~                     1,135        1,133    CNT Holdings Corp.                                       Graham Packaging Co., Inc.
Alphabet Holding Co., Inc.                                    4.500% (LIBOR03M + 3.750%)                               3.750% (LIBOR03M + 3.000%)
3.609% (LIBOR03M + 3.500%)                                       due 11/08/2027 ~                   2,000     1,998       due 08/04/2027 ~                    3,388       3,373
   due 09/26/2024 ~                       848          843    CommScope, Inc.                                          Hearthside Food Solutions LLC
Altice Financing S.A.                                         3.359% (LIBOR03M + 3.250%)                               3.796% (LIBOR03M + 3.688%)
2.856% (LIBOR03M + 2.750%)                                       due 04/06/2026 ~                   1,414     1,408       due 05/23/2025 ~                    1,073       1,065
   due 07/15/2025 ~                       990          972    Consumer Cellular, Inc.                                  6.000% (LIBOR03M + 5.000%)
2.953% (LIBOR03M + 2.750%)                                    4.750% (LIBOR03M + 4.000%)                                  due 05/23/2025 ~                      398         399
   due 01/31/2026 ~                     2,431        2,386       due 12/17/2027 ~                   1,200     1,203    Hub International Ltd.
Altice France S.A.                                            Core & Main LP                                           2.965% - 3.215% (LIBOR03M +
4.198% (LIBOR03M + 4.000%)                                    3.750% (LIBOR03M + 2.750%)                                  3.000%) due 04/25/2025 ~            2,144       2,117
   due 08/14/2026 ~                     3,381        3,374       due 08/01/2024 ~                     895       893    iHeartCommunications, Inc.
American Trailer World Corp.                                  Coty, Inc.                                               3.109% (LIBOR03M + 3.000%)
4.500% (LIBOR03M + 3.750%)                                    2.354% (LIBOR03M + 2.250%)                                  due 05/01/2026 ~                      672         665
   due 02/17/2028 ~                     3,200        3,182       due 04/07/2025 ~                   3,892     3,749    Illuminate Buyer LLC
Arches Buyer, Inc.                                            COWEN INC TL B 1L                                        3.609% (LIBOR03M + 3.500%)
3.750% (LIBOR03M + 3.250%)                                    TBD% due 03/12/2028 «                 1,600     1,596       due 06/30/2027 ~                    2,095       2,088
   due 12/06/2027 ~                     3,865        3,847    Da Vinci Purchaser Corp.                                 INEOS Enterprises Holdings U.S. Finco LLC
Array Technologies, Inc.                                      5.000% (LIBOR03M + 4.000%)                               4.500% (LIBOR03M + 3.500%)
3.750% (LIBOR03M + 3.250%)                                       due 01/08/2027 ~                   1,375     1,377       due 08/28/2026 ~                    1,516       1,520
   due 10/14/2027 ~                     2,561        2,563    Delta 2 (LUX) SARL                                       INEOS Styrolution US Holding LLC
Astoria Energy LLC                                            3.500% (LIBOR03M + 2.500%)                               3.250% (LIBOR03M + 2.750%)
4.500% (LIBOR03M + 3.500%)                                       due 02/01/2024 ~                   2,362     2,342       due 01/29/2026 ~                      900         898
   due 12/10/2027 ~                     2,575        2,580    Diamond (BC) BV                                          Informatica LLC
Asurion LLC                                                   3.109% (LIBOR03M + 3.000%)                               3.359% (LIBOR03M + 3.250%)
3.359% (LIBOR03M + 3.250%)                                       due 09/06/2024 ~                      98        98       due 02/25/2027 ~                    1,020       1,014
   due 12/23/2026 ~                     4,542        4,519    3.250% (EUR003M + 3.250%)                                IRB Holding Corp.
Athenahealth, Inc.                                               due 09/06/2024 ~             EUR 1,443       1,692    3.750% (LIBOR03M + 2.750%)
4.453% (LIBOR03M + 4.250%)                                    Diamond Sports Group LLC                                    due 02/05/2025 ~                    2,240       2,225
   due 02/11/2026 ~                     2,000        2,008    3.360% (LIBOR03M + 3.250%)                               4.250% (LIBOR03M + 3.250%)
Banijay Entertainment S.A.S                                      due 08/24/2026 ~               $ 5,058       3,585       due 12/15/2027 ~                    2,675       2,672
3.854% (LIBOR03M + 3.750%)                                    Dun & Bradstreet Corp.                                   Ivanti Software, Inc.
   due 03/01/2025 ~                     1,045        1,037    3.359% (LIBOR03M + 3.250%)                               5.750% (LIBOR03M + 4.750%)
Barracuda Networks, Inc.                                         due 02/06/2026 ~                   1,372     1,366       due 12/01/2027 ~                    3,800       3,823
4.500% (LIBOR03M + 3.750%)                                    E2open LLC                                               Kronos Acquisition Holdings, Inc.
   due 02/12/2025 ~                     1,194        1,194    4.000% (LIBOR03M + 3.500%)                               4.250% (LIBOR03M + 3.750%)
Blackhawk Network Holdings, Inc.                                 due 10/29/2027 ~                   1,625     1,625       due 12/22/2026 ~                    2,350       2,320
3.109% (LIBOR03M + 3.000%)                                    Endure Digital, Inc.                                     LBM Acquisition LLC
   due 06/15/2025 ~                       552          545    4.250% (LIBOR03M + 3.500%)                               TBD% due 12/17/2027 µ                    287         286
Boels Topholding BV                                              due 02/10/2028 ~                   2,200     2,194    4.500% (LIBOR03M + 3.750%)
4.000% (EUR003M + 4.000%)                                                                                                 due 12/17/2027 ~                    1,291       1,287
                                                              Entercom Media Corp.
   due 02/06/2027 ~              EUR    2,800        3,294    2.609% (LIBOR03M + 2.500%)                               Les Schwab Tire Centers
BWAY Holding Co.                                                 due 11/18/2024 ~                     315       309    4.250% (LIBOR03M + 3.500%)
3.443% (LIBOR03M + 3.250%)                                                                                                due 11/02/2027 ~                    2,625       2,634
                                                              Envision Healthcare Corp.
   due 04/03/2024 ~                $    3,631        3,556    3.859% (LIBOR03M + 3.750%)                               Marriott Ownership Resorts, Inc.
Caesars Resort Collection LLC                                    due 10/10/2025 ~                   1,521     1,315    1.859% (LIBOR03M + 1.750%)
2.859% (LIBOR03M + 2.750%)                                                                                                due 08/29/2025 ~                      479         468
                                                              EyeCare Partners LLC
   due 12/23/2024 ~                     3,904        3,848    3.859% (LIBOR03M + 3.750%)                               MH Sub LLC
4.609% (LIBOR03M + 4.500%)                                       due 02/18/2027 ~                     882       874    3.609% (LIBOR03M + 3.500%)
   due 07/21/2025 ~                     3,234        3,244                                                                due 09/13/2024 ~                    4,516       4,468
                                                              Flex Acquisition Co., Inc.
Camelot U.S. Acquisition Co.                                  3.238% - 3.488% (LIBOR03M +                              MPH Acquisition Holdings LLC
3.109% (LIBOR03M + 3.000%)                                       3.250%) due 06/29/2025 ~           1,457     1,435    3.750% (LIBOR03M + 2.750%)
   due 10/30/2026 ~                     2,597        2,580                                                                due 06/07/2023 ~                      432         430
                                                              Foundation Building Materials Holding Co LLC
Canada Goose, Inc.                                            3.750% (LIBOR03M + 3.250%)                               MTN Infrastructure TopCo., Inc.
5.000% (LIBOR03M + 4.250%)                                       due 02/03/2028 ~                   1,700     1,687    4.000% (LIBOR03M + 3.000%)
   due 10/07/2027 ~                     1,397        1,400                                                                due 11/15/2024 ~                    1,221       1,220



114 PIMCO CREDIT BOND FUNDS
                                                                                                                                                                     March 31, 2021


                                   PRINCIPAL   MARKET                                         PRINCIPAL    MARKET                                        PRINCIPAL       MARKET
                                    AMOUNT     VALUE                                           AMOUNT      VALUE                                          AMOUNT         VALUE
                                     (000S)     (000S)                                          (000S)      (000S)                                         (000S)         (000S)

NEP Group, Inc.                                          Sophia LP                                                   Welbilt, Inc.
3.359% (LIBOR03M + 3.250%)                               4.500% (LIBOR03M + 3.750%)                                  2.607% (LIBOR03M + 2.500%)
   due 10/20/2025 ~                  $ 3,308 $ 3,219        due 10/07/2027 ~                 $ 1,546      $ 1,547       due 10/23/2025 ~           $       1,615 $         1,555
Nielsen Consumer, Inc.                                   Sotera Health Holdings LLC                                  White Cap Buyer LLC
4.103% (LIBOR03M + 4.000%)                               3.250% (LIBOR03M + 2.750%)                                  4.500% (LIBOR03M + 4.000%)
   due 03/06/2028 ~                    2,275   2,270        due 12/11/2026 ~                   1,100        1,099       due 10/19/2027 ~                   3,591           3,589
NorthRiver Midstream Finance LP                          Spirit AeroSystems Holdings, Inc.                           WOOF Holdings, Inc.
3.488% (LIBOR03M + 3.250%)                               6.000% (LIBOR03M + 5.250%)                                  4.500% (LIBOR03M + 3.750%)
   due 10/01/2025 ~                      733     724        due 01/15/2025 ~                   1,945        1,962       due 12/21/2027 ~                   1,100           1,097
Nouryon Finance BV                                       Staples, Inc.                                               Zaxby’s Operating Company LLC
2.860% (LIBOR03M + 2.750%)                               4.705% (LIBOR03M + 4.500%)                                  4.500% (LIBOR03M + 3.750%)
   due 10/01/2025 ~                    3,548   3,499        due 09/12/2024 ~                     246          243       due 12/28/2027 ~                   1,225           1,226
Novelis, Inc.                                            5.205% (LIBOR03M + 5.000%)                                  Zayo Group Holdings, Inc.
TBD% due 04/15/2025 «                  3,840   3,782        due 04/16/2026 ~                   1,627        1,592    3.109% (LIBOR03M + 3.000%)
OneDigital Borrower LLC                                  Station Casinos LLC                                            due 03/09/2027 ~                   4,739           4,707
TBD% due 11/16/2027 µ                    175     175     2.500% (LIBOR03M + 2.250%)                                  Total Loan Participations and Assignments
5.250% (LIBOR03M + 4.500%)                                  due 02/08/2027 ~                   2,557        2,521      (Cost $249,454)                                  255,138
   due 11/16/2027 ~                    1,775   1,778     Sunshine Luxembourg SARL
Ortho-Clinical Diagnostics S.A.                          4.500% (LIBOR03M + 3.500%)
3.359% - 5.500% (LIBOR03M +                                 due 06/30/2021 ~                     308          308    CORPORATE BONDS & NOTES 3.6%
   3.250%) due 06/30/2025 ~            2,900   2,899
                                                         Symplr Software, Inc.                                       BANKING & FINANCE 0.4%
Parexel International Corp.                              5.250% (LIBOR03M + 4.500%)
2.859% (LIBOR03M + 2.750%)                                  due 12/22/2027 ~                     575          578    Freedom Mortgage Corp.
   due 09/27/2024 ~                      855     846                                                                 7.625% due 05/01/2026                   350             367
                                                         Team Health Holdings, Inc.
Park River Holdings, Inc.                                3.750% (LIBOR03M + 2.750%)                                  PennyMac Financial Services, Inc.
4.000% (LIBOR03M + 3.250%)                                  due 02/06/2024 ~                     823          768    4.250% due 02/15/2029                   800             767
   due 12/28/2027 ~                      875     872
                                                         Telesat LLC                                                                                                       1,134
Peraton Holding Corp.                                    2.860% (LIBOR03M + 2.750%)
TBD% due 02/01/2028 µ                    893     893        due 12/07/2026 ~                     814          785
4.500% (LIBOR03M + 3.750%)                                                                                           INDUSTRIALS 3.2%
                                                         Tempo Acquisition LLC
   due 02/01/2028 ~                      507     507                                                                 Bausch Health Americas, Inc.
                                                         3.750% (LIBOR03M + 3.250%)
Petco Health & Wellness Co.                                 due 11/02/2026 ~                   1,985        1,987    9.250% due 04/01/2026                   600             665
4.000% (LIBOR03M + 3.250%)                                                                                           Cinemark USA, Inc.
                                                         Terrier Media Buyer, Inc.
   due 03/03/2028 ~                    1,150   1,147                                                                 5.875% due 03/15/2026                   250             257
                                                         3.609% (LIBOR03M + 3.500%)
Phoenix Guarantor, Inc.                                     due 12/17/2026 ~                     494          490    Mohegan Gaming & Entertainment
3.361% (LIBOR03M + 3.250%)                                                                                           8.000% due 02/01/2026                 1,200           1,210
   due 03/05/2026 ~                    1,372   1,363     Tibco Software, Inc.
                                                         3.860% (LIBOR03M + 3.750%)                                  NCR Corp.
PQ Corp.                                                    due 06/30/2026 ~                     596          590    5.125% due 04/15/2029 (a)             1,600           1,615
4.000% (LIBOR03M + 3.000%)
   due 02/07/2027 ~                      685     686     Triton Water Holdings, Inc.                                 Prime Healthcare Services, Inc.
                                                         TBD% due 03/18/2028                     850          848    7.250% due 11/01/2025                 1,700           1,817
Presidio, Inc.
3.720% (LIBOR03M + 3.500%)                               Truck Hero, Inc.                                            Six Flags Entertainment Corp.
   due 01/22/2027 ~                    2,214   2,212     4.500% (LIBOR03M + 3.750%)                                  4.875% due 07/31/2024                   250             253
                                                            due 01/31/2028 ~                     350          350    Staples, Inc.
Prime Security Services Borrower LLC
3.500% (LIBOR03M + 2.750%)                               U.S. Renal Care, Inc.                                       7.500% due 04/15/2026                   475             502
   due 09/23/2026 ~                    1,285   1,280     5.125% (LIBOR03M + 5.000%)                                  Vine Energy Holdings LLC
Project Ruby Ultimate Parent Corp.                          due 06/26/2026 ~                   1,662        1,655    6.750% due 04/15/2029 (a)             2,650           2,650
4.000% (LIBOR03M + 3.250%)                               Uber Technologies, Inc.                                     Wynn Macau Ltd.
   due 03/03/2028 ~                      900     897     3.609% (LIBOR03M + 3.500%)                                  5.500% due 01/15/2026                   500             522
PUG LLC                                                     due 04/04/2025 ~                   3,179        3,169
                                                                                                                                                                           9,491
3.609% (LIBOR03M + 3.500%)                               Ultimate Software Group, Inc.
   due 02/12/2027 ~                    1,310   1,269     4.000% (LIBOR03M + 3.250%)
Radiate Holdco LLC                                          due 05/04/2026 ~                   1,990        1,991    UTILITIES 0.0%
4.250% (LIBOR03M + 3.500%)                               Univision Communications, Inc.                              Crestwood Midstream Partners LP
   due 09/25/2026 ~                    2,479   2,480     2.857% (LIBOR03M + 2.750%)                                  6.000% due 02/01/2029                   100               99
RegionalCare Hospital Partners Holdings, Inc.               due 03/15/2024 ~                   4,102        4,079
3.859% (LIBOR03M + 3.750%)                                                                                           Total Corporate Bonds & Notes
                                                         USS Ultimate Holdings, Inc.
   due 11/16/2025 ~                    2,952   2,949                                                                   (Cost $10,696)                                    10,724
                                                         4.750% (LIBOR03M + 3.750%)
Reynolds Group Holdings, Inc.                               due 08/25/2024 ~                   3,487        3,491
                                                                                                                                                          SHARES
3.359% (LIBOR03M + 3.250%)                               Verifone Systems, Inc.
   due 02/05/2026 ~                    1,621   1,605     4.182% (LIBOR03M + 4.000%)                                  COMMON STOCKS 0.1%
Sabre GLBL, Inc.                                            due 08/20/2025 ~                   3,501        3,431
                                                                                                                     FINANCIALS 0.1%
2.109% (LIBOR03M + 2.000%)                               Verscend Holding Corp.
   due 02/22/2024 ~                    2,969   2,935     4.607% (LIBOR03M + 4.500%)                                  Stearns Holdings LLC ‘B’ «(b)       52,605              234
Scientific Games International, Inc.                        due 08/27/2025 ~                   1,587        1,593    Total Common Stocks (Cost $248)                         234
2.859% (LIBOR03M + 2.750%)                               Vertical U.S. Newco, Inc.
   due 08/14/2024 ~                    2,243   2,203     4.478% (LIBOR03M + 4.250%)                                  Total Investments in Securities
Sequa Mezzanine Holdings LLC                                due 07/30/2027 ~                   1,147        1,151    (Cost $260,398)                                    266,096
7.750% (LIBOR03M + 6.750%)                               Wand NewCo 3, Inc.
   due 11/28/2023 ~                    1,251   1,258     3.109% (LIBOR03M + 3.000%)
Sigma Bidco BV                                              due 02/05/2026 ~                   3,015        2,982
3.260% (LIBOR03M + 3.000%)
                                                         Weber-Stephen Products LLC
   due 07/02/2025 ~                    2,481   2,460
                                                         4.000% (LIBOR03M + 3.250%)
SolarWinds Holdings, Inc.                                   due 10/30/2027 ~                   2,294        2,296
2.859% (LIBOR03M + 2.750%)
   due 02/05/2024 ~                    1,250   1,229


See Accompanying Notes                                                                                                                               | MARCH 31, 2021 115
Schedule of Investments CREW/PIMCO Sr Floating Rate Fund (Cont.)
                                                 MARKET
                                                 VALUE
                                    SHARES        (000S)

 INVESTMENTS IN AFFILIATES 8.4%
 SHORT-TERM INSTRUMENTS 8.4%
 CENTRAL FUNDS USED FOR CASH MANAGEMENT
 PURPOSES 8.4%
 PIMCO Short-Term
   Floating NAV Portfolio III      2,532,753 $    24,973
 Total Short-Term Instruments
 (Cost $24,974)                                  24,973

 Total Investments in Affiliates
 (Cost $24,974)                                  24,973
 Total Investments 98.0%
 (Cost $285,372)                             $ 291,069

 Financial Derivative
    Instruments (c) 0.2%
 (Cost or Premiums, net $0)                          530

 Other Assets and Liabilities, net 1.8%            5,380
 Net Assets 100.0%                           $ 296,979


 NOTES TO SCHEDULE OF INVESTMENTS:

*   A zero balance may reflect actual amounts rounding to less than one thousand.
«   Security valued using significant unobservable inputs (Level 3).
µ   All or a portion of this amount represents unfunded loan commitments. The interest rate for the unfunded portion will be determined at the time of
    funding. See Note 4, Securities and Other Investments, in the Notes to Financial Statements for more information regarding unfunded loan commitments.
~ Variable or Floating rate security. Rate shown is the rate in effect as of period end. Certain variable rate securities are not based on a published reference
    rate and spread, rather are determined by the issuer or agent and are based on current market conditions. Reference rate is as of reset date, which may
    vary by security. These securities may not indicate a reference rate and/or spread in their description.
(a) When-issued security.

 (b) RESTRICTED SECURITIES:

                                                                                                                                                    Market Value
                                                                                                 Acquisition                         Market         as Percentage
Issuer Description                                                                                  Date                     Cost    Value          of Net Assets
Stearns Holdings LLC ‘B’                                                                          3/15/2021              $     248   $   234           0.08%


 BORROWINGS AND OTHER FINANCING TRANSACTIONS

The average amount of borrowings outstanding during the period ended March 31, 2021 was $(2,497) at a weighted average interest rate of 0.721%. Average
borrowings may include reverse repurchase agreements and sale-buyback transactions, if held during the period.

 (c) FINANCIAL DERIVATIVE INSTRUMENTS: OVER THE COUNTER

 FORWARD FOREIGN CURRENCY CONTRACTS:

                                                                                             Unrealized Appreciation/
                                                  Settlement   Currency to    Currency to        (Depreciation)
Counterparty                                        Month      be Delivered   be Received     Asset         Liability
JPM                                                04/2021       $    1,488   EUR    1,267   $     0           $   (2)
SCX                                                04/2021     EUR   11,912     $   14,471       501                0
                                                   05/2021           11,912         14,008        31                0
Total Forward Foreign Currency Contracts                                                     $ 532             $ (2)




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                                                                                                                                                                                                    March 31, 2021


 FINANCIAL DERIVATIVE INSTRUMENTS: OVER THE COUNTER SUMMARY

The following is a summary by counterparty of the market value of OTC financial derivative instruments and collateral (received) as of March 31, 2021:

                                                    Financial Derivative Assets                           Financial Derivative Liabilities
                                        Forward                                                  Forward
                                         Foreign                                      Total       Foreign                                   Total                  Net Market
                                        Currency     Purchased       Swap            Over the    Currency     Written        Swap          Over the               Value of OTC      Collateral          Net
Counterparty                            Contracts     Options     Agreements         Counter     Contracts Options Agreements              Counter                 Derivatives      (Received)       Exposure(1)
JPM                                      $     0      $     0        $       0       $     0          $       (2)   $   0               $   0       $     (2)       $    (2)            $      0      $        (2)
SCX                                          532            0                0           532                   0        0                   0              0            532                 (280)             252
Total Over the Counter                   $ 532        $     0        $ 0             $ 532            $ (2)         $ 0                 $ 0         $ (2)

(1)   Net Exposure represents the net receivable/(payable) that would be due from/to the counterparty in the event of default. Exposure from OTC financial derivative instruments can only
      be netted across transactions governed under the same master agreement with the same legal entity. See Note 8, Master Netting Arrangements, in the Notes to Financial Statements
      for more information.

 FAIR VALUE OF FINANCIAL DERIVATIVE INSTRUMENTS

The following is a summary of the fair valuation of the Fund’s derivative instruments categorized by risk exposure. See Note 7, Principal and Other Risks, in the Notes to Financial
Statements on risks of the Fund.

Fair Values of Financial Derivative Instruments on the Statements of Assets and Liabilities as of March 31, 2021:

                                                                                                         Derivatives not accounted for as hedging instruments
                                                                                                                                         Foreign
                                                                     Commodity                   Credit               Equity            Exchange              Interest
                                                                      Contracts                 Contracts           Contracts           Contracts          Rate Contracts                                     Total
Financial Derivative Instruments - Assets
Over the counter
   Forward Foreign Currency Contracts                                    $       0                $       0                 $       0               $    532                   $        0                 $     532

Financial Derivative Instruments - Liabilities
Over the counter
   Forward Foreign Currency Contracts                                    $       0                $       0                 $       0               $         2                $        0                 $           2


The effect of Financial Derivative Instruments on the Statements of Operations for the year ended March 31, 2021:

                                                                                                     Derivatives not accounted for as hedging instruments
                                                                                                                                    Foreign
                                                                  Commodity                 Credit               Equity            Exchange               Interest
                                                                   Contracts               Contracts           Contracts           Contracts          Rate Contracts                                      Total
Net Realized Gain (Loss) on Financial Derivative Instruments
Exchange-traded or centrally cleared
  Swap Agreements                                         $ 0                             $     (2,048)                 $       0               $         0              $         (1)                $       (2,049)
Over the counter
  Forward Foreign Currency Contracts                      $ 0                             $          0                  $       0               $   (809)                $          0                 $         (809)
  Swap Agreements                                            0                                       0                          0                      0                           67                             67
                                                          $ 0                             $          0                  $       0               $   (809)                $         67                 $         (742)
                                                          $ 0                             $     (2,048)                 $       0               $   (809)                $         66                 $       (2,791)

Net Change in Unrealized Appreciation on Financial Derivative Instruments
Exchange-traded or centrally cleared
  Swap Agreements                                       $ 0             $                          580                  $       0               $         0              $          0                 $         580
Over the counter
  Forward Foreign Currency Contracts                    $ 0             $                                 0             $       0               $       554              $       0                    $         554
  Swap Agreements                                           0                                             0                     0                         0                    444                              444
                                                                     $   0                $          0                  $       0               $       554              $     444                    $         998
                                                                     $   0                $        580                  $       0               $       554              $     444                    $       1,578




See Accompanying Notes                                                                                                                                                             | MARCH 31, 2021 117
Schedule of Investments CREW/PIMCO Sr Floating Rate Fund (Cont.)                                                                                                                                               March 31, 2021


 FAIR VALUE MEASUREMENTS

The following is a summary of the fair valuations according to the inputs used as of March 31, 2021 in valuing the Fund’s assets and liabilities:

                                                                                               Fair                                                                                                                 Fair
                                                                                            Value at                                                                                                             Value at
Category and Subcategory                     Level 1         Level 2         Level 3       03/31/2021         Category and Subcategory                        Level 1             Level 2           Level 3     03/31/2021
Investments in Securities, at Value                                                                           Financial Derivative Instruments - Assets
Loan Participations and Assignments $                  0 $     248,774 $         6,364 $       255,138        Over the counter                  $       0 $                            532 $                  0 $         532
Corporate Bonds & Notes
 Banking & Finance                                   0           1,134                 0           1,134      Financial Derivative Instruments - Liabilities
 Industrials                                     2,650           6,841                 0           9,491      Over the counter                  $         0 $                               (2) $             0 $           (2)
 Utilities                                           0              99                 0              99
Common Stocks
 Financials                                          0               0             234             234        Total Financial
                                                                                                                Derivative Instruments                    $             0 $            530 $                  0 $         530
                                    $            2,650 $       256,848 $         6,598 $       266,096
                                                                                                              Totals                                      $    27,623 $            257,378 $          6,598 $       291,599
Investments in Affiliates, at Value
Short-Term Instruments
 Central Funds Used for Cash
   Management Purposes             $          24,973 $                 0 $             0 $        24,973

Total Investments                        $    27,623 $         256,848 $         6,598 $       291,069


The following is a reconciliation of the fair valuations using significant unobservable inputs (Level 3) for the Fund during the period ended March 31, 2021:

                                                                                                                                                                                                          Net Change in
                                                                                                                                                                                                            Unrealized
                                                                                                                                                                                                           Appreciation/
                                                                                                                     Net Change in                                                                        (Depreciation)
                             Beginning                              Net       Accrued                                 Unrealized                                                Ending                    on Investments
Category and                  Balance               Net            Sales/    Discounts/               Realized       Appreciation/       Transfers into       Transfers out    Balance                        Held at
Subcategory                at 03/31/2020         Purchases      Settlements (Premiums)               Gain/(Loss)    (Depreciation)(1)       Level 3             of Level 3  at 03/31/2021                  03/31/2021(1)
Investments in Securities, at Value
Loan Participations
  and Assignments       $ 62,620               $    48,107 $       (81,029)        $       573        $     764        $   5,486           $    907            $   (31,064)           $      6,364              $   169
Common Stocks
 Financials                       0                      248                 0                0              0                (14)                0                           0                234                   (14)

Totals                       $    62,620       $    48,355 $       (81,029)        $       573        $     764        $   5,472           $    907            $   (31,064)           $      6,598              $   155


The following is a summary of significant unobservable inputs used in the fair valuations of assets and liabilities categorized within Level 3 of the fair value hierarchy:

                                     Ending                                                                          (% Unless Noted Otherwise)
                                    Balance                    Valuation                   Unobservable                                 Weighted
Category and Subcategory         at 03/31/2021                 Technique                      Inputs               Input Value(s)       Average
Investments in Securities, at Value
Loan Participations
  and Assignments           $ 6,364                Third Party Vendor                        Broker Quote          98.500-99.875           99.027
Common Stocks
  Financials                      234              Expected Recovery                         Book Value                    1.000x               —
Total                       $ 6,598

(1)   Any difference between Net Change in Unrealized Appreciation/(Depreciation) and Net Change in Unrealized Appreciation/(Depreciation) on Investments Held at March 31, 2021 may
      be due to an investment no longer held or categorized as Level 3 at period end.




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Notes to Financial Statements                                                                                                               March 31, 2021



1. ORGANIZATION                                                              recorded as soon as a Fund is informed of the ex-dividend date.
PIMCO Funds (the “Trust”) is a Massachusetts business trust                  Interest income, adjusted for the accretion of discounts and
established under a Declaration of Trust dated February 19, 1987, as         amortization of premiums, is recorded on the accrual basis from
amended and restated November 4, 2014. The Trust is registered under         settlement date, with the exception of securities with a forward starting
the Investment Company Act of 1940, as amended (the “Act”), as an            effective date, where interest income is recorded on the accrual basis
open-end management investment company. Information presented in             from effective date. For convertible securities, premiums attributable to
these financial statements pertains to the Institutional Class, I-2, I-3,    the conversion feature are not amortized. Estimated tax liabilities on
Administrative Class, Class A, Class C and Class C-2 shares of the           certain foreign securities are recorded on an accrual basis and are
funds (each a “Fund” and collectively, the “Funds”) indicated on the         reflected as components of interest income or net change in unrealized
cover of this report. Pacific Investment Management Company LLC              appreciation (depreciation) on investments on the Statements of
(“PIMCO”) serves as the investment adviser (the “Adviser”) for               Operations, as appropriate. Tax liabilities realized as a result of such
the Funds.                                                                   security sales are reflected as a component of net realized gain (loss)
                                                                             on investments on the Statements of Operations. Paydown gains
On November 18, 2020, the Board of Trustees approved a reduction in          (losses) on mortgage-related and other asset-backed securities, if any,
the holding period of an automatic conversion of the Funds’ Class C          are recorded as components of interest income on the Statements of
and Class C-2 shares into Class A shares of the same Fund from ten           Operations. Income or short-term capital gain distributions received
years to eight years. The reduction in the holding period became             from registered investment companies, if any, are recorded as dividend
effective on January 18, 2021, with the first conversion taking place on     income. Long-term capital gain distributions received from registered
or about February 10, 2021 and subsequent conversions occurring              investment companies, if any, are recorded as realized gains.
monthly thereafter. Certain financial intermediaries may have different
policies and procedures regarding the conversion of Class C and              Debt obligations may be placed on non-accrual status and related
Class C-2 shares to Class A shares, as described in Appendix B to the        interest income may be reduced by ceasing current accruals and writing
applicable Fund’s prospectus (Financial Firm-Specific Sales Charge           off interest receivable when the collection of all or a portion of interest
Waivers and Discounts).                                                      has become doubtful based on consistently applied procedures. A debt
                                                                             obligation is removed from non-accrual status when the issuer resumes
2. SIGNIFICANT ACCOUNTING POLICIES                                           interest payments or when collectability of interest is probable.
The following is a summary of significant accounting policies
                                                                             (b) Foreign Currency Translation The market values of foreign
consistently followed by the Trust in the preparation of its financial
                                                                             securities, currency holdings and other assets and liabilities
statements in conformity with accounting principles generally accepted
                                                                             denominated in foreign currencies are translated into U.S. dollars based
in the United States of America (“U.S. GAAP”). Each Fund is treated as
                                                                             on the current exchange rates each business day. Purchases and sales
an investment company under the reporting requirements of U.S.
                                                                             of securities and income and expense items denominated in foreign
GAAP. The functional and reporting currency for the Funds is the U.S.
                                                                             currencies, if any, are translated into U.S. dollars at the exchange rate
dollar. The preparation of financial statements in accordance with U.S.
                                                                             in effect on the transaction date. The Funds do not separately report
GAAP requires management to make estimates and assumptions that
                                                                             the effects of changes in foreign exchange rates from changes in
affect the reported amounts of assets and liabilities and disclosure of
                                                                             market prices on securities held. Such changes are included in net
contingent assets and liabilities at the date of the financial statements
                                                                             realized gain (loss) and net change in unrealized appreciation
and the reported amounts of increases and decreases in net assets
                                                                             (depreciation) from investments on the Statements of Operations. The
from operations during the reporting period. Actual results could differ
                                                                             Funds may invest in foreign currency-denominated securities and may
from those estimates.
                                                                             engage in foreign currency transactions either on a spot (cash) basis at
(a) Securities Transactions and Investment Income Securities                 the rate prevailing in the currency exchange market at the time or
transactions are recorded as of the trade date for financial reporting       through a forward foreign currency contract. Realized foreign exchange
purposes. Securities purchased or sold on a when-issued or delayed-          gains (losses) arising from sales of spot foreign currencies, currency
delivery basis may be settled beyond a standard settlement period for        gains (losses) realized between the trade and settlement dates on
the security after the trade date. Realized gains (losses) from securities   securities transactions and the difference between the recorded
sold are recorded on the identified cost basis. Dividend income is           amounts of dividends, interest, and foreign withholding taxes and the
recorded on the ex-dividend date, except certain dividends from foreign      U.S. dollar equivalent of the amounts actually received or paid are
securities where the ex-dividend date may have passed, which are             included in net realized gain (loss) on foreign currency transactions on


                                                                                                              ANNUAL REPORT | MARCH 31, 2021 151
Notes to Financial Statements (Cont.)

the Statements of Operations. Net unrealized foreign exchange gains          Separately, if a Fund determines or estimates, as applicable, that a
(losses) arising from changes in foreign exchange rates on foreign           portion of a distribution may be comprised of amounts from sources
denominated assets and liabilities other than investments in securities      other than net investment income in accordance with its policies,
held at the end of the reporting period are included in net change in        accounting records (if applicable), and accounting practices, the Fund
unrealized appreciation (depreciation) on foreign currency assets and        will notify shareholders of the estimated composition of such
liabilities on the Statements of Operations.                                 distribution through a Section 19 Notice. For these purposes, a Fund
                                                                             determines or estimates, as applicable, the source or sources from
(c) Multi-Class Operations Each class offered by the Trust has equal         which a distribution is paid, to the close of the period as of which it is
rights as to assets and voting privileges (except that shareholders of a     paid, in reference to its internal accounting records and related
class have exclusive voting rights regarding any matter relating solely to   accounting practices. If, based on such accounting records and
that class of shares). Income and non-class specific expenses are            practices, it is determined or estimated, as applicable, that a particular
allocated daily to each class on the basis of the relative net assets.       distribution does not include capital gains or paid-in surplus or other
Realized and unrealized capital gains (losses) are allocated daily based     capital sources, a Section 19 Notice generally would not be issued. It is
on the relative net assets of each class of the respective Fund.             important to note that differences exist between a Fund’s daily internal
Class specific expenses, where applicable, currently include supervisory     accounting records and practices, a Fund’s financial statements
and administrative and distribution and servicing fees. Under certain        presented in accordance with U.S. GAAP, and recordkeeping practices
circumstances, the per share net asset value (“NAV”) of a class of the       under income tax regulations. For instance, a Fund’s internal
respective Fund’s shares may be different from the per share NAV of          accounting records and practices may take into account, among other
another class of shares as a result of the different daily expense           factors, tax-related characteristics of certain sources of distributions
accruals applicable to each class of shares.                                 that differ from treatment under U.S. GAAP. Examples of such
(d) Distributions to Shareholders The following table shows the              differences may include but are not limited to, for certain Funds, the
anticipated frequency of distributions from net investment income, if        treatment of periodic payments under interest rate swap contracts.
any, for each Fund.                                                          Accordingly, among other consequences, it is possible that a Fund may
                                                                             not issue a Section 19 Notice in situations where the Fund’s financial
                                                 Distribution Frequency
Fund Name                                       Declared    Distributed
                                                                             statements prepared later and in accordance with U.S. GAAP and/or
PIMCO Diversified Income Fund                      Daily      Monthly
                                                                             the final tax character of those distributions might later report that the
PIMCO ESG Income Fund                              Daily      Monthly        sources of those distributions included capital gains and/or a return of
PIMCO High Yield Spectrum Fund                     Daily      Monthly        capital. Please visit www.pimco.com for the most recent Section 19
PIMCO Long-Term Credit Bond Fund                   Daily      Monthly        Notice, if applicable, for additional information regarding the estimated
PIMCO Low Duration Credit Fund                     Daily      Monthly        composition of distributions. Final determination of a distribution’s tax
PIMCO Low Duration Income Fund                     Daily      Monthly
                                                                             character will be provided to shareholders when such information
PIMCO Credit Opportunities Bond Fund            Quarterly    Quarterly
PIMCO Preferred and Capital Securities Fund     Quarterly    Quarterly
                                                                             is available.

                                                                             Distributions classified as a tax basis return of capital at a Fund’s fiscal
Net realized capital gains earned by each Fund, if any, will be
                                                                             year end, if any, are reflected on the Statements of Changes in Net
distributed no less frequently than once each year.
                                                                             Assets and have been recorded to paid in capital on the Statements of
Income distributions and capital gain distributions are determined in        Assets and Liabilities. In addition, other amounts have been reclassified
accordance with income tax regulations which may differ from U.S.            between distributable earnings (accumulated loss) and paid in capital
GAAP. Differences between tax regulations and U.S. GAAP may cause            on the Statements of Assets and Liabilities to more appropriately
timing differences between income and capital gain recognition.              conform U.S. GAAP to tax characterizations of distributions.
Further, the character of investment income and capital gains may be
                                                                             (e) New Accounting Pronouncements and Regulatory Updates In
different for certain transactions under the two methods of accounting.
                                                                             March 2020, the Financial Accounting Standards Board issued an
As a result, income distributions and capital gain distributions declared
                                                                             Accounting Standards Update (“ASU”), ASU 2020-04, which provides
during a fiscal period may differ significantly from the net investment
                                                                             optional guidance to ease the potential accounting burden associated
income (loss) and realized gains (losses) reported on each Fund’s
                                                                             with transitioning away from the London Interbank Offered Rate and
annual financial statements presented under U.S. GAAP.
                                                                             other reference rates that are expected to be discontinued. The ASU is
                                                                             effective immediately upon release of the update on March 12, 2020


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                                                                                                                                             March 31, 2021



through December 31, 2022. At this time, management is evaluating            portfolio investments and other assets, less any liabilities attributable to
implications of these changes on the financial statements.                   that Fund or class, by the total number of shares outstanding of that
                                                                             Fund or class.
In October 2020, the U.S. Securities and Exchange Commission
(“SEC”) adopted a rule related to the use of derivatives, short sales,       On each day that the New York Stock Exchange (“NYSE”) is open,
reverse repurchase agreements and certain other transactions by              Fund shares are ordinarily valued as of the close of regular trading
registered investment companies that rescinds and withdraws the              (normally 4:00 p.m., Eastern time) (“NYSE Close”). Information that
guidance of the SEC and its staff regarding asset segregation and cover      becomes known to the Funds or their agents after the time as of which
transactions. Subject to certain exceptions, the rule requires funds to      NAV has been calculated on a particular day will not generally be used
trade derivatives and other transactions that create future payment or       to retroactively adjust the price of a security or the NAV determined
delivery obligations (except reverse repurchase agreements and similar       earlier that day. If regular trading on the NYSE closes earlier than
financing transactions) subject to a value-at-risk leverage limit, certain   scheduled, each Fund reserves the right to either (i) calculate its NAV
derivatives risk management program and reporting requirements. The          as of the earlier closing time or (ii) calculate its NAV as of the normally
rule went into effect on February 19, 2021 and funds will have an            scheduled close of regular trading on the NYSE for that day. Each Fund
eighteen-month transition period to comply with the rule and related         generally does not calculate their NAV on days during which the NYSE
reporting requirements. At this time, management is evaluating the           is closed. However, if the NYSE is closed on a day it would normally be
implications of these changes on the financial statements.                   open for business, each Fund reserves the right to calculate their NAV
                                                                             as of the normally scheduled close of regular trading on the NYSE for
In October 2020, the SEC adopted a rule regarding the ability of a fund
                                                                             that day or such other time that the Fund may determine.
to invest in other funds. The rule allows a fund to acquire shares of
another fund in excess of certain limitations currently imposed by the       For purposes of calculating NAV, portfolio securities and other assets
Act without obtaining individual exemptive relief from the SEC, subject      for which market quotes are readily available are valued at market
to certain conditions. The rule also included the rescission of certain      value. Market value is generally determined on the basis of official
exemptive relief from the SEC and guidance from the SEC staff for            closing prices or the last reported sales prices, or if no sales are
funds to invest in other funds. The rule went into effect on January 19,     reported, based on quotes obtained from established market makers or
2021 and funds will have a one-year transition period to comply with         prices (including evaluated prices) supplied by the Funds’ approved
the rule and related reporting requirements. At this time, management        pricing services, quotation reporting systems and other third-party
is evaluating the implications of these changes on the                       sources (together, “Pricing Services”). The Funds will normally use
financial statements.                                                        pricing data for domestic equity securities received shortly after the
                                                                             NYSE Close and do not normally take into account trading, clearances
In December 2020, the SEC adopted a rule addressing fair valuation of
                                                                             or settlements that take place after the NYSE Close. If market value
fund investments. The new rule sets forth requirements for good faith
                                                                             pricing is used, a foreign (non-U.S.) equity security traded on a foreign
determinations of fair value as well as for the performance of fair value
                                                                             exchange or on more than one exchange is typically valued using
determinations, including related oversight and reporting obligations.
                                                                             pricing information from the exchange considered by the Adviser to be
The new rule also defines “readily available market quotations” for
                                                                             the primary exchange. A foreign (non-U.S.) equity security will be
purposes of the definition of “value” under the Act, and the SEC noted
                                                                             valued as of the close of trading on the foreign exchange, or the NYSE
that this definition would apply in all contexts under the Act. The
                                                                             Close, if the NYSE Close occurs before the end of trading on the foreign
effective date for the rule was March 8, 2021. The SEC adopted an
                                                                             exchange. Domestic and foreign (non-U.S.) fixed income securities,
eighteen-month transition period beginning from the effective date for
                                                                             non-exchange traded derivatives, and equity options are normally
both the new rule and the associated new recordkeeping requirements.
                                                                             valued on the basis of quotes obtained from brokers and dealers or
At this time, management is evaluating the implications of these
                                                                             Pricing Services using data reflecting the earlier closing of the principal
changes on the financial statements.
                                                                             markets for those securities. Prices obtained from Pricing Services may
3. INVESTMENT VALUATION AND FAIR VALUE                                       be based on, among other things, information provided by market
MEASUREMENTS                                                                 makers or estimates of market values obtained from yield data relating
                                                                             to investments or securities with similar characteristics. Certain fixed
(a) Investment Valuation Policies The price of a Fund’s shares is
                                                                             income securities purchased on a delayed-delivery basis are marked to
based on the Fund’s NAV. The NAV of a Fund, or each of its share
                                                                             market daily until settlement at the forward settlement date. Exchange-
classes, as applicable, is determined by dividing the total value of
                                                                             traded options, except equity options, futures and options on futures


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Notes to Financial Statements (Cont.)

are valued at the settlement price determined by the relevant                   Services. As a result, the value of such investments and, in turn, the
exchange. Swap agreements are valued on the basis of bid quotes                 NAV of a Fund’s shares may be affected by changes in the value of
obtained from brokers and dealers or market-based prices supplied by            currencies in relation to the U.S. dollar. The value of investments traded
Pricing Services. A Fund’s investments in open-end management                   in markets outside the United States or denominated in currencies
investment companies, other than exchange-traded funds (“ETFs”), are            other than the U.S. dollar may be affected significantly on a day that
valued at the NAVs of such investments. Open-end management                     the Trust is not open for business. As a result, to the extent that a Fund
investment companies may include affiliated funds.                              holds foreign (non-U.S.) investments, the value of those investments
                                                                                may change at times when shareholders are unable to buy or sell
If a foreign (non-U.S.) equity security’s value has materially changed
                                                                                shares and the value of such investments will be reflected in the Fund’s
after the close of the security’s primary exchange or principal market
                                                                                next calculated NAV.
but before the NYSE Close, the security may be valued at fair value
based on procedures established and approved by the Board of                    Investments for which market quotes or market based valuations are
Trustees of the Trust (the “Board”). Foreign (non-U.S.) equity securities       not readily available are valued at fair value as determined in good
that do not trade when the NYSE is open are also valued at fair value.          faith by the Board or persons acting at their direction. The Board has
With respect to foreign (non-U.S.) equity securities, a Fund may                adopted methods for valuing securities and other assets in
determine the fair value of investments based on information provided           circumstances where market quotes are not readily available, and has
by Pricing Services and other third-party vendors, which may                    delegated to the Adviser the responsibility for applying the fair
recommend fair value or adjustments with reference to other securities,         valuation methods. In the event that market quotes or market based
indices or assets. In considering whether fair valuation is required and        valuations are not readily available, and the security or asset cannot be
in determining fair values, a Fund may, among other things, consider            valued pursuant to a Board approved valuation method, the value of
significant events (which may be considered to include changes in the           the security or asset will be determined in good faith by the Board.
value of U.S. securities or securities indices) that occur after the close of   Market quotes are considered not readily available in circumstances
the relevant market and before the NYSE Close. A Fund may utilize               where there is an absence of current or reliable market-based data
modeling tools provided by third-party vendors to determine fair values         (e.g., trade information, bid/ask information, indicative market
of foreign (non-U.S.) securities. For these purposes, any movement in           quotations (“Broker Quotes”), Pricing Services’ prices), including where
the applicable reference index or instrument (“zero trigger”) between           events occur after the close of the relevant market, but prior to the
the earlier close of the applicable foreign market and the NYSE Close           NYSE Close, that materially affect the values of a Fund’s securities or
may be deemed to be a significant event, prompting the application of           assets. In addition, market quotes are considered not readily available
the pricing model (effectively resulting in daily fair valuations). Foreign     when, due to extraordinary circumstances, the exchanges or markets
exchanges may permit trading in foreign (non-U.S.) equity securities on         on which the securities trade do not open for trading for the entire day
days when the Trust is not open for business, which may result in a             and no other market prices are available. The Board has delegated, to
Fund’s portfolio investments being affected when shareholders are               the Adviser, the responsibility for monitoring significant events that
unable to buy or sell shares.                                                   may materially affect the values of a Fund’s securities or assets and for
                                                                                determining whether the value of the applicable securities or assets
Senior secured floating rate loans for which an active secondary market
                                                                                should be reevaluated in light of such significant events.
exists to a reliable degree are valued at the mean of the last available
bid/ask prices in the market for such loans, as provided by a Pricing           When a Fund uses fair valuation to determine the value of a portfolio
Service. Senior secured floating rate loans for which an active                 security or other asset for purposes of calculating its NAV, such
secondary market does not exist to a reliable degree are valued at fair         investments will not be priced on the basis of quotes from the primary
value, which is intended to approximate market value. In valuing a              market in which they are traded, but rather may be priced by another
senior secured floating rate loan at fair value, the factors considered         method that the Board or persons acting at their direction believe
may include, but are not limited to, the following: (a) the                     reflects fair value. Fair valuation may require subjective determinations
creditworthiness of the borrower and any intermediate participants,             about the value of a security. While the Trust’s policy is intended to
(b) the terms of the loan, (c) recent prices in the market for similar          result in a calculation of a Fund’s NAV that fairly reflects security values
loans, if any, and (d) recent prices in the market for instruments of           as of the time of pricing, the Trust cannot ensure that fair values
similar quality, rate, period until next interest rate reset and maturity.      determined by the Board or persons acting at their direction would
                                                                                accurately reflect the price that a Fund could obtain for a security if it
Investments valued in currencies other than the U.S. dollar are
                                                                                were to dispose of that security as of the time of pricing (for instance,
converted to the U.S. dollar using exchange rates obtained from Pricing

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in a forced or distressed sale). The prices used by a Fund may differ          For fair valuations using significant unobservable inputs, U.S. GAAP
from the value that would be realized if the securities were sold. The         requires a reconciliation of the beginning to ending balances for
Funds’ use of fair valuation may also help to deter “stale price               reported fair values that presents changes attributable to realized gain
arbitrage” as discussed under the “Abusive Trading Practices” section          (loss), unrealized appreciation (depreciation), purchases and sales,
in each Fund’s prospectus.                                                     accrued discounts (premiums), and transfers into and out of the Level 3
                                                                               category during the period. The end of period value is used for the
(b) Fair Value Hierarchy U.S. GAAP describes fair value as the price           transfers between Levels of a Fund’s assets and liabilities. Additionally,
that a Fund would receive to sell an asset or pay to transfer a liability in   U.S. GAAP requires quantitative information regarding the significant
an orderly transaction between market participants at the                      unobservable inputs used in the determination of fair value of assets or
measurement date. It establishes a fair value hierarchy that prioritizes       liabilities categorized as Level 3 in the fair value hierarchy. In
inputs to valuation methods and requires disclosure of the fair value          accordance with the requirements of U.S. GAAP, a fair value hierarchy,
hierarchy, separately for each major category of assets and liabilities,       and if material, a Level 3 reconciliation and details of significant
that segregates fair value measurements into levels (Level 1, 2, or 3).        unobservable inputs, have been included in the Notes to Schedule of
The inputs or methodology used for valuing securities are not                  Investments for each respective Fund.
necessarily an indication of the risks associated with investing in those
securities. Levels 1, 2, and 3 of the fair value hierarchy are defined         (c) Valuation Techniques and the Fair Value Hierarchy
as follows:                                                                    Level 1 and Level 2 trading assets and trading liabilities, at fair
  Level 1 — Quoted prices in active markets or exchanges for identical         value The valuation methods (or “techniques”) and significant inputs
  assets and liabilities.                                                      used in determining the fair values of portfolio securities or other assets
                                                                               and liabilities categorized as Level 1 and Level 2 of the fair value
  Level 2 — Significant other observable inputs, which may include,
                                                                               hierarchy are as follows:
  but are not limited to, quoted prices for similar assets or liabilities in
  markets that are active, quoted prices for identical or similar assets       Fixed income securities including corporate, convertible and municipal
  or liabilities in markets that are not active, inputs other than quoted      bonds and notes, U.S. government agencies, U.S. treasury obligations,
  prices that are observable for the assets or liabilities (such as interest   sovereign issues, bank loans, convertible preferred securities and
  rates, yield curves, volatilities, prepayment speeds, loss severities,       non-U.S. bonds are normally valued on the basis of quotes obtained from
  credit risks and default rates) or other market corroborated inputs.         brokers and dealers or Pricing Services that use broker-dealer quotations,
  Level 3 — Significant unobservable inputs based on the best                  reported trades or valuation estimates from their internal pricing models.
  information available in the circumstances, to the extent observable         The Pricing Services’ internal models use inputs that are observable such
  inputs are not available, which may include assumptions made by              as issuer details, interest rates, yield curves, prepayment speeds, credit
  the Board or persons acting at their direction that are used in              risks/spreads, default rates and quoted prices for similar assets. Securities
  determining the fair value of investments.                                   that use similar valuation techniques and inputs as described above are
                                                                               categorized as Level 2 of the fair value hierarchy.
Assets or liabilities categorized as Level 2 or 3 as of period end have
been transferred between Levels 2 and 3 since the prior period due to          Fixed income securities purchased on a delayed-delivery basis or as a
changes in the method utilized in valuing the investments. Transfers           repurchase commitment in a sale-buyback transaction are marked to
from Level 2 to Level 3 are a result of a change, in the normal course of      market daily until settlement at the forward settlement date and are
business, from the use of methods used by Pricing Services (Level 2) to        categorized as Level 2 of the fair value hierarchy.
the use of a Broker Quote or valuation technique which utilizes
                                                                               Mortgage-related and asset-backed securities are usually issued as
significant unobservable inputs due to an absence of current or reliable
                                                                               separate tranches, or classes, of securities within each deal. These
market-based data (Level 3). Transfers from Level 3 to Level 2 are a
                                                                               securities are also normally valued by Pricing Services that use broker-
result of the availability of current and reliable market-based data
                                                                               dealer quotations, reported trades or valuation estimates from their
provided by Pricing Services or other valuation techniques which utilize
                                                                               internal pricing models. The pricing models for these securities usually
significant observable inputs. In accordance with the requirements of
                                                                               consider tranche-level attributes, current market data, estimated cash
U.S. GAAP, the amounts of transfers into and out of Level 3, if
                                                                               flows and market-based yield spreads for each tranche, and incorporate
material, are disclosed in the Notes to Schedule of Investments for each
                                                                               deal collateral performance, as available. Mortgage-related and asset-
respective Fund.
                                                                               backed securities that use similar valuation techniques and inputs as
                                                                               described above are categorized as Level 2 of the fair value hierarchy.

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Common stocks, ETFs, exchange-traded notes and financial derivative          using a series of techniques, including simulation pricing models. The
instruments, such as futures contracts, rights and warrants, or options on   pricing models may use inputs that are observed from actively quoted
futures that are traded on a national securities exchange, are stated at     markets such as the overnight index swap rate, London Interbank
the last reported sale or settlement price on the day of valuation. To the   Offered Rate forward rate, interest rates, yield curves and credit
extent these securities are actively traded and valuation adjustments are    spreads. These securities are categorized as Level 2 of the fair
not applied, they are categorized as Level 1 of the fair value hierarchy.    value hierarchy.

Valuation adjustments may be applied to certain securities that are          Level 3 trading assets and trading liabilities, at fair value When a
solely traded on a foreign exchange to account for the market                fair valuation method is applied by the Adviser that uses significant
movement between the close of the foreign market and the NYSE                unobservable inputs, investments will be priced by a method that the
Close. These securities are valued using Pricing Services that consider      Board or persons acting at their direction believe reflects fair value and
the correlation of the trading patterns of the foreign security to the       are categorized as Level 3 of the fair value hierarchy. The valuation
intraday trading in the U.S. markets for investments. Securities using       techniques and significant inputs used in determining the fair values of
these valuation adjustments are categorized as Level 2 of the fair value     portfolio assets and liabilities categorized as Level 3 of the fair value
hierarchy. Preferred securities and other equities traded on inactive        hierarchy are as follows:
markets or valued by reference to similar instruments are also
categorized as Level 2 of the fair value hierarchy.                          Proxy pricing procedures set the base price of a fixed income security
                                                                             and subsequently adjust the price proportionally to market value
Investments in registered open-end investment companies (other than          changes of a pre-determined security deemed to be comparable in
ETFs) will be valued based upon the NAVs of such investments and are         duration, generally a U.S. Treasury or sovereign note based on country
categorized as Level 1 of the fair value hierarchy. Investments in           of issuance. The base price may be a broker-dealer quote, transaction
unregistered open-end investment companies will be calculated based          price, or an internal value as derived by analysis of market data. The
upon the NAVs of such investments and are considered Level 1                 base price of the security may be reset on a periodic basis based on the
provided that the NAVs are observable, calculated daily and are the          availability of market data and procedures approved by the Valuation
value at which both purchases and sales will be conducted.                   Oversight Committee. Significant changes in the unobservable inputs of
                                                                             the proxy pricing process (the base price) would result in direct and
Equity exchange-traded options and over the counter financial
                                                                             proportional changes in the fair value of the security. These securities
derivative instruments, such as forward foreign currency contracts and
                                                                             are categorized as Level 3 of the fair value hierarchy.
options contracts derive their value from underlying asset prices,
indices, reference rates, and other inputs or a combination of these         If third-party evaluated vendor pricing is not available or not deemed to
factors. These contracts are normally valued on the basis of quotes          be indicative of fair value, the Adviser may elect to obtain indicative
obtained from a quotation reporting system, established market makers        market quotations directly from the broker-dealer or passed-through
or Pricing Services (normally determined as of the NYSE Close).              Broker Quotes from a third-party vendor. In the event that fair value is
Depending on the product and the terms of the transaction, financial         based upon a single sourced Broker Quote, these securities are
derivative instruments can be valued by Pricing Services using a series      categorized as Level 3 of the fair value hierarchy. Broker Quotes are
of techniques, including simulation pricing models. The pricing models       typically received from established market participants. Although
use inputs that are observed from actively quoted markets such as            independently received, the Adviser does not have the transparency to
quoted prices, issuer details, indices, bid/ask spreads, interest rates,     view the underlying inputs which support the market quotation.
implied volatilities, yield curves, dividends and exchange rates.            Significant changes in the Broker Quote would have direct and
Financial derivative instruments that use similar valuation techniques       proportional changes in the fair value of the security.
and inputs as described above are categorized as Level 2 of the fair
value hierarchy.                                                             Discounted cash flow valuation uses an internal analysis based on the
                                                                             Adviser’s expectation of future income and expenses, capital structure,
Centrally cleared swaps and over the counter swaps derive their value        exit multiples of a security, and other unobservable inputs which may
from underlying asset prices, indices, reference rates, and other inputs     include contractual and factual loan factors, estimated future payments
or a combination of these factors. They are valued using a broker-           and credit rating. Significant changes in the unobservable inputs of the
dealer bid quotation or on market-based prices provided by Pricing           models would result in direct and proportional changes in the fair value
Services (normally determined as of the NYSE Close). Centrally cleared       of the security. These securities are categorized as Level 3 of the fair
swaps and over the counter swaps can be valued by Pricing Services           value hierarchy.

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Market comparable valuation estimates fair value by applying a                                         Expected recovery valuation estimates that the fair value of an existing
valuation multiple to a key performance metric of the company, which                                   asset can be recovered, net of any liability. Significant changes in the
may include unobservable inputs such as earnings before interest,                                      unobservable inputs would result in direct and proportional changes in
taxes, depreciation and amortization ("EBITDA"), the Adviser’s                                         the fair value of the security. These securities are categorized as Level 3
assumptions regarding comparable companies and non-public                                              of the fair value hierarchy.
statements from the underlying company. Significant changes in the
unobservable inputs would result in direct and proportional changes in                                 Securities may be valued based on purchase prices of privately
the fair value of the security. These securities are categorized as Level 3                            negotiated transactions. Significant changes in the unobservable inputs
of the fair value hierarchy.                                                                           would result in direct and proportional changes in the fair value of the
                                                                                                       security. These securities are categorized as Level 3 of the fair
Reference instrument valuation estimates fair value by utilizing the                                   value hierarchy.
correlation of the security to one or more broad-based securities,
market indices, and/or other financial instruments, whose pricing                                      Short-term debt instruments (such as commercial paper) having a
information is readily available. Unobservable inputs may include those                                remaining maturity of 60 days or less may be valued at amortized cost,
used in algorithms based on percentage change in the reference                                         so long as the amortized cost value of such short-term debt instruments
instruments and/or weights of each reference instrument. Significant                                   is approximately the same as the fair value of the instrument as
changes in the unobservable inputs would result in direct and                                          determined without the use of amortized cost valuation. These
proportional changes in the fair value of the security. These securities                               securities are categorized as Level 2 or Level 3 of the fair value
are categorized as Level 3 of the fair value hierarchy.                                                hierarchy depending on the source of the base price.

4. SECURITIES AND OTHER INVESTMENTS
(a) Investments in Affiliates
Each Fund may invest in the PIMCO Short Asset Portfolio and the PIMCO Short-Term Floating NAV Portfolio III (“Central Funds”) to the extent
permitted by the Act and rules thereunder. The Central Funds are registered investment companies created for use solely by the series of the Trust and
other series of registered investment companies advised by the Adviser, in connection with their cash management activities. The main investments of
the Central Funds are money market and short maturity fixed income instruments. The Central Funds may incur expenses related to their investment
activities, but do not pay Investment Advisory Fees or Supervisory and Administrative Fees to the Adviser. The Central Funds are considered to be
affiliated with the Funds. A complete schedule of portfolio holdings for each affiliate fund is filed with the SEC for the first and third quarters of each
fiscal year on Form N-PORT and is available at the SEC’s website at www.sec.gov. A copy of each affiliate fund’s shareholder report is also available
at the SEC’s website at www.sec.gov, on the Funds’ website at www.pimco.com, or upon request, as applicable. The tables below show the Funds’
transactions in and earnings from investments in the affiliated Funds for the period ended March 31, 2021 (amounts in thousands†):
Investment in PIMCO Short Asset Portfolio
                                                                                                                                     Change in
                                                                                                           Net                       Unrealized                                      Realized Net
                                                                      Market Value Purchases Proceeds    Realized                   Appreciation Market Value Dividend               Capital Gain
 Fund Name                                                             03/31/2020   at Cost  from Sales Gain (Loss)                (Depreciation) 03/31/2021  Income(1)             Distributions(1)
 PIMCO Diversified Income Fund                                          $ 30,618         $ 402          $ (1)          $ 0            $ 1,027           $ 32,046         $ 402             $ 0

Investments in PIMCO Short-Term Floating NAV Portfolio III
                                                                                                                                     Change in
                                                                                                                      Net            Unrealized                                      Realized Net
                                                                Market Value       Purchases        Proceeds        Realized        Appreciation Market Value Dividend               Capital Gain
 Fund Name                                                       03/31/2020         at Cost        from Sales      Gain (Loss)     (Depreciation) 03/31/2021  Income(1)             Distributions(1)
 PIMCO Credit Opportunities Bond Fund                              $ 42,171       $     297,186 $ (252,100)           $ (77)           $ 347           $ 87,527          $ 286             $ 0
 PIMCO Diversified Income Fund                                        1,332           1,475,725  (1,016,100)             17              (38)            460,936           324               0
 PIMCO High Yield Spectrum Fund                                      23,442             286,822    (271,101)             49               54              39,266           122               0
 PIMCO Long-Term Credit Bond Fund                                    22,239           1,922,875  (1,889,700)            357              (26)             55,745           145               0
 PIMCO Low Duration Credit Fund                                      41,898             689,540    (706,800)            301               34              24,973           141               0
 PIMCO Low Duration Income Fund                                      27,158           1,312,017  (1,304,700)             (8)              (1)             34,466            37               0
 PIMCO Preferred and Capital Securities Fund                             52           1,266,122  (1,188,000)             94                9              78,277           322               0
†     A zero balance may reflect actual amounts rounding to less than one thousand.
(1)   The tax characterization of distributions is determined in accordance with Federal income tax regulations and may contain a return of capital. The actual tax characterization of
      distributions received is determined at the end of the fiscal year of the affiliated fund. See Note 2, Distributions to Shareholders, in the Notes to Financial Statements for more information.

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(b) Investments in Securities                                                amounts owed to lenders or lending syndicates by corporate,
The Funds may utilize the investments and strategies described below         governmental, or other borrowers. A Fund’s investments in loans may
to the extent permitted by each Fund’s respective investment policies.       be in the form of participations in loans or assignments of all or a
                                                                             portion of loans from third parties or investments in or originations of
Bank Obligations in which a Fund may invest include certificates of
                                                                             loans by the Fund or Funds. A loan is often administered by a bank or
deposit, bankers’ acceptances, and fixed time deposits. Certificates of
                                                                             other financial institution (the “agent”) that acts as agent for all
deposit are negotiable certificates issued against Funds deposited in a
                                                                             holders. The agent administers the terms of the loan, as specified in the
commercial bank for a definite period of time and earning a specified
                                                                             loan agreement. A Fund may invest in multiple series or tranches of a
return. Bankers’ acceptances are negotiable drafts or bills of exchange,
                                                                             loan, which may have varying terms and carry different associated risks.
normally drawn by an importer or exporter to pay for specific
                                                                             When a Fund purchases assignments from agents it acquires direct
merchandise, which are “accepted” by a bank, meaning, in effect, that
                                                                             rights against the borrowers of the loans. These loans may include
the bank unconditionally agrees to pay the face value of the instrument
                                                                             participations in bridge loans, which are loans taken out by borrowers
on maturity. Fixed time deposits are bank obligations payable at a
                                                                             for a short period (typically less than one year) pending arrangement of
stated maturity date and bearing interest at a fixed rate. Fixed time
                                                                             more permanent financing through, for example, the issuance of
deposits may be withdrawn on demand by the investor, but may be
                                                                             bonds, frequently high yield bonds issued for the purpose
subject to early withdrawal penalties which vary depending upon
                                                                             of acquisitions.
market conditions and the remaining maturity of the obligation.
                                                                             The types of loans and related investments in which the Funds may
Delayed-Delivery Transactions involve a commitment by a Fund to
                                                                             invest include, among others, senior loans, subordinated loans
purchase or sell securities for a predetermined price or yield, with
                                                                             (including second lien loans, B-Notes and mezzanine loans), whole
payment and delivery taking place beyond the customary settlement
                                                                             loans, commercial real estate and other commercial loans and
period. When delayed-delivery transactions are outstanding, a Fund
                                                                             structured loans. The Funds may originate loans or acquire direct
will designate or receive as collateral liquid assets in an amount
                                                                             interests in loans through primary loan distributions and/or in private
sufficient to meet the purchase price or respective obligations. When
                                                                             transactions. In the case of subordinated loans, there may be
purchasing a security on a delayed-delivery basis, a Fund assumes the
                                                                             significant indebtedness ranking ahead of the borrower’s obligation to
rights and risks of ownership of the security, including the risk of price
                                                                             the holder of such a loan, including in the event of the borrower’s
and yield fluctuations, and takes such fluctuations into account when
                                                                             insolvency. Mezzanine loans are typically secured by a pledge of an
determining its NAV. A Fund may dispose of or renegotiate a delayed-
                                                                             equity interest in the mortgage borrower that owns the real estate
delivery transaction after it is entered into, which may result in a
                                                                             rather than an interest in a mortgage.
realized gain (loss). When a Fund has sold a security on a delayed-
delivery basis, the Fund does not participate in future gains (losses)       Investments in loans may include unfunded loan commitments, which
with respect to the security.                                                are contractual obligations for funding. Unfunded loan commitments
                                                                             may include revolving credit facilities, which may obligate a Fund to
Inflation-Indexed Bonds are fixed income securities whose principal
                                                                             supply additional cash to the borrower on demand. Unfunded loan
value is periodically adjusted by the rate of inflation. The interest rate
                                                                             commitments represent a future obligation in full, even though a
on these bonds is generally fixed at issuance at a rate lower than
                                                                             percentage of the committed amount may not be utilized by the
typical bonds. Over the life of an inflation-indexed bond, however,
                                                                             borrower. When investing in a loan participation, a Fund has the right
interest will be paid based on a principal value which is adjusted for
                                                                             to receive payments of principal, interest and any fees to which it is
inflation. Any increase or decrease in the principal amount of an
                                                                             entitled only from the agent selling the loan agreement and only upon
inflation-indexed bond will be included as interest income on the
                                                                             receipt of payments by the agent from the borrower. A Fund may
Statements of Operations, even though investors do not receive their
                                                                             receive a commitment fee based on the undrawn portion of the
principal until maturity. Repayment of the original bond principal upon
                                                                             underlying line of credit portion of a loan. In certain circumstances, a
maturity (as adjusted for inflation) is guaranteed in the case of U.S.
                                                                             Fund may receive a penalty fee upon the prepayment of a loan by a
Treasury Inflation-Protected Securities. For bonds that do not provide a
                                                                             borrower. Fees earned or paid are recorded as a component of interest
similar guarantee, the adjusted principal value of the bond repaid at
                                                                             income or interest expense, respectively, on the Statements of
maturity may be less than the original principal.
                                                                             Operations. Unfunded loan commitments are reflected as a liability on
Loans and Other Indebtedness, Loan Participations and                        the Statements of Assets and Liabilities.
Assignments are direct debt instruments which are interests in

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Mortgage-Related and Other Asset-Backed Securities directly or                    on a structured financing changes based on multiples of changes in
indirectly represent a participation in, or are secured by and payable            interest rates or inversely to changes in interest rates)), CBOs, CLOs
from, loans on real property. Mortgage-related securities are created             and other CDOs carry additional risks including, but not limited to,
from pools of residential or commercial mortgage loans, including                 (i) the possibility that distributions from collateral securities will not be
mortgage loans made by savings and loan institutions, mortgage                    adequate to make interest or other payments, (ii) the quality of the
bankers, commercial banks and others. These securities provide a                  collateral may decline in value or default, (iii) the risk that a Fund may
monthly payment which consists of both interest and principal. Interest           invest in CBOs, CLOs, or other CDOs that are subordinate to other
may be determined by fixed or adjustable rates. The rate of                       classes, and (iv) the complex structure of the security may not be fully
prepayments on underlying mortgages will affect the price and volatility          understood at the time of investment and may produce disputes with
of a mortgage-related security, and may have the effect of shortening             the issuer or unexpected investment results.
or extending the effective duration of the security relative to what was
anticipated at the time of purchase. The timely payment of principal              Collateralized Mortgage Obligations (“CMOs”) are debt obligations
and interest of certain mortgage-related securities is guaranteed with            of a legal entity that are collateralized by whole mortgage loans or
the full faith and credit of the U.S. Government. Pools created and               private mortgage bonds and divided into classes. CMOs are structured
guaranteed by non-governmental issuers, including government-                     into multiple classes, often referred to as “tranches”, with each class
sponsored corporations, may be supported by various forms of                      bearing a different stated maturity and entitled to a different schedule
insurance or guarantees, but there can be no assurance that private               for payments of principal and interest, including prepayments. CMOs
insurers or guarantors can meet their obligations under the insurance             may be less liquid and may exhibit greater price volatility than other
policies or guarantee arrangements. Many of the risks of investing in             types of mortgage-related or asset-backed securities.
mortgage-related securities secured by commercial mortgage loans                  Stripped Mortgage-Backed Securities (“SMBS”) are derivative multi-
reflect the effects of local and other economic conditions on real estate         class mortgage securities. SMBS are usually structured with two classes
markets, the ability of tenants to make lease payments, and the ability           that receive different proportions of the interest and principal
of a property to attract and retain tenants. These securities may be less         distributions on a pool of mortgage assets. An SMBS will have one
liquid and may exhibit greater price volatility than other types of               class that will receive all of the interest (the interest-only or “IO” class),
mortgage-related or other asset-backed securities. Other asset-backed             while the other class will receive the entire principal (the principal-only
securities are created from many types of assets, including, but not              or “PO” class). Payments received for IOs are included in interest
limited to, auto loans, accounts receivable, such as credit card                  income on the Statements of Operations. Because no principal will be
receivables and hospital account receivables, home equity loans,                  received at the maturity of an IO, adjustments are made to the cost of
student loans, boat loans, mobile home loans, recreational vehicle                the security on a monthly basis until maturity. These adjustments are
loans, manufactured housing loans, aircraft leases, computer leases               included in interest income on the Statements of Operations. Payments
and syndicated bank loans.                                                        received for POs are treated as reductions to the cost and par value of
Collateralized Debt Obligations (“CDOs”) include Collateralized Bond              the securities.
Obligations (“CBOs”), Collateralized Loan Obligations (“CLOs”) and                Payment In-Kind Securities may give the issuer the option at each
other similarly structured securities. CBOs and CLOs are types of asset-          interest payment date of making interest payments in either cash and/
backed securities. A CBO is a trust which is backed by a diversified pool         or additional debt securities. Those additional debt securities usually
of high risk, below investment grade fixed income securities. A CLO is a          have the same terms, including maturity dates and interest rates, and
trust typically collateralized by a pool of loans, which may include,             associated risks as the original bonds. The daily market quotations of
among others, domestic and foreign senior secured loans, senior                   the original bonds may include the accrued interest (referred to as a
unsecured loans, and subordinate corporate loans, including loans that            dirty price) and require a pro rata adjustment from the unrealized
may be rated below investment grade or equivalent unrated loans. The              appreciation (depreciation) on investments to interest receivable on the
risks of an investment in a CDO depend largely on the type of                     Statements of Assets and Liabilities.
the collateral securities and the class of the CDO in which a Fund
invests. In addition to the normal risks associated with fixed income             Perpetual Bonds are fixed income securities with no maturity date but
securities discussed elsewhere in this report and each Fund’s                     pay a coupon in perpetuity (with no specified ending or maturity date).
prospectus and statement of additional information (e.g., prepayment              Unlike typical fixed income securities, there is no obligation for
risk, credit risk, liquidity risk, market risk, structural risk, legal risk and   perpetual bonds to repay principal. The coupon payments, however,
interest rate risk (which may be exacerbated if the interest rate payable         are mandatory. While perpetual bonds have no maturity date, they may

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have a callable date in which the perpetuity is eliminated and the issuer   government-sponsored corporation. FNMA purchases conventional
may return the principal received on the specified call date.               (i.e., not insured or guaranteed by any government agency) residential
Additionally, a perpetual bond may have additional features, such as        mortgages from a list of approved seller/servicers which include state
interest rate increases at periodic dates or an increase as of a            and federally chartered savings and loan associations, mutual savings
predetermined point in the future.                                          banks, commercial banks and credit unions and mortgage bankers.
                                                                            Pass-through securities issued by FNMA are guaranteed as to timely
Real Estate Investment Trusts (“REITs”) are pooled investment
                                                                            payment of principal and interest by FNMA, but are not backed by the
vehicles that own, and typically operate, income-producing real estate.
                                                                            full faith and credit of the U.S. Government. FHLMC issues Participation
If a REIT meets certain requirements, including distributing to
                                                                            Certificates (“PCs”), which are pass-through securities, each
shareholders substantially all of its taxable income (other than net
                                                                            representing an undivided interest in a pool of residential mortgages.
capital gains), then it is not taxed on the income distributed to
                                                                            FHLMC guarantees the timely payment of interest and ultimate
shareholders. Distributions received from REITs may be characterized as
                                                                            collection of principal, but PCs are not backed by the full faith and
income, capital gain or a return of capital. A return of capital is
                                                                            credit of the U.S. Government.
recorded by a Fund as a reduction to the cost basis of its investment in
the REIT. REITs are subject to management fees and other expenses,          In June 2019, FNMA and FHLMC started issuing Uniform Mortgage
and so the Funds that invest in REITs will bear their proportionate share   Backed Securities in place of their current offerings of TBA-eligible
of the costs of the REITs’ operations.                                      securities (the “Single Security Initiative”). The Single Security Initiative
                                                                            seeks to support the overall liquidity of the TBA market and aligns the
Restricted Investments are subject to legal or contractual restrictions
                                                                            characteristics of FNMA and FHLMC certificates. The effects that the
on resale and may generally be sold privately, but may be required to
                                                                            Single Security Initiative may have on the market for TBA and other
be registered or exempted from such registration before being sold to
                                                                            mortgage-backed securities are uncertain.
the public. Private placement securities are generally considered to be
restricted except for those securities traded between qualified             Roll-timing strategies can be used where a Fund seeks to extend the
institutional investors under the provisions of Rule 144A of the            expiration or maturity of a position, such as a TBA security on an
Securities Act of 1933. Disposal of restricted investments may involve      underlying asset, by closing out the position before expiration and
time-consuming negotiations and expenses, and prompt sale at an             opening a new position with respect to substantially the same
acceptable price may be difficult to achieve. Restricted investments held   underlying asset with a later expiration date. TBA securities purchased
by the Funds at March 31, 2021, as applicable, are disclosed in the         or sold are reflected on the Statements of Assets and Liabilities as an
Notes to Schedules of Investments.                                          asset or liability, respectively.

Securities Issued by U.S. Government Agencies or Government-                Warrants are securities that are usually issued together with a debt
Sponsored Enterprises are obligations of and, in certain cases,             security or preferred security and that give the holder the right to buy a
guaranteed by, the U.S. Government, its agencies or instrumentalities.      proportionate amount of common stock at a specified price. Warrants
Some U.S. Government securities, such as Treasury bills, notes and          normally have a life that is measured in years and entitle the holder to
bonds, and securities guaranteed by the Government National                 buy common stock of a company at a price that is usually higher than
Mortgage Association, are supported by the full faith and credit of the     the market price at the time the warrant is issued. Warrants may entail
U.S. Government; others, such as those of the Federal Home Loan             greater risks than certain other types of investments. Generally,
Banks, are supported by the right of the issuer to borrow from the U.S.     warrants do not carry the right to receive dividends or exercise voting
Department of the Treasury (the “U.S. Treasury”); and others, such as       rights with respect to the underlying securities, and they do not
those of the Federal National Mortgage Association (“FNMA” or               represent any rights in the assets of the issuer. In addition, their value
“Fannie Mae”), are supported by the discretionary authority of the U.S.     does not necessarily change with the value of the underlying securities,
Government to purchase the agency’s obligations. U.S. Government            and they cease to have value if they are not exercised on or before their
securities may include zero coupon securities which do not distribute       expiration date. If the market price of the underlying stock does not
interest on a current basis and tend to be subject to a greater risk than   exceed the exercise price during the life of the warrant, the warrant will
interest-paying securities of similar maturities.                           expire worthless. Warrants may increase the potential profit or loss to
                                                                            be realized from the investment as compared with investing the same
Government-related guarantors (i.e., not backed by the full faith and
                                                                            amount in the underlying securities. Similarly, the percentage increase
credit of the U.S. Government) include FNMA and the Federal Home
                                                                            or decrease in the value of an equity security warrant may be greater
Loan Mortgage Corporation (“FHLMC” or “Freddie Mac”). FNMA is a             than the percentage increase or decrease in the value of the underlying

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common stock. Warrants may relate to the purchase of equity or debt           During the period, there were no borrowings on this line of credit. The
securities. Debt obligations with warrants attached to purchase equity        maximum available commitment and related fees for the revolving
securities have many characteristics of convertible securities and their      credit agreement are:
prices may, to some degree, reflect the performance of the underlying                                                   Maximum                    Commitment
stock. Debt obligations also may be issued with warrants attached to                                                    Available     Expiration   and Upfront
                                                                              Funds                                   Commitment*       Date          Fees
purchase additional debt securities at the same coupon rate. A decline        PIMCO High Yield Spectrum Fund          $ 19,000,000 08/31/2021       $ 61,295
in interest rates would permit a Fund to sell such warrants at a profit. If   PIMCO Low Duration Credit Fund          $ 47,000,000 08/31/2021       $ 113,826
interest rates rise, these warrants would generally expire with no value.
                                                                              *   Maximum available commitment prior to renewal on September 1, 2020, for PIMCO
                                                                                  High Yield Spectrum Bond and PIMCO Low Duration Credit Fund was $35,000,000
When-Issued Transactions are purchases or sales made on a when-                   and $45,000,000, respectively. The agreements expire on August 31, 2021 unless
issued basis. These transactions are made conditionally because a                 extended or renewed.
security, although authorized, has not yet been issued in the market.
                                                                              (b) Repurchase Agreements Under the terms of a typical repurchase
Transactions to purchase or sell securities on a when-issued basis
                                                                              agreement, a Fund purchases an underlying debt obligation (collateral)
involve a commitment by a Fund to purchase or sell these securities for
                                                                              subject to an obligation of the seller to repurchase, and a Fund to resell,
a predetermined price or yield, with payment and delivery taking place
                                                                              the obligation at an agreed-upon price and time. In an open maturity
beyond the customary settlement period. A Fund may sell when-issued
                                                                              repurchase agreement, there is no pre-determined repurchase date and
securities before they are delivered, which may result in a realized
                                                                              the agreement can be terminated by the Fund or counterparty at any time.
gain (loss).
                                                                              The underlying securities for all repurchase agreements are held by a
5. BORROWINGS AND OTHER FINANCING                                             Fund’s custodian or designated subcustodians under tri-party repurchase
TRANSACTIONS                                                                  agreements and in certain instances will remain in custody with the
                                                                              counterparty. The market value of the collateral must be equal to or
The Funds may enter into the borrowings and other financing
                                                                              exceed the total amount of the repurchase obligations, including interest.
transactions described below to the extent permitted by each Fund’s
                                                                              Repurchase agreements, if any, including accrued interest, are included on
respective investment policies.
                                                                              the Statements of Assets and Liabilities. Interest earned is recorded as a
The following disclosures contain information on a Fund’s ability to          component of interest income on the Statements of Operations. In periods
lend or borrow cash or securities to the extent permitted under the Act,      of increased demand for collateral, a Fund may pay a fee for the receipt of
which may be viewed as borrowing or financing transactions by a Fund.         collateral, which may result in interest expense to the Fund.
The location of these instruments in each Fund’s financial statements is
                                                                              (c) Reverse Repurchase Agreements In a reverse repurchase
described below.
                                                                              agreement, a Fund delivers a security in exchange for cash to a
(a) Line of Credit The PIMCO High Yield Spectrum Fund and PIMCO               financial institution, the counterparty, with a simultaneous agreement
Low Duration Credit Fund entered into a 364-day senior unsecured              to repurchase the same or substantially the same security at an agreed
revolving credit agreement with State Street Bank & Trust Company             upon price and date. In an open maturity reverse repurchase
and other commercial banks to be utilized for temporary purposes to           agreement, there is no pre-determined repurchase date and the
fund shareholder redemptions or for other short-term liquidity                agreement can be terminated by the Fund or counterparty at any time.
purposes. State Street Bank & Trust Company serves as both a bank             A Fund is entitled to receive principal and interest payments, if any,
and as an agent for the other banks that are parties to the agreement.        made on the security delivered to the counterparty during the term of
The Funds pay financing charges based on a combination of a London            the agreement. Cash received in exchange for securities delivered plus
Interbank Offered Rate-based variable rate plus a credit spread. The          accrued interest payments to be made by a Fund to counterparties are
Funds also pay a fee of 0.15% per annum on the unused maximum                 reflected as a liability on the Statements of Assets and Liabilities.
available commitment amounts. As of March 31, 2021, if applicable             Interest payments made by a Fund to counterparties are recorded as a
any outstanding borrowings would be disclosed as a payable for line of        component of interest expense on the Statements of Operations. In
credit on the Statements of Assets and Liabilities. Interest and              periods of increased demand for the security, a Fund may receive a fee
commitment and upfront fees, if any, paid by the Funds are disclosed          for use of the security by the counterparty, which may result in interest
as part of the interest expense on the Statements of Operations.              income to the Fund. A Fund will segregate assets determined to be
                                                                              liquid by the Adviser or will otherwise cover its obligations under
                                                                              reverse repurchase agreements.


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(d) Sale-Buybacks A sale-buyback financing transaction consists of a           (f) Interfund Lending In accordance with an exemptive order (the
sale of a security by a Fund to a financial institution, the counterparty,     “Order”) from the SEC, the Funds of the Trust may participate in a joint
with a simultaneous agreement to repurchase the same or substantially          lending and borrowing facility for temporary purposes (the “Interfund
the same security at an agreed-upon price and date. A Fund is not              Lending Program”), subject to compliance with the terms and
entitled to receive principal and interest payments, if any, made on the       conditions of the Order, and to the extent permitted by each Fund’s
security sold to the counterparty during the term of the agreement. The        investment policies and restrictions. The Funds are currently permitted
agreed-upon proceeds for securities to be repurchased by a Fund are            to borrow under the Interfund Lending Program. A lending fund may
reflected as a liability on the Statements of Assets and Liabilities. A        lend in aggregate up to 15% of its current net assets at the time of the
Fund will recognize net income represented by the price differential           interfund loan, but may not lend more than 5% of its net assets to any
between the price received for the transferred security and the agreed-        one borrowing fund through the Interfund Lending Program. A
upon repurchase price. This is commonly referred to as the ‘price drop’.       borrowing fund may not borrow through the Interfund Lending
A price drop consists of (i) the foregone interest and inflationary            Program or from any other source if its total outstanding borrowings
income adjustments, if any, a Fund would have otherwise received had           immediately after the borrowing would be more than 33 1/3% of its
the security not been sold and (ii) the negotiated financing terms             total assets (or any lower threshold provided for by the fund’s
between a Fund and counterparty. Foregone interest and inflationary            investment restrictions). If a borrowing fund’s total outstanding
income adjustments, if any, are recorded as components of interest             borrowings exceed 10% of its total assets, each of its outstanding
income on the Statements of Operations. Interest payments based upon           interfund loans will be subject to collateralization of at least 102% of
negotiated financing terms made by a Fund to counterparties are                the outstanding principal value of the loan. All interfund loans are for
recorded as a component of interest expense on the Statements of               temporary or emergency purposes and the interfund loan rate to be
Operations. In periods of increased demand for the security, a Fund            charged will be the average of the highest current overnight repurchase
may receive a fee for use of the security by the counterparty, which may       agreement rate available to a lending fund and the bank loan rate, as
result in interest income to the Fund. A Fund will segregate assets            calculated according to a formula established by the Board.
determined to be liquid by the Adviser or will otherwise cover its
obligations under sale-buyback transactions.                                   On March 23, 2020, the SEC issued an exemptive order (the
                                                                               “Temporary Order”) to provide temporary relief to the Funds of the
(e) Short Sales Short sales are transactions in which a Fund sells a           Trust in relation to the Interfund Lending Program, and the Board has
security that it may not own. A Fund may make short sales of securities        authorized the Funds to rely on the Temporary Order. With respect to
to (i) offset potential declines in long positions in similar securities,      interfund lending, the Temporary Order permitted, under certain
(ii) to increase the flexibility of the Fund, (iii) for investment return,     conditions, a lending fund to lend in aggregate up to 25% of its
(iv) as part of a risk arbitrage strategy, and (v) as part of its overall      current net assets at the time of the interfund loan and to make
portfolio management strategies involving the use of derivative                interfund loans with term limits of up to the expiration of the
instruments. When a Fund engages in a short sale, it may borrow the            Temporary Order, notwithstanding the current limit of seven business
security sold short and deliver it to the counterparty. A Fund will            days under the Order. The SEC provided notice in April 2021 that the
ordinarily have to pay a fee or premium to borrow a security and be            Temporary Order would be terminated on April 30, 2021.
obligated to repay the lender of the security any dividend or interest
that accrues on the security during the period of the loan. Securities         During the period ended March 31, 2021, the Funds did not participate
sold in short sale transactions and the dividend or interest payable on        in the Interfund Lending Program.
such securities, if any, are reflected as payable for short sales on the       6. FINANCIAL DERIVATIVE INSTRUMENTS
Statements of Assets and Liabilities. Short sales expose a Fund to the
                                                                               The Funds may enter into the financial derivative instruments described
risk that it will be required to cover its short position at a time when
                                                                               below to the extent permitted by each Fund’s respective
the security or other asset has appreciated in value, thus resulting in
                                                                               investment policies.
losses to a Fund. A short sale is “against the box” if a Fund holds in its
portfolio or has the right to acquire the security sold short, or securities   The following disclosures contain information on how and why the
identical to the security sold short, at no additional cost. A Fund will be    Funds use financial derivative instruments, and how financial derivative
subject to additional risks to the extent that it engages in short sales       instruments affect the Funds’ financial position, results of operations
that are not “against the box.” A Fund’s loss on a short sale could            and cash flows. The location and fair value amounts of these
theoretically be unlimited in cases where a Fund is unable, for whatever       instruments on the Statements of Assets and Liabilities and the net
reason, to close out its short position.                                       realized gain (loss) and net change in unrealized appreciation

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(depreciation) on the Statements of Operations, each categorized by           contracts expire or close. Futures contracts involve, to varying degrees,
type of financial derivative contract and related risk exposure, are          risk of loss in excess of the Futures Variation Margin included within
included in a table in the Notes to Schedules of Investments. The             exchange traded or centrally cleared financial derivative instruments on
financial derivative instruments outstanding as of period end and the         the Statements of Assets and Liabilities.
amounts of net realized gain (loss) and net change in unrealized
appreciation (depreciation) on financial derivative instruments during        (c) Options Contracts may be written or purchased to enhance returns
the period, as disclosed in the Notes to Schedules of Investments, serve      or to hedge an existing position or future investment. A Fund may write
as indicators of the volume of financial derivative activity for the Funds.   call and put options on securities and financial derivative instruments it
                                                                              owns or in which it may invest. Writing put options tends to increase a
(a) Forward Foreign Currency Contracts may be engaged, in                     Fund’s exposure to the underlying instrument. Writing call options
connection with settling planned purchases or sales of securities, to         tends to decrease a Fund’s exposure to the underlying instrument.
hedge the currency exposure associated with some or all of a Fund’s           When a Fund writes a call or put, an amount equal to the premium
securities or as part of an investment strategy. A forward foreign            received is recorded and subsequently marked to market to reflect the
currency contract is an agreement between two parties to buy and sell         current value of the option written. These amounts are included on the
a currency at a set price on a future date. The market value of a             Statements of Assets and Liabilities. Premiums received from writing
forward foreign currency contract fluctuates with changes in foreign          options which expire are treated as realized gains. Premiums received
currency exchange rates. Forward foreign currency contracts are               from writing options which are exercised or closed are added to the
marked to market daily, and the change in value is recorded by a Fund         proceeds or offset against amounts paid on the underlying futures,
as an unrealized gain (loss). Realized gains (losses) are equal to the        swap, security or currency transaction to determine the realized gain
difference between the value of the contract at the time it was opened        (loss). Certain options may be written with premiums to be determined
and the value at the time it was closed and are recorded upon delivery        on a future date. The premiums for these options are based upon
or receipt of the currency. These contracts may involve market risk in        implied volatility parameters at specified terms. A Fund as a writer of
excess of the unrealized gain (loss) reflected on the Statements of           an option has no control over whether the underlying instrument may
Assets and Liabilities. In addition, a Fund could be exposed to risk if the   be sold (“call”) or purchased (“put”) and as a result bears the market
counterparties are unable to meet the terms of the contracts or if the        risk of an unfavorable change in the price of the instrument underlying
value of the currency changes unfavorably to the U.S. dollar. To              the written option. There is the risk a Fund may not be able to enter
mitigate such risk, cash or securities may be exchanged as collateral         into a closing transaction because of an illiquid market.
pursuant to the terms of the underlying contracts.
                                                                              Purchasing call options tends to increase a Fund’s exposure to the
(b) Futures Contracts are agreements to buy or sell a security or other       underlying instrument. Purchasing put options tends to decrease a
asset for a set price on a future date and are traded on an exchange. A       Fund’s exposure to the underlying instrument. A Fund pays a premium
Fund may use futures contracts to manage its exposure to the securities       which is included as an asset on the Statements of Assets and
markets or to movements in interest rates and currency values. The            Liabilities and subsequently marked to market to reflect the current
primary risks associated with the use of futures contracts are the            value of the option. Premiums paid for purchasing options which expire
imperfect correlation between the change in market value of the               are treated as realized losses. Certain options may be purchased with
securities held by a Fund and the prices of futures contracts and the         premiums to be determined on a future date. The premiums for these
possibility of an illiquid market. Futures contracts are valued based         options are based upon implied volatility parameters at specified terms.
upon their quoted daily settlement prices. Upon entering into a futures       The risk associated with purchasing put and call options is limited to
contract, a Fund is required to deposit with its futures broker an            the premium paid. Premiums paid for purchasing options which are
amount of cash, U.S. Government and Agency Obligations, or select             exercised or closed are added to the amounts paid or offset against the
sovereign debt, in accordance with the initial margin requirements of         proceeds on the underlying investment transaction to determine the
the broker or exchange. Futures contracts are marked to market daily          realized gain (loss) when the underlying transaction is executed.
and based on such movements in the price of the contracts, an
appropriate payable or receivable for the change in value may be              Credit Default Swaptions may be written or purchased to hedge
posted or collected by the Fund (“Futures Variation Margin”). Futures         exposure to the credit risk of an investment without making a
Variation Margins, if any, are disclosed within centrally cleared financial   commitment to the underlying instrument. A credit default swaption is an
derivative instruments on the Statements of Assets and Liabilities.           option to sell or buy credit protection on a specific reference by entering
Gains (losses) are recognized but not considered realized until the           into a pre-defined swap agreement by some specified date in the future.


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Foreign Currency Options may be written or purchased to be used as          cleared swaps (“Swap Variation Margin”), if any, are disclosed within
a short or long hedge against possible variations in foreign exchange       centrally cleared financial derivative instruments on the Statements of
rates or to gain exposure to foreign currencies.                            Assets and Liabilities. Centrally Cleared and OTC swap payments
                                                                            received or paid at the beginning of the measurement period are
Inflation-Capped Options may be written or purchased to enhance
                                                                            included on the Statements of Assets and Liabilities and represent
returns or for hedging opportunities. The purpose of purchasing
                                                                            premiums paid or received upon entering into the swap agreement to
inflation-capped options is to protect a Fund from inflation erosion
                                                                            compensate for differences between the stated terms of the swap
above a certain rate on a given notional exposure. A floor can be used
                                                                            agreement and prevailing market conditions (credit spreads, currency
to give downside protection to investments in inflation-linked products.
                                                                            exchange rates, interest rates, and other relevant factors). Upfront
Interest Rate Swaptions may be written or purchased to enter into a         premiums received (paid) are initially recorded as liabilities (assets) and
pre-defined swap agreement or to shorten, extend, cancel or otherwise       subsequently marked to market to reflect the current value of the swap.
modify an existing swap agreement, by some specified date in the            These upfront premiums are recorded as realized gain (loss) on the
future. The writer of the swaption becomes the counterparty to the          Statements of Operations upon termination or maturity of the swap. A
swap if the buyer exercises. The interest rate swaption agreement will      liquidation payment received or made at the termination of the swap is
specify whether the buyer of the swaption will be a fixed-rate receiver     recorded as realized gain (loss) on the Statements of Operations. Net
or a fixed-rate payer upon exercise.                                        periodic payments received or paid by a Fund are included as part of
                                                                            realized gain (loss) on the Statements of Operations.
Options on Exchange-Traded Futures Contracts (“Futures Option”)
                                                                            For purposes of applying certain of a Fund’s investment policies and
may be written or purchased to hedge an existing position or future
                                                                            restrictions, swap agreements, like other derivative instruments, may be
investment, for speculative purposes or to manage exposure to market
                                                                            valued by a Fund at market value, notional value or full exposure value.
movements. A Futures Option is an option contract in which the
                                                                            In the case of a credit default swap, in applying certain of a Fund’s
underlying instrument is a single futures contract.
                                                                            investment policies and restrictions, the Funds will value the credit
Options on Securities may be written or purchased to enhance returns        default swap at its notional value or its full exposure value (i.e., the
or to hedge an existing position or future investment. An option on a       sum of the notional amount for the contract plus the market value), but
security uses a specified security as the underlying instrument for the     may value the credit default swap at market value for purposes of
option contract.                                                            applying certain of a Fund’s other investment policies and restrictions.
                                                                            For example, a Fund may value credit default swaps at full exposure
(d) Swap Agreements are bilaterally negotiated agreements between           value for purposes of a Fund’s credit quality guidelines (if any) because
a Fund and a counterparty to exchange or swap investment cash flows,        such value in general better reflects a Fund’s actual economic exposure
assets, foreign currencies or market-linked returns at specified, future    during the term of the credit default swap agreement. As a result, a
intervals. Swap agreements may be privately negotiated in the over the      Fund may, at times, have notional exposure to an asset class (before
counter market (“OTC swaps”) or may be cleared through a third party,       netting) that is greater or lesser than the stated limit or restriction
known as a central counterparty or derivatives clearing organization        noted in a Fund’s prospectus. In this context, both the notional amount
(“Centrally Cleared Swaps”). A Fund may enter into asset, credit            and the market value may be positive or negative depending on
default, cross-currency, interest rate, total return, variance and other    whether a Fund is selling or buying protection through the credit
forms of swap agreements to manage its exposure to credit, currency,        default swap. The manner in which certain securities or other
interest rate, commodity, equity and inflation risk. In connection with     instruments are valued by a Fund for purposes of applying investment
these agreements, securities or cash may be identified as collateral or     policies and restrictions may differ from the manner in which those
margin in accordance with the terms of the respective swap                  investments are valued by other types of investors.
agreements to provide assets of value and recourse in the event of
default or bankruptcy/insolvency.                                           Entering into swap agreements involves, to varying degrees, elements
                                                                            of interest, credit, market and documentation risk in excess of the
Centrally Cleared Swaps are marked to market daily based upon               amounts recognized on the Statements of Assets and Liabilities. Such
valuations as determined from the underlying contract or in accordance      risks involve the possibility that there will be no liquid market for these
with the requirements of the central counterparty or derivatives clearing   agreements, that the counterparty to the agreements may default on its
organization. Changes in market value, if any, are reflected as a           obligation to perform or disagree as to the meaning of contractual
component of net change in unrealized appreciation (depreciation) on        terms in the agreements and that there may be unfavorable changes in
the Statements of Operations. Daily changes in valuation of centrally       interest rates or the values of the asset upon which the swap is based.

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A Fund’s maximum risk of loss from counterparty credit risk is the            obligation or underlying securities comprising the referenced index.
discounted net value of the cash flows to be received from the                Recovery values are estimated by market makers considering either
counterparty over the contract’s remaining life, to the extent that           industry standard recovery rates or entity specific factors and
amount is positive. The risk may be mitigated by having a master              considerations until a credit event occurs. If a credit event has occurred,
netting arrangement between a Fund and the counterparty and by the            the recovery value is determined by a facilitated auction whereby a
posting of collateral to a Fund to cover a Fund’s exposure to                 minimum number of allowable broker bids, together with a specified
the counterparty.                                                             valuation method, are used to calculate the settlement value. The
                                                                              ability to deliver other obligations may result in a cheapest-to-deliver
To the extent a Fund has a policy to limit the net amount owed to or to
                                                                              option (the buyer of protection’s right to choose the deliverable
be received from a single counterparty under existing swap
                                                                              obligation with the lowest value following a credit event).
agreements, such limitation only applies to counterparties to OTC
swaps and does not apply to centrally cleared swaps where the                 Credit default swap agreements on credit indices involve one party
counterparty is a central counterparty or derivatives                         making a stream of payments to another party in exchange for the right
clearing organization.                                                        to receive a specified return in the event of a write-down, principal
                                                                              shortfall, interest shortfall or default of all or part of the referenced
Credit Default Swap Agreements on corporate, loan, sovereign, U.S.
                                                                              entities comprising the credit index. A credit index is a basket of credit
municipal or U.S. Treasury issues are entered into to provide a measure
                                                                              instruments or exposures designed to be representative of some part of
of protection against defaults of the issuers (i.e., to reduce risk where a
                                                                              the credit market as a whole. These indices are made up of reference
Fund owns or has exposure to the referenced obligation) or to take an
                                                                              credits that are judged by a poll of dealers to be the most liquid entities
active long or short position with respect to the likelihood of a
                                                                              in the credit default swap market based on the sector of the index.
particular issuer’s default. Credit default swap agreements involve one
                                                                              Components of the indices may include, but are not limited to,
party making a stream of payments (referred to as the buyer of
                                                                              investment grade securities, high yield securities, asset-backed
protection) to another party (the seller of protection) in exchange for
                                                                              securities, emerging markets, and/or various credit ratings within each
the right to receive a specified return in the event that the referenced
                                                                              sector. Credit indices are traded using credit default swaps with
entity, obligation or index, as specified in the swap agreement,
                                                                              standardized terms including a fixed spread and standard maturity
undergoes a certain credit event. As a seller of protection on credit
                                                                              dates. An index credit default swap references all the names in the
default swap agreements, a Fund will generally receive from the buyer
                                                                              index, and if there is a default, the credit event is settled based on that
of protection a fixed rate of income throughout the term of the swap
                                                                              name’s weight in the index. The composition of the indices changes
provided that there is no credit event. As the seller, a Fund would
                                                                              periodically, usually every six months, and for most indices, each name
effectively add leverage to its portfolio because, in addition to its total
                                                                              has an equal weight in the index. A Fund may use credit default swaps
net assets, a Fund would be subject to investment exposure on the
                                                                              on credit indices to hedge a portfolio of credit default swaps or bonds,
notional amount of the swap.
                                                                              which is less expensive than it would be to buy many credit default
If a Fund is a seller of protection and a credit event occurs, as defined     swaps to achieve a similar effect. Credit default swaps on indices are
under the terms of that particular swap agreement, a Fund will either         instruments for protecting investors owning bonds against default, and
(i) pay to the buyer of protection an amount equal to the notional            traders use them to speculate on changes in credit quality.
amount of the swap and take delivery of the referenced obligation,
                                                                              Implied credit spreads, represented in absolute terms, utilized in
other deliverable obligations or underlying securities comprising the
                                                                              determining the market value of credit default swap agreements on
referenced index or (ii) pay a net settlement amount in the form of cash
                                                                              corporate, loan, sovereign, U.S. municipal or U.S. Treasury issues as of
or securities equal to the notional amount of the swap less the recovery
                                                                              period end, if any, are disclosed in the Notes to Schedules of
value of the referenced obligation or underlying securities comprising
                                                                              Investments. They serve as an indicator of the current status of
the referenced index. If a Fund is a buyer of protection and a credit
                                                                              payment/performance risk and represent the likelihood or risk of
event occurs, as defined under the terms of that particular swap
                                                                              default for the reference entity. The implied credit spread of a particular
agreement, a Fund will either (i) receive from the seller of protection an
                                                                              referenced entity reflects the cost of buying/selling protection and may
amount equal to the notional amount of the swap and deliver the
                                                                              include upfront payments required to be made to enter into the
referenced obligation, other deliverable obligations or underlying
                                                                              agreement. Wider credit spreads represent a deterioration of the
securities comprising the referenced index or (ii) receive a net
                                                                              referenced entity’s credit soundness and a greater likelihood or risk of
settlement amount in the form of cash or securities equal to the
                                                                              default or other credit event occurring as defined under the terms of
notional amount of the swap less the recovery value of the referenced

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the agreement. For credit default swap agreements on asset-backed               the other to the extent that interest rates exceed a specified rate, or
securities and credit indices, the quoted market prices and resulting           “cap”, (ii) interest rate floors, under which, in return for a premium,
values serve as the indicator of the current status of the payment/             one party agrees to make payments to the other to the extent that
performance risk. Increasing market values, in absolute terms when              interest rates fall below a specified rate, or “floor”, (iii) interest rate
compared to the notional amount of the swap, represent a                        collars, under which a party sells a cap and purchases a floor or vice
deterioration of the referenced entity’s credit soundness and a greater         versa in an attempt to protect itself against interest rate movements
likelihood or risk of default or other credit event occurring as defined        exceeding given minimum or maximum levels, (iv) callable interest rate
under the terms of the agreement.                                               swaps, under which the buyer pays an upfront fee in consideration for
                                                                                the right to early terminate the swap transaction in whole, at zero cost
The maximum potential amount of future payments (undiscounted) that
                                                                                and at a predetermined date and time prior to the maturity date,
a Fund as a seller of protection could be required to make under a
                                                                                (v) spreadlocks, which allow the interest rate swap users to lock in the
credit default swap agreement equals the notional amount of the
                                                                                forward differential (or spread) between the interest rate swap rate and
agreement. Notional amounts of each individual credit default swap
                                                                                a specified benchmark, or (vi) basis swaps, under which two parties can
agreement outstanding as of period end for which a Fund is the seller
                                                                                exchange variable interest rates based on different segments of
of protection are disclosed in the Notes to Schedules of Investments.
                                                                                money markets.
These potential amounts would be partially offset by any recovery
values of the respective referenced obligations, upfront payments               Total Return Swap Agreements are entered into to gain or mitigate
received upon entering into the agreement, or net amounts received              exposure to the underlying reference asset. Total return swap
from the settlement of buy protection credit default swap agreements            agreements involve commitments where single or multiple cash flows
entered into by a Fund for the same referenced entity or entities.              are exchanged based on the price of an underlying reference asset and
                                                                                on a fixed or variable interest rate. Total return swap agreements may
Interest Rate Swap Agreements may be entered into to help hedge                 involve commitments to pay interest in exchange for a market-linked
against interest rate risk exposure and to maintain a Fund’s ability to         return. One counterparty pays out the total return of a specific
generate income at prevailing market rates. The value of the fixed rate         underlying reference asset, which may include a single security, a
bonds that the Funds hold may decrease if interest rates rise. To help          basket of securities, or an index, and in return receives a fixed or
hedge against this risk and to maintain its ability to generate income at       variable rate. At the maturity date, a net cash flow is exchanged where
prevailing market rates, a Fund may enter into interest rate swap               the total return is equivalent to the return of the underlying reference
agreements. Interest rate swap agreements involve the exchange by a             asset less a financing rate, if any. As a receiver, a Fund would receive
Fund with another party for their respective commitment to pay or               payments based on any net positive total return and would owe
receive interest on the notional amount of principal. Certain forms of          payments in the event of a net negative total return. As the payer, a
interest rate swap agreements may include: (i) interest rate caps, under        Fund would owe payments on any net positive total return, and would
which, in return for a premium, one party agrees to make payments to            receive payments in the event of a net negative total return.

7. PRINCIPAL AND OTHER RISKS
(a) Principal Risks
The principal risks of investing in a Fund, which could adversely affect its net asset value, yield and total return, are listed below.
                                                 PIMCO                                              PIMCO                               PIMCO
                                                 Credit        PIMCO       PIMCO        PIMCO     Long-Term    PIMCO        PIMCO      Preferred
                                              Opportunities Diversified     ESG       High Yield    Credit  Low Duration Low Duration and Capital
Risks                                          Bond Fund    Income Fund Income Fund Spectrum Fund Bond Fund Credit Fund Income Fund Securities Fund
New Fund                                           —             —            X             —            —            —             —             —
Small Fund                                         —             —            X             —            —            —             —             —
Interest Rate                                      X             X            X             X            X            X             X             X
Call                                               X             X            X             X            X            X             X             X
Credit                                             X             X            X             X            X            X             X             X
Capital Securities                                 —             —            —             —            —            —             —             X
Preferred Securities                               —             —            —             —            —            —             —             X
Concentration in Banking Industries                —             —            —             —            —            —             —             X
Contingent Convertible Securities                  —             —            X             —            —            —             X             X
High Yield                                         X             X            X             X            X            X             X             X
Market                                             X             X            X             X            X            X             X             X


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                                                    PIMCO                                              PIMCO                               PIMCO
                                                    Credit        PIMCO       PIMCO        PIMCO     Long-Term    PIMCO        PIMCO      Preferred
                                                 Opportunities Diversified     ESG       High Yield    Credit  Low Duration Low Duration and Capital
Risks                                             Bond Fund    Income Fund Income Fund Spectrum Fund Bond Fund Credit Fund Income Fund Securities Fund
Issuer                                                X           X            X               X             X             X             X               X
Liquidity                                             X           X            X               X             X             X             X               X
Derivatives                                           X           X            X               X             X             X             X               X
Equity                                                X           X            X               X             X             X             X               X
Mortgage-Related and Other Asset-
   Backed Securities                                 X            X           X                —             X            —             X               —
Foreign (Non-U.S.) Investment                        X            X           X                X             X            X             X               X
Emerging Markets                                     X            X           X                X             X            X             X               X
Sovereign Debt                                       X            X           X                X             X            X             X               X
Currency                                             X            X           X                X             X            —             X               X
Leveraging                                           X            X           X                X             X            X             X               X
Management                                           X            X           X                X             X            X             X               X
Subsidiary                                           —            —           —                —             —            —             —               X
Regulation S Securities                              —            —           —                —             —            —             —               X
Short Exposure                                       X            X           X                X             X            X             X               X
Convertible Securities                               X            —           —                —             —            —             —               —
Senior Loan                                          X            —           —                —             —            X             —               —
Distribution Rate                                    —            —           X                —             —            —             X               —
Environmental, Social and Governance Investing       —            —           X                —             —            —             —               —
LIBOR Transition                                     X            X           X                —             X            X             X               X


Please see “Description of Principal Risks” in a Fund’s prospectus for a           Credit Risk is the risk that a Fund could lose money if the issuer or
more detailed description of the risks of investing in a Fund.                     guarantor of a fixed income security, or the counterparty to a derivative
                                                                                   contract, is unable or unwilling, or is perceived (whether by market
New Fund Risk is the risk that a new fund’s performance may not                    participants, rating agencies, pricing services or otherwise) as unable or
represent how the fund is expected to or may perform in the long term.             unwilling, to meet its financial obligations.
In addition, new funds have limited operating histories for investors to
evaluate and new funds may not attract sufficient assets to achieve                Capital Securities Risk is the risk that the value of securities issued by
investment and trading efficiencies.                                               U.S. and non-U.S. financial institutions that can be used to satisfy their
                                                                                   regulatory capital requirements may decline in response to changes in
Small Fund Risk is the risk that a smaller fund may not achieve                    legislation and regulations applicable to financial institutions and financial
investment or trading efficiencies. Additionally, a smaller fund may be            markets, increased competition, adverse changes in general or industry-
more adversely affected by large purchases or redemptions of                       specific economic conditions, or unfavorable interest rates. By investing
fund shares.                                                                       under normal circumstances at least 80% of its assets in a combination of
Interest Rate Risk is the risk that fixed income securities will decline in        preferred securities and Capital Securities, the PIMCO Preferred and
value because of an increase in interest rates; a fund with a longer               Capital Securities Fund will be more susceptible to these risks than a fund
average portfolio duration will be more sensitive to changes in interest           that does not invest in Capital Securities to the same extent as the Fund.
rates than a fund with a shorter average portfolio duration.                       Preferred Securities Risk is the risk that preferred securities may be
Call Risk is the risk that an issuer may exercise its right to redeem a            subject to greater credit or other risks than senior debt instruments. In
fixed income security earlier than expected (a call). Issuers may call             addition, preferred securities are subject to other risks, such as risks
outstanding securities prior to their maturity for a number of reasons             related to deferred and omitted distributions, limited voting rights,
(e.g., declining interest rates, changes in credit spreads and                     liquidity, interest rate, regulatory changes and special
improvements in the issuer’s credit quality). If an issuer calls a security        redemption rights.
that a Fund has invested in, the Fund may not recoup the full amount               Concentration in Banking Industries Risk is the risk of concentrating
of its initial investment and may be forced to reinvest in lower-yielding          in industries related to banking, including interest rate risk, market risk,
securities, securities with greater credit risks or securities with other,         the risk of heightened competition and the risk that legislation and
less favorable features.                                                           other government actions could adversely affect such industries.



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Contingent Convertible Securities Risk is the risk of investing in             in losses to the Fund, a reduction in the Fund’s returns and/or increased
contingent convertible securities, including the risk that interest            volatility. Over-the-counter (“OTC”) derivatives are also subject to the
payments will be cancelled by the issuer or a regulatory authority, the        risk that a counterparty to the transaction will not fulfill its contractual
risk of ranking junior to other creditors in the event of a liquidation or     obligations to the other party, as many of the protections afforded to
other bankruptcy-related event as a result of holding subordinated             centrally-cleared derivative transactions might not be available for OTC
debt, the risk of a Fund’s investment becoming further subordinated as         derivatives. The primary credit risk on derivatives that are exchange-
a result of conversion from debt to equity, the risk that principal            traded or traded through a central clearing counterparty resides with a
amount due can be written down to a lesser amount, and the general             Fund’s clearing broker, or the clearinghouse. Changes in regulation
risks applicable to fixed income investments, including interest rate risk,    relating to a mutual fund’s use of derivatives and related instruments
credit risk, market risk and liquidity risk, any of which could result in      could potentially limit or impact a Fund’s ability to invest in derivatives,
losses to a Fund.                                                              limit a Fund’s ability to employ certain strategies that use derivatives
                                                                               and/or adversely affect the value of derivatives and a
High Yield Risk is the risk that high yield securities and unrated
                                                                               Fund’s performance.
securities of similar credit quality (commonly known as “junk bonds”)
are subject to greater levels of credit, call and liquidity risks, including   Equity Risk is the risk that the value of equity securities, such as common
the risk that a court will subordinate high yield senior debt to other         stocks and preferred securities, may decline due to general market
debt of the issuer or take other actions detrimental to holders of the         conditions which are not specifically related to a particular company or to
senior debt. High yield securities are considered primarily speculative        factors affecting a particular industry or industries. Equity securities
with respect to the issuer’s continuing ability to make principal and          generally have greater price volatility than fixed income securities.
interest payments, and may be more volatile than higher-rated
                                                                               Mortgage-Related and Other Asset-Backed Securities Risk is the risk
securities of similar maturity.
                                                                               of investing in mortgage-related and other asset-backed securities,
Market Risk is the risk that the value of securities owned by a Fund           including interest rate risk, extension risk, prepayment risk and
may go up or down, sometimes rapidly or unpredictably, due to factors          credit risk.
affecting securities markets generally or particular industries.
                                                                               Foreign (Non-U.S.) Investment Risk is the risk that investing in
Issuer Risk is the risk that the value of a security may decline for a         foreign (non-U.S.) securities may result in a Fund experiencing more
reason directly related to the issuer, such as management performance,         rapid and extreme changes in value than a fund that invests exclusively
financial leverage and reduced demand for the issuer’s goods                   in securities of U.S. companies, due to smaller markets, differing
or services.                                                                   reporting, accounting and auditing standards, increased risk of delayed
                                                                               settlement of portfolio transactions or loss of certificates of portfolio
Liquidity Risk is the risk that a particular investment may be difficult to
                                                                               securities, and the risk of unfavorable foreign government actions,
purchase or sell and that a Fund may be unable to sell illiquid
                                                                               including nationalization, expropriation or confiscatory taxation,
investments at an advantageous time or price or achieve its desired            currency blockage, or political changes or diplomatic developments.
level of exposure to a certain sector. Liquidity risk may result from the      Foreign securities may also be less liquid and more difficult to value
lack of an active market, reduced number and capacity of traditional           than securities of U.S. issuers.
market participants to make a market in fixed income securities, and
may be magnified in a rising interest rate environment or other                Emerging Markets Risk is the risk of investing in emerging market
circumstances where investor redemptions from fixed income funds               securities, primarily increased foreign (non-U.S.) investment risk.
may be higher than normal, causing increased supply in the market due
                                                                               Sovereign Debt Risk is the risk that investments in fixed income
to selling activity.
                                                                               instruments issued by sovereign entities may decline in value as a result of
Derivatives Risk is the risk of investing in derivative instruments (such      default or other adverse credit event resulting from an issuer’s inability or
as futures, swaps and structured securities), including leverage,              unwillingness to make principal or interest payments in a timely fashion.
liquidity, interest rate, market, credit and management risks, and
                                                                               Currency Risk is the risk that foreign (non-U.S.) currencies will change
valuation complexity. Changes in the value of a derivative may not
                                                                               in value relative to the U.S. dollar and affect a Fund’s investments in
correlate perfectly with, and may be more sensitive to market events
                                                                               foreign (non-U.S.) currencies or in securities that trade in, and receive
than, the underlying asset, rate or index, and a Fund could lose more
                                                                               revenues in, or in derivatives that provide exposure to, foreign
than the initial amount invested. A Fund’s use of derivatives may result
                                                                               (non-U.S.) currencies.

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Leveraging Risk is the risk that certain transactions of a Fund, such as       in realized and projected market returns, fluctuations in market interest
reverse repurchase agreements, loans of portfolio securities, and the          rates, Fund performance and other factors.
use of when-issued, delayed delivery or forward commitment
transactions, or derivative instruments, may give rise to leverage,            Environmental, Social and Governance Investing Risk is the risk that,
magnifying gains and losses and causing a Fund to be more volatile             because a Fund’s ESG strategy may select or exclude securities of
than if it had not been leveraged. This means that leverage entails a          certain issuers for reasons other than performance, a Fund’s
heightened risk of loss.                                                       performance will differ from funds that do not utilize an ESG investing
                                                                               strategy. ESG investing is qualitative and subjective by nature, and
Management Risk is the risk that the investment techniques and risk            there is no guarantee that the factors utilized by PIMCO or any
analyses applied by PIMCO will not produce the desired results and             judgment exercised by PIMCO will reflect the opinions of any
that actual or potential conflicts of interest, legislative, regulatory, or    particular investor.
tax restrictions, policies or developments may affect the investment
                                                                               LIBOR Transition Risk is the risk related to the anticipated
techniques available to PIMCO and the individual portfolio manager in
                                                                               discontinuation of the London Interbank Offered Rate (“LIBOR”) by the
connection with managing a Fund and may cause PIMCO to restrict or
                                                                               end of 2021. Certain instruments held by a Fund rely in some fashion
prohibit participation in certain investments. There is no guarantee that
                                                                               upon LIBOR. Although the transition process away from LIBOR has
the investment objective of a Fund will be achieved.
                                                                               become increasingly well-defined in advance of the anticipated
Subsidiary Risk is the risk that, by investing in a Fund’s subsidiary, the     discontinuation date, there remains uncertainty regarding the nature of
Fund is indirectly exposed to the risks associated with the subsidiary’s       any replacement rate, and any potential effects of the transition away
investments. Fund subsidiaries are not registered under the 1940 Act           from LIBOR on a Fund or on certain instruments in which a Fund
and may not be subject to all the investor protections of the 1940 Act.        invests can be difficult to ascertain. The transition process may involve,
There is no guarantee that the investment objective of a subsidiary will       among other things, increased volatility or illiquidity in markets for
be achieved.                                                                   instruments that currently rely on LIBOR and may result in a reduction
                                                                               in value of certain instruments held by a Fund.
Regulation S Securities Risk is the risk that Regulation S securities
may be less liquid than publicly traded securities and may not be              (b) Other Risks
subject to the disclosure and other investor protection requirements           In general, a Fund may be subject to additional risks, including, but not
that would be applicable if they were publicly traded. Accordingly,            limited to, risks related to government regulation and intervention in
Regulation S Securities may involve a high degree of business and              financial markets, operational risks, risks associated with financial,
financial risk and may result in substantial losses.                           economic and global market disruptions, and cybersecurity risks. Please
                                                                               see a Fund’s prospectus and Statement of Additional Information for a
Short Exposure Risk is the risk of entering into short sales, including        more detailed description of the risks of investing in a Fund. Please see
the potential loss of more money than the actual cost of the                   the Important Information section of this report for additional
investment, and the risk that the third party to the short sale will not       discussion of certain regulatory and market developments that may
fulfill its contractual obligations, causing a loss to a Fund.                 impact a Fund’s performance.

Convertible Securities Risk is the risk that arises when convertible           Market Disruption Risk A Fund is subject to investment and
securities share both fixed income and equity characteristics.                 operational risks associated with financial, economic and other global
Convertible securities are subject to risks to which fixed income and          market developments and disruptions, including those arising from
equity investments are subject. These risks include equity risk, interest      war, terrorism, market manipulation, government interventions,
rate risk and credit risk.                                                     defaults and shutdowns, political changes or diplomatic developments,
                                                                               public health emergencies (such as the spread of infectious diseases,
Senior Loan Risk is the risk that investing in senior loans, including
                                                                               pandemics and epidemics) and natural/environmental disasters, which
bank loans, exposes a Fund to heightened credit risk, call risk,
                                                                               can all negatively impact the securities markets and cause a Fund to
settlement risk and liquidity risk. If an issuer of a senior loan prepays or
                                                                               lose value. These events can also impair the technology and other
redeems the loan prior to maturity, a Fund may have to reinvest the
                                                                               operational systems upon which a Fund’s service providers, including
proceeds in instruments that pay lower interest rates.
                                                                               PIMCO as a Fund’s investment adviser, rely, and could otherwise
Distribution Rate Risk is the risk that a Fund’s distribution rate may         disrupt a Fund’s service providers’ ability to fulfill their obligations to a
change unexpectedly as a result of numerous factors, including changes         Fund. For example, the recent spread of an infectious respiratory illness


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caused by a novel strain of coronavirus (known as COVID-19) has              more susceptible to operational and information security risks resulting
caused volatility, severe market dislocations and liquidity constraints in   from breaches in cyber security. A breach in cyber security refers to
many markets, including markets for the securities a Fund holds, and         both intentional and unintentional cyber events that may, among other
may adversely affect a Fund’s investments and operations. Please see         things, cause a Fund to lose proprietary information, suffer data
the Important Information section for additional discussion of the           corruption and/or destruction or lose operational capacity, result in the
COVID-19 pandemic.                                                           unauthorized release or other misuse of confidential information, or
                                                                             otherwise disrupt normal business operations. Cyber security failures or
Government Intervention in Financial Markets Federal, state, and
                                                                             breaches may result in financial losses to a Fund and its shareholders.
other governments, their regulatory agencies, or self-regulatory
                                                                             These failures or breaches may also result in disruptions to business
organizations may take actions that affect the regulation of the
                                                                             operations, potentially resulting in financial losses; interference with a
instruments in which a Fund invests, or the issuers of such instruments,
                                                                             Fund’s ability to calculate its net asset value, process shareholder
in ways that are unforeseeable. Legislation or regulation may also
                                                                             transactions or otherwise transact business with shareholders;
change the way in which a Fund itself is regulated. Such legislation or
                                                                             impediments to trading; violations of applicable privacy and other laws;
regulation could limit or preclude a Fund’s ability to achieve its
                                                                             regulatory fines; penalties; reputational damage; reimbursement or
investment objective. Furthermore, volatile financial markets can
                                                                             other compensation costs; additional compliance and cyber security risk
expose a Fund to greater market and liquidity risk and potential
                                                                             management costs and other adverse consequences. In addition,
difficulty in valuing portfolio instruments held by the Fund. The value of
                                                                             substantial costs may be incurred in order to prevent any cyber
a Fund’s holdings is also generally subject to the risk of future local,
                                                                             incidents in the future.
national, or global economic disturbances based on unknown
weaknesses in the markets in which a Fund invests. In addition, it is        8. MASTER NETTING ARRANGEMENTS
not certain that the U.S. Government will intervene in response to a
                                                                             A Fund may be subject to various netting arrangements (“Master
future market disturbance and the effect of any such future intervention
                                                                             Agreements”) with select counterparties. Master Agreements govern the
cannot be predicted. It is difficult for issuers to prepare for the impact
                                                                             terms of certain transactions, and are intended to reduce the
of future financial downturns, although companies can seek to identify
                                                                             counterparty risk associated with relevant transactions by specifying
and manage future uncertainties through risk management programs.
                                                                             credit protection mechanisms and providing standardization that is
Regulatory Risk Financial entities, such as investment companies and         intended to improve legal certainty. Each type of Master Agreement
investment advisers, are generally subject to extensive government           governs certain types of transactions. Different types of transactions may
regulation and intervention. Government regulation and/or intervention       be traded out of different legal entities or affiliates of a particular
may change the way a Fund is regulated, affect the expenses incurred         organization, resulting in the need for multiple agreements with a single
directly by a Fund and the value of its investments, and limit and/or        counterparty. As the Master Agreements are specific to unique
preclude a Fund’s ability to achieve its investment objective.               operations of different asset types, they allow a Fund to close out and net
Government regulation may change frequently and may have                     its total exposure to a counterparty in the event of a default with respect
significant adverse consequences. Moreover, government regulation            to all the transactions governed under a single Master Agreement with a
may have unpredictable and unintended effects.                               counterparty. For financial reporting purposes the Statements of Assets
                                                                             and Liabilities generally present derivative assets and liabilities on a gross
Operational Risk An investment in a Fund, like any fund, can involve         basis, which reflects the full risks and exposures prior to netting.
operational risks arising from factors such as processing errors, human
errors, inadequate or failed internal or external processes, failures in     Master Agreements can also help limit counterparty risk by specifying
systems and technology, changes in personnel and errors caused by            collateral posting arrangements at pre-arranged exposure levels. Under
third-party service providers. The occurrence of any of these failures,      most Master Agreements, collateral is routinely transferred if the total
errors or breaches could result in a loss of information, regulatory         net exposure to certain transactions (net of existing collateral already in
scrutiny, reputational damage or other events, any of which could have       place) governed under the relevant Master Agreement with a
a material adverse effect on a Fund. While a Fund seeks to minimize          counterparty in a given account exceeds a specified threshold, which
such events through controls and oversight, there may still be failures      typically ranges from zero to $250,000 depending on the counterparty
that could cause losses to the Fund.                                         and the type of Master Agreement. United States Treasury Bills and
                                                                             U.S. dollar cash are generally the preferred forms of collateral, although
Cyber Security Risk As the use of technology has become more                 other securities may be used depending on the terms outlined in the
prevalent in the course of business, the Funds have become potentially       applicable Master Agreement. Securities and cash pledged as collateral

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are reflected as assets on the Statements of Assets and Liabilities as        equity securities between a Fund and selected counterparties. The
either a component of Investments at value (securities) or Deposits with      arrangements provide guidelines surrounding the rights, obligations,
counterparty. Cash collateral received is not typically held in a             and other events, including, but not limited to, margin, execution, and
segregated account and as such is reflected as a liability on the             settlement. These agreements maintain provisions for, among other
Statements of Assets and Liabilities as Deposits from counterparty. The       things, payments, maintenance of collateral, events of default, and
market value of any securities received as collateral is not reflected as a   termination. Margin and other assets delivered as collateral are
component of NAV. A Fund’s overall exposure to counterparty risk can          typically in the possession of the prime broker and would offset any
change substantially within a short period, as it is affected by each         obligations due to the prime broker. The market values of listed options
transaction subject to the relevant Master Agreement.                         and securities sold short and related collateral are disclosed in the
                                                                              Notes to Schedules of Investments.
Master Repurchase Agreements and Global Master Repurchase
Agreements (individually and collectively “Master Repo Agreements”)           International Swaps and Derivatives Association, Inc. Master Agreements
govern repurchase, reverse repurchase, and certain sale-buyback               and Credit Support Annexes (“ISDA Master Agreements”) govern bilateral
transactions between a Fund and select counterparties. Master Repo            OTC derivative transactions entered into by a Fund with select
                                                                              counterparties. ISDA Master Agreements maintain provisions for general
Agreements maintain provisions for, among other things, initiation,
                                                                              obligations, representations, agreements, collateral posting and events of
income payments, events of default, and maintenance of collateral. The
                                                                              default or termination. Events of termination include conditions that may
market value of transactions under the Master Repo Agreement,
                                                                              entitle counterparties to elect to terminate early and cause settlement of
collateral pledged or received, and the net exposure by counterparty as
                                                                              all outstanding transactions under the applicable ISDA Master Agreement.
of period end are disclosed in the Notes to Schedules of Investments.
                                                                              Any election to terminate early could be material to the financial
Master Securities Forward Transaction Agreements (“Master Forward             statements. The ISDA Master Agreement may contain additional
Agreements”) govern certain forward settling transactions, such as TBA        provisions that add counterparty protection beyond coverage of existing
securities, delayed-delivery or certain sale-buyback transactions by and      daily exposure if the counterparty has a decline in credit quality below a
between a Fund and select counterparties. The Master Forward                  predefined level or as required by regulation. Similarly, if required by
Agreements maintain provisions for, among other things, transaction           regulation, the Funds may be required to post additional collateral beyond
initiation and confirmation, payment and transfer, events of default,         coverage of daily exposure. These amounts, if any, may (or if required by
termination, and maintenance of collateral. The market value of               law, will) be segregated with a third-party custodian. To the extent the
forward settling transactions, collateral pledged or received, and the        Funds are required by regulation to post additional collateral beyond
net exposure by counterparty as of period end is disclosed in the Notes       coverage of daily exposure, it could potentially incur costs, including in
to Schedules of Investments.                                                  procuring eligible assets to meet collateral requirements, associated with
                                                                              such posting. The market value of OTC financial derivative instruments,
Customer Account Agreements and related addenda govern cleared                collateral received or pledged, and net exposure by counterparty as of
derivatives transactions such as futures, options on futures, and cleared     period end are disclosed in the Notes to Schedules of Investments.
OTC derivatives. Such transactions require posting of initial margin as
                                                                              9. FEES AND EXPENSES
determined by each relevant clearing agency which is segregated in an
account at a futures commission merchant (“FCM”) registered with the          (a) Investment Advisory Fee PIMCO is a majority-owned subsidiary of
Commodity Futures Trading Commission. In the United States,                   Allianz Asset Management of America L.P. (“Allianz Asset
counterparty risk may be reduced as creditors of an FCM cannot have a         Management”) and serves as the Adviser to the Trust, pursuant to an
claim to Fund assets in the segregated account. Portability of exposure       investment advisory contract. The Adviser receives a monthly fee from
reduces risk to the Funds. Variation margin, or changes in market             each Fund at an annual rate based on average daily net assets (the
value, are generally exchanged daily, but may not be netted between           “Investment Advisory Fee”). The Investment Advisory Fee for all classes
futures and cleared OTC derivatives unless the parties have agreed to a       is charged at an annual rate as noted in the table in note (b) below.
separate arrangement in respect of portfolio margining. The market            (b) Supervisory and Administrative Fee PIMCO serves as administrator
value or accumulated unrealized appreciation (depreciation), initial          (the “Administrator”) and provides supervisory and administrative
margin posted, and any unsettled variation margin as of period end are        services to the Trust for which it receives a monthly supervisory and
disclosed in the Notes to Schedules of Investments.                           administrative fee based on each share class’s average daily net assets
                                                                              (the “Supervisory and Administrative Fee”). As the Administrator, PIMCO
Prime Broker Arrangements may be entered into to facilitate execution
                                                                              bears the costs of various third-party services, including audit, custodial,
and/or clearing of listed equity option transactions or short sales of
                                                                              portfolio accounting, legal, transfer agency and printing costs.

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The Investment Advisory Fees and Supervisory and Administrative Fees for all classes, as applicable, are charged at the annual rate as noted in the
following table (calculated as a percentage of each Fund’s average daily net assets attributable to each class):
                                                           Investment Advisory Fee                                      Supervisory and Administrative Fee
                                                                                             Institutional                         Administrative
 Fund Name                                                         All Classes                   Class          I-2        I-3          Class        Class A        Class C     Class C-2
 PIMCO Credit Opportunities Bond Fund                                0.60%                      0.30%         0.40%      0.50%(2)*          N/A         0.45%       0.45%            N/A
 PIMCO Diversified Income Fund                                       0.45%                      0.30%         0.40%      0.50%(2)        0.30%          0.45%       0.45%            N/A
 PIMCO ESG Income Fund                                               0.25%                      0.25%         0.35%      0.45%(3)           N/A         0.40%       0.40%            N/A
 PIMCO High Yield Spectrum Fund                                      0.30%                      0.30%         0.40%      0.50%(2)           N/A         0.40%       0.40%            N/A
 PIMCO Long-Term Credit Bond Fund                                    0.30%                      0.25%         0.35%         N/A             N/A         0.40%*         N/A           N/A
 PIMCO Low Duration Credit Fund                                      0.40%                      0.30%         0.40%         N/A             N/A         0.35%       0.35%            N/A
 PIMCO Low Duration Income Fund                                      0.30%                      0.20%         0.30%      0.40%(2)           N/A         0.35%       0.35%         0.35%
 PIMCO Preferred and Capital Securities Fund(1)                      0.44%                      0.35%         0.45%      0.55%(2)           N/A         0.45%       0.45%            N/A

(1)   PIMCO has contractually agreed to waive the Fund’s Investment Advisory Fee and the supervisory and administrative fee in an amount equal to the management fee and
      administrative services fee, respectively, paid by the PIMCO Capital Securities Fund (Cayman) Ltd. (the “Subsidiary”) to PIMCO. The Subsidiary pays PIMCO a management fee and an
      administrative services fee at the annual rates of 0.49% and 0.20%, respectively, of its net assets. This waiver may not be terminated by PIMCO and will remain in effect for as long
      as PIMCO’s contract with the Subsidiary is in place.
(2)   PIMCO has contractually agreed, through July 31, 2021, to waive its supervisory and administrative fee for I-3 shares by 0.05% of the average daily net assets attributable to I-3
      shares of the Fund.
(3)   PIMCO has contractually agreed, through July 31, 2022, to waive its supervisory and administrative fee for I-3 shares by 0.05% of the average daily net assets attributable to I-3
      shares of the Fund.
*     This particular share class has been registered with the SEC, but has not yet launched.

                                                                                                                                                                Allowable Rate
(c) Distribution and Servicing Fees PIMCO Investments LLC, a wholly-                                                                                   Distribution Fee      Servicing Fee
owned subsidiary of PIMCO, serves as the distributor (“Distributor”) of                           Class A
the Trust’s shares.                                                                                 All Funds                                                  —                0.25%
                                                                                                  Class C
The Trust has adopted separate Distribution and Servicing Plans with                                PIMCO Low Duration Income Fund                          0.30%               0.25%
                                                                                                    All Other Funds                                         0.75%               0.25%
respect to the Class A, Class C and Class C-2 shares of the Trust pursuant
                                                                                                  Class C-2
to Rule 12b-1 under the Act. In connection with the distribution of                                 PIMCO Low Duration Income Fund                          0.50%               0.25%
Class C and Class C-2 shares of the Trust, the Distributor receives
                                                                                                                                                      Distribution and/or Servicing Fee
distribution fees from the Trust of up to 0.75% for Class C shares and
                                                                                                  Administrative Class
0.50% for Class C-2 shares, and in connection with personal services                                All Funds                                                        0.25%
rendered to Class A, Class C and Class C-2 shareholders and the
maintenance of such shareholder accounts, the Distributor receives                               The Distributor also received the proceeds of the initial sales charges
servicing fees from the Trust of up to 0.25% for each of Class A, Class C                        paid by the shareholders upon the purchase of Class A shares, except
and Class C-2 shares (percentages reflect annual rates of the average                            for the PIMCO Short Asset Investment Fund, and the contingent
daily net assets attributable to the applicable class).                                          deferred sales charges paid by the shareholders upon certain
                                                                                                 redemptions of Class A, Class C and Class C-2 shares, except for the
The Trust has adopted a Distribution and Servicing Plan with respect to
                                                                                                 PIMCO Government Money Market Fund and the PIMCO Short Asset
the Administrative Class shares of each Fund pursuant to Rule 12b-1
                                                                                                 Investment Fund. For the period ended March 31, 2021, the Distributor
under the Act (the “Administrative Class Plan”). Under the terms of the
                                                                                                 retained $5,518,745 representing commissions (sales charges) and
Administrative Class Plan, a Fund may compensate the Distributor for
                                                                                                 contingent deferred sales charges from the Trust.
providing, or procuring through financial intermediaries, distribution,
administrative, recordkeeping, shareholder and/or related services with                          (d) Redemption Fees Shareholders of the PIMCO Low Duration Credit
respect to Administrative Class shares. The Administrative Class Plan                            Fund are subject to a redemption fee on redemptions and exchanges of
permits a Fund to make total payments at an annual rate of up to                                 1.00% of the NAV of the PIMCO Low Duration Credit Fund shares
0.25% of the average daily net assets attributable to the                                        redeemed or exchanged. Redemption fees are charged on shares
Administrative Class shares.                                                                     redeemed or exchanged within 30 days after their acquisition, including
                                                                                                 shares acquired through exchanges. Under certain circumstances, the
The Trust paid distribution and servicing fees at effective rates as noted
                                                                                                 redemption fee may be waived. Actual redemption fees charged are
in the following table (calculated as a percentage of each Fund’s
                                                                                                 reported on the Statements of Changes in Net Assets.
average daily net assets attributable to each class):

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(e) Fund Expenses PIMCO provides or procures supervisory and                                 net assets per share class, as disclosed on the Financial Highlights, may
administrative services for shareholders and also bears the costs of                         differ from the annual fund operating expenses per share class.
various third-party services required by the Funds, including audit,
                                                                                             The Trust pays no compensation directly to any Trustee or any other
custodial, portfolio accounting, legal, transfer agency and printing
                                                                                             officer who is affiliated with the Administrator, all of whom receive
costs. The Trust is responsible for the following expenses: (i) taxes and
                                                                                             remuneration for their services to the Trust from the Administrator or
governmental fees; (ii) brokerage fees and commissions and other
                                                                                             its affiliates.
portfolio transaction expenses; (iii) the costs of borrowing money,
including interest expenses; (iv) fees and expenses of the Trustees who                      (f) Expense Limitation Pursuant to the Expense Limitation Agreement,
are not “interested persons” of PIMCO or the Trust, and any counsel                          PIMCO has agreed to waive a portion of the Funds’ Supervisory and
retained exclusively for their benefit (except the PIMCO All Asset and                       Administrative Fee, or reimburse each Fund, to the extent that each
PIMCO All Asset All Authority Funds); (v) extraordinary expense,                             Fund’s organizational expenses, pro rata share of expenses related to
including costs of litigation and indemnification expenses;                                  obtaining or maintaining a Legal Entity Identifier and pro rata share of
(vi) organizational expenses; and (vii) any expenses allocated or                            Trustee Fees exceed 0.0049%, the “Expense Limit” (calculated as a
allocable to a specific class of shares, which include service fees                          percentage of each Fund’s average daily net assets attributable to each
payable with respect to the Administrative Class Shares, and may                             class). The Expense Limitation Agreement will automatically renew for
include certain other expenses as permitted by the Trust’s Multi-Class                       one-year terms unless PIMCO provides written notice to the Trust at
Plan adopted pursuant to Rule 18f-3 under the Act and subject to                             least 30 days prior to the end of the then current term.
review and approval by the Trustees. The ratio of expenses to average

Prior to July 31, 2018, PIMCO had contractually agreed to reduce its Investment Advisory Fee for the PIMCO Low Duration Income Fund. In any
month in which the supervision and administration agreement is in effect, PIMCO is entitled to reimbursement by each Fund of any portion of the
supervisory and administrative fee waived or reimbursed as set forth above (the “Reimbursement Amount”) during the previous thirty-six months
from the date of the waiver, provided that such amount paid to PIMCO will not: i) together with any organizational expenses, pro rata share of
expenses related to obtaining or maintaining a Legal Entity Identifier and pro rata Trustee fees, exceed, for such month, the Expense Limit (or the
amount of the expense limit in place at the time the amount being recouped was originally waived if lower than the Expense Limit); ii) exceed the
total Reimbursement Amount; or iii) include any amounts previously reimbursed to PIMCO. The total recoverable amounts to PIMCO (from the Fee
Waiver Agreement and Expense Limitation Agreement combined) at March 31, 2021, were as follows (amounts in thousands†):
                                                                               Expiring Within
Fund Name                                                  12 months          13-24 months          25-36 months          Total
PIMCO ESG Income Fund                                        $     0                $ 0                 $ 97             $ 97
PIMCO Low Duration Income Fund                                   182                  30                  35               247

†   A zero balance may reflect actual amounts rounding to less than one thousand.

Pursuant to a Fee Waiver Agreement, PIMCO has contractually agreed,                          The waivers are reflected on the Statements of Operations as a
through July 31, 2021, to reduce its supervisory and administrative fee                      component of Waiver and/or Reimbursement by PIMCO. For the period
for I-3 shares by 0.05% of the average daily net assets attributable to                      ended March 31, 2021, the Funds below waived the following fees
I-3 shares of each of the PIMCO Credit Opportunities Bond Fund,                              (amounts in thousands†):
PIMCO Diversified Income Fund, PIMCO High Yield Spectrum Fund,                               Fund Name                                                Waived Fees
PIMCO Low Duration Income Fund and PIMCO Preferred and Capital                               PIMCO Diversified Income Fund                                $ 12
Securities Fund. This Fee Waiver Agreement will automatically renew                          PIMCO ESG Income Fund                                           0
for one-year terms unless PIMCO provides written notice to the Trust at                      PIMCO High Yield Spectrum Fund                                  0
                                                                                             PIMCO Low Duration Income Fund                                 23
least 30 days prior to the end of the then current term.
                                                                                             PIMCO Preferred and Capital Securities Fund                    19

Pursuant to a Fee Waiver Agreement, PIMCO has contractually agreed,                          †   A zero balance may reflect actual amounts rounding to less than one thousand.
through July 31, 2022, to reduce its supervisory and administrative fee
for I-3 shares of the PIMCO ESG Income Fund. This Fee Waiver                                 (g) Acquired Fund Fees and Expenses PIMCO Capital Securities Fund
Agreement will automatically renew for one-year terms unless PIMCO                           (Cayman) Ltd. (the “Subsidiary”), has entered into a separate contract with
provides written notice to the Trust at least 30 days prior to the end of                    PIMCO for the management of the Subsidiary’s portfolio pursuant to which
the then current term.                                                                       the Subsidiary pays PIMCO a management fee and administrative services fee

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at the annual rates of 0.49% and 0.20%, respectively, of its net assets.             be made against the Funds that have not yet occurred. However, the
PIMCO has contractually agreed to waive the Investment Advisory Fee and              Funds have not had prior claims or losses pursuant to these contracts.
the Supervisory and Administrative Fees it receives from the Subsidiary in an
amount equal to the management fee and administrative services fee,                  12. PURCHASES AND SALES OF SECURITIES
respectively, paid to PIMCO by the Subsidiary. This waiver may not be                The length of time a Fund has held a particular security is not generally
terminated by PIMCO and will remain in effect for as long as PIMCO’s                 a consideration in investment decisions. A change in the securities held
contract with the Subsidiary is in place. The waiver is reflected on the             by a Fund is known as “portfolio turnover.” Each Fund may engage in
                                                                                     frequent and active trading of portfolio securities to achieve its
Statements of Operations as a component of Waiver and/ or Reimbursement
                                                                                     investment objective, particularly during periods of volatile market
by PIMCO. During the period ended March 31, 2021, the amount was $
                                                                                     movements. High portfolio turnover may involve correspondingly
1,724,700. See Note 14, Basis for Consolidation in the Notes to Financial
                                                                                     greater transaction costs, including brokerage commissions or dealer
Statements for more information regarding the Subsidiary.                            mark-ups and other transaction costs on the sale of securities and
                                                                                     reinvestments in other securities, which are borne by the Fund. Such
10. RELATED PARTY TRANSACTIONS
                                                                                     sales may also result in realization of taxable capital gains, including
The Adviser, Administrator, and Distributor are related parties. Fees                short-term capital gains (which are generally taxed at ordinary income
paid to these parties are disclosed in Note 9, Fees and Expenses, and                tax rates when distributed to shareholders). The transaction costs
the accrued related party fee amounts are disclosed on the Statements                associated with portfolio turnover may adversely affect a Fund’s
of Assets and Liabilities.                                                           performance. The portfolio turnover rates are reported in the
                                                                                     Financial Highlights.
Certain Funds are permitted to purchase or sell securities from or to
certain related affiliated funds under specified conditions outlined in              Purchases and sales of securities (excluding short-term investments) for
procedures adopted by the Board. The procedures have been designed                   the period ended March 31, 2021, were as follows (amounts
to ensure that any purchase or sale of securities by the Funds from or               in thousands†):
to another fund or portfolio that are, or could be, considered an                                                 U.S. Government/Agency                 All Other
                                                                                     Fund Name                    Purchases         Sales         Purchases       Sales
affiliate, or an affiliate of an affiliate, by virtue of having a common
                                                                                     PIMCO Credit
investment adviser (or affiliated investment advisers), common Trustees                Opportunities
and/or common officers complies with Rule 17a-7 under the Act.                         Bond Fund               $     83,079 $    88,804 $ 265,703 $ 213,604
Further, as defined under the procedures, each transaction is effected               PIMCO Diversified
                                                                                       Income Fund                4,464,894   4,959,012  1,644,837   462,831
at the current market price. Purchases and sales of securities pursuant              PIMCO ESG Income Fund           21,101      15,745     26,165       441
to Rule 17a-7 under the Act for the period ended March 31, 2021,                     PIMCO High Yield
                                                                                       Spectrum Fund                      0      10,863    248,531   128,685
were as follows (amounts in thousands†):
                                                                                     PIMCO Long-Term Credit
Fund Name                                                Purchases          Sales      Bond Fund                  3,086,406   3,046,413  1,466,097 1,711,353
PIMCO Credit Opportunities Bond Fund                     $     5,923     $ 37,515    PIMCO Low Duration
                                                                                       Credit Fund                        0           0    789,704   723,327
PIMCO Diversified Income Fund                                 66,739         3,433
                                                                                     PIMCO Low Duration
PIMCO High Yield Spectrum Fund                                14,707        27,363     Income Fund               33,877,315 33,048,711   2,610,700 1,918,816
PIMCO Long-Term Credit Bond Fund                              92,205       788,808   PIMCO Preferred and
PIMCO Low Duration Credit Fund                                38,457       173,017     Capital Securities Fund            0           0  1,245,726   929,315
PIMCO Low Duration Income Fund                               422,929       374,917
                                                                                     †   A zero balance may reflect actual amounts rounding to less than one thousand.
PIMCO Preferred and Capital Securities Fund                  107,430       199,932

†   A zero balance may reflect actual amounts rounding to less than one thousand.

11. GUARANTEES AND INDEMNIFICATIONS
Under the Trust’s organizational documents, each Trustee or officer of
the Trust is indemnified and each employee or other agent of the Trust
(including the Trust’s investment manager) may be indemnified, to the
extent permitted by the Act, against certain liabilities that may arise out
of performance of their duties to the Funds. Additionally, in the normal
course of business, the Funds enter into contracts that contain a variety
of indemnification clauses. The Funds’ maximum exposure under these
arrangements is unknown as this would involve future claims that may

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13. SHARES OF BENEFICIAL INTEREST
The Trust may issue an unlimited number of shares of beneficial interest with a $0.01 par value. Changes in shares of beneficial interest were as
follows (shares and amounts in thousands†):
                                                        PIMCO                                                   PIMCO                                     PIMCO
                                             Credit Opportunities Bond Fund                            Diversified Income Fund                       ESG Income Fund
                                                                                                                                                      Inception date
                                       Year Ended                   Year Ended                 Year Ended                     Year Ended                 through
                                       03/31/2021                   03/31/2020                 03/31/2021                     03/31/2020               03/31/2021(a)
                                  Shares           Amount      Shares         Amount      Shares       Amount        Shares           Amount        Shares      Amount
Receipts for shares sold
   Institutional Class            17,386       $ 169,444       21,509     $ 214,927       165,151    $ 1,820,798    124,907       $ 1,384,119       3,584      $ 36,867
   I-2                             8,470          81,135        4,544        44,714        56,864        624,877     45,146           497,874         137         1,420
   I-3                               N/A             N/A          N/A           N/A         2,407         26,362      1,733            18,951           4            44
   Administrative Class              N/A             N/A          N/A           N/A         1,861         20,366      3,442            38,110         N/A           N/A
   Class A                         1,071          10,453        1,377        13,815        11,844        130,736     23,272           256,516           2            23
   Class C                            68             647          121         1,206         2,292         25,151      3,356            37,209          14           140
   Class C-2                         N/A             N/A          N/A           N/A           N/A            N/A        N/A               N/A         N/A           N/A
Issued as reinvestment
   of distributions
   Institutional Class               618              6,098     1,059           10,494     11,675       129,038      12,296             135,966        14            145
   I-2                               348              3,420       230            2,263      1,337        14,794         998              11,038         0              0
   I-3                               N/A                N/A       N/A              N/A         78           861          41                 457         0              0
   Administrative Class              N/A                N/A       N/A              N/A        366         4,010         694               7,675       N/A            N/A
   Class A                            69                676        79              777        943        10,408       1,301              14,396         0              0
   Class C                            12                120        17              163        170         1,871         218               2,413         0              0
   Class C-2                         N/A                N/A       N/A              N/A        N/A           N/A         N/A                 N/A       N/A            N/A
Cost of shares redeemed
   Institutional Class            (16,809)         (164,030)   (26,196)       (261,302)   (81,977)      (905,243)    (99,637)         (1,090,394)     (10)          (103)
   I-2                             (3,334)          (32,165)    (3,523)        (34,316)   (30,347)      (336,234)    (28,871)           (303,111)       0              0
   I-3                                N/A               N/A        N/A             N/A     (1,330)       (14,769)       (771)             (8,418)       0              0
   Administrative Class               N/A               N/A        N/A             N/A    (16,855)      (190,142)     (2,889)            (31,430)     N/A            N/A
   Class A                         (1,345)          (13,269)    (1,626)        (15,817)    (9,118)      (100,372)    (18,659)           (205,130)       0              0
   Class C                           (269)           (2,628)      (153)         (1,508)    (3,867)       (43,012)     (2,763)            (30,329)      (5)           (50)
   Class C-2                          N/A               N/A        N/A             N/A        N/A            N/A         N/A                 N/A      N/A            N/A
Net increase (decrease)
   resulting from Fund
   share transactions              6,285       $     59,901     (2,562)   $ (24,584)      111,494    $ 1,219,500     63,814       $     735,912     3,740      $ 38,486




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Notes to Financial Statements (Cont.)
                                                                  PIMCO                                                  PIMCO
                                                         High Yield Spectrum Fund                               Long-Term Credit Bond Fund
                                                   Year Ended                Year Ended                    Year Ended                      Year Ended
                                                   03/31/2021                03/31/2020                    03/31/2021                      03/31/2020
                                              Shares      Amount        Shares       Amount       Shares            Amount        Shares            Amount

Receipts for shares sold
   Institutional Class                        15,758     $ 150,819      11,802      $ 114,924     127,496       $ 1,657,609        74,209       $       945,065
   I-2                                        10,940       103,496       9,172         88,789       6,512            84,387        76,109               913,081
   I-3                                           321         3,226         131          1,285         N/A               N/A           N/A                   N/A
   Administrative Class                          N/A           N/A         N/A            N/A         N/A               N/A           N/A                   N/A
   Class A                                     2,000        19,050       2,616         25,490         N/A               N/A           N/A                   N/A
   Class C                                       143         1,341         212          2,080         N/A               N/A           N/A                   N/A
   Class C-2                                     N/A           N/A         N/A            N/A         N/A               N/A           N/A                   N/A
Issued as reinvestment of distributions
   Institutional Class                           556            5,350    2,128          20,777     20,005               265,843    13,375               169,882
   I-2                                           991            9,549    1,026           9,948        845                11,228     2,819                36,025
   I-3                                             4               44        5              44        N/A                   N/A       N/A                   N/A
   Administrative Class                          N/A              N/A      N/A             N/A        N/A                   N/A       N/A                   N/A
   Class A                                       254            2,431      334           3,235        N/A                   N/A       N/A                   N/A
   Class C                                        28              269       37             358        N/A                   N/A       N/A                   N/A
   Class C-2                                     N/A              N/A      N/A             N/A        N/A                   N/A       N/A                   N/A
Cost of shares redeemed
   Institutional Class                        (11,086)     (105,205)    (64,310)      (631,552)   (138,210)         (1,837,578)   (119,006)         (1,478,867)
   I-2                                         (3,876)      (37,699)    (14,477)      (135,288)    (12,780)           (168,188)    (68,705)           (804,433)
   I-3                                            (16)         (150)       (305)        (2,969)        N/A                 N/A         N/A                 N/A
   Administrative Class                           N/A           N/A         N/A            N/A         N/A                 N/A         N/A                 N/A
   Class A                                     (2,658)      (25,406)     (3,653)       (35,009)        N/A                 N/A         N/A                 N/A
   Class C                                       (445)       (4,325)       (286)        (2,716)        N/A                 N/A         N/A                 N/A
   Class C-2                                      N/A           N/A         N/A            N/A         N/A                 N/A         N/A                 N/A
Net increase (decrease) resulting from Fund
   share transactions                         12,914     $ 122,790      (55,568)    $ (540,604)      3,868      $        13,301    (21,199)     $    (219,247)




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                         PIMCO                                                        PIMCO                                                            PIMCO
                 Low Duration Credit Fund                                    Low Duration Income Fund                                   Preferred and Capital Securities Fund
           Year Ended                  Year Ended                     Year Ended                        Year Ended                  Year Ended                     Year Ended
           03/31/2021                  03/31/2020                     03/31/2021                        03/31/2020                  03/31/2021                     03/31/2020
      Shares         Amount       Shares      Amount         Shares          Amount            Shares           Amount         Shares          Amount        Shares            Amount


      57,516     $ 508,572         8,053     $ 71,706       139,515        $ 1,189,071         138,482       $ 1,183,176       90,063        $ 946,468      104,274    $ 1,078,445
       1,210        11,212         1,864       18,194       220,654          1,875,382         291,656         2,494,678       15,481          164,218       28,613        298,095
         N/A           N/A           N/A          N/A        10,676             90,305           4,569            39,250        2,563           26,519        2,443         24,672
         N/A           N/A           N/A          N/A           N/A                N/A             N/A               N/A          N/A              N/A          N/A            N/A
       1,761        16,324         1,788       17,491       117,404          1,000,360         151,107         1,296,372       11,242          119,798       30,453        320,917
         176         1,637           374        3,671         8,566             72,817          12,717           108,692          758            7,969        1,463(b)      15,617(b)
         N/A           N/A           N/A          N/A           369(c)           3,203(c)          N/A               N/A          N/A              N/A          N/A            N/A

       1,364           12,505        674          6,545        6,729               57,016       10,108               86,282      3,573           38,995        2,450              25,679
          89              819        173          1,685        7,249               61,447        8,838               75,346        964           10,489        1,095              11,412
         N/A              N/A        N/A            N/A          168                1,430          266                2,275        135            1,462           90                 935
         N/A              N/A        N/A            N/A          N/A                  N/A          N/A                  N/A        N/A              N/A          N/A                 N/A
         177            1,630        343          3,332        4,365               36,987        5,458               46,542        937           10,166        1,054              11,001
          46              421        145          1,409          560                4,739          820                7,000         47              511           12(b)              131(b)
         N/A              N/A        N/A            N/A            1(c)                 9(c)       N/A                  N/A        N/A              N/A          N/A                 N/A

      (53,754)       (491,341)    (8,853)       (83,558)     (98,942)          (830,487)       (137,843)       (1,157,264)     (69,562)        (732,835)     (47,291)           (492,441)
       (1,937)        (17,814)    (3,019)       (28,964)    (152,068)        (1,281,222)       (233,999)       (1,951,013)     (12,716)        (132,374)     (17,787)           (175,055)
          N/A             N/A        N/A            N/A       (3,291)           (27,710)         (6,870)          (57,819)      (1,922)         (19,883)        (667)             (6,426)
          N/A             N/A        N/A            N/A          N/A                N/A             N/A               N/A          N/A              N/A          N/A                 N/A
       (2,168)        (19,747)    (5,260)       (50,376)     (82,399)          (696,005)       (113,424)         (958,767)     (13,550)        (142,914)     (14,737)           (148,658)
       (1,774)        (16,309)    (2,666)       (25,529)      (9,832)           (83,279)        (10,518)          (88,968)        (340)          (3,608)        (114)(b)          (1,067)(b)
          N/A             N/A        N/A            N/A            0(c)              (1)(c)         N/A               N/A          N/A              N/A          N/A                 N/A

       2,706     $      7,909     (6,384)    $ (64,394)     169,724        $ 1,474,062         121,367       $ 1,125,782       27,673        $ 294,981       91,351        $     963,257

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(a)   Inception date of the Fund was September 30, 2020.
(b)   Inception date of Class C was August 23, 2019.
(c)   Inception date of Class C-2 was October 21, 2020.

The following table discloses the number of shareholders that own 10% or more of the outstanding shares of a Fund along with their respective
percent ownership, if any, as of March 31, 2021. Some of these shareholders may be considered related parties, which may include, but are not
limited to, the investment adviser and its affiliates, affiliated broker dealers, fund of funds and directors or employees of the Trust or Adviser.
                                                                                                                Total percentage of portfolio held by
                                                              Shareholders that own 10% or more                  shareholders that own 10% or more
                                                                    of outstanding shares                               of outstanding shares
                                                            Non-Related Parties          Related Parties      Non-Related Parties         Related Parties

 PIMCO ESG Income Fund                                                 0                       1                        0%                     14%
 PIMCO Low Duration Credit Fund                                        0                       1                        0%                     30%


14. BASIS FOR CONSOLIDATION                                                                        the Subsidiary. The consolidated financial statements include the
The Subsidiary, a Cayman Islands exempted company, was                                             accounts of the PCS Fund and the Subsidiary, if any. All inter-company
incorporated on February 4, 2015, as a wholly owned subsidiary acting                              transactions and balances have been eliminated. A subscription
as an investment vehicle for the PIMCO Preferred and Capital Securities                            agreement was entered into between the PCS Fund and the Subsidiary,
Fund (the “PCS Fund”) in order to effect certain investments for the                               comprising the entire issued share capital of the Subsidiary, with the
PCS Fund consistent with the PCS Fund’s investment objectives and                                  intent that the PCS Fund will remain the sole shareholder and retain all
policies as specified in its prospectus and statement of additional                                rights. Under the Memorandum and Articles of Association, shares
information. The PCS Fund’s investment portfolio has been                                          issued by the Subsidiary confer upon a shareholder the right to receive
consolidated and includes the portfolio holdings of the PCS Fund and                               notice of, to attend and to vote at general meetings of the Subsidiary


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Notes to Financial Statements (Cont.)

and shall confer upon the shareholder rights in a winding-up or                                     A Fund may be subject to local withholding taxes, including those
repayment of capital and the right to participate in the profits or assets                          imposed on realized capital gains. Any applicable foreign capital gains
of the Subsidiary. The net assets of the Subsidiary as of period end                                tax is accrued daily based upon net unrealized gains, and may be
represented 16.7% of the Fund’s consolidated net assets.                                            payable following the sale of any applicable investments.

15. REGULATORY AND LITIGATION MATTERS                                                               In accordance with U.S. GAAP, the Adviser has reviewed the Funds’ tax
The Funds are not named as defendants in any material litigation or                                 positions for all open tax years. As of March 31, 2021, the Funds have
arbitration proceedings and are not aware of any material litigation or                             recorded no liability for net unrecognized tax benefits relating to
claim pending or threatened against them.                                                           uncertain income tax positions they have taken or expect to take in
                                                                                                    future tax returns.
The foregoing speaks only as of the date of this report.
                                                                                                    The Funds file U.S. federal, state, and local tax returns as required. The
16. FEDERAL INCOME TAX MATTERS                                                                      Funds’ tax returns are subject to examination by relevant tax
Each Fund intends to qualify as a regulated investment company under                                authorities until expiration of the applicable statute of limitations,
Subchapter M of the Internal Revenue Code (the “Code”) and                                          which is generally three years after the filing of the tax return but which
distribute all of its taxable income and net realized gains, if applicable,                         can be extended to six years in certain circumstances. Tax returns for
to shareholders. Accordingly, no provision for Federal income taxes has                             open years have incorporated no uncertain tax positions that require a
been made.                                                                                          provision for income taxes.

As of March 31, 2021, the components of distributable taxable earnings are as follows (amounts in thousands†):
                                                                                                                               Qualified Qualified
                                                                                     Net Tax Basis        Other                Late-Year Late-Year
                                                        Undistributed Undistributed   Unrealized      Book-to-Tax Accumulated    Loss        Loss        Total
                                                          Ordinary     Long-Term     Appreciation/     Accounting    Capital   Deferral - Deferral - Distributable
                                                          Income(1)   Capital Gains (Depreciation)(2) Differences(3) Losses(4) Capital(5) Ordinary(6)  Earnings
PIMCO Credit Opportunities Bond Fund                       $ 5,336          $        0        $     4,530       $       (1)   $ (54,930)         $ 0         $ 0        $ (45,065)
PIMCO Diversified Income Fund                                 6,995                  0             49,454             (940)      (40,463)          0           0            15,046
PIMCO ESG Income Fund                                           115                  0                131                0           (28)          0           0               218
PIMCO High Yield Spectrum Fund                                7,673                  0              2,845             (121)      (49,699)          0           0           (39,302)
PIMCO Long-Term Credit Bond Fund                             51,319             63,791            116,501             (472)            0           0           0           231,139
PIMCO Low Duration Credit Fund                                2,166                  0              4,656              (20)      (71,835)          0           0           (65,033)
PIMCO Low Duration Income Fund                                    0                  0             38,922           (2,184)     (200,810)          0           0          (164,072)
PIMCO Preferred and Capital Securities Fund                  15,789             16,238             81,106                0             0           0           0           113,133

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(1)   Includes undistributed short-term capital gains, if any.
(2)   Adjusted for open wash sale loss deferrals and the accelerated recognition of unrealized gain or loss on certain futures, options and forward contracts for federal income tax
      purposes. Also adjusted for differences between book and tax realized and unrealized gain (loss) on swap contracts, sale/buyback transactions, interest accrued on defaulted
      securities, straddle loss deferrals, hyperinflationary investments, Passive Foreign Investment Companies (PFICs), and partnership investments.
(3)   Represents differences in income tax regulations and financial accounting principles generally accepted in the United States of America, mainly for organizational costs and
      distributions payable at fiscal year-end.
(4)   Capital losses available to offset future net capital gains expire in varying amounts as shown below.
(5)   Capital losses realized during the period November 1, 2020 through March 31, 2021 which the Funds elected to defer to the following taxable year pursuant to income tax regulations.
(6)   Specified losses realized during the period November 1, 2020 through March 31, 2021 and Ordinary losses realized during the period January 1, 2021 through March 31, 2021,
      which the Funds elected to defer to the following taxable year pursuant to income tax regulations.

Under the Regulated Investment Company Modernization Act of 2010, a fund is permitted to carry forward any new capital losses for an unlimited
period. Additionally, such capital losses that are carried forward will retain their character as either short-term or long-term capital losses rather
than being considered all short-term under previous law.

As of March 31, 2021, the Funds had the following post-effective capital losses with no expiration (amounts in thousands†):
                                                                 Short-Term          Long-Term
PIMCO Credit Opportunities Bond Fund*                             $ 30,937               $ 23,993
PIMCO Diversified Income Fund                                       30,282                 10,181
PIMCO ESG Income Fund                                                   28                      0



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                                                                                                                                                                                  March 31, 2021


                                                                  Short-Term           Long-Term
PIMCO High Yield Spectrum Fund*                                     $      203          $ 49,496
PIMCO Long-Term Credit Bond Fund                                             0                  0
PIMCO Low Duration Credit Fund*                                          1,959             69,876
PIMCO Low Duration Income Fund                                          61,817            138,993
PIMCO Preferred and Capital Securities Fund                                  0                  0

†     A zero balance may reflect actual amounts rounding to less than one thousand.
*     Portion of amount represents realized loss and recognized built-in loss under IRC 382-83, which is carried forward to future years to offset future realized gain subject to
      certain limitations.

As of March 31, 2021, the aggregate cost and the net unrealized appreciation/(depreciation) of investments for federal income tax purposes are as
follows (amounts in thousands†):
                                                                                                                                         Net Unrealized
                                                                      Federal             Unrealized             Unrealized              Appreciation/
                                                                      Tax Cost           Appreciation          (Depreciation)           (Depreciation)(7)
PIMCO Credit Opportunities Bond Fund                              $       403,204         $ 14,310               $     (9,782)             $     4,528
PIMCO Diversified Income Fund                                           5,502,197           185,472                  (135,002)                  50,470
PIMCO ESG Income Fund                                                      37,186               421                      (286)                     135
PIMCO High Yield Spectrum Fund                                            468,578            16,897                   (13,889)                   3,008
PIMCO Long-Term Credit Bond Fund                                        4,227,442           256,380                  (138,847)                 117,533
PIMCO Low Duration Credit Fund                                            286,772             6,108                    (1,281)                   4,827
PIMCO Low Duration Income Fund                                          8,833,018           300,488                  (258,698)                  41,790
PIMCO Preferred and Capital Securities Fund                             1,852,658            90,069                    (8,204)                  81,865

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(7)   Primary differences, if any, between book and tax net unrealized appreciation/(depreciation) are attributable to open wash sale loss deferrals, unrealized gain or loss on certain
      futures, options and forward contracts, realized and unrealized gain (loss) swap contracts, sale/buyback transactions, interest accrued on defaulted securities, straddle loss deferrals,
      hyperinflationary investments, Passive Foreign Investment Companies (PFICs), and partnership investments.

For the fiscal years ended March 31, 2021 and March 31, 2020, respectively, the Funds made the following tax basis distributions (amounts
in thousands†):
                                                                                      March 31, 2021                                                     March 31, 2020
                                                                     Ordinary              Long-Term                                  Ordinary               Long-Term
                                                                      Income              Capital Gain           Return of             Income               Capital Gain         Return of
                                                                  Distributions(8)        Distributions          Capital(9)        Distributions(8)         Distributions        Capital(9)
PIMCO Credit Opportunities Bond Fund                                  $ 13,801              $        0           $        0          $ 16,000                   $ 0                  $ 0
PIMCO Diversified Income Fund                                           171,361                      0                    0            185,589                    0                    0
PIMCO ESG Income Fund                                                       145                      0                    0                  0                    0                    0
PIMCO High Yield Spectrum Fund                                           18,960                      0                    0             35,915                    0                    0
PIMCO Long-Term Credit Bond Fund                                        191,241                 98,003                    0            213,296                    0                    0
PIMCO Low Duration Credit Fund                                           15,555                      0                    0             13,664                    0                    0
PIMCO Low Duration Income Fund                                          152,870                      0               35,601            259,370                    0                    0
PIMCO Preferred and Capital Securities Fund                              66,842                    161                    0             49,804                    0                    0

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(8)   Includes short-term capital gains distributed, if any.
(9)   A portion of the distributions made represents a tax return of capital. Return of capital distributions have been reclassified from undistributed net investment income to paid-in capital
      to more appropriately conform financial accounting to tax accounting.

17. SUBSEQUENT EVENTS
On February 10, 2021, the Board approved a proposal to change the name of the PIMCO Senior Floating Rate Fund to PIMCO Low Duration Credit
Fund. The name change occurred on May 3, 2021.

Effective May 3, 2021, any redemptions of PIMCO Low Duration Credit Fund shares will no longer be subject to a redemption fee.

There were no other subsequent events identified that require recognition or disclosure.



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Report of Independent Registered Public Accounting Firm

To the Board of Trustees of PIMCO Funds and Shareholders of PIMCO Credit Opportunities Bond Fund, PIMCO
Diversified Income Fund, PIMCO ESG Income Fund, PIMCO High Yield Spectrum Fund, PIMCO Long-Term Credit Bond
Fund, PIMCO Low Duration Credit Fund, PIMCO Low Duration Income Fund and PIMCO Preferred and Capital
Securities Fund
Opinions on the Financial Statements
We have audited the accompanying statements of assets and liabilities, including the schedules of investments, of each of the funds indicated in the
table below (eight of the funds constituting PIMCO Funds, hereafter collectively referred to as the “Funds”) as of March 31, 2021, the related
statements of operations, of cash flows for PIMCO Long-Term Credit Bond Fund and PIMCO Low Duration Credit Fund, and of changes in net assets
for each of the periods indicated in the table below, including the related notes, and the financial highlights for each of the periods indicated in the
table below (collectively referred to as the “financial statements”). In our opinion, the financial statements present fairly, in all material respects, the
financial position of each of the Funds as of March 31, 2021, the results of each of their operations and each of the cash flows for PIMCO Long-
Term Credit Bond Fund and PIMCO Low Duration Credit Fund, the changes in each of their net assets, and each of the financial highlights for each
of the periods indicated in the table below, in conformity with accounting principles generally accepted in the United States of America.
PIMCO Credit Opportunities Bond Fund(1)
PIMCO Diversified Income Fund(2)
PIMCO ESG Income Fund(3)
PIMCO High Yield Spectrum Fund(2)
PIMCO Long-Term Credit Bond Fund(4)
PIMCO Low Duration Credit Fund(4)
PIMCO Low Duration Income Fund(2)
PIMCO Preferred and Capital Securities Fund(2)
(1)   Statement of operations for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the financial highlights for the
      years ended March 31, 2021, 2020, 2019, 2018 and 2017
(2)   Statement of operations for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the financial highlights for each
      of the periods indicated therein
(3)   Statement of operations, statement of changes in net assets and the financial highlights for the period September 30, 2020 (inception date) through March 31, 2021
(4)   Statement of operations and statement of cash flows for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the
      financial highlights for the years ended March 31, 2021, 2020, 2019, 2018 and 2017

Basis for Opinions
These financial statements are the responsibility of the Funds’ management. Our responsibility is to express an opinion on the Funds’ financial
statements based on our audits. We are a public accounting firm registered with the Public Company Accounting Oversight Board (United States)
(PCAOB) and are required to be independent with respect to the Funds in accordance with the U.S. federal securities laws and the applicable rules
and regulations of the Securities and Exchange Commission and the PCAOB.
We conducted our audits of these financial statements in accordance with the standards of the PCAOB. Those standards require that we plan and perform
the audit to obtain reasonable assurance about whether the financial statements are free of material misstatement, whether due to error or fraud.
Our audits included performing procedures to assess the risks of material misstatement of the financial statements, whether due to error or fraud,
and performing procedures that respond to those risks. Such procedures included examining, on a test basis, evidence regarding the amounts and
disclosures in the financial statements. Our audits also included evaluating the accounting principles used and significant estimates made by
management, as well as evaluating the overall presentation of the financial statements. Our procedures included confirmation of securities owned
as of March 31, 2021 by correspondence with the custodian, transfer agent, brokers and agent banks; when replies were not received from brokers
or agent banks, we performed other auditing procedures. We believe that our audits provide a reasonable basis for our opinions.

/s/ PricewaterhouseCoopers LLP
Kansas City, Missouri
May 27, 2021

We have served as the auditor of one or more investment companies in PIMCO Funds since 1987.

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Glossary: (abbreviations that may be used in the preceding statements)                                                                                             (Unaudited)



Counterparty Abbreviations:
AZD         Australia and New Zealand Banking Group    FBF         Credit Suisse International                   NGF         Nomura Global Financial Products, Inc.
BCY         Barclays Capital, Inc.                     FICC        Fixed Income Clearing Corporation             NOM         Nomura Securities International Inc.
BOA         Bank of America N.A.                       FOB         Credit Suisse Securities (USA) LLC            NXN         Natixis New York
BOM         Bank of Montreal                           GLM         Goldman Sachs Bank USA                        RBC         Royal Bank of Canada
BPG         BNP Paribas Securities Corp.               GSC         Goldman Sachs & Co. LLC                       RYL         NatWest Markets Plc
BPS         BNP Paribas S.A.                           GST         Goldman Sachs International                   SAL         Citigroup Global Markets, Inc.
BRC         Barclays Bank PLC                          HUS         HSBC Bank USA N.A.                            SBI         Citigroup Global Markets Ltd.
BSH         Banco Santander S.A. - New York Branch     IND         Crédit Agricole Corporate and Investment      SCX         Standard Chartered Bank, London
                                                                      Bank S.A.
BSN         The Bank of Nova Scotia - Toronto          JML         JP Morgan Securities Plc                      SOG         Societe Generale Paris
CBK         Citibank N.A.                              JPM         JP Morgan Chase Bank N.A.                     SSB         State Street Bank and Trust Co.
DBL         Deutsche Bank AG London                    JPS         J.P. Morgan Securities LLC                    TDM         TD Securities (USA) LLC
DEU         Deutsche Bank Securities, Inc.             MEI         Merrill Lynch International                   TOR         The Toronto-Dominion Bank
DUB         Deutsche Bank AG                           MYC         Morgan Stanley Capital Services LLC           UAG         UBS AG Stamford
FAR         Wells Fargo Bank National Association      MYI         Morgan Stanley & Co. International PLC        UBS         UBS Securities LLC
Currency Abbreviations:
ARS         Argentine Peso                             DOP         Dominican Peso                                NOK        Norwegian Krone
AUD         Australian Dollar                          EUR         Euro                                          PEN        Peruvian New Sol
BRL         Brazilian Real                             GBP         British Pound                                 PLN        Polish Zloty
CAD         Canadian Dollar                            HKD         Hong Kong Dollar                              RUB        Russian Ruble
CLP         Chilean Peso                               HUF         Hungarian Forint                              SEK        Swedish Krona
CNH         Chinese Renminbi (Offshore)                IDR         Indonesian Rupiah                             TRY        Turkish New Lira
CNY         Chinese Renminbi (Mainland)                INR         Indian Rupee                                  USD (or $) United States Dollar
COP         Colombian Peso                             JPY         Japanese Yen                                  ZAR        South African Rand
DKK         Danish Krone                               MXN         Mexican Peso
Exchange Abbreviations:
CME         Chicago Mercantile Exchange                OTC         Over the Counter
Index/Spread Abbreviations:
BADLARPP Argentina Badlar Floating Rate Notes          CMBX        Commercial Mortgage-Backed Index              RUONIA      Ruble Overnight Index Average
BBSW3M 3 Month Bank Bill Swap Rate                     CNREPOFIX   China Fixing Repo Rates 7-Day                 SONIO       Sterling Overnight Interbank Average Rate
CDX.EM   Credit Derivatives Index - Emerging Markets   EUR003M     3 Month EUR Swap Rate                         UKRPI       United Kingdom Retail Prices Index
CDX.HY   Credit Derivatives Index - High Yield         H15T1Y      1 Year US Treasury Yield Curve Constant       US0003M     ICE 3-Month USD LIBOR
                                                                      Maturity Rate
CDX.IG   Credit Derivatives Index - Investment Grade   LIBOR03M    3 Month USD-LIBOR                             US0006M ICE 6-Month USD LIBOR
CDX.MCDX Credit Derivatives Index - Municipal Bond     PRIME       Daily US Prime Rate
           Credit Derivative Index
Other Abbreviations:
ABS         Asset-Backed Security                      CDO         Collateralized Debt Obligation                OIS         Overnight Index Swap
ALT         Alternate Loan Trust                       CLO         Collateralized Loan Obligation                PIK         Payment-in-Kind
BABs        Build America Bonds                        CMBS        Collateralized Mortgage-Backed Security       REMIC       Real Estate Mortgage Investment Conduit
BBR         Bank Bill Rate                             DAC         Designated Activity Company                   RMBS        Residential Mortgage-Backed Security
BBSW        Bank Bill Swap Reference Rate              EURIBOR     Euro Interbank Offered Rate                   TBA         To-Be-Announced
BTP         Buoni del Tesoro Poliennali “Long-term     JIBAR       Johannesburg Interbank Agreed Rate            TBD         To-Be-Determined
               Treasury Bond”
CBO         Collateralized Bond Obligation             LIBOR       London Interbank Offered Rate                 TBD%        Interest rate to be determined when loan
                                                                                                                                settles or at the time of funding
CDI         Brazil Interbank Deposit Rate              Lunar       Monthly payment based on 28-day               TIIE        Tasa de Interés Interbancaria de Equilibrio
                                                                     periods. One year consists of 13 periods.                  “Equilibrium Interbank Interest Rate”




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Federal Income Tax Information                                                                                                                 (Unaudited)



As required by the Internal Revenue Code (“Code”) and Treasury Regulations, if applicable, shareholders must be notified within 60 days of the
Funds’ fiscal year end regarding the status of qualified dividend income and the dividend received deduction.

Dividend Received Deduction. Corporate shareholders are generally entitled to take the dividend received deduction on the portion of a Funds’
dividend distribution that qualifies under tax law. The percentage of the following Funds’ Fiscal 2021 ordinary income dividend that qualifies for the
corporate dividend received deduction is set forth below:

Qualified Dividend Income. Under the Jobs and Growth Tax Relief Reconciliation Act of 2003, the following percentage of ordinary dividends paid
during the fiscal year ended March 31, 2021 was designated as ‘qualified dividend income’ as defined in the Jobs and Growth Tax Relief
Reconciliation Act of 2003 subject to reduced tax rates in 2021:

Qualified Interest Income and Qualified Short-Term Capital Gain (for non-U.S. resident shareholders only). Under the American Jobs Creation
Act of 2004, the following amounts of ordinary dividends paid during the fiscal year ended March 31, 2021 are considered to be derived from
“qualified interest income,” as defined in Section 871(k)(1)(E) of the Code, and therefore are designated as interest-related dividends, as defined in
Section 871(k)(1)(C) of the Code. Further, the following amounts of ordinary dividends paid during the fiscal year ended March 31, 2021 are
considered to be derived from “qualified short-term capital gain,” as defined in

Section 871(k)(2)(D) of the Code, and therefore are designated as qualified short-term gain dividends, as defined by Section 871(k)(2)(C) of
the Code.
                                                             Dividend           Qualified        Qualified    Qualified
                                                             Received           Dividend         Interest    Short-Term
                                                             Deduction           Income           Income     Capital Gain
                                                                %                   %             (000s†)      (000s†)
PIMCO Credit Opportunities Bond Fund                              0%                    0%   $      11,536      $   0
PIMCO Diversified Income Fund                                     0%                    0%         122,335          0
PIMCO ESG Income Fund                                             0%                    0%               0          0
PIMCO High Yield Spectrum Fund                                    0%                    0%          18,960          0
PIMCO Long-Term Credit Bond Fund                                  0%                    0%         191,241          0
PIMCO Low Duration Credit Fund                                    0%                    0%          15,555          0
PIMCO Low Duration Income Fund                                    0%                    0%         152,870          0
PIMCO Preferred and Capital Securities Fund                   40.53%                92.94%          66,842          0

†   A zero balance may reflect actual amounts rounding to less than one thousand.

Shareholders are advised to consult their own tax advisor with respect to the tax consequences of their investment in the Trust. In January 2022,
you will be advised on IRS Form 1099-DIV as to the federal tax status of the dividends and distributions received by you in calendar year 2021.

Section 163(j) Interest Dividends. The funds intend to pass through the maximum amount allowable as Section 163(j) Interest Dividends as
defined in Proposed Treasury Section 1.163(j)-1(b). The 163(j) percentage of ordinary income distributions are as follows:
                                                             163 (j) Interest
                                                              Dividends %
PIMCO Credit Opportunities Bond Fund                               0%
PIMCO Diversified Income Fund                                      0%
PIMCO ESG Income Fund                                              0%
PIMCO High Yield Spectrum Fund                                     0%
PIMCO Long-Term Credit Bond Fund                                   0%
PIMCO Low Duration Credit Fund                                     0%
PIMCO Low Duration Income Fund                                     0%
PIMCO Preferred and Capital Securities Fund                        0%




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Distribution Information                                                                                                                       (Unaudited)



For purposes of Section 19 of the Investment Company Act of 1940 (the “Act”), the Funds estimated the periodic sources of any dividends paid
during the period covered by this report in accordance with good accounting practice. Pursuant to Rule 19a-1(e) under the Act, the table below sets
forth the actual source information for dividends paid during the fiscal period ended March 31, 2021 calculated as of each distribution period
pursuant to Section 19 of the Act. The information below is not provided for U.S. federal income tax reporting purposes. The tax character of all
dividends and distributions is reported on Form 1099-DIV (for shareholders who receive U.S. federal tax reporting) at the end of each calendar year.

See the Financial Highlights section of this report for the tax characterization of distributions determined in accordance with federal income tax
regulations for the fiscal year.

PIMCO Low Duration Income Fund
                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
Institutional Class                                  Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0245             $0.0000             $0.0000               $0.0245
November 2020                                        $0.0245             $0.0000             $0.0000               $0.0245
December 2020                                        $0.0245             $0.0000             $0.0000               $0.0245
January 2021                                         $0.0200             $0.0000             $0.0000               $0.0200
February 2021                                        $0.0200             $0.0000             $0.0000               $0.0200
March 2021                                           $0.0200             $0.0000             $0.0000               $0.0200

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
I-2 Class                                            Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0238             $0.0000             $0.0000               $0.0238
November 2020                                        $0.0238             $0.0000             $0.0000               $0.0238
December 2020                                        $0.0238             $0.0000             $0.0000               $0.0238
January 2021                                         $0.0193             $0.0000             $0.0000               $0.0193
February 2021                                        $0.0193             $0.0000             $0.0000               $0.0193
March 2021                                           $0.0193             $0.0000             $0.0000               $0.0193

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
I-3 Class                                            Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0235             $0.0000             $0.0000               $0.0235
November 2020                                        $0.0234             $0.0000             $0.0000               $0.0234
December 2020                                        $0.0234             $0.0000             $0.0000               $0.0234
January 2021                                         $0.0189             $0.0000             $0.0000               $0.0189
February 2021                                        $0.0189             $0.0000             $0.0000               $0.0189
March 2021                                           $0.0189             $0.0000             $0.0000               $0.0189

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
Class A                                              Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0217             $0.0000             $0.0000               $0.0217
November 2020                                        $0.0217             $0.0000             $0.0000               $0.0217
December 2020                                        $0.0216             $0.0000             $0.0000               $0.0216
January 2021                                         $0.0171             $0.0000             $0.0000               $0.0171
February 2021                                        $0.0171             $0.0000             $0.0000               $0.0171
March 2021                                           $0.0171             $0.0000             $0.0000               $0.0171




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Distribution Information (Cont.)                                                                                                                                             (Unaudited)


                                                                                                            Paid-in Surplus or
                                                            Net Investment            Net Realized            Other Capital              Total (per
Class C                                                        Income*               Capital Gains*             Sources**              common share)
October 2020                                                    $0.0196                 $0.0000                  $0.0000                   $0.0196
November 2020                                                   $0.0196                 $0.0000                  $0.0000                   $0.0196
December 2020                                                   $0.0195                 $0.0000                  $0.0000                   $0.0195
January 2021                                                    $0.0149                 $0.0000                  $0.0000                   $0.0149
February 2021                                                   $0.0149                 $0.0000                  $0.0000                   $0.0149
March 2021                                                      $0.0149                 $0.0000                  $0.0000                   $0.0149

                                                                                                            Paid-in Surplus or
                                                            Net Investment            Net Realized            Other Capital              Total (per
Class C-2                                                      Income*               Capital Gains*             Sources**              common share)
October 2020                                                    $0.0062                 $0.0000                  $0.0000                   $0.0062
November 2020                                                   $0.0182                 $0.0000                  $0.0000                   $0.0182
December 2020                                                   $0.0181                 $0.0000                  $0.0000                   $0.0181
January 2021                                                    $0.0135                 $0.0000                  $0.0000                   $0.0135
February 2021                                                   $0.0135                 $0.0000                  $0.0000                   $0.0135
March 2021                                                      $0.0135                 $0.0000                  $0.0000                   $0.0135

*  The source of dividends provided in the table differs, in some respects, from information presented in this report prepared in accordance with generally accepted accounting
   principles, or U.S. GAAP. For example, net earnings from certain interest rate swap contracts are included as a source of net investment income for purposes of Section 19(a).
   Accordingly, the information in the table may differ from information in the accompanying financial statements that are presented on the basis of U.S. GAAP and may differ from tax
   information presented in the footnotes. Amounts shown may include accumulated, as well as fiscal period net income and net profits.
** Occurs when a fund distributes an amount greater than its accumulated net income and net profits. Amounts are not reflective of a fund’s net income, yield, earnings or
   investment performance.




184 PIMCO CREDIT BOND FUNDS
Management of the Trust                                                                                                                                                       (Unaudited)



The charts below identify the Trustees and executive officers of the Trust. Unless otherwise indicated, the address of all persons below is 650
Newport Center Drive, Newport Beach, CA 92660.

The Funds’ Statement of Additional Information includes more information about the Trustees and Officers. To request a free copy, call PIMCO at
(888) 87-PIMCO or visit the Funds’ website at www.pimco.com.
                                      Term of
                                      Office and                                                       Number of Funds
Name, Year of Birth and               Length of                                                        in Fund Complex         Other Public Company and Investment Company
Position Held with Trust*             Time Served†    Principal Occupation(s) During Past 5 Years      Overseen by Trustee     Directorships Held by Trustee During the Past 5 Years

Interested Trustees1
Peter G. Strelow (1970)               05/2017 to      Managing Director and Co-Chief Operating         149                     Chairman and Trustee, PIMCO Variable Insurance Trust,
Chairman of the Board and Trustee     present         Officer, PIMCO. Senior Vice President of the                             PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity
                                                      Trust, PIMCO Variable Insurance Trust,                                   Series VIT.
                                      Chairman
                                                      PIMCO ETF Trust, PIMCO Equity Series,
                                      02/2019 to
                                                      PIMCO Equity Series VIT, PIMCO Managed
                                      present
                                                      Accounts Trust, PIMCO-Sponsored Interval
                                                      Funds and PIMCO-Sponsored Closed-End
                                                      Funds. Formerly, Chief Administrative
                                                      Officer, PIMCO.
Kimberley G. Stafford (1978)          02/2021 to      Managing Director and Global Head of             149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Product Strategy, PIMCO; and Member of                                   Trust, PIMCO Equity Series, PIMCO Equity Series VIT.
                                                      Executive Committee. Formerly, Head of Asia-
                                                      Pacific, Global Head of Consultant Relations
                                                      and Head of US Institutional and Alternatives
                                                      Sales, PIMCO.

Independent Trustees
George E. Borst (1948)                04/2015 to      Executive Advisor, McKinsey & Company;           149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Formerly, Executive Advisor, Toyota Financial                            Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Services; and CEO, Toyota Financial Services.                            Director, MarineMax Inc.
Jennifer Holden Dunbar (1963)         04/2015 to      Managing Director, Dunbar Partners, LLC          149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         (business consulting and investments).                                   Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Formerly, Partner, Leonard Green &                                       Director, PS Business Parks; Director, Big 5 Sporting
                                                      Partners, L.P.                                                           Goods Corporation.
Kym M. Hubbard (1957)                 02/2017 to      Formerly, Global Head of Investments, Chief      149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Investment Officer and Treasurer,                                        Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Ernst & Young.                                                           Director, State Auto Financial Corporation.
Gary F. Kennedy (1955)                04/2015 to      Formerly, Senior Vice President, General         149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Counsel and Chief Compliance Officer,                                    Trust, PIMCO Equity Series and PIMCO Equity Series VIT.
                                                      American Airlines and AMR Corporation (now
                                                      American Airlines Group).
Peter B. McCarthy (1950)              04/2015 to      Formerly, Assistant Secretary and Chief          149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Financial Officer, United States Department of                           Trust, PIMCO Equity Series and PIMCO Equity Series VIT.
                                                      Treasury; Deputy Managing Director, Institute
                                                      of International Finance.
Ronald C. Parker (1951)               07/2009 to      Director of Roseburg Forest Products             149                     Lead Independent Trustee, PIMCO Variable Insurance
Lead Independent Trustee              present         Company. Formerly, Chairman of the Board,                                Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO
                                                      The Ford Family Foundation; and President,                               Equity Series VIT.
                                      Lead            Chief Executive Officer, Hampton Affiliates
                                      Independent     (forestry products).
                                      Trustee -
                                      02/2017 to
                                      present

* Unless otherwise noted, the information for the individuals listed is as of March 31, 2021.
1 Ms. Stafford and Mr. Strelow are “interested persons” of the Trust (as that term is defined in the 1940 Act) because of their affiliations with PIMCO.
† Trustees serve until their successors are duly elected and qualified.




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Management of the Trust (Cont.)                                                                                                                                        (Unaudited)


Executive Officers
Name, Year of Birth and                  Term of Office and
Position Held with Trust*                Length of Time Served                  Principal Occupation(s) During Past 5 Years†

Eric D. Johnson (1970)                   06/2019 to present                     Executive Vice President and Head of Funds Business Group Americas, PIMCO. President, PIMCO
President                                                                       Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO
                                                                                Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
David C. Flattum (1964)                  05/2019 to present                     Managing Director and General Counsel, PIMCO. Chief Legal Officer, PIMCO Variable Insurance
Chief Legal Officer                                                             Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Formerly, Managing
                                                                                Director, Chief Operating Officer and General Counsel, Allianz Asset Management of America L.P.
Keisha Audain-Pressley (1975)            01/2020 to present                     Executive Vice President and Deputy Chief Compliance Officer, PIMCO. Chief Compliance Officer,
Chief Compliance Officer                                                        PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT,
                                                                                PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored
                                                                                Closed-End Funds.
Joshua D. Ratner (1976)**                05/2019 to present                     Executive Vice President and Head of Americas Operations, PIMCO. Senior Vice President, PIMCO
Senior Vice President                                                           Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT,
                                                                                PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored
                                                                                Closed-End Funds.
Peter G. Strelow (1970)                  06/2019 to present                     Managing Director and Co-Chief Operating Officer, PIMCO. Senior Vice President, PIMCO Variable
Senior Vice President                                                           Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed
                                                                                Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
                                                                                Formerly, Chief Administrative Officer, PIMCO.
Ryan G. Leshaw (1980)                    11/2018 to present                     Executive Vice President and Senior Counsel, PIMCO. Vice President, Senior Counsel and Secretary,
Vice President - Senior Counsel,                                                PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series
Secretary                                                                       VIT. Chief Legal Officer, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and
                                                                                PIMCO-Sponsored Closed-End Funds. Formerly, Associate, Willkie Farr & Gallagher LLP.
Wu-Kwan Kit (1981)                       08/2017 to present                     Senior Vice President and Senior Counsel, PIMCO. Assistant Secretary, PIMCO Variable Insurance
Assistant Secretary                                                             Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Vice President, Senior
                                                                                Counsel and Secretary, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and
                                                                                PIMCO-Sponsored Closed-End Funds. Formerly, Assistant General Counsel, VanEck Associates Corp.
Jeffrey A. Byer (1976)                   02/2020 to present                     Executive Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Elizabeth A. Duggan (1964)               02/2021 to present                     Executive Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series and PIMCO Equity Series VIT.
Brian J. Pittluck (1977)                 01/2020 to present                     Senior Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Bijal Y. Parikh (1978)                   01/2021 to present                     Senior Vice President, PIMCO. Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO
Treasurer                                                                       Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval
                                                                                Funds and PIMCO-Sponsored Closed-End Funds.
Erik C. Brown (1967)***                  02/2001 to present                     Executive Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
Brandon T. Evans (1982)                  05/2019 to present                     Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Assistant Treasurer                                                             PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Colleen D. Miller (1980)**               02/2017 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Deputy Treasurer, PIMCO Managed
                                                                                Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
Jason J. Nagler (1982)***                05/2015 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
H. Jessica Zhang (1973)**                01/2020 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.

*   Unless otherwise noted, the information for the individuals listed is as of March 31, 2021.
†   The term “PIMCO-Sponsored Closed-End Funds” as used herein includes: PIMCO California Municipal Income Fund, PIMCO California Municipal Income Fund II, PIMCO California
    Municipal Income Fund III, PIMCO Municipal Income Fund, PIMCO Municipal Income Fund II, PIMCO Municipal Income Fund III, PIMCO New York Municipal Income Fund, PIMCO
    New York Municipal Income Fund II, PIMCO New York Municipal Income Fund III, PCM Fund Inc., PIMCO Corporate & Income Opportunity Fund, PIMCO Corporate & Income
    Strategy Fund, PIMCO Dynamic Credit and Mortgage Income Fund, PIMCO Dynamic Income Fund, PIMCO Dynamic Income Opportunities Fund, PIMCO Energy and Tactical Credit
    Opportunities Fund, PIMCO Global StocksPLUS® & Income Fund, PIMCO High Income Fund, PIMCO Income Opportunity Fund, PIMCO Income Strategy Fund, PIMCO Income
    Strategy Fund II and PIMCO Strategic Income Fund, Inc.; the term “PIMCO-Sponsored Interval Funds” as used herein includes: PIMCO Flexible Credit Income Fund and PIMCO
    Flexible Municipal Income Fund.
** The address of these officers is Pacific Investment Management Company LLC, 1633 Broadway, New York, New York 10019.
*** The address of these officers is Pacific Investment Management Company LLC, 401 Congress Ave., Austin, Texas 78701.

186 PIMCO CREDIT BOND FUNDS
Privacy Policy1                                                                                                                                                 (Unaudited)



The Funds2,3 consider customer privacy to be a fundamental aspect of        disclose information about a shareholder or a shareholder’s accounts
their relationships with shareholders and are committed to                  to a non-affiliated third party at the shareholder’s request or with the
maintaining the confidentiality, integrity and security of their current,   consent of the shareholder.
prospective and former shareholders’ non-public personal information.
The Funds have developed policies that are designed to protect this         SHARING INFORMATION WITH AFFILIATES
confidentiality, while allowing shareholder needs to be served.             The Funds may share shareholder information with their affiliates in
                                                                            connection with servicing shareholders’ accounts, and subject to
OBTAINING NON-PUBLIC PERSONAL INFORMATION                                   applicable law may provide shareholders with information about
In the course of providing shareholders with products and services, the     products and services that the Funds or their Advisers, distributors or
Funds and certain service providers to the Funds, such as the Funds’        their affiliates (“Service Affiliates”) believe may be of interest to such
investment advisers or sub-advisers (“Advisers”), may obtain                shareholders. The information that the Funds may share may include,
non-public personal information about shareholders, which may come          for example, a shareholder’s participation in the Funds or in other
from sources such as account applications and other forms, from other       investment programs sponsored by a Service Affiliate, a shareholder’s
written, electronic or verbal correspondence, from shareholder              ownership of certain types of accounts (such as IRAs), information
transactions, from a shareholder’s brokerage or financial advisory firm,    about the Funds’ experiences or transactions with a shareholder,
financial professional or consultant, and/or from information captured      information captured on applicable websites, or other data about a
on applicable websites.                                                     shareholder’s accounts, subject to applicable law. The Funds’ Service
                                                                            Affiliates, in turn, are not permitted to share shareholder information
RESPECTING YOUR PRIVACY
                                                                            with non-affiliated entities, except as required or permitted by law.
As a matter of policy, the Funds do not disclose any non-public
personal information provided by shareholders or gathered by the            PROCEDURES TO SAFEGUARD PRIVATE INFORMATION
Funds to non-affiliated third parties, except as required or permitted      The Funds take seriously the obligation to safeguard shareholder
by law or as necessary for such third parties to perform their              non-public personal information. In addition to this policy, the Funds
agreements with respect to the Funds. As is common in the industry,         have implemented procedures that are designed to restrict access to a
non-affiliated companies may from time to time be used to provide           shareholder’s non-public personal information to internal personnel
certain services, such as preparing and mailing prospectuses, reports,      who need to know that information to perform their jobs, such as
account statements and other information, conducting research on            servicing shareholder accounts or notifying shareholders of new
shareholder satisfaction and gathering shareholder proxies. The Funds       products or services. Physical, electronic and procedural safeguards are
or their affiliates may also retain non-affiliated companies to market      in place to guard a shareholder’s non-public personal information.
Fund shares or products which use Fund shares and enter into joint
marketing arrangements with them and other companies. These                 INFORMATION COLLECTED FROM WEBSITES
companies may have access to a shareholder’s personal and account           The Funds or their service providers and partners may collect
information, but are permitted to use this information solely to provide    information from shareholders via websites they maintain. The
the specific service or as otherwise permitted by law. In most cases,       information collected via websites maintained by the Funds or their
the shareholders will be clients of a third party, but the Funds may        service providers includes client non-public personal information.
also provide a shareholder’s personal and account information to the
                                                                            CHANGES TO THE PRIVACY POLICY
shareholder’s respective brokerage or financial advisory firm and/or
financial professional or consultant.                                       From time to time, the Funds may update or revise this privacy policy.
                                                                            If there are changes to the terms of this privacy policy, documents
SHARING INFORMATION WITH THIRD PARTIES                                      containing the revised policy on the relevant website will be updated.
The Funds reserve the right to disclose or report personal or account       1 Amended as of June 25, 2020.

information to non-affiliated third parties in limited circumstances        2 PIMCO Investments LLC (“PI”) serves as the Funds’ distributor and does not provide

                                                                            brokerage services or any financial advice to investors in the Funds solely because it
where the Funds believe in good faith that disclosure is required under     distributes the Funds. This Privacy Policy applies to the activities of PI to the extent that
law, to cooperate with regulators or law enforcement authorities, to        PI regularly effects or engages in transactions with or for a shareholder of a series of a
                                                                            Trust who is the record owner of such shares. For purposes of this Privacy Policy,
protect their rights or property, or upon reasonable request by any         references to “the Funds” shall include PI when acting in this capacity.
Fund in which a shareholder has invested. In addition, the Funds may        3 When distributing this Policy, a Fund may combine the distribution with any similar

                                                                            distribution of its investment adviser’s privacy policy. The distributed, combined, policy
                                                                            may be written in the first person (i.e. by using “we” instead of “the Funds”).



                                                                                                                     ANNUAL REPORT | MARCH 31, 2021 187
Liquidity Risk Management Program                                                                                                        (Unaudited)



In compliance with Rule 22e-4 (the “Liquidity Rule”) under the              At a meeting of the Board held on February 9-10, 2021, the Board
Investment Company Act of 1940, as amended (“1940 Act”), PIMCO              received a report (the “Report”) from the Administrator addressing the
Funds (the “Trust”) has adopted and implemented a liquidity risk            Program’s operation and assessing the adequacy and effectiveness of
management program (the “Program”) for each series of the Trust             its implementation for the period from December 1, 2019 through
(each a “Fund” and collectively, the “Funds”) not regulated as a            December 31, 2020. The Report reviewed the operation of the
money market fund under 1940 Act Rule 2a-7, which is reasonably             Program’s components during such period, noted the March-April
designed to assess and manage the Funds’ liquidity risk. The Trust’s        2020 market conditions and associated monitoring by the
Board of Trustees (the “Board”) previously approved the designation         Administrator, and stated that the Program is operating effectively to
of the PIMCO Liquidity Risk Committee (the “Administrator”) as              assess and manage each Fund’s liquidity risk and that the Program has
Program administrator. The PIMCO Liquidity Risk Committee consists          been and continues to be adequately and effectively implemented to
of senior members from certain PIMCO business areas, such as                monitor and, as applicable, respond to the Funds’ liquidity
Portfolio Risk Management, Americas Operations, Compliance,                 developments. This has remained true for the 12-month reporting
Account Management and Portfolio Management, and is advised by              period ended March 31, 2021.
members of PIMCO Legal.

A Fund’s “liquidity risk” is the risk that the Fund could not meet
requests to redeem shares issued by the Fund without significant
dilution of the remaining investors’ interests in the Fund. In
accordance with the Program, each Fund’s liquidity risk is assessed no
less frequently than annually taking into consideration a variety of
factors, including, as applicable, the Fund’s investment strategy and
liquidity of portfolio investments, cash flow projections, and holdings
of cash and cash equivalents, as well as borrowing arrangements and
other funding sources. Certain factors are considered under both
normal and reasonably foreseeable stressed conditions. Each Fund
portfolio investment is classified into one of four liquidity categories
(including “highly liquid investments” and “illiquid investments,”
discussed below) based on a determination of the number of days it is
reasonably expected to take to convert the investment to cash, or sell
or dispose of the investment, in current market conditions without
significantly changing the investment’s market value. Each Fund has
adopted a “Highly Liquid Investment Minimum” (or “HLIM”), which is
a minimum amount of Fund net assets to be invested in highly liquid
investments that are assets. As required under the Liquidity Rule, each
Fund’s HLIM is periodically reviewed, no less frequently than annually,
and the Funds have adopted policies and procedures for responding to
a shortfall of a Fund’s highly liquid investments below its HLIM. The
Liquidity Rule also limits the Funds’ investments in illiquid investments
by prohibiting a Fund from acquiring any illiquid investment if,
immediately after the acquisition, the Fund would have invested more
than 15% of its net assets in illiquid investments that are assets.
Certain non-public reporting is generally required if a Fund’s holdings
of illiquid investments that are assets were to exceed 15% of Fund
net assets.




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General Information

Investment Adviser and Administrator
Pacific Investment Management Company LLC
650 Newport Center Drive
Newport Beach, CA 92660

Distributor
PIMCO Investments LLC
1633 Broadway
New York, NY 10019

Custodian
State Street Bank and Trust Company
801 Pennsylvania Avenue
Kansas City, MO 64105

Transfer Agent
DST Asset Manager Solutions, Inc.
Institutional Class, I-2, I-3, Administrative Class
430 W 7th Street STE 219024
Kansas City, MO 64105-1407

DST Asset Manager Solutions, Inc.
Class A, Class C, Class C-2, Class R
430 W 7th Street STE 219294
Kansas City, MO 64105-1407

Legal Counsel
Dechert LLP
1900 K Street, N.W.
Washington, D.C. 20006

Independent Registered Public Accounting Firm
PricewaterhouseCoopers LLP
1100 Walnut Street, Suite 1300
Kansas City, MO 64106


This report is submitted for the general information of the shareholders of the Funds listed on the Report cover.
PF3003AR_033121
EXHIBIT 18
EXHIBIT 19
CONFIDENTIAL TREATMENT REQUESTED
           BY PIMCO LLC ON 8/15/2022
CONFIDENTIAL TREATMENT REQUESTED
           BY PIMCO LLC ON 8/15/2022




                   CMR2021-0727-1691501
EXHIBIT 20
PIMCO FUNDS

Annual Report
March 31, 2021

Credit Bond Funds
PIMCO Credit Opportunities Bond Fund
PIMCO Diversified Income Fund
PIMCO ESG Income Fund
PIMCO High Yield Spectrum Fund
PIMCO Long-Term Credit Bond Fund
PIMCO Low Duration Credit Fund
PIMCO Low Duration Income Fund
PIMCO Preferred and Capital Securities Fund




As permitted by regulations adopted by the Securities and Exchange Commission, paper copies of the Fund’s annual and
semi-annual shareholder reports will no longer be sent by mail, unless you specifically request paper copies of the reports.
Instead, the reports will be made available on the Fund’s website, pimco.com/literature, and you will be notified by mail each
time a report is posted and provided with a website link to access the report.

If you already elected to receive shareholder reports electronically, you will not be affected by this change and you need not
take any action. You may elect to receive shareholder reports and other communications from the Fund electronically by
visiting pimco.com/edelivery or by contacting your financial intermediary, such as a broker-dealer or bank.

You may elect to receive all future reports in paper free of charge. If you own these shares through a financial intermediary,
such as a broker-dealer or bank, you may contact your financial intermediary to request that you continue to receive paper
copies of your shareholder reports. If you invest directly with the Fund, you can inform the Fund that you wish to continue
receiving paper copies of your shareholder reports by calling 888.87.PIMCO (888.877.4626). Your election to receive reports
in paper will apply to all funds held with the fund complex if you invest directly with the Fund or to all funds held in your
account if you invest through a financial intermediary, such as a broker-dealer or bank.
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                                                                        (1) Consolidated Schedule of Investments




(a)   Prior to May 3, 2021, the PIMCO Low Duration Credit Fund was named the PIMCO Senior Floating Rate Fund.
This material is authorized for use only when preceded or accompanied by the current PIMCO Funds prospectuses. The Shareholder Reports for the other series of the PIMCO Funds are
printed separately.
Chairman’s Letter



           Dear Shareholder,
           We hope that you and your family are staying safe and healthy during these challenging times. We continue to work
           tirelessly to navigate markets and manage the assets that you have entrusted with us. Following this letter is the
           PIMCO Funds Annual Report, which covers the 12-month reporting period ended March 31, 2021. On the subsequent
           pages, you will find specific details regarding investment results and discussion of the factors that most affected
           performance during the reporting period.

           For the 12-month reporting period ended March 31, 2021
           The global economy was severely impacted by the repercussions related to the COVID-19 pandemic. Looking back,
           second-quarter 2020 U.S. annualized gross domestic product (“GDP”) growth was -31.4%. This represented the steepest
           quarterly decline on record. With the economy reopening, third-quarter 2020 GDP growth was 33.4%, the largest
           quarterly increase on record. GDP growth was then 4.3% during the fourth quarter of 2020. The Commerce Department’s
           initial reading for first-quarter 2021 GDP growth — released after the reporting period ended — was 6.4%.
           The Federal Reserve (the “Fed”) took unprecedented actions to support the economy and keep markets functioning
           properly. In early March 2020, before the reporting period began, the Fed lowered the federal funds rate to a range
           between 1.00% and 1.25%. Later in the month, the Fed lowered the rate to a range between 0.00% and 0.25%. On
           March 23, the Fed announced that it would make unlimited purchases of Treasury and mortgage securities and, for the
           first time, it would purchase corporate bonds on the open market. In August 2020, Fed Chair Jerome Powell said the
           central bank had changed how it viewed the trade-off between lower unemployment and higher inflation. Per Powell’s
           statement, the Fed’s new approach to setting U.S. monetary policy will entail letting inflation run higher, which could
           mean that interest rates remain low for an extended period. Meanwhile, in March 2020, the U.S. government passed a
           total of roughly $2.8 trillion in fiscal stimulus measures to aid the economy. A subsequent $900 billion stimulus package
           was finalized in December 2020, and a $1.9 trillion stimulus package was finalized in February 2021. Finally, the Biden
           administration unveiled a $2.25 trillion infrastructure spending proposal in late March 2021.
           Economies outside the U.S. were also significantly impacted by the pandemic but are expected to improve in 2021. In
           its April 2021 World Economic Outlook Update — released after the reporting period ended — the International
           Monetary Fund (“IMF”) stated that it expects 2021 GDP growth in the eurozone, U.K. and Japan will be 4.4%, 5.3%
           and 3.3%, respectively. For comparison purposes, the GDP growth of these economies was projected to be -6.6%,
           -9.9% and -4.8%, respectively, in 2020.
           Against this backdrop, central banks and governments around the world took a number of aggressive actions. Looking
           back, in March 2020, the European Central Bank (the “ECB”) unveiled a new €750 billion bond-buying program,
           which was subsequently expanded by another €600 billion in June 2020. In July, the European Union agreed on a
           €1.8 trillion spending package to bolster its economy. In December 2020, the ECB expanded its monetary stimulus
           program by another €500 billion. The Bank of England reduced its key lending rate to 0.10% — a record low — in
           March, added £100 billion to its quantitative easing program in June and increased its bond-buying program by
           £150 billion to £895 billion in November. Finally, toward the end of the year, the U.K. and the European Union agreed
           to a long-awaited Brexit deal. Elsewhere, the Bank of Japan maintained its short-term interest rate at -0.10%, while
           increasing the target for its holdings of corporate bonds to ¥4.2 trillion from ¥3.2 trillion. In May 2020, the Japanese
           government doubled its stimulus measures with a ¥117 trillion package. Finally, in December 2020, the Bank of Japan
           announced a new ¥73.6 trillion stimulus package.
           Short-term U.S. Treasury yields edged lower, whereas long-term yields moved sharply higher, albeit from a very low level
           during the reporting period. The yield on the benchmark 10-year U.S. Treasury note was 1.74% at the end of the
           reporting period, versus 0.70% on March 31, 2020. The Bloomberg Barclays Global Treasury Index (USD Hedged), which
           tracks fixed-rate, local currency government debt of investment grade countries, including both developed and emerging
           markets, returned -1.03%. Meanwhile, the Bloomberg Barclays Global Aggregate Credit Index (USD Hedged), a widely



2   PIMCO CREDIT BOND FUNDS
used index of global investment grade credit bonds, returned 7.98%. Riskier fixed income asset classes, including high
yield corporate bonds and emerging market debt, produced stronger returns. The ICE BofAML Developed Markets High
Yield Constrained Index (USD Hedged), a widely used index of below-investment-grade bonds, returned 23.34%,
whereas emerging market external debt, as represented by the JPMorgan Emerging Markets Bond Index (EMBI) Global
(USD Hedged), returned 14.29%. Emerging market local bonds, as represented by the JPMorgan Government Bond
Index-Emerging Markets Global Diversified Index (Unhedged), returned 13.03%.
Despite the headwinds from the pandemic and periods of volatility, global equities produced exceptionally strong
results. All told, U.S. equities, as represented by the S&P 500 Index, returned 56.35%, fueled in our view by
accommodative monetary and fiscal policy and improved investor sentiment after positive COVID-19 vaccine news.
Global equities, as represented by the MSCI World Index, returned 54.03%, whereas emerging market equities, as
measured by the MSCI Emerging Markets Index, returned 58.39%. Meanwhile, Japanese equities, as represented by
the Nikkei 225 Index (in JPY), returned 56.62%, and European equities, as represented by the MSCI Europe Index
(in EUR), returned 35.32%.
Commodity prices were volatile but moved higher overall. When the reporting period began, Brent crude oil was
approximately $22 a barrel but ended the reporting period at roughly $63 a barrel. We believe that oil prices rallied
because producers reduced their output and investors anticipated stronger demand as global growth improved.
Elsewhere, copper and gold prices also moved higher.
Finally, there were also periods of volatility in the foreign exchange markets, in our view due to fluctuating economic
growth, trade conflicts and changing central bank monetary policies, along with the U.S. elections and several
geopolitical events. The U.S. dollar weakened against several major currencies. For example, the U.S. dollar returned
-6.34% and -10.97% versus the euro and the British pound, respectively. However, the U.S. dollar appreciated 2.87%
versus the Japanese yen.
Thank you for the assets you have placed with us. We deeply value your trust, and we will continue to work diligently
to meet your broad investment needs. For any questions regarding your PIMCO Funds investments, please contact
your account manager or call one of our shareholder associates at (888) 87-PIMCO. We also invite you to visit our
website at pimco.com to learn more about our viewpoints.



                             Stay safe and healthy,



                             Peter G. Strelow
                             Chairman of the Board
                             PIMCO Funds


  Past performance is no guarantee of future results. Unless otherwise noted, index returns reflect the reinvestment of income distributions and
  capital gains, if any, but do not reflect fees, brokerage commissions or other expenses of investing. It is not possible to invest directly in
  an unmanaged index.




                                                                                                                     ANNUAL REPORT | MARCH 31, 2021   3
Important Information About the Funds

PIMCO Funds (the “Trust”) is an open-end management investment                 Classifications of Fund portfolio holdings in this report are made
company that includes the PIMCO Credit Opportunities Bond Fund,                according to financial reporting standards. The classification of a
PIMCO Diversified Income Fund, PIMCO ESG Income Fund, PIMCO High               particular portfolio holding as shown in the Allocation Breakdown and
Yield Spectrum Fund, PIMCO Long-Term Credit Bond Fund, PIMCO Low               Schedule of Investments sections of this report may differ from the
Duration Income Fund, PIMCO Low Duration Credit Fund (formerly,                classification used for a Fund’s compliance calculations, including those
PIMCO Senior Floating Rate Fund) and PIMCO Preferred and Capital               used in a Fund’s prospectus, investment objectives, regulatory, and
Securities Fund (each a “Fund” and collectively, the “Funds”).                 other investment limitations and policies, which may be based on
                                                                               different asset class, sector or geographical classifications. All Funds
We believe that bond funds have an important role to play in a well-           are separately monitored for compliance with respect to prospectus and
diversified investment portfolio. It is important to note, however, that in    regulatory requirements.
an environment where interest rates may trend upward, rising rates
would negatively impact the performance of most bond funds, and                The geographical classification of foreign (non-U.S.) securities in this
fixed income securities and other instruments held by a Fund are likely        report, if any, are classified by the country of incorporation of a
to decrease in value. A wide variety of factors can cause interest rates       holding. In certain instances, a security’s country of incorporation may
or yields of U.S. Treasury securities (or yields of other types of bonds) to   be different from its country of economic exposure.
rise (e.g., central bank monetary policies, inflation rates, general
                                                                               Beginning in January 2020, global financial markets have experienced
economic conditions, etc.). In addition, changes in interest rates can be
                                                                               and may continue to experience significant volatility resulting from the
sudden and unpredictable, and there is no guarantee that Fund
                                                                               spread of a novel coronavirus known as COVID-19. The outbreak of
management will anticipate such movement accurately. The Funds may
                                                                               COVID-19 has resulted in travel and border restrictions, quarantines,
lose money as a result of movements in interest rates.
                                                                               supply chain disruptions, lower consumer demand and general market
As of the date of this report, interest rates in the United States and         uncertainty. The effects of COVID-19 have and may continue to
many parts of the world, including certain European countries, are at or       adversely affect the global economy, the economies of certain nations
near historically low levels. Thus, bond funds currently face a                and individual issuers, all of which may negatively impact the Funds’
heightened level of risk associated with rising interest rates and/or          performance. In addition, COVID-19 and governmental responses to
bond yields. This could be driven by a variety of factors, including but       COVID-19 may negatively impact the capabilities of the Funds’ service
not limited to central bank monetary policies, changing inflation or real      providers and disrupt the Funds’ operations.
growth rates, general economic conditions, increasing bond issuances
                                                                               The United States’ enforcement of restrictions on U.S. investments in
or reduced market demand for low yielding investments. Further, while
                                                                               certain issuers and tariffs on goods from other countries, each with a
bond markets have steadily grown over the past three decades, dealer
                                                                               focus on China, has contributed to international trade tensions and
inventories of corporate bonds are near historic lows in relation to
                                                                               may impact portfolio securities.
market size. As a result, there has been a significant reduction in the
ability of dealers to “make markets.”                                          A Fund may have significant exposure to issuers in the United
                                                                               Kingdom. The United Kingdom’s withdrawal from the European Union
Bond funds and individual bonds with a longer duration (a measure
                                                                               may impact Fund returns. The withdrawal may cause substantial
used to determine the sensitivity of a security’s price to changes in
                                                                               volatility in foreign exchange markets, lead to weakness in the
interest rates) tend to be more sensitive to changes in interest rates,
                                                                               exchange rate of the British pound, result in a sustained period of
usually making them more volatile than securities or funds with shorter
                                                                               market uncertainty, and destabilize some or all of the other European
durations. All of the factors mentioned above, individually or
                                                                               Union member countries and/or the Eurozone.
collectively, could lead to increased volatility and/or lower liquidity in
the fixed income markets or negatively impact a Fund’s performance or          The Funds may invest in certain instruments that rely in some fashion
cause a Fund to incur losses. As a result, a Fund may experience               upon the London Interbank Offered Rate (“LIBOR”). LIBOR is an
increased shareholder redemptions, which, among other things, could            average interest rate, determined by the ICE Benchmark
further reduce the net assets of the Fund.                                     Administration, that banks charge one another for the use of short-
                                                                               term money. The United Kingdom’s Financial Conduct Authority, which
The Funds may be subject to various risks as described in each
                                                                               regulates LIBOR, has announced plans to ultimately phase out the use
Fund’s prospectus and in the Principal and Other Risks in the Notes to
                                                                               of LIBOR. There remains uncertainty regarding future utilization of
Financial Statements.
                                                                               LIBOR and the nature of any replacement rate (e.g., the Secured


4    PIMCO CREDIT BOND FUNDS
Overnight Financing Rate, which is intended to replace U.S. dollar                    performance due to the lower expenses paid by Institutional Class
LIBOR and measures the cost of overnight borrowings through                           shares. Performance shown is net of fees and expenses. The minimum
repurchase agreement transactions collateralized with U.S. Treasury                   initial investment amount for Institutional Class, I-2, I-3 and
securities). Any potential effects of the transition away from LIBOR on a             Administrative Class shares is $1,000,000. The minimum initial
Fund or on certain instruments in which a Fund invests can be difficult               investment amount for Class A, Class C and Class C-2 shares is $1,000.
to ascertain, and they may vary depending on a variety of factors. The                Each Fund measures its performance against at least one broad-based
transition may also result in a reduction in the value of certain                     securities market index (“benchmark index”) and a Lipper Average,
instruments held by a Fund or a reduction in the effectiveness of related             which is calculated by Lipper, Inc. (“Lipper”), a Thomson Reuters
Fund transactions such as hedges. Any such effects of the transition                  company, and represents the total return performance averages of
away from LIBOR, as well as other unforeseen effects, could result in                 funds that are tracked by Lipper that have the same fund classification.
losses to a Fund.                                                                     Benchmark indexes do not take into account fees, expenses or taxes. A
                                                                                      Fund’s past performance, before and after taxes, is not necessarily an
On each individual Fund Summary page in this Shareholder Report, the                  indication of how the Fund will perform in the future. There is no
Average Annual Total Return table and Cumulative Returns chart                        assurance that any Fund, including any Fund that has experienced high
measure performance assuming that any dividend and capital gain                       or unusual performance for one or more periods, will experience similar
distributions were reinvested. The Cumulative Returns chart and                       levels of performance in the future. High performance is defined as a
Average Annual Total Return table reflect any sales load that would                   significant increase in either 1) a Fund’s total return in excess of that of
have applied at the time of purchase or any Contingent Deferred Sales                 the Fund’s benchmark between reporting periods or 2) a Fund’s total
Charge (“CDSC”) that would have applied if a full redemption occurred                 return in excess of the Fund’s historical returns between reporting
on the last business day of the period shown in the Cumulative Returns                periods. Unusual performance is defined as a significant change in a
chart. Class A shares are subject to an initial sales charge. A CDSC may              Fund’s performance as compared to one or more previous reporting
be imposed in certain circumstances on Class A shares that are                        periods. Historical performance for the Funds or a share class thereof
purchased without an initial sales charge and then redeemed during                    may have been positively impacted by fee waivers or expense
the first 12 months after purchase. Class C and Class C-2 shares are                  limitations in place during some or all of the periods shown, if
subject to a 1% CDSC, which may apply in the first year. The                          applicable. Future performance (including total return or yield) and
Cumulative Returns chart reflects only Institutional Class performance.               distributions may be negatively impacted by the expiration or reduction
Performance for I-2, I-3, Administrative Class, Class A, Class C and                  of any such fee waivers or expense limitations.
Class C-2 if applicable, is typically lower than Institutional Class

The following table discloses the inception dates of each Fund and its respective share classes along with each Fund’s diversification status as of period end:
                                                    Fund      Institutional                         Administrative                                     Diversification
Fund Name                                         Inception       Class         I-2         I-3        Class          Class A    Class C   Class C-2       Status
PIMCO Credit Opportunities Bond Fund              08/31/11    08/31/11        08/31/11        —            —         08/31/11   08/31/11        —       Diversified
PIMCO Diversified Income Fund                     07/31/03    07/31/03        04/30/08   04/27/18     10/29/04       07/31/03   07/31/03        —       Diversified
PIMCO ESG Income Fund                             09/30/20    09/30/20        09/30/20   09/30/20          —         09/30/20   09/30/20        —       Diversified
PIMCO High Yield Spectrum Fund                    09/15/10    09/15/10        09/15/10   04/27/18          —         09/15/10   09/15/10        —       Diversified
PIMCO Long-Term Credit Bond Fund                  03/31/09    03/31/09        02/29/12        —            —              —          —          —       Diversified
PIMCO Low Duration Credit Fund                    04/29/11    04/29/11        04/29/11        —            —         04/29/11   04/29/11        —       Diversified
PIMCO Low Duration Income Fund                    07/30/04    07/30/04        04/30/08   04/27/18          —         07/30/04   09/30/04   10/21/20     Diversified
PIMCO Preferred and Capital Securities Fund       04/13/15    04/13/15        04/13/15   04/27/18          —         04/13/15   08/23/19        —       Diversified


An investment in a Fund is not a bank deposit and is not guaranteed or                service providers to procure through other parties, necessary or
insured by the Federal Deposit Insurance Corporation or any other                     desirable services on behalf of the Trust and the Funds. Shareholders
government agency. It is possible to lose money on investments in                     are not parties to or third-party beneficiaries of such service
a Fund.                                                                               agreements. Neither a Fund’s prospectus nor a Fund’s summary
                                                                                      prospectus, the Trust’s Statement of Additional Information (“SAI”),
The Trustees are responsible generally for overseeing the management                  any contracts filed as exhibits to the Trust’s registration statement, nor
of the Trust. The Trustees authorize the Trust to enter into service                  any other communications, disclosure documents or regulatory filings
agreements with the Adviser, the Distributor, the Administrator and                   (including this report) from or on behalf of the Trust or a Fund creates a
other service providers in order to provide, and in some cases authorize

                                                                                                                         ANNUAL REPORT | MARCH 31, 2021                  5
Important Information About the Funds (Cont.)

contract between or among any shareholder of a Fund, on the one                In August 2020, the SEC proposed changes to the mutual fund and ETF
hand, and the Trust, a Fund, a service provider to the Trust or a Fund,        shareholder report and registration statement disclosure requirements
and/or the Trustees or officers of the Trust, on the other hand. The           and the registered fund advertising rules, which, if adopted, will
Trustees (or the Trust and its officers, service providers or other            change the disclosures provided to shareholders.
delegates acting under authority of the Trustees) may amend the most
                                                                               In October 2020, the SEC adopted a rule related to the use of
recent prospectus or use a new prospectus, summary prospectus or SAI
                                                                               derivatives, short sales, reverse repurchase agreements and certain
with respect to a Fund or the Trust, and/or amend, file and/or issue any
                                                                               other transactions by registered investment companies that rescinds
other communications, disclosure documents or regulatory filings, and
                                                                               and withdraws the guidance of the SEC and its staff regarding asset
may amend or enter into any contracts to which the Trust or a Fund is a
                                                                               segregation and cover transactions. Subject to certain exceptions, and
party, and interpret the investment objective(s), policies, restrictions
                                                                               after an eighteen-month transition period, the rule requires funds to
and contractual provisions applicable to any Fund, without shareholder
                                                                               trade derivatives and other transactions that create future payment or
input or approval, except in circumstances in which shareholder
                                                                               delivery obligations (except reverse repurchase agreements and similar
approval is specifically required by law (such as changes to
                                                                               financing transactions) subject to a value-at-risk leverage limit, certain
fundamental investment policies) or where a shareholder approval
                                                                               derivatives risk management program and reporting requirements.
requirement is specifically disclosed in the Trust’s then-current
                                                                               These requirements may limit the ability of the Funds to use derivatives
prospectus or SAI.
                                                                               and reverse repurchase agreements and similar financing transactions
PIMCO has adopted written proxy voting policies and procedures                 as part of their investment strategies and may increase the cost of the
(“Proxy Policy”) as required by Rule 206(4)-6 under the Investment             Funds’ investments and cost of doing business, which could adversely
Advisers Act of 1940, as amended. The Proxy Policy has been adopted            affect investors.
by the Trust as the policies and procedures that PIMCO will use when
                                                                               In October 2020, the SEC adopted a rule regarding the ability of a fund
voting proxies on behalf of the Funds. A description of the policies and
                                                                               to invest in other funds. The rule allows a fund to acquire shares of
procedures that PIMCO uses to vote proxies relating to portfolio
                                                                               another fund in excess of certain limitations currently imposed by the
securities of each Fund, and information about how each Fund voted
                                                                               Investment Company Act of 1940 (the “Act”) without obtaining
proxies relating to portfolio securities held during the most recent
                                                                               individual exemptive relief from the SEC, subject to certain conditions.
twelve-month period ended June 30th, are available without charge,
                                                                               The rule also included the rescission of certain exemptive relief from the
upon request, by calling the Trust at (888) 87-PIMCO, on the Funds’
                                                                               SEC and guidance from the SEC staff for funds to invest in other funds.
website at www.pimco.com, and on the Securities and Exchange
                                                                               The impact that these changes may have on the Funds is uncertain.
Commission’s (“SEC”) website at www.sec.gov.
                                                                               In December 2020, the SEC adopted a rule addressing fair valuation of
The Funds file portfolio holdings information with the SEC on
                                                                               fund investments. The new rule sets forth requirements for good faith
Form N-PORT within 60 days of the end of each fiscal quarter. The
                                                                               determinations of fair value as well as for the performance of fair value
Funds’ complete schedules of securities holdings as of the end of each
                                                                               determinations, including related oversight and reporting obligations.
fiscal quarter will be made available to the public on the SEC’s website
                                                                               The new rule also defines “readily available market quotations” for
at www.sec.gov and on PIMCO’s website at www.pimco.com, and will
                                                                               purposes of the definition of “value” under the Act, and the SEC noted
be made available, upon request by calling PIMCO at (888) 87-PIMCO.
                                                                               that this definition will apply in all contexts under the Act. The SEC
The SEC has adopted a rule that allows the Funds to fulfill their              adopted an eighteen-month transition period beginning from the
obligation to deliver shareholder reports to investors by providing            effective date for both the new rule and the associated new
access to such reports online free of charge and by mailing a notice           recordkeeping requirements. The impact of the new rule on the Funds
that the report is electronically available. Pursuant to the rule, investors   is uncertain at this time.
may elect to receive all future reports in paper free of charge by
contacting their financial intermediary or, if invested directly with a
Fund, investors can inform the Fund by calling (888) 87-PIMCO. Any
election to receive reports in paper will apply to all funds held with the
fund complex if invested directly with a Fund or to all funds held in the
investor’s account if invested through a financial intermediary.




6    PIMCO CREDIT BOND FUNDS
                                                                                                                                         Institutional Class - PCARX          Class A - PZCRX
PIMCO Credit Opportunities Bond Fund                                                                                                                      I-2 - PPCRX         Class C - PCCRX

 Cumulative Returns Through March 31, 2021                                                Allocation Breakdown                            Investment Objective and Strategy Overview
                                                                                          as of March 31, 2021†§
       (in millions)
                                                                                                                                            PIMCO Credit Opportunities Bond Fund seeks
$2.0                                                                                      Corporate Bonds & Notes           44.6%           maximum total return, consistent with
                                                                                          Short-Term Instruments‡           22.0%           preservation of capital and prudent investment
                                                                                                                                            management, by investing under normal
                                                                                          Loan Participations
                                                                         INSTITUTIONAL                                                      circumstances at least 80% of its assets in a
                                                                         CLASS              and Assignments                 18.3%
                                                                         $1,422,062                                                         diversified portfolio of Fixed Income Instruments
                                                                                          Asset-Backed Securities            5.3%           of varying maturities, which may be represented
                                                                         INDEX
 1.0                                                                                      Non-Agency Mortgage-                              by forwards or derivatives such as options,
                                                                         $1,093,382
                                                                                            Backed Securities                4.0%           futures contracts or swap agreements. Security
                                                                                          Sovereign Issues                   2.6%           selection, industry and sector allocation, and
                                                                                                                                            management of market risk within and across
                                                                                          U.S. Treasury Obligations          1.5%           credit and corporate markets are expected to be
                                                                                          U.S. Government Agencies           1.3%           the main drivers of returns over time. “Fixed
   0                                                                                                                                        Income Instruments” include bonds, debt
       08/11                      05/16                         03/21                     Other                              0.4%
                                                                                                                                            securities, bank loans and other similar
                                                                                          † % of Investments, at value.
                                                                                                                                            instruments issued by various U.S. and non-U.S.
$1,000,000 invested at the end of the month when the Fund’s Institutional Class                                                             public- or private-sector entities. Fund strategies
                                                                                          § Allocation Breakdown and % of
commenced operations.                                                                                                                       may change from time to time. Please refer to
                                                                                            investments exclude securities sold
                                                                                                                                            the Fund’s current prospectus for more
                                                                                            short and financial derivative
                                                                                                                                            information regarding the Fund’s strategy.
                                                                                            instruments, if any.
                                                                                          ‡ Includes Central Funds Used for
                                                                                                                                          Fund Insights
                                                                                            Cash Management Purposes.                       The following affected performance (on a gross
                                                                                                                                            basis) during the reporting period:
 Average Annual Total Return for the period ended March 31, 2021
                                                                                                                                            » Long exposure to financial companies
                                                                                          1 Year      5 Years       Fund Inception            contributed to performance, as the sector
                                                                                                                      (08/31/11)
                                                                                                                                              posted positive absolute returns.
         PIMCO Credit Opportunities Bond Fund Institutional Class                        14.06%       5.34%           3.74%
                                                                                                                                            » Long exposure to the gaming sector
         PIMCO Credit Opportunities Bond Fund I-2                                        13.92%       5.22%           3.63%                   contributed to performance, as the sector
                                                                                                                                              posted positive absolute returns.
         PIMCO Credit Opportunities Bond Fund Class A                                    13.61%       4.93%           3.33%
         PIMCO Credit Opportunities Bond Fund Class A (adjusted)                         9.40%        4.13%           2.91%                 » Long exposure to the healthcare sector
                                                                                                                                              contributed to performance, as the sector
         PIMCO Credit Opportunities Bond Fund Class C                                    12.73%       4.13%           2.55%                   posted positive absolute returns.
         PIMCO Credit Opportunities Bond Fund Class C (adjusted)                         11.73%       4.13%           2.55%                 » Long exposure to the building materials sector
         3 Month USD LIBOR                                                               0.56%        1.49%           0.94%                   contributed to performance, as the sector
                                                                                                                                              posted positive absolute returns.
         Lipper Absolute Return Bond Funds Average                                       12.95%       4.09%           3.07%
                                                                                                                                            » Long exposure to duration detracted from
All Fund returns are net of fees and expenses and include applicable fee waivers and/or expense limitations. Absent any                       performance, as Treasury yields increased.
applicable fee waivers and/or expense limitations, performance would have been lower and there can be no assurance that any
                                                                                                                                            » Short exposure to the retailer sector detracted
such waivers or limitations will continue in the future.
                                                                                                                                              from performance, as the sector posted
Performance quoted represents past performance. Past performance is not a guarantee or a reliable indicator of future results.                positive absolute returns.
Current performance may be lower or higher than performance shown. Investment return and the principal value of an
investment will fluctuate. Shares may be worth more or less than original cost when redeemed. Returns shown do not reflect the
deduction of taxes that a shareholder would pay on fund distributions or the redemption of fund shares. Differences in the Fund’s
performance versus the index and related attribution information with respect to particular categories of securities or individual
positions may be attributable, in part, to differences in the pricing methodologies used by the Fund and the index. The adjusted
returns take into account the maximum sales charge of 3.75% on Class A shares and 1.00% CDSC on Class C shares. For
performance current to the most recent month-end, visit www.pimco.com or via (888) 87-PIMCO.
The Fund’s total annual operating expense ratio in effect as of period end were 0.92% for Institutional Class shares, 1.02% for
I-2 shares, 1.32% for Class A shares, and 2.07% for Class C shares. Details regarding any changes to the Fund’s operating
expenses, subsequent to period end, can be found in the Fund’s current prospectus, as supplemented.




                                                                                 ANNUAL REPORT | MARCH 31, 2021                      7
                                                                                                                                        Institutional Class - PDIIX Administrative Class - PDAAX
                                                                                                                                                      I-2 - PDVPX                Class A - PDVAX
PIMCO Diversified Income Fund                                                                                                                          I-3 - PDNIX                Class C - PDICX

 Cumulative Returns Through March 31, 2021                                                   Allocation Breakdown                        Investment Objective and Strategy Overview
                                                                                             as of March 31, 2021†§
        (in millions)
                                                                                                                                           PIMCO Diversified Income Fund seeks maximum
$4.0                                                                                         Corporate Bonds & Notes          45.7%        total return, consistent with preservation of
                                                                           INSTITUTIONAL     Sovereign Issues                 15.2%        capital and prudent investment management,
                                                                           CLASS
                                                                           $3,202,180        U.S. Treasury Obligations        12.4%        by investing under normal circumstances at
 3.0                                                                                                                                       least 65% of its total assets in a diversified
                                                                           SECONDARY         Short-Term Instruments‡           9.0%
                                                                           INDEX                                                           portfolio of Fixed Income Instruments of varying
                                                                           $3,095,395        U.S. Government Agencies          5.1%        maturities, which may be represented by
 2.0                                                                       INDEX             Asset-Backed Securities           4.3%        forwards or derivatives such as options, futures
                                                                           $2,501,214                                                      contracts or swap agreements. “Fixed Income
                                                                                             Non-Agency Mortgage-
                                                                                               Backed Securities               3.8%        Instruments” include bonds, debt securities and
 1.0                                                                                                                                       other similar instruments issued by various U.S.
                                                                                             Loan Participations
                                                                                                                                           and non-U.S. public- or private-sector entities.
                                                                                               and Assignments                 2.4%
                                                                                                                                           Fund strategies may change from time to time.
    0                                                                                        Preferred Securities              1.9%        Please refer to the Fund’s current prospectus for
        07/03                       05/12                         03/21                      Other                             0.2%        more information regarding the Fund’s strategy.

$1,000,000 invested at the end of the month when the Fund’s Institutional Class
                                                                                             † % of Investments, at value.               Fund Insights
commenced operations.                                                                        § Allocation Breakdown and % of
                                                                                                                                           The following affected performance (on a gross
                                                                                                investments exclude securities sold
                                                                                                                                           basis) during the reporting period:
                                                                                                short and financial derivative
                                                                                                instruments, if any.                       » Exposure to high yield credit via credit default
                                                                                             ‡ Includes Central Funds Used for               swap index contributed to performance, as
                                                                                                Cash Management Purposes.                    spreads tightened in the sector.
                                                                                                                                           » Exposure to non-Agency residential
 Average Annual Total Return for the period ended March 31, 2021                                                                             mortgage-backed securities contributed to
                                                                                       1 Year     5 Years   10 Years Fund Inception          performance, as spreads tightened in
                                                                                                                       (07/31/03)            the sector.
          PIMCO Diversified Income Fund Institutional Class                          12.15% 6.37% 5.42%                   6.81%            » Underweight exposure to the high yield
          PIMCO Diversified Income Fund I-2                                          12.04% 6.26% 5.31%                   6.70%              industrials sector detracted from performance,
                                                                                                                                             as spreads tightened in the sector.
          PIMCO Diversified Income Fund I-3                                          11.98% 6.21% 5.26%                   6.65%
                                                                                                                                           » Underweight exposure to emerging markets
          PIMCO Diversified Income Fund Administrative Class                         11.87% 6.10% 5.16%                   6.54%              detracted from performance as spreads
          PIMCO Diversified Income Fund Class A                                      11.71% 5.94% 5.00%                   6.38%              tightened within emerging markets.
          PIMCO Diversified Income Fund Class A (adjusted)                             7.52% 5.14% 4.60%                  6.15%            » Underweight exposure to the investment
          PIMCO Diversified Income Fund Class C                                      10.87% 5.15% 4.22%                   5.59%
                                                                                                                                             grade industrials sector detracted from
                                                                                                                                             performance, as spreads tightened in
          PIMCO Diversified Income Fund Class C (adjusted)                             9.87% 5.15% 4.22%                  5.59%              the sector.
          Bloomberg Barclays Global Credit Hedged USD Index                          10.14% 5.06% 5.10%                   5.32%
          1/3 each — Bloomberg Barclays Global Aggregate Credit ex
          Emerging Markets, USD Hedged; ICE BofAML BB-B Rated
          Developed Markets High Yield Constrained Index, USD
          Hedged; and JPMorgan EMBI Global, USD Hedged                               14.40% 5.59% 5.66%                   6.60%
          Lipper Multi-Sector Income Funds Average                                   15.60% 4.84% 4.39%                   5.49%

All Fund returns are net of fees and expenses and include applicable fee waivers and/or expense limitations. Absent any
applicable fee waivers and/or expense limitations, performance would have been lower and there can be no assurance that any
such waivers or limitations will continue in the future.
Performance quoted represents past performance. Past performance is not a guarantee or a reliable indicator of future results.
Current performance may be lower or higher than performance shown. Investment return and the principal value of an
investment will fluctuate. Shares may be worth more or less than original cost when redeemed. Returns shown do not reflect the
deduction of taxes that a shareholder would pay on fund distributions or the redemption of fund shares. Differences in the Fund’s
performance versus the index and related attribution information with respect to particular categories of securities or individual
positions may be attributable, in part, to differences in the pricing methodologies used by the Fund and the index. The adjusted
returns take into account the maximum sales charge of 3.75% on Class A shares and 1.00% CDSC on Class C shares. For
performance current to the most recent month-end, visit www.pimco.com or via (888) 87-PIMCO.
For periods prior to the inception date of a share class launched subsequent to the Fund’s inception date, the performance
information shown is adjusted for the performance of the Fund’s Institutional Class shares. The prior Institutional Class performance
has been adjusted to reflect the distribution and/or service fees and other expenses paid by each respective share class.
The Fund’s total annual operating expense ratio in effect as of period end were 0.79% for Institutional Class shares, 0.89% for
I-2 shares, 0.99% for I-3 shares, 1.04% for Administrative Class shares, 1.19% for Class A shares, and 1.94% for Class C
shares. Details regarding any changes to the Fund’s operating expenses, subsequent to period end, can be found in the Fund’s
current prospectus, as supplemented.

8       PIMCO CREDIT BOND FUNDS
                                                                                                                                         Institutional Class - PEGIX              Class A - PEGAX
                                                                                                                                                         I-2 - PEGPX              Class C - PEGBX
PIMCO ESG Income Fund                                                                                                                                   I-3 - PEGQX

 Cumulative Returns Through March 31, 2021                                                Allocation Breakdown                            Investment Objective and Strategy Overview
                                                                                          as of March 31, 2021†§
                                                                                                                                            The PIMCO ESG Income Fund seeks to maximize current
       (in millions)
$2.0                                                                                      Corporate Bonds & Notes           34.5%           income, while incorporating PIMCO’s ESG investment
                                                                                                                                            strategy, with long-term capital appreciation as a
                                                                                          Non-Agency Mortgage-
                                                                                                                                            secondary objective, by investing under normal
                                                                                            Backed Securities               20.1%
                                                                                                                                            circumstances at least 65% of its total assets in a multi-
                                                                                          Short-Term Instruments‡           14.3%           sector portfolio of Fixed Income Instruments of varying
                                                                         INSTITUTIONAL
                                                                         CLASS            U.S. Government Agencies          13.4%           maturities, which may be represented by forwards or
                                                                         $1,044,306                                                         derivatives such as options, futures contracts or swap
 1.0                                                                                      Asset-Backed Securities           12.9%
                                                                         INDEX                                                              agreements. “Fixed Income Instruments” include bonds,
                                                                         $972,738                                                           debt securities and other similar instruments issued by
                                                                                          Sovereign Issues                   3.2%
                                                                                                                                            various U.S. and non-U.S. public- or private-sector
                                                                                          Preferred Securities               1.3%
                                                                                                                                            entities. The Fund will seek to maintain a high and
                                                                                          Other                              0.3%           consistent level of dividend income by investing in a
                                                                                          † % of Investments, at value.
                                                                                                                                            broad array of fixed income sectors and utilizing income
   0                                                                                                                                        efficient implementation strategies. The capital
       09/20                       12/20                        03/21                     § Allocation Breakdown and % of                   appreciation sought by the Fund generally arises from
                                                                                                                                            decreases in interest rates or improving credit
                                                                                            investments exclude securities sold
$1,000,000 invested at the end of the month when the Fund’s Institutional Class                                                             fundamentals for a particular sector or security.
                                                                                            short and financial derivative
commenced operations.                                                                       instruments, if any.                            The Fund will not invest in the securities of any
                                                                                                                                            non-governmental issuer determined by PIMCO to be
                                                                                          ‡ Includes Central Funds Used for
                                                                                                                                            engaged principally in the manufacturing of alcoholic
                                                                                            Cash Management Purposes.                       beverages, tobacco products or military equipment, the
                                                                                                                                            operation of gambling casinos, the production or trade
 Average Annual Total Return for the period ended March 31, 2021                                                                            of pornographic materials, or in the oil industry,
                                                                                                                                            including extraction, production, and refining or the
                                                                                                                    Fund Inception
                                                                                                                                            production, distribution of coal and coal fired
                                                                                                                     (09/30/20)*
                                                                                                                                            generation. The Fund can invest in the securities of any
         PIMCO ESG Income Fund Institutional Class                                                                    4.43%                 issuer determined by PIMCO to be engaged principally
                                                                                                                                            in biofuel production, natural gas generation and sales
         PIMCO ESG Income Fund I-2                                                                                    4.38%                 and trading activities. To the extent possible on the
         PIMCO ESG Income Fund I-3                                                                                    4.35%                 basis of information available to PIMCO, an issuer will
                                                                                                                                            be deemed to be principally engaged in an activity if it
         PIMCO ESG Income Fund Class A                                                                                4.23%                 derives more than 10% of its gross revenues from such
                                                                                                                                            activities. However, green labeled bonds from issuers
         PIMCO ESG Income Fund Class A (adjusted)                                                                     0.31%
                                                                                                                                            involved in fossil fuel-related sectors may be permitted.
         PIMCO ESG Income Fund Class C                                                                                3.85%                 Labeled green bonds are those issues with proceeds
                                                                                                                                            specifically earmarked to be used for climate and
         PIMCO ESG Income Fund Class C (adjusted)                                                                     2.85%                 environmental projects. Labeled green bonds are often
         Bloomberg Barclays U.S. Aggregate Index                                                                      (2.73)%               verified by a third party, which certifies that the bond
                                                                                                                                            will fund projects that include environmental benefits.
         Lipper Multi-Sector Income Funds Average                                                                     3.63%                 Fund strategies may change from time to time. Please
                                                                                                                                            refer to the Fund’s current prospectus for more
All Fund returns are net of fees and expenses and include applicable fee waivers and/or expense limitations. Absent any                     information regarding the Fund’s strategy.
applicable fee waivers and/or expense limitations, performance would have been lower and there can be no assurance that any
                                                                                                                                          Fund Insights
such waivers or limitations will continue in the future.
                                                                                                                                            The following affected performance (on a gross basis)
* Since Inception Cumulative return.
                                                                                                                                            during the reporting period:
Performance quoted represents past performance. Past performance is not a guarantee or a reliable indicator of future results.              » Holdings of non-Agency mortgage-backed
Current performance may be lower or higher than performance shown. Investment return and the principal value of an                            securities contributed to performance, as prices for
investment will fluctuate. Shares may be worth more or less than original cost when redeemed. Returns shown do not reflect the                these securities appreciated.
deduction of taxes that a shareholder would pay on fund distributions or the redemption of fund shares. Differences in the Fund’s
performance versus the index and related attribution information with respect to particular categories of securities or individual          » Holdings of investment grade corporate credit
                                                                                                                                              contributed to performance, as U.S. corporate
positions may be attributable, in part, to differences in the pricing methodologies used by the Fund and the index. The adjusted
                                                                                                                                              investment grade spreads tightened.
returns take into account the maximum sales charge of 3.75% on Class A shares and 1.00% CDSC on Class C shares. For
performance current to the most recent month-end, visit www.pimco.com or via (888) 87-PIMCO.                                                » Holdings of Agency mortgage-backed securities
                                                                                                                                              contributed to performance, as Agency mortgage-
The Fund’s total annual operating expense ratio in effect as of period end were 0.57% for Institutional Class shares, 0.67% for               backed security spreads tightened.
I-2 shares, 0.77% for I-3 shares, 0.97% for Class A shares, and 1.72% for Class C shares. Details regarding any changes to the
Fund’s operating expenses, subsequent to period end, can be found in the Fund’s current prospectus, as supplemented.                        » Exposure to U.S. duration detracted from
                                                                                                                                              performance, as the U.S. yield curve steepened,
                                                                                                                                              with interest rates rising in the belly and the long-
                                                                                                                                              end of the curve.
                                                                                                                                            » Exposure to U.K. duration detracted from
                                                                                                                                              performance, as interest rates in the U.K. increased.
                                                                                                                                            » Exposure to a basket of emerging market currencies,
                                                                                                                                              including the Brazilian real, dectracted from
                                                                                                                                              performance, as the currencies depreciated in value
                                                                                                                                              versus the U.S. dollar.

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                                                                                                                                     Institutional Class - PHSIX        Class A - PHSAX
                                                                                                                                                     I-2 - PHSPX        Class C - PHSCX
PIMCO High Yield Spectrum Fund                                                                                                                      I-3 - PHFNX

 Cumulative Returns Through March 31, 2021                                                Allocation Breakdown                        Investment Objective and Strategy Overview
                                                                                          as of March 31, 2021†§
         (in millions)
                                                                                                                                        PIMCO High Yield Spectrum Fund seeks
$3.0                                                                                      Corporate Bonds & Notes         88.1%         maximum total return, consistent with prudent
                                                                                          Short-Term Instruments‡          8.4%         investment management, by investing under
                                                                                                                                        normal circumstances at least 80% of its assets
                                                                                          Loan Participations
                                                                                                                                        in high yield investments (“junk bonds”), which
                                                                                            and Assignments                1.5%
 2.0                                                                     INDEX                                                          may be represented by convertibles, warrants,
                                                                         $2,039,095       Preferred Securities             1.1%         forwards or derivatives such as swap
                                                                         INSTITUTIONAL
                                                                         CLASS            Common Stocks                    0.9%         agreements. High yield investments include
                                                                         $2,033,552                                                     securities (i) rated below investment grade by
                                                                                          † % of Investments, at value.
 1.0                                                                                                                                    each of Moody’s Investors Services, Inc.
                                                                                          § Allocation Breakdown and % of               (“Moody’s”), Standard & Poor’s Ratings
                                                                                            investments exclude securities sold         Services (“S&P”) or Fitch, Inc. (“Fitch”) that
                                                                                            short and financial derivative              provides a rating on such investment or, if
     0                                                                                                                                  unrated, determined by PIMCO to be of
         09/10                     12/15                        03/21                       instruments, if any.
                                                                                                                                        comparable quality, or (ii) comprising the ICE
                                                                                          ‡ Includes Central Funds Used for
                                                                                                                                        BofAML Developed Markets High Yield
$1,000,000 invested at the end of the month when the Fund’s Institutional Class             Cash Management Purposes.                   Constrained (USD Hedged) Index (the
commenced operations.                                                                                                                   “Benchmark”). The Fund may invest, without
                                                                                                                                        limitation, in Fixed Income Instruments and
 Average Annual Total Return for the period ended March 31, 2021                                                                        other securities of any rating below investment
                                                                              1 Year      5 Years     10 Years    Fund Inception        grade as rated by Moody’s, or equivalently
                                                                                                                    (09/15/10)          rated by S&P or Fitch, or, if unrated, determined
                                                                                                                                        by PIMCO to be of comparable quality. “Fixed
           PIMCO High Yield Spectrum Fund Institutional Class               22.77%       7.69%        6.54%          7.09%
                                                                                                                                        Income Instruments” include bonds, debt
           PIMCO High Yield Spectrum Fund I-2                               22.65%       7.58%        6.44%          6.99%              securities and other similar instruments issued
                                                                                                                                        by various U.S. and non-U.S. public- or private-
           PIMCO High Yield Spectrum Fund I-3                               22.59%       7.53%        6.39%          6.94%
                                                                                                                                        sector entities. Fund strategies may change
           PIMCO High Yield Spectrum Fund Class A                           22.35%       7.31%        6.17%          6.72%              from time to time. Please refer to the Fund’s
                                                                                                                                        current prospectus for more information
           PIMCO High Yield Spectrum Fund Class A (adjusted)                17.82%       6.49%        5.77%          6.33%
                                                                                                                                        regarding the Fund’s strategy.
           PIMCO High Yield Spectrum Fund Class C                           21.44%       6.52%        5.39%          5.93%            Fund Insights
           PIMCO High Yield Spectrum Fund Class C (adjusted)                20.44%       6.52%        5.39%          5.93%
                                                                                                                                        The following affected performance (on a gross
           ICE BofAML Developed Markets High Yield                                                                                      basis) during the reporting period:
           Constrained (USD Hedged) Index                                   23.34%       7.81%        6.71%          7.09%
                                                                                                                                        » Security selection in the healthcare sector
           Lipper Global High Yield Funds Average                           24.40%       6.44%        5.17%          5.47%/               contributed to performance, as the Fund’s
                                                                                                                                          healthcare positions outperformed the
All Fund returns are net of fees and expenses and include applicable fee waivers and/or expense limitations. Absent any                   broader sector.
applicable fee waivers and/or expense limitations, performance would have been lower and there can be no assurance that any
such waivers or limitations will continue in the future.                                                                                » Security selection in the aerospace and
                                                                                                                                          defense sector contributed to performance, as
/ Average annual total return since 09/30/2010.
                                                                                                                                          the Fund’s aerospace and defense positions
Performance quoted represents past performance. Past performance is not a guarantee or a reliable indicator of future results.            outperformed the broader sector.
Current performance may be lower or higher than performance shown. Investment return and the principal value of an                      » Security selection in the consumer
investment will fluctuate. Shares may be worth more or less than original cost when redeemed. Returns shown do not reflect the            non-cyclicals sector contributed to
deduction of taxes that a shareholder would pay on fund distributions or the redemption of fund shares. Differences in the Fund’s         performance, as the Fund’s consumer
performance versus the index and related attribution information with respect to particular categories of securities or individual        non-cyclical positions outperformed the
positions may be attributable, in part, to differences in the pricing methodologies used by the Fund and the index. The adjusted          broader sector.
returns take into account the maximum sales charge of 3.75% on Class A shares and 1.00% CDSC on Class C shares. For
performance current to the most recent month-end, visit www.pimco.com or via (888) 87-PIMCO.                                            » Overweight exposure to the healthcare sector
                                                                                                                                          detracted from performance, as the sector
For periods prior to the inception date of a share class launched subsequent to the Fund’s inception date, the performance                underperformed the broader market.
information shown is adjusted for the performance of the Fund’s Institutional Class shares. The prior Institutional
Class performance has been adjusted to reflect the distribution and/or service fees and other expenses paid by each respective          » Underweight exposure to the energy sector
share class.                                                                                                                              detracted from performance, as the sector
                                                                                                                                          outperformed the broader market.
The Fund’s total annual operating expense ratio in effect as of period end were 0.62% for Institutional Class shares, 0.72% for
I-2 shares, 0.82% for I-3 shares, 0.97% for Class A shares, and 1.72% for Class C shares. Details regarding any changes to the          » Security selection in the telecommunications
Fund’s operating expenses, subsequent to period end, can be found in the Fund’s current prospectus, as supplemented.                      sector detracted from performance, as the
                                                                                                                                          Fund’s telecommunications positions
                                                                                                                                          underperformed the broader sector.




10       PIMCO CREDIT BOND FUNDS
                                                                                                                                                                Institutional Class - PTCIX
PIMCO Long-Term Credit Bond Fund                                                                                                                                               I-2 - PLCPX

 Cumulative Returns Through March 31, 2021                                                Allocation Breakdown                        Investment Objective and Strategy Overview
                                                                                          as of March 31, 2021†§
       (in millions)
                                                                                                                                       PIMCO Long-Term Credit Bond Fund seeks total
$4.0                                                                                      Corporate Bonds & Notes         58.9%        return which exceeds that of its benchmark,
                                                                         INSTITUTIONAL    U.S. Treasury Obligations       22.3%        consistent with preservation of capital and
                                                                         CLASS                                                         prudent investment management, by investing
                                                                         $3,169,166       Preferred Securities             4.6%
 3.0                                                                                                                                   under normal circumstances at least 80% of its
                                                                         INDEX            Sovereign Issues                 3.8%        assets in a diversified portfolio of Fixed Income
                                                                         $2,809,861
                                                                                          U.S. Government Agencies         3.2%        Instruments of varying maturities, which may be
 2.0                                                                                                                                   represented by forwards or derivatives such as
                                                                                          Loan Participations
                                                                                            and Assignments                2.6%        options, futures contracts or swap agreements.
                                                                                                                                       “Fixed Income Instruments” include bonds,
 1.0                                                                                      Municipal Bonds & Notes          1.7%        debt securities and other similar instruments
                                                                                          Short-Term Instruments‡          1.4%        issued by various U.S. and non-U.S. public- or
                                                                                          Other                            1.5%        private-sector entities. Fund strategies may
   0                                                                                                                                   change from time to time. Please refer to the
       03/09                       03/15                        03/21                     † % of Investments, at value.
                                                                                                                                       Fund’s current prospectus for more information
                                                                                          § Allocation Breakdown and % of
                                                                                                                                       regarding the Fund’s strategy.
$1,000,000 invested at the end of the month when the Fund’s Institutional Class
commenced operations.                                                                       investments exclude securities sold       Fund Insights
                                                                                            short and financial derivative
                                                                                            instruments, if any.                       The following affected performance (on a gross
                                                                                                                                       basis) during the reporting period:
                                                                                          ‡ Includes Central Funds Used for

                                                                                            Cash Management Purposes.                  » Overweight exposure to the financials sector
                                                                                                                                         contributed to performance, as the sector
                                                                                                                                         outperformed the broader investment
 Average Annual Total Return for the period ended March 31, 2021                                                                         grade market.
                                                                                 1 Year   5 Years     10 Years    Fund Inception
                                                                                                                    (03/31/09)         » Tactical exposure to emerging markets debt
                                                                                                                                         contributed to performance, as spreads
         PIMCO Long-Term Credit Bond Fund Institutional Class                9.84%        7.63%       8.44%           10.09%
                                                                                                                                         tightened in the sector.
         PIMCO Long-Term Credit Bond Fund I-2                                9.73%        7.52%       8.33%           9.98%
                                                                                                                                       » Overweight exposure to the wireless sector
         Bloomberg Barclays U.S. Long Credit Index                           8.87%        6.69%       7.23%           8.98%              contributed to performance, as the sector
                                                                                                                                         outperformed the broader investment
         Lipper General Bond Funds Average                                   8.41%        4.94%       4.85%           6.96%
                                                                                                                                         grade market.
All Fund returns are net of fees and expenses and include applicable fee waivers and/or expense limitations. Absent any                » Underweight exposure to the energy sector
applicable fee waivers and/or expense limitations, performance would have been lower and there can be no assurance that any              detracted from performance, as the sector
such waivers or limitations will continue in the future.                                                                                 outperformed the broader investment
                                                                                                                                         grade market.
Performance quoted represents past performance. Past performance is not a guarantee or a reliable indicator of future results.
Current performance may be lower or higher than performance shown. Investment return and the principal value of an                     » Underweight exposure to the chemicals sector
investment will fluctuate. Shares may be worth more or less than original cost when redeemed. Returns shown do not reflect the           detracted from performance, as the sector
deduction of taxes that a shareholder would pay on fund distributions or the redemption of fund shares. Differences in the Fund’s        outperformed the broader investment
performance versus the index and related attribution information with respect to particular categories of securities or individual       grade market.
positions may be attributable, in part, to differences in the pricing methodologies used by the Fund and the index. For
performance current to the most recent month-end, visit www.pimco.com or via (888) 87-PIMCO.
For periods prior to the inception date of a share class launched subsequent to the Fund’s inception date, the performance
information shown is adjusted for the performance of the Fund’s Institutional Class shares. The prior Institutional
Class performance has been adjusted to reflect the distribution and/or service fees and other expenses paid by each respective
share class.
The Fund’s total annual operating expense ratio in effect as of period end were 0.84% for Institutional Class shares, and 0.94%
for I-2 shares. Details regarding any changes to the Fund’s operating expenses, subsequent to period end, can be found in the
Fund’s current prospectus, as supplemented.




                                                                                  ANNUAL REPORT | MARCH 31, 2021                 11
                                                                                                                                     Institutional Class - PSRIX         Class A - PSRZX
PIMCO Low Duration Credit Fund                                                                                                                      I-2 - PSRPX         Class C - PSRWX

 Cumulative Returns Through March 31, 2021                                                Allocation Breakdown                        Investment Objective and Strategy Overview
                                                                                          as of March 31, 2021†§
         (in millions)
                                                                                                                                        PIMCO Low Duration Credit Fund seeks a high
$2.0                                                                                      Loan Participations                           level of current income, consistent with prudent
                                                                         INDEX
                                                                                            and Assignments               87.6%         investment management. Effective May 3,
                                                                         $1,623,332       Short-Term Instruments‡          8.6%         2021, the Fund seeks to achieve its investment
                                                                                                                                        objective by investing under normal
                                                                                          Corporate Bonds & Notes          3.7%
                                                                         INSTITUTIONAL
                                                                         CLASS
                                                                                                                                        circumstances at least 80% of its assets in a
                                                                         $1,377,115       Common Stocks                    0.1%         diversified portfolio of Fixed Income
 1.0                                                                                      † % of Investments, at value.                 Instruments. Prior to May 3, 2021, the Fund
                                                                                                                                        sought to achieve its investment objective by
                                                                                          § Allocation Breakdown and % of
                                                                                                                                        investing under normal circumstances at least
                                                                                            investments exclude securities sold         80% of its assets in a diversified portfolio of
                                                                                            short and financial derivative              floating or adjustable rate senior secured loans,
                                                                                            instruments, if any.                        senior corporate debt and other senior Fixed
     0                                                                                                                                  Income Instruments that effectively enable the
                                                                                          ‡ Includes Central Funds Used for
         05/11                     03/16                        03/21                                                                   Fund to achieve a floating rate of income.
                                                                                            Cash Management Purposes.
                                                                                                                                        “Fixed Income Instruments” include bank loans,
$1,000,000 invested at the end of the month when the Fund’s Institutional Class commenced operations.                                   bonds, debt securities and other similar
                                                                                                                                        instruments issued by various U.S. and non-U.S.
 Average Annual Total Return for the period ended March 31, 2021                                                                        entities. Fund strategies may change from time
                                                                                          1 Year      5 Years     Fund Inception        to time. Please refer to the Fund’s current
                                                                                                                    (04/29/11)          prospectus for more information regarding the
                                                                                                                                        Fund’s strategy.
           PIMCO Low Duration Credit Fund Institutional Class                            11.85%       3.46%          3.28%
                                                                                                                                      Fund Insights
           PIMCO Low Duration Credit Fund I-2                                            11.74%       3.36%          3.17%
           PIMCO Low Duration Credit Fund Class A                                        11.52%       3.16%          2.97%              The following affected performance (on a gross
                                                                                                                                        basis) during the reporting period:
           PIMCO Low Duration Credit Fund Class A (adjusted)                             8.99%        2.69%          2.57%
                                                                                                                                        » Tactical allocation to investment grade credit
           PIMCO Low Duration Credit Fund Class C                                        10.68%       2.39%          2.21%                contributed to performance.
           PIMCO Low Duration Credit Fund Class C (adjusted)                             9.68%        2.39%          2.21%
                                                                                                                                        » Security selection in the gaming, lodging, and
           50% ICE BofAML 1-5 Year US High Yield Constrained Index                                                                        leisure sector contributed to performance, as
           and 50% J.P. Morgan Leveraged Loan Index                                      21.53%       6.29%          5.00%                the Fund’s gaming, lodging, and leisure
                                                                                                                                          positions outperformed the broader sector.
           J.P. Morgan BB/B Leveraged Loan Index                                         18.50%       4.81%          4.20%
                                                                                                                                        » Underweight exposure to the cable and
           Lipper Loan Participation Funds Average                                       17.82%       4.12%          3.30%/
                                                                                                                                          satellite sector contributed to performance,
                                                                                                                                          as the sector underperformed the
All Fund returns are net of fees and expenses and include applicable fee waivers and/or expense limitations. Absent any
                                                                                                                                          broader market.
applicable fee waivers and/or expense limitations, performance would have been lower and there can be no assurance that any
such waivers or limitations will continue in the future.                                                                                » Security selection in the healthcare sector
                                                                                                                                          detracted from performance, as the Fund’s
Effective May 3, 2021, the Fund’s broad-based securities market index is a blend of 50% ICE BofAML 1-5 Year US High Yield
                                                                                                                                          healthcare positions underperformed the
Constrained Index and 50% J.P. Morgan Leveraged Loan Index. The Fund’s new broad-based securities market index was
                                                                                                                                          broader sector.
selected as its use is more closely aligned with the Fund’s principal investment strategies. Prior to May 3, 2021, the Fund’s
broad-based securities market index was the J.P. Morgan BB/B Leveraged Loan Index. Effective May 3, 2021, certain changes               » Security selection in the telecommunications
were made to the Fund’s principal investment strategies. The Fund’s performance information prior to May 3, 2021 relates only             sector detracted from performance, as the
to the Fund’s former principal investment strategies.                                                                                     Fund’s telecommunication positions
/ Average annual total return since 04/30/2011.
                                                                                                                                          underperformed the broader sector.
                                                                                                                                        » Security selection in the services sector
Performance quoted represents past performance. Past performance is not a guarantee or a reliable indicator of future results.            detracted from performance, as the Fund’s
Current performance may be lower or higher than performance shown. Investment return and the principal value of an                        services positions underperformed the
investment will fluctuate. Shares may be worth more or less than original cost when redeemed. Returns shown do not reflect the            broader sector.
deduction of taxes that a shareholder would pay on fund distributions or the redemption of fund shares. Differences in the Fund’s
performance versus the index and related attribution information with respect to particular categories of securities or individual
positions may be attributable, in part, to differences in the pricing methodologies used by the Fund and the index. The adjusted
returns take into account the maximum sales charge of 2.25% on Class A shares and 1.00% CDSC on Class C shares. For
performance current to the most recent month-end, visit www.pimco.com or via (888) 87-PIMCO.
The Fund’s total annual operating expense ratio in effect as of period end were 0.75% for Institutional Class shares, 0.85% for
I-2 shares, 1.05% for Class A shares, and 1.80% for Class C shares. Details regarding any changes to the Fund’s operating
expenses, subsequent to period end, can be found in the Fund’s current prospectus, as supplemented.




12       PIMCO CREDIT BOND FUNDS
                                                                                                                                        Institutional Class - PFIIX          Class A - PFIAX
                                                                                                                                                       I-2 - PFTPX          Class C - PFNCX
PIMCO Low Duration Income Fund                                                                                                                         I-3 - PFNIX        Class C-2 - PLDCX

 Cumulative Returns Through March 31, 2021                                                   Allocation Breakdown                        Investment Objective and Strategy Overview
                                                                                             as of March 31, 2021†§
       (in millions)
                                                                                                                                           PIMCO Low Duration Income Fund seeks to
$2.0                                                                       INSTITUTIONAL
                                                                                             U.S. Government Agencies         34.5%        maximize current income, with long-term
                                                                           CLASS
                                                                                             Corporate Bonds & Notes          23.5%        capital appreciation as a secondary objective, by
                                                                           $1,906,292
                                                                                                                                           investing under normal circumstances at least
                                                                                             Asset-Backed Securities          12.7%
                                                                           INDEX                                                           65% of its total assets in a multi-sector
                                                                           $1,510,682        Non-Agency Mortgage-                          portfolio of Fixed Income Securities of varying
                                                                                               Backed Securities               9.2%        maturities, which may be represented by
 1.0                                                                                         U.S. Treasury Obligations         7.2%        forwards or derivatives such as options, futures
                                                                                             Sovereign Issues                  7.0%        contracts or swap agreements. “Fixed Income
                                                                                                                                           Instruments” include bonds, debt securities and
                                                                                             Loan Participations                           other similar instruments issued by various U.S.
                                                                                               and Assignments                 3.5%        and non-U.S. public- or private-sector entities.
                                                                                             Preferred Securities              1.0%        Fund strategies may change from time to time.
   0                                                                                                                                       Please refer to the Fund’s current prospectus for
       07/04                        11/12                         03/21                      Short-Term Instruments‡           1.0%
                                                                                                                                           more information regarding the Fund’s strategy.
                                                                                             Other                             0.4%
$1,000,000 invested at the end of the month when the Fund’s Institutional Class                                                          Fund Insights
                                                                                             † % of Investments, at value.
commenced operations.
                                                                                             § Allocation Breakdown and % of
                                                                                                                                           The following affected performance (on a gross
                                                                                                                                           basis) during the reporting period:
                                                                                                investments exclude securities sold
                                                                                                short and financial derivative             » Holdings of investment grade corporate credit
                                                                                                instruments, if any.                         contributed to performance, as these
                                                                                             ‡ Includes Central Funds Used for
                                                                                                                                             securities posted positive total returns.
                                                                                                Cash Management Purposes.                  » Holdings of non-agency mortgage backed
                                                                                                                                             securities contributed to performance, as
 Average Annual Total Return for the period ended March 31, 2021                                                                             prices for these securities appreciated.
                                                                                       1 Year     5 Years   10 Years Fund Inception        » Holding of high yield corporate credit
                                                                                                                       (07/30/04)            contributed to performance, as these
         PIMCO Low Duration Income Fund Institutional Class                          12.72% 6.25% 3.69%                   3.95%              securities posted positive returns.
         PIMCO Low Duration Income Fund I-2                                          12.61% 6.15% 3.58%                   3.84%            » Holdings of emerging market external debt
                                                                                                                                             contributed to performance. The JP Morgan
         PIMCO Low Duration Income Fund I-3                                          12.57% 6.11% 3.58%                   3.85%
                                                                                                                                             Emerging Market Bond Index (EMBI Global)
         PIMCO Low Duration Income Fund Class A                                      12.28% 5.83% 3.27%                   3.53%              which generally tracks the total return for U.S.
         PIMCO Low Duration Income Fund Class A (adjusted)                             9.79% 5.34% 3.04%                  3.39%              dollar denominated debt instruments issued
                                                                                                                                             by emerging market sovereign and quasi-
         PIMCO Low Duration Income Fund Class C                                      11.95% 5.51% 2.97%                   3.21%              sovereign entities, posted positive returns.
         PIMCO Low Duration Income Fund Class C (adjusted)                           10.95% 5.51% 2.97%                   3.21%            » Exposure to several Latin American currencies,
         PIMCO Low Duration Income Fund Class C-2                                    11.71% 5.29% 2.77%                   3.04%              including the Argentine peso and Brazilian
                                                                                                                                             real, detracted from performance, as these
         PIMCO Low Duration Income Fund Class C-2 (adjusted)                         10.71% 5.29% 2.77%                   3.04%
                                                                                                                                             currencies depreciated versus the U.S. dollar.
         Bloomberg Barclays U.S. Aggregate 1-3 Years Index                             1.19% 1.96% 1.57%                  2.50%/
                                                                                                                                           » Modest exposure to Austrialian duration
         Lipper Short Investment Grade Debt Funds Average                              6.48% 2.43% 1.85%                  2.46%/             detracted from performance, as interest rates
                                                                                                                                             in Australia increased.
All Fund returns are net of fees and expenses and include applicable fee waivers and/or expense limitations. Absent any
applicable fee waivers and/or expense limitations, performance would have been lower and there can be no assurance that any
such waivers or limitations will continue in the future.
/ Average annual total return since 07/31/2004.


Performance quoted represents past performance. Past performance is not a guarantee or a reliable indicator of future results.
Current performance may be lower or higher than performance shown. Investment return and the principal value of an
investment will fluctuate. Shares may be worth more or less than original cost when redeemed. Returns shown do not reflect the
deduction of taxes that a shareholder would pay on fund distributions or the redemption of fund shares. Differences in the Fund’s
performance versus the index and related attribution information with respect to particular categories of securities or individual
positions may be attributable, in part, to differences in the pricing methodologies used by the Fund and the index. The adjusted
returns take into account the maximum sales charge of 2.25% on Class A shares, 1.00% CDSC on Class C and Class C-2 shares.
For performance current to the most recent month-end, visit www.pimco.com or via (888) 87-PIMCO.
For periods prior to the inception date of a share class launched subsequent to the Fund’s inception date, the performance
information shown is adjusted for the performance of the Fund’s Institutional Class shares. The prior Institutional Class performance
has been adjusted to reflect the distribution and/or service fees and other expenses paid by each respective share class.
The Fund’s total annual operating expense ratio in effect as of period end were 0.55% for Institutional Class shares, 0.65% for
I-2 shares, 0.75% for I-3 shares, 0.95% for Class A shares, 1.25% for Class C shares and 1.45% for Class C-2 shares. Details
regarding any changes to the Fund’s operating expenses, subsequent to period end, can be found in the Fund’s current
prospectus, as supplemented.

                                                                                   ANNUAL REPORT | MARCH 31, 2021                  13
                                                                                                                                     Institutional Class - PFINX          Class A - PFANX
                                                                                                                                                     I-2 - PFPNX           Class C - PFCJX
PIMCO Preferred and Capital Securities Fund                                                                                                         I-3 - PFNNX

 Cumulative Returns Through March 31, 2021                                                Allocation Breakdown                        Investment Objective and Strategy Overview
                                                                                          as of March 31, 2021†§
         (in millions)
                                                                                                                                        PIMCO Preferred and Capital Securities Fund
$2.0                                                                                      Corporate Bonds & Notes         46.1%         seeks maximum total return, consistent with
                                                                         INSTITUTIONAL    Preferred Securities            43.5%         prudent investment management, by investing
                                                                         CLASS
                                                                         $1,535,210                                                     under normal circumstances at least 80% of its
                                                                                          Short-Term Instruments‡          8.4%
                                                                                                                                        assets in a diversified portfolio of preferred
                                                                         INDEX
                                                                                          Common Stocks                    2.0%         securities and Capital Securities. “Capital
                                                                         $1,474,848
                                                                                          † % of Investments, at value.                 Securities” include securities issued by U.S. and
 1.0                                                                                                                                    non-U.S. financial institutions (including, but
                                                                                          § Allocation Breakdown and % of               not limited to, banks and insurance companies)
                                                                                            investments exclude securities sold         that can be used to satisfy their regulatory
                                                                                            short and financial derivative              capital requirements. Capital Securities may be
                                                                                            instruments, if any.                        represented by forwards or derivatives such as
                                                                                          ‡ Includes Central Funds Used for
                                                                                                                                        options, futures contracts or swap agreements.
     0                                                                                                                                  The Fund will invest under normal
         04/15                     03/18                        03/21                       Cash Management Purposes.
                                                                                                                                        circumstances at least 25% of its net assets in
                                                                                                                                        preferred securities. Assets not invested in
$1,000,000 invested at the end of the month when the Fund’s Institutional Class commenced operations.                                   preferred securities or Capital Securities may be
                                                                                                                                        invested in other types of Fixed Income
 Average Annual Total Return for the period ended March 31, 2021                                                                        Instruments, including derivative Fixed Income
                                                                                          1 Year      5 Years     Fund Inception        Instruments. “Fixed Income Instruments”
                                                                                                                    (04/13/15)          include bonds, debt securities and other similar
                                                                                                                                        instruments issued by various U.S. and non-U.S.
           PIMCO Preferred and Capital Securities Fund Institutional Class               24.86%       9.29%          7.39%
                                                                                                                                        public- or private-sector entities. Fund strategies
           PIMCO Preferred and Capital Securities Fund I-2                               24.70%       9.14%          7.29%              may change from time to time. Please refer to
                                                                                                                                        the Fund’s current prospectus for more
           PIMCO Preferred and Capital Securities Fund I-3                               24.82%       9.13%          7.24%
                                                                                                                                        information regarding the Fund’s strategy.
           PIMCO Preferred and Capital Securities Fund Class A                           24.46%       8.90%          7.02%            Fund Insights
           PIMCO Preferred and Capital Securities Fund Class A (adjusted)                19.77%       8.06%          6.34%
                                                                                                                                        The following affected performance (on a gross
           PIMCO Preferred and Capital Securities Fund Class C                           23.66%       8.12%          6.24%              basis) during the reporting period:
           PIMCO Preferred and Capital Securities Fund Class C (adjusted)                22.66%       8.12%          6.24%              » Overweight exposure to Dutch Additional
           70% ICE BofAML 8% Constrained Core West Preferred & Jr                                                                         Tier 1 securities contributed to performance,
           Subordinated Securities Index (P8JC) and 30% ICE BofAML                                                                        as the sector posted positive returns.
           Contingent Capital Index (COCO)                                               22.99%       7.71%          6.68%              » Overweight exposure to United Kingdom
           Lipper Flexible Income Funds Average                                          22.63%       5.77%          4.82%/               Additional Tier 1 securities contributed to
                                                                                                                                          performance, as the sector posted
All Fund returns are net of fees and expenses and include applicable fee waivers and/or expense limitations. Absent any                   positive returns.
applicable fee waivers and/or expense limitations, performance would have been lower and there can be no assurance that any             » Overweight exposure to Spanish Additional
such waivers or limitations will continue in the future.                                                                                  Tier 1 securities contributed to performance,
/ Average annual total return since 04/30/2015.                                                                                           as the sector posted positive returns.

Performance quoted represents past performance. Past performance is not a guarantee or a reliable indicator of future results.          » Underweight exposure to $25 par retail
Current performance may be lower or higher than performance shown. Investment return and the principal value of an                        preferred securities detracted from
investment will fluctuate. Shares may be worth more or less than original cost when redeemed. Returns shown do not reflect the            performance, as the sector posted
deduction of taxes that a shareholder would pay on fund distributions or the redemption of fund shares. Differences in the Fund’s         positive returns.
performance versus the index and related attribution information with respect to particular categories of securities or individual      » Underweight exposure to insurance capital
positions may be attributable, in part, to differences in the pricing methodologies used by the Fund and the index. The adjusted          securities detracted from performance, as the
returns take into account the maximum sales charge of 3.75% on Class A shares and 1.00% CDSC on Class C shares. For                       sector posted positive returns.
performance current to the most recent month-end, visit www.pimco.com or via (888) 87-PIMCO.
                                                                                                                                        » Underweight exposure to German Additional
For periods prior to the inception date of a share class launched subsequent to the Fund’s inception date, the performance                Tier 1 securities detracted from performance,
information shown is adjusted for the performance of the Fund’s Institutional Class shares. The prior Institutional                       as the sector posted positive returns.
Class performance has been adjusted to reflect the distribution and/or service fees and other expenses paid by each respective
share class.
The Fund’s total annual operating expense ratio in effect as of period end, which includes the Acquired Fund Fees and Expenses
(Commodity Subsidiary expenses), were 0.88% for Institutional Class shares, 0.98% for I-2 shares, 1.08% for I-3 shares, 1.23%
for Class A shares, and 1.98% for Class C shares. Details regarding any changes to the Fund’s operating expenses, subsequent
to period end, can be found in the Fund’s current prospectus, as supplemented.




14       PIMCO CREDIT BOND FUNDS
Expense Examples

Example
As a shareholder of a Fund, you incur two types of costs: (1) transaction costs, including sales charges (loads) on purchase payments and exchange
fees and (2) ongoing costs, including investment advisory fees, supervisory and administrative fees, distribution and/or service (12b-1) fees (if
applicable), and other Fund expenses. The Example is intended to help you understand your ongoing costs (in dollars) of investing in the Fund and
to compare these costs with the ongoing costs of investing in other mutual funds.

The Example is based on an investment of $1,000 invested at the beginning of the period and held for the entire period indicated, which for all
Funds and share classes is from October 1, 2020 to March 31, 2021 unless noted otherwise in the table and footnotes below.

Actual Expenses
The information in the table under the heading “Actual” provides information about actual account values and actual expenses. You may use this
information, together with the amount you invested, to estimate the expenses that you paid over the period. Simply divide your account value by
$1,000 (for example, an $8,600 account value divided by $1,000 = 8.60), then multiply the result by the number in the appropriate row for your
share class, in the column titled “Expenses Paid During Period” to estimate the expenses you paid on your account during this period.

Hypothetical Example for Comparison Purposes
The information in the table under the heading “Hypothetical (5% return before expenses)” provides information about hypothetical account values
and hypothetical expenses based on a Fund’s actual expense ratio and an assumed rate of return of 5% per year before expenses, which is not the
Fund’s actual return. The hypothetical account values and expenses may not be used to estimate the actual ending account balance or expenses you
paid for the period. You may use this information to compare the ongoing costs of investing in a Fund and other funds. To do so, compare this 5%
hypothetical example with the 5% hypothetical examples that appear in the shareholder reports of the other funds.

Please note that the expenses shown in the table are meant to highlight your ongoing costs only and do not reflect any Acquired Fund Fees and
Expenses or transactional costs, such as sales charges (loads) on purchase payments and exchange fees, if any. Therefore, the information under the
heading “Hypothetical (5% return before expenses)” is useful in comparing ongoing costs only, and will not help you determine the relative total
costs of owning different funds. In addition, if these transactional costs were included, your costs would have been higher.

Expense ratios may vary period to period because of various factors, such as an increase in expenses that are not covered by the investment advisory
fees and supervisory and administrative fees, such as fees and expenses of the independent trustees and their counsel, extraordinary expenses and
interest expense.
                                                                                                               Hypothetical
                                                                 Actual                                 (5% return before expenses)
                                                Beginning         Ending      Expenses Paid      Beginning         Ending      Expenses Paid     Net Annualized
                                              Account Value   Account Value   During Period*   Account Value   Account Value   During Period*   Expense Ratio**
                                                (10/01/20)      (03/31/21)                       (10/01/20)      (03/31/21)

PIMCO Credit Opportunities Bond Fund
Institutional Class                            $ 1,000.00      $ 1,039.40        $ 4.58         $ 1,000.00      $ 1,020.44        $ 4.53             0.90%
I-2                                              1,000.00        1,038.10          5.08           1,000.00        1,019.95          5.04             1.00
Class A                                          1,000.00        1,037.10          6.60           1,000.00        1,018.45          6.54             1.30
Class C                                          1,000.00        1,033.10         10.39           1,000.00        1,014.71         10.30             2.05
PIMCO Diversified Income Fund
Institutional Class                            $ 1,000.00      $ 1,018.60        $ 3.88         $ 1,000.00      $ 1,021.09        $ 3.88             0.77%
I-2                                              1,000.00        1,018.10          4.38           1,000.00        1,020.59          4.38             0.87
I-3                                              1,000.00        1,017.90          4.63           1,000.00        1,020.34          4.63             0.92
Administrative Class                             1,000.00        1,017.40          5.13           1,000.00        1,019.85          5.14             1.02
Class A                                          1,000.00        1,016.60          5.88           1,000.00        1,019.10          5.89             1.17
Class C                                          1,000.00        1,012.80          9.64           1,000.00        1,015.36          9.65             1.92
PIMCO ESG Income Fund(a)
Institutional Class                            $ 1,000.00      $ 1,044.30        $ 2.65         $ 1,000.00      $ 1,022.34        $ 2.62             0.52%
I-2                                              1,000.00        1,043.80          3.16           1,000.00        1,021.84          3.13             0.62
I-3                                              1,000.00        1,043.50          3.41           1,000.00        1,021.59          3.38             0.67
Class A                                          1,000.00        1,042.30          4.68           1,000.00        1,020.34          4.63             0.92
Class C                                          1,000.00        1,038.50          8.49           1,000.00        1,016.60          8.40             1.67


                                                                                                                   ANNUAL REPORT | MARCH 31, 2021            15
Expense Examples (Cont.)
                                                                                                                                    Hypothetical
                                                                                 Actual                                      (5% return before expenses)
                                                             Beginning           Ending        Expenses Paid        Beginning           Ending        Expenses Paid        Net Annualized
                                                           Account Value     Account Value     During Period*     Account Value     Account Value     During Period*      Expense Ratio**
                                                             (10/01/20)        (03/31/21)                           (10/01/20)        (03/31/21)

 PIMCO High Yield Spectrum Fund
 Institutional Class                                        $ 1,000.00        $ 1,080.00           $ 3.16           $ 1,000.00        $ 1,021.89           $ 3.07               0.61%
 I-2                                                          1,000.00          1,079.50             3.68             1,000.00          1,021.39             3.58               0.71
 I-3                                                          1,000.00          1,079.20             3.94             1,000.00          1,021.14             3.83               0.76
 Class A                                                      1,000.00          1,078.10             4.97             1,000.00          1,020.14             4.84               0.96
 Class C                                                      1,000.00          1,074.10             8.84             1,000.00          1,016.40             8.60               1.71
 PIMCO Long-Term Credit Bond Fund
 Institutional Class                                        $ 1,000.00        $ 966.40             $ 2.79           $ 1,000.00        $ 1,022.09           $ 2.87               0.57%
 I-2                                                          1,000.00          965.90               3.28             1,000.00          1,021.59             3.38               0.67
 PIMCO Low Duration Credit Fund
 Institutional Class                                        $ 1,000.00        $ 1,036.20           $ 3.76           $ 1,000.00        $ 1,021.24           $ 3.73               0.74%
 I-2                                                          1,000.00          1,035.70             4.26             1,000.00          1,020.74             4.23               0.84
 Class A                                                      1,000.00          1,034.70             5.28             1,000.00          1,019.75             5.24               1.04
 Class C                                                      1,000.00          1,030.80             9.06             1,000.00          1,016.01             9.00               1.79
 PIMCO Low Duration Income Fund
 Institutional Class                                        $ 1,000.00        $ 1,043.30           $ 2.70           $ 1,000.00        $ 1,022.29           $ 2.67               0.53%
 I-2                                                          1,000.00          1,042.70             3.21             1,000.00          1,021.79             3.18               0.63
 I-3                                                          1,000.00          1,042.50             3.46             1,000.00          1,021.54             3.43               0.68
 Class A                                                      1,000.00          1,041.20             4.73             1,000.00          1,020.29             4.68               0.93
 Class C                                                      1,000.00          1,039.60             6.25             1,000.00          1,018.80             6.19               1.23
 Class C-2(b)                                                 1,000.00          1,038.60             6.43             1,000.00          1,015.75             6.36               1.43
 PIMCO Preferred and Capital Securities
     Fund (Consolidated)
 Institutional Class                                        $ 1,000.00        $ 1,077.70           $ 4.14           $ 1,000.00        $ 1,020.94           $ 4.03               0.80%
 I-2                                                          1,000.00          1,077.20             4.66             1,000.00          1,020.44             4.53               0.90
 I-3                                                          1,000.00          1,076.80             4.92             1,000.00          1,020.19             4.78               0.95
 Class A                                                      1,000.00          1,076.30             5.95             1,000.00          1,019.20             5.79               1.15
 Class C                                                      1,000.00          1,072.50             9.82             1,000.00          1,015.46             9.55               1.90

* Expenses Paid During Period are equal to the net annualized expense ratio for the class, multiplied by the average account value over the period, multiplied by 182/365 (to reflect the
one-half year period).
** Net Annualized Expense Ratio is reflective of any applicable contractual fee waivers and/or expense reimbursements or voluntary fee waivers. Details regarding fee waivers, if any, can
be found in Note 9, Fees and Expenses, in the Notes to Financial Statements.
(a) The Beginning Account Value is reflective as of 09/30/20 which is the Fund’s inception date.

(b) The Beginning Account Value is reflective as of 10/21/20 for Actual expense. Expenses paid in the Actual expense section are equal to the net annualized expense ratio for the class,

multiplied by the average account value over the period, multiplied by 161/365 for Class C-2 shares of the PIMCO Low Duration Income Fund (to reflect the period since the inception
date of 10/21/20). Hypothetical expenses reflect an amount as if the class had been operational for the entire fiscal half year.




16    PIMCO CREDIT BOND FUNDS
Benchmark Descriptions
Index*                                         Benchmark Description

50% ICE BofAML 1-5 Year US High Yield          The benchmark is a blend of 50% ICE BofAML 1-5 Year US High Yield Constrained Index and 50%
Constrained Index and 50% J.P. Morgan          J.P. Morgan Leveraged Loan Index. The ICE BofAML 1-5 Year US High Yield Constrained Index is
Leveraged Loan Index                           designed to track the performance of short-term U.S. dollar denominated below investment grade
                                               corporate debt publicly issued in the U.S. domestic market with at least one year and less than five
                                               years remaining term to final maturity, at least 18 months to final maturity at issuance, a fixed
                                               coupon schedule and a minimum amount outstanding of $250 million. The J.P. Morgan Leveraged
                                               Loan Index is designed to mirror the investable universe of USD institutional leveraged loans and is
                                               comprised of issuers domiciled across global markets (the international component is comprised of
                                               developed market-domiciled issuers only).
1/3 each — Bloomberg Barclays Global           The Bloomberg Barclays Global Aggregate Credit ex Emerging Markets (USD Hedged) provides a
Aggregate Credit ex Emerging Markets,          broad-based measure of the global developed markets investment-grade fixed income markets. The
USD Hedged; ICE BofAML BB-B Rated              ICE BofAML BB-B Rated Developed Markets High Yield Constrained Index (USD Hedged) tracks the
Developed Markets High Yield Constrained       performance of below investment grade bonds of corporate issuers domiciled in developed market
Index, USD Hedged; and JPMorgan EMBI           countries rated BB1 through B3, based on an average of Moody’s, S&P and Fitch. Qualifying bonds
Global, USD Hedged                             are capitalization-weighted provided the total allocation to an individual issuer (defined by
                                               Bloomberg tickers) does not exceed 2%. Issuers that exceed the limit are reduced to 2% and the face
                                               value of each of their bonds is adjusted on a pro-rata basis. Similarly, the face value of bonds of all
                                               other issuers that fall below the 2% cap are increased on a pro-rata basis. The index is rebalanced on
                                               the last calendar day of the month. The JPMorgan EMBI Global (USD Hedged) tracks total returns for
                                               U.S. dollar-denominated debt instruments issued by emerging market sovereign and quasi-sovereign
                                               entities, Brady bonds, loans, Eurobonds and local market instruments.
3 Month USD LIBOR                              The 3 Month USD LIBOR (London Interbank Offered Rate) is an average interest rate, determined
                                               by the ICE Benchmark Administration, that banks charge one another for the use of short-term
                                               money (3 months) in England’s Eurodollar market.
70% ICE BofAML 8% Constrained Core West        The benchmark is a blend of 70% ICE BofAML 8% Constrained Core West Preferred & Jr
Preferred & Jr Subordinated Securities Index   Subordinated Securities Index (P8JC) and 30% ICE BofAML Contingent Capital Index (COCO). The ICE
(P8JC) and 30% ICE BofAML Contingent           BofAML 8% Constrained Core West Preferred & Jr Subordinated Securities Index tracks the
Capital Index (COCO)                           performance of US dollar denominated high grade and high yield preferred securities and deeply
                                               subordinated corporate debt issued in the US domestic market. Qualifying securities must be rated at
                                               least B3, based on an average of Moody’s, S&P and Fitch and have a country of risk of either the U.S.
                                               or a Western European country. Qualifying preferred securities must be issued as public securities or
                                               through a 144a filing, must have a fixed or floating dividend schedule and must have a minimum
                                               amount outstanding of $100 million. The ICE BofAML Contingent Capital Index tracks the
                                               performance of investment grade and below investment grade contingent capital debt publicly issued
                                               in the major domestic and eurobond markets. Qualifying securities must have a capital-dependent
                                               conversion feature and must be rated by either Moody’s, S&P or Fitch. In addition, qualifying securities
                                               must have at least one month remaining term to final maturity and at least 18 months to maturity at
                                               point of issuance. For investment grade debt, qualifying currencies and their respective minimum size
                                               requirements (in local currency terms) are: AUD 100 million; CAD 100 million; EUR 250 million; JPY
                                               20 billion; GBP 100 million; and USD 250 million. For below investment grade debt, minimum size
                                               requirements are CAD 100 million, EUR 100 million, GBP 50 million, or USD 100 million.
Bloomberg Barclays Global Credit Hedged        Bloomberg Barclays Global Credit Hedged USD contains investment grade and high yield credit
USD Index                                      securities from the Multiverse represented in US Dollars on a hedged basis, (Multiverse is the
                                               merger of two groups: the Global Aggregate and the Global High Yield).
Bloomberg Barclays U.S. Aggregate              Bloomberg Barclays U.S. Aggregate 1-3 Years Index represents securities that are SEC-registered,
1-3 Years Index                                taxable, and dollar denominated with a maturity between one and three years. The index covers
                                               the U.S. investment grade fixed rate bond market, with index components for government and
                                               corporate securities, mortgage pass-through securities, and asset-backed securities.
Bloomberg Barclays U.S. Aggregate Index        Bloomberg Barclays U.S. Aggregate Index represents securities that are SEC-registered, taxable,
                                               and dollar denominated. The index covers the U.S. investment grade fixed rate bond market, with
                                               index components for government and corporate securities, mortgage pass-through securities, and
                                               asset-backed securities. These major sectors are subdivided into more specific indices that are
                                               calculated and reported on a regular basis.




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Benchmark Descriptions (Cont.)
Index*                                                           Benchmark Description

Bloomberg Barclays U.S. Long Credit Index                        Bloomberg Barclays U.S. Long Credit Index includes both corporate and non-corporate sectors with
                                                                 maturities equal to or greater than 10 years. The corporate sectors are Industrial, Utility, and
                                                                 Finance, which include both U.S. and non-U.S. corporations. The non-corporate sectors are
                                                                 Sovereign, Supranational, Foreign Agency, and Foreign Local Government.
ICE BofAML Developed Markets High Yield                          The ICE BofAML Developed Markets High Yield Constrained (USD Hedged) Index is a
Constrained (USD Hedged) Index                                   subcomponent of the ICE BofAML Global High Yield Constrained (USD Hedged) Index that
                                                                 excludes all non-developed countries.
J.P. Morgan BB/B Leveraged Loan Index                            The J.P. Morgan BB/B Leveraged Loan Index is a subset of the broader Leveraged Loan Index, and
                                                                 as such follows all of the same inclusion rules, loan selection methodology and the rebalance
                                                                 process, with the sole exception being the tranche rating criteria.
* It is not possible to invest directly in an unmanaged index.




18    PIMCO CREDIT BOND FUNDS
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Financial Highlights
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital       Total

PIMCO Credit Opportunities Bond Fund
Institutional Class
     03/31/2021                                         $ 9.07              $ 0.30            $ 0.97            $ 1.27      $ (0.35)    $ 0.00             $ 0.00       $ (0.35)
     03/31/2020                                            9.90               0.41              (0.85)            (0.44)      (0.39)      0.00               0.00         (0.39)
     03/31/2019                                           10.08               0.46              (0.19)             0.27       (0.45)      0.00               0.00         (0.45)
     03/31/2018                                           10.04               0.38               0.06              0.44       (0.40)      0.00               0.00         (0.40)
     03/31/2017                                            9.32               0.44               0.59              1.03       (0.31)      0.00               0.00         (0.31)
I-2
     03/31/2021                                             9.03               0.29               0.96             1.25       (0.34)       0.00               0.00        (0.34)
     03/31/2020                                             9.86               0.40              (0.84)           (0.44)      (0.39)       0.00               0.00        (0.39)
     03/31/2019                                            10.05               0.45              (0.20)            0.25       (0.44)       0.00               0.00        (0.44)
     03/31/2018                                            10.01               0.38               0.05             0.43       (0.39)       0.00               0.00        (0.39)
     03/31/2017                                             9.30               0.42               0.60             1.02       (0.31)       0.00               0.00        (0.31)
Class A
     03/31/2021                                             9.08               0.26               0.97             1.23       (0.31)       0.00               0.00        (0.31)
     03/31/2020                                             9.91               0.37              (0.84)           (0.47)      (0.36)       0.00               0.00        (0.36)
     03/31/2019                                            10.10               0.42              (0.20)            0.22       (0.41)       0.00               0.00        (0.41)
     03/31/2018                                            10.06               0.35               0.05             0.40       (0.36)       0.00               0.00        (0.36)
     03/31/2017                                             9.34               0.42               0.58             1.00       (0.28)       0.00               0.00        (0.28)
Class C
     03/31/2021                                              8.95              0.18               0.95             1.13       (0.23)       0.00               0.00        (0.23)
     03/31/2020                                              9.78              0.30              (0.84)           (0.54)      (0.29)       0.00               0.00        (0.29)
     03/31/2019                                              9.96              0.34              (0.19)            0.15       (0.33)       0.00               0.00        (0.33)
     03/31/2018                                              9.94              0.26               0.05             0.31       (0.29)       0.00               0.00        (0.29)
     03/31/2017                                              9.26              0.33               0.58             0.91       (0.23)       0.00               0.00        (0.23)
PIMCO Diversified Income Fund
Institutional Class
     03/31/2021                                         $ 10.21             $ 0.34            $ 0.89            $ 1.23      $ (0.40)    $ 0.00             $ 0.00       $ (0.40)
     03/31/2020                                           10.86               0.35              (0.48)            (0.13)      (0.50)     (0.02)              0.00         (0.52)
     03/31/2019                                           10.77               0.37               0.20              0.57       (0.48)      0.00               0.00         (0.48)
     03/31/2018                                           10.78               0.37               0.14              0.51       (0.51)      0.00              (0.01)        (0.52)
     03/31/2017                                           10.15               0.47               0.68              1.15       (0.52)      0.00               0.00         (0.52)
I-2
     03/31/2021                                            10.21               0.33               0.89             1.22       (0.39)       0.00               0.00        (0.39)
     03/31/2020                                            10.86               0.34              (0.48)           (0.14)      (0.49)      (0.02)              0.00        (0.51)
     03/31/2019                                            10.77               0.35               0.20             0.55       (0.46)       0.00               0.00        (0.46)
     03/31/2018                                            10.78               0.35               0.15             0.50       (0.50)       0.00              (0.01)       (0.51)
     03/31/2017                                            10.15               0.46               0.68             1.14       (0.51)       0.00               0.00        (0.51)
I-3
     03/31/2021                                            10.21               0.32               0.90             1.22       (0.39)       0.00               0.00        (0.39)
     03/31/2020                                            10.86               0.34              (0.49)           (0.15)      (0.48)      (0.02)              0.00        (0.50)
     04/27/2018 - 03/31/2019                               10.72               0.35               0.22             0.57       (0.43)       0.00               0.00        (0.43)
Administrative Class
     03/31/2021                                            10.21               0.31               0.90             1.21       (0.38)       0.00               0.00        (0.38)
     03/31/2020                                            10.86               0.33              (0.49)           (0.16)      (0.47)      (0.02)              0.00        (0.49)
     03/31/2019                                            10.77               0.36               0.18             0.54       (0.45)       0.00               0.00        (0.45)
     03/31/2018                                            10.78               0.34               0.14             0.48       (0.48)       0.00              (0.01)       (0.49)
     03/31/2017                                            10.15               0.44               0.68             1.12       (0.49)       0.00               0.00        (0.49)
Class A
     03/31/2021                                            10.21               0.29               0.90             1.19       (0.36)       0.00               0.00        (0.36)
     03/31/2020                                            10.86               0.31              (0.49)           (0.18)      (0.45)      (0.02)              0.00        (0.47)
     03/31/2019                                            10.77               0.32               0.20             0.52       (0.43)       0.00               0.00        (0.43)
     03/31/2018                                            10.78               0.32               0.14             0.46       (0.46)       0.00              (0.01)       (0.47)
     03/31/2017                                            10.15               0.43               0.68             1.11       (0.48)       0.00               0.00        (0.48)
Class C
     03/31/2021                                            10.21               0.21               0.90             1.11       (0.28)       0.00               0.00        (0.28)
     03/31/2020                                            10.86               0.23              (0.49)           (0.26)      (0.37)      (0.02)              0.00        (0.39)
     03/31/2019                                            10.77               0.24               0.20             0.44       (0.35)       0.00               0.00        (0.35)
     03/31/2018                                            10.78               0.24               0.14             0.38       (0.38)       0.00              (0.01)       (0.39)
     03/31/2017                                            10.15               0.35               0.68             1.03       (0.40)       0.00               0.00        (0.40)


20     PIMCO CREDIT BOND FUNDS                                                                                                                              See Accompanying Notes
                                                                    Ratios/Supplemental Data
                                                                   Ratios to Average Net Assets
                                                                                              Expenses
 Net Asset                       Net Assets                                 Expenses          Excluding
Value End of                     End of Year              Expenses          Excluding          Interest         Net        Portfolio
  Year or                         or Period               Excluding          Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)     (000s)      Expenses    Waivers           Expense           Waivers     Income (Loss)     Rate




 $ 9.99            14.06%        $   268,038     0.90%      0.90%              0.90%              0.90%        3.10%          99%
    9.07           (4.69)            232,487     0.92       0.92               0.90               0.90         4.13          138
    9.90            2.77             289,576     0.93       0.93               0.90               0.90         4.60          110
   10.08            4.38             353,288     0.91       0.91               0.90               0.90         3.72          100
   10.04           11.23             342,617     0.91       0.91               0.90               0.90         4.50          146

     9.94          13.92             115,116     1.00       1.00               1.00               1.00         3.01           99
     9.03          (4.78)             55,030     1.02       1.02               1.00               1.00         4.03          138
     9.86           2.58              47,743     1.03       1.03               1.00               1.00         4.51          110
    10.05           4.33              58,119     1.01       1.01               1.00               1.00         3.71          100
    10.01          11.10              28,172     1.01       1.01               1.00               1.00         4.25          146

    10.00          13.61              19,542     1.30       1.30               1.30               1.30         2.68           99
     9.08          (5.01)             19,607     1.32       1.32               1.30               1.30         3.73          138
     9.91           2.24              23,099     1.33       1.33               1.30               1.30         4.20          110
    10.10           4.03              30,228     1.31       1.31               1.30               1.30         3.41          100
    10.06          10.79              10,740     1.31       1.31               1.30               1.30         4.30          146

     9.85          12.73               3,866     2.05       2.05               2.05               2.05         1.91           99
     8.95          (5.75)              5,206     2.07       2.07               2.05               2.05         3.00          138
     9.78           1.63               5,834     2.08       2.08               2.05               2.05         3.45          110
     9.96           3.13               7,532     2.06       2.06               2.05               2.05         2.58          100
     9.94           9.91               6,835     2.06       2.06               2.05               2.05         3.43          146



 $ 11.04           12.15%        $ 4,132,019     0.77%      0.77%              0.75%              0.75%        3.04%         110%
   10.21           (1.45)          2,852,619     0.79       0.79               0.75               0.75         3.19          127
   10.86            5.45           2,627,609     0.79       0.79               0.75               0.75         3.45          105
   10.77            4.75           2,558,977     0.77       0.77               0.75               0.75         3.36          146
   10.78           11.53           2,383,388     0.77       0.77               0.76               0.76         4.42          156

    11.04          12.04             670,322     0.87       0.87               0.85               0.85         2.94          110
    10.21          (1.55)            335,490     0.89       0.89               0.85               0.85         3.07          127
    10.86           5.34             169,410     0.89       0.89               0.85               0.85         3.35          105
    10.77           4.64             129,856     0.87       0.87               0.85               0.85         3.25          146
    10.78          11.42              84,476     0.87       0.87               0.86               0.86         4.27          156

    11.04          11.98              27,498     0.92       0.97               0.90               0.95         2.88          110
    10.21          (1.60)             13,637     0.94       0.99               0.90               0.95         3.03          127
    10.86           5.47               3,619     0.94*      0.99*              0.90*              0.95*        3.55*         105

    11.04          11.87              10,752     1.02       1.02               1.00               1.00         2.83          110
    10.21          (1.70)            159,259     1.04       1.04               1.00               1.00         2.94          127
    10.86           5.19             155,936     1.04       1.04               1.00               1.00         3.36          105
    10.77           4.49              10,049     1.02       1.02               1.00               1.00         3.12          146
    10.78          11.25              12,535     1.02       1.02               1.01               1.01         4.09          156

    11.04          11.71             361,780     1.17       1.17               1.15               1.15         2.64          110
    10.21          (1.84)            297,090     1.19       1.19               1.15               1.15         2.78          127
    10.86           5.03             251,911     1.19       1.19               1.15               1.15         3.04          105
    10.77           4.33             260,394     1.17       1.17               1.15               1.15         2.97          146
    10.78          11.09             167,491     1.17       1.17               1.16               1.16         4.02          156

    11.04          10.87              67,889     1.92       1.92               1.90               1.90         1.89          110
    10.21          (2.58)             77,114     1.94       1.94               1.90               1.90         2.04          127
    10.86           4.25              73,261     1.94       1.94               1.90               1.90         2.29          105
    10.77           3.56              82,085     1.92       1.92               1.90               1.90         2.22          146
    10.78          10.26             104,368     1.92       1.92               1.91               1.91         3.29          156


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Financial Highlights (Cont.)
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital       Total

PIMCO ESG Income Fund
Institutional Class
     09/30/2020 - 03/31/2021                            $ 10.00             $ 0.10            $ 0.34            $ 0.44      $ (0.09)    $ 0.00            $ 0.00        $ (0.09)
I-2
     09/30/2020 - 03/31/2021                               10.00               0.09              0.35              0.44       (0.09)       0.00               0.00        (0.09)
I-3
     09/30/2020 - 03/31/2021                               10.00               0.09              0.34              0.43       (0.08)       0.00               0.00        (0.08)
Class A
     09/30/2020 - 03/31/2021                               10.00               0.07              0.35              0.42       (0.07)       0.00               0.00        (0.07)
Class C
     09/30/2020 - 03/31/2021                               10.00               0.03              0.35              0.38       (0.03)       0.00               0.00        (0.03)
PIMCO High Yield Spectrum Fund
Institutional Class
     03/31/2021                                         $ 8.58              $ 0.45            $ 1.47            $ 1.92      $ (0.47)    $ 0.00            $ 0.00        $ (0.47)
     03/31/2020                                           9.71                0.54              (1.12)            (0.58)      (0.55)      0.00               0.00         (0.55)
     03/31/2019                                           9.78                0.57              (0.07)             0.50       (0.57)      0.00               0.00         (0.57)
     03/31/2018                                           9.93                0.55              (0.14)             0.41       (0.30)      0.00              (0.26)        (0.56)
     03/31/2017                                           9.22                0.58               0.77              1.35       (0.64)      0.00               0.00         (0.64)
I-2
     03/31/2021                                              8.58              0.44               1.47             1.91       (0.46)       0.00               0.00        (0.46)
     03/31/2020                                              9.71              0.52              (1.11)           (0.59)      (0.54)       0.00               0.00        (0.54)
     03/31/2019                                              9.78              0.56              (0.06)            0.50       (0.57)       0.00               0.00        (0.57)
     03/31/2018                                              9.93              0.54              (0.14)            0.40       (0.29)       0.00              (0.26)       (0.55)
     03/31/2017                                              9.22              0.57               0.77             1.34       (0.63)       0.00               0.00        (0.63)
I-3
     03/31/2021                                              8.58              0.43               1.48             1.91       (0.46)       0.00               0.00        (0.46)
     03/31/2020                                              9.71              0.52              (1.12)           (0.60)      (0.53)       0.00               0.00        (0.53)
     04/27/2018 - 03/31/2019                                 9.81              0.52              (0.10)            0.42       (0.52)       0.00               0.00        (0.52)
Class A
     03/31/2021                                              8.58              0.42               1.47             1.89       (0.44)       0.00               0.00        (0.44)
     03/31/2020                                              9.71              0.50              (1.12)           (0.62)      (0.51)       0.00               0.00        (0.51)
     03/31/2019                                              9.78              0.54              (0.07)            0.47       (0.54)       0.00               0.00        (0.54)
     03/31/2018                                              9.93              0.52              (0.14)            0.38       (0.27)       0.00              (0.26)       (0.53)
     03/31/2017                                              9.22              0.54               0.77             1.31       (0.60)       0.00               0.00        (0.60)
Class C
     03/31/2021                                              8.58              0.36               1.46             1.82       (0.37)       0.00               0.00        (0.37)
     03/31/2020                                              9.71              0.42              (1.11)           (0.69)      (0.44)       0.00               0.00        (0.44)
     03/31/2019                                              9.78              0.47              (0.07)            0.40       (0.47)       0.00               0.00        (0.47)
     03/31/2018                                              9.93              0.44              (0.14)            0.30       (0.19)       0.00              (0.26)       (0.45)
     03/31/2017                                              9.22              0.47               0.77             1.24       (0.53)       0.00               0.00        (0.53)
PIMCO Long-Term Credit Bond Fund
Institutional Class
     03/31/2021                                         $ 12.08             $ 0.50            $ 0.74            $ 1.24      $ (0.58)    $ (0.46)          $ 0.00        $ (1.04)
     03/31/2020                                           11.69               0.48              0.54              1.02        (0.59)      (0.04)             0.00         (0.63)
     03/31/2019                                           11.83               0.49              0.08              0.57        (0.49)      (0.15)            (0.07)        (0.71)
     03/31/2018                                           11.63               0.53              0.25              0.78        (0.58)       0.00              0.00         (0.58)
     03/31/2017                                           11.40               0.56              0.32              0.88        (0.60)       0.00             (0.05)        (0.65)
I-2
     03/31/2021                                            12.08               0.49              0.73              1.22       (0.56)      (0.46)              0.00        (1.02)
     03/31/2020                                            11.69               0.47              0.54              1.01       (0.58)      (0.04)              0.00        (0.62)
     03/31/2019                                            11.83               0.48              0.08              0.56       (0.48)      (0.15)             (0.07)       (0.70)
     03/31/2018                                            11.63               0.52              0.25              0.77       (0.57)       0.00               0.00        (0.57)
     03/31/2017                                            11.40               0.54              0.33              0.87       (0.59)       0.00              (0.05)       (0.64)
PIMCO Low Duration Credit Fund
Institutional Class
     03/31/2021                                         $ 8.63              $ 0.31            $ 0.70            $ 1.01      $ (0.33)    $ 0.00            $ 0.00        $ (0.33)
     03/31/2020                                           9.73                0.43              (1.06)            (0.63)      (0.47)      0.00               0.00         (0.47)
     03/31/2019                                           9.90                0.41              (0.14)             0.27       (0.44)      0.00               0.00         (0.44)
     03/31/2018                                           9.94                0.35               0.01              0.36       (0.38)      0.00              (0.02)        (0.40)
     03/31/2017                                           9.65                0.35               0.31              0.66       (0.37)      0.00               0.00         (0.37)


22     PIMCO CREDIT BOND FUNDS                                                                                                                              See Accompanying Notes
                                                                       Ratios/Supplemental Data
                                                                      Ratios to Average Net Assets
                                                                                                 Expenses
 Net Asset                       Net Assets                                    Expenses          Excluding
Value End of                     End of Year                Expenses           Excluding          Interest         Net        Portfolio
  Year or                         or Period                 Excluding           Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)     (000s)        Expenses    Waivers            Expense           Waivers     Income (Loss)     Rate




 $ 10.35             4.43%       $     37,125     0.52%*      1.14%*             0.50%*              1.12%*       1.87%*        135%

    10.35            4.38               1,421     0.62*       1.24*              0.60*               1.22*        1.81*         135

    10.35            4.35                  45     0.72*       1.34*              0.70*               1.32*        1.69*         135

    10.35            4.23                  23     0.92*       1.54*              0.90*               1.52*        1.46*         135

    10.35            3.85                  90     1.67*       2.29*              1.65*               2.27*        0.67*         135



 $ 10.03           22.77%        $     170,488    0.62%       0.62%              0.60%               0.60%        4.67%          39%
    8.58           (6.52)              101,092    0.62        0.62               0.60                0.60         5.47           27
    9.71            5.36               603,647    0.63        0.63               0.60                0.60         5.93           26
    9.78            4.15               655,038    0.62        0.62               0.60                0.60         5.53           24
    9.93           14.98             1,505,442    0.61        0.61               0.60                0.60         5.92           35

    10.03          22.65              238,069     0.72        0.72               0.70                0.70         4.60           39
     8.58          (6.61)             134,676     0.72        0.72               0.70                0.70         5.34           27
     9.71           5.26              193,934     0.73        0.73               0.70                0.70         5.85           26
     9.78           4.05              150,910     0.72        0.72               0.70                0.70         5.45           24
     9.93          14.87              142,214     0.71        0.71               0.70                0.70         5.82           35

    10.03          22.59                3,621     0.77        0.82               0.75                0.80         4.41           39
     8.58          (6.66)                 445     0.77        0.82               0.75                0.80         5.28           27
     9.71           4.45                2,142     0.78*       0.83*              0.75*               0.80*        5.91*          26

    10.03          22.35               54,395     0.97        0.97               0.95                0.95         4.43           39
     8.58          (6.85)              50,039     0.97        0.97               0.95                0.95         5.08           27
     9.71           5.00               63,446     0.98        0.98               0.95                0.95         5.58           26
     9.78           3.79               83,841     0.97        0.97               0.95                0.95         5.21           24
     9.93          14.58               43,592     0.96        0.96               0.95                0.95         5.55           35

    10.03          21.44                5,265     1.72        1.72               1.70                1.70         3.72           39
     8.58          (7.54)               6,862     1.72        1.72               1.70                1.70         4.33           27
     9.71           4.22                8,118     1.73        1.73               1.70                1.70         4.83           26
     9.78           3.02               10,506     1.72        1.72               1.70                1.70         4.44           24
     9.93          13.73                9,777     1.71        1.71               1.70                1.70         4.81           35



 $ 12.28             9.84%       $ 3,483,341      0.59%       0.59%              0.55%               0.55%        3.79%         103%
   12.08             8.59          3,313,697      0.84        0.84               0.55                0.55         3.84          180
   11.69             5.20          3,576,056      0.79        0.79               0.55                0.55         4.33          133
   11.83             6.76          3,309,210      0.85        0.85               0.55                0.55         4.43           96
   11.63             7.79          2,805,317      0.72        0.72               0.55                0.55         4.70          114

    12.28            9.73             133,698     0.69        0.69               0.65                0.65         3.69          103
    12.08            8.49             197,002     0.94        0.94               0.65                0.65         3.71          180
    11.69            5.10              71,189     0.89        0.89               0.65                0.65         4.23          133
    11.83            6.66              54,410     0.95        0.95               0.65                0.65         4.34           96
    11.63            7.68              41,527     0.82        0.82               0.65                0.65         4.56          114



 $ 9.31            11.85%        $     210,739    0.73%       0.73%              0.70%               0.70%        3.42%         184%
   8.63            (6.94)              151,077    0.75        0.75               0.70                0.70         4.42           49
   9.73             2.74               171,645    0.75        0.75               0.70                0.70         4.15           42
   9.90             3.66             1,269,665    0.72        0.72               0.70                0.70         3.55           34
   9.94             6.96             1,148,303    0.74        0.74               0.70                0.70         3.53           19


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Financial Highlights (Cont.)
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital       Total

PIMCO Low Duration Credit
    Fund (Cont.)
I-2
     03/31/2021                                         $ 8.63              $ 0.31            $ 0.69            $ 1.00      $ (0.32)    $ 0.00            $ 0.00        $ (0.32)
     03/31/2020                                           9.73                0.42              (1.06)            (0.64)      (0.46)      0.00               0.00         (0.46)
     03/31/2019                                           9.90                0.42              (0.16)             0.26       (0.43)      0.00               0.00         (0.43)
     03/31/2018                                           9.94                0.34               0.01              0.35       (0.37)      0.00              (0.02)        (0.39)
     03/31/2017                                           9.65                0.34               0.31              0.65       (0.36)      0.00               0.00         (0.36)
Class A
     03/31/2021                                              8.63              0.29               0.70             0.99       (0.31)       0.00               0.00        (0.31)
     03/31/2020                                              9.73              0.40              (1.06)           (0.66)      (0.44)       0.00               0.00        (0.44)
     03/31/2019                                              9.90              0.39              (0.15)            0.24       (0.41)       0.00               0.00        (0.41)
     03/31/2018                                              9.94              0.32               0.01             0.33       (0.35)       0.00              (0.02)       (0.37)
     03/31/2017                                              9.65              0.32               0.31             0.63       (0.34)       0.00               0.00        (0.34)
Class C
     03/31/2021                                              8.63              0.21               0.71             0.92       (0.24)       0.00               0.00        (0.24)
     03/31/2020                                              9.73              0.33              (1.06)           (0.73)      (0.37)       0.00               0.00        (0.37)
     03/31/2019                                              9.90              0.32              (0.16)            0.16       (0.33)       0.00               0.00        (0.33)
     03/31/2018                                              9.94              0.25               0.00             0.25       (0.27)       0.00              (0.02)       (0.29)
     03/31/2017                                              9.65              0.25               0.31             0.56       (0.27)       0.00               0.00        (0.27)
PIMCO Low Duration Income Fund
Institutional Class
     03/31/2021                                         $ 7.95              $ 0.25            $ 0.75            $ 1.00      $ (0.23)    $ 0.00            $ (0.05)      $ (0.28)
     03/31/2020                                           8.58                0.32              (0.55)            (0.23)      (0.40)      0.00               0.00         (0.40)
     03/31/2019                                           8.56                0.30               0.01              0.31       (0.29)      0.00               0.00         (0.29)
     03/31/2018                                           8.46                0.27               0.09              0.36       (0.26)      0.00               0.00         (0.26)
     03/31/2017                                           7.67                0.35               0.74              1.09       (0.30)      0.00               0.00         (0.30)
I-2
     03/31/2021                                              7.95              0.24               0.75             0.99       (0.22)       0.00              (0.05)       (0.27)
     03/31/2020                                              8.58              0.31              (0.55)           (0.24)      (0.39)       0.00               0.00        (0.39)
     03/31/2019                                              8.56              0.30               0.00             0.30       (0.28)       0.00               0.00        (0.28)
     03/31/2018                                              8.46              0.26               0.09             0.35       (0.25)       0.00               0.00        (0.25)
     03/31/2017                                              7.67              0.32               0.76             1.08       (0.29)       0.00               0.00        (0.29)
I-3
     03/31/2021                                              7.95              0.24               0.75             0.99       (0.22)       0.00              (0.05)       (0.27)
     03/31/2020                                              8.58              0.31              (0.56)           (0.25)      (0.38)       0.00               0.00        (0.38)
     04/27/2018 - 03/31/2019                                 8.54              0.29               0.01             0.30       (0.26)       0.00               0.00        (0.26)
Class A
     03/31/2021                                              7.95              0.22               0.75             0.97       (0.20)       0.00              (0.05)       (0.25)
     03/31/2020                                              8.58              0.28              (0.55)           (0.27)      (0.36)       0.00               0.00        (0.36)
     03/31/2019                                              8.56              0.27               0.01             0.28       (0.26)       0.00               0.00        (0.26)
     03/31/2018                                              8.46              0.23               0.09             0.32       (0.22)       0.00               0.00        (0.22)
     03/31/2017                                              7.67              0.31               0.75             1.06       (0.27)       0.00               0.00        (0.27)
Class C
     03/31/2021                                              7.95              0.19               0.75             0.94       (0.17)       0.00              (0.05)       (0.22)
     03/31/2020                                              8.58              0.26              (0.55)           (0.29)      (0.34)       0.00               0.00        (0.34)
     03/31/2019                                              8.56              0.24               0.01             0.25       (0.23)       0.00               0.00        (0.23)
     03/31/2018                                              8.46              0.20               0.10             0.30       (0.20)       0.00               0.00        (0.20)
     03/31/2017                                              7.67              0.29               0.75             1.04       (0.25)       0.00               0.00        (0.25)
Class C-2
     10/21/2020 - 03/31/2021                                 8.47              0.08              0.20              0.28       (0.03)       0.00              (0.05)       (0.08)
PIMCO Preferred and Capital Securities
   Fund (Consolidated)
Institutional Class
     03/31/2021                                         $ 9.23              $ 0.40            $ 1.88            $ 2.28      $ (0.41)    $ 0.00            $ 0.00        $ (0.41)
     03/31/2020                                            9.98               0.41              (0.63)            (0.22)      (0.50)      (0.03)             0.00         (0.53)
     03/31/2019                                           10.31               0.46              (0.18)             0.28       (0.59)      (0.01)            (0.01)        (0.61)
     03/31/2018                                           10.22               0.41               0.43              0.84       (0.72)      (0.03)             0.00         (0.75)
     03/31/2017                                            9.44               0.46               0.94              1.40       (0.62)       0.00              0.00         (0.62)




24     PIMCO CREDIT BOND FUNDS                                                                                                                              See Accompanying Notes
                                                                         Ratios/Supplemental Data
                                                                        Ratios to Average Net Assets
                                                                                                   Expenses
 Net Asset                       Net Assets                                      Expenses          Excluding
Value End of                     End of Year                Expenses             Excluding          Interest          Net        Portfolio
  Year or                         or Period                 Excluding             Interest        Expense and     Investment     Turnover
  Period(a)    Total Return(a)     (000s)        Expenses    Waivers              Expense           Waivers      Income (Loss)     Rate




 $ 9.31            11.74%        $     22,046     0.83%       0.83%                0.80%               0.80%         3.34%         184%
   8.63            (7.03)              25,932     0.85        0.85                 0.80                0.80          4.30           49
   9.73             2.64               38,809     0.85        0.85                 0.80                0.80          4.25           42
   9.90             3.56               22,172     0.82        0.82                 0.80                0.80          3.47           34
   9.94             6.85               13,970     0.84        0.84                 0.80                0.80          3.44           19

     9.31          11.52               54,219     1.03        1.03                 1.00                1.00          3.16          184
     8.63          (7.22)              52,228     1.05        1.05                 1.00                1.00          4.13           49
     9.73           2.44               89,364     1.05        1.05                 1.00                1.00          4.02           42
     9.90           3.35               94,579     1.02        1.02                 1.00                1.00          3.24           34
     9.94           6.63               87,065     1.04        1.04                 1.00                1.00          3.24           19

     9.31          10.68                9,975     1.78        1.78                 1.75                1.75          2.34          184
     8.63          (7.91)              22,627     1.80        1.80                 1.75                1.75          3.39           49
     9.73           1.68               46,421     1.80        1.80                 1.75                1.75          3.27           42
     9.90           2.58               44,916     1.77        1.77                 1.75                1.75          2.48           34
     9.94           5.84               55,559     1.79        1.79                 1.75                1.75          2.49           19



 $ 8.67            12.72%        $ 2,204,463      0.54%       0.54%                0.51%               0.51%         2.96%         410%
   7.95            (2.94)          1,644,585      0.55        0.55                 0.51                0.51          3.77          432
   8.58             3.70           1,682,347      0.58        0.59                 0.50                0.51          3.55          207
   8.56             4.29             705,766      0.50        0.55                 0.46                0.51          3.21          128
   8.46            14.45              95,776      0.61(d)     0.62(d)              0.55(d)             0.56(d)       4.23          243

     8.67          12.61             3,109,079    0.64        0.64                 0.61                0.61          2.85          410
     7.95          (3.04)            2,246,989    0.65        0.65                 0.61                0.61          3.64          432
     8.58           3.60             1,854,130    0.68        0.69                 0.60                0.61          3.49          207
     8.56           4.19               509,577    0.60        0.65                 0.56                0.61          3.10          128
     8.46          14.34                55,138    0.71(e)     0.72(e)              0.65(e)             0.66(e)       3.85          243

     8.67          12.57               87,455     0.69        0.74                 0.66                0.71          2.82          410
     7.95          (3.09)              20,116     0.70        0.75                 0.66                0.71          3.63          432
     8.58           3.56               39,161     0.73*       0.79*                0.65*               0.71*         3.69*         207

     8.67          12.28             1,784,043    0.94        0.94                 0.91                0.91          2.55          410
     7.95          (3.33)            1,322,295    0.95        0.95                 0.91                0.91          3.33          432
     8.58           3.29             1,056,714    0.98        0.99                 0.90                0.91          3.16          207
     8.56           3.87               533,327    0.90        0.95                 0.86                0.91          2.70          128
     8.46          14.00               169,743    1.01(f)     1.02(f)              0.95(f)             0.96(f)       3.77          243

     8.67          11.95              212,807     1.24        1.24                 1.21                1.21          2.25          410
     7.95          (3.62)             200,678     1.25        1.25                 1.21                1.21          3.07          432
     8.58           2.98              190,628     1.28        1.29                 1.20                1.21          2.85          207
     8.56           3.56              101,717     1.20        1.25                 1.16                1.21          2.34          128
     8.46          13.65               85,943     1.31(f)     1.32(f)              1.25(f)             1.26(f)       3.53          243

     8.67            3.35               3,209     1.44*       1.44*                1.41*               1.41*         2.04*         410




 $ 11.10           24.86%        $ 1,216,087      0.81%       0.91%                0.79%               0.89%         3.74%          59%
    9.23           (2.68)            788,615      0.79        0.87                 0.78                0.86          3.92           67
    9.98            2.83             259,798      0.82        0.91                 0.81                0.90          4.58           57
   10.31            8.28             119,949      0.80        0.87                 0.80                0.87          3.94          151
   10.22           15.22              60,707      0.80        0.87                 0.80                0.87          4.62          123




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Financial Highlights (Cont.)
                                                                                        Investment Operations                                    Less Distributions(c)



                                                       Net Asset Value                                                                       From Net
                                                        Beginning of                        Net Realized/                   From Net         Realized           Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment         Capital           Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)        Total        Income            Gains             Capital          Total

PIMCO Preferred and Capital Securities
    Fund (Consolidated) (Cont.)
I-2
     03/31/2021                                         $ 9.21              $ 0.39            $ 1.88            $ 2.27      $ (0.40)         $ 0.00             $ 0.00          $ (0.40)
     03/31/2020                                            9.97               0.40              (0.64)            (0.24)      (0.49)           (0.03)              0.00           (0.52)
     03/31/2019                                           10.30               0.45              (0.18)             0.27       (0.58)           (0.01)             (0.01)          (0.60)
     03/31/2018                                           10.21               0.40               0.43              0.83       (0.71)           (0.03)              0.00           (0.74)
     03/31/2017                                            9.45               0.42               0.96              1.38       (0.62)            0.00               0.00           (0.62)
I-3
     03/31/2021                                             9.20               0.38               1.88             2.26       (0.40)             0.00               0.00              (0.40)
     03/31/2020                                             9.95               0.40              (0.63)           (0.23)      (0.49)            (0.03)              0.00              (0.52)
     04/27/2018 - 03/31/2019                               10.32               0.43              (0.19)            0.24       (0.59)            (0.01)             (0.01)             (0.61)
Class A
     03/31/2021                                             9.19               0.36               1.88             2.24       (0.38)             0.00               0.00              (0.38)
     03/31/2020                                             9.95               0.37              (0.63)           (0.26)      (0.47)            (0.03)              0.00              (0.50)
     03/31/2019                                            10.29               0.43              (0.19)            0.24       (0.56)            (0.01)             (0.01)             (0.58)
     03/31/2018                                            10.22               0.38               0.42             0.80       (0.70)            (0.03)              0.00              (0.73)
     03/31/2017                                             9.43               0.42               0.95             1.37       (0.58)             0.00               0.00              (0.58)
Class C
     03/31/2021                                             9.19               0.28               1.87             2.15       (0.31)             0.00               0.00              (0.31)
     08/23/2019 - 03/31/2020                               10.48               0.16              (1.08)           (0.92)      (0.34)            (0.03)              0.00              (0.37)


^ A zero balance may reflect actual amounts rounding to less than $0.01 or 0.01%.
* Annualized
(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Funds.
(b) Per share amounts based on average number of shares outstanding during the year or period.
(c) The tax characterization of distributions is determined in accordance with Federal income tax regulations. See Note 2, Distributions to Shareholders, in the Notes to Financial

    Statements for more information.
(d) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.20%.
(e) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.30%.
(f) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.35%.




26     PIMCO CREDIT BOND FUNDS                                                                                                                                    See Accompanying Notes
                                                                     Ratios/Supplemental Data
                                                                    Ratios to Average Net Assets
                                                                                               Expenses
 Net Asset                       Net Assets                                  Expenses          Excluding
Value End of                     End of Year              Expenses           Excluding          Interest         Net        Portfolio
  Year or                         or Period               Excluding           Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)     (000s)      Expenses    Waivers            Expense           Waivers     Income (Loss)     Rate




 $ 11.08           24.81%        $ 318,242      0.91%       1.01%              0.89%               0.99%        3.65%          59%
    9.21           (2.87)          230,245      0.89        0.97               0.88                0.96         3.85           67
    9.97            2.76           130,385      0.92        1.01               0.91                1.00         4.51           57
   10.30            8.27            36,539      0.90        0.97               0.90                0.97         3.82          151
   10.21           14.92             6,002      0.90        0.97               0.90                0.97         4.19          123

    11.06          24.68            42,310      0.96        1.11               0.94                1.09         3.60           59
     9.20          (2.80)           28,048      0.94        1.07               0.93                1.06         3.80           67
     9.95           2.49            11,782      0.97*       1.11*              0.96*               1.10*        4.79*          57

    11.05          24.46           302,567      1.16        1.26               1.14                1.24         3.40           59
     9.19          (3.06)          264,206      1.14        1.22               1.13                1.21         3.57           67
     9.95           2.50           119,215      1.17        1.26               1.16                1.25         4.29           57
    10.29           7.88            35,464      1.15        1.22               1.15                1.22         3.63          151
    10.22          14.79             1,954      1.15        1.22               1.15                1.22         4.22          123

    11.03          23.53            20,136      1.91        2.01               1.89                1.99         2.65           59
     9.19          (9.21)           12,500      1.89*       1.97*              1.88*               1.96*        2.64*          67




                                                                                                                   ANNUAL REPORT | MARCH 31, 2021   27
Statements of Assets and Liabilities
                                                                     PIMCO                                                         PIMCO
                                                                     Credit            PIMCO          PIMCO         PIMCO        Long-Term          PIMCO          PIMCO
                                                                  Opportunities      Diversified    ESG Income     High Yield    Credit Bond     Low Duration   Low Duration
(Amounts in thousands†, except per share amounts)                  Bond Fund        Income Fund        Fund      Spectrum Fund      Fund          Credit Fund   Income Fund

Assets:
Investments, at value
   Investments in securities*                                      $ 317,460        $ 5,000,202     $ 36,955      $ 427,660      $ 4,243,108      $ 266,096     $ 9,408,017
   Investments in Affiliates                                          87,527            492,982            0         39,266           55,745         24,973          34,466
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                    350              2,938           12             85            3,163              0            7,463
   Over the counter                                                      1,773             17,247          116          2,590           14,027            532           61,149
Cash                                                                       648              1,857        3,173            106                0          4,029               20
Deposits with counterparty                                               9,997              2,538          188          2,571           23,574              0           41,866
Foreign currency, at value                                                 619              5,346           26              3            5,850             24           30,385
Receivable for investments sold                                          3,279                109            2            757            9,064         22,047            6,493
Receivable for TBA investments sold                                     13,493            279,613        2,665              0          194,657              0        2,718,507
Receivable for Fund shares sold                                            997              4,582        1,634            173            6,105            136           29,516
Interest and/or dividends receivable                                     2,822             45,259          193          5,714           37,143          1,033           40,364
Dividends receivable from Affiliates                                        13                109            0              9                3              4                3
Reimbursement receivable from PIMCO                                          0                  1            0              0                0              0                0
Prepaid expenses                                                             0                  0            0             10                0             23                0
Other assets                                                                 0                  0            0              0                2              0                0
Total Assets                                                           438,978          5,852,783       44,964        478,944        4,592,441        318,897       12,378,249
Liabilities:
Borrowings & Other Financing Transactions
   Payable for reverse repurchase agreements                       $     2,168      $     13,497    $     852     $        0     $    567,377     $        0    $     442,931
   Payable for sale-buyback transactions                                     0                 0            0              0            2,226              0            4,390
   Payable for short sales                                               1,501                 0            0              0                0              0          733,804
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                     78               831             0              0             861               0            1,583
   Over the counter                                                        870             1,472            47              3           6,868               2           47,945
Payable for investments purchased                                        2,900            15,630           995          3,174          44,624          19,614          156,348
Payable for investments in Affiliates purchased                             13               109             0              9               3               4                3
Payable for TBA investments purchased                                   18,472           519,410         4,335              0         334,299               0        3,513,713
Payable for unfunded loan commitments                                    1,294             2,997             0            136           5,473           1,347              299
Deposits from counterparty                                                 842            17,197             0          2,330           9,152             280           53,541
Payable for Fund shares redeemed                                         3,945             6,848            17          1,043           2,346             426           16,321
Distributions payable                                                        0               940             0            120             460              15            2,184
Overdraft due to custodian                                                   0                 0             0              0              69               0                0
Accrued investment advisory fees                                           209             2,003             7            120             888             107            1,816
Accrued supervisory and administrative fees                                117             1,451             7            146             750              84            1,726
Accrued distribution fees                                                    2                46             0              4               0               6               55
Accrued servicing fees                                                       5                92             0             13               0              14              420
Accrued taxes payable                                                        0                 0             0              0               0               0               98
Accrued reimbursement to PIMCO                                               0                 0             0              0               0               0               16
Other liabilities                                                            0                 0             0              8               6              19                0
Total Liabilities                                                       32,416           582,523         6,260          7,106         975,402          21,918        4,977,193

Net Assets                                                         $ 406,562        $ 5,270,260     $ 38,704      $ 471,838      $ 3,617,039      $ 296,979     $ 7,401,056
Net Assets Consist of:
Paid in capital                                                    $ 451,627        $ 5,255,214     $ 38,486      $ 511,140      $ 3,385,900      $ 362,012     $ 7,565,128
Distributable earnings (accumulated loss)                            (45,065)            15,046          218        (39,302)         231,139        (65,033)       (164,072)

Net Assets                                                         $ 406,562        $ 5,270,260     $ 38,704      $ 471,838      $ 3,617,039      $ 296,979     $ 7,401,056

Cost of investments in securities                                  $ 311,652        $ 4,912,841     $ 36,974      $ 415,855      $ 4,123,967      $ 260,398     $ 9,413,827
Cost of investments in Affiliates                                  $ 87,421         $ 492,959       $      0      $ 39,225       $    55,750      $ 24,974      $    34,466
Cost of foreign currency held                                      $     671        $     5,088     $     28      $       2      $     6,609      $      24     $    30,628
Proceeds received on short sales                                   $ 1,433          $         0     $      0      $       0      $         0      $       0     $   733,686
Cost or premiums of financial derivative instruments, net          $ 2,388          $    39,194     $     82      $ 1,787        $    35,407      $       0     $    25,856

* Includes repurchase agreements of:                               $     1,597      $          0    $       0     $        0     $      5,943     $        0    $      33,560

†   A zero balance may reflect actual amounts rounding to less than one thousand.

28     PIMCO CREDIT BOND FUNDS                                                                                                                        See Accompanying Notes
                                                                                                                                                                     March 31, 2021


                                                                    PIMCO                                                                PIMCO
                                                                    Credit           PIMCO            PIMCO           PIMCO            Long-Term        PIMCO          PIMCO
                                                                 Opportunities     Diversified      ESG Income       High Yield        Credit Bond   Low Duration   Low Duration
                                                                  Bond Fund       Income Fund          Fund        Spectrum Fund          Fund        Credit Fund   Income Fund

Net Assets:
Institutional Class                                               $ 268,038       $ 4,132,019        $ 37,125        $ 170,488         $ 3,483,341    $ 210,739     $ 2,204,463
I-2                                                                 115,116           670,322           1,421          238,069             133,698       22,046       3,109,079
I-3                                                                     N/A            27,498              45            3,621                 N/A          N/A          87,455
Administrative Class                                                    N/A            10,752             N/A              N/A                 N/A          N/A             N/A
Class A                                                              19,542           361,780              23           54,395                 N/A       54,219       1,784,043
Class C                                                               3,866            67,889              90            5,265                 N/A        9,975         212,807
Class C-2                                                               N/A               N/A             N/A              N/A                 N/A          N/A           3,209

Shares Issued and Outstanding:
Institutional Class                                                   26,834           374,313           3,588           17,005            283,666        22,637        254,185
I-2                                                                   11,578            60,723             137           23,746             10,888         2,368        358,496
I-3                                                                      N/A             2,491               4              361                N/A           N/A         10,084
Administrative Class                                                     N/A               974             N/A              N/A                N/A           N/A            N/A
Class A                                                                1,955            32,774               2            5,426                N/A         5,824        205,709
Class C                                                                  393             6,150               9              525                N/A         1,071         24,538
Class C-2                                                                N/A               N/A             N/A              N/A                N/A           N/A            370

Net Asset Value Per Share Outstanding(a):
Institutional Class                                               $      9.99     $      11.04       $ 10.35         $    10.03        $     12.28    $     9.31    $       8.67
I-2                                                                      9.94            11.04         10.35              10.03              12.28          9.31            8.67
I-3                                                                       N/A            11.04         10.35              10.03                N/A           N/A            8.67
Administrative Class                                                      N/A            11.04           N/A                N/A                N/A           N/A             N/A
Class A                                                                 10.00            11.04         10.35              10.03                N/A          9.31            8.67
Class C                                                                  9.85            11.04         10.35              10.03                N/A          9.31            8.67
Class C-2                                                                 N/A              N/A           N/A                N/A                N/A           N/A            8.67

(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Funds.




                                                                                                                                       ANNUAL REPORT | MARCH 31, 2021          29
Consolidated Statement of Assets and Liabilities
                                                                                               PIMCO
                                                                                            Preferred and
                                                                                               Capital
                                                                                              Securities
(Amounts in thousands†, except per share amounts)                                               Fund

Assets:
Investments, at value
   Investments in securities*                                                               $ 1,832,564
   Investments in Affiliates                                                                     78,277
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                                               923
   Over the counter                                                                                18,746
Cash                                                                                                2,747
Deposits with counterparty                                                                         11,232
Foreign currency, at value                                                                          2,790
Receivable for investments sold                                                                     1,009
Receivable for Fund shares sold                                                                     1,530
Interest and/or dividends receivable                                                               18,568
Dividends receivable from Affiliates                                                                   12
Reimbursement receivable from PIMCO                                                                   187
Total Assets                                                                                    1,968,585

Liabilities:
Borrowings & Other Financing Transactions
   Payable for reverse repurchase agreements                                                $     39,487
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                                              657
   Over the counter                                                                                1,625
Payable for investments purchased                                                                  6,598
Payable for investments in Affiliates purchased                                                       12
Deposits from counterparty                                                                        17,582
Payable for Fund shares redeemed                                                                   1,545
Accrued investment advisory fees                                                                     835
Accrued supervisory and administrative fees                                                          673
Accrued distribution fees                                                                             12
Accrued servicing fees                                                                                68
Other liabilities                                                                                    149
Total Liabilities                                                                                 69,243

Net Assets                                                                                  $ 1,899,342

Net Assets Consist of:
Paid in capital                                                                             $ 1,786,209
Distributable earnings (accumulated loss)                                                       113,133

Net Assets                                                                                  $ 1,899,342

Cost of investments in securities                                                           $ 1,735,592
Cost of investments in Affiliates                                                           $    78,268
Cost of foreign currency held                                                               $     2,858
Cost or premiums of financial derivative instruments, net                                   $     1,296

* Includes repurchase agreements of:                                                        $     78,225


†   A zero balance may reflect actual amounts rounding to less than one thousand.




30     PIMCO CREDIT BOND FUNDS                                                      See Accompanying Notes
                                                                                                                                                                March 31, 2021


                                                                                                                                                               PIMCO
                                                                                                                                                            Preferred and
                                                                                                                                                               Capital
                                                                                                                                                              Securities
                                                                                                                                                                Fund

Net Assets:
Institutional Class                                                                                                                                         $ 1,216,087
I-2                                                                                                                                                             318,242
I-3                                                                                                                                                              42,310
Class A                                                                                                                                                         302,567
Class C                                                                                                                                                          20,136

Shares Issued and Outstanding:
Institutional Class                                                                                                                                              109,541
I-2                                                                                                                                                               28,734
I-3                                                                                                                                                                3,826
Class A                                                                                                                                                           27,381
Class C                                                                                                                                                            1,826

Net Asset Value Per Share Outstanding(a):
Institutional Class                                                                                                                                         $       11.10
I-2                                                                                                                                                                 11.08
I-3                                                                                                                                                                 11.06
Class A                                                                                                                                                             11.05
Class C                                                                                                                                                             11.03

(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Fund.




                                                                                                                                      ANNUAL REPORT | MARCH 31, 2021        31
Statements of Operations
Year Ended March 31, 2021
                                                                      PIMCO                                                       PIMCO
                                                                      Credit           PIMCO         PIMCO         PIMCO        Long-Term         PIMCO           PIMCO
                                                                   Opportunities     Diversified   ESG Income     High Yield    Credit Bond    Low Duration    Low Duration
(Amounts in thousands†)                                             Bond Fund       Income Fund      Fund(a)    Spectrum Fund      Fund         Credit Fund    Income Fund


Investment Income:
Interest, net of foreign taxes*                                      $ 15,406       $ 180,569        $ 187       $ 21,177       $ 162,625       $ 18,345       $ 208,561
Dividends                                                                   0           1,274            0              0           1,531              0           1,254
Dividends from Investments in Affiliates                                  286             726            0            122             145            141              37
   Total Income                                                        15,692         182,569          187         21,299         164,301         18,486         209,852

Expenses:
Investment advisory fees                                                  2,351          21,522           19          1,198          11,242          1,776          18,021
Supervisory and administrative fees                                       1,311          15,599           19          1,465           9,529          1,389          17,144
Distribution and/or servicing fees - Administrative Class                   N/A             299          N/A            N/A             N/A            N/A             N/A
Distribution fees - Class C                                                  38             612            0             53             N/A            128             621
Distribution fees - C-2                                                     N/A             N/A          N/A            N/A             N/A            N/A               2(b)
Servicing fees - Class A                                                     55             860            0            137             N/A            125           3,699
Servicing fees - Class C                                                     13             204            0             18             N/A             43             517
Servicing fees - C-2                                                        N/A             N/A          N/A            N/A             N/A            N/A               1(b)
Trustee fees                                                                  2              26            0              2              23              2              35
Interest expense                                                             18           1,070            2             69           1,428            135           1,883
Organizational expense                                                        0               0           98              0               0              0               0
Miscellaneous expense                                                         5              47            0              6              47              6             365
   Total Expenses                                                         3,793          40,239          138          2,948          22,269          3,604          42,288
   Waiver and/or Reimbursement by PIMCO                                       0             (12)         (97)            (0)              0              0             (57)
   Net Expenses                                                           3,793          40,227           41          2,948          22,269          3,604          42,231

Net Investment Income (Loss)                                             11,899         142,342          146         18,351         142,032         14,882         167,621

Net Realized Gain (Loss):
Investments in securities                                                    77         (18,964)         (14)         (8,687)       228,001         12,824          28,633
Investments in Affiliates                                                   (77)             17            0              49            357            301              (8)
Exchange-traded or centrally cleared financial
   derivative instruments                                                   310          (6,009)           3            (139)       (32,437)         (2,049)       (144,334)
Over the counter financial derivative instruments                          (344)        (24,090)         (55)         (2,140)         9,899            (742)        (35,848)
Short sales                                                                (776)             30            0               0              0               0             (26)
Foreign currency                                                           (315)         (4,281)          22            (934)        (1,050)         (1,664)         (5,443)

Net Realized Gain (Loss)                                                 (1,125)        (53,297)         (44)        (11,851)       204,770          8,670         (157,026)

Net Change in Unrealized Appreciation (Depreciation):
Investments in securities                                                32,867         295,819          (19)        63,813         (41,137)        27,777         326,397
Investments in Affiliates                                                   347             989            0             54             (26)            34              (1)
Exchange-traded or centrally cleared financial
   derivative instruments                                                 2,332          80,242          197          1,601          62,758            580         300,557
Over the counter financial derivative instruments                         1,248          23,617           85          3,313          14,614            998          47,849
Short sales                                                                 618               0            0              0               0              0               0
Foreign currency assets and liabilities                                     (54)         (2,800)          (2)          (387)           (728)          (182)         (4,595)

Net Change in Unrealized Appreciation (Depreciation)                     37,358         397,867          261         68,394          35,481         29,207         670,207

Net Increase (Decrease) in Net Assets Resulting
  from Operations                                                    $ 48,132       $ 486,912        $ 363       $ 74,894       $ 382,283       $ 52,759       $ 680,802

* Foreign tax withholdings                                           $        0     $         0      $     0     $         0    $         0     $         0    $        99


†   A zero balance may reflect actual amounts rounding to less than one thousand.
(a) Inception date of the Fund was September 30, 2020.
(b) Inception date of Class C-2 was October 21, 2020.




32     PIMCO CREDIT BOND FUNDS                                                                                                                      See Accompanying Notes
Consolidated Statement of Operations
Year Ended March 31, 2021
                                                                                                             PIMCO
                                                                                                          Preferred and
                                                                                                             Capital
                                                                                                            Securities
(Amounts in thousands†)                                                                                       Fund


Investment Income:
Interest, net of foreign taxes*                                                                            $ 74,597
Dividends                                                                                                     3,671
Dividends from Investments in Affiliates                                                                        322
   Total Income                                                                                              78,590

Expenses:
Investment advisory fees                                                                                         8,814
Supervisory and administrative fees                                                                              7,191
Distribution fees - Class C                                                                                        127
Servicing fees - Class A                                                                                           722
Servicing fees - Class C                                                                                            42
Trustee fees                                                                                                         9
Interest expense                                                                                                   264
Miscellaneous expense                                                                                                6
   Total Expenses                                                                                               17,175
   Waiver and/or Reimbursement by PIMCO                                                                         (1,744)
   Net Expenses                                                                                                 15,431

Net Investment Income (Loss)                                                                                    63,159

Net Realized Gain (Loss):
Investments in securities                                                                                       48,868
Investments in Affiliates                                                                                           94
Exchange-traded or centrally cleared financial derivative instruments                                           (6,343)
Over the counter financial derivative instruments                                                              (41,241)
Foreign currency                                                                                                (3,013)

Net Realized Gain (Loss)                                                                                        (1,635)

Net Change in Unrealized Appreciation (Depreciation):
Investments in securities                                                                                      267,586
Investments in Affiliates                                                                                            9
Exchange-traded or centrally cleared financial derivative instruments                                            4,889
Over the counter financial derivative instruments                                                               14,689
Foreign currency assets and liabilities                                                                           (947)

Net Change in Unrealized Appreciation (Depreciation)                                                           286,226

Net Increase (Decrease) in Net Assets Resulting from Operations                                            $ 347,750

* Foreign tax withholdings                                                                                 $      150


†   A zero balance may reflect actual amounts rounding to less than one thousand.




                                                                                    ANNUAL REPORT | MARCH 31, 2021        33
Statements of Changes in Net Assets
                                                                                                     PIMCO                                     PIMCO                          PIMCO
                                                                                          Credit Opportunities Bond Fund              Diversified Income Fund            ESG Income Fund

                                                                                          Year Ended          Year Ended          Year Ended          Year Ended           Inception date
                                                                                         March 31, 2021      March 31, 2020      March 31, 2021      March 31, 2020           through
                                                                                                                                                                          March 31, 2021(a)
(Amounts in thousands†)
Increase (Decrease) in Net Assets from:

Operations:
Net investment income (loss)                                                              $ 11,899            $ 16,704           $    142,342        $    123,630            $        146
Net realized gain (loss)                                                                    (1,125)               7,747               (53,297)            101,111                     (44)
Net change in unrealized appreciation (depreciation)                                        37,358              (37,789)              397,867            (321,601)                    261

Net Increase (Decrease) in Net Assets Resulting from Operations                               48,132              (13,338)            486,912              (96,860)                   363

Distributions to Shareholders:
From net investment income and/or net realized capital gains
   Institutional Class                                                                         (9,582)            (12,786)            (133,148)          (139,643)                 (145)
   I-2                                                                                         (3,420)             (2,265)             (19,957)           (19,963)                   (0)
   I-3                                                                                            N/A                 N/A                 (861)              (457)                   (0)
   Administrative Class                                                                           N/A                 N/A               (4,152)            (7,677)                  N/A
   Class A                                                                                       (678)               (785)             (11,193)           (15,078)                   (0)
   Class C                                                                                       (121)               (164)              (2,050)            (2,771)                   (0)
   Class C-2                                                                                      N/A                 N/A                  N/A                N/A                   N/A
Tax basis return of capital
  Institutional Class                                                                               0                   0                    0                    0                     0
  I-2                                                                                               0                   0                    0                    0                     0
  I-3                                                                                             N/A                 N/A                    0                    0                     0
  Administrative Class                                                                            N/A                 N/A                    0                    0                   N/A
  Class A                                                                                           0                   0                    0                    0                     0
  Class C                                                                                           0                   0                    0                    0                     0
  Class C-2                                                                                       N/A                 N/A                  N/A                  N/A                   N/A

Total Distributions(c)                                                                       (13,801)             (16,000)            (171,361)          (185,589)                 (145)

Fund Share Transactions:
Net increase (decrease) resulting from Fund share transactions*                               59,901              (24,584)           1,219,500            735,912                38,486
Fund Redemption Fee                                                                                0                    0                    0                  0                     0

Total Increase (Decrease) in Net Assets                                                       94,232              (53,922)           1,535,051            453,463                38,704

Net Assets:
Beginning of year                                                                           312,330             366,252            3,735,209           3,281,746                    0
End of year                                                                               $ 406,562           $ 312,330          $ 5,270,260         $ 3,735,209             $ 38,704


†   A zero balance may reflect actual amounts rounding to less than one thousand.
* See Note 13, Shares of Beneficial Interest, in the Notes to Financial Statements.
(a) Inception date of the Fund was September 30, 2020.
(b) Inception date of Class C-2 was October 21, 2020.
(c) The tax characterization of distributions is determined in accordance with Federal income tax regulations. See Note 2, Distributions to Shareholders, in the Notes to Financial

    Statements for more information.




34    PIMCO CREDIT BOND FUNDS                                                                                                                                    See Accompanying Notes
               PIMCO                                PIMCO                                   PIMCO                                          PIMCO
      High Yield Spectrum Fund             Long-Term Credit Bond Fund               Low Duration Credit Fund                      Low Duration Income Fund

 Year Ended            Year Ended       Year Ended           Year Ended        Year Ended            Year Ended              Year Ended            Year Ended
March 31, 2021        March 31, 2020   March 31, 2021       March 31, 2020    March 31, 2021        March 31, 2020          March 31, 2021        March 31, 2020




 $ 18,351              $     34,913    $   142,032          $    163,332       $ 14,882              $ 12,449               $     167,621         $     205,782
   (11,851)                    (199)       204,770               150,366          8,670                 (9,909)                  (157,026)               48,896
    68,394                  (36,368)        35,481               (17,701)        29,207                (18,860)                   670,207              (509,407)

     74,894                  (1,654)       382,283               295,997           52,759                (16,320)                680,802               (254,729)




     (6,511)                (22,219)       (277,514)            (177,079)         (12,655)                (7,188)                 (47,908)              (88,052)
     (9,623)                 (9,969)        (11,730)             (36,217)            (819)                (1,685)                 (65,476)             (107,707)
        (44)                    (44)            N/A                  N/A              N/A                    N/A                   (1,159)               (2,275)
        N/A                     N/A             N/A                  N/A              N/A                    N/A                      N/A                   N/A
     (2,510)                 (3,318)            N/A                  N/A           (1,656)                (3,368)                 (34,131)              (53,304)
       (272)                   (365)            N/A                  N/A             (425)                (1,423)                  (4,193)               (8,032)
        N/A                     N/A             N/A                  N/A              N/A                    N/A                       (3)(b)               N/A

          0                        0              0                       0             0                        0                (10,469)                     0
          0                        0              0                       0             0                        0                (14,862)                     0
          0                        0            N/A                     N/A           N/A                      N/A                   (271)                     0
        N/A                      N/A            N/A                     N/A           N/A                      N/A                    N/A                    N/A
          0                        0            N/A                     N/A             0                        0                 (8,768)                     0
          0                        0            N/A                     N/A             0                        0                 (1,225)                     0
        N/A                      N/A            N/A                     N/A           N/A                      N/A                     (6)(b)                N/A

    (18,960)                (35,915)       (289,244)            (213,296)         (15,555)               (13,664)                (188,471)             (259,370)



   122,790                 (540,604)         13,301             (219,247)           7,909                (64,394)               1,474,062             1,125,782
         0                        0               0                    0                2                      3                        0                     0

   178,724                 (578,173)       106,340              (136,546)          45,115                (94,375)               1,966,393              611,683



   293,114               871,287         3,510,699            3,647,245          251,864               346,239                5,434,663             4,822,980
 $ 471,838             $ 293,114       $ 3,617,039          $ 3,510,699        $ 296,979             $ 251,864              $ 7,401,056           $ 5,434,663




                                                                                                                     ANNUAL REPORT | MARCH 31, 2021           35
Schedule of Investments PIMCO Low Duration Credit Fund
(Amounts in thousands*, except number of shares, contracts, units and ounces, if any)
                                       PRINCIPAL    MARKET                                      PRINCIPAL    MARKET                                         PRINCIPAL    MARKET
                                        AMOUNT      VALUE                                        AMOUNT      VALUE                                           AMOUNT      VALUE
                                         (000S)      (000S)                                       (000S)      (000S)                                          (000S)      (000S)

INVESTMENTS IN SECURITIES 89.6%                               Carnival Corp.                                           Frontier Communications Corp.
                                                              8.500% (LIBOR03M + 7.500%)                               5.750% (LIBOR03M + 4.750%)
LOAN PARTICIPATIONS AND ASSIGNMENTS 85.9%
                                                                 due 06/30/2025 ~               $ 2,233 $     2,311       due 10/08/2021 ~                $ 4,175       $ 4,188
AAdvantage Loyalty IP Ltd.                                    CBI Buyer, INC.                                          Gainwell Acquisition Corp.
TBD% due 04/20/2028                $    1,800      $ 1,844    3.750% (LIBOR03M + 3.250%)                               4.750% (LIBOR03M + 4.000%)
Advantage Sales & Marketing, Inc.                                due 01/06/2028 ~                     475       473       due 10/01/2027 ~                    4,220       4,212
6.000% (LIBOR03M + 5.250%)                                    Chobani LLC                                              Getty Images, Inc.
   due 10/28/2027 ~                     3,500        3,500    4.500% (LIBOR03M + 3.500%)                               4.609% (LIBOR03M + 4.500%)
Ahlstrom-Munksjo Oyj                                             due 10/20/2027 ~                   1,418     1,419       due 02/19/2026 ~                    1,985       1,970
TBD% due 03/11/2028                     1,550        1,555    CityCenter Holdings LLC                                  Global Medical Response, Inc.
AlixPartners, LLP                                             3.000% (LIBOR03M + 2.250%)                               5.750% (LIBOR03M + 4.750%)
3.250% (LIBOR03M + 2.750%)                                       due 04/18/2024 ~                   3,142     3,106       due 10/02/2025 ~                    4,242       4,235
   due 02/04/2028 ~                     1,725        1,720    Clarios Global LP                                        GlobalLogic Holdings, Inc.
Alliant Holdings Intermediate LLC                             3.359% (LIBOR03M + 3.250%)                               2.859% (LIBOR03M + 2.750%)
3.359% (LIBOR03M + 3.250%)                                       due 04/30/2026 ~                   1,995     1,987       due 08/01/2025 «~                     988         986
   due 05/09/2025 ~                     1,646        1,627    Clear Channel Outdoor Holdings, Inc.                     Golden Entertainment, Inc.
Allied Universal Holdco LLC                                   3.712% (LIBOR03M + 3.500%)                               3.750% (LIBOR03M + 3.000%)
4.359% (LIBOR03M + 4.250%)                                       due 08/21/2026 ~                   4,950     4,768       due 10/21/2024 ~                      300         297
   due 07/10/2026 ~                     1,135        1,133    CNT Holdings Corp.                                       Graham Packaging Co., Inc.
Alphabet Holding Co., Inc.                                    4.500% (LIBOR03M + 3.750%)                               3.750% (LIBOR03M + 3.000%)
3.609% (LIBOR03M + 3.500%)                                       due 11/08/2027 ~                   2,000     1,998       due 08/04/2027 ~                    3,388       3,373
   due 09/26/2024 ~                       848          843    CommScope, Inc.                                          Hearthside Food Solutions LLC
Altice Financing S.A.                                         3.359% (LIBOR03M + 3.250%)                               3.796% (LIBOR03M + 3.688%)
2.856% (LIBOR03M + 2.750%)                                       due 04/06/2026 ~                   1,414     1,408       due 05/23/2025 ~                    1,073       1,065
   due 07/15/2025 ~                       990          972    Consumer Cellular, Inc.                                  6.000% (LIBOR03M + 5.000%)
2.953% (LIBOR03M + 2.750%)                                    4.750% (LIBOR03M + 4.000%)                                  due 05/23/2025 ~                      398         399
   due 01/31/2026 ~                     2,431        2,386       due 12/17/2027 ~                   1,200     1,203    Hub International Ltd.
Altice France S.A.                                            Core & Main LP                                           2.965% - 3.215% (LIBOR03M +
4.198% (LIBOR03M + 4.000%)                                    3.750% (LIBOR03M + 2.750%)                                  3.000%) due 04/25/2025 ~            2,144       2,117
   due 08/14/2026 ~                     3,381        3,374       due 08/01/2024 ~                     895       893    iHeartCommunications, Inc.
American Trailer World Corp.                                  Coty, Inc.                                               3.109% (LIBOR03M + 3.000%)
4.500% (LIBOR03M + 3.750%)                                    2.354% (LIBOR03M + 2.250%)                                  due 05/01/2026 ~                      672         665
   due 02/17/2028 ~                     3,200        3,182       due 04/07/2025 ~                   3,892     3,749    Illuminate Buyer LLC
Arches Buyer, Inc.                                            COWEN INC TL B 1L                                        3.609% (LIBOR03M + 3.500%)
3.750% (LIBOR03M + 3.250%)                                    TBD% due 03/12/2028 «                 1,600     1,596       due 06/30/2027 ~                    2,095       2,088
   due 12/06/2027 ~                     3,865        3,847    Da Vinci Purchaser Corp.                                 INEOS Enterprises Holdings U.S. Finco LLC
Array Technologies, Inc.                                      5.000% (LIBOR03M + 4.000%)                               4.500% (LIBOR03M + 3.500%)
3.750% (LIBOR03M + 3.250%)                                       due 01/08/2027 ~                   1,375     1,377       due 08/28/2026 ~                    1,516       1,520
   due 10/14/2027 ~                     2,561        2,563    Delta 2 (LUX) SARL                                       INEOS Styrolution US Holding LLC
Astoria Energy LLC                                            3.500% (LIBOR03M + 2.500%)                               3.250% (LIBOR03M + 2.750%)
4.500% (LIBOR03M + 3.500%)                                       due 02/01/2024 ~                   2,362     2,342       due 01/29/2026 ~                      900         898
   due 12/10/2027 ~                     2,575        2,580    Diamond (BC) BV                                          Informatica LLC
Asurion LLC                                                   3.109% (LIBOR03M + 3.000%)                               3.359% (LIBOR03M + 3.250%)
3.359% (LIBOR03M + 3.250%)                                       due 09/06/2024 ~                      98        98       due 02/25/2027 ~                    1,020       1,014
   due 12/23/2026 ~                     4,542        4,519    3.250% (EUR003M + 3.250%)                                IRB Holding Corp.
Athenahealth, Inc.                                               due 09/06/2024 ~             EUR 1,443       1,692    3.750% (LIBOR03M + 2.750%)
4.453% (LIBOR03M + 4.250%)                                    Diamond Sports Group LLC                                    due 02/05/2025 ~                    2,240       2,225
   due 02/11/2026 ~                     2,000        2,008    3.360% (LIBOR03M + 3.250%)                               4.250% (LIBOR03M + 3.250%)
Banijay Entertainment S.A.S                                      due 08/24/2026 ~               $ 5,058       3,585       due 12/15/2027 ~                    2,675       2,672
3.854% (LIBOR03M + 3.750%)                                    Dun & Bradstreet Corp.                                   Ivanti Software, Inc.
   due 03/01/2025 ~                     1,045        1,037    3.359% (LIBOR03M + 3.250%)                               5.750% (LIBOR03M + 4.750%)
Barracuda Networks, Inc.                                         due 02/06/2026 ~                   1,372     1,366       due 12/01/2027 ~                    3,800       3,823
4.500% (LIBOR03M + 3.750%)                                    E2open LLC                                               Kronos Acquisition Holdings, Inc.
   due 02/12/2025 ~                     1,194        1,194    4.000% (LIBOR03M + 3.500%)                               4.250% (LIBOR03M + 3.750%)
Blackhawk Network Holdings, Inc.                                 due 10/29/2027 ~                   1,625     1,625       due 12/22/2026 ~                    2,350       2,320
3.109% (LIBOR03M + 3.000%)                                    Endure Digital, Inc.                                     LBM Acquisition LLC
   due 06/15/2025 ~                       552          545    4.250% (LIBOR03M + 3.500%)                               TBD% due 12/17/2027 µ                    287         286
Boels Topholding BV                                              due 02/10/2028 ~                   2,200     2,194    4.500% (LIBOR03M + 3.750%)
4.000% (EUR003M + 4.000%)                                                                                                 due 12/17/2027 ~                    1,291       1,287
                                                              Entercom Media Corp.
   due 02/06/2027 ~              EUR    2,800        3,294    2.609% (LIBOR03M + 2.500%)                               Les Schwab Tire Centers
BWAY Holding Co.                                                 due 11/18/2024 ~                     315       309    4.250% (LIBOR03M + 3.500%)
3.443% (LIBOR03M + 3.250%)                                                                                                due 11/02/2027 ~                    2,625       2,634
                                                              Envision Healthcare Corp.
   due 04/03/2024 ~                $    3,631        3,556    3.859% (LIBOR03M + 3.750%)                               Marriott Ownership Resorts, Inc.
Caesars Resort Collection LLC                                    due 10/10/2025 ~                   1,521     1,315    1.859% (LIBOR03M + 1.750%)
2.859% (LIBOR03M + 2.750%)                                                                                                due 08/29/2025 ~                      479         468
                                                              EyeCare Partners LLC
   due 12/23/2024 ~                     3,904        3,848    3.859% (LIBOR03M + 3.750%)                               MH Sub LLC
4.609% (LIBOR03M + 4.500%)                                       due 02/18/2027 ~                     882       874    3.609% (LIBOR03M + 3.500%)
   due 07/21/2025 ~                     3,234        3,244                                                                due 09/13/2024 ~                    4,516       4,468
                                                              Flex Acquisition Co., Inc.
Camelot U.S. Acquisition Co.                                  3.238% - 3.488% (LIBOR03M +                              MPH Acquisition Holdings LLC
3.109% (LIBOR03M + 3.000%)                                       3.250%) due 06/29/2025 ~           1,457     1,435    3.750% (LIBOR03M + 2.750%)
   due 10/30/2026 ~                     2,597        2,580                                                                due 06/07/2023 ~                      432         430
                                                              Foundation Building Materials Holding Co LLC
Canada Goose, Inc.                                            3.750% (LIBOR03M + 3.250%)                               MTN Infrastructure TopCo., Inc.
5.000% (LIBOR03M + 4.250%)                                       due 02/03/2028 ~                   1,700     1,687    4.000% (LIBOR03M + 3.000%)
   due 10/07/2027 ~                     1,397        1,400                                                                due 11/15/2024 ~                    1,221       1,220



114 PIMCO CREDIT BOND FUNDS                                                                                                                         See Accompanying Notes
                                                                                                                                                                     March 31, 2021


                                   PRINCIPAL   MARKET                                         PRINCIPAL    MARKET                                        PRINCIPAL       MARKET
                                    AMOUNT     VALUE                                           AMOUNT      VALUE                                          AMOUNT         VALUE
                                     (000S)     (000S)                                          (000S)      (000S)                                         (000S)         (000S)

NEP Group, Inc.                                          Sophia LP                                                   Welbilt, Inc.
3.359% (LIBOR03M + 3.250%)                               4.500% (LIBOR03M + 3.750%)                                  2.607% (LIBOR03M + 2.500%)
   due 10/20/2025 ~                  $ 3,308 $ 3,219        due 10/07/2027 ~                 $ 1,546      $ 1,547       due 10/23/2025 ~           $       1,615 $         1,555
Nielsen Consumer, Inc.                                   Sotera Health Holdings LLC                                  White Cap Buyer LLC
4.103% (LIBOR03M + 4.000%)                               3.250% (LIBOR03M + 2.750%)                                  4.500% (LIBOR03M + 4.000%)
   due 03/06/2028 ~                    2,275   2,270        due 12/11/2026 ~                   1,100        1,099       due 10/19/2027 ~                   3,591           3,589
NorthRiver Midstream Finance LP                          Spirit AeroSystems Holdings, Inc.                           WOOF Holdings, Inc.
3.488% (LIBOR03M + 3.250%)                               6.000% (LIBOR03M + 5.250%)                                  4.500% (LIBOR03M + 3.750%)
   due 10/01/2025 ~                      733     724        due 01/15/2025 ~                   1,945        1,962       due 12/21/2027 ~                   1,100           1,097
Nouryon Finance BV                                       Staples, Inc.                                               Zaxby’s Operating Company LLC
2.860% (LIBOR03M + 2.750%)                               4.705% (LIBOR03M + 4.500%)                                  4.500% (LIBOR03M + 3.750%)
   due 10/01/2025 ~                    3,548   3,499        due 09/12/2024 ~                     246          243       due 12/28/2027 ~                   1,225           1,226
Novelis, Inc.                                            5.205% (LIBOR03M + 5.000%)                                  Zayo Group Holdings, Inc.
TBD% due 04/15/2025 «                  3,840   3,782        due 04/16/2026 ~                   1,627        1,592    3.109% (LIBOR03M + 3.000%)
OneDigital Borrower LLC                                  Station Casinos LLC                                            due 03/09/2027 ~                   4,739           4,707
TBD% due 11/16/2027 µ                    175     175     2.500% (LIBOR03M + 2.250%)                                  Total Loan Participations and Assignments
5.250% (LIBOR03M + 4.500%)                                  due 02/08/2027 ~                   2,557        2,521      (Cost $249,454)                                  255,138
   due 11/16/2027 ~                    1,775   1,778     Sunshine Luxembourg SARL
Ortho-Clinical Diagnostics S.A.                          4.500% (LIBOR03M + 3.500%)
3.359% - 5.500% (LIBOR03M +                                 due 06/30/2021 ~                     308          308    CORPORATE BONDS & NOTES 3.6%
   3.250%) due 06/30/2025 ~            2,900   2,899
                                                         Symplr Software, Inc.                                       BANKING & FINANCE 0.4%
Parexel International Corp.                              5.250% (LIBOR03M + 4.500%)
2.859% (LIBOR03M + 2.750%)                                  due 12/22/2027 ~                     575          578    Freedom Mortgage Corp.
   due 09/27/2024 ~                      855     846                                                                 7.625% due 05/01/2026                   350             367
                                                         Team Health Holdings, Inc.
Park River Holdings, Inc.                                3.750% (LIBOR03M + 2.750%)                                  PennyMac Financial Services, Inc.
4.000% (LIBOR03M + 3.250%)                                  due 02/06/2024 ~                     823          768    4.250% due 02/15/2029                   800             767
   due 12/28/2027 ~                      875     872
                                                         Telesat LLC                                                                                                       1,134
Peraton Holding Corp.                                    2.860% (LIBOR03M + 2.750%)
TBD% due 02/01/2028 µ                    893     893        due 12/07/2026 ~                     814          785
4.500% (LIBOR03M + 3.750%)                                                                                           INDUSTRIALS 3.2%
                                                         Tempo Acquisition LLC
   due 02/01/2028 ~                      507     507                                                                 Bausch Health Americas, Inc.
                                                         3.750% (LIBOR03M + 3.250%)
Petco Health & Wellness Co.                                 due 11/02/2026 ~                   1,985        1,987    9.250% due 04/01/2026                   600             665
4.000% (LIBOR03M + 3.250%)                                                                                           Cinemark USA, Inc.
                                                         Terrier Media Buyer, Inc.
   due 03/03/2028 ~                    1,150   1,147                                                                 5.875% due 03/15/2026                   250             257
                                                         3.609% (LIBOR03M + 3.500%)
Phoenix Guarantor, Inc.                                     due 12/17/2026 ~                     494          490    Mohegan Gaming & Entertainment
3.361% (LIBOR03M + 3.250%)                                                                                           8.000% due 02/01/2026                 1,200           1,210
   due 03/05/2026 ~                    1,372   1,363     Tibco Software, Inc.
                                                         3.860% (LIBOR03M + 3.750%)                                  NCR Corp.
PQ Corp.                                                    due 06/30/2026 ~                     596          590    5.125% due 04/15/2029 (a)             1,600           1,615
4.000% (LIBOR03M + 3.000%)
   due 02/07/2027 ~                      685     686     Triton Water Holdings, Inc.                                 Prime Healthcare Services, Inc.
                                                         TBD% due 03/18/2028                     850          848    7.250% due 11/01/2025                 1,700           1,817
Presidio, Inc.
3.720% (LIBOR03M + 3.500%)                               Truck Hero, Inc.                                            Six Flags Entertainment Corp.
   due 01/22/2027 ~                    2,214   2,212     4.500% (LIBOR03M + 3.750%)                                  4.875% due 07/31/2024                   250             253
                                                            due 01/31/2028 ~                     350          350    Staples, Inc.
Prime Security Services Borrower LLC
3.500% (LIBOR03M + 2.750%)                               U.S. Renal Care, Inc.                                       7.500% due 04/15/2026                   475             502
   due 09/23/2026 ~                    1,285   1,280     5.125% (LIBOR03M + 5.000%)                                  Vine Energy Holdings LLC
Project Ruby Ultimate Parent Corp.                          due 06/26/2026 ~                   1,662        1,655    6.750% due 04/15/2029 (a)             2,650           2,650
4.000% (LIBOR03M + 3.250%)                               Uber Technologies, Inc.                                     Wynn Macau Ltd.
   due 03/03/2028 ~                      900     897     3.609% (LIBOR03M + 3.500%)                                  5.500% due 01/15/2026                   500             522
PUG LLC                                                     due 04/04/2025 ~                   3,179        3,169
                                                                                                                                                                           9,491
3.609% (LIBOR03M + 3.500%)                               Ultimate Software Group, Inc.
   due 02/12/2027 ~                    1,310   1,269     4.000% (LIBOR03M + 3.250%)
Radiate Holdco LLC                                          due 05/04/2026 ~                   1,990        1,991    UTILITIES 0.0%
4.250% (LIBOR03M + 3.500%)                               Univision Communications, Inc.                              Crestwood Midstream Partners LP
   due 09/25/2026 ~                    2,479   2,480     2.857% (LIBOR03M + 2.750%)                                  6.000% due 02/01/2029                   100               99
RegionalCare Hospital Partners Holdings, Inc.               due 03/15/2024 ~                   4,102        4,079
3.859% (LIBOR03M + 3.750%)                                                                                           Total Corporate Bonds & Notes
                                                         USS Ultimate Holdings, Inc.
   due 11/16/2025 ~                    2,952   2,949                                                                   (Cost $10,696)                                    10,724
                                                         4.750% (LIBOR03M + 3.750%)
Reynolds Group Holdings, Inc.                               due 08/25/2024 ~                   3,487        3,491
                                                                                                                                                          SHARES
3.359% (LIBOR03M + 3.250%)                               Verifone Systems, Inc.
   due 02/05/2026 ~                    1,621   1,605     4.182% (LIBOR03M + 4.000%)                                  COMMON STOCKS 0.1%
Sabre GLBL, Inc.                                            due 08/20/2025 ~                   3,501        3,431
                                                                                                                     FINANCIALS 0.1%
2.109% (LIBOR03M + 2.000%)                               Verscend Holding Corp.
   due 02/22/2024 ~                    2,969   2,935     4.607% (LIBOR03M + 4.500%)                                  Stearns Holdings LLC ‘B’ «(b)       52,605              234
Scientific Games International, Inc.                        due 08/27/2025 ~                   1,587        1,593    Total Common Stocks (Cost $248)                         234
2.859% (LIBOR03M + 2.750%)                               Vertical U.S. Newco, Inc.
   due 08/14/2024 ~                    2,243   2,203     4.478% (LIBOR03M + 4.250%)                                  Total Investments in Securities
Sequa Mezzanine Holdings LLC                                due 07/30/2027 ~                   1,147        1,151    (Cost $260,398)                                    266,096
7.750% (LIBOR03M + 6.750%)                               Wand NewCo 3, Inc.
   due 11/28/2023 ~                    1,251   1,258     3.109% (LIBOR03M + 3.000%)
Sigma Bidco BV                                              due 02/05/2026 ~                   3,015        2,982
3.260% (LIBOR03M + 3.000%)
                                                         Weber-Stephen Products LLC
   due 07/02/2025 ~                    2,481   2,460
                                                         4.000% (LIBOR03M + 3.250%)
SolarWinds Holdings, Inc.                                   due 10/30/2027 ~                   2,294        2,296
2.859% (LIBOR03M + 2.750%)
   due 02/05/2024 ~                    1,250   1,229


See Accompanying Notes                                                                                                       ANNUAL REPORT | MARCH 31, 2021 115
Schedule of Investments PIMCO Low Duration Credit Fund (Cont.)
                                                 MARKET
                                                 VALUE
                                    SHARES        (000S)

 INVESTMENTS IN AFFILIATES 8.4%
 SHORT-TERM INSTRUMENTS 8.4%
 CENTRAL FUNDS USED FOR CASH MANAGEMENT
 PURPOSES 8.4%
 PIMCO Short-Term
   Floating NAV Portfolio III      2,532,753 $    24,973
 Total Short-Term Instruments
 (Cost $24,974)                                  24,973

 Total Investments in Affiliates
 (Cost $24,974)                                  24,973
 Total Investments 98.0%
 (Cost $285,372)                             $ 291,069

 Financial Derivative
    Instruments (c) 0.2%
 (Cost or Premiums, net $0)                          530

 Other Assets and Liabilities, net 1.8%            5,380
 Net Assets 100.0%                           $ 296,979


 NOTES TO SCHEDULE OF INVESTMENTS:

*   A zero balance may reflect actual amounts rounding to less than one thousand.
«   Security valued using significant unobservable inputs (Level 3).
µ   All or a portion of this amount represents unfunded loan commitments. The interest rate for the unfunded portion will be determined at the time of
    funding. See Note 4, Securities and Other Investments, in the Notes to Financial Statements for more information regarding unfunded loan commitments.
~ Variable or Floating rate security. Rate shown is the rate in effect as of period end. Certain variable rate securities are not based on a published reference
    rate and spread, rather are determined by the issuer or agent and are based on current market conditions. Reference rate is as of reset date, which may
    vary by security. These securities may not indicate a reference rate and/or spread in their description.
(a) When-issued security.

 (b) RESTRICTED SECURITIES:

                                                                                                                                                    Market Value
                                                                                                 Acquisition                         Market         as Percentage
Issuer Description                                                                                  Date                     Cost    Value          of Net Assets
Stearns Holdings LLC ‘B’                                                                          3/15/2021              $     248   $   234           0.08%


 BORROWINGS AND OTHER FINANCING TRANSACTIONS

The average amount of borrowings outstanding during the period ended March 31, 2021 was $(2,497) at a weighted average interest rate of 0.721%. Average
borrowings may include reverse repurchase agreements and sale-buyback transactions, if held during the period.

 (c) FINANCIAL DERIVATIVE INSTRUMENTS: OVER THE COUNTER

 FORWARD FOREIGN CURRENCY CONTRACTS:

                                                                                             Unrealized Appreciation/
                                                  Settlement   Currency to    Currency to        (Depreciation)
Counterparty                                        Month      be Delivered   be Received     Asset         Liability
JPM                                                04/2021       $    1,488   EUR    1,267   $     0           $   (2)
SCX                                                04/2021     EUR   11,912     $   14,471       501                0
                                                   05/2021           11,912         14,008        31                0
Total Forward Foreign Currency Contracts                                                     $ 532             $ (2)




116 PIMCO CREDIT BOND FUNDS                                                                                                               See Accompanying Notes
                                                                                                                                                                                                    March 31, 2021


 FINANCIAL DERIVATIVE INSTRUMENTS: OVER THE COUNTER SUMMARY

The following is a summary by counterparty of the market value of OTC financial derivative instruments and collateral (received) as of March 31, 2021:

                                                    Financial Derivative Assets                           Financial Derivative Liabilities
                                        Forward                                                  Forward
                                         Foreign                                      Total       Foreign                                   Total                  Net Market
                                        Currency     Purchased       Swap            Over the    Currency     Written        Swap          Over the               Value of OTC      Collateral          Net
Counterparty                            Contracts     Options     Agreements         Counter     Contracts Options Agreements              Counter                 Derivatives      (Received)       Exposure(1)
JPM                                      $     0      $     0        $       0       $     0          $       (2)   $   0               $   0       $     (2)       $    (2)            $      0      $        (2)
SCX                                          532            0                0           532                   0        0                   0              0            532                 (280)             252
Total Over the Counter                   $ 532        $     0        $ 0             $ 532            $ (2)         $ 0                 $ 0         $ (2)

(1)   Net Exposure represents the net receivable/(payable) that would be due from/to the counterparty in the event of default. Exposure from OTC financial derivative instruments can only
      be netted across transactions governed under the same master agreement with the same legal entity. See Note 8, Master Netting Arrangements, in the Notes to Financial Statements
      for more information.

 FAIR VALUE OF FINANCIAL DERIVATIVE INSTRUMENTS

The following is a summary of the fair valuation of the Fund’s derivative instruments categorized by risk exposure. See Note 7, Principal and Other Risks, in the Notes to Financial
Statements on risks of the Fund.

Fair Values of Financial Derivative Instruments on the Statements of Assets and Liabilities as of March 31, 2021:

                                                                                                         Derivatives not accounted for as hedging instruments
                                                                                                                                         Foreign
                                                                     Commodity                   Credit               Equity            Exchange              Interest
                                                                      Contracts                 Contracts           Contracts           Contracts          Rate Contracts                                     Total
Financial Derivative Instruments - Assets
Over the counter
   Forward Foreign Currency Contracts                                    $       0                $       0                 $       0               $    532                   $        0                 $     532

Financial Derivative Instruments - Liabilities
Over the counter
   Forward Foreign Currency Contracts                                    $       0                $       0                 $       0               $         2                $        0                 $           2


The effect of Financial Derivative Instruments on the Statements of Operations for the year ended March 31, 2021:

                                                                                                     Derivatives not accounted for as hedging instruments
                                                                                                                                    Foreign
                                                                  Commodity                 Credit               Equity            Exchange               Interest
                                                                   Contracts               Contracts           Contracts           Contracts          Rate Contracts                                      Total
Net Realized Gain (Loss) on Financial Derivative Instruments
Exchange-traded or centrally cleared
  Swap Agreements                                         $ 0                             $     (2,048)                 $       0               $         0              $         (1)                $       (2,049)
Over the counter
  Forward Foreign Currency Contracts                      $ 0                             $          0                  $       0               $   (809)                $          0                 $         (809)
  Swap Agreements                                            0                                       0                          0                      0                           67                             67
                                                          $ 0                             $          0                  $       0               $   (809)                $         67                 $         (742)
                                                          $ 0                             $     (2,048)                 $       0               $   (809)                $         66                 $       (2,791)

Net Change in Unrealized Appreciation on Financial Derivative Instruments
Exchange-traded or centrally cleared
  Swap Agreements                                       $ 0             $                          580                  $       0               $         0              $          0                 $         580
Over the counter
  Forward Foreign Currency Contracts                    $ 0             $                                 0             $       0               $       554              $       0                    $         554
  Swap Agreements                                           0                                             0                     0                         0                    444                              444
                                                                     $   0                $          0                  $       0               $       554              $     444                    $         998
                                                                     $   0                $        580                  $       0               $       554              $     444                    $       1,578




See Accompanying Notes                                                                                                                                    ANNUAL REPORT | MARCH 31, 2021 117
Schedule of Investments PIMCO Low Duration Credit Fund (Cont.)                                                                                                                                                 March 31, 2021


 FAIR VALUE MEASUREMENTS

The following is a summary of the fair valuations according to the inputs used as of March 31, 2021 in valuing the Fund’s assets and liabilities:

                                                                                               Fair                                                                                                                 Fair
                                                                                            Value at                                                                                                             Value at
Category and Subcategory                     Level 1         Level 2         Level 3       03/31/2021         Category and Subcategory                        Level 1             Level 2           Level 3     03/31/2021
Investments in Securities, at Value                                                                           Financial Derivative Instruments - Assets
Loan Participations and Assignments $                  0 $     248,774 $         6,364 $       255,138        Over the counter                  $       0 $                            532 $                  0 $         532
Corporate Bonds & Notes
 Banking & Finance                                   0           1,134                 0           1,134      Financial Derivative Instruments - Liabilities
 Industrials                                     2,650           6,841                 0           9,491      Over the counter                  $         0 $                               (2) $             0 $           (2)
 Utilities                                           0              99                 0              99
Common Stocks
 Financials                                          0               0             234             234        Total Financial
                                                                                                                Derivative Instruments                    $             0 $            530 $                  0 $         530
                                    $            2,650 $       256,848 $         6,598 $       266,096
                                                                                                              Totals                                      $    27,623 $            257,378 $          6,598 $       291,599
Investments in Affiliates, at Value
Short-Term Instruments
 Central Funds Used for Cash
   Management Purposes             $          24,973 $                 0 $             0 $        24,973

Total Investments                        $    27,623 $         256,848 $         6,598 $       291,069


The following is a reconciliation of the fair valuations using significant unobservable inputs (Level 3) for the Fund during the period ended March 31, 2021:

                                                                                                                                                                                                          Net Change in
                                                                                                                                                                                                            Unrealized
                                                                                                                                                                                                           Appreciation/
                                                                                                                     Net Change in                                                                        (Depreciation)
                             Beginning                              Net       Accrued                                 Unrealized                                                Ending                    on Investments
Category and                  Balance               Net            Sales/    Discounts/               Realized       Appreciation/       Transfers into       Transfers out    Balance                        Held at
Subcategory                at 03/31/2020         Purchases      Settlements (Premiums)               Gain/(Loss)    (Depreciation)(1)       Level 3             of Level 3  at 03/31/2021                  03/31/2021(1)
Investments in Securities, at Value
Loan Participations
  and Assignments       $ 62,620               $    48,107 $       (81,029)        $       573        $     764        $   5,486           $    907            $   (31,064)           $      6,364              $   169
Common Stocks
 Financials                       0                      248                 0                0               0               (14)                0                           0                234                   (14)

Totals                       $    62,620       $    48,355 $       (81,029)        $       573        $     764        $   5,472           $    907            $   (31,064)           $      6,598              $   155


The following is a summary of significant unobservable inputs used in the fair valuations of assets and liabilities categorized within Level 3 of the fair value hierarchy:

                                     Ending                                                                          (% Unless Noted Otherwise)
                                    Balance                    Valuation                   Unobservable                                 Weighted
Category and Subcategory         at 03/31/2021                 Technique                      Inputs               Input Value(s)       Average
Investments in Securities, at Value
Loan Participations
  and Assignments           $ 6,364                Third Party Vendor                        Broker Quote          98.500-99.875           99.027
Common Stocks
  Financials                      234              Expected Recovery                         Book Value                    1.000x               —
Total                       $ 6,598

(1)   Any difference between Net Change in Unrealized Appreciation/(Depreciation) and Net Change in Unrealized Appreciation/(Depreciation) on Investments Held at March 31, 2021 may
      be due to an investment no longer held or categorized as Level 3 at period end.




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Notes to Financial Statements                                                                                                               March 31, 2021



1. ORGANIZATION                                                              recorded as soon as a Fund is informed of the ex-dividend date.
PIMCO Funds (the “Trust”) is a Massachusetts business trust                  Interest income, adjusted for the accretion of discounts and
established under a Declaration of Trust dated February 19, 1987, as         amortization of premiums, is recorded on the accrual basis from
amended and restated November 4, 2014. The Trust is registered under         settlement date, with the exception of securities with a forward starting
the Investment Company Act of 1940, as amended (the “Act”), as an            effective date, where interest income is recorded on the accrual basis
open-end management investment company. Information presented in             from effective date. For convertible securities, premiums attributable to
these financial statements pertains to the Institutional Class, I-2, I-3,    the conversion feature are not amortized. Estimated tax liabilities on
Administrative Class, Class A, Class C and Class C-2 shares of the           certain foreign securities are recorded on an accrual basis and are
funds (each a “Fund” and collectively, the “Funds”) indicated on the         reflected as components of interest income or net change in unrealized
cover of this report. Pacific Investment Management Company LLC              appreciation (depreciation) on investments on the Statements of
(“PIMCO”) serves as the investment adviser (the “Adviser”) for               Operations, as appropriate. Tax liabilities realized as a result of such
the Funds.                                                                   security sales are reflected as a component of net realized gain (loss)
                                                                             on investments on the Statements of Operations. Paydown gains
On November 18, 2020, the Board of Trustees approved a reduction in          (losses) on mortgage-related and other asset-backed securities, if any,
the holding period of an automatic conversion of the Funds’ Class C          are recorded as components of interest income on the Statements of
and Class C-2 shares into Class A shares of the same Fund from ten           Operations. Income or short-term capital gain distributions received
years to eight years. The reduction in the holding period became             from registered investment companies, if any, are recorded as dividend
effective on January 18, 2021, with the first conversion taking place on     income. Long-term capital gain distributions received from registered
or about February 10, 2021 and subsequent conversions occurring              investment companies, if any, are recorded as realized gains.
monthly thereafter. Certain financial intermediaries may have different
policies and procedures regarding the conversion of Class C and              Debt obligations may be placed on non-accrual status and related
Class C-2 shares to Class A shares, as described in Appendix B to the        interest income may be reduced by ceasing current accruals and writing
applicable Fund’s prospectus (Financial Firm-Specific Sales Charge           off interest receivable when the collection of all or a portion of interest
Waivers and Discounts).                                                      has become doubtful based on consistently applied procedures. A debt
                                                                             obligation is removed from non-accrual status when the issuer resumes
2. SIGNIFICANT ACCOUNTING POLICIES                                           interest payments or when collectability of interest is probable.
The following is a summary of significant accounting policies
                                                                             (b) Foreign Currency Translation The market values of foreign
consistently followed by the Trust in the preparation of its financial
                                                                             securities, currency holdings and other assets and liabilities
statements in conformity with accounting principles generally accepted
                                                                             denominated in foreign currencies are translated into U.S. dollars based
in the United States of America (“U.S. GAAP”). Each Fund is treated as
                                                                             on the current exchange rates each business day. Purchases and sales
an investment company under the reporting requirements of U.S.
                                                                             of securities and income and expense items denominated in foreign
GAAP. The functional and reporting currency for the Funds is the U.S.
                                                                             currencies, if any, are translated into U.S. dollars at the exchange rate
dollar. The preparation of financial statements in accordance with U.S.
                                                                             in effect on the transaction date. The Funds do not separately report
GAAP requires management to make estimates and assumptions that
                                                                             the effects of changes in foreign exchange rates from changes in
affect the reported amounts of assets and liabilities and disclosure of
                                                                             market prices on securities held. Such changes are included in net
contingent assets and liabilities at the date of the financial statements
                                                                             realized gain (loss) and net change in unrealized appreciation
and the reported amounts of increases and decreases in net assets
                                                                             (depreciation) from investments on the Statements of Operations. The
from operations during the reporting period. Actual results could differ
                                                                             Funds may invest in foreign currency-denominated securities and may
from those estimates.
                                                                             engage in foreign currency transactions either on a spot (cash) basis at
(a) Securities Transactions and Investment Income Securities                 the rate prevailing in the currency exchange market at the time or
transactions are recorded as of the trade date for financial reporting       through a forward foreign currency contract. Realized foreign exchange
purposes. Securities purchased or sold on a when-issued or delayed-          gains (losses) arising from sales of spot foreign currencies, currency
delivery basis may be settled beyond a standard settlement period for        gains (losses) realized between the trade and settlement dates on
the security after the trade date. Realized gains (losses) from securities   securities transactions and the difference between the recorded
sold are recorded on the identified cost basis. Dividend income is           amounts of dividends, interest, and foreign withholding taxes and the
recorded on the ex-dividend date, except certain dividends from foreign      U.S. dollar equivalent of the amounts actually received or paid are
securities where the ex-dividend date may have passed, which are             included in net realized gain (loss) on foreign currency transactions on


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the Statements of Operations. Net unrealized foreign exchange gains          Separately, if a Fund determines or estimates, as applicable, that a
(losses) arising from changes in foreign exchange rates on foreign           portion of a distribution may be comprised of amounts from sources
denominated assets and liabilities other than investments in securities      other than net investment income in accordance with its policies,
held at the end of the reporting period are included in net change in        accounting records (if applicable), and accounting practices, the Fund
unrealized appreciation (depreciation) on foreign currency assets and        will notify shareholders of the estimated composition of such
liabilities on the Statements of Operations.                                 distribution through a Section 19 Notice. For these purposes, a Fund
                                                                             determines or estimates, as applicable, the source or sources from
(c) Multi-Class Operations Each class offered by the Trust has equal         which a distribution is paid, to the close of the period as of which it is
rights as to assets and voting privileges (except that shareholders of a     paid, in reference to its internal accounting records and related
class have exclusive voting rights regarding any matter relating solely to   accounting practices. If, based on such accounting records and
that class of shares). Income and non-class specific expenses are            practices, it is determined or estimated, as applicable, that a particular
allocated daily to each class on the basis of the relative net assets.       distribution does not include capital gains or paid-in surplus or other
Realized and unrealized capital gains (losses) are allocated daily based     capital sources, a Section 19 Notice generally would not be issued. It is
on the relative net assets of each class of the respective Fund.             important to note that differences exist between a Fund’s daily internal
Class specific expenses, where applicable, currently include supervisory     accounting records and practices, a Fund’s financial statements
and administrative and distribution and servicing fees. Under certain        presented in accordance with U.S. GAAP, and recordkeeping practices
circumstances, the per share net asset value (“NAV”) of a class of the       under income tax regulations. For instance, a Fund’s internal
respective Fund’s shares may be different from the per share NAV of          accounting records and practices may take into account, among other
another class of shares as a result of the different daily expense           factors, tax-related characteristics of certain sources of distributions
accruals applicable to each class of shares.                                 that differ from treatment under U.S. GAAP. Examples of such
(d) Distributions to Shareholders The following table shows the              differences may include but are not limited to, for certain Funds, the
anticipated frequency of distributions from net investment income, if        treatment of periodic payments under interest rate swap contracts.
any, for each Fund.                                                          Accordingly, among other consequences, it is possible that a Fund may
                                                                             not issue a Section 19 Notice in situations where the Fund’s financial
                                                 Distribution Frequency
Fund Name                                       Declared    Distributed
                                                                             statements prepared later and in accordance with U.S. GAAP and/or
PIMCO Diversified Income Fund                      Daily      Monthly
                                                                             the final tax character of those distributions might later report that the
PIMCO ESG Income Fund                              Daily      Monthly        sources of those distributions included capital gains and/or a return of
PIMCO High Yield Spectrum Fund                     Daily      Monthly        capital. Please visit www.pimco.com for the most recent Section 19
PIMCO Long-Term Credit Bond Fund                   Daily      Monthly        Notice, if applicable, for additional information regarding the estimated
PIMCO Low Duration Credit Fund                     Daily      Monthly        composition of distributions. Final determination of a distribution’s tax
PIMCO Low Duration Income Fund                     Daily      Monthly
                                                                             character will be provided to shareholders when such information
PIMCO Credit Opportunities Bond Fund            Quarterly    Quarterly
PIMCO Preferred and Capital Securities Fund     Quarterly    Quarterly
                                                                             is available.

                                                                             Distributions classified as a tax basis return of capital at a Fund’s fiscal
Net realized capital gains earned by each Fund, if any, will be
                                                                             year end, if any, are reflected on the Statements of Changes in Net
distributed no less frequently than once each year.
                                                                             Assets and have been recorded to paid in capital on the Statements of
Income distributions and capital gain distributions are determined in        Assets and Liabilities. In addition, other amounts have been reclassified
accordance with income tax regulations which may differ from U.S.            between distributable earnings (accumulated loss) and paid in capital
GAAP. Differences between tax regulations and U.S. GAAP may cause            on the Statements of Assets and Liabilities to more appropriately
timing differences between income and capital gain recognition.              conform U.S. GAAP to tax characterizations of distributions.
Further, the character of investment income and capital gains may be
                                                                             (e) New Accounting Pronouncements and Regulatory Updates In
different for certain transactions under the two methods of accounting.
                                                                             March 2020, the Financial Accounting Standards Board issued an
As a result, income distributions and capital gain distributions declared
                                                                             Accounting Standards Update (“ASU”), ASU 2020-04, which provides
during a fiscal period may differ significantly from the net investment
                                                                             optional guidance to ease the potential accounting burden associated
income (loss) and realized gains (losses) reported on each Fund’s
                                                                             with transitioning away from the London Interbank Offered Rate and
annual financial statements presented under U.S. GAAP.
                                                                             other reference rates that are expected to be discontinued. The ASU is
                                                                             effective immediately upon release of the update on March 12, 2020


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through December 31, 2022. At this time, management is evaluating            portfolio investments and other assets, less any liabilities attributable to
implications of these changes on the financial statements.                   that Fund or class, by the total number of shares outstanding of that
                                                                             Fund or class.
In October 2020, the U.S. Securities and Exchange Commission
(“SEC”) adopted a rule related to the use of derivatives, short sales,       On each day that the New York Stock Exchange (“NYSE”) is open,
reverse repurchase agreements and certain other transactions by              Fund shares are ordinarily valued as of the close of regular trading
registered investment companies that rescinds and withdraws the              (normally 4:00 p.m., Eastern time) (“NYSE Close”). Information that
guidance of the SEC and its staff regarding asset segregation and cover      becomes known to the Funds or their agents after the time as of which
transactions. Subject to certain exceptions, the rule requires funds to      NAV has been calculated on a particular day will not generally be used
trade derivatives and other transactions that create future payment or       to retroactively adjust the price of a security or the NAV determined
delivery obligations (except reverse repurchase agreements and similar       earlier that day. If regular trading on the NYSE closes earlier than
financing transactions) subject to a value-at-risk leverage limit, certain   scheduled, each Fund reserves the right to either (i) calculate its NAV
derivatives risk management program and reporting requirements. The          as of the earlier closing time or (ii) calculate its NAV as of the normally
rule went into effect on February 19, 2021 and funds will have an            scheduled close of regular trading on the NYSE for that day. Each Fund
eighteen-month transition period to comply with the rule and related         generally does not calculate their NAV on days during which the NYSE
reporting requirements. At this time, management is evaluating the           is closed. However, if the NYSE is closed on a day it would normally be
implications of these changes on the financial statements.                   open for business, each Fund reserves the right to calculate their NAV
                                                                             as of the normally scheduled close of regular trading on the NYSE for
In October 2020, the SEC adopted a rule regarding the ability of a fund      that day or such other time that the Fund may determine.
to invest in other funds. The rule allows a fund to acquire shares of
another fund in excess of certain limitations currently imposed by the       For purposes of calculating NAV, portfolio securities and other assets
Act without obtaining individual exemptive relief from the SEC, subject      for which market quotes are readily available are valued at market
to certain conditions. The rule also included the rescission of certain      value. Market value is generally determined on the basis of official
exemptive relief from the SEC and guidance from the SEC staff for            closing prices or the last reported sales prices, or if no sales are
funds to invest in other funds. The rule went into effect on January 19,     reported, based on quotes obtained from established market makers or
2021 and funds will have a one-year transition period to comply with         prices (including evaluated prices) supplied by the Funds’ approved
the rule and related reporting requirements. At this time, management        pricing services, quotation reporting systems and other third-party
is evaluating the implications of these changes on the                       sources (together, “Pricing Services”). The Funds will normally use
financial statements.                                                        pricing data for domestic equity securities received shortly after the
                                                                             NYSE Close and do not normally take into account trading, clearances
In December 2020, the SEC adopted a rule addressing fair valuation of        or settlements that take place after the NYSE Close. If market value
fund investments. The new rule sets forth requirements for good faith        pricing is used, a foreign (non-U.S.) equity security traded on a foreign
determinations of fair value as well as for the performance of fair value    exchange or on more than one exchange is typically valued using
determinations, including related oversight and reporting obligations.       pricing information from the exchange considered by the Adviser to be
The new rule also defines “readily available market quotations” for          the primary exchange. A foreign (non-U.S.) equity security will be
purposes of the definition of “value” under the Act, and the SEC noted       valued as of the close of trading on the foreign exchange, or the NYSE
that this definition would apply in all contexts under the Act. The          Close, if the NYSE Close occurs before the end of trading on the foreign
effective date for the rule was March 8, 2021. The SEC adopted an            exchange. Domestic and foreign (non-U.S.) fixed income securities,
eighteen-month transition period beginning from the effective date for       non-exchange traded derivatives, and equity options are normally
both the new rule and the associated new recordkeeping requirements.         valued on the basis of quotes obtained from brokers and dealers or
At this time, management is evaluating the implications of these             Pricing Services using data reflecting the earlier closing of the principal
changes on the financial statements.                                         markets for those securities. Prices obtained from Pricing Services may
3. INVESTMENT VALUATION AND FAIR VALUE                                       be based on, among other things, information provided by market
MEASUREMENTS                                                                 makers or estimates of market values obtained from yield data relating
                                                                             to investments or securities with similar characteristics. Certain fixed
(a) Investment Valuation Policies The price of a Fund’s shares is
                                                                             income securities purchased on a delayed-delivery basis are marked to
based on the Fund’s NAV. The NAV of a Fund, or each of its share
                                                                             market daily until settlement at the forward settlement date. Exchange-
classes, as applicable, is determined by dividing the total value of
                                                                             traded options, except equity options, futures and options on futures


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are valued at the settlement price determined by the relevant                   Services. As a result, the value of such investments and, in turn, the
exchange. Swap agreements are valued on the basis of bid quotes                 NAV of a Fund’s shares may be affected by changes in the value of
obtained from brokers and dealers or market-based prices supplied by            currencies in relation to the U.S. dollar. The value of investments traded
Pricing Services. A Fund’s investments in open-end management                   in markets outside the United States or denominated in currencies
investment companies, other than exchange-traded funds (“ETFs”), are            other than the U.S. dollar may be affected significantly on a day that
valued at the NAVs of such investments. Open-end management                     the Trust is not open for business. As a result, to the extent that a Fund
investment companies may include affiliated funds.                              holds foreign (non-U.S.) investments, the value of those investments
                                                                                may change at times when shareholders are unable to buy or sell
If a foreign (non-U.S.) equity security’s value has materially changed          shares and the value of such investments will be reflected in the Fund’s
after the close of the security’s primary exchange or principal market          next calculated NAV.
but before the NYSE Close, the security may be valued at fair value
based on procedures established and approved by the Board of                    Investments for which market quotes or market based valuations are
Trustees of the Trust (the “Board”). Foreign (non-U.S.) equity securities       not readily available are valued at fair value as determined in good
that do not trade when the NYSE is open are also valued at fair value.          faith by the Board or persons acting at their direction. The Board has
With respect to foreign (non-U.S.) equity securities, a Fund may                adopted methods for valuing securities and other assets in
determine the fair value of investments based on information provided           circumstances where market quotes are not readily available, and has
by Pricing Services and other third-party vendors, which may                    delegated to the Adviser the responsibility for applying the fair
recommend fair value or adjustments with reference to other securities,         valuation methods. In the event that market quotes or market based
indices or assets. In considering whether fair valuation is required and        valuations are not readily available, and the security or asset cannot be
in determining fair values, a Fund may, among other things, consider            valued pursuant to a Board approved valuation method, the value of
significant events (which may be considered to include changes in the           the security or asset will be determined in good faith by the Board.
value of U.S. securities or securities indices) that occur after the close of   Market quotes are considered not readily available in circumstances
the relevant market and before the NYSE Close. A Fund may utilize               where there is an absence of current or reliable market-based data
modeling tools provided by third-party vendors to determine fair values         (e.g., trade information, bid/ask information, indicative market
of foreign (non-U.S.) securities. For these purposes, any movement in           quotations (“Broker Quotes”), Pricing Services’ prices), including where
the applicable reference index or instrument (“zero trigger”) between           events occur after the close of the relevant market, but prior to the
the earlier close of the applicable foreign market and the NYSE Close           NYSE Close, that materially affect the values of a Fund’s securities or
may be deemed to be a significant event, prompting the application of           assets. In addition, market quotes are considered not readily available
the pricing model (effectively resulting in daily fair valuations). Foreign     when, due to extraordinary circumstances, the exchanges or markets
exchanges may permit trading in foreign (non-U.S.) equity securities on         on which the securities trade do not open for trading for the entire day
days when the Trust is not open for business, which may result in a             and no other market prices are available. The Board has delegated, to
Fund’s portfolio investments being affected when shareholders are               the Adviser, the responsibility for monitoring significant events that
unable to buy or sell shares.                                                   may materially affect the values of a Fund’s securities or assets and for
                                                                                determining whether the value of the applicable securities or assets
Senior secured floating rate loans for which an active secondary market         should be reevaluated in light of such significant events.
exists to a reliable degree are valued at the mean of the last available
bid/ask prices in the market for such loans, as provided by a Pricing           When a Fund uses fair valuation to determine the value of a portfolio
Service. Senior secured floating rate loans for which an active                 security or other asset for purposes of calculating its NAV, such
secondary market does not exist to a reliable degree are valued at fair         investments will not be priced on the basis of quotes from the primary
value, which is intended to approximate market value. In valuing a              market in which they are traded, but rather may be priced by another
senior secured floating rate loan at fair value, the factors considered         method that the Board or persons acting at their direction believe
may include, but are not limited to, the following: (a) the                     reflects fair value. Fair valuation may require subjective determinations
creditworthiness of the borrower and any intermediate participants,             about the value of a security. While the Trust’s policy is intended to
(b) the terms of the loan, (c) recent prices in the market for similar          result in a calculation of a Fund’s NAV that fairly reflects security values
loans, if any, and (d) recent prices in the market for instruments of           as of the time of pricing, the Trust cannot ensure that fair values
similar quality, rate, period until next interest rate reset and maturity.      determined by the Board or persons acting at their direction would
                                                                                accurately reflect the price that a Fund could obtain for a security if it
Investments valued in currencies other than the U.S. dollar are                 were to dispose of that security as of the time of pricing (for instance,
converted to the U.S. dollar using exchange rates obtained from Pricing

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in a forced or distressed sale). The prices used by a Fund may differ            For fair valuations using significant unobservable inputs, U.S. GAAP
from the value that would be realized if the securities were sold. The           requires a reconciliation of the beginning to ending balances for
Funds’ use of fair valuation may also help to deter “stale price                 reported fair values that presents changes attributable to realized gain
arbitrage” as discussed under the “Abusive Trading Practices” section            (loss), unrealized appreciation (depreciation), purchases and sales,
in each Fund’s prospectus.                                                       accrued discounts (premiums), and transfers into and out of the Level 3
                                                                                 category during the period. The end of period value is used for the
(b) Fair Value Hierarchy U.S. GAAP describes fair value as the price             transfers between Levels of a Fund’s assets and liabilities. Additionally,
that a Fund would receive to sell an asset or pay to transfer a liability in     U.S. GAAP requires quantitative information regarding the significant
an orderly transaction between market participants at the                        unobservable inputs used in the determination of fair value of assets or
measurement date. It establishes a fair value hierarchy that prioritizes         liabilities categorized as Level 3 in the fair value hierarchy. In
inputs to valuation methods and requires disclosure of the fair value            accordance with the requirements of U.S. GAAP, a fair value hierarchy,
hierarchy, separately for each major category of assets and liabilities,         and if material, a Level 3 reconciliation and details of significant
that segregates fair value measurements into levels (Level 1, 2, or 3).          unobservable inputs, have been included in the Notes to Schedule of
The inputs or methodology used for valuing securities are not                    Investments for each respective Fund.
necessarily an indication of the risks associated with investing in those
securities. Levels 1, 2, and 3 of the fair value hierarchy are defined           (c) Valuation Techniques and the Fair Value Hierarchy
as follows:                                                                      Level 1 and Level 2 trading assets and trading liabilities, at fair
䡲   Level 1 — Quoted prices in active markets or exchanges for identical         value The valuation methods (or “techniques”) and significant inputs
    assets and liabilities.                                                      used in determining the fair values of portfolio securities or other assets
                                                                                 and liabilities categorized as Level 1 and Level 2 of the fair value
䡲   Level 2 — Significant other observable inputs, which may include,
                                                                                 hierarchy are as follows:
    but are not limited to, quoted prices for similar assets or liabilities in
    markets that are active, quoted prices for identical or similar assets       Fixed income securities including corporate, convertible and municipal
    or liabilities in markets that are not active, inputs other than quoted      bonds and notes, U.S. government agencies, U.S. treasury obligations,
    prices that are observable for the assets or liabilities (such as interest   sovereign issues, bank loans, convertible preferred securities and
    rates, yield curves, volatilities, prepayment speeds, loss severities,       non-U.S. bonds are normally valued on the basis of quotes obtained from
    credit risks and default rates) or other market corroborated inputs.         brokers and dealers or Pricing Services that use broker-dealer quotations,
䡲   Level 3 — Significant unobservable inputs based on the best                  reported trades or valuation estimates from their internal pricing models.
    information available in the circumstances, to the extent observable         The Pricing Services’ internal models use inputs that are observable such
    inputs are not available, which may include assumptions made by              as issuer details, interest rates, yield curves, prepayment speeds, credit
    the Board or persons acting at their direction that are used in              risks/spreads, default rates and quoted prices for similar assets. Securities
    determining the fair value of investments.                                   that use similar valuation techniques and inputs as described above are
                                                                                 categorized as Level 2 of the fair value hierarchy.
Assets or liabilities categorized as Level 2 or 3 as of period end have
been transferred between Levels 2 and 3 since the prior period due to            Fixed income securities purchased on a delayed-delivery basis or as a
changes in the method utilized in valuing the investments. Transfers             repurchase commitment in a sale-buyback transaction are marked to
from Level 2 to Level 3 are a result of a change, in the normal course of        market daily until settlement at the forward settlement date and are
business, from the use of methods used by Pricing Services (Level 2) to          categorized as Level 2 of the fair value hierarchy.
the use of a Broker Quote or valuation technique which utilizes
                                                                                 Mortgage-related and asset-backed securities are usually issued as
significant unobservable inputs due to an absence of current or reliable
                                                                                 separate tranches, or classes, of securities within each deal. These
market-based data (Level 3). Transfers from Level 3 to Level 2 are a
                                                                                 securities are also normally valued by Pricing Services that use broker-
result of the availability of current and reliable market-based data
                                                                                 dealer quotations, reported trades or valuation estimates from their
provided by Pricing Services or other valuation techniques which utilize
                                                                                 internal pricing models. The pricing models for these securities usually
significant observable inputs. In accordance with the requirements of
                                                                                 consider tranche-level attributes, current market data, estimated cash
U.S. GAAP, the amounts of transfers into and out of Level 3, if
                                                                                 flows and market-based yield spreads for each tranche, and incorporate
material, are disclosed in the Notes to Schedule of Investments for each
                                                                                 deal collateral performance, as available. Mortgage-related and asset-
respective Fund.
                                                                                 backed securities that use similar valuation techniques and inputs as
                                                                                 described above are categorized as Level 2 of the fair value hierarchy.

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Common stocks, ETFs, exchange-traded notes and financial derivative          using a series of techniques, including simulation pricing models. The
instruments, such as futures contracts, rights and warrants, or options on   pricing models may use inputs that are observed from actively quoted
futures that are traded on a national securities exchange, are stated at     markets such as the overnight index swap rate, London Interbank
the last reported sale or settlement price on the day of valuation. To the   Offered Rate forward rate, interest rates, yield curves and credit
extent these securities are actively traded and valuation adjustments are    spreads. These securities are categorized as Level 2 of the fair
not applied, they are categorized as Level 1 of the fair value hierarchy.    value hierarchy.

Valuation adjustments may be applied to certain securities that are          Level 3 trading assets and trading liabilities, at fair value When a
solely traded on a foreign exchange to account for the market                fair valuation method is applied by the Adviser that uses significant
movement between the close of the foreign market and the NYSE                unobservable inputs, investments will be priced by a method that the
Close. These securities are valued using Pricing Services that consider      Board or persons acting at their direction believe reflects fair value and
the correlation of the trading patterns of the foreign security to the       are categorized as Level 3 of the fair value hierarchy. The valuation
intraday trading in the U.S. markets for investments. Securities using       techniques and significant inputs used in determining the fair values of
these valuation adjustments are categorized as Level 2 of the fair value     portfolio assets and liabilities categorized as Level 3 of the fair value
hierarchy. Preferred securities and other equities traded on inactive        hierarchy are as follows:
markets or valued by reference to similar instruments are also
                                                                             Proxy pricing procedures set the base price of a fixed income security
categorized as Level 2 of the fair value hierarchy.
                                                                             and subsequently adjust the price proportionally to market value
Investments in registered open-end investment companies (other than          changes of a pre-determined security deemed to be comparable in
ETFs) will be valued based upon the NAVs of such investments and are         duration, generally a U.S. Treasury or sovereign note based on country
categorized as Level 1 of the fair value hierarchy. Investments in           of issuance. The base price may be a broker-dealer quote, transaction
unregistered open-end investment companies will be calculated based          price, or an internal value as derived by analysis of market data. The
upon the NAVs of such investments and are considered Level 1                 base price of the security may be reset on a periodic basis based on the
provided that the NAVs are observable, calculated daily and are the          availability of market data and procedures approved by the Valuation
value at which both purchases and sales will be conducted.                   Oversight Committee. Significant changes in the unobservable inputs of
                                                                             the proxy pricing process (the base price) would result in direct and
Equity exchange-traded options and over the counter financial                proportional changes in the fair value of the security. These securities
derivative instruments, such as forward foreign currency contracts and       are categorized as Level 3 of the fair value hierarchy.
options contracts derive their value from underlying asset prices,
indices, reference rates, and other inputs or a combination of these         If third-party evaluated vendor pricing is not available or not deemed to
factors. These contracts are normally valued on the basis of quotes          be indicative of fair value, the Adviser may elect to obtain indicative
obtained from a quotation reporting system, established market makers        market quotations directly from the broker-dealer or passed-through
or Pricing Services (normally determined as of the NYSE Close).              Broker Quotes from a third-party vendor. In the event that fair value is
Depending on the product and the terms of the transaction, financial         based upon a single sourced Broker Quote, these securities are
derivative instruments can be valued by Pricing Services using a series      categorized as Level 3 of the fair value hierarchy. Broker Quotes are
of techniques, including simulation pricing models. The pricing models       typically received from established market participants. Although
use inputs that are observed from actively quoted markets such as            independently received, the Adviser does not have the transparency to
quoted prices, issuer details, indices, bid/ask spreads, interest rates,     view the underlying inputs which support the market quotation.
implied volatilities, yield curves, dividends and exchange rates.            Significant changes in the Broker Quote would have direct and
Financial derivative instruments that use similar valuation techniques       proportional changes in the fair value of the security.
and inputs as described above are categorized as Level 2 of the fair
                                                                             Discounted cash flow valuation uses an internal analysis based on the
value hierarchy.
                                                                             Adviser’s expectation of future income and expenses, capital structure,
Centrally cleared swaps and over the counter swaps derive their value        exit multiples of a security, and other unobservable inputs which may
from underlying asset prices, indices, reference rates, and other inputs     include contractual and factual loan factors, estimated future payments
or a combination of these factors. They are valued using a broker-           and credit rating. Significant changes in the unobservable inputs of the
dealer bid quotation or on market-based prices provided by Pricing           models would result in direct and proportional changes in the fair value
Services (normally determined as of the NYSE Close). Centrally cleared       of the security. These securities are categorized as Level 3 of the fair
swaps and over the counter swaps can be valued by Pricing Services           value hierarchy.

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Market comparable valuation estimates fair value by applying a                                         Expected recovery valuation estimates that the fair value of an existing
valuation multiple to a key performance metric of the company, which                                   asset can be recovered, net of any liability. Significant changes in the
may include unobservable inputs such as earnings before interest,                                      unobservable inputs would result in direct and proportional changes in
taxes, depreciation and amortization ("EBITDA"), the Adviser’s                                         the fair value of the security. These securities are categorized as Level 3
assumptions regarding comparable companies and non-public                                              of the fair value hierarchy.
statements from the underlying company. Significant changes in the
unobservable inputs would result in direct and proportional changes in                                 Securities may be valued based on purchase prices of privately
the fair value of the security. These securities are categorized as Level 3                            negotiated transactions. Significant changes in the unobservable inputs
of the fair value hierarchy.                                                                           would result in direct and proportional changes in the fair value of the
                                                                                                       security. These securities are categorized as Level 3 of the fair
Reference instrument valuation estimates fair value by utilizing the                                   value hierarchy.
correlation of the security to one or more broad-based securities,
market indices, and/or other financial instruments, whose pricing                                      Short-term debt instruments (such as commercial paper) having a
information is readily available. Unobservable inputs may include those                                remaining maturity of 60 days or less may be valued at amortized cost,
used in algorithms based on percentage change in the reference                                         so long as the amortized cost value of such short-term debt instruments
instruments and/or weights of each reference instrument. Significant                                   is approximately the same as the fair value of the instrument as
changes in the unobservable inputs would result in direct and                                          determined without the use of amortized cost valuation. These
proportional changes in the fair value of the security. These securities                               securities are categorized as Level 2 or Level 3 of the fair value
are categorized as Level 3 of the fair value hierarchy.                                                hierarchy depending on the source of the base price.

4. SECURITIES AND OTHER INVESTMENTS
(a) Investments in Affiliates
Each Fund may invest in the PIMCO Short Asset Portfolio and the PIMCO Short-Term Floating NAV Portfolio III (“Central Funds”) to the extent
permitted by the Act and rules thereunder. The Central Funds are registered investment companies created for use solely by the series of the Trust and
other series of registered investment companies advised by the Adviser, in connection with their cash management activities. The main investments of
the Central Funds are money market and short maturity fixed income instruments. The Central Funds may incur expenses related to their investment
activities, but do not pay Investment Advisory Fees or Supervisory and Administrative Fees to the Adviser. The Central Funds are considered to be
affiliated with the Funds. A complete schedule of portfolio holdings for each affiliate fund is filed with the SEC for the first and third quarters of each
fiscal year on Form N-PORT and is available at the SEC’s website at www.sec.gov. A copy of each affiliate fund’s shareholder report is also available
at the SEC’s website at www.sec.gov, on the Funds’ website at www.pimco.com, or upon request, as applicable. The tables below show the Funds’
transactions in and earnings from investments in the affiliated Funds for the period ended March 31, 2021 (amounts in thousands†):
Investment in PIMCO Short Asset Portfolio
                                                                                                                                     Change in
                                                                                                           Net                       Unrealized                                      Realized Net
                                                                      Market Value Purchases Proceeds    Realized                   Appreciation Market Value Dividend               Capital Gain
 Fund Name                                                             03/31/2020   at Cost  from Sales Gain (Loss)                (Depreciation) 03/31/2021  Income(1)             Distributions(1)
 PIMCO Diversified Income Fund                                          $ 30,618         $ 402          $ (1)          $ 0            $ 1,027           $ 32,046         $ 402             $ 0

Investments in PIMCO Short-Term Floating NAV Portfolio III
                                                                                                                                     Change in
                                                                                                                      Net            Unrealized                                      Realized Net
                                                                Market Value       Purchases        Proceeds        Realized        Appreciation Market Value Dividend               Capital Gain
 Fund Name                                                       03/31/2020         at Cost        from Sales      Gain (Loss)     (Depreciation) 03/31/2021  Income(1)             Distributions(1)
 PIMCO Credit Opportunities Bond Fund                              $ 42,171       $     297,186 $ (252,100)           $ (77)           $ 347           $ 87,527          $ 286             $ 0
 PIMCO Diversified Income Fund                                        1,332           1,475,725  (1,016,100)             17              (38)            460,936           324               0
 PIMCO High Yield Spectrum Fund                                      23,442             286,822    (271,101)             49               54              39,266           122               0
 PIMCO Long-Term Credit Bond Fund                                    22,239           1,922,875  (1,889,700)            357              (26)             55,745           145               0
 PIMCO Low Duration Credit Fund                                      41,898             689,540    (706,800)            301               34              24,973           141               0
 PIMCO Low Duration Income Fund                                      27,158           1,312,017  (1,304,700)             (8)              (1)             34,466            37               0
 PIMCO Preferred and Capital Securities Fund                             52           1,266,122  (1,188,000)             94                9              78,277           322               0
†     A zero balance may reflect actual amounts rounding to less than one thousand.
(1)   The tax characterization of distributions is determined in accordance with Federal income tax regulations and may contain a return of capital. The actual tax characterization of
      distributions received is determined at the end of the fiscal year of the affiliated fund. See Note 2, Distributions to Shareholders, in the Notes to Financial Statements for more information.

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(b) Investments in Securities                                                amounts owed to lenders or lending syndicates by corporate,
The Funds may utilize the investments and strategies described below         governmental, or other borrowers. A Fund’s investments in loans may
to the extent permitted by each Fund’s respective investment policies.       be in the form of participations in loans or assignments of all or a
                                                                             portion of loans from third parties or investments in or originations of
Bank Obligations in which a Fund may invest include certificates of          loans by the Fund or Funds. A loan is often administered by a bank or
deposit, bankers’ acceptances, and fixed time deposits. Certificates of      other financial institution (the “agent”) that acts as agent for all
deposit are negotiable certificates issued against Funds deposited in a      holders. The agent administers the terms of the loan, as specified in the
commercial bank for a definite period of time and earning a specified        loan agreement. A Fund may invest in multiple series or tranches of a
return. Bankers’ acceptances are negotiable drafts or bills of exchange,     loan, which may have varying terms and carry different associated risks.
normally drawn by an importer or exporter to pay for specific                When a Fund purchases assignments from agents it acquires direct
merchandise, which are “accepted” by a bank, meaning, in effect, that        rights against the borrowers of the loans. These loans may include
the bank unconditionally agrees to pay the face value of the instrument      participations in bridge loans, which are loans taken out by borrowers
on maturity. Fixed time deposits are bank obligations payable at a           for a short period (typically less than one year) pending arrangement of
stated maturity date and bearing interest at a fixed rate. Fixed time        more permanent financing through, for example, the issuance of
deposits may be withdrawn on demand by the investor, but may be              bonds, frequently high yield bonds issued for the purpose
subject to early withdrawal penalties which vary depending upon              of acquisitions.
market conditions and the remaining maturity of the obligation.
                                                                             The types of loans and related investments in which the Funds may
Delayed-Delivery Transactions involve a commitment by a Fund to              invest include, among others, senior loans, subordinated loans
purchase or sell securities for a predetermined price or yield, with         (including second lien loans, B-Notes and mezzanine loans), whole
payment and delivery taking place beyond the customary settlement            loans, commercial real estate and other commercial loans and
period. When delayed-delivery transactions are outstanding, a Fund           structured loans. The Funds may originate loans or acquire direct
will designate or receive as collateral liquid assets in an amount           interests in loans through primary loan distributions and/or in private
sufficient to meet the purchase price or respective obligations. When        transactions. In the case of subordinated loans, there may be
purchasing a security on a delayed-delivery basis, a Fund assumes the        significant indebtedness ranking ahead of the borrower’s obligation to
rights and risks of ownership of the security, including the risk of price   the holder of such a loan, including in the event of the borrower’s
and yield fluctuations, and takes such fluctuations into account when        insolvency. Mezzanine loans are typically secured by a pledge of an
determining its NAV. A Fund may dispose of or renegotiate a delayed-         equity interest in the mortgage borrower that owns the real estate
delivery transaction after it is entered into, which may result in a         rather than an interest in a mortgage.
realized gain (loss). When a Fund has sold a security on a delayed-
delivery basis, the Fund does not participate in future gains (losses)       Investments in loans may include unfunded loan commitments, which
with respect to the security.                                                are contractual obligations for funding. Unfunded loan commitments
                                                                             may include revolving credit facilities, which may obligate a Fund to
Inflation-Indexed Bonds are fixed income securities whose principal          supply additional cash to the borrower on demand. Unfunded loan
value is periodically adjusted by the rate of inflation. The interest rate   commitments represent a future obligation in full, even though a
on these bonds is generally fixed at issuance at a rate lower than           percentage of the committed amount may not be utilized by the
typical bonds. Over the life of an inflation-indexed bond, however,          borrower. When investing in a loan participation, a Fund has the right
interest will be paid based on a principal value which is adjusted for       to receive payments of principal, interest and any fees to which it is
inflation. Any increase or decrease in the principal amount of an            entitled only from the agent selling the loan agreement and only upon
inflation-indexed bond will be included as interest income on the            receipt of payments by the agent from the borrower. A Fund may
Statements of Operations, even though investors do not receive their         receive a commitment fee based on the undrawn portion of the
principal until maturity. Repayment of the original bond principal upon      underlying line of credit portion of a loan. In certain circumstances, a
maturity (as adjusted for inflation) is guaranteed in the case of U.S.       Fund may receive a penalty fee upon the prepayment of a loan by a
Treasury Inflation-Protected Securities. For bonds that do not provide a     borrower. Fees earned or paid are recorded as a component of interest
similar guarantee, the adjusted principal value of the bond repaid at        income or interest expense, respectively, on the Statements of
maturity may be less than the original principal.                            Operations. Unfunded loan commitments are reflected as a liability on
Loans and Other Indebtedness, Loan Participations and                        the Statements of Assets and Liabilities.
Assignments are direct debt instruments which are interests in

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Mortgage-Related and Other Asset-Backed Securities directly or                    on a structured financing changes based on multiples of changes in
indirectly represent a participation in, or are secured by and payable            interest rates or inversely to changes in interest rates)), CBOs, CLOs
from, loans on real property. Mortgage-related securities are created             and other CDOs carry additional risks including, but not limited to,
from pools of residential or commercial mortgage loans, including                 (i) the possibility that distributions from collateral securities will not be
mortgage loans made by savings and loan institutions, mortgage                    adequate to make interest or other payments, (ii) the quality of the
bankers, commercial banks and others. These securities provide a                  collateral may decline in value or default, (iii) the risk that a Fund may
monthly payment which consists of both interest and principal. Interest           invest in CBOs, CLOs, or other CDOs that are subordinate to other
may be determined by fixed or adjustable rates. The rate of                       classes, and (iv) the complex structure of the security may not be fully
prepayments on underlying mortgages will affect the price and volatility          understood at the time of investment and may produce disputes with
of a mortgage-related security, and may have the effect of shortening             the issuer or unexpected investment results.
or extending the effective duration of the security relative to what was
                                                                                  Collateralized Mortgage Obligations (“CMOs”) are debt obligations
anticipated at the time of purchase. The timely payment of principal
                                                                                  of a legal entity that are collateralized by whole mortgage loans or
and interest of certain mortgage-related securities is guaranteed with
                                                                                  private mortgage bonds and divided into classes. CMOs are structured
the full faith and credit of the U.S. Government. Pools created and
                                                                                  into multiple classes, often referred to as “tranches”, with each class
guaranteed by non-governmental issuers, including government-
                                                                                  bearing a different stated maturity and entitled to a different schedule
sponsored corporations, may be supported by various forms of
                                                                                  for payments of principal and interest, including prepayments. CMOs
insurance or guarantees, but there can be no assurance that private
                                                                                  may be less liquid and may exhibit greater price volatility than other
insurers or guarantors can meet their obligations under the insurance
                                                                                  types of mortgage-related or asset-backed securities.
policies or guarantee arrangements. Many of the risks of investing in
mortgage-related securities secured by commercial mortgage loans                  Stripped Mortgage-Backed Securities (“SMBS”) are derivative multi-
reflect the effects of local and other economic conditions on real estate         class mortgage securities. SMBS are usually structured with two classes
markets, the ability of tenants to make lease payments, and the ability           that receive different proportions of the interest and principal
of a property to attract and retain tenants. These securities may be less         distributions on a pool of mortgage assets. An SMBS will have one
liquid and may exhibit greater price volatility than other types of               class that will receive all of the interest (the interest-only or “IO” class),
mortgage-related or other asset-backed securities. Other asset-backed             while the other class will receive the entire principal (the principal-only
securities are created from many types of assets, including, but not              or “PO” class). Payments received for IOs are included in interest
limited to, auto loans, accounts receivable, such as credit card                  income on the Statements of Operations. Because no principal will be
receivables and hospital account receivables, home equity loans,                  received at the maturity of an IO, adjustments are made to the cost of
student loans, boat loans, mobile home loans, recreational vehicle                the security on a monthly basis until maturity. These adjustments are
loans, manufactured housing loans, aircraft leases, computer leases               included in interest income on the Statements of Operations. Payments
and syndicated bank loans.                                                        received for POs are treated as reductions to the cost and par value of
                                                                                  the securities.
Collateralized Debt Obligations (“CDOs”) include Collateralized Bond
Obligations (“CBOs”), Collateralized Loan Obligations (“CLOs”) and                Payment In-Kind Securities may give the issuer the option at each
other similarly structured securities. CBOs and CLOs are types of asset-          interest payment date of making interest payments in either cash and/
backed securities. A CBO is a trust which is backed by a diversified pool         or additional debt securities. Those additional debt securities usually
of high risk, below investment grade fixed income securities. A CLO is a          have the same terms, including maturity dates and interest rates, and
trust typically collateralized by a pool of loans, which may include,             associated risks as the original bonds. The daily market quotations of
among others, domestic and foreign senior secured loans, senior                   the original bonds may include the accrued interest (referred to as a
unsecured loans, and subordinate corporate loans, including loans that            dirty price) and require a pro rata adjustment from the unrealized
may be rated below investment grade or equivalent unrated loans. The              appreciation (depreciation) on investments to interest receivable on the
risks of an investment in a CDO depend largely on the type of                     Statements of Assets and Liabilities.
the collateral securities and the class of the CDO in which a Fund
invests. In addition to the normal risks associated with fixed income             Perpetual Bonds are fixed income securities with no maturity date but
securities discussed elsewhere in this report and each Fund’s                     pay a coupon in perpetuity (with no specified ending or maturity date).
prospectus and statement of additional information (e.g., prepayment              Unlike typical fixed income securities, there is no obligation for
risk, credit risk, liquidity risk, market risk, structural risk, legal risk and   perpetual bonds to repay principal. The coupon payments, however,
interest rate risk (which may be exacerbated if the interest rate payable         are mandatory. While perpetual bonds have no maturity date, they may

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have a callable date in which the perpetuity is eliminated and the issuer   government-sponsored corporation. FNMA purchases conventional
may return the principal received on the specified call date.               (i.e., not insured or guaranteed by any government agency) residential
Additionally, a perpetual bond may have additional features, such as        mortgages from a list of approved seller/servicers which include state
interest rate increases at periodic dates or an increase as of a            and federally chartered savings and loan associations, mutual savings
predetermined point in the future.                                          banks, commercial banks and credit unions and mortgage bankers.
                                                                            Pass-through securities issued by FNMA are guaranteed as to timely
Real Estate Investment Trusts (“REITs”) are pooled investment               payment of principal and interest by FNMA, but are not backed by the
vehicles that own, and typically operate, income-producing real estate.     full faith and credit of the U.S. Government. FHLMC issues Participation
If a REIT meets certain requirements, including distributing to             Certificates (“PCs”), which are pass-through securities, each
shareholders substantially all of its taxable income (other than net        representing an undivided interest in a pool of residential mortgages.
capital gains), then it is not taxed on the income distributed to           FHLMC guarantees the timely payment of interest and ultimate
shareholders. Distributions received from REITs may be characterized as     collection of principal, but PCs are not backed by the full faith and
income, capital gain or a return of capital. A return of capital is         credit of the U.S. Government.
recorded by a Fund as a reduction to the cost basis of its investment in
the REIT. REITs are subject to management fees and other expenses,          In June 2019, FNMA and FHLMC started issuing Uniform Mortgage
and so the Funds that invest in REITs will bear their proportionate share   Backed Securities in place of their current offerings of TBA-eligible
of the costs of the REITs’ operations.                                      securities (the “Single Security Initiative”). The Single Security Initiative
                                                                            seeks to support the overall liquidity of the TBA market and aligns the
Restricted Investments are subject to legal or contractual restrictions     characteristics of FNMA and FHLMC certificates. The effects that the
on resale and may generally be sold privately, but may be required to       Single Security Initiative may have on the market for TBA and other
be registered or exempted from such registration before being sold to       mortgage-backed securities are uncertain.
the public. Private placement securities are generally considered to be
restricted except for those securities traded between qualified             Roll-timing strategies can be used where a Fund seeks to extend the
institutional investors under the provisions of Rule 144A of the            expiration or maturity of a position, such as a TBA security on an
Securities Act of 1933. Disposal of restricted investments may involve      underlying asset, by closing out the position before expiration and
time-consuming negotiations and expenses, and prompt sale at an             opening a new position with respect to substantially the same
acceptable price may be difficult to achieve. Restricted investments held   underlying asset with a later expiration date. TBA securities purchased
by the Funds at March 31, 2021, as applicable, are disclosed in the         or sold are reflected on the Statements of Assets and Liabilities as an
Notes to Schedules of Investments.                                          asset or liability, respectively.

Securities Issued by U.S. Government Agencies or Government-                Warrants are securities that are usually issued together with a debt
Sponsored Enterprises are obligations of and, in certain cases,             security or preferred security and that give the holder the right to buy a
guaranteed by, the U.S. Government, its agencies or instrumentalities.      proportionate amount of common stock at a specified price. Warrants
Some U.S. Government securities, such as Treasury bills, notes and          normally have a life that is measured in years and entitle the holder to
bonds, and securities guaranteed by the Government National                 buy common stock of a company at a price that is usually higher than
Mortgage Association, are supported by the full faith and credit of the     the market price at the time the warrant is issued. Warrants may entail
U.S. Government; others, such as those of the Federal Home Loan             greater risks than certain other types of investments. Generally,
Banks, are supported by the right of the issuer to borrow from the U.S.     warrants do not carry the right to receive dividends or exercise voting
Department of the Treasury (the “U.S. Treasury”); and others, such as       rights with respect to the underlying securities, and they do not
those of the Federal National Mortgage Association (“FNMA” or               represent any rights in the assets of the issuer. In addition, their value
“Fannie Mae”), are supported by the discretionary authority of the U.S.     does not necessarily change with the value of the underlying securities,
Government to purchase the agency’s obligations. U.S. Government            and they cease to have value if they are not exercised on or before their
securities may include zero coupon securities which do not distribute       expiration date. If the market price of the underlying stock does not
interest on a current basis and tend to be subject to a greater risk than   exceed the exercise price during the life of the warrant, the warrant will
interest-paying securities of similar maturities.                           expire worthless. Warrants may increase the potential profit or loss to
                                                                            be realized from the investment as compared with investing the same
Government-related guarantors (i.e., not backed by the full faith and       amount in the underlying securities. Similarly, the percentage increase
credit of the U.S. Government) include FNMA and the Federal Home            or decrease in the value of an equity security warrant may be greater
Loan Mortgage Corporation (“FHLMC” or “Freddie Mac”). FNMA is a             than the percentage increase or decrease in the value of the underlying

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common stock. Warrants may relate to the purchase of equity or debt           During the period, there were no borrowings on this line of credit. The
securities. Debt obligations with warrants attached to purchase equity        maximum available commitment and related fees for the revolving
securities have many characteristics of convertible securities and their      credit agreement are:
prices may, to some degree, reflect the performance of the underlying                                                   Maximum                    Commitment
stock. Debt obligations also may be issued with warrants attached to                                                    Available     Expiration   and Upfront
                                                                              Funds                                   Commitment*       Date          Fees
purchase additional debt securities at the same coupon rate. A decline        PIMCO High Yield Spectrum Fund          $ 19,000,000 08/31/2021       $ 61,295
in interest rates would permit a Fund to sell such warrants at a profit. If   PIMCO Low Duration Credit Fund          $ 47,000,000 08/31/2021       $ 113,826
interest rates rise, these warrants would generally expire with no value.
                                                                              *   Maximum available commitment prior to renewal on September 1, 2020, for PIMCO
                                                                                  High Yield Spectrum Bond and PIMCO Low Duration Credit Fund was $35,000,000
When-Issued Transactions are purchases or sales made on a when-                   and $45,000,000, respectively. The agreements expire on August 31, 2021 unless
issued basis. These transactions are made conditionally because a                 extended or renewed.
security, although authorized, has not yet been issued in the market.
                                                                              (b) Repurchase Agreements Under the terms of a typical repurchase
Transactions to purchase or sell securities on a when-issued basis
                                                                              agreement, a Fund purchases an underlying debt obligation (collateral)
involve a commitment by a Fund to purchase or sell these securities for
                                                                              subject to an obligation of the seller to repurchase, and a Fund to resell,
a predetermined price or yield, with payment and delivery taking place
                                                                              the obligation at an agreed-upon price and time. In an open maturity
beyond the customary settlement period. A Fund may sell when-issued
                                                                              repurchase agreement, there is no pre-determined repurchase date and
securities before they are delivered, which may result in a realized
                                                                              the agreement can be terminated by the Fund or counterparty at any time.
gain (loss).
                                                                              The underlying securities for all repurchase agreements are held by a
5. BORROWINGS AND OTHER FINANCING                                             Fund’s custodian or designated subcustodians under tri-party repurchase
TRANSACTIONS                                                                  agreements and in certain instances will remain in custody with the
                                                                              counterparty. The market value of the collateral must be equal to or
The Funds may enter into the borrowings and other financing
                                                                              exceed the total amount of the repurchase obligations, including interest.
transactions described below to the extent permitted by each Fund’s
                                                                              Repurchase agreements, if any, including accrued interest, are included on
respective investment policies.
                                                                              the Statements of Assets and Liabilities. Interest earned is recorded as a
The following disclosures contain information on a Fund’s ability to          component of interest income on the Statements of Operations. In periods
lend or borrow cash or securities to the extent permitted under the Act,      of increased demand for collateral, a Fund may pay a fee for the receipt of
which may be viewed as borrowing or financing transactions by a Fund.         collateral, which may result in interest expense to the Fund.
The location of these instruments in each Fund’s financial statements is
                                                                              (c) Reverse Repurchase Agreements In a reverse repurchase
described below.
                                                                              agreement, a Fund delivers a security in exchange for cash to a
(a) Line of Credit The PIMCO High Yield Spectrum Fund and PIMCO               financial institution, the counterparty, with a simultaneous agreement
Low Duration Credit Fund entered into a 364-day senior unsecured              to repurchase the same or substantially the same security at an agreed
revolving credit agreement with State Street Bank & Trust Company             upon price and date. In an open maturity reverse repurchase
and other commercial banks to be utilized for temporary purposes to           agreement, there is no pre-determined repurchase date and the
fund shareholder redemptions or for other short-term liquidity                agreement can be terminated by the Fund or counterparty at any time.
purposes. State Street Bank & Trust Company serves as both a bank             A Fund is entitled to receive principal and interest payments, if any,
and as an agent for the other banks that are parties to the agreement.        made on the security delivered to the counterparty during the term of
The Funds pay financing charges based on a combination of a London            the agreement. Cash received in exchange for securities delivered plus
Interbank Offered Rate-based variable rate plus a credit spread. The          accrued interest payments to be made by a Fund to counterparties are
Funds also pay a fee of 0.15% per annum on the unused maximum                 reflected as a liability on the Statements of Assets and Liabilities.
available commitment amounts. As of March 31, 2021, if applicable             Interest payments made by a Fund to counterparties are recorded as a
any outstanding borrowings would be disclosed as a payable for line of        component of interest expense on the Statements of Operations. In
credit on the Statements of Assets and Liabilities. Interest and              periods of increased demand for the security, a Fund may receive a fee
commitment and upfront fees, if any, paid by the Funds are disclosed          for use of the security by the counterparty, which may result in interest
as part of the interest expense on the Statements of Operations.              income to the Fund. A Fund will segregate assets determined to be
                                                                              liquid by the Adviser or will otherwise cover its obligations under
                                                                              reverse repurchase agreements.


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(d) Sale-Buybacks A sale-buyback financing transaction consists of a           (f) Interfund Lending In accordance with an exemptive order (the
sale of a security by a Fund to a financial institution, the counterparty,     “Order”) from the SEC, the Funds of the Trust may participate in a joint
with a simultaneous agreement to repurchase the same or substantially          lending and borrowing facility for temporary purposes (the “Interfund
the same security at an agreed-upon price and date. A Fund is not              Lending Program”), subject to compliance with the terms and
entitled to receive principal and interest payments, if any, made on the       conditions of the Order, and to the extent permitted by each Fund’s
security sold to the counterparty during the term of the agreement. The        investment policies and restrictions. The Funds are currently permitted
agreed-upon proceeds for securities to be repurchased by a Fund are            to borrow under the Interfund Lending Program. A lending fund may
reflected as a liability on the Statements of Assets and Liabilities. A        lend in aggregate up to 15% of its current net assets at the time of the
Fund will recognize net income represented by the price differential           interfund loan, but may not lend more than 5% of its net assets to any
between the price received for the transferred security and the agreed-        one borrowing fund through the Interfund Lending Program. A
upon repurchase price. This is commonly referred to as the ‘price drop’.       borrowing fund may not borrow through the Interfund Lending
A price drop consists of (i) the foregone interest and inflationary            Program or from any other source if its total outstanding borrowings
income adjustments, if any, a Fund would have otherwise received had           immediately after the borrowing would be more than 33 1/3% of its
the security not been sold and (ii) the negotiated financing terms             total assets (or any lower threshold provided for by the fund’s
between a Fund and counterparty. Foregone interest and inflationary            investment restrictions). If a borrowing fund’s total outstanding
income adjustments, if any, are recorded as components of interest             borrowings exceed 10% of its total assets, each of its outstanding
income on the Statements of Operations. Interest payments based upon           interfund loans will be subject to collateralization of at least 102% of
negotiated financing terms made by a Fund to counterparties are                the outstanding principal value of the loan. All interfund loans are for
recorded as a component of interest expense on the Statements of               temporary or emergency purposes and the interfund loan rate to be
Operations. In periods of increased demand for the security, a Fund            charged will be the average of the highest current overnight repurchase
may receive a fee for use of the security by the counterparty, which may       agreement rate available to a lending fund and the bank loan rate, as
result in interest income to the Fund. A Fund will segregate assets            calculated according to a formula established by the Board.
determined to be liquid by the Adviser or will otherwise cover its
                                                                               On March 23, 2020, the SEC issued an exemptive order (the
obligations under sale-buyback transactions.
                                                                               “Temporary Order”) to provide temporary relief to the Funds of the
(e) Short Sales Short sales are transactions in which a Fund sells a           Trust in relation to the Interfund Lending Program, and the Board has
security that it may not own. A Fund may make short sales of securities        authorized the Funds to rely on the Temporary Order. With respect to
to (i) offset potential declines in long positions in similar securities,      interfund lending, the Temporary Order permitted, under certain
(ii) to increase the flexibility of the Fund, (iii) for investment return,     conditions, a lending fund to lend in aggregate up to 25% of its
(iv) as part of a risk arbitrage strategy, and (v) as part of its overall      current net assets at the time of the interfund loan and to make
portfolio management strategies involving the use of derivative                interfund loans with term limits of up to the expiration of the
instruments. When a Fund engages in a short sale, it may borrow the            Temporary Order, notwithstanding the current limit of seven business
security sold short and deliver it to the counterparty. A Fund will            days under the Order. The SEC provided notice in April 2021 that the
ordinarily have to pay a fee or premium to borrow a security and be            Temporary Order would be terminated on April 30, 2021.
obligated to repay the lender of the security any dividend or interest
                                                                               During the period ended March 31, 2021, the Funds did not participate
that accrues on the security during the period of the loan. Securities
                                                                               in the Interfund Lending Program.
sold in short sale transactions and the dividend or interest payable on
such securities, if any, are reflected as payable for short sales on the       6. FINANCIAL DERIVATIVE INSTRUMENTS
Statements of Assets and Liabilities. Short sales expose a Fund to the
                                                                               The Funds may enter into the financial derivative instruments described
risk that it will be required to cover its short position at a time when
                                                                               below to the extent permitted by each Fund’s respective
the security or other asset has appreciated in value, thus resulting in
                                                                               investment policies.
losses to a Fund. A short sale is “against the box” if a Fund holds in its
portfolio or has the right to acquire the security sold short, or securities   The following disclosures contain information on how and why the
identical to the security sold short, at no additional cost. A Fund will be    Funds use financial derivative instruments, and how financial derivative
subject to additional risks to the extent that it engages in short sales       instruments affect the Funds’ financial position, results of operations
that are not “against the box.” A Fund’s loss on a short sale could            and cash flows. The location and fair value amounts of these
theoretically be unlimited in cases where a Fund is unable, for whatever       instruments on the Statements of Assets and Liabilities and the net
reason, to close out its short position.                                       realized gain (loss) and net change in unrealized appreciation

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(depreciation) on the Statements of Operations, each categorized by           contracts expire or close. Futures contracts involve, to varying degrees,
type of financial derivative contract and related risk exposure, are          risk of loss in excess of the Futures Variation Margin included within
included in a table in the Notes to Schedules of Investments. The             exchange traded or centrally cleared financial derivative instruments on
financial derivative instruments outstanding as of period end and the         the Statements of Assets and Liabilities.
amounts of net realized gain (loss) and net change in unrealized
                                                                              (c) Options Contracts may be written or purchased to enhance returns
appreciation (depreciation) on financial derivative instruments during
                                                                              or to hedge an existing position or future investment. A Fund may write
the period, as disclosed in the Notes to Schedules of Investments, serve
                                                                              call and put options on securities and financial derivative instruments it
as indicators of the volume of financial derivative activity for the Funds.
                                                                              owns or in which it may invest. Writing put options tends to increase a
(a) Forward Foreign Currency Contracts may be engaged, in                     Fund’s exposure to the underlying instrument. Writing call options
connection with settling planned purchases or sales of securities, to         tends to decrease a Fund’s exposure to the underlying instrument.
hedge the currency exposure associated with some or all of a Fund’s           When a Fund writes a call or put, an amount equal to the premium
securities or as part of an investment strategy. A forward foreign            received is recorded and subsequently marked to market to reflect the
currency contract is an agreement between two parties to buy and sell         current value of the option written. These amounts are included on the
a currency at a set price on a future date. The market value of a             Statements of Assets and Liabilities. Premiums received from writing
forward foreign currency contract fluctuates with changes in foreign          options which expire are treated as realized gains. Premiums received
currency exchange rates. Forward foreign currency contracts are               from writing options which are exercised or closed are added to the
marked to market daily, and the change in value is recorded by a Fund         proceeds or offset against amounts paid on the underlying futures,
as an unrealized gain (loss). Realized gains (losses) are equal to the        swap, security or currency transaction to determine the realized gain
difference between the value of the contract at the time it was opened        (loss). Certain options may be written with premiums to be determined
and the value at the time it was closed and are recorded upon delivery        on a future date. The premiums for these options are based upon
or receipt of the currency. These contracts may involve market risk in        implied volatility parameters at specified terms. A Fund as a writer of
excess of the unrealized gain (loss) reflected on the Statements of           an option has no control over whether the underlying instrument may
Assets and Liabilities. In addition, a Fund could be exposed to risk if the   be sold (“call”) or purchased (“put”) and as a result bears the market
counterparties are unable to meet the terms of the contracts or if the        risk of an unfavorable change in the price of the instrument underlying
value of the currency changes unfavorably to the U.S. dollar. To              the written option. There is the risk a Fund may not be able to enter
mitigate such risk, cash or securities may be exchanged as collateral         into a closing transaction because of an illiquid market.
pursuant to the terms of the underlying contracts.
                                                                              Purchasing call options tends to increase a Fund’s exposure to the
(b) Futures Contracts are agreements to buy or sell a security or other       underlying instrument. Purchasing put options tends to decrease a
asset for a set price on a future date and are traded on an exchange. A       Fund’s exposure to the underlying instrument. A Fund pays a premium
Fund may use futures contracts to manage its exposure to the securities       which is included as an asset on the Statements of Assets and
markets or to movements in interest rates and currency values. The            Liabilities and subsequently marked to market to reflect the current
primary risks associated with the use of futures contracts are the            value of the option. Premiums paid for purchasing options which expire
imperfect correlation between the change in market value of the               are treated as realized losses. Certain options may be purchased with
securities held by a Fund and the prices of futures contracts and the         premiums to be determined on a future date. The premiums for these
possibility of an illiquid market. Futures contracts are valued based         options are based upon implied volatility parameters at specified terms.
upon their quoted daily settlement prices. Upon entering into a futures       The risk associated with purchasing put and call options is limited to
contract, a Fund is required to deposit with its futures broker an            the premium paid. Premiums paid for purchasing options which are
amount of cash, U.S. Government and Agency Obligations, or select             exercised or closed are added to the amounts paid or offset against the
sovereign debt, in accordance with the initial margin requirements of         proceeds on the underlying investment transaction to determine the
the broker or exchange. Futures contracts are marked to market daily          realized gain (loss) when the underlying transaction is executed.
and based on such movements in the price of the contracts, an
                                                                              Credit Default Swaptions may be written or purchased to hedge
appropriate payable or receivable for the change in value may be
                                                                              exposure to the credit risk of an investment without making a
posted or collected by the Fund (“Futures Variation Margin”). Futures
                                                                              commitment to the underlying instrument. A credit default swaption is an
Variation Margins, if any, are disclosed within centrally cleared financial
                                                                              option to sell or buy credit protection on a specific reference by entering
derivative instruments on the Statements of Assets and Liabilities.
                                                                              into a pre-defined swap agreement by some specified date in the future.
Gains (losses) are recognized but not considered realized until the


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Foreign Currency Options may be written or purchased to be used as          cleared swaps (“Swap Variation Margin”), if any, are disclosed within
a short or long hedge against possible variations in foreign exchange       centrally cleared financial derivative instruments on the Statements of
rates or to gain exposure to foreign currencies.                            Assets and Liabilities. Centrally Cleared and OTC swap payments
                                                                            received or paid at the beginning of the measurement period are
Inflation-Capped Options may be written or purchased to enhance             included on the Statements of Assets and Liabilities and represent
returns or for hedging opportunities. The purpose of purchasing             premiums paid or received upon entering into the swap agreement to
inflation-capped options is to protect a Fund from inflation erosion        compensate for differences between the stated terms of the swap
above a certain rate on a given notional exposure. A floor can be used      agreement and prevailing market conditions (credit spreads, currency
to give downside protection to investments in inflation-linked products.    exchange rates, interest rates, and other relevant factors). Upfront
Interest Rate Swaptions may be written or purchased to enter into a         premiums received (paid) are initially recorded as liabilities (assets) and
pre-defined swap agreement or to shorten, extend, cancel or otherwise       subsequently marked to market to reflect the current value of the swap.
modify an existing swap agreement, by some specified date in the            These upfront premiums are recorded as realized gain (loss) on the
future. The writer of the swaption becomes the counterparty to the          Statements of Operations upon termination or maturity of the swap. A
swap if the buyer exercises. The interest rate swaption agreement will      liquidation payment received or made at the termination of the swap is
specify whether the buyer of the swaption will be a fixed-rate receiver     recorded as realized gain (loss) on the Statements of Operations. Net
or a fixed-rate payer upon exercise.                                        periodic payments received or paid by a Fund are included as part of
                                                                            realized gain (loss) on the Statements of Operations.
Options on Exchange-Traded Futures Contracts (“Futures Option”)
                                                                            For purposes of applying certain of a Fund’s investment policies and
may be written or purchased to hedge an existing position or future
                                                                            restrictions, swap agreements, like other derivative instruments, may be
investment, for speculative purposes or to manage exposure to market
                                                                            valued by a Fund at market value, notional value or full exposure value.
movements. A Futures Option is an option contract in which the
                                                                            In the case of a credit default swap, in applying certain of a Fund’s
underlying instrument is a single futures contract.
                                                                            investment policies and restrictions, the Funds will value the credit
Options on Securities may be written or purchased to enhance returns        default swap at its notional value or its full exposure value (i.e., the
or to hedge an existing position or future investment. An option on a       sum of the notional amount for the contract plus the market value), but
security uses a specified security as the underlying instrument for the     may value the credit default swap at market value for purposes of
option contract.                                                            applying certain of a Fund’s other investment policies and restrictions.
                                                                            For example, a Fund may value credit default swaps at full exposure
(d) Swap Agreements are bilaterally negotiated agreements between           value for purposes of a Fund’s credit quality guidelines (if any) because
a Fund and a counterparty to exchange or swap investment cash flows,        such value in general better reflects a Fund’s actual economic exposure
assets, foreign currencies or market-linked returns at specified, future    during the term of the credit default swap agreement. As a result, a
intervals. Swap agreements may be privately negotiated in the over the      Fund may, at times, have notional exposure to an asset class (before
counter market (“OTC swaps”) or may be cleared through a third party,       netting) that is greater or lesser than the stated limit or restriction
known as a central counterparty or derivatives clearing organization        noted in a Fund’s prospectus. In this context, both the notional amount
(“Centrally Cleared Swaps”). A Fund may enter into asset, credit            and the market value may be positive or negative depending on
default, cross-currency, interest rate, total return, variance and other    whether a Fund is selling or buying protection through the credit
forms of swap agreements to manage its exposure to credit, currency,        default swap. The manner in which certain securities or other
interest rate, commodity, equity and inflation risk. In connection with     instruments are valued by a Fund for purposes of applying investment
these agreements, securities or cash may be identified as collateral or     policies and restrictions may differ from the manner in which those
margin in accordance with the terms of the respective swap                  investments are valued by other types of investors.
agreements to provide assets of value and recourse in the event of
default or bankruptcy/insolvency.                                           Entering into swap agreements involves, to varying degrees, elements
                                                                            of interest, credit, market and documentation risk in excess of the
Centrally Cleared Swaps are marked to market daily based upon               amounts recognized on the Statements of Assets and Liabilities. Such
valuations as determined from the underlying contract or in accordance      risks involve the possibility that there will be no liquid market for these
with the requirements of the central counterparty or derivatives clearing   agreements, that the counterparty to the agreements may default on its
organization. Changes in market value, if any, are reflected as a           obligation to perform or disagree as to the meaning of contractual
component of net change in unrealized appreciation (depreciation) on        terms in the agreements and that there may be unfavorable changes in
the Statements of Operations. Daily changes in valuation of centrally       interest rates or the values of the asset upon which the swap is based.

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A Fund’s maximum risk of loss from counterparty credit risk is the            obligation or underlying securities comprising the referenced index.
discounted net value of the cash flows to be received from the                Recovery values are estimated by market makers considering either
counterparty over the contract’s remaining life, to the extent that           industry standard recovery rates or entity specific factors and
amount is positive. The risk may be mitigated by having a master              considerations until a credit event occurs. If a credit event has occurred,
netting arrangement between a Fund and the counterparty and by the            the recovery value is determined by a facilitated auction whereby a
posting of collateral to a Fund to cover a Fund’s exposure to                 minimum number of allowable broker bids, together with a specified
the counterparty.                                                             valuation method, are used to calculate the settlement value. The
                                                                              ability to deliver other obligations may result in a cheapest-to-deliver
To the extent a Fund has a policy to limit the net amount owed to or to       option (the buyer of protection’s right to choose the deliverable
be received from a single counterparty under existing swap                    obligation with the lowest value following a credit event).
agreements, such limitation only applies to counterparties to OTC
swaps and does not apply to centrally cleared swaps where the                 Credit default swap agreements on credit indices involve one party
counterparty is a central counterparty or derivatives                         making a stream of payments to another party in exchange for the right
clearing organization.                                                        to receive a specified return in the event of a write-down, principal
                                                                              shortfall, interest shortfall or default of all or part of the referenced
Credit Default Swap Agreements on corporate, loan, sovereign, U.S.            entities comprising the credit index. A credit index is a basket of credit
municipal or U.S. Treasury issues are entered into to provide a measure       instruments or exposures designed to be representative of some part of
of protection against defaults of the issuers (i.e., to reduce risk where a   the credit market as a whole. These indices are made up of reference
Fund owns or has exposure to the referenced obligation) or to take an         credits that are judged by a poll of dealers to be the most liquid entities
active long or short position with respect to the likelihood of a             in the credit default swap market based on the sector of the index.
particular issuer’s default. Credit default swap agreements involve one       Components of the indices may include, but are not limited to,
party making a stream of payments (referred to as the buyer of                investment grade securities, high yield securities, asset-backed
protection) to another party (the seller of protection) in exchange for       securities, emerging markets, and/or various credit ratings within each
the right to receive a specified return in the event that the referenced      sector. Credit indices are traded using credit default swaps with
entity, obligation or index, as specified in the swap agreement,              standardized terms including a fixed spread and standard maturity
undergoes a certain credit event. As a seller of protection on credit         dates. An index credit default swap references all the names in the
default swap agreements, a Fund will generally receive from the buyer         index, and if there is a default, the credit event is settled based on that
of protection a fixed rate of income throughout the term of the swap          name’s weight in the index. The composition of the indices changes
provided that there is no credit event. As the seller, a Fund would           periodically, usually every six months, and for most indices, each name
effectively add leverage to its portfolio because, in addition to its total   has an equal weight in the index. A Fund may use credit default swaps
net assets, a Fund would be subject to investment exposure on the             on credit indices to hedge a portfolio of credit default swaps or bonds,
notional amount of the swap.                                                  which is less expensive than it would be to buy many credit default
If a Fund is a seller of protection and a credit event occurs, as defined     swaps to achieve a similar effect. Credit default swaps on indices are
under the terms of that particular swap agreement, a Fund will either         instruments for protecting investors owning bonds against default, and
(i) pay to the buyer of protection an amount equal to the notional            traders use them to speculate on changes in credit quality.
amount of the swap and take delivery of the referenced obligation,            Implied credit spreads, represented in absolute terms, utilized in
other deliverable obligations or underlying securities comprising the         determining the market value of credit default swap agreements on
referenced index or (ii) pay a net settlement amount in the form of cash      corporate, loan, sovereign, U.S. municipal or U.S. Treasury issues as of
or securities equal to the notional amount of the swap less the recovery      period end, if any, are disclosed in the Notes to Schedules of
value of the referenced obligation or underlying securities comprising        Investments. They serve as an indicator of the current status of
the referenced index. If a Fund is a buyer of protection and a credit         payment/performance risk and represent the likelihood or risk of
event occurs, as defined under the terms of that particular swap              default for the reference entity. The implied credit spread of a particular
agreement, a Fund will either (i) receive from the seller of protection an    referenced entity reflects the cost of buying/selling protection and may
amount equal to the notional amount of the swap and deliver the               include upfront payments required to be made to enter into the
referenced obligation, other deliverable obligations or underlying            agreement. Wider credit spreads represent a deterioration of the
securities comprising the referenced index or (ii) receive a net              referenced entity’s credit soundness and a greater likelihood or risk of
settlement amount in the form of cash or securities equal to the              default or other credit event occurring as defined under the terms of
notional amount of the swap less the recovery value of the referenced

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the agreement. For credit default swap agreements on asset-backed               the other to the extent that interest rates exceed a specified rate, or
securities and credit indices, the quoted market prices and resulting           “cap”, (ii) interest rate floors, under which, in return for a premium,
values serve as the indicator of the current status of the payment/             one party agrees to make payments to the other to the extent that
performance risk. Increasing market values, in absolute terms when              interest rates fall below a specified rate, or “floor”, (iii) interest rate
compared to the notional amount of the swap, represent a                        collars, under which a party sells a cap and purchases a floor or vice
deterioration of the referenced entity’s credit soundness and a greater         versa in an attempt to protect itself against interest rate movements
likelihood or risk of default or other credit event occurring as defined        exceeding given minimum or maximum levels, (iv) callable interest rate
under the terms of the agreement.                                               swaps, under which the buyer pays an upfront fee in consideration for
                                                                                the right to early terminate the swap transaction in whole, at zero cost
The maximum potential amount of future payments (undiscounted) that             and at a predetermined date and time prior to the maturity date,
a Fund as a seller of protection could be required to make under a              (v) spreadlocks, which allow the interest rate swap users to lock in the
credit default swap agreement equals the notional amount of the                 forward differential (or spread) between the interest rate swap rate and
agreement. Notional amounts of each individual credit default swap              a specified benchmark, or (vi) basis swaps, under which two parties can
agreement outstanding as of period end for which a Fund is the seller           exchange variable interest rates based on different segments of
of protection are disclosed in the Notes to Schedules of Investments.           money markets.
These potential amounts would be partially offset by any recovery
values of the respective referenced obligations, upfront payments               Total Return Swap Agreements are entered into to gain or mitigate
received upon entering into the agreement, or net amounts received              exposure to the underlying reference asset. Total return swap
from the settlement of buy protection credit default swap agreements            agreements involve commitments where single or multiple cash flows
entered into by a Fund for the same referenced entity or entities.              are exchanged based on the price of an underlying reference asset and
                                                                                on a fixed or variable interest rate. Total return swap agreements may
Interest Rate Swap Agreements may be entered into to help hedge                 involve commitments to pay interest in exchange for a market-linked
against interest rate risk exposure and to maintain a Fund’s ability to         return. One counterparty pays out the total return of a specific
generate income at prevailing market rates. The value of the fixed rate         underlying reference asset, which may include a single security, a
bonds that the Funds hold may decrease if interest rates rise. To help          basket of securities, or an index, and in return receives a fixed or
hedge against this risk and to maintain its ability to generate income at       variable rate. At the maturity date, a net cash flow is exchanged where
prevailing market rates, a Fund may enter into interest rate swap               the total return is equivalent to the return of the underlying reference
agreements. Interest rate swap agreements involve the exchange by a             asset less a financing rate, if any. As a receiver, a Fund would receive
Fund with another party for their respective commitment to pay or               payments based on any net positive total return and would owe
receive interest on the notional amount of principal. Certain forms of          payments in the event of a net negative total return. As the payer, a
interest rate swap agreements may include: (i) interest rate caps, under        Fund would owe payments on any net positive total return, and would
which, in return for a premium, one party agrees to make payments to            receive payments in the event of a net negative total return.

7. PRINCIPAL AND OTHER RISKS
(a) Principal Risks
The principal risks of investing in a Fund, which could adversely affect its net asset value, yield and total return, are listed below.
                                                 PIMCO                                              PIMCO                               PIMCO
                                                 Credit        PIMCO       PIMCO        PIMCO     Long-Term    PIMCO        PIMCO      Preferred
                                              Opportunities Diversified     ESG       High Yield    Credit  Low Duration Low Duration and Capital
Risks                                          Bond Fund    Income Fund Income Fund Spectrum Fund Bond Fund Credit Fund Income Fund Securities Fund
New Fund                                           —             —            X             —            —            —             —             —
Small Fund                                         —             —            X             —            —            —             —             —
Interest Rate                                      X             X            X             X            X            X             X             X
Call                                               X             X            X             X            X            X             X             X
Credit                                             X             X            X             X            X            X             X             X
Capital Securities                                 —             —            —             —            —            —             —             X
Preferred Securities                               —             —            —             —            —            —             —             X
Concentration in Banking Industries                —             —            —             —            —            —             —             X
Contingent Convertible Securities                  —             —            X             —            —            —             X             X
High Yield                                         X             X            X             X            X            X             X             X
Market                                             X             X            X             X            X            X             X             X


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                                                    PIMCO                                              PIMCO                               PIMCO
                                                    Credit        PIMCO       PIMCO        PIMCO     Long-Term    PIMCO        PIMCO      Preferred
                                                 Opportunities Diversified     ESG       High Yield    Credit  Low Duration Low Duration and Capital
Risks                                             Bond Fund    Income Fund Income Fund Spectrum Fund Bond Fund Credit Fund Income Fund Securities Fund
Issuer                                                X           X            X               X             X             X             X               X
Liquidity                                             X           X            X               X             X             X             X               X
Derivatives                                           X           X            X               X             X             X             X               X
Equity                                                X           X            X               X             X             X             X               X
Mortgage-Related and Other Asset-
   Backed Securities                                 X            X           X                —             X            —             X               —
Foreign (Non-U.S.) Investment                        X            X           X                X             X            X             X               X
Emerging Markets                                     X            X           X                X             X            X             X               X
Sovereign Debt                                       X            X           X                X             X            X             X               X
Currency                                             X            X           X                X             X            —             X               X
Leveraging                                           X            X           X                X             X            X             X               X
Management                                           X            X           X                X             X            X             X               X
Subsidiary                                           —            —           —                —             —            —             —               X
Regulation S Securities                              —            —           —                —             —            —             —               X
Short Exposure                                       X            X           X                X             X            X             X               X
Convertible Securities                               X            —           —                —             —            —             —               —
Senior Loan                                          X            —           —                —             —            X             —               —
Distribution Rate                                    —            —           X                —             —            —             X               —
Environmental, Social and Governance Investing       —            —           X                —             —            —             —               —
LIBOR Transition                                     X            X           X                —             X            X             X               X


Please see “Description of Principal Risks” in a Fund’s prospectus for a           Credit Risk is the risk that a Fund could lose money if the issuer or
more detailed description of the risks of investing in a Fund.                     guarantor of a fixed income security, or the counterparty to a derivative
                                                                                   contract, is unable or unwilling, or is perceived (whether by market
New Fund Risk is the risk that a new fund’s performance may not                    participants, rating agencies, pricing services or otherwise) as unable or
represent how the fund is expected to or may perform in the long term.             unwilling, to meet its financial obligations.
In addition, new funds have limited operating histories for investors to
evaluate and new funds may not attract sufficient assets to achieve                Capital Securities Risk is the risk that the value of securities issued by
investment and trading efficiencies.                                               U.S. and non-U.S. financial institutions that can be used to satisfy their
                                                                                   regulatory capital requirements may decline in response to changes in
Small Fund Risk is the risk that a smaller fund may not achieve                    legislation and regulations applicable to financial institutions and financial
investment or trading efficiencies. Additionally, a smaller fund may be            markets, increased competition, adverse changes in general or industry-
more adversely affected by large purchases or redemptions of                       specific economic conditions, or unfavorable interest rates. By investing
fund shares.                                                                       under normal circumstances at least 80% of its assets in a combination of
Interest Rate Risk is the risk that fixed income securities will decline in        preferred securities and Capital Securities, the PIMCO Preferred and
value because of an increase in interest rates; a fund with a longer               Capital Securities Fund will be more susceptible to these risks than a fund
average portfolio duration will be more sensitive to changes in interest           that does not invest in Capital Securities to the same extent as the Fund.
rates than a fund with a shorter average portfolio duration.                       Preferred Securities Risk is the risk that preferred securities may be
Call Risk is the risk that an issuer may exercise its right to redeem a            subject to greater credit or other risks than senior debt instruments. In
fixed income security earlier than expected (a call). Issuers may call             addition, preferred securities are subject to other risks, such as risks
outstanding securities prior to their maturity for a number of reasons             related to deferred and omitted distributions, limited voting rights,
(e.g., declining interest rates, changes in credit spreads and                     liquidity, interest rate, regulatory changes and special
improvements in the issuer’s credit quality). If an issuer calls a security        redemption rights.
that a Fund has invested in, the Fund may not recoup the full amount               Concentration in Banking Industries Risk is the risk of concentrating
of its initial investment and may be forced to reinvest in lower-yielding          in industries related to banking, including interest rate risk, market risk,
securities, securities with greater credit risks or securities with other,         the risk of heightened competition and the risk that legislation and
less favorable features.                                                           other government actions could adversely affect such industries.



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Contingent Convertible Securities Risk is the risk of investing in             in losses to the Fund, a reduction in the Fund’s returns and/or increased
contingent convertible securities, including the risk that interest            volatility. Over-the-counter (“OTC”) derivatives are also subject to the
payments will be cancelled by the issuer or a regulatory authority, the        risk that a counterparty to the transaction will not fulfill its contractual
risk of ranking junior to other creditors in the event of a liquidation or     obligations to the other party, as many of the protections afforded to
other bankruptcy-related event as a result of holding subordinated             centrally-cleared derivative transactions might not be available for OTC
debt, the risk of a Fund’s investment becoming further subordinated as         derivatives. The primary credit risk on derivatives that are exchange-
a result of conversion from debt to equity, the risk that principal            traded or traded through a central clearing counterparty resides with a
amount due can be written down to a lesser amount, and the general             Fund’s clearing broker, or the clearinghouse. Changes in regulation
risks applicable to fixed income investments, including interest rate risk,    relating to a mutual fund’s use of derivatives and related instruments
credit risk, market risk and liquidity risk, any of which could result in      could potentially limit or impact a Fund’s ability to invest in derivatives,
losses to a Fund.                                                              limit a Fund’s ability to employ certain strategies that use derivatives
                                                                               and/or adversely affect the value of derivatives and a
High Yield Risk is the risk that high yield securities and unrated             Fund’s performance.
securities of similar credit quality (commonly known as “junk bonds”)
are subject to greater levels of credit, call and liquidity risks, including   Equity Risk is the risk that the value of equity securities, such as common
the risk that a court will subordinate high yield senior debt to other         stocks and preferred securities, may decline due to general market
debt of the issuer or take other actions detrimental to holders of the         conditions which are not specifically related to a particular company or to
senior debt. High yield securities are considered primarily speculative        factors affecting a particular industry or industries. Equity securities
with respect to the issuer’s continuing ability to make principal and          generally have greater price volatility than fixed income securities.
interest payments, and may be more volatile than higher-rated
securities of similar maturity.                                                Mortgage-Related and Other Asset-Backed Securities Risk is the risk
                                                                               of investing in mortgage-related and other asset-backed securities,
Market Risk is the risk that the value of securities owned by a Fund           including interest rate risk, extension risk, prepayment risk and
may go up or down, sometimes rapidly or unpredictably, due to factors          credit risk.
affecting securities markets generally or particular industries.
                                                                               Foreign (Non-U.S.) Investment Risk is the risk that investing in
Issuer Risk is the risk that the value of a security may decline for a         foreign (non-U.S.) securities may result in a Fund experiencing more
reason directly related to the issuer, such as management performance,         rapid and extreme changes in value than a fund that invests exclusively
financial leverage and reduced demand for the issuer’s goods                   in securities of U.S. companies, due to smaller markets, differing
or services.                                                                   reporting, accounting and auditing standards, increased risk of delayed
                                                                               settlement of portfolio transactions or loss of certificates of portfolio
Liquidity Risk is the risk that a particular investment may be difficult to
                                                                               securities, and the risk of unfavorable foreign government actions,
purchase or sell and that a Fund may be unable to sell illiquid
                                                                               including nationalization, expropriation or confiscatory taxation,
investments at an advantageous time or price or achieve its desired
                                                                               currency blockage, or political changes or diplomatic developments.
level of exposure to a certain sector. Liquidity risk may result from the
                                                                               Foreign securities may also be less liquid and more difficult to value
lack of an active market, reduced number and capacity of traditional
                                                                               than securities of U.S. issuers.
market participants to make a market in fixed income securities, and
may be magnified in a rising interest rate environment or other                Emerging Markets Risk is the risk of investing in emerging market
circumstances where investor redemptions from fixed income funds               securities, primarily increased foreign (non-U.S.) investment risk.
may be higher than normal, causing increased supply in the market due
to selling activity.                                                           Sovereign Debt Risk is the risk that investments in fixed income
                                                                               instruments issued by sovereign entities may decline in value as a result of
Derivatives Risk is the risk of investing in derivative instruments (such      default or other adverse credit event resulting from an issuer’s inability or
as futures, swaps and structured securities), including leverage,              unwillingness to make principal or interest payments in a timely fashion.
liquidity, interest rate, market, credit and management risks, and
valuation complexity. Changes in the value of a derivative may not             Currency Risk is the risk that foreign (non-U.S.) currencies will change
correlate perfectly with, and may be more sensitive to market events           in value relative to the U.S. dollar and affect a Fund’s investments in
than, the underlying asset, rate or index, and a Fund could lose more          foreign (non-U.S.) currencies or in securities that trade in, and receive
than the initial amount invested. A Fund’s use of derivatives may result       revenues in, or in derivatives that provide exposure to, foreign
                                                                               (non-U.S.) currencies.

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Leveraging Risk is the risk that certain transactions of a Fund, such as       in realized and projected market returns, fluctuations in market interest
reverse repurchase agreements, loans of portfolio securities, and the          rates, Fund performance and other factors.
use of when-issued, delayed delivery or forward commitment
                                                                               Environmental, Social and Governance Investing Risk is the risk that,
transactions, or derivative instruments, may give rise to leverage,
                                                                               because a Fund’s ESG strategy may select or exclude securities of
magnifying gains and losses and causing a Fund to be more volatile
                                                                               certain issuers for reasons other than performance, a Fund’s
than if it had not been leveraged. This means that leverage entails a
                                                                               performance will differ from funds that do not utilize an ESG investing
heightened risk of loss.
                                                                               strategy. ESG investing is qualitative and subjective by nature, and
Management Risk is the risk that the investment techniques and risk            there is no guarantee that the factors utilized by PIMCO or any
analyses applied by PIMCO will not produce the desired results and             judgment exercised by PIMCO will reflect the opinions of any
that actual or potential conflicts of interest, legislative, regulatory, or    particular investor.
tax restrictions, policies or developments may affect the investment
                                                                               LIBOR Transition Risk is the risk related to the anticipated
techniques available to PIMCO and the individual portfolio manager in
                                                                               discontinuation of the London Interbank Offered Rate (“LIBOR”) by the
connection with managing a Fund and may cause PIMCO to restrict or
                                                                               end of 2021. Certain instruments held by a Fund rely in some fashion
prohibit participation in certain investments. There is no guarantee that
                                                                               upon LIBOR. Although the transition process away from LIBOR has
the investment objective of a Fund will be achieved.
                                                                               become increasingly well-defined in advance of the anticipated
Subsidiary Risk is the risk that, by investing in a Fund’s subsidiary, the     discontinuation date, there remains uncertainty regarding the nature of
Fund is indirectly exposed to the risks associated with the subsidiary’s       any replacement rate, and any potential effects of the transition away
investments. Fund subsidiaries are not registered under the 1940 Act           from LIBOR on a Fund or on certain instruments in which a Fund
and may not be subject to all the investor protections of the 1940 Act.        invests can be difficult to ascertain. The transition process may involve,
There is no guarantee that the investment objective of a subsidiary will       among other things, increased volatility or illiquidity in markets for
be achieved.                                                                   instruments that currently rely on LIBOR and may result in a reduction
                                                                               in value of certain instruments held by a Fund.
Regulation S Securities Risk is the risk that Regulation S securities
may be less liquid than publicly traded securities and may not be              (b) Other Risks
subject to the disclosure and other investor protection requirements           In general, a Fund may be subject to additional risks, including, but not
that would be applicable if they were publicly traded. Accordingly,            limited to, risks related to government regulation and intervention in
Regulation S Securities may involve a high degree of business and              financial markets, operational risks, risks associated with financial,
financial risk and may result in substantial losses.                           economic and global market disruptions, and cybersecurity risks. Please
                                                                               see a Fund’s prospectus and Statement of Additional Information for a
Short Exposure Risk is the risk of entering into short sales, including        more detailed description of the risks of investing in a Fund. Please see
the potential loss of more money than the actual cost of the                   the Important Information section of this report for additional
investment, and the risk that the third party to the short sale will not       discussion of certain regulatory and market developments that may
fulfill its contractual obligations, causing a loss to a Fund.                 impact a Fund’s performance.

Convertible Securities Risk is the risk that arises when convertible           Market Disruption Risk A Fund is subject to investment and
securities share both fixed income and equity characteristics.                 operational risks associated with financial, economic and other global
Convertible securities are subject to risks to which fixed income and          market developments and disruptions, including those arising from
equity investments are subject. These risks include equity risk, interest      war, terrorism, market manipulation, government interventions,
rate risk and credit risk.                                                     defaults and shutdowns, political changes or diplomatic developments,
                                                                               public health emergencies (such as the spread of infectious diseases,
Senior Loan Risk is the risk that investing in senior loans, including
                                                                               pandemics and epidemics) and natural/environmental disasters, which
bank loans, exposes a Fund to heightened credit risk, call risk,
                                                                               can all negatively impact the securities markets and cause a Fund to
settlement risk and liquidity risk. If an issuer of a senior loan prepays or
                                                                               lose value. These events can also impair the technology and other
redeems the loan prior to maturity, a Fund may have to reinvest the
                                                                               operational systems upon which a Fund’s service providers, including
proceeds in instruments that pay lower interest rates.
                                                                               PIMCO as a Fund’s investment adviser, rely, and could otherwise
Distribution Rate Risk is the risk that a Fund’s distribution rate may         disrupt a Fund’s service providers’ ability to fulfill their obligations to a
change unexpectedly as a result of numerous factors, including changes         Fund. For example, the recent spread of an infectious respiratory illness


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caused by a novel strain of coronavirus (known as COVID-19) has              more susceptible to operational and information security risks resulting
caused volatility, severe market dislocations and liquidity constraints in   from breaches in cyber security. A breach in cyber security refers to
many markets, including markets for the securities a Fund holds, and         both intentional and unintentional cyber events that may, among other
may adversely affect a Fund’s investments and operations. Please see         things, cause a Fund to lose proprietary information, suffer data
the Important Information section for additional discussion of the           corruption and/or destruction or lose operational capacity, result in the
COVID-19 pandemic.                                                           unauthorized release or other misuse of confidential information, or
                                                                             otherwise disrupt normal business operations. Cyber security failures or
Government Intervention in Financial Markets Federal, state, and
                                                                             breaches may result in financial losses to a Fund and its shareholders.
other governments, their regulatory agencies, or self-regulatory
                                                                             These failures or breaches may also result in disruptions to business
organizations may take actions that affect the regulation of the
                                                                             operations, potentially resulting in financial losses; interference with a
instruments in which a Fund invests, or the issuers of such instruments,
                                                                             Fund’s ability to calculate its net asset value, process shareholder
in ways that are unforeseeable. Legislation or regulation may also
                                                                             transactions or otherwise transact business with shareholders;
change the way in which a Fund itself is regulated. Such legislation or
                                                                             impediments to trading; violations of applicable privacy and other laws;
regulation could limit or preclude a Fund’s ability to achieve its
                                                                             regulatory fines; penalties; reputational damage; reimbursement or
investment objective. Furthermore, volatile financial markets can
                                                                             other compensation costs; additional compliance and cyber security risk
expose a Fund to greater market and liquidity risk and potential
                                                                             management costs and other adverse consequences. In addition,
difficulty in valuing portfolio instruments held by the Fund. The value of
                                                                             substantial costs may be incurred in order to prevent any cyber
a Fund’s holdings is also generally subject to the risk of future local,
                                                                             incidents in the future.
national, or global economic disturbances based on unknown
weaknesses in the markets in which a Fund invests. In addition, it is        8. MASTER NETTING ARRANGEMENTS
not certain that the U.S. Government will intervene in response to a
                                                                             A Fund may be subject to various netting arrangements (“Master
future market disturbance and the effect of any such future intervention
                                                                             Agreements”) with select counterparties. Master Agreements govern the
cannot be predicted. It is difficult for issuers to prepare for the impact
                                                                             terms of certain transactions, and are intended to reduce the
of future financial downturns, although companies can seek to identify
                                                                             counterparty risk associated with relevant transactions by specifying
and manage future uncertainties through risk management programs.
                                                                             credit protection mechanisms and providing standardization that is
Regulatory Risk Financial entities, such as investment companies and         intended to improve legal certainty. Each type of Master Agreement
investment advisers, are generally subject to extensive government           governs certain types of transactions. Different types of transactions may
regulation and intervention. Government regulation and/or intervention       be traded out of different legal entities or affiliates of a particular
may change the way a Fund is regulated, affect the expenses incurred         organization, resulting in the need for multiple agreements with a single
directly by a Fund and the value of its investments, and limit and/or        counterparty. As the Master Agreements are specific to unique
preclude a Fund’s ability to achieve its investment objective.               operations of different asset types, they allow a Fund to close out and net
Government regulation may change frequently and may have                     its total exposure to a counterparty in the event of a default with respect
significant adverse consequences. Moreover, government regulation            to all the transactions governed under a single Master Agreement with a
may have unpredictable and unintended effects.                               counterparty. For financial reporting purposes the Statements of Assets
                                                                             and Liabilities generally present derivative assets and liabilities on a gross
Operational Risk An investment in a Fund, like any fund, can involve         basis, which reflects the full risks and exposures prior to netting.
operational risks arising from factors such as processing errors, human
errors, inadequate or failed internal or external processes, failures in     Master Agreements can also help limit counterparty risk by specifying
systems and technology, changes in personnel and errors caused by            collateral posting arrangements at pre-arranged exposure levels. Under
third-party service providers. The occurrence of any of these failures,      most Master Agreements, collateral is routinely transferred if the total
errors or breaches could result in a loss of information, regulatory         net exposure to certain transactions (net of existing collateral already in
scrutiny, reputational damage or other events, any of which could have       place) governed under the relevant Master Agreement with a
a material adverse effect on a Fund. While a Fund seeks to minimize          counterparty in a given account exceeds a specified threshold, which
such events through controls and oversight, there may still be failures      typically ranges from zero to $250,000 depending on the counterparty
that could cause losses to the Fund.                                         and the type of Master Agreement. United States Treasury Bills and
                                                                             U.S. dollar cash are generally the preferred forms of collateral, although
Cyber Security Risk As the use of technology has become more                 other securities may be used depending on the terms outlined in the
prevalent in the course of business, the Funds have become potentially       applicable Master Agreement. Securities and cash pledged as collateral

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are reflected as assets on the Statements of Assets and Liabilities as        equity securities between a Fund and selected counterparties. The
either a component of Investments at value (securities) or Deposits with      arrangements provide guidelines surrounding the rights, obligations,
counterparty. Cash collateral received is not typically held in a             and other events, including, but not limited to, margin, execution, and
segregated account and as such is reflected as a liability on the             settlement. These agreements maintain provisions for, among other
Statements of Assets and Liabilities as Deposits from counterparty. The       things, payments, maintenance of collateral, events of default, and
market value of any securities received as collateral is not reflected as a   termination. Margin and other assets delivered as collateral are
component of NAV. A Fund’s overall exposure to counterparty risk can          typically in the possession of the prime broker and would offset any
change substantially within a short period, as it is affected by each         obligations due to the prime broker. The market values of listed options
transaction subject to the relevant Master Agreement.                         and securities sold short and related collateral are disclosed in the
                                                                              Notes to Schedules of Investments.
Master Repurchase Agreements and Global Master Repurchase
Agreements (individually and collectively “Master Repo Agreements”)           International Swaps and Derivatives Association, Inc. Master Agreements
govern repurchase, reverse repurchase, and certain sale-buyback               and Credit Support Annexes (“ISDA Master Agreements”) govern bilateral
transactions between a Fund and select counterparties. Master Repo            OTC derivative transactions entered into by a Fund with select
                                                                              counterparties. ISDA Master Agreements maintain provisions for general
Agreements maintain provisions for, among other things, initiation,
                                                                              obligations, representations, agreements, collateral posting and events of
income payments, events of default, and maintenance of collateral. The
                                                                              default or termination. Events of termination include conditions that may
market value of transactions under the Master Repo Agreement,
                                                                              entitle counterparties to elect to terminate early and cause settlement of
collateral pledged or received, and the net exposure by counterparty as
                                                                              all outstanding transactions under the applicable ISDA Master Agreement.
of period end are disclosed in the Notes to Schedules of Investments.
                                                                              Any election to terminate early could be material to the financial
Master Securities Forward Transaction Agreements (“Master Forward             statements. The ISDA Master Agreement may contain additional
Agreements”) govern certain forward settling transactions, such as TBA        provisions that add counterparty protection beyond coverage of existing
securities, delayed-delivery or certain sale-buyback transactions by and      daily exposure if the counterparty has a decline in credit quality below a
between a Fund and select counterparties. The Master Forward                  predefined level or as required by regulation. Similarly, if required by
Agreements maintain provisions for, among other things, transaction           regulation, the Funds may be required to post additional collateral beyond
initiation and confirmation, payment and transfer, events of default,         coverage of daily exposure. These amounts, if any, may (or if required by
termination, and maintenance of collateral. The market value of               law, will) be segregated with a third-party custodian. To the extent the
forward settling transactions, collateral pledged or received, and the        Funds are required by regulation to post additional collateral beyond
net exposure by counterparty as of period end is disclosed in the Notes       coverage of daily exposure, it could potentially incur costs, including in
to Schedules of Investments.                                                  procuring eligible assets to meet collateral requirements, associated with
                                                                              such posting. The market value of OTC financial derivative instruments,
Customer Account Agreements and related addenda govern cleared                collateral received or pledged, and net exposure by counterparty as of
derivatives transactions such as futures, options on futures, and cleared     period end are disclosed in the Notes to Schedules of Investments.
OTC derivatives. Such transactions require posting of initial margin as
determined by each relevant clearing agency which is segregated in an
                                                                              9. FEES AND EXPENSES
account at a futures commission merchant (“FCM”) registered with the          (a) Investment Advisory Fee PIMCO is a majority-owned subsidiary of
Commodity Futures Trading Commission. In the United States,                   Allianz Asset Management of America L.P. (“Allianz Asset
counterparty risk may be reduced as creditors of an FCM cannot have a         Management”) and serves as the Adviser to the Trust, pursuant to an
claim to Fund assets in the segregated account. Portability of exposure       investment advisory contract. The Adviser receives a monthly fee from
reduces risk to the Funds. Variation margin, or changes in market             each Fund at an annual rate based on average daily net assets (the
value, are generally exchanged daily, but may not be netted between           “Investment Advisory Fee”). The Investment Advisory Fee for all classes
futures and cleared OTC derivatives unless the parties have agreed to a       is charged at an annual rate as noted in the table in note (b) below.
separate arrangement in respect of portfolio margining. The market            (b) Supervisory and Administrative Fee PIMCO serves as administrator
value or accumulated unrealized appreciation (depreciation), initial          (the “Administrator”) and provides supervisory and administrative
margin posted, and any unsettled variation margin as of period end are        services to the Trust for which it receives a monthly supervisory and
disclosed in the Notes to Schedules of Investments.                           administrative fee based on each share class’s average daily net assets
                                                                              (the “Supervisory and Administrative Fee”). As the Administrator, PIMCO
Prime Broker Arrangements may be entered into to facilitate execution
                                                                              bears the costs of various third-party services, including audit, custodial,
and/or clearing of listed equity option transactions or short sales of
                                                                              portfolio accounting, legal, transfer agency and printing costs.

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The Investment Advisory Fees and Supervisory and Administrative Fees for all classes, as applicable, are charged at the annual rate as noted in the
following table (calculated as a percentage of each Fund’s average daily net assets attributable to each class):
                                                           Investment Advisory Fee                                      Supervisory and Administrative Fee
                                                                                             Institutional                         Administrative
 Fund Name                                                         All Classes                   Class          I-2        I-3          Class        Class A        Class C     Class C-2
 PIMCO Credit Opportunities Bond Fund                                0.60%                      0.30%         0.40%      0.50%(2)*          N/A         0.45%       0.45%            N/A
 PIMCO Diversified Income Fund                                       0.45%                      0.30%         0.40%      0.50%(2)        0.30%          0.45%       0.45%            N/A
 PIMCO ESG Income Fund                                               0.25%                      0.25%         0.35%      0.45%(3)           N/A         0.40%       0.40%            N/A
 PIMCO High Yield Spectrum Fund                                      0.30%                      0.30%         0.40%      0.50%(2)           N/A         0.40%       0.40%            N/A
 PIMCO Long-Term Credit Bond Fund                                    0.30%                      0.25%         0.35%         N/A             N/A         0.40%*         N/A           N/A
 PIMCO Low Duration Credit Fund                                      0.40%                      0.30%         0.40%         N/A             N/A         0.35%       0.35%            N/A
 PIMCO Low Duration Income Fund                                      0.30%                      0.20%         0.30%      0.40%(2)           N/A         0.35%       0.35%         0.35%
 PIMCO Preferred and Capital Securities Fund(1)                      0.44%                      0.35%         0.45%      0.55%(2)           N/A         0.45%       0.45%            N/A

(1)   PIMCO has contractually agreed to waive the Fund’s Investment Advisory Fee and the supervisory and administrative fee in an amount equal to the management fee and
      administrative services fee, respectively, paid by the PIMCO Capital Securities Fund (Cayman) Ltd. (the “Subsidiary”) to PIMCO. The Subsidiary pays PIMCO a management fee and an
      administrative services fee at the annual rates of 0.49% and 0.20%, respectively, of its net assets. This waiver may not be terminated by PIMCO and will remain in effect for as long
      as PIMCO’s contract with the Subsidiary is in place.
(2)   PIMCO has contractually agreed, through July 31, 2021, to waive its supervisory and administrative fee for I-3 shares by 0.05% of the average daily net assets attributable to I-3
      shares of the Fund.
(3)   PIMCO has contractually agreed, through July 31, 2022, to waive its supervisory and administrative fee for I-3 shares by 0.05% of the average daily net assets attributable to I-3
      shares of the Fund.
*     This particular share class has been registered with the SEC, but has not yet launched.

                                                                                                                                                                Allowable Rate
(c) Distribution and Servicing Fees PIMCO Investments LLC, a wholly-                                                                                   Distribution Fee      Servicing Fee
owned subsidiary of PIMCO, serves as the distributor (“Distributor”) of                           Class A
the Trust’s shares.                                                                                 All Funds                                                  —                0.25%
                                                                                                  Class C
The Trust has adopted separate Distribution and Servicing Plans with                                PIMCO Low Duration Income Fund                          0.30%               0.25%
                                                                                                    All Other Funds                                         0.75%               0.25%
respect to the Class A, Class C and Class C-2 shares of the Trust pursuant
                                                                                                  Class C-2
to Rule 12b-1 under the Act. In connection with the distribution of                                 PIMCO Low Duration Income Fund                          0.50%               0.25%
Class C and Class C-2 shares of the Trust, the Distributor receives
                                                                                                                                                      Distribution and/or Servicing Fee
distribution fees from the Trust of up to 0.75% for Class C shares and
                                                                                                  Administrative Class
0.50% for Class C-2 shares, and in connection with personal services                                All Funds                                                        0.25%
rendered to Class A, Class C and Class C-2 shareholders and the
maintenance of such shareholder accounts, the Distributor receives                               The Distributor also received the proceeds of the initial sales charges
servicing fees from the Trust of up to 0.25% for each of Class A, Class C                        paid by the shareholders upon the purchase of Class A shares, except
and Class C-2 shares (percentages reflect annual rates of the average                            for the PIMCO Short Asset Investment Fund, and the contingent
daily net assets attributable to the applicable class).                                          deferred sales charges paid by the shareholders upon certain
                                                                                                 redemptions of Class A, Class C and Class C-2 shares, except for the
The Trust has adopted a Distribution and Servicing Plan with respect to
                                                                                                 PIMCO Government Money Market Fund and the PIMCO Short Asset
the Administrative Class shares of each Fund pursuant to Rule 12b-1
                                                                                                 Investment Fund. For the period ended March 31, 2021, the Distributor
under the Act (the “Administrative Class Plan”). Under the terms of the
                                                                                                 retained $5,518,745 representing commissions (sales charges) and
Administrative Class Plan, a Fund may compensate the Distributor for
                                                                                                 contingent deferred sales charges from the Trust.
providing, or procuring through financial intermediaries, distribution,
administrative, recordkeeping, shareholder and/or related services with                          (d) Redemption Fees Shareholders of the PIMCO Low Duration Credit
respect to Administrative Class shares. The Administrative Class Plan                            Fund are subject to a redemption fee on redemptions and exchanges of
permits a Fund to make total payments at an annual rate of up to                                 1.00% of the NAV of the PIMCO Low Duration Credit Fund shares
0.25% of the average daily net assets attributable to the                                        redeemed or exchanged. Redemption fees are charged on shares
Administrative Class shares.                                                                     redeemed or exchanged within 30 days after their acquisition, including
                                                                                                 shares acquired through exchanges. Under certain circumstances, the
The Trust paid distribution and servicing fees at effective rates as noted
                                                                                                 redemption fee may be waived. Actual redemption fees charged are
in the following table (calculated as a percentage of each Fund’s
                                                                                                 reported on the Statements of Changes in Net Assets.
average daily net assets attributable to each class):

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(e) Fund Expenses PIMCO provides or procures supervisory and                                 net assets per share class, as disclosed on the Financial Highlights, may
administrative services for shareholders and also bears the costs of                         differ from the annual fund operating expenses per share class.
various third-party services required by the Funds, including audit,
                                                                                             The Trust pays no compensation directly to any Trustee or any other
custodial, portfolio accounting, legal, transfer agency and printing
                                                                                             officer who is affiliated with the Administrator, all of whom receive
costs. The Trust is responsible for the following expenses: (i) taxes and
                                                                                             remuneration for their services to the Trust from the Administrator or
governmental fees; (ii) brokerage fees and commissions and other
                                                                                             its affiliates.
portfolio transaction expenses; (iii) the costs of borrowing money,
including interest expenses; (iv) fees and expenses of the Trustees who                      (f) Expense Limitation Pursuant to the Expense Limitation Agreement,
are not “interested persons” of PIMCO or the Trust, and any counsel                          PIMCO has agreed to waive a portion of the Funds’ Supervisory and
retained exclusively for their benefit (except the PIMCO All Asset and                       Administrative Fee, or reimburse each Fund, to the extent that each
PIMCO All Asset All Authority Funds); (v) extraordinary expense,                             Fund’s organizational expenses, pro rata share of expenses related to
including costs of litigation and indemnification expenses;                                  obtaining or maintaining a Legal Entity Identifier and pro rata share of
(vi) organizational expenses; and (vii) any expenses allocated or                            Trustee Fees exceed 0.0049%, the “Expense Limit” (calculated as a
allocable to a specific class of shares, which include service fees                          percentage of each Fund’s average daily net assets attributable to each
payable with respect to the Administrative Class Shares, and may                             class). The Expense Limitation Agreement will automatically renew for
include certain other expenses as permitted by the Trust’s Multi-Class                       one-year terms unless PIMCO provides written notice to the Trust at
Plan adopted pursuant to Rule 18f-3 under the Act and subject to                             least 30 days prior to the end of the then current term.
review and approval by the Trustees. The ratio of expenses to average

Prior to July 31, 2018, PIMCO had contractually agreed to reduce its Investment Advisory Fee for the PIMCO Low Duration Income Fund. In any
month in which the supervision and administration agreement is in effect, PIMCO is entitled to reimbursement by each Fund of any portion of the
supervisory and administrative fee waived or reimbursed as set forth above (the “Reimbursement Amount”) during the previous thirty-six months
from the date of the waiver, provided that such amount paid to PIMCO will not: i) together with any organizational expenses, pro rata share of
expenses related to obtaining or maintaining a Legal Entity Identifier and pro rata Trustee fees, exceed, for such month, the Expense Limit (or the
amount of the expense limit in place at the time the amount being recouped was originally waived if lower than the Expense Limit); ii) exceed the
total Reimbursement Amount; or iii) include any amounts previously reimbursed to PIMCO. The total recoverable amounts to PIMCO (from the Fee
Waiver Agreement and Expense Limitation Agreement combined) at March 31, 2021, were as follows (amounts in thousands†):
                                                                               Expiring Within
Fund Name                                                  12 months          13-24 months          25-36 months          Total
PIMCO ESG Income Fund                                        $     0                $ 0                 $ 97             $ 97
PIMCO Low Duration Income Fund                                   182                  30                  35               247

†   A zero balance may reflect actual amounts rounding to less than one thousand.

Pursuant to a Fee Waiver Agreement, PIMCO has contractually agreed,                          The waivers are reflected on the Statements of Operations as a
through July 31, 2021, to reduce its supervisory and administrative fee                      component of Waiver and/or Reimbursement by PIMCO. For the period
for I-3 shares by 0.05% of the average daily net assets attributable to                      ended March 31, 2021, the Funds below waived the following fees
I-3 shares of each of the PIMCO Credit Opportunities Bond Fund,                              (amounts in thousands†):
PIMCO Diversified Income Fund, PIMCO High Yield Spectrum Fund,                               Fund Name                                                Waived Fees
PIMCO Low Duration Income Fund and PIMCO Preferred and Capital                               PIMCO Diversified Income Fund                                $ 12
Securities Fund. This Fee Waiver Agreement will automatically renew                          PIMCO ESG Income Fund                                           0
for one-year terms unless PIMCO provides written notice to the Trust at                      PIMCO High Yield Spectrum Fund                                  0
                                                                                             PIMCO Low Duration Income Fund                                 23
least 30 days prior to the end of the then current term.
                                                                                             PIMCO Preferred and Capital Securities Fund                    19

Pursuant to a Fee Waiver Agreement, PIMCO has contractually agreed,                          †   A zero balance may reflect actual amounts rounding to less than one thousand.
through July 31, 2022, to reduce its supervisory and administrative fee
for I-3 shares of the PIMCO ESG Income Fund. This Fee Waiver                                 (g) Acquired Fund Fees and Expenses PIMCO Capital Securities Fund
Agreement will automatically renew for one-year terms unless PIMCO                           (Cayman) Ltd. (the “Subsidiary”), has entered into a separate contract with
provides written notice to the Trust at least 30 days prior to the end of                    PIMCO for the management of the Subsidiary’s portfolio pursuant to which
the then current term.                                                                       the Subsidiary pays PIMCO a management fee and administrative services fee

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at the annual rates of 0.49% and 0.20%, respectively, of its net assets.             be made against the Funds that have not yet occurred. However, the
PIMCO has contractually agreed to waive the Investment Advisory Fee and              Funds have not had prior claims or losses pursuant to these contracts.
the Supervisory and Administrative Fees it receives from the Subsidiary in an
amount equal to the management fee and administrative services fee,                  12. PURCHASES AND SALES OF SECURITIES
respectively, paid to PIMCO by the Subsidiary. This waiver may not be                The length of time a Fund has held a particular security is not generally
terminated by PIMCO and will remain in effect for as long as PIMCO’s                 a consideration in investment decisions. A change in the securities held
contract with the Subsidiary is in place. The waiver is reflected on the             by a Fund is known as “portfolio turnover.” Each Fund may engage in
                                                                                     frequent and active trading of portfolio securities to achieve its
Statements of Operations as a component of Waiver and/ or Reimbursement
                                                                                     investment objective, particularly during periods of volatile market
by PIMCO. During the period ended March 31, 2021, the amount was $
                                                                                     movements. High portfolio turnover may involve correspondingly
1,724,700. See Note 14, Basis for Consolidation in the Notes to Financial
                                                                                     greater transaction costs, including brokerage commissions or dealer
Statements for more information regarding the Subsidiary.                            mark-ups and other transaction costs on the sale of securities and
                                                                                     reinvestments in other securities, which are borne by the Fund. Such
10. RELATED PARTY TRANSACTIONS
                                                                                     sales may also result in realization of taxable capital gains, including
The Adviser, Administrator, and Distributor are related parties. Fees                short-term capital gains (which are generally taxed at ordinary income
paid to these parties are disclosed in Note 9, Fees and Expenses, and                tax rates when distributed to shareholders). The transaction costs
the accrued related party fee amounts are disclosed on the Statements                associated with portfolio turnover may adversely affect a Fund’s
of Assets and Liabilities.                                                           performance. The portfolio turnover rates are reported in the
                                                                                     Financial Highlights.
Certain Funds are permitted to purchase or sell securities from or to
certain related affiliated funds under specified conditions outlined in              Purchases and sales of securities (excluding short-term investments) for
procedures adopted by the Board. The procedures have been designed                   the period ended March 31, 2021, were as follows (amounts
to ensure that any purchase or sale of securities by the Funds from or               in thousands†):
to another fund or portfolio that are, or could be, considered an                                                 U.S. Government/Agency                 All Other
                                                                                     Fund Name                    Purchases         Sales         Purchases       Sales
affiliate, or an affiliate of an affiliate, by virtue of having a common
                                                                                     PIMCO Credit
investment adviser (or affiliated investment advisers), common Trustees                Opportunities
and/or common officers complies with Rule 17a-7 under the Act.                         Bond Fund               $     83,079 $    88,804 $ 265,703 $ 213,604
Further, as defined under the procedures, each transaction is effected               PIMCO Diversified
                                                                                       Income Fund                4,464,894   4,959,012  1,644,837   462,831
at the current market price. Purchases and sales of securities pursuant              PIMCO ESG Income Fund           21,101      15,745     26,165       441
to Rule 17a-7 under the Act for the period ended March 31, 2021,                     PIMCO High Yield
                                                                                       Spectrum Fund                      0      10,863    248,531   128,685
were as follows (amounts in thousands†):
                                                                                     PIMCO Long-Term Credit
Fund Name                                                Purchases          Sales      Bond Fund                  3,086,406   3,046,413  1,466,097 1,711,353
PIMCO Credit Opportunities Bond Fund                     $     5,923     $ 37,515    PIMCO Low Duration
                                                                                       Credit Fund                        0           0    789,704   723,327
PIMCO Diversified Income Fund                                 66,739         3,433
                                                                                     PIMCO Low Duration
PIMCO High Yield Spectrum Fund                                14,707        27,363     Income Fund               33,877,315 33,048,711   2,610,700 1,918,816
PIMCO Long-Term Credit Bond Fund                              92,205       788,808   PIMCO Preferred and
PIMCO Low Duration Credit Fund                                38,457       173,017     Capital Securities Fund            0           0  1,245,726   929,315
PIMCO Low Duration Income Fund                               422,929       374,917
                                                                                     †   A zero balance may reflect actual amounts rounding to less than one thousand.
PIMCO Preferred and Capital Securities Fund                  107,430       199,932

†   A zero balance may reflect actual amounts rounding to less than one thousand.

11. GUARANTEES AND INDEMNIFICATIONS
Under the Trust’s organizational documents, each Trustee or officer of
the Trust is indemnified and each employee or other agent of the Trust
(including the Trust’s investment manager) may be indemnified, to the
extent permitted by the Act, against certain liabilities that may arise out
of performance of their duties to the Funds. Additionally, in the normal
course of business, the Funds enter into contracts that contain a variety
of indemnification clauses. The Funds’ maximum exposure under these
arrangements is unknown as this would involve future claims that may

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13. SHARES OF BENEFICIAL INTEREST
The Trust may issue an unlimited number of shares of beneficial interest with a $0.01 par value. Changes in shares of beneficial interest were as
follows (shares and amounts in thousands†):
                                                        PIMCO                                                   PIMCO                                     PIMCO
                                             Credit Opportunities Bond Fund                            Diversified Income Fund                       ESG Income Fund
                                                                                                                                                      Inception date
                                       Year Ended                   Year Ended                 Year Ended                     Year Ended                 through
                                       03/31/2021                   03/31/2020                 03/31/2021                     03/31/2020               03/31/2021(a)
                                  Shares           Amount      Shares         Amount      Shares       Amount        Shares           Amount        Shares      Amount
Receipts for shares sold
   Institutional Class            17,386       $ 169,444       21,509     $ 214,927       165,151    $ 1,820,798    124,907       $ 1,384,119       3,584      $ 36,867
   I-2                             8,470          81,135        4,544        44,714        56,864        624,877     45,146           497,874         137         1,420
   I-3                               N/A             N/A          N/A           N/A         2,407         26,362      1,733            18,951           4            44
   Administrative Class              N/A             N/A          N/A           N/A         1,861         20,366      3,442            38,110         N/A           N/A
   Class A                         1,071          10,453        1,377        13,815        11,844        130,736     23,272           256,516           2            23
   Class C                            68             647          121         1,206         2,292         25,151      3,356            37,209          14           140
   Class C-2                         N/A             N/A          N/A           N/A           N/A            N/A        N/A               N/A         N/A           N/A
Issued as reinvestment
   of distributions
   Institutional Class               618              6,098     1,059           10,494     11,675       129,038      12,296             135,966        14            145
   I-2                               348              3,420       230            2,263      1,337        14,794         998              11,038         0              0
   I-3                               N/A                N/A       N/A              N/A         78           861          41                 457         0              0
   Administrative Class              N/A                N/A       N/A              N/A        366         4,010         694               7,675       N/A            N/A
   Class A                            69                676        79              777        943        10,408       1,301              14,396         0              0
   Class C                            12                120        17              163        170         1,871         218               2,413         0              0
   Class C-2                         N/A                N/A       N/A              N/A        N/A           N/A         N/A                 N/A       N/A            N/A
Cost of shares redeemed
   Institutional Class            (16,809)         (164,030)   (26,196)       (261,302)   (81,977)      (905,243)    (99,637)         (1,090,394)     (10)          (103)
   I-2                             (3,334)          (32,165)    (3,523)        (34,316)   (30,347)      (336,234)    (28,871)           (303,111)       0              0
   I-3                                N/A               N/A        N/A             N/A     (1,330)       (14,769)       (771)             (8,418)       0              0
   Administrative Class               N/A               N/A        N/A             N/A    (16,855)      (190,142)     (2,889)            (31,430)     N/A            N/A
   Class A                         (1,345)          (13,269)    (1,626)        (15,817)    (9,118)      (100,372)    (18,659)           (205,130)       0              0
   Class C                           (269)           (2,628)      (153)         (1,508)    (3,867)       (43,012)     (2,763)            (30,329)      (5)           (50)
   Class C-2                          N/A               N/A        N/A             N/A        N/A            N/A         N/A                 N/A      N/A            N/A
Net increase (decrease)
   resulting from Fund
   share transactions              6,285       $     59,901     (2,562)   $ (24,584)      111,494    $ 1,219,500     63,814       $     735,912     3,740      $ 38,486




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Notes to Financial Statements (Cont.)
                                                                  PIMCO                                                  PIMCO
                                                         High Yield Spectrum Fund                               Long-Term Credit Bond Fund
                                                   Year Ended                Year Ended                    Year Ended                      Year Ended
                                                   03/31/2021                03/31/2020                    03/31/2021                      03/31/2020
                                              Shares      Amount        Shares       Amount       Shares            Amount        Shares            Amount

Receipts for shares sold
   Institutional Class                        15,758     $ 150,819      11,802      $ 114,924     127,496       $ 1,657,609        74,209       $       945,065
   I-2                                        10,940       103,496       9,172         88,789       6,512            84,387        76,109               913,081
   I-3                                           321         3,226         131          1,285         N/A               N/A           N/A                   N/A
   Administrative Class                          N/A           N/A         N/A            N/A         N/A               N/A           N/A                   N/A
   Class A                                     2,000        19,050       2,616         25,490         N/A               N/A           N/A                   N/A
   Class C                                       143         1,341         212          2,080         N/A               N/A           N/A                   N/A
   Class C-2                                     N/A           N/A         N/A            N/A         N/A               N/A           N/A                   N/A
Issued as reinvestment of distributions
   Institutional Class                           556            5,350    2,128          20,777     20,005               265,843    13,375               169,882
   I-2                                           991            9,549    1,026           9,948        845                11,228     2,819                36,025
   I-3                                             4               44        5              44        N/A                   N/A       N/A                   N/A
   Administrative Class                          N/A              N/A      N/A             N/A        N/A                   N/A       N/A                   N/A
   Class A                                       254            2,431      334           3,235        N/A                   N/A       N/A                   N/A
   Class C                                        28              269       37             358        N/A                   N/A       N/A                   N/A
   Class C-2                                     N/A              N/A      N/A             N/A        N/A                   N/A       N/A                   N/A
Cost of shares redeemed
   Institutional Class                        (11,086)     (105,205)    (64,310)      (631,552)   (138,210)         (1,837,578)   (119,006)         (1,478,867)
   I-2                                         (3,876)      (37,699)    (14,477)      (135,288)    (12,780)           (168,188)    (68,705)           (804,433)
   I-3                                            (16)         (150)       (305)        (2,969)        N/A                 N/A         N/A                 N/A
   Administrative Class                           N/A           N/A         N/A            N/A         N/A                 N/A         N/A                 N/A
   Class A                                     (2,658)      (25,406)     (3,653)       (35,009)        N/A                 N/A         N/A                 N/A
   Class C                                       (445)       (4,325)       (286)        (2,716)        N/A                 N/A         N/A                 N/A
   Class C-2                                      N/A           N/A         N/A            N/A         N/A                 N/A         N/A                 N/A
Net increase (decrease) resulting from Fund
   share transactions                         12,914     $ 122,790      (55,568)    $ (540,604)      3,868      $        13,301    (21,199)     $    (219,247)




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                                                                                                                                                                               March 31, 2021


                         PIMCO                                                        PIMCO                                                            PIMCO
                 Low Duration Credit Fund                                    Low Duration Income Fund                                   Preferred and Capital Securities Fund
           Year Ended                  Year Ended                     Year Ended                        Year Ended                  Year Ended                     Year Ended
           03/31/2021                  03/31/2020                     03/31/2021                        03/31/2020                  03/31/2021                     03/31/2020
      Shares         Amount       Shares      Amount         Shares          Amount            Shares           Amount         Shares          Amount        Shares            Amount


      57,516     $ 508,572         8,053     $ 71,706       139,515        $ 1,189,071         138,482       $ 1,183,176       90,063        $ 946,468      104,274    $ 1,078,445
       1,210        11,212         1,864       18,194       220,654          1,875,382         291,656         2,494,678       15,481          164,218       28,613        298,095
         N/A           N/A           N/A          N/A        10,676             90,305           4,569            39,250        2,563           26,519        2,443         24,672
         N/A           N/A           N/A          N/A           N/A                N/A             N/A               N/A          N/A              N/A          N/A            N/A
       1,761        16,324         1,788       17,491       117,404          1,000,360         151,107         1,296,372       11,242          119,798       30,453        320,917
         176         1,637           374        3,671         8,566             72,817          12,717           108,692          758            7,969        1,463(b)      15,617(b)
         N/A           N/A           N/A          N/A           369(c)           3,203(c)          N/A               N/A          N/A              N/A          N/A            N/A

       1,364           12,505        674          6,545        6,729               57,016       10,108               86,282      3,573           38,995        2,450              25,679
          89              819        173          1,685        7,249               61,447        8,838               75,346        964           10,489        1,095              11,412
         N/A              N/A        N/A            N/A          168                1,430          266                2,275        135            1,462           90                 935
         N/A              N/A        N/A            N/A          N/A                  N/A          N/A                  N/A        N/A              N/A          N/A                 N/A
         177            1,630        343          3,332        4,365               36,987        5,458               46,542        937           10,166        1,054              11,001
          46              421        145          1,409          560                4,739          820                7,000         47              511           12(b)              131(b)
         N/A              N/A        N/A            N/A            1(c)                 9(c)       N/A                  N/A        N/A              N/A          N/A                 N/A

      (53,754)       (491,341)    (8,853)       (83,558)     (98,942)          (830,487)       (137,843)       (1,157,264)     (69,562)        (732,835)     (47,291)           (492,441)
       (1,937)        (17,814)    (3,019)       (28,964)    (152,068)        (1,281,222)       (233,999)       (1,951,013)     (12,716)        (132,374)     (17,787)           (175,055)
          N/A             N/A        N/A            N/A       (3,291)           (27,710)         (6,870)          (57,819)      (1,922)         (19,883)        (667)             (6,426)
          N/A             N/A        N/A            N/A          N/A                N/A             N/A               N/A          N/A              N/A          N/A                 N/A
       (2,168)        (19,747)    (5,260)       (50,376)     (82,399)          (696,005)       (113,424)         (958,767)     (13,550)        (142,914)     (14,737)           (148,658)
       (1,774)        (16,309)    (2,666)       (25,529)      (9,832)           (83,279)        (10,518)          (88,968)        (340)          (3,608)        (114)(b)          (1,067)(b)
          N/A             N/A        N/A            N/A            0(c)              (1)(c)         N/A               N/A          N/A              N/A          N/A                 N/A

       2,706     $      7,909     (6,384)    $ (64,394)     169,724        $ 1,474,062         121,367       $ 1,125,782       27,673        $ 294,981       91,351        $     963,257

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(a)   Inception date of the Fund was September 30, 2020.
(b)   Inception date of Class C was August 23, 2019.
(c)   Inception date of Class C-2 was October 21, 2020.

The following table discloses the number of shareholders that own 10% or more of the outstanding shares of a Fund along with their respective
percent ownership, if any, as of March 31, 2021. Some of these shareholders may be considered related parties, which may include, but are not
limited to, the investment adviser and its affiliates, affiliated broker dealers, fund of funds and directors or employees of the Trust or Adviser.
                                                                                                                Total percentage of portfolio held by
                                                              Shareholders that own 10% or more                  shareholders that own 10% or more
                                                                    of outstanding shares                               of outstanding shares
                                                            Non-Related Parties          Related Parties      Non-Related Parties         Related Parties

 PIMCO ESG Income Fund                                                 0                       1                        0%                     14%
 PIMCO Low Duration Credit Fund                                        0                       1                        0%                     30%


14. BASIS FOR CONSOLIDATION                                                                        the Subsidiary. The consolidated financial statements include the
The Subsidiary, a Cayman Islands exempted company, was                                             accounts of the PCS Fund and the Subsidiary, if any. All inter-company
incorporated on February 4, 2015, as a wholly owned subsidiary acting                              transactions and balances have been eliminated. A subscription
as an investment vehicle for the PIMCO Preferred and Capital Securities                            agreement was entered into between the PCS Fund and the Subsidiary,
Fund (the “PCS Fund”) in order to effect certain investments for the                               comprising the entire issued share capital of the Subsidiary, with the
PCS Fund consistent with the PCS Fund’s investment objectives and                                  intent that the PCS Fund will remain the sole shareholder and retain all
policies as specified in its prospectus and statement of additional                                rights. Under the Memorandum and Articles of Association, shares
information. The PCS Fund’s investment portfolio has been                                          issued by the Subsidiary confer upon a shareholder the right to receive
consolidated and includes the portfolio holdings of the PCS Fund and                               notice of, to attend and to vote at general meetings of the Subsidiary


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and shall confer upon the shareholder rights in a winding-up or                                     A Fund may be subject to local withholding taxes, including those
repayment of capital and the right to participate in the profits or assets                          imposed on realized capital gains. Any applicable foreign capital gains
of the Subsidiary. The net assets of the Subsidiary as of period end                                tax is accrued daily based upon net unrealized gains, and may be
represented 16.7% of the Fund’s consolidated net assets.                                            payable following the sale of any applicable investments.

15. REGULATORY AND LITIGATION MATTERS                                                               In accordance with U.S. GAAP, the Adviser has reviewed the Funds’ tax
The Funds are not named as defendants in any material litigation or                                 positions for all open tax years. As of March 31, 2021, the Funds have
arbitration proceedings and are not aware of any material litigation or                             recorded no liability for net unrecognized tax benefits relating to
claim pending or threatened against them.                                                           uncertain income tax positions they have taken or expect to take in
                                                                                                    future tax returns.
The foregoing speaks only as of the date of this report.
                                                                                                    The Funds file U.S. federal, state, and local tax returns as required. The
16. FEDERAL INCOME TAX MATTERS                                                                      Funds’ tax returns are subject to examination by relevant tax
Each Fund intends to qualify as a regulated investment company under                                authorities until expiration of the applicable statute of limitations,
Subchapter M of the Internal Revenue Code (the “Code”) and                                          which is generally three years after the filing of the tax return but which
distribute all of its taxable income and net realized gains, if applicable,                         can be extended to six years in certain circumstances. Tax returns for
to shareholders. Accordingly, no provision for Federal income taxes has                             open years have incorporated no uncertain tax positions that require a
been made.                                                                                          provision for income taxes.

As of March 31, 2021, the components of distributable taxable earnings are as follows (amounts in thousands†):
                                                                                                                               Qualified Qualified
                                                                                     Net Tax Basis        Other                Late-Year Late-Year
                                                        Undistributed Undistributed   Unrealized      Book-to-Tax Accumulated    Loss        Loss        Total
                                                          Ordinary     Long-Term     Appreciation/     Accounting    Capital   Deferral - Deferral - Distributable
                                                          Income(1)   Capital Gains (Depreciation)(2) Differences(3) Losses(4) Capital(5) Ordinary(6)  Earnings
PIMCO Credit Opportunities Bond Fund                       $ 5,336          $        0        $     4,530       $       (1)   $ (54,930)         $ 0         $ 0        $ (45,065)
PIMCO Diversified Income Fund                                 6,995                  0             49,454             (940)      (40,463)          0           0            15,046
PIMCO ESG Income Fund                                           115                  0                131                0           (28)          0           0               218
PIMCO High Yield Spectrum Fund                                7,673                  0              2,845             (121)      (49,699)          0           0           (39,302)
PIMCO Long-Term Credit Bond Fund                             51,319             63,791            116,501             (472)            0           0           0           231,139
PIMCO Low Duration Credit Fund                                2,166                  0              4,656              (20)      (71,835)          0           0           (65,033)
PIMCO Low Duration Income Fund                                    0                  0             38,922           (2,184)     (200,810)          0           0          (164,072)
PIMCO Preferred and Capital Securities Fund                  15,789             16,238             81,106                0             0           0           0           113,133

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(1)   Includes undistributed short-term capital gains, if any.
(2)   Adjusted for open wash sale loss deferrals and the accelerated recognition of unrealized gain or loss on certain futures, options and forward contracts for federal income tax
      purposes. Also adjusted for differences between book and tax realized and unrealized gain (loss) on swap contracts, sale/buyback transactions, interest accrued on defaulted
      securities, straddle loss deferrals, hyperinflationary investments, Passive Foreign Investment Companies (PFICs), and partnership investments.
(3)   Represents differences in income tax regulations and financial accounting principles generally accepted in the United States of America, mainly for organizational costs and
      distributions payable at fiscal year-end.
(4)   Capital losses available to offset future net capital gains expire in varying amounts as shown below.
(5)   Capital losses realized during the period November 1, 2020 through March 31, 2021 which the Funds elected to defer to the following taxable year pursuant to income tax regulations.
(6)   Specified losses realized during the period November 1, 2020 through March 31, 2021 and Ordinary losses realized during the period January 1, 2021 through March 31, 2021,
      which the Funds elected to defer to the following taxable year pursuant to income tax regulations.

Under the Regulated Investment Company Modernization Act of 2010, a fund is permitted to carry forward any new capital losses for an unlimited
period. Additionally, such capital losses that are carried forward will retain their character as either short-term or long-term capital losses rather
than being considered all short-term under previous law.

As of March 31, 2021, the Funds had the following post-effective capital losses with no expiration (amounts in thousands†):
                                                                 Short-Term          Long-Term
PIMCO Credit Opportunities Bond Fund*                             $ 30,937               $ 23,993
PIMCO Diversified Income Fund                                       30,282                 10,181
PIMCO ESG Income Fund                                                   28                      0



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                                                                                                                                                                                  March 31, 2021


                                                                  Short-Term           Long-Term
PIMCO High Yield Spectrum Fund*                                     $      203          $ 49,496
PIMCO Long-Term Credit Bond Fund                                             0                  0
PIMCO Low Duration Credit Fund*                                          1,959             69,876
PIMCO Low Duration Income Fund                                          61,817            138,993
PIMCO Preferred and Capital Securities Fund                                  0                  0

†     A zero balance may reflect actual amounts rounding to less than one thousand.
*     Portion of amount represents realized loss and recognized built-in loss under IRC 382-83, which is carried forward to future years to offset future realized gain subject to
      certain limitations.

As of March 31, 2021, the aggregate cost and the net unrealized appreciation/(depreciation) of investments for federal income tax purposes are as
follows (amounts in thousands†):
                                                                                                                                         Net Unrealized
                                                                      Federal             Unrealized             Unrealized              Appreciation/
                                                                      Tax Cost           Appreciation          (Depreciation)           (Depreciation)(7)
PIMCO Credit Opportunities Bond Fund                              $       403,204         $ 14,310               $     (9,782)             $     4,528
PIMCO Diversified Income Fund                                           5,502,197           185,472                  (135,002)                  50,470
PIMCO ESG Income Fund                                                      37,186               421                      (286)                     135
PIMCO High Yield Spectrum Fund                                            468,578            16,897                   (13,889)                   3,008
PIMCO Long-Term Credit Bond Fund                                        4,227,442           256,380                  (138,847)                 117,533
PIMCO Low Duration Credit Fund                                            286,772             6,108                    (1,281)                   4,827
PIMCO Low Duration Income Fund                                          8,833,018           300,488                  (258,698)                  41,790
PIMCO Preferred and Capital Securities Fund                             1,852,658            90,069                    (8,204)                  81,865

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(7)   Primary differences, if any, between book and tax net unrealized appreciation/(depreciation) are attributable to open wash sale loss deferrals, unrealized gain or loss on certain
      futures, options and forward contracts, realized and unrealized gain (loss) swap contracts, sale/buyback transactions, interest accrued on defaulted securities, straddle loss deferrals,
      hyperinflationary investments, Passive Foreign Investment Companies (PFICs), and partnership investments.

For the fiscal years ended March 31, 2021 and March 31, 2020, respectively, the Funds made the following tax basis distributions (amounts
in thousands†):
                                                                                      March 31, 2021                                                     March 31, 2020
                                                                     Ordinary              Long-Term                                  Ordinary               Long-Term
                                                                      Income              Capital Gain           Return of             Income               Capital Gain         Return of
                                                                  Distributions(8)        Distributions          Capital(9)        Distributions(8)         Distributions        Capital(9)
PIMCO Credit Opportunities Bond Fund                                  $ 13,801              $        0           $        0          $ 16,000                   $ 0                  $ 0
PIMCO Diversified Income Fund                                           171,361                      0                    0            185,589                    0                    0
PIMCO ESG Income Fund                                                       145                      0                    0                  0                    0                    0
PIMCO High Yield Spectrum Fund                                           18,960                      0                    0             35,915                    0                    0
PIMCO Long-Term Credit Bond Fund                                        191,241                 98,003                    0            213,296                    0                    0
PIMCO Low Duration Credit Fund                                           15,555                      0                    0             13,664                    0                    0
PIMCO Low Duration Income Fund                                          152,870                      0               35,601            259,370                    0                    0
PIMCO Preferred and Capital Securities Fund                              66,842                    161                    0             49,804                    0                    0

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(8)   Includes short-term capital gains distributed, if any.
(9)   A portion of the distributions made represents a tax return of capital. Return of capital distributions have been reclassified from undistributed net investment income to paid-in capital
      to more appropriately conform financial accounting to tax accounting.

17. SUBSEQUENT EVENTS
On February 10, 2021, the Board approved a proposal to change the name of the PIMCO Senior Floating Rate Fund to PIMCO Low Duration Credit
Fund. The name change occurred on May 3, 2021.

Effective May 3, 2021, any redemptions of PIMCO Low Duration Credit Fund shares will no longer be subject to a redemption fee.

There were no other subsequent events identified that require recognition or disclosure.



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Report of Independent Registered Public Accounting Firm

To the Board of Trustees of PIMCO Funds and Shareholders of PIMCO Credit Opportunities Bond Fund, PIMCO
Diversified Income Fund, PIMCO ESG Income Fund, PIMCO High Yield Spectrum Fund, PIMCO Long-Term Credit Bond
Fund, PIMCO Low Duration Credit Fund, PIMCO Low Duration Income Fund and PIMCO Preferred and Capital
Securities Fund
Opinions on the Financial Statements
We have audited the accompanying statements of assets and liabilities, including the schedules of investments, of each of the funds indicated in the
table below (eight of the funds constituting PIMCO Funds, hereafter collectively referred to as the “Funds”) as of March 31, 2021, the related
statements of operations, of cash flows for PIMCO Long-Term Credit Bond Fund and PIMCO Low Duration Credit Fund, and of changes in net assets
for each of the periods indicated in the table below, including the related notes, and the financial highlights for each of the periods indicated in the
table below (collectively referred to as the “financial statements”). In our opinion, the financial statements present fairly, in all material respects, the
financial position of each of the Funds as of March 31, 2021, the results of each of their operations and each of the cash flows for PIMCO Long-
Term Credit Bond Fund and PIMCO Low Duration Credit Fund, the changes in each of their net assets, and each of the financial highlights for each
of the periods indicated in the table below, in conformity with accounting principles generally accepted in the United States of America.
PIMCO Credit Opportunities Bond Fund(1)
PIMCO Diversified Income Fund(2)
PIMCO ESG Income Fund(3)
PIMCO High Yield Spectrum Fund(2)
PIMCO Long-Term Credit Bond Fund(4)
PIMCO Low Duration Credit Fund(4)
PIMCO Low Duration Income Fund(2)
PIMCO Preferred and Capital Securities Fund(2)
(1)   Statement of operations for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the financial highlights for the
      years ended March 31, 2021, 2020, 2019, 2018 and 2017
(2)   Statement of operations for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the financial highlights for each
      of the periods indicated therein
(3)   Statement of operations, statement of changes in net assets and the financial highlights for the period September 30, 2020 (inception date) through March 31, 2021
(4)   Statement of operations and statement of cash flows for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the
      financial highlights for the years ended March 31, 2021, 2020, 2019, 2018 and 2017

Basis for Opinions
These financial statements are the responsibility of the Funds’ management. Our responsibility is to express an opinion on the Funds’ financial
statements based on our audits. We are a public accounting firm registered with the Public Company Accounting Oversight Board (United States)
(PCAOB) and are required to be independent with respect to the Funds in accordance with the U.S. federal securities laws and the applicable rules
and regulations of the Securities and Exchange Commission and the PCAOB.
We conducted our audits of these financial statements in accordance with the standards of the PCAOB. Those standards require that we plan and perform
the audit to obtain reasonable assurance about whether the financial statements are free of material misstatement, whether due to error or fraud.
Our audits included performing procedures to assess the risks of material misstatement of the financial statements, whether due to error or fraud,
and performing procedures that respond to those risks. Such procedures included examining, on a test basis, evidence regarding the amounts and
disclosures in the financial statements. Our audits also included evaluating the accounting principles used and significant estimates made by
management, as well as evaluating the overall presentation of the financial statements. Our procedures included confirmation of securities owned
as of March 31, 2021 by correspondence with the custodian, transfer agent, brokers and agent banks; when replies were not received from brokers
or agent banks, we performed other auditing procedures. We believe that our audits provide a reasonable basis for our opinions.

/s/ PricewaterhouseCoopers LLP
Kansas City, Missouri
May 27, 2021

We have served as the auditor of one or more investment companies in PIMCO Funds since 1987.

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Glossary: (abbreviations that may be used in the preceding statements)                                                                                             (Unaudited)



Counterparty Abbreviations:
AZD         Australia and New Zealand Banking Group    FBF         Credit Suisse International                   NGF         Nomura Global Financial Products, Inc.
BCY         Barclays Capital, Inc.                     FICC        Fixed Income Clearing Corporation             NOM         Nomura Securities International Inc.
BOA         Bank of America N.A.                       FOB         Credit Suisse Securities (USA) LLC            NXN         Natixis New York
BOM         Bank of Montreal                           GLM         Goldman Sachs Bank USA                        RBC         Royal Bank of Canada
BPG         BNP Paribas Securities Corp.               GSC         Goldman Sachs & Co. LLC                       RYL         NatWest Markets Plc
BPS         BNP Paribas S.A.                           GST         Goldman Sachs International                   SAL         Citigroup Global Markets, Inc.
BRC         Barclays Bank PLC                          HUS         HSBC Bank USA N.A.                            SBI         Citigroup Global Markets Ltd.
BSH         Banco Santander S.A. - New York Branch     IND         Crédit Agricole Corporate and Investment      SCX         Standard Chartered Bank, London
                                                                      Bank S.A.
BSN         The Bank of Nova Scotia - Toronto          JML         JP Morgan Securities Plc                      SOG         Societe Generale Paris
CBK         Citibank N.A.                              JPM         JP Morgan Chase Bank N.A.                     SSB         State Street Bank and Trust Co.
DBL         Deutsche Bank AG London                    JPS         J.P. Morgan Securities LLC                    TDM         TD Securities (USA) LLC
DEU         Deutsche Bank Securities, Inc.             MEI         Merrill Lynch International                   TOR         The Toronto-Dominion Bank
DUB         Deutsche Bank AG                           MYC         Morgan Stanley Capital Services LLC           UAG         UBS AG Stamford
FAR         Wells Fargo Bank National Association      MYI         Morgan Stanley & Co. International PLC        UBS         UBS Securities LLC
Currency Abbreviations:
ARS         Argentine Peso                             DOP         Dominican Peso                                NOK        Norwegian Krone
AUD         Australian Dollar                          EUR         Euro                                          PEN        Peruvian New Sol
BRL         Brazilian Real                             GBP         British Pound                                 PLN        Polish Zloty
CAD         Canadian Dollar                            HKD         Hong Kong Dollar                              RUB        Russian Ruble
CLP         Chilean Peso                               HUF         Hungarian Forint                              SEK        Swedish Krona
CNH         Chinese Renminbi (Offshore)                IDR         Indonesian Rupiah                             TRY        Turkish New Lira
CNY         Chinese Renminbi (Mainland)                INR         Indian Rupee                                  USD (or $) United States Dollar
COP         Colombian Peso                             JPY         Japanese Yen                                  ZAR        South African Rand
DKK         Danish Krone                               MXN         Mexican Peso
Exchange Abbreviations:
CME         Chicago Mercantile Exchange                OTC         Over the Counter
Index/Spread Abbreviations:
BADLARPP Argentina Badlar Floating Rate Notes          CMBX        Commercial Mortgage-Backed Index              RUONIA      Ruble Overnight Index Average
BBSW3M 3 Month Bank Bill Swap Rate                     CNREPOFIX   China Fixing Repo Rates 7-Day                 SONIO       Sterling Overnight Interbank Average Rate
CDX.EM   Credit Derivatives Index - Emerging Markets   EUR003M     3 Month EUR Swap Rate                         UKRPI       United Kingdom Retail Prices Index
CDX.HY   Credit Derivatives Index - High Yield         H15T1Y      1 Year US Treasury Yield Curve Constant       US0003M     ICE 3-Month USD LIBOR
                                                                      Maturity Rate
CDX.IG   Credit Derivatives Index - Investment Grade   LIBOR03M    3 Month USD-LIBOR                             US0006M ICE 6-Month USD LIBOR
CDX.MCDX Credit Derivatives Index - Municipal Bond     PRIME       Daily US Prime Rate
           Credit Derivative Index
Other Abbreviations:
ABS         Asset-Backed Security                      CDO         Collateralized Debt Obligation                OIS         Overnight Index Swap
ALT         Alternate Loan Trust                       CLO         Collateralized Loan Obligation                PIK         Payment-in-Kind
BABs        Build America Bonds                        CMBS        Collateralized Mortgage-Backed Security       REMIC       Real Estate Mortgage Investment Conduit
BBR         Bank Bill Rate                             DAC         Designated Activity Company                   RMBS        Residential Mortgage-Backed Security
BBSW        Bank Bill Swap Reference Rate              EURIBOR     Euro Interbank Offered Rate                   TBA         To-Be-Announced
BTP         Buoni del Tesoro Poliennali “Long-term     JIBAR       Johannesburg Interbank Agreed Rate            TBD         To-Be-Determined
               Treasury Bond”
CBO         Collateralized Bond Obligation             LIBOR       London Interbank Offered Rate                 TBD%        Interest rate to be determined when loan
                                                                                                                                settles or at the time of funding
CDI         Brazil Interbank Deposit Rate              Lunar       Monthly payment based on 28-day               TIIE        Tasa de Interés Interbancaria de Equilibrio
                                                                     periods. One year consists of 13 periods.                  “Equilibrium Interbank Interest Rate”




                                                                                                                           ANNUAL REPORT | MARCH 31, 2021 181
Federal Income Tax Information                                                                                                                 (Unaudited)



As required by the Internal Revenue Code (“Code”) and Treasury Regulations, if applicable, shareholders must be notified within 60 days of the
Funds’ fiscal year end regarding the status of qualified dividend income and the dividend received deduction.

Dividend Received Deduction. Corporate shareholders are generally entitled to take the dividend received deduction on the portion of a Funds’
dividend distribution that qualifies under tax law. The percentage of the following Funds’ Fiscal 2021 ordinary income dividend that qualifies for the
corporate dividend received deduction is set forth below:

Qualified Dividend Income. Under the Jobs and Growth Tax Relief Reconciliation Act of 2003, the following percentage of ordinary dividends paid
during the fiscal year ended March 31, 2021 was designated as ‘qualified dividend income’ as defined in the Jobs and Growth Tax Relief
Reconciliation Act of 2003 subject to reduced tax rates in 2021:

Qualified Interest Income and Qualified Short-Term Capital Gain (for non-U.S. resident shareholders only). Under the American Jobs Creation
Act of 2004, the following amounts of ordinary dividends paid during the fiscal year ended March 31, 2021 are considered to be derived from
“qualified interest income,” as defined in Section 871(k)(1)(E) of the Code, and therefore are designated as interest-related dividends, as defined in
Section 871(k)(1)(C) of the Code. Further, the following amounts of ordinary dividends paid during the fiscal year ended March 31, 2021 are
considered to be derived from “qualified short-term capital gain,” as defined in

Section 871(k)(2)(D) of the Code, and therefore are designated as qualified short-term gain dividends, as defined by Section 871(k)(2)(C) of
the Code.
                                                             Dividend           Qualified        Qualified    Qualified
                                                             Received           Dividend         Interest    Short-Term
                                                             Deduction           Income           Income     Capital Gain
                                                                %                   %             (000s†)      (000s†)
PIMCO Credit Opportunities Bond Fund                              0%                    0%   $      11,536      $   0
PIMCO Diversified Income Fund                                     0%                    0%         122,335          0
PIMCO ESG Income Fund                                             0%                    0%               0          0
PIMCO High Yield Spectrum Fund                                    0%                    0%          18,960          0
PIMCO Long-Term Credit Bond Fund                                  0%                    0%         191,241          0
PIMCO Low Duration Credit Fund                                    0%                    0%          15,555          0
PIMCO Low Duration Income Fund                                    0%                    0%         152,870          0
PIMCO Preferred and Capital Securities Fund                   40.53%                92.94%          66,842          0

†   A zero balance may reflect actual amounts rounding to less than one thousand.

Shareholders are advised to consult their own tax advisor with respect to the tax consequences of their investment in the Trust. In January 2022,
you will be advised on IRS Form 1099-DIV as to the federal tax status of the dividends and distributions received by you in calendar year 2021.

Section 163(j) Interest Dividends. The funds intend to pass through the maximum amount allowable as Section 163(j) Interest Dividends as
defined in Proposed Treasury Section 1.163(j)-1(b). The 163(j) percentage of ordinary income distributions are as follows:
                                                             163 (j) Interest
                                                              Dividends %
PIMCO Credit Opportunities Bond Fund                               0%
PIMCO Diversified Income Fund                                      0%
PIMCO ESG Income Fund                                              0%
PIMCO High Yield Spectrum Fund                                     0%
PIMCO Long-Term Credit Bond Fund                                   0%
PIMCO Low Duration Credit Fund                                     0%
PIMCO Low Duration Income Fund                                     0%
PIMCO Preferred and Capital Securities Fund                        0%




182 PIMCO CREDIT BOND FUNDS
Distribution Information                                                                                                                       (Unaudited)



For purposes of Section 19 of the Investment Company Act of 1940 (the “Act”), the Funds estimated the periodic sources of any dividends paid
during the period covered by this report in accordance with good accounting practice. Pursuant to Rule 19a-1(e) under the Act, the table below sets
forth the actual source information for dividends paid during the fiscal period ended March 31, 2021 calculated as of each distribution period
pursuant to Section 19 of the Act. The information below is not provided for U.S. federal income tax reporting purposes. The tax character of all
dividends and distributions is reported on Form 1099-DIV (for shareholders who receive U.S. federal tax reporting) at the end of each calendar year.

See the Financial Highlights section of this report for the tax characterization of distributions determined in accordance with federal income tax
regulations for the fiscal year.

PIMCO Low Duration Income Fund
                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
Institutional Class                                  Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0245             $0.0000             $0.0000               $0.0245
November 2020                                        $0.0245             $0.0000             $0.0000               $0.0245
December 2020                                        $0.0245             $0.0000             $0.0000               $0.0245
January 2021                                         $0.0200             $0.0000             $0.0000               $0.0200
February 2021                                        $0.0200             $0.0000             $0.0000               $0.0200
March 2021                                           $0.0200             $0.0000             $0.0000               $0.0200

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
I-2 Class                                            Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0238             $0.0000             $0.0000               $0.0238
November 2020                                        $0.0238             $0.0000             $0.0000               $0.0238
December 2020                                        $0.0238             $0.0000             $0.0000               $0.0238
January 2021                                         $0.0193             $0.0000             $0.0000               $0.0193
February 2021                                        $0.0193             $0.0000             $0.0000               $0.0193
March 2021                                           $0.0193             $0.0000             $0.0000               $0.0193

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
I-3 Class                                            Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0235             $0.0000             $0.0000               $0.0235
November 2020                                        $0.0234             $0.0000             $0.0000               $0.0234
December 2020                                        $0.0234             $0.0000             $0.0000               $0.0234
January 2021                                         $0.0189             $0.0000             $0.0000               $0.0189
February 2021                                        $0.0189             $0.0000             $0.0000               $0.0189
March 2021                                           $0.0189             $0.0000             $0.0000               $0.0189

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
Class A                                              Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0217             $0.0000             $0.0000               $0.0217
November 2020                                        $0.0217             $0.0000             $0.0000               $0.0217
December 2020                                        $0.0216             $0.0000             $0.0000               $0.0216
January 2021                                         $0.0171             $0.0000             $0.0000               $0.0171
February 2021                                        $0.0171             $0.0000             $0.0000               $0.0171
March 2021                                           $0.0171             $0.0000             $0.0000               $0.0171




                                                                                                              ANNUAL REPORT | MARCH 31, 2021 183
Distribution Information (Cont.)                                                                                                                                             (Unaudited)


                                                                                                            Paid-in Surplus or
                                                            Net Investment            Net Realized            Other Capital              Total (per
Class C                                                        Income*               Capital Gains*             Sources**              common share)
October 2020                                                    $0.0196                 $0.0000                  $0.0000                   $0.0196
November 2020                                                   $0.0196                 $0.0000                  $0.0000                   $0.0196
December 2020                                                   $0.0195                 $0.0000                  $0.0000                   $0.0195
January 2021                                                    $0.0149                 $0.0000                  $0.0000                   $0.0149
February 2021                                                   $0.0149                 $0.0000                  $0.0000                   $0.0149
March 2021                                                      $0.0149                 $0.0000                  $0.0000                   $0.0149

                                                                                                            Paid-in Surplus or
                                                            Net Investment            Net Realized            Other Capital              Total (per
Class C-2                                                      Income*               Capital Gains*             Sources**              common share)
October 2020                                                    $0.0062                 $0.0000                  $0.0000                   $0.0062
November 2020                                                   $0.0182                 $0.0000                  $0.0000                   $0.0182
December 2020                                                   $0.0181                 $0.0000                  $0.0000                   $0.0181
January 2021                                                    $0.0135                 $0.0000                  $0.0000                   $0.0135
February 2021                                                   $0.0135                 $0.0000                  $0.0000                   $0.0135
March 2021                                                      $0.0135                 $0.0000                  $0.0000                   $0.0135

*  The source of dividends provided in the table differs, in some respects, from information presented in this report prepared in accordance with generally accepted accounting
   principles, or U.S. GAAP. For example, net earnings from certain interest rate swap contracts are included as a source of net investment income for purposes of Section 19(a).
   Accordingly, the information in the table may differ from information in the accompanying financial statements that are presented on the basis of U.S. GAAP and may differ from tax
   information presented in the footnotes. Amounts shown may include accumulated, as well as fiscal period net income and net profits.
** Occurs when a fund distributes an amount greater than its accumulated net income and net profits. Amounts are not reflective of a fund’s net income, yield, earnings or
   investment performance.




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Management of the Trust                                                                                                                                                       (Unaudited)



The charts below identify the Trustees and executive officers of the Trust. Unless otherwise indicated, the address of all persons below is 650
Newport Center Drive, Newport Beach, CA 92660.

The Funds’ Statement of Additional Information includes more information about the Trustees and Officers. To request a free copy, call PIMCO at
(888) 87-PIMCO or visit the Funds’ website at www.pimco.com.
                                      Term of
                                      Office and                                                       Number of Funds
Name, Year of Birth and               Length of                                                        in Fund Complex         Other Public Company and Investment Company
Position Held with Trust*             Time Served†    Principal Occupation(s) During Past 5 Years      Overseen by Trustee     Directorships Held by Trustee During the Past 5 Years

Interested Trustees1
Peter G. Strelow (1970)               05/2017 to      Managing Director and Co-Chief Operating         149                     Chairman and Trustee, PIMCO Variable Insurance Trust,
Chairman of the Board and Trustee     present         Officer, PIMCO. Senior Vice President of the                             PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity
                                                      Trust, PIMCO Variable Insurance Trust,                                   Series VIT.
                                      Chairman
                                                      PIMCO ETF Trust, PIMCO Equity Series,
                                      02/2019 to
                                                      PIMCO Equity Series VIT, PIMCO Managed
                                      present
                                                      Accounts Trust, PIMCO-Sponsored Interval
                                                      Funds and PIMCO-Sponsored Closed-End
                                                      Funds. Formerly, Chief Administrative
                                                      Officer, PIMCO.
Kimberley G. Stafford (1978)          02/2021 to      Managing Director and Global Head of             149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Product Strategy, PIMCO; and Member of                                   Trust, PIMCO Equity Series, PIMCO Equity Series VIT.
                                                      Executive Committee. Formerly, Head of Asia-
                                                      Pacific, Global Head of Consultant Relations
                                                      and Head of US Institutional and Alternatives
                                                      Sales, PIMCO.

Independent Trustees
George E. Borst (1948)                04/2015 to      Executive Advisor, McKinsey & Company;           149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Formerly, Executive Advisor, Toyota Financial                            Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Services; and CEO, Toyota Financial Services.                            Director, MarineMax Inc.
Jennifer Holden Dunbar (1963)         04/2015 to      Managing Director, Dunbar Partners, LLC          149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         (business consulting and investments).                                   Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Formerly, Partner, Leonard Green &                                       Director, PS Business Parks; Director, Big 5 Sporting
                                                      Partners, L.P.                                                           Goods Corporation.
Kym M. Hubbard (1957)                 02/2017 to      Formerly, Global Head of Investments, Chief      149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Investment Officer and Treasurer,                                        Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Ernst & Young.                                                           Director, State Auto Financial Corporation.
Gary F. Kennedy (1955)                04/2015 to      Formerly, Senior Vice President, General         149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Counsel and Chief Compliance Officer,                                    Trust, PIMCO Equity Series and PIMCO Equity Series VIT.
                                                      American Airlines and AMR Corporation (now
                                                      American Airlines Group).
Peter B. McCarthy (1950)              04/2015 to      Formerly, Assistant Secretary and Chief          149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Financial Officer, United States Department of                           Trust, PIMCO Equity Series and PIMCO Equity Series VIT.
                                                      Treasury; Deputy Managing Director, Institute
                                                      of International Finance.
Ronald C. Parker (1951)               07/2009 to      Director of Roseburg Forest Products             149                     Lead Independent Trustee, PIMCO Variable Insurance
Lead Independent Trustee              present         Company. Formerly, Chairman of the Board,                                Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO
                                                      The Ford Family Foundation; and President,                               Equity Series VIT.
                                      Lead            Chief Executive Officer, Hampton Affiliates
                                      Independent     (forestry products).
                                      Trustee -
                                      02/2017 to
                                      present

* Unless otherwise noted, the information for the individuals listed is as of March 31, 2021.
1 Ms. Stafford and Mr. Strelow are “interested persons” of the Trust (as that term is defined in the 1940 Act) because of their affiliations with PIMCO.
† Trustees serve until their successors are duly elected and qualified.




                                                                                                                                        ANNUAL REPORT | MARCH 31, 2021 185
Management of the Trust (Cont.)                                                                                                                                        (Unaudited)


Executive Officers
Name, Year of Birth and                  Term of Office and
Position Held with Trust*                Length of Time Served                  Principal Occupation(s) During Past 5 Years†

Eric D. Johnson (1970)                   06/2019 to present                     Executive Vice President and Head of Funds Business Group Americas, PIMCO. President, PIMCO
President                                                                       Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO
                                                                                Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
David C. Flattum (1964)                  05/2019 to present                     Managing Director and General Counsel, PIMCO. Chief Legal Officer, PIMCO Variable Insurance
Chief Legal Officer                                                             Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Formerly, Managing
                                                                                Director, Chief Operating Officer and General Counsel, Allianz Asset Management of America L.P.
Keisha Audain-Pressley (1975)            01/2020 to present                     Executive Vice President and Deputy Chief Compliance Officer, PIMCO. Chief Compliance Officer,
Chief Compliance Officer                                                        PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT,
                                                                                PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored
                                                                                Closed-End Funds.
Joshua D. Ratner (1976)**                05/2019 to present                     Executive Vice President and Head of Americas Operations, PIMCO. Senior Vice President, PIMCO
Senior Vice President                                                           Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT,
                                                                                PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored
                                                                                Closed-End Funds.
Peter G. Strelow (1970)                  06/2019 to present                     Managing Director and Co-Chief Operating Officer, PIMCO. Senior Vice President, PIMCO Variable
Senior Vice President                                                           Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed
                                                                                Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
                                                                                Formerly, Chief Administrative Officer, PIMCO.
Ryan G. Leshaw (1980)                    11/2018 to present                     Executive Vice President and Senior Counsel, PIMCO. Vice President, Senior Counsel and Secretary,
Vice President - Senior Counsel,                                                PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series
Secretary                                                                       VIT. Chief Legal Officer, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and
                                                                                PIMCO-Sponsored Closed-End Funds. Formerly, Associate, Willkie Farr & Gallagher LLP.
Wu-Kwan Kit (1981)                       08/2017 to present                     Senior Vice President and Senior Counsel, PIMCO. Assistant Secretary, PIMCO Variable Insurance
Assistant Secretary                                                             Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Vice President, Senior
                                                                                Counsel and Secretary, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and
                                                                                PIMCO-Sponsored Closed-End Funds. Formerly, Assistant General Counsel, VanEck Associates Corp.
Jeffrey A. Byer (1976)                   02/2020 to present                     Executive Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Elizabeth A. Duggan (1964)               02/2021 to present                     Executive Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series and PIMCO Equity Series VIT.
Brian J. Pittluck (1977)                 01/2020 to present                     Senior Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Bijal Y. Parikh (1978)                   01/2021 to present                     Senior Vice President, PIMCO. Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO
Treasurer                                                                       Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval
                                                                                Funds and PIMCO-Sponsored Closed-End Funds.
Erik C. Brown (1967)***                  02/2001 to present                     Executive Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
Brandon T. Evans (1982)                  05/2019 to present                     Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Assistant Treasurer                                                             PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Colleen D. Miller (1980)**               02/2017 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Deputy Treasurer, PIMCO Managed
                                                                                Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
Jason J. Nagler (1982)***                05/2015 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
H. Jessica Zhang (1973)**                01/2020 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.

*   Unless otherwise noted, the information for the individuals listed is as of March 31, 2021.
†   The term “PIMCO-Sponsored Closed-End Funds” as used herein includes: PIMCO California Municipal Income Fund, PIMCO California Municipal Income Fund II, PIMCO California
    Municipal Income Fund III, PIMCO Municipal Income Fund, PIMCO Municipal Income Fund II, PIMCO Municipal Income Fund III, PIMCO New York Municipal Income Fund, PIMCO
    New York Municipal Income Fund II, PIMCO New York Municipal Income Fund III, PCM Fund Inc., PIMCO Corporate & Income Opportunity Fund, PIMCO Corporate & Income
    Strategy Fund, PIMCO Dynamic Credit and Mortgage Income Fund, PIMCO Dynamic Income Fund, PIMCO Dynamic Income Opportunities Fund, PIMCO Energy and Tactical Credit
    Opportunities Fund, PIMCO Global StocksPLUS® & Income Fund, PIMCO High Income Fund, PIMCO Income Opportunity Fund, PIMCO Income Strategy Fund, PIMCO Income
    Strategy Fund II and PIMCO Strategic Income Fund, Inc.; the term “PIMCO-Sponsored Interval Funds” as used herein includes: PIMCO Flexible Credit Income Fund and PIMCO
    Flexible Municipal Income Fund.
** The address of these officers is Pacific Investment Management Company LLC, 1633 Broadway, New York, New York 10019.
*** The address of these officers is Pacific Investment Management Company LLC, 401 Congress Ave., Austin, Texas 78701.

186 PIMCO CREDIT BOND FUNDS
Privacy Policy1                                                                                                                                                 (Unaudited)



The Funds2,3 consider customer privacy to be a fundamental aspect of        disclose information about a shareholder or a shareholder’s accounts
their relationships with shareholders and are committed to                  to a non-affiliated third party at the shareholder’s request or with the
maintaining the confidentiality, integrity and security of their current,   consent of the shareholder.
prospective and former shareholders’ non-public personal information.
                                                                            SHARING INFORMATION WITH AFFILIATES
The Funds have developed policies that are designed to protect this
confidentiality, while allowing shareholder needs to be served.             The Funds may share shareholder information with their affiliates in
                                                                            connection with servicing shareholders’ accounts, and subject to
OBTAINING NON-PUBLIC PERSONAL INFORMATION                                   applicable law may provide shareholders with information about
In the course of providing shareholders with products and services, the     products and services that the Funds or their Advisers, distributors or
Funds and certain service providers to the Funds, such as the Funds’        their affiliates (“Service Affiliates”) believe may be of interest to such
investment advisers or sub-advisers (“Advisers”), may obtain                shareholders. The information that the Funds may share may include,
non-public personal information about shareholders, which may come          for example, a shareholder’s participation in the Funds or in other
from sources such as account applications and other forms, from other       investment programs sponsored by a Service Affiliate, a shareholder’s
written, electronic or verbal correspondence, from shareholder              ownership of certain types of accounts (such as IRAs), information
transactions, from a shareholder’s brokerage or financial advisory firm,    about the Funds’ experiences or transactions with a shareholder,
financial professional or consultant, and/or from information captured      information captured on applicable websites, or other data about a
on applicable websites.                                                     shareholder’s accounts, subject to applicable law. The Funds’ Service
                                                                            Affiliates, in turn, are not permitted to share shareholder information
RESPECTING YOUR PRIVACY                                                     with non-affiliated entities, except as required or permitted by law.
As a matter of policy, the Funds do not disclose any non-public
personal information provided by shareholders or gathered by the            PROCEDURES TO SAFEGUARD PRIVATE INFORMATION
Funds to non-affiliated third parties, except as required or permitted      The Funds take seriously the obligation to safeguard shareholder
by law or as necessary for such third parties to perform their              non-public personal information. In addition to this policy, the Funds
agreements with respect to the Funds. As is common in the industry,         have implemented procedures that are designed to restrict access to a
non-affiliated companies may from time to time be used to provide           shareholder’s non-public personal information to internal personnel
certain services, such as preparing and mailing prospectuses, reports,      who need to know that information to perform their jobs, such as
account statements and other information, conducting research on            servicing shareholder accounts or notifying shareholders of new
shareholder satisfaction and gathering shareholder proxies. The Funds       products or services. Physical, electronic and procedural safeguards are
or their affiliates may also retain non-affiliated companies to market      in place to guard a shareholder’s non-public personal information.
Fund shares or products which use Fund shares and enter into joint
                                                                            INFORMATION COLLECTED FROM WEBSITES
marketing arrangements with them and other companies. These
companies may have access to a shareholder’s personal and account           The Funds or their service providers and partners may collect
information, but are permitted to use this information solely to provide    information from shareholders via websites they maintain. The
the specific service or as otherwise permitted by law. In most cases,       information collected via websites maintained by the Funds or their
the shareholders will be clients of a third party, but the Funds may        service providers includes client non-public personal information.
also provide a shareholder’s personal and account information to the
                                                                            CHANGES TO THE PRIVACY POLICY
shareholder’s respective brokerage or financial advisory firm and/or
financial professional or consultant.                                       From time to time, the Funds may update or revise this privacy policy.
                                                                            If there are changes to the terms of this privacy policy, documents
SHARING INFORMATION WITH THIRD PARTIES                                      containing the revised policy on the relevant website will be updated.
The Funds reserve the right to disclose or report personal or account       1 Amended as of June 25, 2020.

information to non-affiliated third parties in limited circumstances        2 PIMCO Investments LLC (“PI”) serves as the Funds’ distributor and does not provide

                                                                            brokerage services or any financial advice to investors in the Funds solely because it
where the Funds believe in good faith that disclosure is required under     distributes the Funds. This Privacy Policy applies to the activities of PI to the extent that
law, to cooperate with regulators or law enforcement authorities, to        PI regularly effects or engages in transactions with or for a shareholder of a series of a
                                                                            Trust who is the record owner of such shares. For purposes of this Privacy Policy,
protect their rights or property, or upon reasonable request by any         references to “the Funds” shall include PI when acting in this capacity.
Fund in which a shareholder has invested. In addition, the Funds may        3 When distributing this Policy, a Fund may combine the distribution with any similar

                                                                            distribution of its investment adviser’s privacy policy. The distributed, combined, policy
                                                                            may be written in the first person (i.e. by using “we” instead of “the Funds”).



                                                                                                                     ANNUAL REPORT | MARCH 31, 2021 187
Liquidity Risk Management Program                                                                                                        (Unaudited)



In compliance with Rule 22e-4 (the “Liquidity Rule”) under the              At a meeting of the Board held on February 9-10, 2021, the Board
Investment Company Act of 1940, as amended (“1940 Act”), PIMCO              received a report (the “Report”) from the Administrator addressing the
Funds (the “Trust”) has adopted and implemented a liquidity risk            Program’s operation and assessing the adequacy and effectiveness of
management program (the “Program”) for each series of the Trust             its implementation for the period from December 1, 2019 through
(each a “Fund” and collectively, the “Funds”) not regulated as a            December 31, 2020. The Report reviewed the operation of the
money market fund under 1940 Act Rule 2a-7, which is reasonably             Program’s components during such period, noted the March-April
designed to assess and manage the Funds’ liquidity risk. The Trust’s        2020 market conditions and associated monitoring by the
Board of Trustees (the “Board”) previously approved the designation         Administrator, and stated that the Program is operating effectively to
of the PIMCO Liquidity Risk Committee (the “Administrator”) as              assess and manage each Fund’s liquidity risk and that the Program has
Program administrator. The PIMCO Liquidity Risk Committee consists          been and continues to be adequately and effectively implemented to
of senior members from certain PIMCO business areas, such as                monitor and, as applicable, respond to the Funds’ liquidity
Portfolio Risk Management, Americas Operations, Compliance,                 developments. This has remained true for the 12-month reporting
Account Management and Portfolio Management, and is advised by              period ended March 31, 2021.
members of PIMCO Legal.

A Fund’s “liquidity risk” is the risk that the Fund could not meet
requests to redeem shares issued by the Fund without significant
dilution of the remaining investors’ interests in the Fund. In
accordance with the Program, each Fund’s liquidity risk is assessed no
less frequently than annually taking into consideration a variety of
factors, including, as applicable, the Fund’s investment strategy and
liquidity of portfolio investments, cash flow projections, and holdings
of cash and cash equivalents, as well as borrowing arrangements and
other funding sources. Certain factors are considered under both
normal and reasonably foreseeable stressed conditions. Each Fund
portfolio investment is classified into one of four liquidity categories
(including “highly liquid investments” and “illiquid investments,”
discussed below) based on a determination of the number of days it is
reasonably expected to take to convert the investment to cash, or sell
or dispose of the investment, in current market conditions without
significantly changing the investment’s market value. Each Fund has
adopted a “Highly Liquid Investment Minimum” (or “HLIM”), which is
a minimum amount of Fund net assets to be invested in highly liquid
investments that are assets. As required under the Liquidity Rule, each
Fund’s HLIM is periodically reviewed, no less frequently than annually,
and the Funds have adopted policies and procedures for responding to
a shortfall of a Fund’s highly liquid investments below its HLIM. The
Liquidity Rule also limits the Funds’ investments in illiquid investments
by prohibiting a Fund from acquiring any illiquid investment if,
immediately after the acquisition, the Fund would have invested more
than 15% of its net assets in illiquid investments that are assets.
Certain non-public reporting is generally required if a Fund’s holdings
of illiquid investments that are assets were to exceed 15% of Fund
net assets.




188 PIMCO CREDIT BOND FUNDS
General Information

Investment Adviser and Administrator
Pacific Investment Management Company LLC
650 Newport Center Drive
Newport Beach, CA 92660

Distributor
PIMCO Investments LLC
1633 Broadway
New York, NY 10019

Custodian
State Street Bank and Trust Company
801 Pennsylvania Avenue
Kansas City, MO 64105

Transfer Agent
DST Asset Manager Solutions, Inc.
Institutional Class, I-2, I-3, Administrative Class
430 W 7th Street STE 219024
Kansas City, MO 64105-1407

DST Asset Manager Solutions, Inc.
Class A, Class C, Class C-2, Class R
430 W 7th Street STE 219294
Kansas City, MO 64105-1407

Legal Counsel
Dechert LLP
1900 K Street, N.W.
Washington, D.C. 20006

Independent Registered Public Accounting Firm
PricewaterhouseCoopers LLP
1100 Walnut Street, Suite 1300
Kansas City, MO 64106


This report is submitted for the general information of the shareholders of the Funds listed on the Report cover.
PF3003AR_033121
EXHIBIT 21
EXHIBIT 22
The Wayback Machine - https://web.archive.org/web/20220102045947/https://www.crewfunds.com/
                                                                                                                                                             Client login




         Do you want to
         eliminate
         market turbulence?
            Learn how




    FUND OVERVIEW



    Bank loans, which offer a Ioating rate of income, may provide a hedge against rising rates. This actively managed portfolio of senior secured Ioating rate loans
    is designed to provide attractive risk-adjusted return potential, with a higher quality orientation. The “spread” or difference between the senior secured Ioating
    loan rates and the declared minimum rate on the account is used to purchase options on the S&P; 500 Index. When returns of the S&P; 500 Index are higher than
    the declared minimum rate on the account, these options are exercised and gains (up to the declared maximum or “cap”) are distributed.




    OUR EXPERTISE



    Crew Capital Group uses PIMCO has the active subadvisor on our Index Account. PIMCO has been a pioneer in Zxed income investing for four decades. Their
    time-tested investment process combines our informed, top-down global economic outlook with rigorous bottom-up credit research and risk management,
    allowing the fund’s investment professionals to focus on what they do best: seeking attractive risk-adjusted returns for investors.
EXHIBIT 23
SEC-OBJECTIVE-E-0001482




 Sent:      Fri 1/7/2011 3:54:09 PM
 Subject:   Re: Capital Coop Updates
 From:      Steve Swensen                  com>
 To:        Bart Hubbard <bart@a

 Thanks Bart!

 On Fri, Jan 7, 2011 at 11:53 AM, Bart Hubbard <bart@agencyfusion.com> wrote:

   Hi Steve! Max put in some extra time last night and was able to finish up the updates to the capital coop system this
   morning. Things have been pushed up to the live site, tested and are ready to go for you now. It ended up taking us just
   under 3.5 hours. We'll send over the invoice later accordingly.
   Let me know if you have any other questions. We're glad to help.

 Thanks!
 -Bart

                                                          Bart Hubbard

                                                 www.agencyfusion.com
                                                twitter.com/AgencyFusion




 --
 Stephen R. Swensen
 1785 East 1450 South, Suite 380, Clearfield, UT 84015
              mobile | 801.775.8022 fax
EXHIBIT 24
EXHIBIT 25
EXHIBIT 26
Real Property Search Criteria: Person Role-All, Address Type-All, 1473 monroe, kaysville, UT, Reference: , Date: 08/30/22 06:32
PM
Type of Transaction: REFINANCE
Mortgage Amount: $400,000.00
Mortgage Type: PRIVATE PARTY LENDER
Mortgage Deed Type: DEED OF TRUST

Mortgage Date: 07/21/2022



Lender Name: MADISON & ZACH TAYLOR

Lender Address:

 KAYSVILLE, UT

Title Company: ATTORNEY ONLY
Private Party Lender: YES


Source: Deed Detail


OWNER INFORMATION

Situs Address:


 KAYSVILLE, UT
 DAVIS



Mailing Address-1:


 KAYSVILLE, UT

Owner: TAYLOR, MADISON & ZACH
Owner Relationship: JOINT TENANTS




PROPERTY INFORMATION
FIPS Code: DAVIS
FIPS State Code: UTAH
APN: 001
Unformatted APN:
Formatted APN:
Original APN:
Property Type: VACANT
Land Use: VACANT LAND (NEC)


TRANSACTION INFORMATION
Transaction Date: 07/20/2022
Recording Date: 07/22/2022

Page 2 of 5
The data provided to you by CLEAR may not be used as a factor in establishing a consumer's eligibility for credit, insurance, employment,
or for any other purpose authorized under the FCRA.
Real Property Search Criteria: Person Role-All, Address Type-All, 1473 monroe, kaysville, UT, Reference: , Date: 08/30/22 06:32
PM
Subdivision Name:
Legal Description:                                                     SUBDIVISION, THE. CONT. 0.08000 ACRES.
Lot Number:



TAX ASSESSOR INFORMATION
Tax Year: 2021
Calculated Land Value: $187,949.00
Calculated Improvement Value: $177,932.00
Calculated Total Value: $365,881.00
Assessed Land Value: $103,372.00
Assessed Improvement Value: $97,863.00
Assessed Total Value: $201,235.00
Market Land Value: $187,949.00
Market Improvement Value: $177,932.00
Market Total Value: $365,881.00
Total Value Calculated Indicator: MARKET
Tax Amount: $1,124.59
Tax Code Area: 034



BUILDING/IMPROVEMENT CHARACTERISTICS
Lot Area: 3485



LAST FULL MARKET SALE INFORMATION
Sale Date: 07/20/2022
Seller Name: 317 KAYSVILLE OPS LLC
Deed Type: GRANT DEED
Type of Sale: RESALE
Recording Date: 07/22/2022
Recording Book: 8056
Recording Page: 184
Document Number:
Title Company: REAL ADVANTAGE TITLE



PREVIOUS TRANSFER INFORMATION
Number of Parcels: Y Y



HISTORICAL TAX ASSESSOR INFORMATION

Estimated Tax Year: 2020
Calculated Land Value: $97,115.00
Calculated Total Value: $97,115.00
Assessed Total Value: $97,115.00
Unformatted APN:
Formatted APN:

Page 4 of 5
The data provided to you by CLEAR may not be used as a factor in establishing a consumer's eligibility for credit, insurance, employment,
or for any other purpose authorized under the FCRA.
Real Property Search Criteria: Person Role-All, Address Type-All, 1473 monroe, kaysville, UT, Reference: , Date: 08/30/22 06:32
PM
Original APN: 118680015
Absentee Owner: ABSENTEE (MAIL AND SITUS NOT=)
Owner: 317 KAYSVILLE OPS LLC

Situs Address


 KAYSVILLE, UT



Mailing Address
 1148 W LEGACY CROSSING BLVD 317
 CENTERVILLE, UT 84014-5539




Page 5 of 5
The data provided to you by CLEAR may not be used as a factor in establishing a consumer's eligibility for credit, insurance, employment,
or for any other purpose authorized under the FCRA.
EXHIBIT 27
12/31/20, 12:56 PM To: +1 801-530-6438 From: +1 801-438-7120                                                                                                 Page 2/2
                                                                tH-                          '•‘■y ■* <»'
                                                                                                                   12/31/Z020
                       State of U tail                                                              Date:
                       Dcparftoetu of Cooowercc                                                     Receipt Numoer: 3683033
                       Bivisioit <tf Corooratioiis & Coinniertiai Code                              Amount Paid;   537.00          received
                       Aniendtnent to C.ertihcate ot Organization
       Non-Refuiidable Proeess.t)ig Fee: $,t7.00
                                                                                                                                     DEC 3 1 202B
       Ptirsiuait to {JCA § 4S-3a-202, the indiviclua! named below causes this Amendment to the                                                   Comm. Code
       Orgarh'/ation to i>e delivered to the Utah Division of Corporations for filing, and states as follows:
       Entity Number; ^909046-0160________
       The name of tire limited liability company is:                       Advisor, LlC

       'I'he Cettificate of Organization shall be amended as set forth herein (compiete ail that apply);
                 There is a change in the name of the limited liability company to:
                 Four Buckets, LLC

                 The Certificate of Organizatioti is amended as follows:




                Filing date of initial certi ficate January 9,2014

                Future effective date (if not to be effective upon filing)                                                tMMDX>- rrrr <£ not m excoaf 90 tlayrj

                Under petiaities of perjuty, I declare fiat this .Amendment of Certificate of Organization Itas been
                excUnined by me and is, to the be.st of my knowledge and belief^ true, correct and c<.m\y\citr~^~j~

                Name: Steven Swensen                                                                  Signed:^

                Title* ^Isnager                                                                       Dated;
      Uadcr OUA.Vt.V 1MC-2-20T ail registration inforiiiation maiBtained by tht nivisioti Ev classiticit as pubiic ricortJ. for cotvrideatiaiity purposes, yon
      juay use tile bosiocss entity pliysicai adtircss rather than the restdeutial or private address of nny individuat afniiatfsi svitb tilt entity.




                                                                      State of Utah



                                                                                                                              DEC 31’20 V -
                                                   ir this            Certificate thereof.


                                                                                       Date ±
                                                fcxaminer



     0!./!4                                                           Division Director
5/31/22,    3:18 PM To: +1 801-530-6438 From: +1 801-438-7120                                                                                                              Page 2/3
                                                                                                            Date:              05/31/202?
                State of Utah
                 Depart meat of Cuinmei ec
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                                                  of Organization                                                                                          ‘AY 3 J 2022
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   Piirsumii to UC?\ § 48'3;r"202, the individual named below causes Ibis Amciidmeni to the C'ertificatc of
   Organiztisimi to be delivered to (he Utah Division of Corporations ror filing, and states as follows:
   Untity Number:
    The name of the limited liability company is: Four fBucke'.! LLC
   Tlie Certificate of Organization shall be amended as set forth hemin fcom|)letc all that apply):
              ■fiiere is a change in the name of the limited liability company to:
              Swensen tlapital, Ll.C

              The Certificate of Organization is amended as follows:




              filini.'. date of initial certificate 01-09-2014

              Future eflcctlve dale (ifnot to be erfective upon filing)                                                                 Mt fID- yyy}' 4 nor            90 r/oj'ii

              Under pcrialtie:s of perjury, I dechire that this Amendmcnl of Certificate of Organization has been
                amined by me and is, to
              esnmined                  Io the best of my hnowiedge
                                                            knowledge and          true, correct and complete.';
                                                                      an<l belief, true

              Name: Jason C. Huntor                                                                                                      Signed:y
                        Authorized Agent                                                                  Dated: 5/31/2022
   Ilnfk r CKAMA JAt(.'-2-2111), :ill rc(‘kti'iiliiiii inrui iiialioii iinnnhiiiu'il bj' the nivisioii is cbissillfa as public rcrotfl. Fnr coiifidciifialily pitipo.ses, you
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                                                                          State of Utah
                                                                   Department of Commerce
                                                        Division of Corporations and Commercial Code
                                                      I hereby certified tha] '  '
                                                     and approved on thisi
                                                                                                      .jy issued
                                                                  In this office of this------------------------
                                                                      This Certificate thereof.



                                                     Examiner                                 Date




   Ot/14                                                                   Leigh VelNette
                                                                           Division Director
EXHIBIT 28
7/; 1, 22,       10:11 AM To:                    +1 801-530-6438 From: +1 801-438-7120                                                                                                                   Page 2/2
                                                                                                                                                Date:                 07/21/2022
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EXHIBIT 29
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12/31/20, 12:56 PM To: +1 801-530-6438 From                    +1 801-438-7120                                                                      Page 2/2

                    V Slate of Utah                                                             Date;          12/31/2020
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        Pursuant to UCA g 4S-3a-202, the ttKiividual named below causes this Amendtnent to the Certificate of
        Orgattiztitiort io be delivered to the Utah Division of Gorpotatiotis for filing, and states as follows:
        Entity Number;. 11893095-0160
        The name of the liniitcd liabi lity company is: Hatcbat, LLC
    Tfie Cet tificate of Organization shall be amended as set fortli herein {complete all that apply ):
                   There is a change in the name of the limited liability co.tnpany to:
                   Wingman, LLC

                   The Certificate of Organization is amended as follows:




              -Filing date of initial certificate August 11,2020

              .Future effect}v-^e date (if not to be effective upon filing)
              Under penalties of perjin-y, I declare that this .Amendment of Gerti:ficate of OrganizatiorritaslTSiSr
              examined by me and is, to the best of my Icnowiedge and belief, true, co.n'ect and coni^ilete. //\

             Natne; Steven Swensen                                                              Slgiied;                    r -
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             Title:                                                                             Dated:
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01,/M
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EXHIBIT 30
                            DECLARATION OF BRET THURMAN

       I, Bret Thurman, pursuant to 28 U.S.C. § 1746, declare as follows:

1.     I am over the age of 21 and am a resident of Clinton, Utah. I make this declaration based

upon my personal knowledge. If called to testify, I could and would competently testify to the

following facts:

2.     I retired in 2020. Before retiring, I worked at the Internal Revenue Service. I am married

to Debra Thurman.

3.     Debra and I met Stephen Swensen in 2012. My wife told me that her boss at work

referred her to Steve as an investment advisor. Steve came to our home in August or September

2012 and met with Debra and me. Steve recommended that we invest our money in Capital

Cooperative, which he said was an investment company that paid a guaranteed return of 4%

annually. I asked Steve what his fees would be. In response, Steve said that Capital Cooperative

actually paid a return of 7% annually, and that Steve kept 3% of that for his fees such that Debra

and I would not owe him any additional fees. Steve said that Capital Cooperative was a safe

investment.

4.     After Steve left, Debra and I discussed what he said and we decided that it would be a

good investment. We wanted to invest in something safe, and bank accounts paid far less

interest than the guaranteed 4% that Steve said we could earn with Capital Cooperative.

5.     After we decided to invest, Steve came to our house again and brought paperwork for

Debra to sign to move Debra’s 401K money into Capital Cooperative. We never got our own

copy of that paperwork. Our account with Capital Cooperative was opened on September 13,

2012, and we invested $75,000 at that time. Debra signed paperwork with Steve to transfer this

money from Debra’s IRA account at Ameriprise.



                                                1
6.     Because our investment in Capital Cooperative was doing well, we decided to invest

more money. On or around February 15, 2013, Debra and I invested an additional approximately

$76,141 in Capital Cooperative, and on or around December 17, 2013 Debra and I invested

another $131,510.76 in Capital Cooperative. Debra and I gave checks to Steve to invest in

Capital Cooperative. I cannot remember who the checks were made out to. One of the checks

we gave to Steve was from our account at JPMorgan, which Steve was reinvesting in Capital

Cooperative for us.

7.     We got periodic statements showing that our money was growing in Capital Cooperative.

An example of one of these statements is attached as Exhibit 1. This statement is dated June 30,

2014. It shows that our account with Capital Cooperative Group was earning 4.5%. Even

though it shows 4.5%, I remember Steve saying at our first meeting that this investment only

paid 4%. I do not remember noticing that difference at the time.

8.     Steve gave us access to a website, www.capitalcoop.com, where we could see our Capital

Cooperative account balance and transactions. Attached as Exhibit 2 is a true and correct copy

of an email from Steve to Debra and me on August 13, 2013 giving us access to this website. I

would periodically log in to check that our investment was growing as Steve said it would.

9.     We also received periodic account statement emails from Summit Brokerage Services

Inc. and also from a company called BlueLeaf. These emails gave links to websites where we

could see our account balance. An example of one of these emails from Summit Brokerage

Services Inc. is attached as Exhibit 3, and one of these emails from BlueLeaf is attached as

Exhibit 4.

10.    At some point, Capital Cooperative changed its name to Crew Capital Group. Our

periodic statements now said “Crew Capital Group” at the top. A true and correct copy of one of



                                                2
these is attached as Exhibit 5. The website changed to www.crewfunds.com. I got my login and

password from Steve for www.crewfunds.com. I would periodically log in to see my account

balance and earnings. A true and correct copy of a printout of what my account looked like on

www.crewfunds.com on July 7, 2022 is attached as Exhibit 6, and attached as Exhibit 7 is a

printout of the “transactions” page of my account as shown on www.crewfunds.com on July 7,

2022.

11.     Debra and I did not withdraw any money from the Crew Capital account. We just let it

earn interest and grow. At some point, Steve told us that we would have to set up an account at

the Bank of Utah when we wanted to start getting distributions from Crew Capital.

12.     Debra and I would meet annually with Steve to talk about our investment plan. Steve had

partners. At first Steve’s partner was Steve’s brother-in-law Jason Kimber. Later, Steve split off

from Jason Kimber and got a new partner named Jacob Cazier. Either Jason or Jacob would

always be present at our annual meetings with Steve. Our annual report documents would show

our investment in Capital Cooperative (later, Crew Capital). An example of the relevant pages

from our most recent annual report document, prepared by Jacob Cazier and dated March 31,

2022, is attached as Exhibit 8.

13.     Debra and I noticed small print disclosures on the website and on our statements saying

that the Crew Capital investment was not FDIC insured and may lose value. We asked Steve

about it. He told us not to worry about it and that it was taken care of through some other

insurance. He said that Crew Capital was one of the safest places to invest your money. Once, I

asked Steve, “What will happen if this starts to tank?” Steve said that he had his own money

invested in Crew Capital, and that if Crew Capital starts to lose a bunch of money, he would pull

his money out and our money too. He also said that our returns were guaranteed.



                                                3
14.    Our Crew Capital statements had a phone number on them. I sometimes called that

number when I got locked out of my account on the website by typing my password incorrectly.

The person who answered always took a message, and eventually either Jake or Steve would

either call or email me to reset my password for the website.

15.    I recall at one of our annual meetings I told Steve that I thought Debra and I should be

earning more than 4% on our Crew Capital investment since we had so much money invested

there. I believed that we were only getting 4%. Steve responded that he could increase our rate

of return to 4.5%. I believed at the time that Steve was going to reduce the amount of fees he

took in order to increase the return to Debra and me.

16.    In subsequent years after we invested in Crew Capital, Steve continued to urge us to

invest more money in Crew Capital but we never did. He was always after us to invest more.

He wanted me to pull money out of my other investments to put it into Crew Capital.

17.    I received Forms 1099 from Crew Capital for 2019 and 2020. These are attached as

Exhibit 9 and Exhibit 10. When I got the Forms 1099, I called Steve and said that I should not

have received Forms 1099 because Debra and I had not taken any distributions from Crew

Capital and all of our earnings were re-invested. Steve told me not to worry about it, that they

were sent out in error, and that he would take care of it.

18.    Debra and I had our annual meeting with Steve and Jacob Cazier on March 31, 2022 at

their office at Wealth Navigation in Centerville, Utah. This is the meeting at which Jake gave us




                                                  4
EXHIBIT 1
EXHIBIT 2
7/7/22, 3:32 PM                                                                                                     Capital Cooperative Fixed Account...

     From   wen en@ ummitcig com,
        To:              @aol.com,
                                                                                                                                                                                       EXHIBIT
   Subject Capital Cooperative Fixed Account
       Date: Tue, Aug 13, 2013 9:07 am
                                                                                                                                                                                                2
  Good morning Bret and Debbie,

  I wanted to drop you a quick note to let you know that your fixed account no longer provides a direct feed into your online access accounts at Summit
   As you recall, they used to update that value on a quarterly basis.

  In order to see that account value, you'll need to log directly into that account as follows:

  1. Go to www.capitalcoop.com
  2 In the top right corner, enter your username and password Your username is your email address and the password is Bret's SSN without any
  dashes. You can change your password after your initial login.

  If you wouldn't mind sending me a quick email to let me know that you received this email, I would really appreciate it. I'm looking forward to
  meeting with you both in the next few months for our 4th quarter review Let me know if you have any questions in the interim

  Regards,
  Steve



  Stephen R. Swensen
  Financial Advisor
  888.775.8021 toll free                 | 801.775.8022 fax |                       801.540.1440 mobile                    | sswensen@summitcig.com

  Summit Capital Investment Group, Inc.
  1725 East 1450 South, Suite 345, Clearfield, UT 84015                                         | www.summitcig.com


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  or forward any part of this message, as it may contain proprietary, confidential, or privileged information. Also, please let me know of the error by return e-mail. Summit Capital Investment Group, Inc. does not provide legal or tax advice.




https://mail.aol.com/webmail-std/en-us/PrintMessage                                                                                                                                                                                                  1/1
EXHIBIT 3
7/7/22, 3:32 PM                                                                               Brokerage Account Statement Notification

     From edelivery@myedocument uite com,                                                                                                EXHIBIT
        To:                   @AOL.COM,
   Subject Brokerage Account Statement Notification                                                                                        3
      Date: Mon, Jul 1, 2013 1:53 pm




         SUMMIT BROKERAGE SERVICES INC

                                                                                                                   07/01/2013

        Account ending in:

        Your tatement i now available Vi it www myedocument uite com to view, download or print your
        communications. Please have your user ID and password ready.



        If you would like to stop receiving e-mail notifications and resume receiving paper copies of your account
        communication , you may log in to your account and change your paperle delivery preference at any
        time. Please contact SUMMIT BROKERAGE SERVICES INC if you have any questions.




   Paperless account communications available through http://www.myedocumentsuite.com are provided on behalf of SUMMIT BROKERAGE
   SERVICES INC by Pershing LLC (member FINRA, NYSE, SIPC), a subsidiary of The Bank of New York Mellon Corporation

   Please add edelivery@myedocumentsuite.com to your address book to help ensure that you continue to receive e-mails from SUMMIT
   BROKERAGE SERVICES INC.

   This message is automatically generated. Please do not reply to this message.




https://mail.aol.com/webmail-std/en-us/PrintMessage                                                                                                1/1
EXHIBIT 4
EXHIBIT
  4
7/7/22, 3:27 PM                                                                    Thurman, Bret & Debra's Monthly Investment Summary


                                             Debra Thurman Tran am
                                             Life TRAD IRA - 0000012...                                                                        $700.10
                                             DST Advisor


                                         TOTAL                                                     $                                        $700 10




                                                      Sign in to My Money   • Help • About Blueleaf • Blueleaf Blog • Blueleaf on Twitter




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                                           Advisor Disclaimer:
                                           The Values represented within this report reflects are only valid for the period in which this report
                                           wa run Thi report i for informational purpo e only and i not an official account tatement
                                           We urge you to compare this data with the account statements you receive from the custodian of
                                           your account assets. Source documents may contain notices, disclosures and other information
                                           important and may also serve as a reference should questions arise regarding the accuracy of
                                           the information in the con olidated report For complete information on any of the fund in your
                                           portfolio, including management fees and expenses, please consult the prospectus you
                                           received. You should always read the prospectus carefully to obtain the most current and
                                           complete redemption fee policy information. Always consider the funds´ investment objectives,
                                           ri k factor and charge and e pen e before inve ting Pa t performance i not indicative of
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                                           respect to their specific situations. Allegis is separately owned from any other named entity.




https://mail.aol.com/webmail-std/en-us/PrintMessage                                                                                                      2/2
EXHIBIT 5
EXHIBIT
  5
EXHIBIT 6
7/7/22, 9:56 AM                                                             CrewCapital

                                                                                                                       Bret & Debra Thurman   Logout


                                                     Account Summary   Documents    Transaction History   Withdrawal                          Menu


   Current account: Thurman




       Account Summary

       Account Number                   0822
       Balance: $425,923.78
       Type: Fixed
       Opening Date 11/12/2013


       Declared Earnings Rate:
       4.50%


       Account Activity

        Transaction type                                                        Year to date                                    Since inception
                                                  Deposits                            $0.00                                        $282,651.76
                                               Withdrawals                            $0.00                                               $0.00
                                                  Earnings                        $9,706.67                                        $143,233.17




       History                                                                                                   Current Balance $425,923 78




https://www.crewfunds.com/accounts/23                                                                                                                  1/3
7/7/22, 9:56 AM                                                                                    CrewCapital

   Phone: (801) 410 1800


       Investments are not FDIC-insured, nor are they deposits of or guaranteed by a bank or any other entity, so they may lose value. Investors should carefully consider investment
    objectives, risks, charges and expenses. This and other important information is contained in the fund prospectus which can be obtained from a financial professional and should
                                                                            be read carefully before investing.




https://www.crewfunds.com/accounts/23                                                                                                                                                   3/3
EXHIBIT 7
7/7/22, 9:57 AM                                                                   CrewCapital
                                 EXHIBIT
                                                                                                                             Bret & Debra Thurman   Logout
                                        7
                                                           Account Summary   Documents    Transaction History   Withdrawal                          Menu


   Current account: Thurman




       Transaction History

       Transaction Type

        All

       Start Date

           MM-DD-YYYY

       End Date

           MM-DD-YYYY


           Search



       Transactions

        Transaction Type                                Transaction Date                                    Amount                    Ending Balance
                                Daily Earnings Credit                         July 6, 2022                   $52.50                     $425,923.78
                                Daily Earnings Credit                         July 5, 2022                   $52.50                     $425,871.27
                                Daily Earnings Credit                         July 4, 2022                   $52.49                     $425,818.77
                                Daily Earnings Credit                         July 3, 2022                   $52.49                     $425,766.28
                                Daily Earnings Credit                         July 2, 2022                   $52.48                     $425,713.80
https://www.crewfunds.com/accounts/23/transactions                                                                                                      1/104
7/7/22, 9:57 AM                                                                  CrewCapital

        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                        July 1, 2022       $52.47     $425,661.32
                                Daily Earnings Credit                      June 30, 2022        $52.47     $425,608.85
                                Daily Earnings Credit                      June 29, 2022        $52.46     $425,556.38
                                Daily Earnings Credit                      June 28, 2022        $52.45     $425,503.92
                                Daily Earnings Credit                      June 27, 2022        $52.45     $425,451.47
                                Daily Earnings Credit                      June 26, 2022        $52.44     $425,399.02
                                Daily Earnings Credit                      June 25, 2022        $52.43     $425,346.58
                                Daily Earnings Credit                      June 24, 2022        $52.43     $425,294.15
                                Daily Earnings Credit                      June 23, 2022        $52.42     $425,241.72
                                Daily Earnings Credit                      June 22, 2022        $52.41     $425,189.30
                                Daily Earnings Credit                      June 21, 2022        $52.41     $425,136.89
                                Daily Earnings Credit                      June 20, 2022        $52.40     $425,084.48
                                Daily Earnings Credit                      June 19, 2022        $52.39     $425,032.08
                                Daily Earnings Credit                      June 18, 2022        $52.39     $424,979.68
                                Daily Earnings Credit                      June 17, 2022        $52.38     $424,927.29
                                Daily Earnings Credit                      June 16, 2022        $52.38     $424,874.91
                                Daily Earnings Credit                      June 15, 2022        $52.37     $424,822.54
                                Daily Earnings Credit                      June 14, 2022        $52.36     $424,770.17
                                Daily Earnings Credit                      June 13, 2022        $52.36     $424,717.81
                                Daily Earnings Credit                      June 12, 2022        $52.35     $424,665.45
                                Daily Earnings Credit                      June 11, 2022        $52.34     $424,613.10
                                Daily Earnings Credit                      June 10, 2022        $52.34     $424,560.76
                                Daily Earnings Credit                       June 9, 2022        $52.33     $424,508.42
                                Daily Earnings Credit                       June 8, 2022        $52.32     $424,456.09
                                Daily Earnings Credit                       June 7, 2022        $52.32     $424,403.77
                                Daily Earnings Credit                       June 6, 2022        $52.31     $424,351.45
                                Daily Earnings Credit                       June 5, 2022        $52.30     $424,299.14
                                Daily Earnings Credit                       June 4, 2022        $52.30     $424,246.83
                                Daily Earnings Credit                       June 3, 2022        $52.29     $424,194.54
                                Daily Earnings Credit                       June 2, 2022        $52.29     $424,142.24
                                Daily Earnings Credit                       June 1, 2022        $52.28     $424,089.96
                                Daily Earnings Credit                       May 31, 2022        $52.27     $424,037.68
                                Daily Earnings Credit                       May 30, 2022        $52.27     $423,985.41
                                Daily Earnings Credit                       May 29, 2022        $52.26     $423,933.14
                                Daily Earnings Credit                       May 28, 2022        $52.25     $423,880.88

https://www.crewfunds.com/accounts/23/transactions                                                                        2/104
7/7/22, 9:57 AM                                                                  CrewCapital

        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                      May 27, 2022         $52.25     $423,828.63
                                Daily Earnings Credit                      May 26, 2022         $52.24     $423,776.38
                                Daily Earnings Credit                      May 25, 2022         $52.23     $423,724.14
                                Daily Earnings Credit                      May 24, 2022         $52.23     $423,671.91
                                Daily Earnings Credit                      May 23, 2022         $52.22     $423,619.68
                                Daily Earnings Credit                      May 22, 2022         $52.21     $423,567.46
                                Daily Earnings Credit                      May 21, 2022         $52.21     $423,515.25
                                Daily Earnings Credit                      May 20, 2022         $52.20     $423,463.04
                                Daily Earnings Credit                      May 19, 2022         $52.19     $423,410.84
                                Daily Earnings Credit                      May 18, 2022         $52.19     $423,358.64
                                Daily Earnings Credit                      May 17, 2022         $52.18     $423,306.46
                                Daily Earnings Credit                      May 16, 2022         $52.18     $423,254.27
                                Daily Earnings Credit                      May 15, 2022         $52.17     $423,202.10
                                Daily Earnings Credit                      May 14, 2022         $52.16     $423,149.93
                                Daily Earnings Credit                      May 13, 2022         $52.16     $423,097.77
                                Daily Earnings Credit                      May 12, 2022         $52.15     $423,045.61
                                Daily Earnings Credit                      May 11, 2022         $52.14     $422,993.46
                                Daily Earnings Credit                      May 10, 2022         $52.14     $422,941.32
                                Daily Earnings Credit                       May 9, 2022         $52.13     $422,889.18
                                Daily Earnings Credit                       May 8, 2022         $52.12     $422,837.05
                                Daily Earnings Credit                       May 7, 2022         $52.12     $422,784.92
                                Daily Earnings Credit                       May 6, 2022         $52.11     $422,732.81
                                Daily Earnings Credit                       May 5, 2022         $52.10     $422,680.70
                                Daily Earnings Credit                       May 4, 2022         $52.10     $422,628.59
                                Daily Earnings Credit                       May 3, 2022         $52.09     $422,576.49
                                Daily Earnings Credit                       May 2, 2022         $52.09     $422,524.40
                                Daily Earnings Credit                       May 1, 2022         $52.08     $422,472.31
                                Daily Earnings Credit                      April 30, 2022       $52.07     $422,420.24
                                Daily Earnings Credit                      April 29, 2022       $52.07     $422,368.16
                                Daily Earnings Credit                      April 28, 2022       $52.06     $422,316.10
                                Daily Earnings Credit                      April 27, 2022       $52.05     $422,264.04
                                Daily Earnings Credit                      April 26, 2022       $52.05     $422,211.98
                                Daily Earnings Credit                      April 25, 2022       $52.04     $422,159.94
                                Daily Earnings Credit                      April 24, 2022       $52.03     $422,107.89
                                Daily Earnings Credit                      April 23, 2022       $52.03     $422,055.86

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                       April 22, 2022       $52.02     $422,003.83
                                Daily Earnings Credit                       April 21, 2022       $52.02     $421,951.81
                                Daily Earnings Credit                       April 20, 2022       $52.01     $421,899.80
                                Daily Earnings Credit                       April 19, 2022       $52.00     $421,847.79
                                Daily Earnings Credit                       April 18, 2022       $52.00     $421,795.79
                                Daily Earnings Credit                       April 17, 2022       $51.99     $421,743.79
                                Daily Earnings Credit                       April 16, 2022       $51.98     $421,691.80
                                Daily Earnings Credit                       April 15, 2022       $51.98     $421,639.82
                                Daily Earnings Credit                       April 14, 2022       $51.97     $421,587.84
                                Daily Earnings Credit                       April 13, 2022       $51.96     $421,535.87
                                Daily Earnings Credit                       April 12, 2022       $51.96     $421,483.91
                                Daily Earnings Credit                       April 11, 2022       $51.95     $421,431.95
                                Daily Earnings Credit                       April 10, 2022       $51.94     $421,380.00
                                Daily Earnings Credit                        April 9, 2022       $51.94     $421,328.05
                                Daily Earnings Credit                        April 8, 2022       $51.93     $421,276.12
                                Daily Earnings Credit                        April 7, 2022       $51.93     $421,224.18
                                Daily Earnings Credit                        April 6, 2022       $51.92     $421,172.26
                                Daily Earnings Credit                        April 5, 2022       $51.91     $421,120.34
                                Daily Earnings Credit                        April 4, 2022       $51.91     $421,068.43
                                Daily Earnings Credit                        April 3, 2022       $51.90     $421,016.52
                                Daily Earnings Credit                        April 2, 2022       $51.89     $420,964.62
                                Daily Earnings Credit                        April 1, 2022       $51.89     $420,912.73
                                Daily Earnings Credit                      March 31, 2022        $51.88     $420,860.84
                                Daily Earnings Credit                      March 30, 2022        $51.87     $420,808.96
                                Daily Earnings Credit                      March 29, 2022        $51.87     $420,757.09
                                Daily Earnings Credit                      March 28, 2022        $51.86     $420,705.22
                                Daily Earnings Credit                      March 27, 2022        $51.85     $420,653.36
                                Daily Earnings Credit                      March 26, 2022        $51.85     $420,601.50
                                Daily Earnings Credit                      March 25, 2022        $51.84     $420,549.65
                                Daily Earnings Credit                      March 24, 2022        $51.84     $420,497.81
                                Daily Earnings Credit                      March 23, 2022        $51.83     $420,445.97
                                Daily Earnings Credit                      March 22, 2022        $51.82     $420,394.15
                                Daily Earnings Credit                      March 21, 2022        $51.82     $420,342.32
                                Daily Earnings Credit                      March 20, 2022        $51.81     $420,290.51
                                Daily Earnings Credit                      March 19, 2022        $51.80     $420,238.70

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                        March 18, 2022        $51.80     $420,186.89
                                Daily Earnings Credit                        March 17, 2022        $51.79     $420,135.09
                                Daily Earnings Credit                        March 16, 2022        $51.78     $420,083.30
                                Daily Earnings Credit                        March 15, 2022        $51.78     $420,031.52
                                Daily Earnings Credit                        March 14, 2022        $51.77     $419,979.74
                                Daily Earnings Credit                        March 13, 2022        $51.77     $419,927.97
                                Daily Earnings Credit                        March 12, 2022        $51.76     $419,876.20
                                Daily Earnings Credit                        March 11, 2022        $51.75     $419,824.44
                                Daily Earnings Credit                        March 10, 2022        $51.75     $419,772.69
                                Daily Earnings Credit                         March 9, 2022        $51.74     $419,720.94
                                Daily Earnings Credit                         March 8, 2022        $51.73     $419,669.20
                                Daily Earnings Credit                         March 7, 2022        $51.73     $419,617.47
                                Daily Earnings Credit                         March 6, 2022        $51.72     $419,565.74
                                Daily Earnings Credit                         March 5, 2022        $51.71     $419,514.02
                                Daily Earnings Credit                         March 4, 2022        $51.71     $419,462.31
                                Daily Earnings Credit                         March 3, 2022        $51.70     $419,410.60
                                Daily Earnings Credit                         March 2, 2022        $51.70     $419,358.90
                                Daily Earnings Credit                         March 1, 2022        $51.69     $419,307.20
                                Daily Earnings Credit                      February 28, 2022       $51.68     $419,255.51
                                Daily Earnings Credit                      February 27, 2022       $51.68     $419,203.83
                                Daily Earnings Credit                      February 26, 2022       $51.67     $419,152.15
                                Daily Earnings Credit                      February 25, 2022       $51.66     $419,100.48
                                Daily Earnings Credit                      February 24, 2022       $51.66     $419,048.82
                                Daily Earnings Credit                      February 23, 2022       $51.65     $418,997.16
                                Daily Earnings Credit                      February 22, 2022       $51.64     $418,945.51
                                Daily Earnings Credit                      February 21, 2022       $51.64     $418,893.87
                                Daily Earnings Credit                      February 20, 2022       $51.63     $418,842.23
                                Daily Earnings Credit                      February 19, 2022       $51.63     $418,790.60
                                Daily Earnings Credit                      February 18, 2022       $51.62     $418,738.97
                                Daily Earnings Credit                      February 17, 2022       $51.61     $418,687.35
                                Daily Earnings Credit                      February 16, 2022       $51.61     $418,635.74
                                Daily Earnings Credit                      February 15, 2022       $51.60     $418,584.14
                                Daily Earnings Credit                      February 14, 2022       $51.59     $418,532.54
                                Daily Earnings Credit                      February 13, 2022       $51.59     $418,480.94
                                Daily Earnings Credit                      February 12, 2022       $51.58     $418,429.35

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                      February 11, 2022       $51.57     $418,377.77
                                Daily Earnings Credit                      February 10, 2022       $51.57     $418,326.20
                                Daily Earnings Credit                       February 9, 2022       $51.56     $418,274.63
                                Daily Earnings Credit                       February 8, 2022       $51.56     $418,223.07
                                Daily Earnings Credit                       February 7, 2022       $51.55     $418,171.51
                                Daily Earnings Credit                       February 6, 2022       $51.54     $418,119.96
                                Daily Earnings Credit                       February 5, 2022       $51.54     $418,068.42
                                Daily Earnings Credit                       February 4, 2022       $51.53     $418,016.89
                                Daily Earnings Credit                       February 3, 2022       $51.52     $417,965.36
                                Daily Earnings Credit                       February 2, 2022       $51.52     $417,913.83
                                Daily Earnings Credit                       February 1, 2022       $51.51     $417,862.31
                                Daily Earnings Credit                       January 31, 2022       $51.50     $417,810.80
                                Daily Earnings Credit                       January 30, 2022       $51.50     $417,759.30
                                Daily Earnings Credit                       January 29, 2022       $51.49     $417,707.80
                                Daily Earnings Credit                       January 28, 2022       $51.49     $417,656.31
                                Daily Earnings Credit                       January 27, 2022       $51.48     $417,604.82
                                Daily Earnings Credit                       January 26, 2022       $51.47     $417,553.34
                                Daily Earnings Credit                       January 25, 2022       $51.47     $417,501.87
                                Daily Earnings Credit                       January 24, 2022       $51.46     $417,450.41
                                Daily Earnings Credit                       January 23, 2022       $51.45     $417,398.94
                                Daily Earnings Credit                       January 22, 2022       $51.45     $417,347.49
                                Daily Earnings Credit                       January 21, 2022       $51.44     $417,296.04
                                Daily Earnings Credit                       January 20, 2022       $51.43     $417,244.60
                                Daily Earnings Credit                       January 19, 2022       $51.43     $417,193.17
                                Daily Earnings Credit                       January 18, 2022       $51.42     $417,141.74
                                Daily Earnings Credit                       January 17, 2022       $51.42     $417,090.32
                                Daily Earnings Credit                       January 16, 2022       $51.41     $417,038.90
                                Daily Earnings Credit                       January 15, 2022       $51.40     $416,987.49
                                Daily Earnings Credit                       January 14, 2022       $51.40     $416,936.09
                                Daily Earnings Credit                       January 13, 2022       $51.39     $416,884.69
                                Daily Earnings Credit                       January 12, 2022       $51.38     $416,833.30
                                Daily Earnings Credit                       January 11, 2022       $51.38     $416,781.92
                                Daily Earnings Credit                       January 10, 2022       $51.37     $416,730.54
                                Daily Earnings Credit                        January 9, 2022       $51.37     $416,679.17
                                Daily Earnings Credit                        January 8, 2022       $51.36     $416,627.80

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                         January 7, 2022       $51.35     $416,576.44
                                Daily Earnings Credit                         January 6, 2022       $51.35     $416,525.09
                                Daily Earnings Credit                         January 5, 2022       $51.34     $416,473.75
                                Daily Earnings Credit                         January 4, 2022       $51.33     $416,422.41
                                Daily Earnings Credit                         January 3, 2022       $51.33     $416,371.07
                                Daily Earnings Credit                         January 2, 2022       $51.32     $416,319.75
                                Daily Earnings Credit                         January 1, 2022       $51.31     $416,268.43
                                Daily Earnings Credit                      December 31, 2021        $51.31     $416,217.11
                                Daily Earnings Credit                      December 30, 2021        $51.30     $416,165.80
                                Daily Earnings Credit                      December 29, 2021        $51.30     $416,114.50
                                Daily Earnings Credit                      December 28, 2021        $51.29     $416,063.21
                                Daily Earnings Credit                      December 27, 2021        $51.28     $416,011.92
                                Daily Earnings Credit                      December 26, 2021        $51.28     $415,960.63
                                Daily Earnings Credit                      December 25, 2021        $51.27     $415,909.36
                                Daily Earnings Credit                      December 24, 2021        $51.26     $415,858.09
                                Daily Earnings Credit                      December 23, 2021        $51.26     $415,806.82
                                Daily Earnings Credit                      December 22, 2021        $51.25     $415,755.57
                                Daily Earnings Credit                      December 21, 2021        $51.24     $415,704.31
                                Daily Earnings Credit                      December 20, 2021        $51.24     $415,653.07
                                Daily Earnings Credit                      December 19, 2021        $51.23     $415,601.83
                                Daily Earnings Credit                      December 18, 2021        $51.23     $415,550.60
                                Daily Earnings Credit                      December 17, 2021        $51.22     $415,499.37
                                Daily Earnings Credit                      December 16, 2021        $51.21     $415,448.15
                                Daily Earnings Credit                      December 15, 2021        $51.21     $415,396.94
                                Daily Earnings Credit                      December 14, 2021        $51.20     $415,345.73
                                Daily Earnings Credit                      December 13, 2021        $51.19     $415,294.53
                                Daily Earnings Credit                      December 12, 2021        $51.19     $415,243.34
                                Daily Earnings Credit                      December 11, 2021        $51.18     $415,192.15
                                Daily Earnings Credit                      December 10, 2021        $51.18     $415,140.97
                                Daily Earnings Credit                       December 9, 2021        $51.17     $415,089.79
                                Daily Earnings Credit                       December 8, 2021        $51.16     $415,038.62
                                Daily Earnings Credit                       December 7, 2021        $51.16     $414,987.46
                                Daily Earnings Credit                       December 6, 2021        $51.15     $414,936.30
                                Daily Earnings Credit                       December 5, 2021        $51.14     $414,885.15
                                Daily Earnings Credit                       December 4, 2021        $51.14     $414,834.01

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                       December 3, 2021        $51.13     $414,782.87
                                Daily Earnings Credit                       December 2, 2021        $51.13     $414,731.74
                                Daily Earnings Credit                       December 1, 2021        $51.12     $414,680.61
                                Daily Earnings Credit                      November 30, 2021        $51.11     $414,629.50
                                Daily Earnings Credit                      November 29, 2021        $51.11     $414,578.38
                                Daily Earnings Credit                      November 28, 2021        $51.10     $414,527.28
                                Daily Earnings Credit                      November 27, 2021        $51.09     $414,476.18
                                Daily Earnings Credit                      November 26, 2021        $51.09     $414,425.08
                                Daily Earnings Credit                      November 25, 2021        $51.08     $414,374.00
                                Daily Earnings Credit                      November 24, 2021        $51.07     $414,322.92
                                Daily Earnings Credit                      November 23, 2021        $51.07     $414,271.84
                                Daily Earnings Credit                      November 22, 2021        $51.06     $414,220.77
                                Daily Earnings Credit                      November 21, 2021        $51.06     $414,169.71
                                Daily Earnings Credit                      November 20, 2021        $51.05     $414,118.66
                                Daily Earnings Credit                      November 19, 2021        $51.04     $414,067.61
                                Daily Earnings Credit                      November 18, 2021        $51.04     $414,016.56
                                Daily Earnings Credit                      November 17, 2021        $51.03     $413,965.53
                                Daily Earnings Credit                      November 16, 2021        $51.02     $413,914.50
                                Daily Earnings Credit                      November 15, 2021        $51.02     $413,863.47
                                Daily Earnings Credit                      November 14, 2021        $51.01     $413,812.45
                                Daily Earnings Credit                      November 13, 2021        $51.01     $413,761.44
                                Daily Earnings Credit                      November 12, 2021        $51.00     $413,710.44
                                Daily Earnings Credit                      November 11, 2021        $50.99     $413,659.44
                                Daily Earnings Credit                      November 10, 2021        $50.99     $413,608.44
                                Daily Earnings Credit                       November 9, 2021        $50.98     $413,557.46
                                Daily Earnings Credit                       November 8, 2021        $50.97     $413,506.48
                                Daily Earnings Credit                       November 7, 2021        $50.97     $413,455.50
                                Daily Earnings Credit                       November 6, 2021        $50.96     $413,404.54
                                Daily Earnings Credit                       November 5, 2021        $50.96     $413,353.57
                                Daily Earnings Credit                       November 4, 2021        $50.95     $413,302.62
                                Daily Earnings Credit                       November 3, 2021        $50.94     $413,251.67
                                Daily Earnings Credit                       November 2, 2021        $50.94     $413,200.73
                                Daily Earnings Credit                       November 1, 2021        $50.93     $413,149.79
                                Daily Earnings Credit                        October 31, 2021       $50.92     $413,098.86
                                Daily Earnings Credit                        October 30, 2021       $50.92     $413,047.94

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                    October 29, 2021        $50.91     $412,997.02
                                Daily Earnings Credit                    October 28, 2021        $50.90     $412,946.11
                                Daily Earnings Credit                    October 27, 2021        $50.90     $412,895.20
                                Daily Earnings Credit                    October 26, 2021        $50.89     $412,844.31
                                Daily Earnings Credit                    October 25, 2021        $50.89     $412,793.41
                                Daily Earnings Credit                    October 24, 2021        $50.88     $412,742.53
                                Daily Earnings Credit                    October 23, 2021        $50.87     $412,691.65
                                Daily Earnings Credit                    October 22, 2021        $50.87     $412,640.77
                                Daily Earnings Credit                    October 21, 2021        $50.86     $412,589.91
                                Daily Earnings Credit                    October 20, 2021        $50.85     $412,539.05
                                Daily Earnings Credit                    October 19, 2021        $50.85     $412,488.19
                                Daily Earnings Credit                    October 18, 2021        $50.84     $412,437.34
                                Daily Earnings Credit                    October 17, 2021        $50.84     $412,386.50
                                Daily Earnings Credit                    October 16, 2021        $50.83     $412,335.66
                                Daily Earnings Credit                    October 15, 2021        $50.82     $412,284.83
                                Daily Earnings Credit                    October 14, 2021        $50.82     $412,234.01
                                Daily Earnings Credit                    October 13, 2021        $50.81     $412,183.19
                                Daily Earnings Credit                    October 12, 2021        $50.80     $412,132.38
                                Daily Earnings Credit                    October 11, 2021        $50.80     $412,081.58
                                Daily Earnings Credit                    October 10, 2021        $50.79     $412,030.78
                                Daily Earnings Credit                      October 9, 2021       $50.79     $411,979.99
                                Daily Earnings Credit                      October 8, 2021       $50.78     $411,929.20
                                Daily Earnings Credit                      October 7, 2021       $50.77     $411,878.42
                                Daily Earnings Credit                      October 6, 2021       $50.77     $411,827.65
                                Daily Earnings Credit                      October 5, 2021       $50.76     $411,776.88
                                Daily Earnings Credit                      October 4, 2021       $50.75     $411,726.12
                                Daily Earnings Credit                      October 3, 2021       $50.75     $411,675.37
                                Daily Earnings Credit                      October 2, 2021       $50.74     $411,624.62
                                Daily Earnings Credit                      October 1, 2021       $50.74     $411,573.88
                                Daily Earnings Credit                  September 30, 2021        $50.73     $411,523.14
                                Daily Earnings Credit                  September 29, 2021        $50.72     $411,472.41
                                Daily Earnings Credit                  September 28, 2021        $50.72     $411,421.69
                                Daily Earnings Credit                  September 27, 2021        $50.71     $411,370.97
                                Daily Earnings Credit                  September 26, 2021        $50.70     $411,320.26
                                Daily Earnings Credit                  September 25, 2021        $50.70     $411,269.56

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        Transaction Type                              Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                 September 24, 2021       $50.69     $411,218.86
                                Daily Earnings Credit                 September 23, 2021       $50.69     $411,168.17
                                Daily Earnings Credit                 September 22, 2021       $50.68     $411,117.48
                                Daily Earnings Credit                 September 21, 2021       $50.67     $411,066.80
                                Daily Earnings Credit                 September 20, 2021       $50.67     $411,016.13
                                Daily Earnings Credit                 September 19, 2021       $50.66     $410,965.46
                                Daily Earnings Credit                 September 18, 2021       $50.65     $410,914.80
                                Daily Earnings Credit                 September 17, 2021       $50.65     $410,864.15
                                Daily Earnings Credit                 September 16, 2021       $50.64     $410,813.50
                                Daily Earnings Credit                 September 15, 2021       $50.64     $410,762.86
                                Daily Earnings Credit                 September 14, 2021       $50.63     $410,712.22
                                Daily Earnings Credit                 September 13, 2021       $50.62     $410,661.59
                                Daily Earnings Credit                 September 12, 2021       $50.62     $410,610.97
                                Daily Earnings Credit                 September 11, 2021       $50.61     $410,560.35
                                Daily Earnings Credit                 September 10, 2021       $50.60     $410,509.74
                                Daily Earnings Credit                  September 9, 2021       $50.60     $410,459.13
                                Daily Earnings Credit                  September 8, 2021       $50.59     $410,408.54
                                Daily Earnings Credit                  September 7, 2021       $50.59     $410,357.94
                                Daily Earnings Credit                  September 6, 2021       $50.58     $410,307.36
                                Daily Earnings Credit                  September 5, 2021       $50.57     $410,256.78
                                Daily Earnings Credit                  September 4, 2021       $50.57     $410,206.21
                                Daily Earnings Credit                  September 3, 2021       $50.56     $410,155.64
                                Daily Earnings Credit                  September 2, 2021       $50.55     $410,105.08
                                Daily Earnings Credit                  September 1, 2021       $50.55     $410,054.52
                                Daily Earnings Credit                    August 31, 2021       $50.54     $410,003.97
                                Daily Earnings Credit                    August 30, 2021       $50.54     $409,953.43
                                Daily Earnings Credit                    August 29, 2021       $50.53     $409,902.90
                                Daily Earnings Credit                    August 28, 2021       $50.52     $409,852.37
                                Daily Earnings Credit                    August 27, 2021       $50.52     $409,801.84
                                Daily Earnings Credit                    August 26, 2021       $50.51     $409,751.33
                                Daily Earnings Credit                    August 25, 2021       $50.50     $409,700.81
                                Daily Earnings Credit                    August 24, 2021       $50.50     $409,650.31
                                Daily Earnings Credit                    August 23, 2021       $50.49     $409,599.81
                                Daily Earnings Credit                    August 22, 2021       $50.49     $409,549.32
                                Daily Earnings Credit                    August 21, 2021       $50.48     $409,498.83

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      August 20, 2021       $50.47     $409,448.35
                                Daily Earnings Credit                      August 19, 2021       $50.47     $409,397.88
                                Daily Earnings Credit                      August 18, 2021       $50.46     $409,347.41
                                Daily Earnings Credit                      August 17, 2021       $50.46     $409,296.95
                                Daily Earnings Credit                      August 16, 2021       $50.45     $409,246.49
                                Daily Earnings Credit                      August 15, 2021       $50.44     $409,196.05
                                Daily Earnings Credit                      August 14, 2021       $50.44     $409,145.60
                                Daily Earnings Credit                      August 13, 2021       $50.43     $409,095.17
                                Daily Earnings Credit                      August 12, 2021       $50.42     $409,044.74
                                Daily Earnings Credit                      August 11, 2021       $50.42     $408,994.31
                                Daily Earnings Credit                      August 10, 2021       $50.41     $408,943.89
                                Daily Earnings Credit                       August 9, 2021       $50.41     $408,893.48
                                Daily Earnings Credit                       August 8, 2021       $50.40     $408,843.08
                                Daily Earnings Credit                       August 7, 2021       $50.39     $408,792.68
                                Daily Earnings Credit                       August 6, 2021       $50.39     $408,742.29
                                Daily Earnings Credit                       August 5, 2021       $50.38     $408,691.90
                                Daily Earnings Credit                       August 4, 2021       $50.37     $408,641.52
                                Daily Earnings Credit                       August 3, 2021       $50.37     $408,591.14
                                Daily Earnings Credit                       August 2, 2021       $50.36     $408,540.78
                                Daily Earnings Credit                       August 1, 2021       $50.36     $408,490.41
                                Daily Earnings Credit                        July 31, 2021       $50.35     $408,440.06
                                Daily Earnings Credit                        July 30, 2021       $50.34     $408,389.71
                                Daily Earnings Credit                        July 29, 2021       $50.34     $408,339.37
                                Daily Earnings Credit                        July 28, 2021       $50.33     $408,289.03
                                Daily Earnings Credit                        July 27, 2021       $50.32     $408,238.70
                                Daily Earnings Credit                        July 26, 2021       $50.32     $408,188.37
                                Daily Earnings Credit                        July 25, 2021       $50.31     $408,138.06
                                Daily Earnings Credit                        July 24, 2021       $50.31     $408,087.74
                                Daily Earnings Credit                        July 23, 2021       $50.30     $408,037.44
                                Daily Earnings Credit                        July 22, 2021       $50.29     $407,987.14
                                Daily Earnings Credit                        July 21, 2021       $50.29     $407,936.84
                                Daily Earnings Credit                        July 20, 2021       $50.28     $407,886.56
                                Daily Earnings Credit                        July 19, 2021       $50.27     $407,836.28
                                Daily Earnings Credit                        July 18, 2021       $50.27     $407,786.00
                                Daily Earnings Credit                        July 17, 2021       $50.26     $407,735.73

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       July 16, 2021       $50.26     $407,685.47
                                Daily Earnings Credit                       July 15, 2021       $50.25     $407,635.21
                                Daily Earnings Credit                       July 14, 2021       $50.24     $407,584.96
                                Daily Earnings Credit                       July 13, 2021       $50.24     $407,534.72
                                Daily Earnings Credit                       July 12, 2021       $50.23     $407,484.48
                                Daily Earnings Credit                       July 11, 2021       $50.23     $407,434.25
                                Daily Earnings Credit                       July 10, 2021       $50.22     $407,384.02
                                Daily Earnings Credit                        July 9, 2021       $50.21     $407,333.80
                                Daily Earnings Credit                        July 8, 2021       $50.21     $407,283.59
                                Daily Earnings Credit                        July 7, 2021       $50.20     $407,233.38
                                Daily Earnings Credit                        July 6, 2021       $50.19     $407,183.18
                                Daily Earnings Credit                        July 5, 2021       $50.19     $407,132.99
                                Daily Earnings Credit                        July 4, 2021       $50.18     $407,082.80
                                Daily Earnings Credit                        July 3, 2021       $50.18     $407,032.62
                                Daily Earnings Credit                        July 2, 2021       $50.17     $406,982.44
                                Daily Earnings Credit                        July 1, 2021       $50.16     $406,932.27
                                Daily Earnings Credit                      June 30, 2021        $50.16     $406,882.11
                                Daily Earnings Credit                      June 29, 2021        $50.15     $406,831.95
                                Daily Earnings Credit                      June 28, 2021        $50.15     $406,781.80
                                Daily Earnings Credit                      June 27, 2021        $50.14     $406,731.66
                                Daily Earnings Credit                      June 26, 2021        $50.13     $406,681.52
                                Daily Earnings Credit                      June 25, 2021        $50.13     $406,631.38
                                Daily Earnings Credit                      June 24, 2021        $50.12     $406,581.26
                                Daily Earnings Credit                      June 23, 2021        $50.11     $406,531.14
                                Daily Earnings Credit                      June 22, 2021        $50.11     $406,481.02
                                Daily Earnings Credit                      June 21, 2021        $50.10     $406,430.92
                                Daily Earnings Credit                      June 20, 2021        $50.10     $406,380.81
                                Daily Earnings Credit                      June 19, 2021        $50.09     $406,330.72
                                Daily Earnings Credit                      June 18, 2021        $50.08     $406,280.63
                                Daily Earnings Credit                      June 17, 2021        $50.08     $406,230.55
                                Daily Earnings Credit                      June 16, 2021        $50.07     $406,180.47
                                Daily Earnings Credit                      June 15, 2021        $50.06     $406,130.40
                                Daily Earnings Credit                      June 14, 2021        $50.06     $406,080.33
                                Daily Earnings Credit                      June 13, 2021        $50.05     $406,030.27
                                Daily Earnings Credit                      June 12, 2021        $50.05     $405,980.22

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        Transaction Type                                Transaction Date                      Amount    Ending Balance
                                Daily Earnings Credit                      June 11, 2021       $50.04     $405,930.18
                                Daily Earnings Credit                      June 10, 2021       $50.03     $405,880.14
                                Daily Earnings Credit                       June 9, 2021       $50.03     $405,830.10
                                Daily Earnings Credit                       June 8, 2021       $50.02     $405,780.07
                                Daily Earnings Credit                       June 7, 2021       $50.02     $405,730.05
                                Daily Earnings Credit                       June 6, 2021       $50.01     $405,680.04
                                Daily Earnings Credit                       June 5, 2021       $50.00     $405,630.03
                                Daily Earnings Credit                       June 4, 2021       $50.00     $405,580.03
                                Daily Earnings Credit                       June 3, 2021       $49.99     $405,530.03
                                Daily Earnings Credit                       June 2, 2021       $49.98     $405,480.04
                                Daily Earnings Credit                       June 1, 2021       $49.98     $405,430.05
                                Daily Earnings Credit                       May 31, 2021       $49.97     $405,380.07
                                Daily Earnings Credit                       May 30, 2021       $49.97     $405,330.10
                                Daily Earnings Credit                       May 29, 2021       $49.96     $405,280.14
                                Daily Earnings Credit                       May 28, 2021       $49.95     $405,230.18
                                Daily Earnings Credit                       May 27, 2021       $49.95     $405,180.22
                                Daily Earnings Credit                       May 26, 2021       $49.94     $405,130.28
                                Daily Earnings Credit                       May 25, 2021       $49.94     $405,080.33
                                Daily Earnings Credit                       May 24, 2021       $49.93     $405,030.40
                                Daily Earnings Credit                       May 23, 2021       $49.92     $404,980.47
                                Daily Earnings Credit                       May 22, 2021       $49.92     $404,930.55
                                Daily Earnings Credit                       May 21, 2021       $49.91     $404,880.63
                                Daily Earnings Credit                       May 20, 2021       $49.90     $404,830.72
                                Daily Earnings Credit                       May 19, 2021       $49.90     $404,780.81
                                Daily Earnings Credit                       May 18, 2021       $49.89     $404,730.92
                                Daily Earnings Credit                       May 17, 2021       $49.89     $404,681.02
                                Daily Earnings Credit                       May 16, 2021       $49.88     $404,631.14
                                Daily Earnings Credit                       May 15, 2021       $49.87     $404,581.26
                                Daily Earnings Credit                       May 14, 2021       $49.87     $404,531.38
                                Daily Earnings Credit                       May 13, 2021       $49.86     $404,481.52
                                Daily Earnings Credit                       May 12, 2021       $49.86     $404,431.66
                                Daily Earnings Credit                       May 11, 2021       $49.85     $404,381.80
                                Daily Earnings Credit                       May 10, 2021       $49.84     $404,331.95
                                Daily Earnings Credit                        May 9, 2021       $49.84     $404,282.11
                                Daily Earnings Credit                        May 8, 2021       $49.83     $404,232.27

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       May 7, 2021         $49.82     $404,182.44
                                Daily Earnings Credit                       May 6, 2021         $49.82     $404,132.62
                                Daily Earnings Credit                       May 5, 2021         $49.81     $404,082.80
                                Daily Earnings Credit                       May 4, 2021         $49.81     $404,032.98
                                Daily Earnings Credit                       May 3, 2021         $49.80     $403,983.18
                                Daily Earnings Credit                       May 2, 2021         $49.79     $403,933.38
                                Daily Earnings Credit                       May 1, 2021         $49.79     $403,883.58
                                Daily Earnings Credit                      April 30, 2021       $49.78     $403,833.80
                                Daily Earnings Credit                      April 29, 2021       $49.78     $403,784.02
                                Daily Earnings Credit                      April 28, 2021       $49.77     $403,734.24
                                Daily Earnings Credit                      April 27, 2021       $49.76     $403,684.47
                                Daily Earnings Credit                      April 26, 2021       $49.76     $403,634.71
                                Daily Earnings Credit                      April 25, 2021       $49.75     $403,584.95
                                Daily Earnings Credit                      April 24, 2021       $49.74     $403,535.20
                                Daily Earnings Credit                      April 23, 2021       $49.74     $403,485.45
                                Daily Earnings Credit                      April 22, 2021       $49.73     $403,435.72
                                Daily Earnings Credit                      April 21, 2021       $49.73     $403,385.98
                                Daily Earnings Credit                      April 20, 2021       $49.72     $403,336.26
                                Daily Earnings Credit                      April 19, 2021       $49.71     $403,286.54
                                Daily Earnings Credit                      April 18, 2021       $49.71     $403,236.82
                                Daily Earnings Credit                      April 17, 2021       $49.70     $403,187.11
                                Daily Earnings Credit                      April 16, 2021       $49.70     $403,137.41
                                Daily Earnings Credit                      April 15, 2021       $49.69     $403,087.72
                                Daily Earnings Credit                      April 14, 2021       $49.68     $403,038.03
                                Daily Earnings Credit                      April 13, 2021       $49.68     $402,988.34
                                Daily Earnings Credit                      April 12, 2021       $49.67     $402,938.67
                                Daily Earnings Credit                      April 11, 2021       $49.67     $402,889.00
                                Daily Earnings Credit                      April 10, 2021       $49.66     $402,839.33
                                Daily Earnings Credit                       April 9, 2021       $49.65     $402,789.67
                                Daily Earnings Credit                       April 8, 2021       $49.65     $402,740.02
                                Daily Earnings Credit                       April 7, 2021       $49.64     $402,690.37
                                Daily Earnings Credit                       April 6, 2021       $49.63     $402,640.73
                                Daily Earnings Credit                       April 5, 2021       $49.63     $402,591.10
                                Daily Earnings Credit                       April 4, 2021       $49.62     $402,541.47
                                Daily Earnings Credit                       April 3, 2021       $49.62     $402,491.85

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                           April 2, 2021       $49.61     $402,442.23
                                Daily Earnings Credit                           April 1, 2021       $49.60     $402,392.62
                                Daily Earnings Credit                        March 31, 2021         $49.60     $402,343.02
                                Daily Earnings Credit                        March 30, 2021         $49.59     $402,293.42
                                Daily Earnings Credit                        March 29, 2021         $49.59     $402,243.83
                                Daily Earnings Credit                        March 28, 2021         $49.58     $402,194.24
                                Daily Earnings Credit                        March 27, 2021         $49.57     $402,144.66
                                Daily Earnings Credit                        March 26, 2021         $49.57     $402,095.09
                                Daily Earnings Credit                        March 25, 2021         $49.56     $402,045.52
                                Daily Earnings Credit                        March 24, 2021         $49.56     $401,995.96
                                Daily Earnings Credit                        March 23, 2021         $49.55     $401,946.40
                                Daily Earnings Credit                        March 22, 2021         $49.54     $401,896.85
                                Daily Earnings Credit                        March 21, 2021         $49.54     $401,847.31
                                Daily Earnings Credit                        March 20, 2021         $49.53     $401,797.78
                                Daily Earnings Credit                        March 19, 2021         $49.52     $401,748.24
                                Daily Earnings Credit                        March 18, 2021         $49.52     $401,698.72
                                Daily Earnings Credit                        March 17, 2021         $49.51     $401,649.20
                                Daily Earnings Credit                        March 16, 2021         $49.51     $401,599.69
                                Daily Earnings Credit                        March 15, 2021         $49.50     $401,550.18
                                Daily Earnings Credit                        March 14, 2021         $49.49     $401,500.68
                                Daily Earnings Credit                        March 13, 2021         $49.49     $401,451.19
                                Daily Earnings Credit                        March 12, 2021         $49.48     $401,401.70
                                Daily Earnings Credit                        March 11, 2021         $49.48     $401,352.22
                                Daily Earnings Credit                        March 10, 2021         $49.47     $401,302.74
                                Daily Earnings Credit                         March 9, 2021         $49.46     $401,253.27
                                Daily Earnings Credit                         March 8, 2021         $49.46     $401,203.81
                                Daily Earnings Credit                         March 7, 2021         $49.45     $401,154.35
                                Daily Earnings Credit                         March 6, 2021         $49.45     $401,104.90
                                Daily Earnings Credit                         March 5, 2021         $49.44     $401,055.46
                                Daily Earnings Credit                         March 4, 2021         $49.43     $401,006.02
                                Daily Earnings Credit                         March 3, 2021         $49.43     $400,956.58
                                Daily Earnings Credit                         March 2, 2021         $49.42     $400,907.16
                                Daily Earnings Credit                         March 1, 2021         $49.41     $400,857.74
                                Daily Earnings Credit                      February 28, 2021        $49.41     $400,808.32
                                Daily Earnings Credit                      February 27, 2021        $49.40     $400,758.91

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                      February 26, 2021       $49.40     $400,709.51
                                Daily Earnings Credit                      February 25, 2021       $49.39     $400,660.11
                                Daily Earnings Credit                      February 24, 2021       $49.38     $400,610.72
                                Daily Earnings Credit                      February 23, 2021       $49.38     $400,561.34
                                Daily Earnings Credit                      February 22, 2021       $49.37     $400,511.96
                                Daily Earnings Credit                      February 21, 2021       $49.37     $400,462.59
                                Daily Earnings Credit                      February 20, 2021       $49.36     $400,413.22
                                Daily Earnings Credit                      February 19, 2021       $49.35     $400,363.86
                                Daily Earnings Credit                      February 18, 2021       $49.35     $400,314.51
                                Daily Earnings Credit                      February 17, 2021       $49.34     $400,265.16
                                Daily Earnings Credit                      February 16, 2021       $49.34     $400,215.82
                                Daily Earnings Credit                      February 15, 2021       $49.33     $400,166.48
                                Daily Earnings Credit                      February 14, 2021       $49.32     $400,117.16
                                Daily Earnings Credit                      February 13, 2021       $49.32     $400,067.83
                                Daily Earnings Credit                      February 12, 2021       $49.31     $400,018.51
                                Daily Earnings Credit                      February 11, 2021       $49.31     $399,969.20
                                Daily Earnings Credit                      February 10, 2021       $49.30     $399,919.90
                                Daily Earnings Credit                       February 9, 2021       $49.29     $399,870.60
                                Daily Earnings Credit                       February 8, 2021       $49.29     $399,821.31
                                Daily Earnings Credit                       February 7, 2021       $49.28     $399,772.02
                                Daily Earnings Credit                       February 6, 2021       $49.27     $399,722.74
                                Daily Earnings Credit                       February 5, 2021       $49.27     $399,673.46
                                Daily Earnings Credit                       February 4, 2021       $49.26     $399,624.19
                                Daily Earnings Credit                       February 3, 2021       $49.26     $399,574.93
                                Daily Earnings Credit                       February 2, 2021       $49.25     $399,525.68
                                Daily Earnings Credit                       February 1, 2021       $49.24     $399,476.42
                                Daily Earnings Credit                       January 31, 2021       $49.24     $399,427.18
                                Daily Earnings Credit                       January 30, 2021       $49.23     $399,377.94
                                Daily Earnings Credit                       January 29, 2021       $49.23     $399,328.71
                                Daily Earnings Credit                       January 28, 2021       $49.22     $399,279.48
                                Daily Earnings Credit                       January 27, 2021       $49.21     $399,230.26
                                Daily Earnings Credit                       January 26, 2021       $49.21     $399,181.05
                                Daily Earnings Credit                       January 25, 2021       $49.20     $399,131.84
                                Daily Earnings Credit                       January 24, 2021       $49.20     $399,082.64
                                Daily Earnings Credit                       January 23, 2021       $49.19     $399,033.44

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                        January 22, 2021       $49.18     $398,984.25
                                Daily Earnings Credit                        January 21, 2021       $49.18     $398,935.07
                                Daily Earnings Credit                        January 20, 2021       $49.17     $398,885.89
                                Daily Earnings Credit                        January 19, 2021       $49.17     $398,836.72
                                Daily Earnings Credit                        January 18, 2021       $49.16     $398,787.55
                                Daily Earnings Credit                        January 17, 2021       $49.15     $398,738.39
                                Daily Earnings Credit                        January 16, 2021       $49.15     $398,689.24
                                Daily Earnings Credit                        January 15, 2021       $49.14     $398,640.09
                                Daily Earnings Credit                        January 14, 2021       $49.14     $398,590.95
                                Daily Earnings Credit                        January 13, 2021       $49.13     $398,541.82
                                Daily Earnings Credit                        January 12, 2021       $49.12     $398,492.69
                                Daily Earnings Credit                        January 11, 2021       $49.12     $398,443.56
                                Daily Earnings Credit                        January 10, 2021       $49.11     $398,394.45
                                Daily Earnings Credit                         January 9, 2021       $49.11     $398,345.34
                                Daily Earnings Credit                         January 8, 2021       $49.10     $398,296.23
                                Daily Earnings Credit                         January 7, 2021       $49.09     $398,247.13
                                Daily Earnings Credit                         January 6, 2021       $49.09     $398,198.04
                                Daily Earnings Credit                         January 5, 2021       $49.08     $398,148.95
                                Daily Earnings Credit                         January 4, 2021       $49.07     $398,099.87
                                Daily Earnings Credit                         January 3, 2021       $49.07     $398,050.80
                                Daily Earnings Credit                         January 2, 2021       $49.06     $398,001.73
                                Daily Earnings Credit                         January 1, 2021       $49.06     $397,952.67
                                Daily Earnings Credit                      December 31, 2020        $48.92     $397,903.61
                                Daily Earnings Credit                      December 30, 2020        $48.91     $397,854.69
                                Daily Earnings Credit                      December 29, 2020        $48.90     $397,805.78
                                Daily Earnings Credit                      December 28, 2020        $48.90     $397,756.88
                                Daily Earnings Credit                      December 27, 2020        $48.89     $397,707.98
                                Daily Earnings Credit                      December 26, 2020        $48.89     $397,659.09
                                Daily Earnings Credit                      December 25, 2020        $48.88     $397,610.20
                                Daily Earnings Credit                      December 24, 2020        $48.87     $397,561.32
                                Daily Earnings Credit                      December 23, 2020        $48.87     $397,512.45
                                Daily Earnings Credit                      December 22, 2020        $48.86     $397,463.58
                                Daily Earnings Credit                      December 21, 2020        $48.86     $397,414.71
                                Daily Earnings Credit                      December 20, 2020        $48.85     $397,365.86
                                Daily Earnings Credit                      December 19, 2020        $48.84     $397,317.01

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      December 18, 2020        $48.84     $397,268.16
                                Daily Earnings Credit                      December 17, 2020        $48.83     $397,219.32
                                Daily Earnings Credit                      December 16, 2020        $48.83     $397,170.49
                                Daily Earnings Credit                      December 15, 2020        $48.82     $397,121.67
                                Daily Earnings Credit                      December 14, 2020        $48.81     $397,072.85
                                Daily Earnings Credit                      December 13, 2020        $48.81     $397,024.03
                                Daily Earnings Credit                      December 12, 2020        $48.80     $396,975.22
                                Daily Earnings Credit                      December 11, 2020        $48.80     $396,926.42
                                Daily Earnings Credit                      December 10, 2020        $48.79     $396,877.62
                                Daily Earnings Credit                       December 9, 2020        $48.78     $396,828.83
                                Daily Earnings Credit                       December 8, 2020        $48.78     $396,780.05
                                Daily Earnings Credit                       December 7, 2020        $48.77     $396,731.27
                                Daily Earnings Credit                       December 6, 2020        $48.77     $396,682.50
                                Daily Earnings Credit                       December 5, 2020        $48.76     $396,633.73
                                Daily Earnings Credit                       December 4, 2020        $48.75     $396,584.97
                                Daily Earnings Credit                       December 3, 2020        $48.75     $396,536.22
                                Daily Earnings Credit                       December 2, 2020        $48.74     $396,487.47
                                Daily Earnings Credit                       December 1, 2020        $48.74     $396,438.73
                                Daily Earnings Credit                      November 30, 2020        $48.73     $396,389.99
                                Daily Earnings Credit                      November 29, 2020        $48.72     $396,341.26
                                Daily Earnings Credit                      November 28, 2020        $48.72     $396,292.53
                                Daily Earnings Credit                      November 27, 2020        $48.71     $396,243.82
                                Daily Earnings Credit                      November 26, 2020        $48.71     $396,195.10
                                Daily Earnings Credit                      November 25, 2020        $48.70     $396,146.40
                                Daily Earnings Credit                      November 24, 2020        $48.69     $396,097.70
                                Daily Earnings Credit                      November 23, 2020        $48.69     $396,049.00
                                Daily Earnings Credit                      November 22, 2020        $48.68     $396,000.31
                                Daily Earnings Credit                      November 21, 2020        $48.68     $395,951.63
                                Daily Earnings Credit                      November 20, 2020        $48.67     $395,902.95
                                Daily Earnings Credit                      November 19, 2020        $48.66     $395,854.28
                                Daily Earnings Credit                      November 18, 2020        $48.66     $395,805.62
                                Daily Earnings Credit                      November 17, 2020        $48.65     $395,756.96
                                Daily Earnings Credit                      November 16, 2020        $48.65     $395,708.31
                                Daily Earnings Credit                      November 15, 2020        $48.64     $395,659.66
                                Daily Earnings Credit                      November 14, 2020        $48.63     $395,611.02

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      November 13, 2020        $48.63     $395,562.39
                                Daily Earnings Credit                      November 12, 2020        $48.62     $395,513.76
                                Daily Earnings Credit                      November 11, 2020        $48.62     $395,465.13
                                Daily Earnings Credit                      November 10, 2020        $48.61     $395,416.52
                                Daily Earnings Credit                       November 9, 2020        $48.60     $395,367.91
                                Daily Earnings Credit                       November 8, 2020        $48.60     $395,319.30
                                Daily Earnings Credit                       November 7, 2020        $48.59     $395,270.70
                                Daily Earnings Credit                       November 6, 2020        $48.59     $395,222.11
                                Daily Earnings Credit                       November 5, 2020        $48.58     $395,173.52
                                Daily Earnings Credit                       November 4, 2020        $48.57     $395,124.94
                                Daily Earnings Credit                       November 3, 2020        $48.57     $395,076.37
                                Daily Earnings Credit                       November 2, 2020        $48.56     $395,027.80
                                Daily Earnings Credit                       November 1, 2020        $48.56     $394,979.23
                                Daily Earnings Credit                        October 31, 2020       $48.55     $394,930.68
                                Daily Earnings Credit                        October 30, 2020       $48.55     $394,882.13
                                Daily Earnings Credit                        October 29, 2020       $48.54     $394,833.58
                                Daily Earnings Credit                        October 28, 2020       $48.53     $394,785.04
                                Daily Earnings Credit                        October 27, 2020       $48.53     $394,736.51
                                Daily Earnings Credit                        October 26, 2020       $48.52     $394,687.98
                                Daily Earnings Credit                        October 25, 2020       $48.52     $394,639.46
                                Daily Earnings Credit                        October 24, 2020       $48.51     $394,590.95
                                Daily Earnings Credit                        October 23, 2020       $48.50     $394,542.44
                                Daily Earnings Credit                        October 22, 2020       $48.50     $394,493.93
                                Daily Earnings Credit                        October 21, 2020       $48.49     $394,445.44
                                Daily Earnings Credit                        October 20, 2020       $48.49     $394,396.94
                                Daily Earnings Credit                        October 19, 2020       $48.48     $394,348.46
                                Daily Earnings Credit                        October 18, 2020       $48.47     $394,299.98
                                Daily Earnings Credit                        October 17, 2020       $48.47     $394,251.51
                                Daily Earnings Credit                        October 16, 2020       $48.46     $394,203.04
                                Daily Earnings Credit                        October 15, 2020       $48.46     $394,154.58
                                Daily Earnings Credit                        October 14, 2020       $48.45     $394,106.12
                                Daily Earnings Credit                        October 13, 2020       $48.44     $394,057.67
                                Daily Earnings Credit                        October 12, 2020       $48.44     $394,009.23
                                Daily Earnings Credit                        October 11, 2020       $48.43     $393,960.79
                                Daily Earnings Credit                        October 10, 2020       $48.43     $393,912.36

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      October 9, 2020       $48.42     $393,863.93
                                Daily Earnings Credit                      October 8, 2020       $48.41     $393,815.51
                                Daily Earnings Credit                      October 7, 2020       $48.41     $393,767.10
                                Daily Earnings Credit                      October 6, 2020       $48.40     $393,718.69
                                Daily Earnings Credit                      October 5, 2020       $48.40     $393,670.29
                                Daily Earnings Credit                      October 4, 2020       $48.39     $393,621.89
                                Daily Earnings Credit                      October 3, 2020       $48.38     $393,573.50
                                Daily Earnings Credit                      October 2, 2020       $48.38     $393,525.12
                                Daily Earnings Credit                      October 1, 2020       $48.37     $393,476.74
                                Daily Earnings Credit                  September 30, 2020        $48.37     $393,428.37
                                Daily Earnings Credit                  September 29, 2020        $48.36     $393,380.00
                                Daily Earnings Credit                  September 28, 2020        $48.35     $393,331.64
                                Daily Earnings Credit                  September 27, 2020        $48.35     $393,283.29
                                Daily Earnings Credit                  September 26, 2020        $48.34     $393,234.94
                                Daily Earnings Credit                  September 25, 2020        $48.34     $393,186.59
                                Daily Earnings Credit                  September 24, 2020        $48.33     $393,138.26
                                Daily Earnings Credit                  September 23, 2020        $48.32     $393,089.93
                                Daily Earnings Credit                  September 22, 2020        $48.32     $393,041.60
                                Daily Earnings Credit                  September 21, 2020        $48.31     $392,993.28
                                Daily Earnings Credit                  September 20, 2020        $48.31     $392,944.97
                                Daily Earnings Credit                  September 19, 2020        $48.30     $392,896.66
                                Daily Earnings Credit                  September 18, 2020        $48.30     $392,848.36
                                Daily Earnings Credit                  September 17, 2020        $48.29     $392,800.07
                                Daily Earnings Credit                  September 16, 2020        $48.28     $392,751.78
                                Daily Earnings Credit                  September 15, 2020        $48.28     $392,703.49
                                Daily Earnings Credit                  September 14, 2020        $48.27     $392,655.22
                                Daily Earnings Credit                  September 13, 2020        $48.27     $392,606.95
                                Daily Earnings Credit                  September 12, 2020        $48.26     $392,558.68
                                Daily Earnings Credit                  September 11, 2020        $48.25     $392,510.42
                                Daily Earnings Credit                  September 10, 2020        $48.25     $392,462.17
                                Daily Earnings Credit                   September 9, 2020        $48.24     $392,413.92
                                Daily Earnings Credit                   September 8, 2020        $48.24     $392,365.68
                                Daily Earnings Credit                   September 7, 2020        $48.23     $392,317.44
                                Daily Earnings Credit                   September 6, 2020        $48.22     $392,269.21
                                Daily Earnings Credit                   September 5, 2020        $48.22     $392,220.99

https://www.crewfunds.com/accounts/23/transactions                                                                         20/104
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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      September 4, 2020        $48.21     $392,172.77
                                Daily Earnings Credit                      September 3, 2020        $48.21     $392,124.56
                                Daily Earnings Credit                      September 2, 2020        $48.20     $392,076.35
                                Daily Earnings Credit                      September 1, 2020        $48.19     $392,028.15
                                Daily Earnings Credit                        August 31, 2020        $48.19     $391,979.96
                                Daily Earnings Credit                        August 30, 2020        $48.18     $391,931.77
                                Daily Earnings Credit                        August 29, 2020        $48.18     $391,883.59
                                Daily Earnings Credit                        August 28, 2020        $48.17     $391,835.41
                                Daily Earnings Credit                        August 27, 2020        $48.16     $391,787.24
                                Daily Earnings Credit                        August 26, 2020        $48.16     $391,739.08
                                Daily Earnings Credit                        August 25, 2020        $48.15     $391,690.92
                                Daily Earnings Credit                        August 24, 2020        $48.15     $391,642.76
                                Daily Earnings Credit                        August 23, 2020        $48.14     $391,594.62
                                Daily Earnings Credit                        August 22, 2020        $48.14     $391,546.48
                                Daily Earnings Credit                        August 21, 2020        $48.13     $391,498.34
                                Daily Earnings Credit                        August 20, 2020        $48.12     $391,450.21
                                Daily Earnings Credit                        August 19, 2020        $48.12     $391,402.09
                                Daily Earnings Credit                        August 18, 2020        $48.11     $391,353.97
                                Daily Earnings Credit                        August 17, 2020        $48.11     $391,305.86
                                Daily Earnings Credit                        August 16, 2020        $48.10     $391,257.76
                                Daily Earnings Credit                        August 15, 2020        $48.09     $391,209.66
                                Daily Earnings Credit                        August 14, 2020        $48.09     $391,161.56
                                Daily Earnings Credit                        August 13, 2020        $48.08     $391,113.47
                                Daily Earnings Credit                        August 12, 2020        $48.08     $391,065.39
                                Daily Earnings Credit                        August 11, 2020        $48.07     $391,017.32
                                Daily Earnings Credit                        August 10, 2020        $48.06     $390,969.25
                                Daily Earnings Credit                         August 9, 2020        $48.06     $390,921.18
                                Daily Earnings Credit                         August 8, 2020        $48.05     $390,873.12
                                Daily Earnings Credit                         August 7, 2020        $48.05     $390,825.07
                                Daily Earnings Credit                         August 6, 2020        $48.04     $390,777.03
                                Daily Earnings Credit                         August 5, 2020        $48.03     $390,728.99
                                Daily Earnings Credit                         August 4, 2020        $48.03     $390,680.95
                                Daily Earnings Credit                         August 3, 2020        $48.02     $390,632.92
                                Daily Earnings Credit                         August 2, 2020        $48.02     $390,584.90
                                Daily Earnings Credit                         August 1, 2020        $48.01     $390,536.88

https://www.crewfunds.com/accounts/23/transactions                                                                            21/104
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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       July 31, 2020       $48.01     $390,488.87
                                Daily Earnings Credit                       July 30, 2020       $48.00     $390,440.87
                                Daily Earnings Credit                       July 29, 2020       $47.99     $390,392.87
                                Daily Earnings Credit                       July 28, 2020       $47.99     $390,344.87
                                Daily Earnings Credit                       July 27, 2020       $47.98     $390,296.89
                                Daily Earnings Credit                       July 26, 2020       $47.98     $390,248.91
                                Daily Earnings Credit                       July 25, 2020       $47.97     $390,200.93
                                Daily Earnings Credit                       July 24, 2020       $47.96     $390,152.96
                                Daily Earnings Credit                       July 23, 2020       $47.96     $390,105.00
                                Daily Earnings Credit                       July 22, 2020       $47.95     $390,057.04
                                Daily Earnings Credit                       July 21, 2020       $47.95     $390,009.09
                                Daily Earnings Credit                       July 20, 2020       $47.94     $389,961.14
                                Daily Earnings Credit                       July 19, 2020       $47.93     $389,913.20
                                Daily Earnings Credit                       July 18, 2020       $47.93     $389,865.27
                                Daily Earnings Credit                       July 17, 2020       $47.92     $389,817.34
                                Daily Earnings Credit                       July 16, 2020       $47.92     $389,769.42
                                Daily Earnings Credit                       July 15, 2020       $47.91     $389,721.50
                                Daily Earnings Credit                       July 14, 2020       $47.90     $389,673.59
                                Daily Earnings Credit                       July 13, 2020       $47.90     $389,625.68
                                Daily Earnings Credit                       July 12, 2020       $47.89     $389,577.79
                                Daily Earnings Credit                       July 11, 2020       $47.89     $389,529.89
                                Daily Earnings Credit                       July 10, 2020       $47.88     $389,482.00
                                Daily Earnings Credit                        July 9, 2020       $47.88     $389,434.12
                                Daily Earnings Credit                        July 8, 2020       $47.87     $389,386.25
                                Daily Earnings Credit                        July 7, 2020       $47.86     $389,338.38
                                Daily Earnings Credit                        July 6, 2020       $47.86     $389,290.52
                                Daily Earnings Credit                        July 5, 2020       $47.85     $389,242.66
                                Daily Earnings Credit                        July 4, 2020       $47.85     $389,194.81
                                Daily Earnings Credit                        July 3, 2020       $47.84     $389,146.96
                                Daily Earnings Credit                        July 2, 2020       $47.83     $389,099.12
                                Daily Earnings Credit                        July 1, 2020       $47.83     $389,051.29
                                Daily Earnings Credit                      June 30, 2020        $47.82     $389,003.46
                                Daily Earnings Credit                      June 29, 2020        $47.82     $388,955.63
                                Daily Earnings Credit                      June 28, 2020        $47.81     $388,907.82
                                Daily Earnings Credit                      June 27, 2020        $47.80     $388,860.01

https://www.crewfunds.com/accounts/23/transactions                                                                        22/104
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        Transaction Type                                Transaction Date                      Amount    Ending Balance
                                Daily Earnings Credit                      June 26, 2020       $47.80     $388,812.20
                                Daily Earnings Credit                      June 25, 2020       $47.79     $388,764.40
                                Daily Earnings Credit                      June 24, 2020       $47.79     $388,716.61
                                Daily Earnings Credit                      June 23, 2020       $47.78     $388,668.82
                                Daily Earnings Credit                      June 22, 2020       $47.78     $388,621.04
                                Daily Earnings Credit                      June 21, 2020       $47.77     $388,573.27
                                Daily Earnings Credit                      June 20, 2020       $47.76     $388,525.50
                                Daily Earnings Credit                      June 19, 2020       $47.76     $388,477.73
                                Daily Earnings Credit                      June 18, 2020       $47.75     $388,429.98
                                Daily Earnings Credit                      June 17, 2020       $47.75     $388,382.22
                                Daily Earnings Credit                      June 16, 2020       $47.74     $388,334.48
                                Daily Earnings Credit                      June 15, 2020       $47.73     $388,286.74
                                Daily Earnings Credit                      June 14, 2020       $47.73     $388,239.00
                                Daily Earnings Credit                      June 13, 2020       $47.72     $388,191.28
                                Daily Earnings Credit                      June 12, 2020       $47.72     $388,143.55
                                Daily Earnings Credit                      June 11, 2020       $47.71     $388,095.84
                                Daily Earnings Credit                      June 10, 2020       $47.70     $388,048.13
                                Daily Earnings Credit                       June 9, 2020       $47.70     $388,000.42
                                Daily Earnings Credit                       June 8, 2020       $47.69     $387,952.72
                                Daily Earnings Credit                       June 7, 2020       $47.69     $387,905.03
                                Daily Earnings Credit                       June 6, 2020       $47.68     $387,857.34
                                Daily Earnings Credit                       June 5, 2020       $47.68     $387,809.66
                                Daily Earnings Credit                       June 4, 2020       $47.67     $387,761.98
                                Daily Earnings Credit                       June 3, 2020       $47.66     $387,714.31
                                Daily Earnings Credit                       June 2, 2020       $47.66     $387,666.65
                                Daily Earnings Credit                       June 1, 2020       $47.65     $387,618.99
                                Daily Earnings Credit                       May 31, 2020       $47.65     $387,571.34
                                Daily Earnings Credit                       May 30, 2020       $47.64     $387,523.69
                                Daily Earnings Credit                       May 29, 2020       $47.63     $387,476.05
                                Daily Earnings Credit                       May 28, 2020       $47.63     $387,428.42
                                Daily Earnings Credit                       May 27, 2020       $47.62     $387,380.79
                                Daily Earnings Credit                       May 26, 2020       $47.62     $387,333.17
                                Daily Earnings Credit                       May 25, 2020       $47.61     $387,285.55
                                Daily Earnings Credit                       May 24, 2020       $47.61     $387,237.94
                                Daily Earnings Credit                       May 23, 2020       $47.60     $387,190.33

https://www.crewfunds.com/accounts/23/transactions                                                                       23/104
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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                      May 22, 2020         $47.59     $387,142.73
                                Daily Earnings Credit                      May 21, 2020         $47.59     $387,095.14
                                Daily Earnings Credit                      May 20, 2020         $47.58     $387,047.55
                                Daily Earnings Credit                      May 19, 2020         $47.58     $386,999.97
                                Daily Earnings Credit                      May 18, 2020         $47.57     $386,952.39
                                Daily Earnings Credit                      May 17, 2020         $47.56     $386,904.82
                                Daily Earnings Credit                      May 16, 2020         $47.56     $386,857.26
                                Daily Earnings Credit                      May 15, 2020         $47.55     $386,809.70
                                Daily Earnings Credit                      May 14, 2020         $47.55     $386,762.15
                                Daily Earnings Credit                      May 13, 2020         $47.54     $386,714.60
                                Daily Earnings Credit                      May 12, 2020         $47.54     $386,667.06
                                Daily Earnings Credit                      May 11, 2020         $47.53     $386,619.52
                                Daily Earnings Credit                      May 10, 2020         $47.52     $386,572.00
                                Daily Earnings Credit                       May 9, 2020         $47.52     $386,524.47
                                Daily Earnings Credit                       May 8, 2020         $47.51     $386,476.95
                                Daily Earnings Credit                       May 7, 2020         $47.51     $386,429.44
                                Daily Earnings Credit                       May 6, 2020         $47.50     $386,381.94
                                Daily Earnings Credit                       May 5, 2020         $47.49     $386,334.44
                                Daily Earnings Credit                       May 4, 2020         $47.49     $386,286.94
                                Daily Earnings Credit                       May 3, 2020         $47.48     $386,239.45
                                Daily Earnings Credit                       May 2, 2020         $47.48     $386,191.97
                                Daily Earnings Credit                       May 1, 2020         $47.47     $386,144.49
                                Daily Earnings Credit                      April 30, 2020       $47.47     $386,097.02
                                Daily Earnings Credit                      April 29, 2020       $47.46     $386,049.56
                                Daily Earnings Credit                      April 28, 2020       $47.45     $386,002.10
                                Daily Earnings Credit                      April 27, 2020       $47.45     $385,954.65
                                Daily Earnings Credit                      April 26, 2020       $47.44     $385,907.20
                                Daily Earnings Credit                      April 25, 2020       $47.44     $385,859.76
                                Daily Earnings Credit                      April 24, 2020       $47.43     $385,812.32
                                Daily Earnings Credit                      April 23, 2020       $47.42     $385,764.89
                                Daily Earnings Credit                      April 22, 2020       $47.42     $385,717.47
                                Daily Earnings Credit                      April 21, 2020       $47.41     $385,670.05
                                Daily Earnings Credit                      April 20, 2020       $47.41     $385,622.63
                                Daily Earnings Credit                      April 19, 2020       $47.40     $385,575.23
                                Daily Earnings Credit                      April 18, 2020       $47.40     $385,527.83

https://www.crewfunds.com/accounts/23/transactions                                                                        24/104
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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                       April 17, 2020       $47.39     $385,480.43
                                Daily Earnings Credit                       April 16, 2020       $47.38     $385,433.04
                                Daily Earnings Credit                       April 15, 2020       $47.38     $385,385.66
                                Daily Earnings Credit                       April 14, 2020       $47.37     $385,338.28
                                Daily Earnings Credit                       April 13, 2020       $47.37     $385,290.91
                                Daily Earnings Credit                       April 12, 2020       $47.36     $385,243.54
                                Daily Earnings Credit                       April 11, 2020       $47.35     $385,196.18
                                Daily Earnings Credit                       April 10, 2020       $47.35     $385,148.83
                                Daily Earnings Credit                        April 9, 2020       $47.34     $385,101.48
                                Daily Earnings Credit                        April 8, 2020       $47.34     $385,054.14
                                Daily Earnings Credit                        April 7, 2020       $47.33     $385,006.80
                                Daily Earnings Credit                        April 6, 2020       $47.33     $384,959.47
                                Daily Earnings Credit                        April 5, 2020       $47.32     $384,912.14
                                Daily Earnings Credit                        April 4, 2020       $47.31     $384,864.83
                                Daily Earnings Credit                        April 3, 2020       $47.31     $384,817.51
                                Daily Earnings Credit                        April 2, 2020       $47.30     $384,770.20
                                Daily Earnings Credit                        April 1, 2020       $47.30     $384,722.90
                                Daily Earnings Credit                      March 31, 2020        $47.29     $384,675.61
                                Daily Earnings Credit                      March 30, 2020        $47.28     $384,628.32
                                Daily Earnings Credit                      March 29, 2020        $47.28     $384,581.03
                                Daily Earnings Credit                      March 28, 2020        $47.27     $384,533.75
                                Daily Earnings Credit                      March 27, 2020        $47.27     $384,486.48
                                Daily Earnings Credit                      March 26, 2020        $47.26     $384,439.21
                                Daily Earnings Credit                      March 25, 2020        $47.26     $384,391.95
                                Daily Earnings Credit                      March 24, 2020        $47.25     $384,344.70
                                Daily Earnings Credit                      March 23, 2020        $47.24     $384,297.45
                                Daily Earnings Credit                      March 22, 2020        $47.24     $384,250.20
                                Daily Earnings Credit                      March 21, 2020        $47.23     $384,202.96
                                Daily Earnings Credit                      March 20, 2020        $47.23     $384,155.73
                                Daily Earnings Credit                      March 19, 2020        $47.22     $384,108.50
                                Daily Earnings Credit                      March 18, 2020        $47.21     $384,061.28
                                Daily Earnings Credit                      March 17, 2020        $47.21     $384,014.07
                                Daily Earnings Credit                      March 16, 2020        $47.20     $383,966.86
                                Daily Earnings Credit                      March 15, 2020        $47.20     $383,919.66
                                Daily Earnings Credit                      March 14, 2020        $47.19     $383,872.46

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                        March 13, 2020        $47.19     $383,825.27
                                Daily Earnings Credit                        March 12, 2020        $47.18     $383,778.08
                                Daily Earnings Credit                        March 11, 2020        $47.17     $383,730.90
                                Daily Earnings Credit                        March 10, 2020        $47.17     $383,683.73
                                Daily Earnings Credit                         March 9, 2020        $47.16     $383,636.56
                                Daily Earnings Credit                         March 8, 2020        $47.16     $383,589.40
                                Daily Earnings Credit                         March 7, 2020        $47.15     $383,542.24
                                Daily Earnings Credit                         March 6, 2020        $47.15     $383,495.09
                                Daily Earnings Credit                         March 5, 2020        $47.14     $383,447.94
                                Daily Earnings Credit                         March 4, 2020        $47.13     $383,400.80
                                Daily Earnings Credit                         March 3, 2020        $47.13     $383,353.67
                                Daily Earnings Credit                         March 2, 2020        $47.12     $383,306.54
                                Daily Earnings Credit                         March 1, 2020        $47.12     $383,259.42
                                Daily Earnings Credit                      February 29, 2020       $47.11     $383,212.30
                                Daily Earnings Credit                      February 28, 2020       $47.10     $383,165.19
                                Daily Earnings Credit                      February 27, 2020       $47.10     $383,118.09
                                Daily Earnings Credit                      February 26, 2020       $47.09     $383,070.99
                                Daily Earnings Credit                      February 25, 2020       $47.09     $383,023.90
                                Daily Earnings Credit                      February 24, 2020       $47.08     $382,976.81
                                Daily Earnings Credit                      February 23, 2020       $47.08     $382,929.73
                                Daily Earnings Credit                      February 22, 2020       $47.07     $382,882.65
                                Daily Earnings Credit                      February 21, 2020       $47.06     $382,835.58
                                Daily Earnings Credit                      February 20, 2020       $47.06     $382,788.52
                                Daily Earnings Credit                      February 19, 2020       $47.05     $382,741.46
                                Daily Earnings Credit                      February 18, 2020       $47.05     $382,694.41
                                Daily Earnings Credit                      February 17, 2020       $47.04     $382,647.36
                                Daily Earnings Credit                      February 16, 2020       $47.04     $382,600.32
                                Daily Earnings Credit                      February 15, 2020       $47.03     $382,553.28
                                Daily Earnings Credit                      February 14, 2020       $47.02     $382,506.26
                                Daily Earnings Credit                      February 13, 2020       $47.02     $382,459.23
                                Daily Earnings Credit                      February 12, 2020       $47.01     $382,412.21
                                Daily Earnings Credit                      February 11, 2020       $47.01     $382,365.20
                                Daily Earnings Credit                      February 10, 2020       $47.00     $382,318.20
                                Daily Earnings Credit                       February 9, 2020       $46.99     $382,271.19
                                Daily Earnings Credit                       February 8, 2020       $46.99     $382,224.20

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        Transaction Type                                Transaction Date                         Amount    Ending Balance
                                Daily Earnings Credit                      February 7, 2020       $46.98     $382,177.21
                                Daily Earnings Credit                      February 6, 2020       $46.98     $382,130.23
                                Daily Earnings Credit                      February 5, 2020       $46.97     $382,083.25
                                Daily Earnings Credit                      February 4, 2020       $46.97     $382,036.28
                                Daily Earnings Credit                      February 3, 2020       $46.96     $381,989.31
                                Daily Earnings Credit                      February 2, 2020       $46.95     $381,942.35
                                Daily Earnings Credit                      February 1, 2020       $46.95     $381,895.40
                                Daily Earnings Credit                      January 31, 2020       $46.94     $381,848.45
                                Daily Earnings Credit                      January 30, 2020       $46.94     $381,801.51
                                Daily Earnings Credit                      January 29, 2020       $46.93     $381,754.57
                                Daily Earnings Credit                      January 28, 2020       $46.93     $381,707.64
                                Daily Earnings Credit                      January 27, 2020       $46.92     $381,660.71
                                Daily Earnings Credit                      January 26, 2020       $46.91     $381,613.79
                                Daily Earnings Credit                      January 25, 2020       $46.91     $381,566.88
                                Daily Earnings Credit                      January 24, 2020       $46.90     $381,519.97
                                Daily Earnings Credit                      January 23, 2020       $46.90     $381,473.07
                                Daily Earnings Credit                      January 22, 2020       $46.89     $381,426.17
                                Daily Earnings Credit                      January 21, 2020       $46.89     $381,379.28
                                Daily Earnings Credit                      January 20, 2020       $46.88     $381,332.40
                                Daily Earnings Credit                      January 19, 2020       $46.87     $381,285.52
                                Daily Earnings Credit                      January 18, 2020       $46.87     $381,238.64
                                Daily Earnings Credit                      January 17, 2020       $46.86     $381,191.78
                                Daily Earnings Credit                      January 16, 2020       $46.86     $381,144.91
                                Daily Earnings Credit                      January 15, 2020       $46.85     $381,098.06
                                Daily Earnings Credit                      January 14, 2020       $46.84     $381,051.21
                                Daily Earnings Credit                      January 13, 2020       $46.84     $381,004.36
                                Daily Earnings Credit                      January 12, 2020       $46.83     $380,957.52
                                Daily Earnings Credit                      January 11, 2020       $46.83     $380,910.69
                                Daily Earnings Credit                      January 10, 2020       $46.82     $380,863.86
                                Daily Earnings Credit                       January 9, 2020       $46.82     $380,817.04
                                Daily Earnings Credit                       January 8, 2020       $46.81     $380,770.22
                                Daily Earnings Credit                       January 7, 2020       $46.80     $380,723.41
                                Daily Earnings Credit                       January 6, 2020       $46.80     $380,676.61
                                Daily Earnings Credit                       January 5, 2020       $46.79     $380,629.81
                                Daily Earnings Credit                       January 4, 2020       $46.79     $380,583.02

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                         January 3, 2020       $46.78     $380,536.23
                                Daily Earnings Credit                         January 2, 2020       $46.78     $380,489.45
                                Daily Earnings Credit                         January 1, 2020       $46.77     $380,442.67
                                Daily Earnings Credit                      December 31, 2019        $46.89     $380,395.90
                                Daily Earnings Credit                      December 30, 2019        $46.89     $380,349.01
                                Daily Earnings Credit                      December 29, 2019        $46.88     $380,302.12
                                Daily Earnings Credit                      December 28, 2019        $46.88     $380,255.24
                                Daily Earnings Credit                      December 27, 2019        $46.87     $380,208.37
                                Daily Earnings Credit                      December 26, 2019        $46.86     $380,161.50
                                Daily Earnings Credit                      December 25, 2019        $46.86     $380,114.64
                                Daily Earnings Credit                      December 24, 2019        $46.85     $380,067.78
                                Daily Earnings Credit                      December 23, 2019        $46.85     $380,020.93
                                Daily Earnings Credit                      December 22, 2019        $46.84     $379,974.08
                                Daily Earnings Credit                      December 21, 2019        $46.83     $379,927.24
                                Daily Earnings Credit                      December 20, 2019        $46.83     $379,880.41
                                Daily Earnings Credit                      December 19, 2019        $46.82     $379,833.58
                                Daily Earnings Credit                      December 18, 2019        $46.82     $379,786.75
                                Daily Earnings Credit                      December 17, 2019        $46.81     $379,739.94
                                Daily Earnings Credit                      December 16, 2019        $46.81     $379,693.12
                                Daily Earnings Credit                      December 15, 2019        $46.80     $379,646.32
                                Daily Earnings Credit                      December 14, 2019        $46.79     $379,599.52
                                Daily Earnings Credit                      December 13, 2019        $46.79     $379,552.72
                                Daily Earnings Credit                      December 12, 2019        $46.78     $379,505.94
                                Daily Earnings Credit                      December 11, 2019        $46.78     $379,459.15
                                Daily Earnings Credit                      December 10, 2019        $46.77     $379,412.38
                                Daily Earnings Credit                       December 9, 2019        $46.77     $379,365.61
                                Daily Earnings Credit                       December 8, 2019        $46.76     $379,318.84
                                Daily Earnings Credit                       December 7, 2019        $46.75     $379,272.08
                                Daily Earnings Credit                       December 6, 2019        $46.75     $379,225.33
                                Daily Earnings Credit                       December 5, 2019        $46.74     $379,178.58
                                Daily Earnings Credit                       December 4, 2019        $46.74     $379,131.84
                                Daily Earnings Credit                       December 3, 2019        $46.73     $379,085.10
                                Daily Earnings Credit                       December 2, 2019        $46.73     $379,038.37
                                Daily Earnings Credit                       December 1, 2019        $46.72     $378,991.64
                                Daily Earnings Credit                      November 30, 2019        $46.71     $378,944.93

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      November 29, 2019        $46.71     $378,898.21
                                Daily Earnings Credit                      November 28, 2019        $46.70     $378,851.50
                                Daily Earnings Credit                      November 27, 2019        $46.70     $378,804.80
                                Daily Earnings Credit                      November 26, 2019        $46.69     $378,758.11
                                Daily Earnings Credit                      November 25, 2019        $46.68     $378,711.42
                                Daily Earnings Credit                      November 24, 2019        $46.68     $378,664.73
                                Daily Earnings Credit                      November 23, 2019        $46.67     $378,618.05
                                Daily Earnings Credit                      November 22, 2019        $46.67     $378,571.38
                                Daily Earnings Credit                      November 21, 2019        $46.66     $378,524.71
                                Daily Earnings Credit                      November 20, 2019        $46.66     $378,478.05
                                Daily Earnings Credit                      November 19, 2019        $46.65     $378,431.39
                                Daily Earnings Credit                      November 18, 2019        $46.64     $378,384.74
                                Daily Earnings Credit                      November 17, 2019        $46.64     $378,338.10
                                Daily Earnings Credit                      November 16, 2019        $46.63     $378,291.46
                                Daily Earnings Credit                      November 15, 2019        $46.63     $378,244.83
                                Daily Earnings Credit                      November 14, 2019        $46.62     $378,198.20
                                Daily Earnings Credit                      November 13, 2019        $46.62     $378,151.58
                                Daily Earnings Credit                      November 12, 2019        $46.61     $378,104.96
                                Daily Earnings Credit                      November 11, 2019        $46.60     $378,058.35
                                Daily Earnings Credit                      November 10, 2019        $46.60     $378,011.75
                                Daily Earnings Credit                       November 9, 2019        $46.59     $377,965.15
                                Daily Earnings Credit                       November 8, 2019        $46.59     $377,918.56
                                Daily Earnings Credit                       November 7, 2019        $46.58     $377,871.97
                                Daily Earnings Credit                       November 6, 2019        $46.58     $377,825.39
                                Daily Earnings Credit                       November 5, 2019        $46.57     $377,778.81
                                Daily Earnings Credit                       November 4, 2019        $46.56     $377,732.24
                                Daily Earnings Credit                       November 3, 2019        $46.56     $377,685.68
                                Daily Earnings Credit                       November 2, 2019        $46.55     $377,639.12
                                Daily Earnings Credit                       November 1, 2019        $46.55     $377,592.57
                                Daily Earnings Credit                        October 31, 2019       $46.54     $377,546.02
                                Daily Earnings Credit                        October 30, 2019       $46.54     $377,499.48
                                Daily Earnings Credit                        October 29, 2019       $46.53     $377,452.95
                                Daily Earnings Credit                        October 28, 2019       $46.52     $377,406.42
                                Daily Earnings Credit                        October 27, 2019       $46.52     $377,359.89
                                Daily Earnings Credit                        October 26, 2019       $46.51     $377,313.37

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                    October 25, 2019        $46.51     $377,266.86
                                Daily Earnings Credit                    October 24, 2019        $46.50     $377,220.36
                                Daily Earnings Credit                    October 23, 2019        $46.50     $377,173.85
                                Daily Earnings Credit                    October 22, 2019        $46.49     $377,127.36
                                Daily Earnings Credit                    October 21, 2019        $46.48     $377,080.87
                                Daily Earnings Credit                    October 20, 2019        $46.48     $377,034.39
                                Daily Earnings Credit                    October 19, 2019        $46.47     $376,987.91
                                Daily Earnings Credit                    October 18, 2019        $46.47     $376,941.44
                                Daily Earnings Credit                    October 17, 2019        $46.46     $376,894.97
                                Daily Earnings Credit                    October 16, 2019        $46.46     $376,848.51
                                Daily Earnings Credit                    October 15, 2019        $46.45     $376,802.05
                                Daily Earnings Credit                    October 14, 2019        $46.44     $376,755.60
                                Daily Earnings Credit                    October 13, 2019        $46.44     $376,709.16
                                Daily Earnings Credit                    October 12, 2019        $46.43     $376,662.72
                                Daily Earnings Credit                    October 11, 2019        $46.43     $376,616.29
                                Daily Earnings Credit                    October 10, 2019        $46.42     $376,569.86
                                Daily Earnings Credit                      October 9, 2019       $46.41     $376,523.44
                                Daily Earnings Credit                      October 8, 2019       $46.41     $376,477.03
                                Daily Earnings Credit                      October 7, 2019       $46.40     $376,430.62
                                Daily Earnings Credit                      October 6, 2019       $46.40     $376,384.22
                                Daily Earnings Credit                      October 5, 2019       $46.39     $376,337.82
                                Daily Earnings Credit                      October 4, 2019       $46.39     $376,291.43
                                Daily Earnings Credit                      October 3, 2019       $46.38     $376,245.04
                                Daily Earnings Credit                      October 2, 2019       $46.37     $376,198.66
                                Daily Earnings Credit                      October 1, 2019       $46.37     $376,152.28
                                Daily Earnings Credit                  September 30, 2019        $46.36     $376,105.91
                                Daily Earnings Credit                  September 29, 2019        $46.36     $376,059.55
                                Daily Earnings Credit                  September 28, 2019        $46.35     $376,013.19
                                Daily Earnings Credit                  September 27, 2019        $46.35     $375,966.84
                                Daily Earnings Credit                  September 26, 2019        $46.34     $375,920.49
                                Daily Earnings Credit                  September 25, 2019        $46.33     $375,874.15
                                Daily Earnings Credit                  September 24, 2019        $46.33     $375,827.82
                                Daily Earnings Credit                  September 23, 2019        $46.32     $375,781.49
                                Daily Earnings Credit                  September 22, 2019        $46.32     $375,735.17
                                Daily Earnings Credit                  September 21, 2019        $46.31     $375,688.85

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        Transaction Type                              Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                 September 20, 2019       $46.31     $375,642.54
                                Daily Earnings Credit                 September 19, 2019       $46.30     $375,596.23
                                Daily Earnings Credit                 September 18, 2019       $46.29     $375,549.93
                                Daily Earnings Credit                 September 17, 2019       $46.29     $375,503.63
                                Daily Earnings Credit                 September 16, 2019       $46.28     $375,457.35
                                Daily Earnings Credit                 September 15, 2019       $46.28     $375,411.06
                                Daily Earnings Credit                 September 14, 2019       $46.27     $375,364.78
                                Daily Earnings Credit                 September 13, 2019       $46.27     $375,318.51
                                Daily Earnings Credit                 September 12, 2019       $46.26     $375,272.25
                                Daily Earnings Credit                 September 11, 2019       $46.26     $375,225.98
                                Daily Earnings Credit                 September 10, 2019       $46.25     $375,179.73
                                Daily Earnings Credit                  September 9, 2019       $46.24     $375,133.48
                                Daily Earnings Credit                  September 8, 2019       $46.24     $375,087.24
                                Daily Earnings Credit                  September 7, 2019       $46.23     $375,041.00
                                Daily Earnings Credit                  September 6, 2019       $46.23     $374,994.77
                                Daily Earnings Credit                  September 5, 2019       $46.22     $374,948.54
                                Daily Earnings Credit                  September 4, 2019       $46.22     $374,902.32
                                Daily Earnings Credit                  September 3, 2019       $46.21     $374,856.10
                                Daily Earnings Credit                  September 2, 2019       $46.20     $374,809.89
                                Daily Earnings Credit                  September 1, 2019       $46.20     $374,763.69
                                Daily Earnings Credit                    August 31, 2019       $46.19     $374,717.49
                                Daily Earnings Credit                    August 30, 2019       $46.19     $374,671.30
                                Daily Earnings Credit                    August 29, 2019       $46.18     $374,625.11
                                Daily Earnings Credit                    August 28, 2019       $46.18     $374,578.93
                                Daily Earnings Credit                    August 27, 2019       $46.17     $374,532.76
                                Daily Earnings Credit                    August 26, 2019       $46.16     $374,486.59
                                Daily Earnings Credit                    August 25, 2019       $46.16     $374,440.42
                                Daily Earnings Credit                    August 24, 2019       $46.15     $374,394.27
                                Daily Earnings Credit                    August 23, 2019       $46.15     $374,348.11
                                Daily Earnings Credit                    August 22, 2019       $46.14     $374,301.97
                                Daily Earnings Credit                    August 21, 2019       $46.14     $374,255.83
                                Daily Earnings Credit                    August 20, 2019       $46.13     $374,209.69
                                Daily Earnings Credit                    August 19, 2019       $46.12     $374,163.56
                                Daily Earnings Credit                    August 18, 2019       $46.12     $374,117.44
                                Daily Earnings Credit                    August 17, 2019       $46.11     $374,071.32

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      August 16, 2019       $46.11     $374,025.20
                                Daily Earnings Credit                      August 15, 2019       $46.10     $373,979.10
                                Daily Earnings Credit                      August 14, 2019       $46.10     $373,933.00
                                Daily Earnings Credit                      August 13, 2019       $46.09     $373,886.90
                                Daily Earnings Credit                      August 12, 2019       $46.08     $373,840.81
                                Daily Earnings Credit                      August 11, 2019       $46.08     $373,794.73
                                Daily Earnings Credit                      August 10, 2019       $46.07     $373,748.65
                                Daily Earnings Credit                       August 9, 2019       $46.07     $373,702.57
                                Daily Earnings Credit                       August 8, 2019       $46.06     $373,656.51
                                Daily Earnings Credit                       August 7, 2019       $46.06     $373,610.45
                                Daily Earnings Credit                       August 6, 2019       $46.05     $373,564.39
                                Daily Earnings Credit                       August 5, 2019       $46.04     $373,518.34
                                Daily Earnings Credit                       August 4, 2019       $46.04     $373,472.30
                                Daily Earnings Credit                       August 3, 2019       $46.03     $373,426.26
                                Daily Earnings Credit                       August 2, 2019       $46.03     $373,380.22
                                Daily Earnings Credit                       August 1, 2019       $46.02     $373,334.20
                                Daily Earnings Credit                        July 31, 2019       $46.02     $373,288.17
                                Daily Earnings Credit                        July 30, 2019       $46.01     $373,242.16
                                Daily Earnings Credit                        July 29, 2019       $46.00     $373,196.15
                                Daily Earnings Credit                        July 28, 2019       $46.00     $373,150.14
                                Daily Earnings Credit                        July 27, 2019       $45.99     $373,104.14
                                Daily Earnings Credit                        July 26, 2019       $45.99     $373,058.15
                                Daily Earnings Credit                        July 25, 2019       $45.98     $373,012.16
                                Daily Earnings Credit                        July 24, 2019       $45.98     $372,966.18
                                Daily Earnings Credit                        July 23, 2019       $45.97     $372,920.20
                                Daily Earnings Credit                        July 22, 2019       $45.97     $372,874.23
                                Daily Earnings Credit                        July 21, 2019       $45.96     $372,828.27
                                Daily Earnings Credit                        July 20, 2019       $45.95     $372,782.31
                                Daily Earnings Credit                        July 19, 2019       $45.95     $372,736.35
                                Daily Earnings Credit                        July 18, 2019       $45.94     $372,690.41
                                Daily Earnings Credit                        July 17, 2019       $45.94     $372,644.46
                                Daily Earnings Credit                        July 16, 2019       $45.93     $372,598.53
                                Daily Earnings Credit                        July 15, 2019       $45.93     $372,552.60
                                Daily Earnings Credit                        July 14, 2019       $45.92     $372,506.67
                                Daily Earnings Credit                        July 13, 2019       $45.91     $372,460.75

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       July 12, 2019       $45.91     $372,414.84
                                Daily Earnings Credit                       July 11, 2019       $45.90     $372,368.93
                                Daily Earnings Credit                       July 10, 2019       $45.90     $372,323.02
                                Daily Earnings Credit                        July 9, 2019       $45.89     $372,277.13
                                Daily Earnings Credit                        July 8, 2019       $45.89     $372,231.24
                                Daily Earnings Credit                        July 7, 2019       $45.88     $372,185.35
                                Daily Earnings Credit                        July 6, 2019       $45.87     $372,139.47
                                Daily Earnings Credit                        July 5, 2019       $45.87     $372,093.60
                                Daily Earnings Credit                        July 4, 2019       $45.86     $372,047.73
                                Daily Earnings Credit                        July 3, 2019       $45.86     $372,001.86
                                Daily Earnings Credit                        July 2, 2019       $45.85     $371,956.01
                                Daily Earnings Credit                        July 1, 2019       $45.85     $371,910.15
                                Daily Earnings Credit                      June 30, 2019        $45.84     $371,864.31
                                Daily Earnings Credit                      June 29, 2019        $45.83     $371,818.47
                                Daily Earnings Credit                      June 28, 2019        $45.83     $371,772.63
                                Daily Earnings Credit                      June 27, 2019        $45.82     $371,726.80
                                Daily Earnings Credit                      June 26, 2019        $45.82     $371,680.98
                                Daily Earnings Credit                      June 25, 2019        $45.81     $371,635.16
                                Daily Earnings Credit                      June 24, 2019        $45.81     $371,589.35
                                Daily Earnings Credit                      June 23, 2019        $45.80     $371,543.54
                                Daily Earnings Credit                      June 22, 2019        $45.80     $371,497.74
                                Daily Earnings Credit                      June 21, 2019        $45.79     $371,451.94
                                Daily Earnings Credit                      June 20, 2019        $45.78     $371,406.16
                                Daily Earnings Credit                      June 19, 2019        $45.78     $371,360.37
                                Daily Earnings Credit                      June 18, 2019        $45.77     $371,314.59
                                Daily Earnings Credit                      June 17, 2019        $45.77     $371,268.82
                                Daily Earnings Credit                      June 16, 2019        $45.76     $371,223.05
                                Daily Earnings Credit                      June 15, 2019        $45.76     $371,177.29
                                Daily Earnings Credit                      June 14, 2019        $45.75     $371,131.53
                                Daily Earnings Credit                      June 13, 2019        $45.74     $371,085.78
                                Daily Earnings Credit                      June 12, 2019        $45.74     $371,040.04
                                Daily Earnings Credit                      June 11, 2019        $45.73     $370,994.30
                                Daily Earnings Credit                      June 10, 2019        $45.73     $370,948.57
                                Daily Earnings Credit                       June 9, 2019        $45.72     $370,902.84
                                Daily Earnings Credit                       June 8, 2019        $45.72     $370,857.12

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        Transaction Type                                Transaction Date                      Amount    Ending Balance
                                Daily Earnings Credit                      June 7, 2019        $45.71     $370,811.40
                                Daily Earnings Credit                      June 6, 2019        $45.71     $370,765.69
                                Daily Earnings Credit                      June 5, 2019        $45.70     $370,719.98
                                Daily Earnings Credit                      June 4, 2019        $45.69     $370,674.29
                                Daily Earnings Credit                      June 3, 2019        $45.69     $370,628.59
                                Daily Earnings Credit                      June 2, 2019        $45.68     $370,582.90
                                Daily Earnings Credit                      June 1, 2019        $45.68     $370,537.22
                                Daily Earnings Credit                      May 31, 2019        $45.67     $370,491.54
                                Daily Earnings Credit                      May 30, 2019        $45.67     $370,445.87
                                Daily Earnings Credit                      May 29, 2019        $45.66     $370,400.21
                                Daily Earnings Credit                      May 28, 2019        $45.65     $370,354.55
                                Daily Earnings Credit                      May 27, 2019        $45.65     $370,308.89
                                Daily Earnings Credit                      May 26, 2019        $45.64     $370,263.24
                                Daily Earnings Credit                      May 25, 2019        $45.64     $370,217.60
                                Daily Earnings Credit                      May 24, 2019        $45.63     $370,171.96
                                Daily Earnings Credit                      May 23, 2019        $45.63     $370,126.33
                                Daily Earnings Credit                      May 22, 2019        $45.62     $370,080.70
                                Daily Earnings Credit                      May 21, 2019        $45.62     $370,035.08
                                Daily Earnings Credit                      May 20, 2019        $45.61     $369,989.47
                                Daily Earnings Credit                      May 19, 2019        $45.60     $369,943.86
                                Daily Earnings Credit                      May 18, 2019        $45.60     $369,898.25
                                Daily Earnings Credit                      May 17, 2019        $45.59     $369,852.66
                                Daily Earnings Credit                      May 16, 2019        $45.59     $369,807.06
                                Daily Earnings Credit                      May 15, 2019        $45.58     $369,761.48
                                Daily Earnings Credit                      May 14, 2019        $45.58     $369,715.89
                                Daily Earnings Credit                      May 13, 2019        $45.57     $369,670.32
                                Daily Earnings Credit                      May 12, 2019        $45.56     $369,624.75
                                Daily Earnings Credit                      May 11, 2019        $45.56     $369,579.18
                                Daily Earnings Credit                      May 10, 2019        $45.55     $369,533.62
                                Daily Earnings Credit                       May 9, 2019        $45.55     $369,488.07
                                Daily Earnings Credit                       May 8, 2019        $45.54     $369,442.52
                                Daily Earnings Credit                       May 7, 2019        $45.54     $369,396.98
                                Daily Earnings Credit                       May 6, 2019        $45.53     $369,351.45
                                Daily Earnings Credit                       May 5, 2019        $45.53     $369,305.91
                                Daily Earnings Credit                       May 4, 2019        $45.52     $369,260.39

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                        May 3, 2019         $45.51     $369,214.87
                                Daily Earnings Credit                        May 2, 2019         $45.51     $369,169.36
                                Daily Earnings Credit                        May 1, 2019         $45.50     $369,123.85
                                Daily Earnings Credit                       April 30, 2019       $45.50     $369,078.34
                                Daily Earnings Credit                       April 29, 2019       $45.49     $369,032.85
                                Daily Earnings Credit                       April 28, 2019       $45.49     $368,987.36
                                Daily Earnings Credit                       April 27, 2019       $45.48     $368,941.87
                                Daily Earnings Credit                       April 26, 2019       $45.47     $368,896.39
                                Daily Earnings Credit                       April 25, 2019       $45.47     $368,850.91
                                Daily Earnings Credit                       April 24, 2019       $45.46     $368,805.45
                                Daily Earnings Credit                       April 23, 2019       $45.46     $368,759.98
                                Daily Earnings Credit                       April 22, 2019       $45.45     $368,714.52
                                Daily Earnings Credit                       April 21, 2019       $45.45     $368,669.07
                                Daily Earnings Credit                       April 20, 2019       $45.44     $368,623.62
                                Daily Earnings Credit                       April 19, 2019       $45.44     $368,578.18
                                Daily Earnings Credit                       April 18, 2019       $45.43     $368,532.75
                                Daily Earnings Credit                       April 17, 2019       $45.42     $368,487.32
                                Daily Earnings Credit                       April 16, 2019       $45.42     $368,441.89
                                Daily Earnings Credit                       April 15, 2019       $45.41     $368,396.47
                                Daily Earnings Credit                       April 14, 2019       $45.41     $368,351.06
                                Daily Earnings Credit                       April 13, 2019       $45.40     $368,305.65
                                Daily Earnings Credit                       April 12, 2019       $45.40     $368,260.25
                                Daily Earnings Credit                       April 11, 2019       $45.39     $368,214.86
                                Daily Earnings Credit                       April 10, 2019       $45.39     $368,169.46
                                Daily Earnings Credit                        April 9, 2019       $45.38     $368,124.08
                                Daily Earnings Credit                        April 8, 2019       $45.37     $368,078.70
                                Daily Earnings Credit                        April 7, 2019       $45.37     $368,033.33
                                Daily Earnings Credit                        April 6, 2019       $45.36     $367,987.96
                                Daily Earnings Credit                        April 5, 2019       $45.36     $367,942.59
                                Daily Earnings Credit                        April 4, 2019       $45.35     $367,897.24
                                Daily Earnings Credit                        April 3, 2019       $45.35     $367,851.89
                                Daily Earnings Credit                        April 2, 2019       $45.34     $367,806.54
                                Daily Earnings Credit                        April 1, 2019       $45.33     $367,761.20
                                Daily Earnings Credit                      March 31, 2019        $45.33     $367,715.86
                                Daily Earnings Credit                      March 30, 2019        $45.32     $367,670.54

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                        March 29, 2019        $45.32     $367,625.21
                                Daily Earnings Credit                        March 28, 2019        $45.31     $367,579.89
                                Daily Earnings Credit                        March 27, 2019        $45.31     $367,534.58
                                Daily Earnings Credit                        March 26, 2019        $45.30     $367,489.27
                                Daily Earnings Credit                        March 25, 2019        $45.30     $367,443.97
                                Daily Earnings Credit                        March 24, 2019        $45.29     $367,398.68
                                Daily Earnings Credit                        March 23, 2019        $45.28     $367,353.39
                                Daily Earnings Credit                        March 22, 2019        $45.28     $367,308.10
                                Daily Earnings Credit                        March 21, 2019        $45.27     $367,262.82
                                Daily Earnings Credit                        March 20, 2019        $45.27     $367,217.55
                                Daily Earnings Credit                        March 19, 2019        $45.26     $367,172.28
                                Daily Earnings Credit                        March 18, 2019        $45.26     $367,127.02
                                Daily Earnings Credit                        March 17, 2019        $45.25     $367,081.76
                                Daily Earnings Credit                        March 16, 2019        $45.25     $367,036.51
                                Daily Earnings Credit                        March 15, 2019        $45.24     $366,991.27
                                Daily Earnings Credit                        March 14, 2019        $45.23     $366,946.03
                                Daily Earnings Credit                        March 13, 2019        $45.23     $366,900.79
                                Daily Earnings Credit                        March 12, 2019        $45.22     $366,855.56
                                Daily Earnings Credit                        March 11, 2019        $45.22     $366,810.34
                                Daily Earnings Credit                        March 10, 2019        $45.21     $366,765.12
                                Daily Earnings Credit                         March 9, 2019        $45.21     $366,719.91
                                Daily Earnings Credit                         March 8, 2019        $45.20     $366,674.70
                                Daily Earnings Credit                         March 7, 2019        $45.20     $366,629.50
                                Daily Earnings Credit                         March 6, 2019        $45.19     $366,584.31
                                Daily Earnings Credit                         March 5, 2019        $45.18     $366,539.12
                                Daily Earnings Credit                         March 4, 2019        $45.18     $366,493.93
                                Daily Earnings Credit                         March 3, 2019        $45.17     $366,448.76
                                Daily Earnings Credit                         March 2, 2019        $45.17     $366,403.58
                                Daily Earnings Credit                         March 1, 2019        $45.16     $366,358.42
                                Daily Earnings Credit                      February 28, 2019       $45.16     $366,313.25
                                Daily Earnings Credit                      February 27, 2019       $45.15     $366,268.10
                                Daily Earnings Credit                      February 26, 2019       $45.15     $366,222.95
                                Daily Earnings Credit                      February 25, 2019       $45.14     $366,177.80
                                Daily Earnings Credit                      February 24, 2019       $45.13     $366,132.66
                                Daily Earnings Credit                      February 23, 2019       $45.13     $366,087.53

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                      February 22, 2019       $45.12     $366,042.40
                                Daily Earnings Credit                      February 21, 2019       $45.12     $365,997.28
                                Daily Earnings Credit                      February 20, 2019       $45.11     $365,952.16
                                Daily Earnings Credit                      February 19, 2019       $45.11     $365,907.05
                                Daily Earnings Credit                      February 18, 2019       $45.10     $365,861.94
                                Daily Earnings Credit                      February 17, 2019       $45.10     $365,816.84
                                Daily Earnings Credit                      February 16, 2019       $45.09     $365,771.74
                                Daily Earnings Credit                      February 15, 2019       $45.08     $365,726.65
                                Daily Earnings Credit                      February 14, 2019       $45.08     $365,681.57
                                Daily Earnings Credit                      February 13, 2019       $45.07     $365,636.49
                                Daily Earnings Credit                      February 12, 2019       $45.07     $365,591.42
                                Daily Earnings Credit                      February 11, 2019       $45.06     $365,546.35
                                Daily Earnings Credit                      February 10, 2019       $45.06     $365,501.29
                                Daily Earnings Credit                       February 9, 2019       $45.05     $365,456.23
                                Daily Earnings Credit                       February 8, 2019       $45.05     $365,411.18
                                Daily Earnings Credit                       February 7, 2019       $45.04     $365,366.14
                                Daily Earnings Credit                       February 6, 2019       $45.03     $365,321.10
                                Daily Earnings Credit                       February 5, 2019       $45.03     $365,276.06
                                Daily Earnings Credit                       February 4, 2019       $45.02     $365,231.04
                                Daily Earnings Credit                       February 3, 2019       $45.02     $365,186.01
                                Daily Earnings Credit                       February 2, 2019       $45.01     $365,141.00
                                Daily Earnings Credit                       February 1, 2019       $45.01     $365,095.98
                                Daily Earnings Credit                       January 31, 2019       $45.00     $365,050.98
                                Daily Earnings Credit                       January 30, 2019       $45.00     $365,005.98
                                Daily Earnings Credit                       January 29, 2019       $44.99     $364,960.98
                                Daily Earnings Credit                       January 28, 2019       $44.98     $364,915.99
                                Daily Earnings Credit                       January 27, 2019       $44.98     $364,871.01
                                Daily Earnings Credit                       January 26, 2019       $44.97     $364,826.03
                                Daily Earnings Credit                       January 25, 2019       $44.97     $364,781.06
                                Daily Earnings Credit                       January 24, 2019       $44.96     $364,736.09
                                Daily Earnings Credit                       January 23, 2019       $44.96     $364,691.13
                                Daily Earnings Credit                       January 22, 2019       $44.95     $364,646.17
                                Daily Earnings Credit                       January 21, 2019       $44.95     $364,601.22
                                Daily Earnings Credit                       January 20, 2019       $44.94     $364,556.27
                                Daily Earnings Credit                       January 19, 2019       $44.93     $364,511.33

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                        January 18, 2019       $44.93     $364,466.40
                                Daily Earnings Credit                        January 17, 2019       $44.92     $364,421.47
                                Daily Earnings Credit                        January 16, 2019       $44.92     $364,376.55
                                Daily Earnings Credit                        January 15, 2019       $44.91     $364,331.63
                                Daily Earnings Credit                        January 14, 2019       $44.91     $364,286.72
                                Daily Earnings Credit                        January 13, 2019       $44.90     $364,241.81
                                Daily Earnings Credit                        January 12, 2019       $44.90     $364,196.91
                                Daily Earnings Credit                        January 11, 2019       $44.89     $364,152.02
                                Daily Earnings Credit                        January 10, 2019       $44.88     $364,107.13
                                Daily Earnings Credit                         January 9, 2019       $44.88     $364,062.24
                                Daily Earnings Credit                         January 8, 2019       $44.87     $364,017.36
                                Daily Earnings Credit                         January 7, 2019       $44.87     $363,972.49
                                Daily Earnings Credit                         January 6, 2019       $44.86     $363,927.62
                                Daily Earnings Credit                         January 5, 2019       $44.86     $363,882.76
                                Daily Earnings Credit                         January 4, 2019       $44.85     $363,837.90
                                Daily Earnings Credit                         January 3, 2019       $44.85     $363,793.05
                                Daily Earnings Credit                         January 2, 2019       $44.84     $363,748.21
                                Daily Earnings Credit                         January 1, 2019       $44.83     $363,703.37
                                Daily Earnings Credit                      December 31, 2018        $44.83     $363,658.53
                                Daily Earnings Credit                      December 30, 2018        $44.82     $363,613.70
                                Daily Earnings Credit                      December 29, 2018        $44.82     $363,568.88
                                Daily Earnings Credit                      December 28, 2018        $44.81     $363,524.06
                                Daily Earnings Credit                      December 27, 2018        $44.81     $363,479.25
                                Daily Earnings Credit                      December 26, 2018        $44.80     $363,434.44
                                Daily Earnings Credit                      December 25, 2018        $44.80     $363,389.64
                                Daily Earnings Credit                      December 24, 2018        $44.79     $363,344.84
                                Daily Earnings Credit                      December 23, 2018        $44.78     $363,300.05
                                Daily Earnings Credit                      December 22, 2018        $44.78     $363,255.27
                                Daily Earnings Credit                      December 21, 2018        $44.77     $363,210.49
                                Daily Earnings Credit                      December 20, 2018        $44.77     $363,165.71
                                Daily Earnings Credit                      December 19, 2018        $44.76     $363,120.95
                                Daily Earnings Credit                      December 18, 2018        $44.76     $363,076.18
                                Daily Earnings Credit                      December 17, 2018        $44.75     $363,031.43
                                Daily Earnings Credit                      December 16, 2018        $44.75     $362,986.67
                                Daily Earnings Credit                      December 15, 2018        $44.74     $362,941.93

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      December 14, 2018        $44.74     $362,897.19
                                Daily Earnings Credit                      December 13, 2018        $44.73     $362,852.45
                                Daily Earnings Credit                      December 12, 2018        $44.72     $362,807.72
                                Daily Earnings Credit                      December 11, 2018        $44.72     $362,763.00
                                Daily Earnings Credit                      December 10, 2018        $44.71     $362,718.28
                                Daily Earnings Credit                       December 9, 2018        $44.71     $362,673.57
                                Daily Earnings Credit                       December 8, 2018        $44.70     $362,628.86
                                Daily Earnings Credit                       December 7, 2018        $44.70     $362,584.16
                                Daily Earnings Credit                       December 6, 2018        $44.69     $362,539.46
                                Daily Earnings Credit                       December 5, 2018        $44.69     $362,494.77
                                Daily Earnings Credit                       December 4, 2018        $44.68     $362,450.08
                                Daily Earnings Credit                       December 3, 2018        $44.67     $362,405.40
                                Daily Earnings Credit                       December 2, 2018        $44.67     $362,360.73
                                Daily Earnings Credit                       December 1, 2018        $44.66     $362,316.06
                                Daily Earnings Credit                      November 30, 2018        $44.66     $362,271.40
                                Daily Earnings Credit                      November 29, 2018        $44.65     $362,226.74
                                Daily Earnings Credit                      November 28, 2018        $44.65     $362,182.08
                                Daily Earnings Credit                      November 27, 2018        $44.64     $362,137.44
                                Daily Earnings Credit                      November 26, 2018        $44.64     $362,092.80
                                Daily Earnings Credit                      November 25, 2018        $44.63     $362,048.16
                                Daily Earnings Credit                      November 24, 2018        $44.63     $362,003.53
                                Daily Earnings Credit                      November 23, 2018        $44.62     $361,958.90
                                Daily Earnings Credit                      November 22, 2018        $44.61     $361,914.28
                                Daily Earnings Credit                      November 21, 2018        $44.61     $361,869.67
                                Daily Earnings Credit                      November 20, 2018        $44.60     $361,825.06
                                Daily Earnings Credit                      November 19, 2018        $44.60     $361,780.46
                                Daily Earnings Credit                      November 18, 2018        $44.59     $361,735.86
                                Daily Earnings Credit                      November 17, 2018        $44.59     $361,691.27
                                Daily Earnings Credit                      November 16, 2018        $44.58     $361,646.68
                                Daily Earnings Credit                      November 15, 2018        $44.58     $361,602.10
                                Daily Earnings Credit                      November 14, 2018        $44.57     $361,557.53
                                Daily Earnings Credit                      November 13, 2018        $44.56     $361,512.96
                                Daily Earnings Credit                      November 12, 2018        $44.56     $361,468.39
                                Daily Earnings Credit                      November 11, 2018        $44.55     $361,423.83
                                Daily Earnings Credit                      November 10, 2018        $44.55     $361,379.28

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                      November 9, 2018        $44.54     $361,334.73
                                Daily Earnings Credit                      November 8, 2018        $44.54     $361,290.19
                                Daily Earnings Credit                      November 7, 2018        $44.53     $361,245.65
                                Daily Earnings Credit                      November 6, 2018        $44.53     $361,201.12
                                Daily Earnings Credit                      November 5, 2018        $44.52     $361,156.59
                                Daily Earnings Credit                      November 4, 2018        $44.52     $361,112.07
                                Daily Earnings Credit                      November 3, 2018        $44.51     $361,067.56
                                Daily Earnings Credit                      November 2, 2018        $44.50     $361,023.05
                                Daily Earnings Credit                      November 1, 2018        $44.50     $360,978.54
                                Daily Earnings Credit                       October 31, 2018       $44.49     $360,934.04
                                Daily Earnings Credit                       October 30, 2018       $44.49     $360,889.55
                                Daily Earnings Credit                       October 29, 2018       $44.48     $360,845.06
                                Daily Earnings Credit                       October 28, 2018       $44.48     $360,800.58
                                Daily Earnings Credit                       October 27, 2018       $44.47     $360,756.10
                                Daily Earnings Credit                       October 26, 2018       $44.47     $360,711.63
                                Daily Earnings Credit                       October 25, 2018       $44.46     $360,667.17
                                Daily Earnings Credit                       October 24, 2018       $44.45     $360,622.71
                                Daily Earnings Credit                       October 23, 2018       $44.45     $360,578.25
                                Daily Earnings Credit                       October 22, 2018       $44.44     $360,533.80
                                Daily Earnings Credit                       October 21, 2018       $44.44     $360,489.36
                                Daily Earnings Credit                       October 20, 2018       $44.43     $360,444.92
                                Daily Earnings Credit                       October 19, 2018       $44.43     $360,400.49
                                Daily Earnings Credit                       October 18, 2018       $44.42     $360,356.06
                                Daily Earnings Credit                       October 17, 2018       $44.42     $360,311.64
                                Daily Earnings Credit                       October 16, 2018       $44.41     $360,267.22
                                Daily Earnings Credit                       October 15, 2018       $44.41     $360,222.81
                                Daily Earnings Credit                       October 14, 2018       $44.40     $360,178.40
                                Daily Earnings Credit                       October 13, 2018       $44.39     $360,134.00
                                Daily Earnings Credit                       October 12, 2018       $44.39     $360,089.61
                                Daily Earnings Credit                       October 11, 2018       $44.38     $360,045.22
                                Daily Earnings Credit                       October 10, 2018       $44.38     $360,000.84
                                Daily Earnings Credit                        October 9, 2018       $44.37     $359,956.46
                                Daily Earnings Credit                        October 8, 2018       $44.37     $359,912.09
                                Daily Earnings Credit                        October 7, 2018       $44.36     $359,867.72
                                Daily Earnings Credit                        October 6, 2018       $44.36     $359,823.36

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      October 5, 2018       $44.35     $359,779.00
                                Daily Earnings Credit                      October 4, 2018       $44.35     $359,734.65
                                Daily Earnings Credit                      October 3, 2018       $44.34     $359,690.30
                                Daily Earnings Credit                      October 2, 2018       $44.33     $359,645.96
                                Daily Earnings Credit                      October 1, 2018       $44.33     $359,601.63
                                Daily Earnings Credit                  September 30, 2018        $44.32     $359,557.30
                                Daily Earnings Credit                  September 29, 2018        $44.32     $359,512.98
                                Daily Earnings Credit                  September 28, 2018        $44.31     $359,468.66
                                Daily Earnings Credit                  September 27, 2018        $44.31     $359,424.35
                                Daily Earnings Credit                  September 26, 2018        $44.30     $359,380.04
                                Daily Earnings Credit                  September 25, 2018        $44.30     $359,335.74
                                Daily Earnings Credit                  September 24, 2018        $44.29     $359,291.44
                                Daily Earnings Credit                  September 23, 2018        $44.29     $359,247.15
                                Daily Earnings Credit                  September 22, 2018        $44.28     $359,202.86
                                Daily Earnings Credit                  September 21, 2018        $44.27     $359,158.58
                                Daily Earnings Credit                  September 20, 2018        $44.27     $359,114.31
                                Daily Earnings Credit                  September 19, 2018        $44.26     $359,070.04
                                Daily Earnings Credit                  September 18, 2018        $44.26     $359,025.78
                                Daily Earnings Credit                  September 17, 2018        $44.25     $358,981.52
                                Daily Earnings Credit                  September 16, 2018        $44.25     $358,937.27
                                Daily Earnings Credit                  September 15, 2018        $44.24     $358,893.02
                                Daily Earnings Credit                  September 14, 2018        $44.24     $358,848.78
                                Daily Earnings Credit                  September 13, 2018        $44.23     $358,804.54
                                Daily Earnings Credit                  September 12, 2018        $44.23     $358,760.31
                                Daily Earnings Credit                  September 11, 2018        $44.22     $358,716.08
                                Daily Earnings Credit                  September 10, 2018        $44.21     $358,671.86
                                Daily Earnings Credit                   September 9, 2018        $44.21     $358,627.65
                                Daily Earnings Credit                   September 8, 2018        $44.20     $358,583.44
                                Daily Earnings Credit                   September 7, 2018        $44.20     $358,539.24
                                Daily Earnings Credit                   September 6, 2018        $44.19     $358,495.04
                                Daily Earnings Credit                   September 5, 2018        $44.19     $358,450.85
                                Daily Earnings Credit                   September 4, 2018        $44.18     $358,406.66
                                Daily Earnings Credit                   September 3, 2018        $44.18     $358,362.48
                                Daily Earnings Credit                   September 2, 2018        $44.17     $358,318.30
                                Daily Earnings Credit                   September 1, 2018        $44.17     $358,274.13

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      August 31, 2018       $44.16     $358,229.96
                                Daily Earnings Credit                      August 30, 2018       $44.15     $358,185.80
                                Daily Earnings Credit                      August 29, 2018       $44.15     $358,141.65
                                Daily Earnings Credit                      August 28, 2018       $44.14     $358,097.50
                                Daily Earnings Credit                      August 27, 2018       $44.14     $358,053.36
                                Daily Earnings Credit                      August 26, 2018       $44.13     $358,009.22
                                Daily Earnings Credit                      August 25, 2018       $44.13     $357,965.09
                                Daily Earnings Credit                      August 24, 2018       $44.12     $357,920.96
                                Daily Earnings Credit                      August 23, 2018       $44.12     $357,876.84
                                Daily Earnings Credit                      August 22, 2018       $44.11     $357,832.72
                                Daily Earnings Credit                      August 21, 2018       $44.11     $357,788.61
                                Daily Earnings Credit                      August 20, 2018       $44.10     $357,744.50
                                Daily Earnings Credit                      August 19, 2018       $44.09     $357,700.40
                                Daily Earnings Credit                      August 18, 2018       $44.09     $357,656.31
                                Daily Earnings Credit                      August 17, 2018       $44.08     $357,612.22
                                Daily Earnings Credit                      August 16, 2018       $44.08     $357,568.14
                                Daily Earnings Credit                      August 15, 2018       $44.07     $357,524.06
                                Daily Earnings Credit                      August 14, 2018       $44.07     $357,479.99
                                Daily Earnings Credit                      August 13, 2018       $44.06     $357,435.92
                                Daily Earnings Credit                      August 12, 2018       $44.06     $357,391.86
                                Daily Earnings Credit                      August 11, 2018       $44.05     $357,347.80
                                Daily Earnings Credit                      August 10, 2018       $44.05     $357,303.75
                                Daily Earnings Credit                       August 9, 2018       $44.04     $357,259.70
                                Daily Earnings Credit                       August 8, 2018       $44.03     $357,215.66
                                Daily Earnings Credit                       August 7, 2018       $44.03     $357,171.63
                                Daily Earnings Credit                       August 6, 2018       $44.02     $357,127.60
                                Daily Earnings Credit                       August 5, 2018       $44.02     $357,083.58
                                Daily Earnings Credit                       August 4, 2018       $44.01     $357,039.56
                                Daily Earnings Credit                       August 3, 2018       $44.01     $356,995.55
                                Daily Earnings Credit                       August 2, 2018       $44.00     $356,951.54
                                Daily Earnings Credit                       August 1, 2018       $44.00     $356,907.54
                                Daily Earnings Credit                        July 31, 2018       $43.99     $356,863.54
                                Daily Earnings Credit                        July 30, 2018       $43.99     $356,819.55
                                Daily Earnings Credit                        July 29, 2018       $43.98     $356,775.56
                                Daily Earnings Credit                        July 28, 2018       $43.98     $356,731.58

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       July 27, 2018       $43.97     $356,687.60
                                Daily Earnings Credit                       July 26, 2018       $43.96     $356,643.63
                                Daily Earnings Credit                       July 25, 2018       $43.96     $356,599.67
                                Daily Earnings Credit                       July 24, 2018       $43.95     $356,555.71
                                Daily Earnings Credit                       July 23, 2018       $43.95     $356,511.76
                                Daily Earnings Credit                       July 22, 2018       $43.94     $356,467.81
                                Daily Earnings Credit                       July 21, 2018       $43.94     $356,423.87
                                Daily Earnings Credit                       July 20, 2018       $43.93     $356,379.93
                                Daily Earnings Credit                       July 19, 2018       $43.93     $356,336.00
                                Daily Earnings Credit                       July 18, 2018       $43.92     $356,292.07
                                Daily Earnings Credit                       July 17, 2018       $43.92     $356,248.15
                                Daily Earnings Credit                       July 16, 2018       $43.91     $356,204.23
                                Daily Earnings Credit                       July 15, 2018       $43.90     $356,160.32
                                Daily Earnings Credit                       July 14, 2018       $43.90     $356,116.42
                                Daily Earnings Credit                       July 13, 2018       $43.89     $356,072.52
                                Daily Earnings Credit                       July 12, 2018       $43.89     $356,028.63
                                Daily Earnings Credit                       July 11, 2018       $43.88     $355,984.74
                                Daily Earnings Credit                       July 10, 2018       $43.88     $355,940.86
                                Daily Earnings Credit                        July 9, 2018       $43.87     $355,896.98
                                Daily Earnings Credit                        July 8, 2018       $43.87     $355,853.11
                                Daily Earnings Credit                        July 7, 2018       $43.86     $355,809.24
                                Daily Earnings Credit                        July 6, 2018       $43.86     $355,765.38
                                Daily Earnings Credit                        July 5, 2018       $43.85     $355,721.52
                                Daily Earnings Credit                        July 4, 2018       $43.85     $355,677.67
                                Daily Earnings Credit                        July 3, 2018       $43.84     $355,633.82
                                Daily Earnings Credit                        July 2, 2018       $43.83     $355,589.98
                                Daily Earnings Credit                        July 1, 2018       $43.83     $355,546.15
                                Daily Earnings Credit                      June 30, 2018        $43.82     $355,502.32
                                Daily Earnings Credit                      June 29, 2018        $43.82     $355,458.50
                                Daily Earnings Credit                      June 28, 2018        $43.81     $355,414.68
                                Daily Earnings Credit                      June 27, 2018        $43.81     $355,370.87
                                Daily Earnings Credit                      June 26, 2018        $43.80     $355,327.06
                                Daily Earnings Credit                      June 25, 2018        $43.80     $355,283.26
                                Daily Earnings Credit                      June 24, 2018        $43.79     $355,239.46
                                Daily Earnings Credit                      June 23, 2018        $43.79     $355,195.67

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        Transaction Type                                Transaction Date                      Amount    Ending Balance
                                Daily Earnings Credit                      June 22, 2018       $43.78     $355,151.88
                                Daily Earnings Credit                      June 21, 2018       $43.78     $355,108.10
                                Daily Earnings Credit                      June 20, 2018       $43.77     $355,064.32
                                Daily Earnings Credit                      June 19, 2018       $43.76     $355,020.55
                                Daily Earnings Credit                      June 18, 2018       $43.76     $354,976.79
                                Daily Earnings Credit                      June 17, 2018       $43.75     $354,933.03
                                Daily Earnings Credit                      June 16, 2018       $43.75     $354,889.28
                                Daily Earnings Credit                      June 15, 2018       $43.74     $354,845.53
                                Daily Earnings Credit                      June 14, 2018       $43.74     $354,801.79
                                Daily Earnings Credit                      June 13, 2018       $43.73     $354,758.05
                                Daily Earnings Credit                      June 12, 2018       $43.73     $354,714.32
                                Daily Earnings Credit                      June 11, 2018       $43.72     $354,670.59
                                Daily Earnings Credit                      June 10, 2018       $43.72     $354,626.87
                                Daily Earnings Credit                       June 9, 2018       $43.71     $354,583.15
                                Daily Earnings Credit                       June 8, 2018       $43.71     $354,539.44
                                Daily Earnings Credit                       June 7, 2018       $43.70     $354,495.73
                                Daily Earnings Credit                       June 6, 2018       $43.69     $354,452.03
                                Daily Earnings Credit                       June 5, 2018       $43.69     $354,408.34
                                Daily Earnings Credit                       June 4, 2018       $43.68     $354,364.65
                                Daily Earnings Credit                       June 3, 2018       $43.68     $354,320.97
                                Daily Earnings Credit                       June 2, 2018       $43.67     $354,277.29
                                Daily Earnings Credit                       June 1, 2018       $43.67     $354,233.62
                                Daily Earnings Credit                       May 31, 2018       $43.66     $354,189.95
                                Daily Earnings Credit                       May 30, 2018       $43.66     $354,146.29
                                Daily Earnings Credit                       May 29, 2018       $43.65     $354,102.63
                                Daily Earnings Credit                       May 28, 2018       $43.65     $354,058.98
                                Daily Earnings Credit                       May 27, 2018       $43.64     $354,015.33
                                Daily Earnings Credit                       May 26, 2018       $43.64     $353,971.69
                                Daily Earnings Credit                       May 25, 2018       $43.63     $353,928.05
                                Daily Earnings Credit                       May 24, 2018       $43.62     $353,884.42
                                Daily Earnings Credit                       May 23, 2018       $43.62     $353,840.80
                                Daily Earnings Credit                       May 22, 2018       $43.61     $353,797.18
                                Daily Earnings Credit                       May 21, 2018       $43.61     $353,753.57
                                Daily Earnings Credit                       May 20, 2018       $43.60     $353,709.96
                                Daily Earnings Credit                       May 19, 2018       $43.60     $353,666.36

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                      May 18, 2018         $43.59     $353,622.76
                                Daily Earnings Credit                      May 17, 2018         $43.59     $353,579.17
                                Daily Earnings Credit                      May 16, 2018         $43.58     $353,535.58
                                Daily Earnings Credit                      May 15, 2018         $43.58     $353,492.00
                                Daily Earnings Credit                      May 14, 2018         $43.57     $353,448.42
                                Daily Earnings Credit                      May 13, 2018         $43.57     $353,404.85
                                Daily Earnings Credit                      May 12, 2018         $43.56     $353,361.28
                                Daily Earnings Credit                      May 11, 2018         $43.55     $353,317.72
                                Daily Earnings Credit                      May 10, 2018         $43.55     $353,274.17
                                Daily Earnings Credit                       May 9, 2018         $43.54     $353,230.62
                                Daily Earnings Credit                       May 8, 2018         $43.54     $353,187.08
                                Daily Earnings Credit                       May 7, 2018         $43.53     $353,143.54
                                Daily Earnings Credit                       May 6, 2018         $43.53     $353,100.01
                                Daily Earnings Credit                       May 5, 2018         $43.52     $353,056.48
                                Daily Earnings Credit                       May 4, 2018         $43.52     $353,012.96
                                Daily Earnings Credit                       May 3, 2018         $43.51     $352,969.44
                                Daily Earnings Credit                       May 2, 2018         $43.51     $352,925.93
                                Daily Earnings Credit                       May 1, 2018         $43.50     $352,882.42
                                Daily Earnings Credit                      April 30, 2018       $43.50     $352,838.92
                                Daily Earnings Credit                      April 29, 2018       $43.49     $352,795.42
                                Daily Earnings Credit                      April 28, 2018       $43.48     $352,751.93
                                Daily Earnings Credit                      April 27, 2018       $43.48     $352,708.45
                                Daily Earnings Credit                      April 26, 2018       $43.47     $352,664.97
                                Daily Earnings Credit                      April 25, 2018       $43.47     $352,621.50
                                Daily Earnings Credit                      April 24, 2018       $43.46     $352,578.03
                                Daily Earnings Credit                      April 23, 2018       $43.46     $352,534.57
                                Daily Earnings Credit                      April 22, 2018       $43.45     $352,491.11
                                Daily Earnings Credit                      April 21, 2018       $43.45     $352,447.66
                                Daily Earnings Credit                      April 20, 2018       $43.44     $352,404.21
                                Daily Earnings Credit                      April 19, 2018       $43.44     $352,360.77
                                Daily Earnings Credit                      April 18, 2018       $43.43     $352,317.33
                                Daily Earnings Credit                      April 17, 2018       $43.43     $352,273.90
                                Daily Earnings Credit                      April 16, 2018       $43.42     $352,230.47
                                Daily Earnings Credit                      April 15, 2018       $43.42     $352,187.05
                                Daily Earnings Credit                      April 14, 2018       $43.41     $352,143.63

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                       April 13, 2018       $43.40     $352,100.22
                                Daily Earnings Credit                       April 12, 2018       $43.40     $352,056.82
                                Daily Earnings Credit                       April 11, 2018       $43.39     $352,013.42
                                Daily Earnings Credit                       April 10, 2018       $43.39     $351,970.03
                                Daily Earnings Credit                        April 9, 2018       $43.38     $351,926.64
                                Daily Earnings Credit                        April 8, 2018       $43.38     $351,883.26
                                Daily Earnings Credit                        April 7, 2018       $43.37     $351,839.88
                                Daily Earnings Credit                        April 6, 2018       $43.37     $351,796.51
                                Daily Earnings Credit                        April 5, 2018       $43.36     $351,753.14
                                Daily Earnings Credit                        April 4, 2018       $43.36     $351,709.78
                                Daily Earnings Credit                        April 3, 2018       $43.35     $351,666.42
                                Daily Earnings Credit                        April 2, 2018       $43.35     $351,623.07
                                Daily Earnings Credit                        April 1, 2018       $43.34     $351,579.72
                                Daily Earnings Credit                      March 31, 2018        $43.33     $351,536.38
                                Daily Earnings Credit                      March 30, 2018        $43.33     $351,493.05
                                Daily Earnings Credit                      March 29, 2018        $43.32     $351,449.72
                                Daily Earnings Credit                      March 28, 2018        $43.32     $351,406.40
                                Daily Earnings Credit                      March 27, 2018        $43.31     $351,363.08
                                Daily Earnings Credit                      March 26, 2018        $43.31     $351,319.77
                                Daily Earnings Credit                      March 25, 2018        $43.30     $351,276.46
                                Daily Earnings Credit                      March 24, 2018        $43.30     $351,233.16
                                Daily Earnings Credit                      March 23, 2018        $43.29     $351,189.86
                                Daily Earnings Credit                      March 22, 2018        $43.29     $351,146.57
                                Daily Earnings Credit                      March 21, 2018        $43.28     $351,103.28
                                Daily Earnings Credit                      March 20, 2018        $43.28     $351,060.00
                                Daily Earnings Credit                      March 19, 2018        $43.27     $351,016.72
                                Daily Earnings Credit                      March 18, 2018        $43.27     $350,973.45
                                Daily Earnings Credit                      March 17, 2018        $43.26     $350,930.18
                                Daily Earnings Credit                      March 16, 2018        $43.25     $350,886.92
                                Daily Earnings Credit                      March 15, 2018        $43.25     $350,843.67
                                Daily Earnings Credit                      March 14, 2018        $43.24     $350,800.42
                                Daily Earnings Credit                      March 13, 2018        $43.24     $350,757.18
                                Daily Earnings Credit                      March 12, 2018        $43.23     $350,713.94
                                Daily Earnings Credit                      March 11, 2018        $43.23     $350,670.71
                                Daily Earnings Credit                      March 10, 2018        $43.22     $350,627.48

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                         March 9, 2018        $43.22     $350,584.26
                                Daily Earnings Credit                         March 8, 2018        $43.21     $350,541.04
                                Daily Earnings Credit                         March 7, 2018        $43.21     $350,497.83
                                Daily Earnings Credit                         March 6, 2018        $43.20     $350,454.62
                                Daily Earnings Credit                         March 5, 2018        $43.20     $350,411.42
                                Daily Earnings Credit                         March 4, 2018        $43.19     $350,368.22
                                Daily Earnings Credit                         March 3, 2018        $43.19     $350,325.03
                                Daily Earnings Credit                         March 2, 2018        $43.18     $350,281.84
                                Daily Earnings Credit                         March 1, 2018        $43.17     $350,238.66
                                Daily Earnings Credit                      February 28, 2018       $43.17     $350,195.49
                                Daily Earnings Credit                      February 27, 2018       $43.16     $350,152.32
                                Daily Earnings Credit                      February 26, 2018       $43.16     $350,109.16
                                Daily Earnings Credit                      February 25, 2018       $43.15     $350,066.00
                                Daily Earnings Credit                      February 24, 2018       $43.15     $350,022.85
                                Daily Earnings Credit                      February 23, 2018       $43.14     $349,979.70
                                Daily Earnings Credit                      February 22, 2018       $43.14     $349,936.56
                                Daily Earnings Credit                      February 21, 2018       $43.13     $349,893.42
                                Daily Earnings Credit                      February 20, 2018       $43.13     $349,850.29
                                Daily Earnings Credit                      February 19, 2018       $43.12     $349,807.16
                                Daily Earnings Credit                      February 18, 2018       $43.12     $349,764.04
                                Daily Earnings Credit                      February 17, 2018       $43.11     $349,720.92
                                Daily Earnings Credit                      February 16, 2018       $43.11     $349,677.81
                                Daily Earnings Credit                      February 15, 2018       $43.10     $349,634.70
                                Daily Earnings Credit                      February 14, 2018       $43.10     $349,591.60
                                Daily Earnings Credit                      February 13, 2018       $43.09     $349,548.50
                                Daily Earnings Credit                      February 12, 2018       $43.08     $349,505.41
                                Daily Earnings Credit                      February 11, 2018       $43.08     $349,462.33
                                Daily Earnings Credit                      February 10, 2018       $43.07     $349,419.25
                                Daily Earnings Credit                       February 9, 2018       $43.07     $349,376.18
                                Daily Earnings Credit                       February 8, 2018       $43.06     $349,333.11
                                Daily Earnings Credit                       February 7, 2018       $43.06     $349,290.05
                                Daily Earnings Credit                       February 6, 2018       $43.05     $349,246.99
                                Daily Earnings Credit                       February 5, 2018       $43.05     $349,203.94
                                Daily Earnings Credit                       February 4, 2018       $43.04     $349,160.89
                                Daily Earnings Credit                       February 3, 2018       $43.04     $349,117.85

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                        February 2, 2018       $43.03     $349,074.81
                                Daily Earnings Credit                        February 1, 2018       $43.03     $349,031.78
                                Daily Earnings Credit                        January 31, 2018       $43.02     $348,988.75
                                Daily Earnings Credit                        January 30, 2018       $43.02     $348,945.73
                                Daily Earnings Credit                        January 29, 2018       $43.01     $348,902.71
                                Daily Earnings Credit                        January 28, 2018       $43.00     $348,859.70
                                Daily Earnings Credit                        January 27, 2018       $43.00     $348,816.70
                                Daily Earnings Credit                        January 26, 2018       $42.99     $348,773.70
                                Daily Earnings Credit                        January 25, 2018       $42.99     $348,730.71
                                Daily Earnings Credit                        January 24, 2018       $42.98     $348,687.72
                                Daily Earnings Credit                        January 23, 2018       $42.98     $348,644.74
                                Daily Earnings Credit                        January 22, 2018       $42.97     $348,601.76
                                Daily Earnings Credit                        January 21, 2018       $42.97     $348,558.79
                                Daily Earnings Credit                        January 20, 2018       $42.96     $348,515.82
                                Daily Earnings Credit                        January 19, 2018       $42.96     $348,472.86
                                Daily Earnings Credit                        January 18, 2018       $42.95     $348,429.90
                                Daily Earnings Credit                        January 17, 2018       $42.95     $348,386.95
                                Daily Earnings Credit                        January 16, 2018       $42.94     $348,344.00
                                Daily Earnings Credit                        January 15, 2018       $42.94     $348,301.06
                                Daily Earnings Credit                        January 14, 2018       $42.93     $348,258.12
                                Daily Earnings Credit                        January 13, 2018       $42.93     $348,215.19
                                Daily Earnings Credit                        January 12, 2018       $42.92     $348,172.26
                                Daily Earnings Credit                        January 11, 2018       $42.91     $348,129.34
                                Daily Earnings Credit                        January 10, 2018       $42.91     $348,086.43
                                Daily Earnings Credit                         January 9, 2018       $42.90     $348,043.52
                                Daily Earnings Credit                         January 8, 2018       $42.90     $348,000.62
                                Daily Earnings Credit                         January 7, 2018       $42.89     $347,957.72
                                Daily Earnings Credit                         January 6, 2018       $42.89     $347,914.83
                                Daily Earnings Credit                         January 5, 2018       $42.88     $347,871.94
                                Daily Earnings Credit                         January 4, 2018       $42.88     $347,829.06
                                Daily Earnings Credit                         January 3, 2018       $42.87     $347,786.18
                                Daily Earnings Credit                         January 2, 2018       $42.87     $347,743.31
                                Daily Earnings Credit                         January 1, 2018       $42.86     $347,700.44
                                Daily Earnings Credit                      December 31, 2017        $42.86     $347,657.58
                                Daily Earnings Credit                      December 30, 2017        $42.85     $347,614.72

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      December 29, 2017        $42.85     $347,571.87
                                Daily Earnings Credit                      December 28, 2017        $42.84     $347,529.02
                                Daily Earnings Credit                      December 27, 2017        $42.84     $347,486.18
                                Daily Earnings Credit                      December 26, 2017        $42.83     $347,443.34
                                Daily Earnings Credit                      December 25, 2017        $42.83     $347,400.51
                                Daily Earnings Credit                      December 24, 2017        $42.82     $347,357.68
                                Daily Earnings Credit                      December 23, 2017        $42.81     $347,314.86
                                Daily Earnings Credit                      December 22, 2017        $42.81     $347,272.05
                                Daily Earnings Credit                      December 21, 2017        $42.80     $347,229.24
                                Daily Earnings Credit                      December 20, 2017        $42.80     $347,186.44
                                Daily Earnings Credit                      December 19, 2017        $42.79     $347,143.64
                                Daily Earnings Credit                      December 18, 2017        $42.79     $347,100.85
                                Daily Earnings Credit                      December 17, 2017        $42.78     $347,058.06
                                Daily Earnings Credit                      December 16, 2017        $42.78     $347,015.28
                                Daily Earnings Credit                      December 15, 2017        $42.77     $346,972.50
                                Daily Earnings Credit                      December 14, 2017        $42.77     $346,929.73
                                Daily Earnings Credit                      December 13, 2017        $42.76     $346,886.96
                                Daily Earnings Credit                      December 12, 2017        $42.76     $346,844.20
                                Daily Earnings Credit                      December 11, 2017        $42.75     $346,801.44
                                Daily Earnings Credit                      December 10, 2017        $42.75     $346,758.69
                                Daily Earnings Credit                       December 9, 2017        $42.74     $346,715.94
                                Daily Earnings Credit                       December 8, 2017        $42.74     $346,673.20
                                Daily Earnings Credit                       December 7, 2017        $42.73     $346,630.46
                                Daily Earnings Credit                       December 6, 2017        $42.72     $346,587.73
                                Daily Earnings Credit                       December 5, 2017        $42.72     $346,545.01
                                Daily Earnings Credit                       December 4, 2017        $42.71     $346,502.29
                                Daily Earnings Credit                       December 3, 2017        $42.71     $346,459.58
                                Daily Earnings Credit                       December 2, 2017        $42.70     $346,416.87
                                Daily Earnings Credit                       December 1, 2017        $42.70     $346,374.17
                                Daily Earnings Credit                      November 30, 2017        $42.69     $346,331.47
                                Daily Earnings Credit                      November 29, 2017        $42.69     $346,288.78
                                Daily Earnings Credit                      November 28, 2017        $42.68     $346,246.09
                                Daily Earnings Credit                      November 27, 2017        $42.68     $346,203.41
                                Daily Earnings Credit                      November 26, 2017        $42.67     $346,160.73
                                Daily Earnings Credit                      November 25, 2017        $42.67     $346,118.06

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      November 24, 2017        $42.66     $346,075.39
                                Daily Earnings Credit                      November 23, 2017        $42.66     $346,032.73
                                Daily Earnings Credit                      November 22, 2017        $42.65     $345,990.07
                                Daily Earnings Credit                      November 21, 2017        $42.65     $345,947.42
                                Daily Earnings Credit                      November 20, 2017        $42.64     $345,904.77
                                Daily Earnings Credit                      November 19, 2017        $42.64     $345,862.13
                                Daily Earnings Credit                      November 18, 2017        $42.63     $345,819.49
                                Daily Earnings Credit                      November 17, 2017        $42.62     $345,776.86
                                Daily Earnings Credit                      November 16, 2017        $42.62     $345,734.24
                                Daily Earnings Credit                      November 15, 2017        $42.61     $345,691.62
                                Daily Earnings Credit                      November 14, 2017        $42.61     $345,649.01
                                Daily Earnings Credit                      November 13, 2017        $42.60     $345,606.40
                                Daily Earnings Credit                      November 12, 2017        $42.60     $345,563.80
                                Daily Earnings Credit                      November 11, 2017        $42.59     $345,521.20
                                Daily Earnings Credit                      November 10, 2017        $42.59     $345,478.61
                                Daily Earnings Credit                       November 9, 2017        $42.58     $345,436.02
                                Daily Earnings Credit                       November 8, 2017        $42.58     $345,393.44
                                Daily Earnings Credit                       November 7, 2017        $42.57     $345,350.86
                                Daily Earnings Credit                       November 6, 2017        $42.57     $345,308.29
                                Daily Earnings Credit                       November 5, 2017        $42.56     $345,265.72
                                Daily Earnings Credit                       November 4, 2017        $42.56     $345,223.16
                                Daily Earnings Credit                       November 3, 2017        $42.55     $345,180.60
                                Daily Earnings Credit                       November 2, 2017        $42.55     $345,138.05
                                Daily Earnings Credit                       November 1, 2017        $42.54     $345,095.50
                                Daily Earnings Credit                        October 31, 2017       $42.54     $345,052.96
                                Daily Earnings Credit                        October 30, 2017       $42.53     $345,010.42
                                Daily Earnings Credit                        October 29, 2017       $42.53     $344,967.89
                                Daily Earnings Credit                        October 28, 2017       $42.52     $344,925.36
                                Daily Earnings Credit                        October 27, 2017       $42.51     $344,882.84
                                Daily Earnings Credit                        October 26, 2017       $42.51     $344,840.33
                                Daily Earnings Credit                        October 25, 2017       $42.50     $344,797.82
                                Daily Earnings Credit                        October 24, 2017       $42.50     $344,755.32
                                Daily Earnings Credit                        October 23, 2017       $42.49     $344,712.82
                                Daily Earnings Credit                        October 22, 2017       $42.49     $344,670.33
                                Daily Earnings Credit                        October 21, 2017       $42.48     $344,627.84

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                    October 20, 2017        $42.48     $344,585.36
                                Daily Earnings Credit                    October 19, 2017        $42.47     $344,542.88
                                Daily Earnings Credit                    October 18, 2017        $42.47     $344,500.41
                                Daily Earnings Credit                    October 17, 2017        $42.46     $344,457.94
                                Daily Earnings Credit                    October 16, 2017        $42.46     $344,415.48
                                Daily Earnings Credit                    October 15, 2017        $42.45     $344,373.02
                                Daily Earnings Credit                    October 14, 2017        $42.45     $344,330.57
                                Daily Earnings Credit                    October 13, 2017        $42.44     $344,288.12
                                Daily Earnings Credit                    October 12, 2017        $42.44     $344,245.68
                                Daily Earnings Credit                    October 11, 2017        $42.43     $344,203.24
                                Daily Earnings Credit                    October 10, 2017        $42.43     $344,160.81
                                Daily Earnings Credit                      October 9, 2017       $42.42     $344,118.38
                                Daily Earnings Credit                      October 8, 2017       $42.42     $344,075.96
                                Daily Earnings Credit                      October 7, 2017       $42.41     $344,033.54
                                Daily Earnings Credit                      October 6, 2017       $42.40     $343,991.13
                                Daily Earnings Credit                      October 5, 2017       $42.40     $343,948.73
                                Daily Earnings Credit                      October 4, 2017       $42.39     $343,906.33
                                Daily Earnings Credit                      October 3, 2017       $42.39     $343,863.94
                                Daily Earnings Credit                      October 2, 2017       $42.38     $343,821.55
                                Daily Earnings Credit                      October 1, 2017       $42.38     $343,779.17
                                Daily Earnings Credit                  September 30, 2017        $42.37     $343,736.79
                                Daily Earnings Credit                  September 29, 2017        $42.37     $343,694.42
                                Daily Earnings Credit                  September 28, 2017        $42.36     $343,652.05
                                Daily Earnings Credit                  September 27, 2017        $42.36     $343,609.69
                                Daily Earnings Credit                  September 26, 2017        $42.35     $343,567.33
                                Daily Earnings Credit                  September 25, 2017        $42.35     $343,524.98
                                Daily Earnings Credit                  September 24, 2017        $42.34     $343,482.63
                                Daily Earnings Credit                  September 23, 2017        $42.34     $343,440.29
                                Daily Earnings Credit                  September 22, 2017        $42.33     $343,397.95
                                Daily Earnings Credit                  September 21, 2017        $42.33     $343,355.62
                                Daily Earnings Credit                  September 20, 2017        $42.32     $343,313.29
                                Daily Earnings Credit                  September 19, 2017        $42.32     $343,270.97
                                Daily Earnings Credit                  September 18, 2017        $42.31     $343,228.65
                                Daily Earnings Credit                  September 17, 2017        $42.31     $343,186.34
                                Daily Earnings Credit                  September 16, 2017        $42.30     $343,144.03

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        Transaction Type                              Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                 September 15, 2017       $42.30     $343,101.73
                                Daily Earnings Credit                 September 14, 2017       $42.29     $343,059.43
                                Daily Earnings Credit                 September 13, 2017       $42.28     $343,017.14
                                Daily Earnings Credit                 September 12, 2017       $42.28     $342,974.86
                                Daily Earnings Credit                 September 11, 2017       $42.27     $342,932.58
                                Daily Earnings Credit                 September 10, 2017       $42.27     $342,890.31
                                Daily Earnings Credit                  September 9, 2017       $42.26     $342,848.04
                                Daily Earnings Credit                  September 8, 2017       $42.26     $342,805.78
                                Daily Earnings Credit                  September 7, 2017       $42.25     $342,763.52
                                Daily Earnings Credit                  September 6, 2017       $42.25     $342,721.27
                                Daily Earnings Credit                  September 5, 2017       $42.24     $342,679.02
                                Daily Earnings Credit                  September 4, 2017       $42.24     $342,636.78
                                Daily Earnings Credit                  September 3, 2017       $42.23     $342,594.54
                                Daily Earnings Credit                  September 2, 2017       $42.23     $342,552.31
                                Daily Earnings Credit                  September 1, 2017       $42.22     $342,510.08
                                Daily Earnings Credit                    August 31, 2017       $42.22     $342,467.86
                                Daily Earnings Credit                    August 30, 2017       $42.21     $342,425.64
                                Daily Earnings Credit                    August 29, 2017       $42.21     $342,383.43
                                Daily Earnings Credit                    August 28, 2017       $42.20     $342,341.22
                                Daily Earnings Credit                    August 27, 2017       $42.20     $342,299.02
                                Daily Earnings Credit                    August 26, 2017       $42.19     $342,256.82
                                Daily Earnings Credit                    August 25, 2017       $42.19     $342,214.63
                                Daily Earnings Credit                    August 24, 2017       $42.18     $342,172.44
                                Daily Earnings Credit                    August 23, 2017       $42.18     $342,130.26
                                Daily Earnings Credit                    August 22, 2017       $42.17     $342,088.08
                                Daily Earnings Credit                    August 21, 2017       $42.16     $342,045.91
                                Daily Earnings Credit                    August 20, 2017       $42.16     $342,003.75
                                Daily Earnings Credit                    August 19, 2017       $42.15     $341,961.59
                                Daily Earnings Credit                    August 18, 2017       $42.15     $341,919.44
                                Daily Earnings Credit                    August 17, 2017       $42.14     $341,877.29
                                Daily Earnings Credit                    August 16, 2017       $42.14     $341,835.15
                                Daily Earnings Credit                    August 15, 2017       $42.13     $341,793.01
                                Daily Earnings Credit                    August 14, 2017       $42.13     $341,750.88
                                Daily Earnings Credit                    August 13, 2017       $42.12     $341,708.75
                                Daily Earnings Credit                    August 12, 2017       $42.12     $341,666.63

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      August 11, 2017       $42.11     $341,624.51
                                Daily Earnings Credit                      August 10, 2017       $42.11     $341,582.40
                                Daily Earnings Credit                       August 9, 2017       $42.10     $341,540.29
                                Daily Earnings Credit                       August 8, 2017       $42.10     $341,498.19
                                Daily Earnings Credit                       August 7, 2017       $42.09     $341,456.09
                                Daily Earnings Credit                       August 6, 2017       $42.09     $341,414.00
                                Daily Earnings Credit                       August 5, 2017       $42.08     $341,371.91
                                Daily Earnings Credit                       August 4, 2017       $42.08     $341,329.83
                                Daily Earnings Credit                       August 3, 2017       $42.07     $341,287.75
                                Daily Earnings Credit                       August 2, 2017       $42.07     $341,245.68
                                Daily Earnings Credit                       August 1, 2017       $42.06     $341,203.61
                                Daily Earnings Credit                        July 31, 2017       $42.06     $341,161.55
                                Daily Earnings Credit                        July 30, 2017       $42.05     $341,119.49
                                Daily Earnings Credit                        July 29, 2017       $42.05     $341,077.44
                                Daily Earnings Credit                        July 28, 2017       $42.04     $341,035.39
                                Daily Earnings Credit                        July 27, 2017       $42.04     $340,993.35
                                Daily Earnings Credit                        July 26, 2017       $42.03     $340,951.31
                                Daily Earnings Credit                        July 25, 2017       $42.02     $340,909.28
                                Daily Earnings Credit                        July 24, 2017       $42.02     $340,867.26
                                Daily Earnings Credit                        July 23, 2017       $42.01     $340,825.24
                                Daily Earnings Credit                        July 22, 2017       $42.01     $340,783.23
                                Daily Earnings Credit                        July 21, 2017       $42.00     $340,741.22
                                Daily Earnings Credit                        July 20, 2017       $42.00     $340,699.22
                                Daily Earnings Credit                        July 19, 2017       $41.99     $340,657.22
                                Daily Earnings Credit                        July 18, 2017       $41.99     $340,615.23
                                Daily Earnings Credit                        July 17, 2017       $41.98     $340,573.24
                                Daily Earnings Credit                        July 16, 2017       $41.98     $340,531.26
                                Daily Earnings Credit                        July 15, 2017       $41.97     $340,489.28
                                Daily Earnings Credit                        July 14, 2017       $41.97     $340,447.31
                                Daily Earnings Credit                        July 13, 2017       $41.96     $340,405.34
                                Daily Earnings Credit                        July 12, 2017       $41.96     $340,363.38
                                Daily Earnings Credit                        July 11, 2017       $41.95     $340,321.42
                                Daily Earnings Credit                        July 10, 2017       $41.95     $340,279.47
                                Daily Earnings Credit                         July 9, 2017       $41.94     $340,237.52
                                Daily Earnings Credit                         July 8, 2017       $41.94     $340,195.58

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                        July 7, 2017       $41.93     $340,153.64
                                Daily Earnings Credit                        July 6, 2017       $41.93     $340,111.71
                                Daily Earnings Credit                        July 5, 2017       $41.92     $340,069.78
                                Daily Earnings Credit                        July 4, 2017       $41.92     $340,027.86
                                Daily Earnings Credit                        July 3, 2017       $41.91     $339,985.94
                                Daily Earnings Credit                        July 2, 2017       $41.91     $339,944.03
                                Daily Earnings Credit                        July 1, 2017       $41.90     $339,902.12
                                Daily Earnings Credit                      June 30, 2017        $41.90     $339,860.22
                                Daily Earnings Credit                      June 29, 2017        $41.89     $339,818.32
                                Daily Earnings Credit                      June 28, 2017        $41.89     $339,776.43
                                Daily Earnings Credit                      June 27, 2017        $41.88     $339,734.54
                                Daily Earnings Credit                      June 26, 2017        $41.87     $339,692.66
                                Daily Earnings Credit                      June 25, 2017        $41.87     $339,650.79
                                Daily Earnings Credit                      June 24, 2017        $41.86     $339,608.92
                                Daily Earnings Credit                      June 23, 2017        $41.86     $339,567.06
                                Daily Earnings Credit                      June 22, 2017        $41.85     $339,525.20
                                Daily Earnings Credit                      June 21, 2017        $41.85     $339,483.35
                                Daily Earnings Credit                      June 20, 2017        $41.84     $339,441.50
                                Daily Earnings Credit                      June 19, 2017        $41.84     $339,399.66
                                Daily Earnings Credit                      June 18, 2017        $41.83     $339,357.82
                                Daily Earnings Credit                      June 17, 2017        $41.83     $339,315.99
                                Daily Earnings Credit                      June 16, 2017        $41.82     $339,274.16
                                Daily Earnings Credit                      June 15, 2017        $41.82     $339,232.34
                                Daily Earnings Credit                      June 14, 2017        $41.81     $339,190.52
                                Daily Earnings Credit                      June 13, 2017        $41.81     $339,148.71
                                Daily Earnings Credit                      June 12, 2017        $41.80     $339,106.90
                                Daily Earnings Credit                      June 11, 2017        $41.80     $339,065.10
                                Daily Earnings Credit                      June 10, 2017        $41.79     $339,023.30
                                Daily Earnings Credit                       June 9, 2017        $41.79     $338,981.51
                                Daily Earnings Credit                       June 8, 2017        $41.78     $338,939.72
                                Daily Earnings Credit                       June 7, 2017        $41.78     $338,897.94
                                Daily Earnings Credit                       June 6, 2017        $41.77     $338,856.16
                                Daily Earnings Credit                       June 5, 2017        $41.77     $338,814.39
                                Daily Earnings Credit                       June 4, 2017        $41.76     $338,772.62
                                Daily Earnings Credit                       June 3, 2017        $41.76     $338,730.86

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       June 2, 2017        $41.75     $338,689.10
                                Daily Earnings Credit                       June 1, 2017        $41.75     $338,647.35
                                Daily Earnings Credit                      May 31, 2017         $41.74     $338,605.60
                                Daily Earnings Credit                      May 30, 2017         $41.74     $338,563.86
                                Daily Earnings Credit                      May 29, 2017         $41.73     $338,522.12
                                Daily Earnings Credit                      May 28, 2017         $41.73     $338,480.39
                                Daily Earnings Credit                      May 27, 2017         $41.72     $338,438.66
                                Daily Earnings Credit                      May 26, 2017         $41.72     $338,396.94
                                Daily Earnings Credit                      May 25, 2017         $41.71     $338,355.22
                                Daily Earnings Credit                      May 24, 2017         $41.70     $338,313.51
                                Daily Earnings Credit                      May 23, 2017         $41.70     $338,271.81
                                Daily Earnings Credit                      May 22, 2017         $41.69     $338,230.11
                                Daily Earnings Credit                      May 21, 2017         $41.69     $338,188.42
                                Daily Earnings Credit                      May 20, 2017         $41.68     $338,146.73
                                Daily Earnings Credit                      May 19, 2017         $41.68     $338,105.05
                                Daily Earnings Credit                      May 18, 2017         $41.67     $338,063.37
                                Daily Earnings Credit                      May 17, 2017         $41.67     $338,021.70
                                Daily Earnings Credit                      May 16, 2017         $41.66     $337,980.03
                                Daily Earnings Credit                      May 15, 2017         $41.66     $337,938.37
                                Daily Earnings Credit                      May 14, 2017         $41.65     $337,896.71
                                Daily Earnings Credit                      May 13, 2017         $41.65     $337,855.06
                                Daily Earnings Credit                      May 12, 2017         $41.64     $337,813.41
                                Daily Earnings Credit                      May 11, 2017         $41.64     $337,771.77
                                Daily Earnings Credit                      May 10, 2017         $41.63     $337,730.13
                                Daily Earnings Credit                        May 9, 2017        $41.63     $337,688.50
                                Daily Earnings Credit                        May 8, 2017        $41.62     $337,646.87
                                Daily Earnings Credit                        May 7, 2017        $41.62     $337,605.25
                                Daily Earnings Credit                        May 6, 2017        $41.61     $337,563.63
                                Daily Earnings Credit                        May 5, 2017        $41.61     $337,522.02
                                Daily Earnings Credit                        May 4, 2017        $41.60     $337,480.41
                                Daily Earnings Credit                        May 3, 2017        $41.60     $337,438.81
                                Daily Earnings Credit                        May 2, 2017        $41.59     $337,397.21
                                Daily Earnings Credit                        May 1, 2017        $41.59     $337,355.62
                                Daily Earnings Credit                      April 30, 2017       $41.58     $337,314.03
                                Daily Earnings Credit                      April 29, 2017       $41.58     $337,272.45

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                       April 28, 2017       $41.57     $337,230.87
                                Daily Earnings Credit                       April 27, 2017       $41.57     $337,189.30
                                Daily Earnings Credit                       April 26, 2017       $41.56     $337,147.73
                                Daily Earnings Credit                       April 25, 2017       $41.56     $337,106.17
                                Daily Earnings Credit                       April 24, 2017       $41.55     $337,064.61
                                Daily Earnings Credit                       April 23, 2017       $41.55     $337,023.06
                                Daily Earnings Credit                       April 22, 2017       $41.54     $336,981.51
                                Daily Earnings Credit                       April 21, 2017       $41.54     $336,939.97
                                Daily Earnings Credit                       April 20, 2017       $41.53     $336,898.43
                                Daily Earnings Credit                       April 19, 2017       $41.53     $336,856.90
                                Daily Earnings Credit                       April 18, 2017       $41.52     $336,815.37
                                Daily Earnings Credit                       April 17, 2017       $41.52     $336,773.85
                                Daily Earnings Credit                       April 16, 2017       $41.51     $336,732.33
                                Daily Earnings Credit                       April 15, 2017       $41.50     $336,690.82
                                Daily Earnings Credit                       April 14, 2017       $41.50     $336,649.32
                                Daily Earnings Credit                       April 13, 2017       $41.49     $336,607.82
                                Daily Earnings Credit                       April 12, 2017       $41.49     $336,566.33
                                Daily Earnings Credit                       April 11, 2017       $41.48     $336,524.84
                                Daily Earnings Credit                       April 10, 2017       $41.48     $336,483.36
                                Daily Earnings Credit                        April 9, 2017       $41.47     $336,441.88
                                Daily Earnings Credit                        April 8, 2017       $41.47     $336,400.41
                                Daily Earnings Credit                        April 7, 2017       $41.46     $336,358.94
                                Daily Earnings Credit                        April 6, 2017       $41.46     $336,317.48
                                Daily Earnings Credit                        April 5, 2017       $41.45     $336,276.02
                                Daily Earnings Credit                        April 4, 2017       $41.45     $336,234.57
                                Daily Earnings Credit                        April 3, 2017       $41.44     $336,193.12
                                Daily Earnings Credit                        April 2, 2017       $41.44     $336,151.68
                                Daily Earnings Credit                        April 1, 2017       $41.43     $336,110.24
                                Daily Earnings Credit                      March 31, 2017        $41.43     $336,068.81
                                Daily Earnings Credit                      March 30, 2017        $41.42     $336,027.38
                                Daily Earnings Credit                      March 29, 2017        $41.42     $335,985.96
                                Daily Earnings Credit                      March 28, 2017        $41.41     $335,944.54
                                Daily Earnings Credit                      March 27, 2017        $41.41     $335,903.13
                                Daily Earnings Credit                      March 26, 2017        $41.40     $335,861.72
                                Daily Earnings Credit                      March 25, 2017        $41.40     $335,820.32

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                        March 24, 2017        $41.39     $335,778.92
                                Daily Earnings Credit                        March 23, 2017        $41.39     $335,737.53
                                Daily Earnings Credit                        March 22, 2017        $41.38     $335,696.14
                                Daily Earnings Credit                        March 21, 2017        $41.38     $335,654.76
                                Daily Earnings Credit                        March 20, 2017        $41.37     $335,613.38
                                Daily Earnings Credit                        March 19, 2017        $41.37     $335,572.01
                                Daily Earnings Credit                        March 18, 2017        $41.36     $335,530.64
                                Daily Earnings Credit                        March 17, 2017        $41.36     $335,489.28
                                Daily Earnings Credit                        March 16, 2017        $41.35     $335,447.92
                                Daily Earnings Credit                        March 15, 2017        $41.35     $335,406.57
                                Daily Earnings Credit                        March 14, 2017        $41.34     $335,365.22
                                Daily Earnings Credit                        March 13, 2017        $41.34     $335,323.88
                                Daily Earnings Credit                        March 12, 2017        $41.33     $335,282.54
                                Daily Earnings Credit                        March 11, 2017        $41.33     $335,241.21
                                Daily Earnings Credit                        March 10, 2017        $41.32     $335,199.88
                                Daily Earnings Credit                         March 9, 2017        $41.32     $335,158.56
                                Daily Earnings Credit                         March 8, 2017        $41.31     $335,117.24
                                Daily Earnings Credit                         March 7, 2017        $41.31     $335,075.93
                                Daily Earnings Credit                         March 6, 2017        $41.30     $335,034.62
                                Daily Earnings Credit                         March 5, 2017        $41.30     $334,993.32
                                Daily Earnings Credit                         March 4, 2017        $41.29     $334,952.02
                                Daily Earnings Credit                         March 3, 2017        $41.29     $334,910.73
                                Daily Earnings Credit                         March 2, 2017        $41.28     $334,869.44
                                Daily Earnings Credit                         March 1, 2017        $41.28     $334,828.16
                                Daily Earnings Credit                      February 28, 2017       $41.27     $334,786.88
                                Daily Earnings Credit                      February 27, 2017       $41.27     $334,745.61
                                Daily Earnings Credit                      February 26, 2017       $41.26     $334,704.34
                                Daily Earnings Credit                      February 25, 2017       $41.25     $334,663.08
                                Daily Earnings Credit                      February 24, 2017       $41.25     $334,621.83
                                Daily Earnings Credit                      February 23, 2017       $41.24     $334,580.58
                                Daily Earnings Credit                      February 22, 2017       $41.24     $334,539.34
                                Daily Earnings Credit                      February 21, 2017       $41.23     $334,498.10
                                Daily Earnings Credit                      February 20, 2017       $41.23     $334,456.87
                                Daily Earnings Credit                      February 19, 2017       $41.22     $334,415.64
                                Daily Earnings Credit                      February 18, 2017       $41.22     $334,374.42

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                      February 17, 2017       $41.21     $334,333.20
                                Daily Earnings Credit                      February 16, 2017       $41.21     $334,291.99
                                Daily Earnings Credit                      February 15, 2017       $41.20     $334,250.78
                                Daily Earnings Credit                      February 14, 2017       $41.20     $334,209.58
                                Daily Earnings Credit                      February 13, 2017       $41.19     $334,168.38
                                Daily Earnings Credit                      February 12, 2017       $41.19     $334,127.19
                                Daily Earnings Credit                      February 11, 2017       $41.18     $334,086.00
                                Daily Earnings Credit                      February 10, 2017       $41.18     $334,044.82
                                Daily Earnings Credit                       February 9, 2017       $41.17     $334,003.64
                                Daily Earnings Credit                       February 8, 2017       $41.17     $333,962.47
                                Daily Earnings Credit                       February 7, 2017       $41.16     $333,921.30
                                Daily Earnings Credit                       February 6, 2017       $41.16     $333,880.14
                                Daily Earnings Credit                       February 5, 2017       $41.15     $333,838.98
                                Daily Earnings Credit                       February 4, 2017       $41.15     $333,797.83
                                Daily Earnings Credit                       February 3, 2017       $41.14     $333,756.68
                                Daily Earnings Credit                       February 2, 2017       $41.14     $333,715.54
                                Daily Earnings Credit                       February 1, 2017       $41.13     $333,674.40
                                Daily Earnings Credit                       January 31, 2017       $41.13     $333,633.27
                                Daily Earnings Credit                       January 30, 2017       $41.12     $333,592.14
                                Daily Earnings Credit                       January 29, 2017       $41.12     $333,551.02
                                Daily Earnings Credit                       January 28, 2017       $41.11     $333,509.90
                                Daily Earnings Credit                       January 27, 2017       $41.11     $333,468.79
                                Daily Earnings Credit                       January 26, 2017       $41.10     $333,427.68
                                Daily Earnings Credit                       January 25, 2017       $41.10     $333,386.58
                                Daily Earnings Credit                       January 24, 2017       $41.09     $333,345.48
                                Daily Earnings Credit                       January 23, 2017       $41.09     $333,304.39
                                Daily Earnings Credit                       January 22, 2017       $41.08     $333,263.30
                                Daily Earnings Credit                       January 21, 2017       $41.08     $333,222.22
                                Daily Earnings Credit                       January 20, 2017       $41.07     $333,181.14
                                Daily Earnings Credit                       January 19, 2017       $41.07     $333,140.07
                                Daily Earnings Credit                       January 18, 2017       $41.06     $333,099.00
                                Daily Earnings Credit                       January 17, 2017       $41.06     $333,057.94
                                Daily Earnings Credit                       January 16, 2017       $41.05     $333,016.88
                                Daily Earnings Credit                       January 15, 2017       $41.05     $332,975.83
                                Daily Earnings Credit                       January 14, 2017       $41.04     $332,934.78

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                        January 13, 2017       $41.04     $332,893.74
                                Daily Earnings Credit                        January 12, 2017       $41.03     $332,852.70
                                Daily Earnings Credit                        January 11, 2017       $41.03     $332,811.67
                                Daily Earnings Credit                        January 10, 2017       $41.02     $332,770.64
                                Daily Earnings Credit                         January 9, 2017       $41.02     $332,729.62
                                Daily Earnings Credit                         January 8, 2017       $41.01     $332,688.60
                                Daily Earnings Credit                         January 7, 2017       $41.01     $332,647.59
                                Daily Earnings Credit                         January 6, 2017       $41.00     $332,606.58
                                Daily Earnings Credit                         January 5, 2017       $41.00     $332,565.58
                                Daily Earnings Credit                         January 4, 2017       $40.99     $332,524.58
                                Daily Earnings Credit                         January 3, 2017       $40.99     $332,483.59
                                Daily Earnings Credit                         January 2, 2017       $40.98     $332,442.60
                                Daily Earnings Credit                         January 1, 2017       $40.98     $332,401.62
                                Daily Earnings Credit                      December 31, 2016        $40.97     $332,360.64
                                Daily Earnings Credit                      December 30, 2016        $40.97     $332,319.67
                                Daily Earnings Credit                      December 29, 2016        $40.96     $332,278.70
                                Daily Earnings Credit                      December 28, 2016        $40.96     $332,237.74
                                Daily Earnings Credit                      December 27, 2016        $40.95     $332,196.78
                                Daily Earnings Credit                      December 26, 2016        $40.95     $332,155.83
                                Daily Earnings Credit                      December 25, 2016        $40.94     $332,114.88
                                Daily Earnings Credit                      December 24, 2016        $40.94     $332,073.94
                                Daily Earnings Credit                      December 23, 2016        $40.93     $332,033.00
                                Daily Earnings Credit                      December 22, 2016        $40.93     $331,992.07
                                Daily Earnings Credit                      December 21, 2016        $40.92     $331,951.14
                                Daily Earnings Credit                      December 20, 2016        $40.92     $331,910.22
                                Daily Earnings Credit                      December 19, 2016        $40.91     $331,869.30
                                Daily Earnings Credit                      December 18, 2016        $40.91     $331,828.39
                                Daily Earnings Credit                      December 17, 2016        $40.90     $331,787.48
                                Daily Earnings Credit                      December 16, 2016        $40.90     $331,746.58
                                Daily Earnings Credit                      December 15, 2016        $40.89     $331,705.68
                                Daily Earnings Credit                      December 14, 2016        $40.89     $331,664.79
                                Daily Earnings Credit                      December 13, 2016        $40.88     $331,623.90
                                Daily Earnings Credit                      December 12, 2016        $40.88     $331,583.02
                                Daily Earnings Credit                      December 11, 2016        $40.87     $331,542.14
                                Daily Earnings Credit                      December 10, 2016        $40.87     $331,501.27

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                       December 9, 2016        $40.86     $331,460.40
                                Daily Earnings Credit                       December 8, 2016        $40.86     $331,419.54
                                Daily Earnings Credit                       December 7, 2016        $40.85     $331,378.68
                                Daily Earnings Credit                       December 6, 2016        $40.84     $331,337.83
                                Daily Earnings Credit                       December 5, 2016        $40.84     $331,296.99
                                Daily Earnings Credit                       December 4, 2016        $40.83     $331,256.15
                                Daily Earnings Credit                       December 3, 2016        $40.83     $331,215.32
                                Daily Earnings Credit                       December 2, 2016        $40.82     $331,174.49
                                Daily Earnings Credit                       December 1, 2016        $40.82     $331,133.67
                                Daily Earnings Credit                      November 30, 2016        $40.81     $331,092.85
                                Daily Earnings Credit                      November 29, 2016        $40.81     $331,052.04
                                Daily Earnings Credit                      November 28, 2016        $40.80     $331,011.23
                                Daily Earnings Credit                      November 27, 2016        $40.80     $330,970.43
                                Daily Earnings Credit                      November 26, 2016        $40.79     $330,929.63
                                Daily Earnings Credit                      November 25, 2016        $40.79     $330,888.84
                                Daily Earnings Credit                      November 24, 2016        $40.78     $330,848.05
                                Daily Earnings Credit                      November 23, 2016        $40.78     $330,807.27
                                Daily Earnings Credit                      November 22, 2016        $40.77     $330,766.49
                                Daily Earnings Credit                      November 21, 2016        $40.77     $330,725.72
                                Daily Earnings Credit                      November 20, 2016        $40.76     $330,684.95
                                Daily Earnings Credit                      November 19, 2016        $40.76     $330,644.19
                                Daily Earnings Credit                      November 18, 2016        $40.75     $330,603.43
                                Daily Earnings Credit                      November 17, 2016        $40.75     $330,562.68
                                Daily Earnings Credit                      November 16, 2016        $40.74     $330,521.93
                                Daily Earnings Credit                      November 15, 2016        $40.74     $330,481.19
                                Daily Earnings Credit                      November 14, 2016        $40.73     $330,440.45
                                Daily Earnings Credit                      November 13, 2016        $40.73     $330,399.72
                                Daily Earnings Credit                      November 12, 2016        $40.72     $330,358.99
                                Daily Earnings Credit                      November 11, 2016        $40.72     $330,318.27
                                Daily Earnings Credit                      November 10, 2016        $40.71     $330,277.55
                                Daily Earnings Credit                       November 9, 2016        $40.71     $330,236.84
                                Daily Earnings Credit                       November 8, 2016        $40.70     $330,196.13
                                Daily Earnings Credit                       November 7, 2016        $40.70     $330,155.43
                                Daily Earnings Credit                       November 6, 2016        $40.69     $330,114.73
                                Daily Earnings Credit                       November 5, 2016        $40.69     $330,074.04

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                      November 4, 2016        $40.68     $330,033.35
                                Daily Earnings Credit                      November 3, 2016        $40.68     $329,992.67
                                Daily Earnings Credit                      November 2, 2016        $40.67     $329,951.99
                                Daily Earnings Credit                      November 1, 2016        $40.67     $329,911.32
                                Daily Earnings Credit                       October 31, 2016       $40.66     $329,870.65
                                Daily Earnings Credit                       October 30, 2016       $40.66     $329,829.99
                                Daily Earnings Credit                       October 29, 2016       $40.65     $329,789.33
                                Daily Earnings Credit                       October 28, 2016       $40.65     $329,748.68
                                Daily Earnings Credit                       October 27, 2016       $40.64     $329,708.03
                                Daily Earnings Credit                       October 26, 2016       $40.64     $329,667.39
                                Daily Earnings Credit                       October 25, 2016       $40.63     $329,626.75
                                Daily Earnings Credit                       October 24, 2016       $40.63     $329,586.12
                                Daily Earnings Credit                       October 23, 2016       $40.62     $329,545.49
                                Daily Earnings Credit                       October 22, 2016       $40.62     $329,504.87
                                Daily Earnings Credit                       October 21, 2016       $40.61     $329,464.25
                                Daily Earnings Credit                       October 20, 2016       $40.61     $329,423.64
                                Daily Earnings Credit                       October 19, 2016       $40.60     $329,383.03
                                Daily Earnings Credit                       October 18, 2016       $40.60     $329,342.43
                                Daily Earnings Credit                       October 17, 2016       $40.59     $329,301.83
                                Daily Earnings Credit                       October 16, 2016       $40.59     $329,261.24
                                Daily Earnings Credit                       October 15, 2016       $40.58     $329,220.65
                                Daily Earnings Credit                       October 14, 2016       $40.58     $329,180.07
                                Daily Earnings Credit                       October 13, 2016       $40.57     $329,139.49
                                Daily Earnings Credit                       October 12, 2016       $40.57     $329,098.92
                                Daily Earnings Credit                       October 11, 2016       $40.56     $329,058.35
                                Daily Earnings Credit                       October 10, 2016       $40.56     $329,017.79
                                Daily Earnings Credit                        October 9, 2016       $40.55     $328,977.23
                                Daily Earnings Credit                        October 8, 2016       $40.55     $328,936.68
                                Daily Earnings Credit                        October 7, 2016       $40.54     $328,896.13
                                Daily Earnings Credit                        October 6, 2016       $40.54     $328,855.59
                                Daily Earnings Credit                        October 5, 2016       $40.53     $328,815.05
                                Daily Earnings Credit                        October 4, 2016       $40.53     $328,774.52
                                Daily Earnings Credit                        October 3, 2016       $40.52     $328,733.99
                                Daily Earnings Credit                        October 2, 2016       $40.52     $328,693.47
                                Daily Earnings Credit                        October 1, 2016       $40.51     $328,652.95

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        Transaction Type                                Transaction Date                         Amount    Ending Balance
                                Daily Earnings Credit                   September 30, 2016        $40.51     $328,612.44
                                Daily Earnings Credit                   September 29, 2016        $40.50     $328,571.93
                                Daily Earnings Credit                   September 28, 2016        $40.50     $328,531.43
                                Daily Earnings Credit                   September 27, 2016        $40.49     $328,490.93
                                Daily Earnings Credit                   September 26, 2016        $40.49     $328,450.44
                                Daily Earnings Credit                   September 25, 2016        $40.48     $328,409.95
                                Daily Earnings Credit                   September 24, 2016        $40.48     $328,369.47
                                Daily Earnings Credit                   September 23, 2016        $40.47     $328,328.99
                                Daily Earnings Credit                   September 22, 2016        $40.47     $328,288.52
                                Daily Earnings Credit                   September 21, 2016        $40.46     $328,248.05
                                Daily Earnings Credit                   September 20, 2016        $40.46     $328,207.59
                                Daily Earnings Credit                   September 19, 2016        $40.45     $328,167.13
                                Daily Earnings Credit                   September 18, 2016        $40.45     $328,126.68
                                Daily Earnings Credit                   September 17, 2016        $40.44     $328,086.23
                                Daily Earnings Credit                   September 16, 2016        $40.44     $328,045.79
                                Daily Earnings Credit                   September 15, 2016        $40.43     $328,005.35
                                Daily Earnings Credit                   September 14, 2016        $40.43     $327,964.92
                                Daily Earnings Credit                   September 13, 2016        $40.42     $327,924.49
                                Daily Earnings Credit                   September 12, 2016        $40.42     $327,884.07
                                Daily Earnings Credit                   September 11, 2016        $40.41     $327,843.65
                                Daily Earnings Credit                   September 10, 2016        $40.41     $327,803.24
                                Daily Earnings Credit                    September 9, 2016        $40.40     $327,762.83
                                Daily Earnings Credit                    September 8, 2016        $40.40     $327,722.43
                                Daily Earnings Credit                    September 7, 2016        $40.39     $327,682.03
                                Daily Earnings Credit                    September 6, 2016        $40.39     $327,641.64
                                Daily Earnings Credit                    September 5, 2016        $40.38     $327,601.25
                                Daily Earnings Credit                    September 4, 2016        $40.38     $327,560.87
                                Daily Earnings Credit                    September 3, 2016        $40.37     $327,520.49
                                Daily Earnings Credit                    September 2, 2016        $40.37     $327,480.12
                                Daily Earnings Credit                    September 1, 2016        $40.36     $327,439.75
                                Daily Earnings Credit                      August 31, 2016        $40.36     $327,399.39
                                Daily Earnings Credit                      August 30, 2016        $40.35     $327,359.03
                                Daily Earnings Credit                      August 29, 2016        $40.35     $327,318.68
                                Daily Earnings Credit                      August 28, 2016        $40.34     $327,278.33
                                Daily Earnings Credit                      August 27, 2016        $40.34     $327,237.99

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      August 26, 2016       $40.33     $327,197.65
                                Daily Earnings Credit                      August 25, 2016       $40.33     $327,157.33
                                Daily Earnings Credit                      August 24, 2016       $40.32     $327,117.00
                                Daily Earnings Credit                      August 23, 2016       $40.32     $327,076.68
                                Daily Earnings Credit                      August 22, 2016       $40.31     $327,036.36
                                Daily Earnings Credit                      August 21, 2016       $40.31     $326,996.04
                                Daily Earnings Credit                      August 20, 2016       $40.30     $326,955.73
                                Daily Earnings Credit                      August 19, 2016       $40.30     $326,915.43
                                Daily Earnings Credit                      August 18, 2016       $40.29     $326,875.13
                                Daily Earnings Credit                      August 17, 2016       $40.29     $326,834.83
                                Daily Earnings Credit                      August 16, 2016       $40.28     $326,794.54
                                Daily Earnings Credit                      August 15, 2016       $40.28     $326,754.26
                                Daily Earnings Credit                      August 14, 2016       $40.27     $326,713.98
                                Daily Earnings Credit                      August 13, 2016       $40.27     $326,673.70
                                Daily Earnings Credit                      August 12, 2016       $40.27     $326,633.43
                                Daily Earnings Credit                      August 11, 2016       $40.26     $326,593.17
                                Daily Earnings Credit                      August 10, 2016       $40.26     $326,552.91
                                Daily Earnings Credit                       August 9, 2016       $40.25     $326,512.65
                                Daily Earnings Credit                       August 8, 2016       $40.25     $326,472.40
                                Daily Earnings Credit                       August 7, 2016       $40.24     $326,432.16
                                Daily Earnings Credit                       August 6, 2016       $40.24     $326,391.92
                                Daily Earnings Credit                       August 5, 2016       $40.23     $326,351.68
                                Daily Earnings Credit                       August 4, 2016       $40.23     $326,311.45
                                Daily Earnings Credit                       August 3, 2016       $40.22     $326,271.23
                                Daily Earnings Credit                       August 2, 2016       $40.22     $326,231.01
                                Daily Earnings Credit                       August 1, 2016       $40.21     $326,190.79
                                Daily Earnings Credit                        July 31, 2016       $40.21     $326,150.58
                                Daily Earnings Credit                        July 30, 2016       $40.20     $326,110.37
                                Daily Earnings Credit                        July 29, 2016       $40.20     $326,070.17
                                Daily Earnings Credit                        July 28, 2016       $40.19     $326,029.98
                                Daily Earnings Credit                        July 27, 2016       $40.19     $325,989.79
                                Daily Earnings Credit                        July 26, 2016       $40.18     $325,949.60
                                Daily Earnings Credit                        July 25, 2016       $40.18     $325,909.42
                                Daily Earnings Credit                        July 24, 2016       $40.17     $325,869.25
                                Daily Earnings Credit                        July 23, 2016       $40.17     $325,829.07

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       July 22, 2016       $40.16     $325,788.91
                                Daily Earnings Credit                       July 21, 2016       $40.16     $325,748.75
                                Daily Earnings Credit                       July 20, 2016       $40.15     $325,708.59
                                Daily Earnings Credit                       July 19, 2016       $40.15     $325,668.44
                                Daily Earnings Credit                       July 18, 2016       $40.14     $325,628.29
                                Daily Earnings Credit                       July 17, 2016       $40.14     $325,588.15
                                Daily Earnings Credit                       July 16, 2016       $40.13     $325,548.02
                                Daily Earnings Credit                       July 15, 2016       $40.13     $325,507.89
                                Daily Earnings Credit                       July 14, 2016       $40.12     $325,467.76
                                Daily Earnings Credit                       July 13, 2016       $40.12     $325,427.64
                                Daily Earnings Credit                       July 12, 2016       $40.11     $325,387.52
                                Daily Earnings Credit                       July 11, 2016       $40.11     $325,347.41
                                Daily Earnings Credit                       July 10, 2016       $40.10     $325,307.30
                                Daily Earnings Credit                        July 9, 2016       $40.10     $325,267.20
                                Daily Earnings Credit                        July 8, 2016       $40.09     $325,227.11
                                Daily Earnings Credit                        July 7, 2016       $40.09     $325,187.01
                                Daily Earnings Credit                        July 6, 2016       $40.08     $325,146.93
                                Daily Earnings Credit                        July 5, 2016       $40.08     $325,106.85
                                Daily Earnings Credit                        July 4, 2016       $40.07     $325,066.77
                                Daily Earnings Credit                        July 3, 2016       $40.07     $325,026.70
                                Daily Earnings Credit                        July 2, 2016       $40.06     $324,986.63
                                Daily Earnings Credit                        July 1, 2016       $40.06     $324,946.57
                                Daily Earnings Credit                      June 30, 2016        $40.05     $324,906.51
                                Daily Earnings Credit                      June 29, 2016        $40.05     $324,866.46
                                Daily Earnings Credit                      June 28, 2016        $40.04     $324,826.41
                                Daily Earnings Credit                      June 27, 2016        $40.04     $324,786.37
                                Daily Earnings Credit                      June 26, 2016        $40.03     $324,746.33
                                Daily Earnings Credit                      June 25, 2016        $40.03     $324,706.30
                                Daily Earnings Credit                      June 24, 2016        $40.02     $324,666.27
                                Daily Earnings Credit                      June 23, 2016        $40.02     $324,626.25
                                Daily Earnings Credit                      June 22, 2016        $40.01     $324,586.23
                                Daily Earnings Credit                      June 21, 2016        $40.01     $324,546.22
                                Daily Earnings Credit                      June 20, 2016        $40.00     $324,506.21
                                Daily Earnings Credit                      June 19, 2016        $40.00     $324,466.21
                                Daily Earnings Credit                      June 18, 2016        $39.99     $324,426.21

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        Transaction Type                                Transaction Date                      Amount    Ending Balance
                                Daily Earnings Credit                      June 17, 2016       $39.99     $324,386.22
                                Daily Earnings Credit                      June 16, 2016       $39.98     $324,346.23
                                Daily Earnings Credit                      June 15, 2016       $39.98     $324,306.25
                                Daily Earnings Credit                      June 14, 2016       $39.97     $324,266.27
                                Daily Earnings Credit                      June 13, 2016       $39.97     $324,226.30
                                Daily Earnings Credit                      June 12, 2016       $39.96     $324,186.33
                                Daily Earnings Credit                      June 11, 2016       $39.96     $324,146.36
                                Daily Earnings Credit                      June 10, 2016       $39.95     $324,106.41
                                Daily Earnings Credit                       June 9, 2016       $39.95     $324,066.45
                                Daily Earnings Credit                       June 8, 2016       $39.94     $324,026.50
                                Daily Earnings Credit                       June 7, 2016       $39.94     $323,986.56
                                Daily Earnings Credit                       June 6, 2016       $39.93     $323,946.62
                                Daily Earnings Credit                       June 5, 2016       $39.93     $323,906.69
                                Daily Earnings Credit                       June 4, 2016       $39.92     $323,866.76
                                Daily Earnings Credit                       June 3, 2016       $39.92     $323,826.83
                                Daily Earnings Credit                       June 2, 2016       $39.91     $323,786.92
                                Daily Earnings Credit                       June 1, 2016       $39.91     $323,747.00
                                Daily Earnings Credit                       May 31, 2016       $39.90     $323,707.09
                                Daily Earnings Credit                       May 30, 2016       $39.90     $323,667.19
                                Daily Earnings Credit                       May 29, 2016       $39.89     $323,627.29
                                Daily Earnings Credit                       May 28, 2016       $39.89     $323,587.39
                                Daily Earnings Credit                       May 27, 2016       $39.88     $323,547.50
                                Daily Earnings Credit                       May 26, 2016       $39.88     $323,507.62
                                Daily Earnings Credit                       May 25, 2016       $39.87     $323,467.74
                                Daily Earnings Credit                       May 24, 2016       $39.87     $323,427.87
                                Daily Earnings Credit                       May 23, 2016       $39.86     $323,388.00
                                Daily Earnings Credit                       May 22, 2016       $39.86     $323,348.13
                                Daily Earnings Credit                       May 21, 2016       $39.86     $323,308.27
                                Daily Earnings Credit                       May 20, 2016       $39.85     $323,268.42
                                Daily Earnings Credit                       May 19, 2016       $39.85     $323,228.57
                                Daily Earnings Credit                       May 18, 2016       $39.84     $323,188.72
                                Daily Earnings Credit                       May 17, 2016       $39.84     $323,148.88
                                Daily Earnings Credit                       May 16, 2016       $39.83     $323,109.04
                                Daily Earnings Credit                       May 15, 2016       $39.83     $323,069.21
                                Daily Earnings Credit                       May 14, 2016       $39.82     $323,029.39

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                      May 13, 2016         $39.82     $322,989.57
                                Daily Earnings Credit                      May 12, 2016         $39.81     $322,949.75
                                Daily Earnings Credit                      May 11, 2016         $39.81     $322,909.94
                                Daily Earnings Credit                      May 10, 2016         $39.80     $322,870.13
                                Daily Earnings Credit                       May 9, 2016         $39.80     $322,830.33
                                Daily Earnings Credit                       May 8, 2016         $39.79     $322,790.54
                                Daily Earnings Credit                       May 7, 2016         $39.79     $322,750.75
                                Daily Earnings Credit                       May 6, 2016         $39.78     $322,710.96
                                Daily Earnings Credit                       May 5, 2016         $39.78     $322,671.18
                                Daily Earnings Credit                       May 4, 2016         $39.77     $322,631.40
                                Daily Earnings Credit                       May 3, 2016         $39.77     $322,591.63
                                Daily Earnings Credit                       May 2, 2016         $39.76     $322,551.86
                                Daily Earnings Credit                       May 1, 2016         $39.76     $322,512.10
                                Daily Earnings Credit                      April 30, 2016       $39.75     $322,472.34
                                Daily Earnings Credit                      April 29, 2016       $39.75     $322,432.59
                                Daily Earnings Credit                      April 28, 2016       $39.74     $322,392.85
                                Daily Earnings Credit                      April 27, 2016       $39.74     $322,353.10
                                Daily Earnings Credit                      April 26, 2016       $39.73     $322,313.37
                                Daily Earnings Credit                      April 25, 2016       $39.73     $322,273.63
                                Daily Earnings Credit                      April 24, 2016       $39.72     $322,233.91
                                Daily Earnings Credit                      April 23, 2016       $39.72     $322,194.18
                                Daily Earnings Credit                      April 22, 2016       $39.71     $322,154.46
                                Daily Earnings Credit                      April 21, 2016       $39.71     $322,114.75
                                Daily Earnings Credit                      April 20, 2016       $39.70     $322,075.04
                                Daily Earnings Credit                      April 19, 2016       $39.70     $322,035.34
                                Daily Earnings Credit                      April 18, 2016       $39.69     $321,995.64
                                Daily Earnings Credit                      April 17, 2016       $39.69     $321,955.95
                                Daily Earnings Credit                      April 16, 2016       $39.68     $321,916.26
                                Daily Earnings Credit                      April 15, 2016       $39.68     $321,876.58
                                Daily Earnings Credit                      April 14, 2016       $39.67     $321,836.90
                                Daily Earnings Credit                      April 13, 2016       $39.67     $321,797.23
                                Daily Earnings Credit                      April 12, 2016       $39.66     $321,757.56
                                Daily Earnings Credit                      April 11, 2016       $39.66     $321,717.89
                                Daily Earnings Credit                      April 10, 2016       $39.65     $321,678.23
                                Daily Earnings Credit                       April 9, 2016       $39.65     $321,638.58

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                        April 8, 2016       $39.64     $321,598.93
                                Daily Earnings Credit                        April 7, 2016       $39.64     $321,559.29
                                Daily Earnings Credit                        April 6, 2016       $39.63     $321,519.65
                                Daily Earnings Credit                        April 5, 2016       $39.63     $321,480.01
                                Daily Earnings Credit                        April 4, 2016       $39.62     $321,440.38
                                Daily Earnings Credit                        April 3, 2016       $39.62     $321,400.76
                                Daily Earnings Credit                        April 2, 2016       $39.62     $321,361.14
                                Daily Earnings Credit                        April 1, 2016       $39.61     $321,321.52
                                Daily Earnings Credit                      March 31, 2016        $39.61     $321,281.91
                                Daily Earnings Credit                      March 30, 2016        $39.60     $321,242.31
                                Daily Earnings Credit                      March 29, 2016        $39.60     $321,202.71
                                Daily Earnings Credit                      March 28, 2016        $39.59     $321,163.11
                                Daily Earnings Credit                      March 27, 2016        $39.59     $321,123.52
                                Daily Earnings Credit                      March 26, 2016        $39.58     $321,083.93
                                Daily Earnings Credit                      March 25, 2016        $39.58     $321,044.35
                                Daily Earnings Credit                      March 24, 2016        $39.57     $321,004.78
                                Daily Earnings Credit                      March 23, 2016        $39.57     $320,965.21
                                Daily Earnings Credit                      March 22, 2016        $39.56     $320,925.64
                                Daily Earnings Credit                      March 21, 2016        $39.56     $320,886.08
                                Daily Earnings Credit                      March 20, 2016        $39.55     $320,846.52
                                Daily Earnings Credit                      March 19, 2016        $39.55     $320,806.97
                                Daily Earnings Credit                      March 18, 2016        $39.54     $320,767.42
                                Daily Earnings Credit                      March 17, 2016        $39.54     $320,727.88
                                Daily Earnings Credit                      March 16, 2016        $39.53     $320,688.34
                                Daily Earnings Credit                      March 15, 2016        $39.53     $320,648.81
                                Daily Earnings Credit                      March 14, 2016        $39.52     $320,609.28
                                Daily Earnings Credit                      March 13, 2016        $39.52     $320,569.76
                                Daily Earnings Credit                      March 12, 2016        $39.51     $320,530.24
                                Daily Earnings Credit                      March 11, 2016        $39.51     $320,490.73
                                Daily Earnings Credit                      March 10, 2016        $39.50     $320,451.22
                                Daily Earnings Credit                       March 9, 2016        $39.50     $320,411.72
                                Daily Earnings Credit                       March 8, 2016        $39.49     $320,372.22
                                Daily Earnings Credit                       March 7, 2016        $39.49     $320,332.73
                                Daily Earnings Credit                       March 6, 2016        $39.48     $320,293.24
                                Daily Earnings Credit                       March 5, 2016        $39.48     $320,253.76

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                         March 4, 2016        $39.47     $320,214.28
                                Daily Earnings Credit                         March 3, 2016        $39.47     $320,174.81
                                Daily Earnings Credit                         March 2, 2016        $39.46     $320,135.34
                                Daily Earnings Credit                         March 1, 2016        $39.46     $320,095.87
                                Daily Earnings Credit                      February 29, 2016       $39.45     $320,056.41
                                Daily Earnings Credit                      February 28, 2016       $39.45     $320,016.96
                                Daily Earnings Credit                      February 27, 2016       $39.44     $319,977.51
                                Daily Earnings Credit                      February 26, 2016       $39.44     $319,938.07
                                Daily Earnings Credit                      February 25, 2016       $39.43     $319,898.63
                                Daily Earnings Credit                      February 24, 2016       $39.43     $319,859.19
                                Daily Earnings Credit                      February 23, 2016       $39.43     $319,819.76
                                Daily Earnings Credit                      February 22, 2016       $39.42     $319,780.34
                                Daily Earnings Credit                      February 21, 2016       $39.42     $319,740.92
                                Daily Earnings Credit                      February 20, 2016       $39.41     $319,701.50
                                Daily Earnings Credit                      February 19, 2016       $39.41     $319,662.09
                                Daily Earnings Credit                      February 18, 2016       $39.40     $319,622.68
                                Daily Earnings Credit                      February 17, 2016       $39.40     $319,583.28
                                Daily Earnings Credit                      February 16, 2016       $39.39     $319,543.89
                                Daily Earnings Credit                      February 15, 2016       $39.39     $319,504.50
                                Daily Earnings Credit                      February 14, 2016       $39.38     $319,465.11
                                Daily Earnings Credit                      February 13, 2016       $39.38     $319,425.73
                                Daily Earnings Credit                      February 12, 2016       $39.37     $319,386.35
                                Daily Earnings Credit                      February 11, 2016       $39.37     $319,346.98
                                Daily Earnings Credit                      February 10, 2016       $39.36     $319,307.61
                                Daily Earnings Credit                       February 9, 2016       $39.36     $319,268.25
                                Daily Earnings Credit                       February 8, 2016       $39.35     $319,228.90
                                Daily Earnings Credit                       February 7, 2016       $39.35     $319,189.54
                                Daily Earnings Credit                       February 6, 2016       $39.34     $319,150.20
                                Daily Earnings Credit                       February 5, 2016       $39.34     $319,110.85
                                Daily Earnings Credit                       February 4, 2016       $39.33     $319,071.52
                                Daily Earnings Credit                       February 3, 2016       $39.33     $319,032.18
                                Daily Earnings Credit                       February 2, 2016       $39.32     $318,992.85
                                Daily Earnings Credit                       February 1, 2016       $39.32     $318,953.53
                                Daily Earnings Credit                       January 31, 2016       $39.31     $318,914.21
                                Daily Earnings Credit                       January 30, 2016       $39.31     $318,874.90

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                        January 29, 2016       $39.30     $318,835.59
                                Daily Earnings Credit                        January 28, 2016       $39.30     $318,796.29
                                Daily Earnings Credit                        January 27, 2016       $39.29     $318,756.99
                                Daily Earnings Credit                        January 26, 2016       $39.29     $318,717.69
                                Daily Earnings Credit                        January 25, 2016       $39.28     $318,678.41
                                Daily Earnings Credit                        January 24, 2016       $39.28     $318,639.12
                                Daily Earnings Credit                        January 23, 2016       $39.27     $318,599.84
                                Daily Earnings Credit                        January 22, 2016       $39.27     $318,560.57
                                Daily Earnings Credit                        January 21, 2016       $39.27     $318,521.30
                                Daily Earnings Credit                        January 20, 2016       $39.26     $318,482.03
                                Daily Earnings Credit                        January 19, 2016       $39.26     $318,442.77
                                Daily Earnings Credit                        January 18, 2016       $39.25     $318,403.52
                                Daily Earnings Credit                        January 17, 2016       $39.25     $318,364.27
                                Daily Earnings Credit                        January 16, 2016       $39.24     $318,325.02
                                Daily Earnings Credit                        January 15, 2016       $39.24     $318,285.78
                                Daily Earnings Credit                        January 14, 2016       $39.23     $318,246.54
                                Daily Earnings Credit                        January 13, 2016       $39.23     $318,207.31
                                Daily Earnings Credit                        January 12, 2016       $39.22     $318,168.09
                                Daily Earnings Credit                        January 11, 2016       $39.22     $318,128.86
                                Daily Earnings Credit                        January 10, 2016       $39.21     $318,089.65
                                Daily Earnings Credit                         January 9, 2016       $39.21     $318,050.44
                                Daily Earnings Credit                         January 8, 2016       $39.20     $318,011.23
                                Daily Earnings Credit                         January 7, 2016       $39.20     $317,972.03
                                Daily Earnings Credit                         January 6, 2016       $39.19     $317,932.83
                                Daily Earnings Credit                         January 5, 2016       $39.19     $317,893.64
                                Daily Earnings Credit                         January 4, 2016       $39.18     $317,854.45
                                Daily Earnings Credit                         January 3, 2016       $39.18     $317,815.27
                                Daily Earnings Credit                         January 2, 2016       $39.17     $317,776.09
                                Daily Earnings Credit                         January 1, 2016       $39.17     $317,736.92
                                Daily Earnings Credit                      December 31, 2015        $39.16     $317,697.75
                                Daily Earnings Credit                      December 30, 2015        $39.16     $317,658.58
                                Daily Earnings Credit                      December 29, 2015        $39.15     $317,619.43
                                Daily Earnings Credit                      December 28, 2015        $39.15     $317,580.27
                                Daily Earnings Credit                      December 27, 2015        $39.14     $317,541.12
                                Daily Earnings Credit                      December 26, 2015        $39.14     $317,501.98

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      December 25, 2015        $39.13     $317,462.84
                                Daily Earnings Credit                      December 24, 2015        $39.13     $317,423.70
                                Daily Earnings Credit                      December 23, 2015        $39.12     $317,384.57
                                Daily Earnings Credit                      December 22, 2015        $39.12     $317,345.45
                                Daily Earnings Credit                      December 21, 2015        $39.12     $317,306.33
                                Daily Earnings Credit                      December 20, 2015        $39.11     $317,267.21
                                Daily Earnings Credit                      December 19, 2015        $39.11     $317,228.10
                                Daily Earnings Credit                      December 18, 2015        $39.10     $317,189.00
                                Daily Earnings Credit                      December 17, 2015        $39.10     $317,149.90
                                Daily Earnings Credit                      December 16, 2015        $39.09     $317,110.80
                                Daily Earnings Credit                      December 15, 2015        $39.09     $317,071.71
                                Daily Earnings Credit                      December 14, 2015        $39.08     $317,032.62
                                Daily Earnings Credit                      December 13, 2015        $39.08     $316,993.54
                                Daily Earnings Credit                      December 12, 2015        $39.07     $316,954.47
                                Daily Earnings Credit                      December 11, 2015        $39.07     $316,915.39
                                Daily Earnings Credit                      December 10, 2015        $39.06     $316,876.33
                                Daily Earnings Credit                       December 9, 2015        $39.06     $316,837.26
                                Daily Earnings Credit                       December 8, 2015        $39.05     $316,798.21
                                Daily Earnings Credit                       December 7, 2015        $39.05     $316,759.15
                                Daily Earnings Credit                       December 6, 2015        $39.04     $316,720.11
                                Daily Earnings Credit                       December 5, 2015        $39.04     $316,681.06
                                Daily Earnings Credit                       December 4, 2015        $39.03     $316,642.03
                                Daily Earnings Credit                       December 3, 2015        $39.03     $316,602.99
                                Daily Earnings Credit                       December 2, 2015        $39.02     $316,563.96
                                Daily Earnings Credit                       December 1, 2015        $39.02     $316,524.94
                                Daily Earnings Credit                      November 30, 2015        $39.01     $316,485.92
                                Daily Earnings Credit                      November 29, 2015        $39.01     $316,446.91
                                Daily Earnings Credit                      November 28, 2015        $39.00     $316,407.90
                                Daily Earnings Credit                      November 27, 2015        $39.00     $316,368.89
                                Daily Earnings Credit                      November 26, 2015        $38.99     $316,329.89
                                Daily Earnings Credit                      November 25, 2015        $38.99     $316,290.90
                                Daily Earnings Credit                      November 24, 2015        $38.99     $316,251.91
                                Daily Earnings Credit                      November 23, 2015        $38.98     $316,212.92
                                Daily Earnings Credit                      November 22, 2015        $38.98     $316,173.94
                                Daily Earnings Credit                      November 21, 2015        $38.97     $316,134.97

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      November 20, 2015        $38.97     $316,096.00
                                Daily Earnings Credit                      November 19, 2015        $38.96     $316,057.03
                                Daily Earnings Credit                      November 18, 2015        $38.96     $316,018.07
                                Daily Earnings Credit                      November 17, 2015        $38.95     $315,979.11
                                Daily Earnings Credit                      November 16, 2015        $38.95     $315,940.16
                                Daily Earnings Credit                      November 15, 2015        $38.94     $315,901.21
                                Daily Earnings Credit                      November 14, 2015        $38.94     $315,862.27
                                Daily Earnings Credit                      November 13, 2015        $38.93     $315,823.34
                                Daily Earnings Credit                      November 12, 2015        $38.93     $315,784.40
                                Daily Earnings Credit                      November 11, 2015        $38.92     $315,745.47
                                Daily Earnings Credit                      November 10, 2015        $38.92     $315,706.55
                                Daily Earnings Credit                       November 9, 2015        $38.91     $315,667.63
                                Daily Earnings Credit                       November 8, 2015        $38.91     $315,628.72
                                Daily Earnings Credit                       November 7, 2015        $38.90     $315,589.81
                                Daily Earnings Credit                       November 6, 2015        $38.90     $315,550.91
                                Daily Earnings Credit                       November 5, 2015        $38.89     $315,512.01
                                Daily Earnings Credit                       November 4, 2015        $38.89     $315,473.12
                                Daily Earnings Credit                       November 3, 2015        $38.88     $315,434.23
                                Daily Earnings Credit                       November 2, 2015        $38.88     $315,395.34
                                Daily Earnings Credit                       November 1, 2015        $38.87     $315,356.46
                                Daily Earnings Credit                        October 31, 2015       $38.87     $315,317.59
                                Daily Earnings Credit                        October 30, 2015       $38.87     $315,278.72
                                Daily Earnings Credit                        October 29, 2015       $38.86     $315,239.85
                                Daily Earnings Credit                        October 28, 2015       $38.85     $315,162.14
                                Daily Earnings Credit                        October 27, 2015       $38.85     $315,123.29
                                Daily Earnings Credit                        October 26, 2015       $38.84     $315,084.44
                                Daily Earnings Credit                        October 25, 2015       $38.84     $315,045.60
                                Daily Earnings Credit                        October 24, 2015       $38.83     $315,006.76
                                Daily Earnings Credit                        October 23, 2015       $38.83     $314,967.93
                                Daily Earnings Credit                        October 22, 2015       $38.82     $314,929.10
                                Daily Earnings Credit                        October 21, 2015       $38.82     $314,890.28
                                Daily Earnings Credit                        October 20, 2015       $38.81     $314,851.46
                                Daily Earnings Credit                        October 19, 2015       $38.81     $314,812.65
                                Daily Earnings Credit                        October 18, 2015       $38.80     $314,773.84
                                Daily Earnings Credit                        October 17, 2015       $38.80     $314,735.04

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                    October 16, 2015        $38.79     $314,696.24
                                Daily Earnings Credit                    October 15, 2015        $38.79     $314,657.45
                                Daily Earnings Credit                    October 14, 2015        $38.78     $314,618.66
                                Daily Earnings Credit                    October 13, 2015        $38.78     $314,579.87
                                Daily Earnings Credit                    October 12, 2015        $38.77     $314,541.10
                                Daily Earnings Credit                    October 11, 2015        $38.77     $314,502.32
                                Daily Earnings Credit                    October 10, 2015        $38.76     $314,463.55
                                Daily Earnings Credit                      October 9, 2015       $38.76     $314,424.79
                                Daily Earnings Credit                      October 8, 2015       $38.76     $314,386.03
                                Daily Earnings Credit                      October 7, 2015       $38.75     $314,347.27
                                Daily Earnings Credit                      October 6, 2015       $38.75     $314,308.52
                                Daily Earnings Credit                      October 5, 2015       $38.74     $314,269.78
                                Daily Earnings Credit                      October 4, 2015       $38.74     $314,231.03
                                Daily Earnings Credit                      October 3, 2015       $38.73     $314,192.30
                                Daily Earnings Credit                      October 2, 2015       $38.73     $314,153.57
                                Daily Earnings Credit                      October 1, 2015       $38.72     $314,114.84
                                Daily Earnings Credit                  September 30, 2015        $38.72     $314,076.12
                                Daily Earnings Credit                  September 29, 2015        $38.71     $314,037.40
                                Daily Earnings Credit                  September 28, 2015        $38.71     $313,998.69
                                Daily Earnings Credit                  September 27, 2015        $38.70     $313,959.98
                                Daily Earnings Credit                  September 26, 2015        $38.70     $313,921.28
                                Daily Earnings Credit                  September 25, 2015        $38.69     $313,882.58
                                Daily Earnings Credit                  September 24, 2015        $38.69     $313,843.89
                                Daily Earnings Credit                  September 23, 2015        $38.68     $313,805.20
                                Daily Earnings Credit                  September 22, 2015        $38.68     $313,766.52
                                Daily Earnings Credit                  September 21, 2015        $38.67     $313,727.84
                                Daily Earnings Credit                  September 20, 2015        $38.67     $313,689.16
                                Daily Earnings Credit                  September 19, 2015        $38.66     $313,650.49
                                Daily Earnings Credit                  September 18, 2015        $38.66     $313,611.83
                                Daily Earnings Credit                  September 17, 2015        $38.66     $313,573.17
                                Daily Earnings Credit                  September 16, 2015        $38.65     $313,534.51
                                Daily Earnings Credit                  September 15, 2015        $38.65     $313,495.86
                                Daily Earnings Credit                  September 14, 2015        $38.64     $313,457.22
                                Daily Earnings Credit                  September 13, 2015        $38.64     $313,418.58
                                Daily Earnings Credit                  September 12, 2015        $38.63     $313,379.94

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        Transaction Type                                Transaction Date                         Amount    Ending Balance
                                Daily Earnings Credit                   September 11, 2015        $38.63     $313,341.31
                                Daily Earnings Credit                   September 10, 2015        $38.62     $313,302.68
                                Daily Earnings Credit                    September 9, 2015        $38.62     $313,264.06
                                Daily Earnings Credit                    September 8, 2015        $38.61     $313,225.45
                                Daily Earnings Credit                    September 7, 2015        $38.61     $313,186.83
                                Daily Earnings Credit                    September 6, 2015        $38.60     $313,148.23
                                Daily Earnings Credit                    September 5, 2015        $38.60     $313,109.62
                                Daily Earnings Credit                    September 4, 2015        $38.59     $313,071.03
                                Daily Earnings Credit                    September 3, 2015        $38.59     $313,032.43
                                Daily Earnings Credit                    September 2, 2015        $38.58     $312,993.84
                                Daily Earnings Credit                    September 1, 2015        $38.58     $312,955.26
                                Daily Earnings Credit                      August 31, 2015        $38.57     $312,916.68
                                Daily Earnings Credit                      August 30, 2015        $38.57     $312,878.11
                                Daily Earnings Credit                      August 29, 2015        $38.56     $312,839.54
                                Daily Earnings Credit                      August 28, 2015        $38.56     $312,800.97
                                Daily Earnings Credit                      August 27, 2015        $38.56     $312,762.41
                                Daily Earnings Credit                      August 26, 2015        $38.55     $312,723.86
                                Daily Earnings Credit                      August 25, 2015        $38.55     $312,685.31
                                Daily Earnings Credit                      August 24, 2015        $38.54     $312,646.76
                                Daily Earnings Credit                      August 23, 2015        $38.54     $312,608.22
                                Daily Earnings Credit                      August 22, 2015        $38.53     $312,569.69
                                Daily Earnings Credit                      August 21, 2015        $38.53     $312,531.15
                                Daily Earnings Credit                      August 20, 2015        $38.52     $312,492.63
                                Daily Earnings Credit                      August 19, 2015        $38.52     $312,454.11
                                Daily Earnings Credit                      August 18, 2015        $38.51     $312,415.59
                                Daily Earnings Credit                      August 17, 2015        $38.51     $312,377.08
                                Daily Earnings Credit                      August 16, 2015        $38.50     $312,338.57
                                Daily Earnings Credit                      August 15, 2015        $38.50     $312,300.07
                                Daily Earnings Credit                      August 14, 2015        $38.49     $312,261.57
                                Daily Earnings Credit                      August 13, 2015        $38.49     $312,223.07
                                Daily Earnings Credit                      August 12, 2015        $38.48     $312,184.59
                                Daily Earnings Credit                      August 11, 2015        $38.48     $312,146.10
                                Daily Earnings Credit                      August 10, 2015        $38.47     $312,107.62
                                Daily Earnings Credit                       August 9, 2015        $38.47     $312,069.15
                                Daily Earnings Credit                       August 8, 2015        $38.46     $312,030.68

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                      August 7, 2015       $38.46     $311,992.21
                                Daily Earnings Credit                      August 6, 2015       $38.46     $311,953.75
                                Daily Earnings Credit                      August 5, 2015       $38.45     $311,915.30
                                Daily Earnings Credit                      August 4, 2015       $38.45     $311,876.85
                                Daily Earnings Credit                      August 3, 2015       $38.44     $311,838.40
                                Daily Earnings Credit                      August 2, 2015       $38.44     $311,799.96
                                Daily Earnings Credit                      August 1, 2015       $38.43     $311,761.52
                                Daily Earnings Credit                       July 31, 2015       $38.43     $311,723.09
                                Daily Earnings Credit                       July 30, 2015       $38.42     $311,684.67
                                Daily Earnings Credit                       July 29, 2015       $38.42     $311,646.24
                                Daily Earnings Credit                       July 28, 2015       $38.41     $311,607.83
                                Daily Earnings Credit                       July 27, 2015       $38.41     $311,569.41
                                Daily Earnings Credit                       July 26, 2015       $38.40     $311,531.00
                                Daily Earnings Credit                       July 25, 2015       $38.40     $311,492.60
                                Daily Earnings Credit                       July 24, 2015       $38.39     $311,454.20
                                Daily Earnings Credit                       July 23, 2015       $38.39     $311,415.81
                                Daily Earnings Credit                       July 22, 2015       $38.38     $311,377.42
                                Daily Earnings Credit                       July 21, 2015       $38.38     $311,339.04
                                Daily Earnings Credit                       July 20, 2015       $38.37     $311,300.66
                                Daily Earnings Credit                       July 19, 2015       $38.37     $311,262.28
                                Daily Earnings Credit                       July 18, 2015       $38.37     $311,223.91
                                Daily Earnings Credit                       July 17, 2015       $38.36     $311,185.55
                                Daily Earnings Credit                       July 16, 2015       $38.36     $311,147.18
                                Daily Earnings Credit                       July 15, 2015       $38.35     $311,108.83
                                Daily Earnings Credit                       July 14, 2015       $38.35     $311,070.48
                                Daily Earnings Credit                       July 13, 2015       $38.34     $311,032.13
                                Daily Earnings Credit                       July 12, 2015       $38.34     $310,993.79
                                Daily Earnings Credit                       July 11, 2015       $38.33     $310,955.45
                                Daily Earnings Credit                       July 10, 2015       $38.33     $310,917.12
                                Daily Earnings Credit                        July 9, 2015       $38.32     $310,878.79
                                Daily Earnings Credit                        July 8, 2015       $38.32     $310,840.47
                                Daily Earnings Credit                        July 7, 2015       $38.31     $310,802.15
                                Daily Earnings Credit                        July 6, 2015       $38.31     $310,763.84
                                Daily Earnings Credit                        July 5, 2015       $38.30     $310,725.53
                                Daily Earnings Credit                        July 4, 2015       $38.30     $310,687.22

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                        July 3, 2015       $38.29     $310,648.93
                                Daily Earnings Credit                        July 2, 2015       $38.29     $310,610.63
                                Daily Earnings Credit                        July 1, 2015       $38.29     $310,572.34
                                Daily Earnings Credit                      June 30, 2015        $38.28     $310,534.06
                                Daily Earnings Credit                      June 29, 2015        $38.28     $310,495.78
                                Daily Earnings Credit                      June 28, 2015        $38.27     $310,457.50
                                Daily Earnings Credit                      June 27, 2015        $38.27     $310,419.23
                                Daily Earnings Credit                      June 26, 2015        $38.26     $310,380.96
                                Daily Earnings Credit                      June 25, 2015        $38.26     $310,342.70
                                Daily Earnings Credit                      June 24, 2015        $38.25     $310,304.44
                                Daily Earnings Credit                      June 23, 2015        $38.25     $310,266.19
                                Daily Earnings Credit                      June 22, 2015        $38.24     $310,227.94
                                Daily Earnings Credit                      June 21, 2015        $38.24     $310,189.70
                                Daily Earnings Credit                      June 20, 2015        $38.23     $310,151.46
                                Daily Earnings Credit                      June 19, 2015        $38.23     $310,113.23
                                Daily Earnings Credit                      June 18, 2015        $38.22     $310,075.00
                                Daily Earnings Credit                      June 17, 2015        $38.22     $310,036.78
                                Daily Earnings Credit                      June 16, 2015        $38.21     $309,998.56
                                Daily Earnings Credit                      June 15, 2015        $38.21     $309,960.35
                                Daily Earnings Credit                      June 14, 2015        $38.20     $309,922.14
                                Daily Earnings Credit                      June 13, 2015        $38.20     $309,883.93
                                Daily Earnings Credit                      June 12, 2015        $38.20     $309,845.73
                                Daily Earnings Credit                      June 11, 2015        $38.19     $309,807.53
                                Daily Earnings Credit                      June 10, 2015        $38.19     $309,769.34
                                Daily Earnings Credit                       June 9, 2015        $38.18     $309,731.16
                                Daily Earnings Credit                       June 8, 2015        $38.18     $309,692.98
                                Daily Earnings Credit                       June 7, 2015        $38.17     $309,654.80
                                Daily Earnings Credit                       June 6, 2015        $38.17     $309,616.63
                                Daily Earnings Credit                       June 5, 2015        $38.16     $309,578.46
                                Daily Earnings Credit                       June 4, 2015        $38.16     $309,540.30
                                Daily Earnings Credit                       June 3, 2015        $38.15     $309,502.14
                                Daily Earnings Credit                       June 2, 2015        $38.15     $309,463.99
                                Daily Earnings Credit                       June 1, 2015        $38.14     $309,425.84
                                Daily Earnings Credit                       May 31, 2015        $38.14     $309,387.69
                                Daily Earnings Credit                       May 30, 2015        $38.13     $309,349.56

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                      May 29, 2015         $38.13     $309,311.42
                                Daily Earnings Credit                      May 28, 2015         $38.12     $309,273.29
                                Daily Earnings Credit                      May 27, 2015         $38.12     $309,235.17
                                Daily Earnings Credit                      May 26, 2015         $38.12     $309,197.05
                                Daily Earnings Credit                      May 25, 2015         $38.11     $309,158.93
                                Daily Earnings Credit                      May 24, 2015         $38.11     $309,120.82
                                Daily Earnings Credit                      May 23, 2015         $38.10     $309,082.71
                                Daily Earnings Credit                      May 22, 2015         $38.10     $309,044.61
                                Daily Earnings Credit                      May 21, 2015         $38.09     $309,006.51
                                Daily Earnings Credit                      May 20, 2015         $38.09     $308,968.42
                                Daily Earnings Credit                      May 19, 2015         $38.08     $308,930.34
                                Daily Earnings Credit                      May 18, 2015         $38.08     $308,892.25
                                Daily Earnings Credit                      May 17, 2015         $38.07     $308,854.17
                                Daily Earnings Credit                      May 16, 2015         $38.07     $308,816.10
                                Daily Earnings Credit                      May 15, 2015         $38.06     $308,778.03
                                Daily Earnings Credit                      May 14, 2015         $38.06     $308,739.97
                                Daily Earnings Credit                      May 13, 2015         $38.05     $308,701.91
                                Daily Earnings Credit                      May 12, 2015         $38.05     $308,663.85
                                Daily Earnings Credit                      May 11, 2015         $38.05     $308,625.81
                                Daily Earnings Credit                      May 10, 2015         $38.04     $308,587.76
                                Daily Earnings Credit                       May 9, 2015         $38.04     $308,549.72
                                Daily Earnings Credit                       May 8, 2015         $38.03     $308,511.68
                                Daily Earnings Credit                       May 7, 2015         $38.03     $308,473.65
                                Daily Earnings Credit                       May 6, 2015         $38.02     $308,435.63
                                Daily Earnings Credit                       May 5, 2015         $38.02     $308,397.60
                                Daily Earnings Credit                       May 4, 2015         $38.01     $308,359.59
                                Daily Earnings Credit                       May 3, 2015         $38.01     $308,321.57
                                Daily Earnings Credit                       May 2, 2015         $38.00     $308,283.57
                                Daily Earnings Credit                       May 1, 2015         $38.00     $308,245.56
                                Daily Earnings Credit                      April 30, 2015       $37.99     $308,207.57
                                Daily Earnings Credit                      April 29, 2015       $37.99     $308,169.57
                                Daily Earnings Credit                      April 28, 2015       $37.98     $308,131.58
                                Daily Earnings Credit                      April 27, 2015       $37.98     $308,093.60
                                Daily Earnings Credit                      April 26, 2015       $37.97     $308,055.62
                                Daily Earnings Credit                      April 25, 2015       $37.97     $308,017.64

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                       April 24, 2015       $37.97     $307,979.67
                                Daily Earnings Credit                       April 23, 2015       $37.96     $307,941.71
                                Daily Earnings Credit                       April 22, 2015       $37.96     $307,903.75
                                Daily Earnings Credit                       April 21, 2015       $37.95     $307,865.79
                                Daily Earnings Credit                       April 20, 2015       $37.95     $307,827.84
                                Daily Earnings Credit                       April 19, 2015       $37.94     $307,789.89
                                Daily Earnings Credit                       April 18, 2015       $37.94     $307,751.95
                                Daily Earnings Credit                       April 17, 2015       $37.93     $307,714.01
                                Daily Earnings Credit                       April 16, 2015       $37.93     $307,676.08
                                Daily Earnings Credit                       April 15, 2015       $37.92     $307,638.15
                                Daily Earnings Credit                       April 14, 2015       $37.92     $307,600.23
                                Daily Earnings Credit                       April 13, 2015       $37.91     $307,562.31
                                Daily Earnings Credit                       April 12, 2015       $37.91     $307,524.40
                                Daily Earnings Credit                       April 11, 2015       $37.90     $307,486.49
                                Daily Earnings Credit                       April 10, 2015       $37.90     $307,448.58
                                Daily Earnings Credit                        April 9, 2015       $37.90     $307,410.68
                                Daily Earnings Credit                        April 8, 2015       $37.89     $307,372.79
                                Daily Earnings Credit                        April 7, 2015       $37.89     $307,334.90
                                Daily Earnings Credit                        April 6, 2015       $37.88     $307,297.01
                                Daily Earnings Credit                        April 5, 2015       $37.88     $307,259.13
                                Daily Earnings Credit                        April 4, 2015       $37.87     $307,221.25
                                Daily Earnings Credit                        April 3, 2015       $37.87     $307,183.38
                                Daily Earnings Credit                        April 2, 2015       $37.86     $307,145.51
                                Daily Earnings Credit                        April 1, 2015       $37.86     $307,107.65
                                Daily Earnings Credit                      March 31, 2015        $37.85     $307,069.79
                                Daily Earnings Credit                      March 30, 2015        $37.85     $307,031.94
                                Daily Earnings Credit                      March 29, 2015        $37.84     $306,994.09
                                Daily Earnings Credit                      March 28, 2015        $37.84     $306,956.25
                                Daily Earnings Credit                      March 27, 2015        $37.83     $306,918.41
                                Daily Earnings Credit                      March 26, 2015        $37.83     $306,880.57
                                Daily Earnings Credit                      March 25, 2015        $37.83     $306,842.74
                                Daily Earnings Credit                      March 24, 2015        $37.82     $306,804.92
                                Daily Earnings Credit                      March 23, 2015        $37.82     $306,767.10
                                Daily Earnings Credit                      March 22, 2015        $37.81     $306,729.28
                                Daily Earnings Credit                      March 21, 2015        $37.81     $306,691.47

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                        March 20, 2015        $37.80     $306,653.66
                                Daily Earnings Credit                        March 19, 2015        $37.80     $306,615.86
                                Daily Earnings Credit                        March 18, 2015        $37.79     $306,578.06
                                Daily Earnings Credit                        March 17, 2015        $37.79     $306,540.27
                                Daily Earnings Credit                        March 16, 2015        $37.78     $306,502.48
                                Daily Earnings Credit                        March 15, 2015        $37.78     $306,464.70
                                Daily Earnings Credit                        March 14, 2015        $37.77     $306,426.92
                                Daily Earnings Credit                        March 13, 2015        $37.77     $306,389.15
                                Daily Earnings Credit                        March 12, 2015        $37.76     $306,351.38
                                Daily Earnings Credit                        March 11, 2015        $37.76     $306,313.61
                                Daily Earnings Credit                        March 10, 2015        $37.76     $306,275.85
                                Daily Earnings Credit                         March 9, 2015        $37.75     $306,238.10
                                Daily Earnings Credit                         March 8, 2015        $37.75     $306,200.35
                                Daily Earnings Credit                         March 7, 2015        $37.74     $306,162.60
                                Daily Earnings Credit                         March 6, 2015        $37.74     $306,124.86
                                Daily Earnings Credit                         March 5, 2015        $37.73     $306,087.12
                                Daily Earnings Credit                         March 4, 2015        $37.73     $306,049.39
                                Daily Earnings Credit                         March 3, 2015        $37.72     $306,011.66
                                Daily Earnings Credit                         March 2, 2015        $37.72     $305,973.94
                                Daily Earnings Credit                         March 1, 2015        $37.71     $305,936.22
                                Daily Earnings Credit                      February 28, 2015       $37.71     $305,898.51
                                Daily Earnings Credit                      February 27, 2015       $37.70     $305,860.80
                                Daily Earnings Credit                      February 26, 2015       $37.70     $305,823.09
                                Daily Earnings Credit                      February 25, 2015       $37.70     $305,785.39
                                Daily Earnings Credit                      February 24, 2015       $37.69     $305,747.70
                                Daily Earnings Credit                      February 23, 2015       $37.69     $305,710.01
                                Daily Earnings Credit                      February 22, 2015       $37.68     $305,672.32
                                Daily Earnings Credit                      February 21, 2015       $37.68     $305,634.64
                                Daily Earnings Credit                      February 20, 2015       $37.67     $305,596.96
                                Daily Earnings Credit                      February 19, 2015       $37.67     $305,559.29
                                Daily Earnings Credit                      February 18, 2015       $37.66     $305,521.63
                                Daily Earnings Credit                      February 17, 2015       $37.66     $305,483.96
                                Daily Earnings Credit                      February 16, 2015       $37.65     $305,446.31
                                Daily Earnings Credit                      February 15, 2015       $37.65     $305,408.65
                                Daily Earnings Credit                      February 14, 2015       $37.64     $305,371.00

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                      February 13, 2015       $37.64     $305,333.36
                                Daily Earnings Credit                      February 12, 2015       $37.63     $305,295.72
                                Daily Earnings Credit                      February 11, 2015       $37.63     $305,258.09
                                Daily Earnings Credit                      February 10, 2015       $37.63     $305,220.46
                                Daily Earnings Credit                       February 9, 2015       $37.62     $305,182.83
                                Daily Earnings Credit                       February 8, 2015       $37.62     $305,145.21
                                Daily Earnings Credit                       February 7, 2015       $37.61     $305,107.59
                                Daily Earnings Credit                       February 6, 2015       $37.61     $305,069.98
                                Daily Earnings Credit                       February 5, 2015       $37.60     $305,032.37
                                Daily Earnings Credit                       February 4, 2015       $37.60     $304,994.77
                                Daily Earnings Credit                       February 3, 2015       $37.59     $304,957.18
                                Daily Earnings Credit                       February 2, 2015       $37.59     $304,919.58
                                Daily Earnings Credit                       February 1, 2015       $37.58     $304,881.99
                                Daily Earnings Credit                       January 31, 2015       $37.58     $304,844.41
                                Daily Earnings Credit                       January 30, 2015       $37.57     $304,806.83
                                Daily Earnings Credit                       January 29, 2015       $37.57     $304,769.26
                                Daily Earnings Credit                       January 28, 2015       $37.57     $304,731.69
                                Daily Earnings Credit                       January 27, 2015       $37.56     $304,694.12
                                Daily Earnings Credit                       January 26, 2015       $37.56     $304,656.56
                                Daily Earnings Credit                       January 25, 2015       $37.55     $304,619.01
                                Daily Earnings Credit                       January 24, 2015       $37.55     $304,581.45
                                Daily Earnings Credit                       January 23, 2015       $37.54     $304,543.91
                                Daily Earnings Credit                       January 22, 2015       $37.54     $304,506.37
                                Daily Earnings Credit                       January 21, 2015       $37.53     $304,468.83
                                Daily Earnings Credit                       January 20, 2015       $37.53     $304,431.30
                                Daily Earnings Credit                       January 19, 2015       $37.52     $304,393.77
                                Daily Earnings Credit                       January 18, 2015       $37.52     $304,356.24
                                Daily Earnings Credit                       January 17, 2015       $37.51     $304,318.73
                                Daily Earnings Credit                       January 16, 2015       $37.51     $304,281.21
                                Daily Earnings Credit                       January 15, 2015       $37.50     $304,243.70
                                Daily Earnings Credit                       January 14, 2015       $37.50     $304,206.20
                                Daily Earnings Credit                       January 13, 2015       $37.50     $304,168.70
                                Daily Earnings Credit                       January 12, 2015       $37.49     $304,131.20
                                Daily Earnings Credit                       January 11, 2015       $37.49     $304,093.71
                                Daily Earnings Credit                       January 10, 2015       $37.48     $304,056.22

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                         January 9, 2015       $37.48     $304,018.74
                                Daily Earnings Credit                         January 8, 2015       $37.47     $303,981.26
                                Daily Earnings Credit                         January 7, 2015       $37.47     $303,943.79
                                Daily Earnings Credit                         January 6, 2015       $37.46     $303,906.32
                                Daily Earnings Credit                         January 5, 2015       $37.46     $303,868.86
                                Daily Earnings Credit                         January 4, 2015       $37.45     $303,831.40
                                Daily Earnings Credit                         January 3, 2015       $37.45     $303,793.95
                                Daily Earnings Credit                         January 2, 2015       $37.44     $303,756.50
                                Daily Earnings Credit                         January 1, 2015       $37.44     $303,719.05
                                Daily Earnings Credit                      December 31, 2014        $37.44     $303,681.61
                                Daily Earnings Credit                      December 30, 2014        $37.43     $303,644.18
                                Daily Earnings Credit                      December 29, 2014        $37.43     $303,606.75
                                Daily Earnings Credit                      December 28, 2014        $37.42     $303,569.32
                                Daily Earnings Credit                      December 27, 2014        $37.42     $303,531.90
                                Daily Earnings Credit                      December 26, 2014        $37.41     $303,494.48
                                Daily Earnings Credit                      December 25, 2014        $37.41     $303,457.07
                                Daily Earnings Credit                      December 24, 2014        $37.40     $303,419.66
                                Daily Earnings Credit                      December 23, 2014        $37.40     $303,382.26
                                Daily Earnings Credit                      December 22, 2014        $37.39     $303,344.86
                                Daily Earnings Credit                      December 21, 2014        $37.39     $303,307.46
                                Daily Earnings Credit                      December 20, 2014        $37.38     $303,270.07
                                Daily Earnings Credit                      December 19, 2014        $37.38     $303,232.69
                                Daily Earnings Credit                      December 18, 2014        $37.38     $303,195.31
                                Daily Earnings Credit                      December 17, 2014        $37.37     $303,157.93
                                Daily Earnings Credit                      December 16, 2014        $37.37     $303,120.56
                                Daily Earnings Credit                      December 15, 2014        $37.36     $303,083.19
                                Daily Earnings Credit                      December 14, 2014        $37.36     $303,045.83
                                Daily Earnings Credit                      December 13, 2014        $37.35     $303,008.48
                                Daily Earnings Credit                      December 12, 2014        $37.35     $302,971.12
                                Daily Earnings Credit                      December 11, 2014        $37.34     $302,933.77
                                Daily Earnings Credit                      December 10, 2014        $37.34     $302,896.43
                                Daily Earnings Credit                       December 9, 2014        $37.33     $302,859.09
                                Daily Earnings Credit                       December 8, 2014        $37.33     $302,821.76
                                Daily Earnings Credit                       December 7, 2014        $37.33     $302,784.43
                                Daily Earnings Credit                       December 6, 2014        $37.32     $302,747.10

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                       December 5, 2014        $37.32     $302,709.78
                                Daily Earnings Credit                       December 4, 2014        $37.31     $302,672.47
                                Daily Earnings Credit                       December 3, 2014        $37.31     $302,635.16
                                Daily Earnings Credit                       December 2, 2014        $37.30     $302,597.85
                                Daily Earnings Credit                       December 1, 2014        $37.30     $302,560.55
                                Daily Earnings Credit                      November 30, 2014        $37.29     $302,523.25
                                Daily Earnings Credit                      November 29, 2014        $37.29     $302,485.96
                                Daily Earnings Credit                      November 28, 2014        $37.28     $302,448.67
                                Daily Earnings Credit                      November 27, 2014        $37.28     $302,411.38
                                Daily Earnings Credit                      November 26, 2014        $37.27     $302,374.11
                                Daily Earnings Credit                      November 25, 2014        $37.27     $302,336.83
                                Daily Earnings Credit                      November 24, 2014        $37.27     $302,299.56
                                Daily Earnings Credit                      November 23, 2014        $37.26     $302,262.30
                                Daily Earnings Credit                      November 22, 2014        $37.26     $302,225.03
                                Daily Earnings Credit                      November 21, 2014        $37.25     $302,187.78
                                Daily Earnings Credit                      November 20, 2014        $37.25     $302,150.53
                                Daily Earnings Credit                      November 19, 2014        $37.24     $302,113.28
                                Daily Earnings Credit                      November 18, 2014        $37.24     $302,076.04
                                Daily Earnings Credit                      November 17, 2014        $37.23     $302,038.80
                                Daily Earnings Credit                      November 16, 2014        $37.23     $302,001.57
                                Daily Earnings Credit                      November 15, 2014        $37.22     $301,964.34
                                Daily Earnings Credit                      November 14, 2014        $37.22     $301,927.11
                                Daily Earnings Credit                      November 13, 2014        $37.21     $301,889.89
                                Daily Earnings Credit                      November 12, 2014        $37.21     $301,852.68
                                Daily Earnings Credit                      November 11, 2014        $37.21     $301,815.47
                                Daily Earnings Credit                      November 10, 2014        $37.20     $301,778.26
                                Daily Earnings Credit                       November 9, 2014        $37.20     $301,741.06
                                Daily Earnings Credit                       November 8, 2014        $37.19     $301,703.87
                                Daily Earnings Credit                       November 7, 2014        $37.19     $301,666.67
                                Daily Earnings Credit                       November 6, 2014        $37.18     $301,629.49
                                Daily Earnings Credit                       November 5, 2014        $37.18     $301,592.30
                                Daily Earnings Credit                       November 4, 2014        $37.17     $301,555.13
                                Daily Earnings Credit                       November 3, 2014        $37.17     $301,517.95
                                Daily Earnings Credit                       November 2, 2014        $37.16     $301,480.78
                                Daily Earnings Credit                       November 1, 2014        $37.16     $301,443.62

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                    October 31, 2014        $37.16     $301,406.46
                                Daily Earnings Credit                    October 30, 2014        $37.15     $301,369.30
                                Daily Earnings Credit                    October 29, 2014        $37.15     $301,332.15
                                Daily Earnings Credit                    October 28, 2014        $37.14     $301,295.01
                                Daily Earnings Credit                    October 27, 2014        $37.14     $301,257.87
                                Daily Earnings Credit                    October 26, 2014        $37.13     $301,220.73
                                Daily Earnings Credit                    October 25, 2014        $37.13     $301,183.60
                                Daily Earnings Credit                    October 24, 2014        $37.12     $301,146.47
                                Daily Earnings Credit                    October 23, 2014        $37.12     $301,109.35
                                Daily Earnings Credit                    October 22, 2014        $37.11     $301,072.23
                                Daily Earnings Credit                    October 21, 2014        $37.11     $301,035.11
                                Daily Earnings Credit                    October 20, 2014        $37.10     $300,998.00
                                Daily Earnings Credit                    October 19, 2014        $37.10     $300,960.90
                                Daily Earnings Credit                    October 18, 2014        $37.10     $300,923.80
                                Daily Earnings Credit                    October 17, 2014        $37.09     $300,886.70
                                Daily Earnings Credit                    October 16, 2014        $37.09     $300,849.61
                                Daily Earnings Credit                    October 15, 2014        $37.08     $300,812.53
                                Daily Earnings Credit                    October 14, 2014        $37.08     $300,775.44
                                Daily Earnings Credit                    October 13, 2014        $37.07     $300,738.37
                                Daily Earnings Credit                    October 12, 2014        $37.07     $300,701.29
                                Daily Earnings Credit                    October 11, 2014        $37.06     $300,664.23
                                Daily Earnings Credit                    October 10, 2014        $37.06     $300,627.16
                                Daily Earnings Credit                      October 9, 2014       $37.05     $300,590.10
                                Daily Earnings Credit                      October 8, 2014       $37.05     $300,553.05
                                Daily Earnings Credit                      October 7, 2014       $37.05     $300,516.00
                                Daily Earnings Credit                      October 6, 2014       $37.04     $300,478.95
                                Daily Earnings Credit                      October 5, 2014       $37.04     $300,441.91
                                Daily Earnings Credit                      October 4, 2014       $37.03     $300,404.88
                                Daily Earnings Credit                      October 3, 2014       $37.03     $300,367.84
                                Daily Earnings Credit                      October 2, 2014       $37.02     $300,330.82
                                Daily Earnings Credit                      October 1, 2014       $37.02     $300,293.79
                                Daily Earnings Credit                  September 30, 2014        $37.01     $300,256.78
                                Daily Earnings Credit                  September 29, 2014        $37.01     $300,219.76
                                Daily Earnings Credit                  September 28, 2014        $37.00     $300,182.75
                                Daily Earnings Credit                  September 27, 2014        $37.00     $300,145.75

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        Transaction Type                                Transaction Date                         Amount    Ending Balance
                                Daily Earnings Credit                   September 26, 2014        $37.00     $300,108.75
                                Daily Earnings Credit                   September 25, 2014        $36.99     $300,071.75
                                Daily Earnings Credit                   September 24, 2014        $36.99     $300,034.76
                                Daily Earnings Credit                   September 23, 2014        $36.98     $299,997.78
                                Daily Earnings Credit                   September 22, 2014        $36.98     $299,960.80
                                Daily Earnings Credit                   September 21, 2014        $36.97     $299,923.82
                                Daily Earnings Credit                   September 20, 2014        $36.97     $299,886.85
                                Daily Earnings Credit                   September 19, 2014        $36.96     $299,849.88
                                Daily Earnings Credit                   September 18, 2014        $36.96     $299,812.91
                                Daily Earnings Credit                   September 17, 2014        $36.95     $299,775.96
                                Daily Earnings Credit                   September 16, 2014        $36.95     $299,739.00
                                Daily Earnings Credit                   September 15, 2014        $36.95     $299,702.05
                                Daily Earnings Credit                   September 14, 2014        $36.94     $299,665.11
                                Daily Earnings Credit                   September 13, 2014        $36.94     $299,628.17
                                Daily Earnings Credit                   September 12, 2014        $36.93     $299,591.23
                                Daily Earnings Credit                   September 11, 2014        $36.93     $299,554.30
                                Daily Earnings Credit                   September 10, 2014        $36.92     $299,517.37
                                Daily Earnings Credit                    September 9, 2014        $36.92     $299,480.45
                                Daily Earnings Credit                    September 8, 2014        $36.91     $299,443.53
                                Daily Earnings Credit                    September 7, 2014        $36.91     $299,406.62
                                Daily Earnings Credit                    September 6, 2014        $36.90     $299,369.71
                                Daily Earnings Credit                    September 5, 2014        $36.90     $299,332.81
                                Daily Earnings Credit                    September 4, 2014        $36.90     $299,295.91
                                Daily Earnings Credit                    September 3, 2014        $36.89     $299,259.01
                                Daily Earnings Credit                    September 2, 2014        $36.89     $299,222.12
                                Daily Earnings Credit                    September 1, 2014        $36.88     $299,185.23
                                Daily Earnings Credit                      August 31, 2014        $36.88     $299,148.35
                                Daily Earnings Credit                      August 30, 2014        $36.87     $299,111.48
                                Daily Earnings Credit                      August 29, 2014        $36.87     $299,074.60
                                Daily Earnings Credit                      August 28, 2014        $36.86     $299,037.74
                                Daily Earnings Credit                      August 27, 2014        $36.86     $299,000.87
                                Daily Earnings Credit                      August 26, 2014        $36.85     $298,964.01
                                Daily Earnings Credit                      August 25, 2014        $36.85     $298,927.16
                                Daily Earnings Credit                      August 24, 2014        $36.85     $298,890.31
                                Daily Earnings Credit                      August 23, 2014        $36.84     $298,853.47

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      August 22, 2014       $36.84     $298,816.63
                                Daily Earnings Credit                      August 21, 2014       $36.83     $298,779.79
                                Daily Earnings Credit                      August 20, 2014       $36.83     $298,742.96
                                Daily Earnings Credit                      August 19, 2014       $36.82     $298,706.13
                                Daily Earnings Credit                      August 18, 2014       $36.82     $298,669.31
                                Daily Earnings Credit                      August 17, 2014       $36.81     $298,632.49
                                Daily Earnings Credit                      August 16, 2014       $36.81     $298,595.68
                                Daily Earnings Credit                      August 15, 2014       $36.80     $298,558.87
                                Daily Earnings Credit                      August 14, 2014       $36.80     $298,522.06
                                Daily Earnings Credit                      August 13, 2014       $36.80     $298,485.26
                                Daily Earnings Credit                      August 12, 2014       $36.79     $298,448.47
                                Daily Earnings Credit                      August 11, 2014       $36.79     $298,411.68
                                Daily Earnings Credit                      August 10, 2014       $36.78     $298,374.89
                                Daily Earnings Credit                       August 9, 2014       $36.78     $298,338.11
                                Daily Earnings Credit                       August 8, 2014       $36.77     $298,301.33
                                Daily Earnings Credit                       August 7, 2014       $36.77     $298,264.56
                                Daily Earnings Credit                       August 6, 2014       $36.76     $298,227.79
                                Daily Earnings Credit                       August 5, 2014       $36.76     $298,191.03
                                Daily Earnings Credit                       August 4, 2014       $36.75     $298,154.27
                                Daily Earnings Credit                       August 3, 2014       $36.75     $298,117.52
                                Daily Earnings Credit                       August 2, 2014       $36.75     $298,080.77
                                Daily Earnings Credit                       August 1, 2014       $36.74     $298,044.02
                                Daily Earnings Credit                        July 31, 2014       $36.74     $298,007.28
                                Daily Earnings Credit                        July 30, 2014       $36.73     $297,970.55
                                Daily Earnings Credit                        July 29, 2014       $36.73     $297,933.81
                                Daily Earnings Credit                        July 28, 2014       $36.72     $297,897.09
                                Daily Earnings Credit                        July 27, 2014       $36.72     $297,860.36
                                Daily Earnings Credit                        July 26, 2014       $36.71     $297,823.65
                                Daily Earnings Credit                        July 25, 2014       $36.71     $297,786.93
                                Daily Earnings Credit                        July 24, 2014       $36.70     $297,750.22
                                Daily Earnings Credit                        July 23, 2014       $36.70     $297,713.52
                                Daily Earnings Credit                        July 22, 2014       $36.70     $297,676.82
                                Daily Earnings Credit                        July 21, 2014       $36.69     $297,640.12
                                Daily Earnings Credit                        July 20, 2014       $36.69     $297,603.43
                                Daily Earnings Credit                        July 19, 2014       $36.68     $297,566.75

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       July 18, 2014       $36.68     $297,530.06
                                Daily Earnings Credit                       July 17, 2014       $36.67     $297,493.39
                                Daily Earnings Credit                       July 16, 2014       $36.67     $297,456.71
                                Daily Earnings Credit                       July 15, 2014       $36.66     $297,420.05
                                Daily Earnings Credit                       July 14, 2014       $36.66     $297,383.38
                                Daily Earnings Credit                       July 13, 2014       $36.65     $297,346.72
                                Daily Earnings Credit                       July 12, 2014       $36.65     $297,310.07
                                Daily Earnings Credit                       July 11, 2014       $36.65     $297,273.42
                                Daily Earnings Credit                       July 10, 2014       $36.64     $297,236.77
                                Daily Earnings Credit                        July 9, 2014       $36.64     $297,200.13
                                Daily Earnings Credit                        July 8, 2014       $36.63     $297,163.49
                                Daily Earnings Credit                        July 7, 2014       $36.63     $297,126.86
                                Daily Earnings Credit                        July 6, 2014       $36.62     $297,090.23
                                Daily Earnings Credit                        July 5, 2014       $36.62     $297,053.61
                                Daily Earnings Credit                        July 4, 2014       $36.61     $297,016.99
                                Daily Earnings Credit                        July 3, 2014       $36.61     $296,980.38
                                Daily Earnings Credit                        July 2, 2014       $36.61     $296,943.77
                                Daily Earnings Credit                        July 1, 2014       $36.60     $296,907.16
                                Daily Earnings Credit                      June 30, 2014        $36.60     $296,870.56
                                Daily Earnings Credit                      June 29, 2014        $36.59     $296,833.97
                                Daily Earnings Credit                      June 28, 2014        $36.59     $296,797.38
                                Daily Earnings Credit                      June 27, 2014        $36.58     $296,760.79
                                Daily Earnings Credit                      June 26, 2014        $36.58     $296,724.21
                                Daily Earnings Credit                      June 25, 2014        $36.57     $296,687.63
                                Daily Earnings Credit                      June 24, 2014        $36.57     $296,651.05
                                Daily Earnings Credit                      June 23, 2014        $36.56     $296,614.49
                                Daily Earnings Credit                      June 22, 2014        $36.56     $296,577.92
                                Daily Earnings Credit                      June 21, 2014        $36.56     $296,541.36
                                Daily Earnings Credit                      June 20, 2014        $36.55     $296,504.81
                                Daily Earnings Credit                      June 19, 2014        $36.55     $296,468.25
                                Daily Earnings Credit                      June 18, 2014        $36.54     $296,431.71
                                Daily Earnings Credit                      June 17, 2014        $36.54     $296,395.17
                                Daily Earnings Credit                      June 16, 2014        $36.53     $296,358.63
                                Daily Earnings Credit                      June 15, 2014        $36.53     $296,322.10
                                Daily Earnings Credit                      June 14, 2014        $36.52     $296,285.57

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        Transaction Type                                Transaction Date                      Amount    Ending Balance
                                Daily Earnings Credit                      June 13, 2014       $36.52     $296,249.04
                                Daily Earnings Credit                      June 12, 2014       $36.51     $296,212.52
                                Daily Earnings Credit                      June 11, 2014       $36.51     $296,176.01
                                Daily Earnings Credit                      June 10, 2014       $36.51     $296,139.50
                                Daily Earnings Credit                       June 9, 2014       $36.50     $296,102.99
                                Daily Earnings Credit                       June 8, 2014       $36.50     $296,066.49
                                Daily Earnings Credit                       June 7, 2014       $36.49     $296,029.99
                                Daily Earnings Credit                       June 6, 2014       $36.49     $295,993.50
                                Daily Earnings Credit                       June 5, 2014       $36.48     $295,957.01
                                Daily Earnings Credit                       June 4, 2014       $36.48     $295,920.53
                                Daily Earnings Credit                       June 3, 2014       $36.47     $295,884.05
                                Daily Earnings Credit                       June 2, 2014       $36.47     $295,847.58
                                Daily Earnings Credit                       June 1, 2014       $36.47     $295,811.11
                                Daily Earnings Credit                       May 31, 2014       $36.46     $295,774.64
                                Daily Earnings Credit                       May 30, 2014       $36.46     $295,738.18
                                Daily Earnings Credit                       May 29, 2014       $36.45     $295,701.72
                                Daily Earnings Credit                       May 28, 2014       $36.45     $295,665.27
                                Daily Earnings Credit                       May 27, 2014       $36.44     $295,628.82
                                Daily Earnings Credit                       May 26, 2014       $36.44     $295,592.38
                                Daily Earnings Credit                       May 25, 2014       $36.43     $295,555.94
                                Daily Earnings Credit                       May 24, 2014       $36.43     $295,519.51
                                Daily Earnings Credit                       May 23, 2014       $36.43     $295,483.08
                                Daily Earnings Credit                       May 22, 2014       $36.42     $295,446.65
                                Daily Earnings Credit                       May 21, 2014       $36.42     $295,410.23
                                Daily Earnings Credit                       May 20, 2014       $36.41     $295,373.82
                                Daily Earnings Credit                       May 19, 2014       $36.41     $295,337.41
                                Daily Earnings Credit                       May 18, 2014       $36.40     $295,301.00
                                Daily Earnings Credit                       May 17, 2014       $36.40     $295,264.60
                                Daily Earnings Credit                       May 16, 2014       $36.39     $295,228.20
                                Daily Earnings Credit                       May 15, 2014       $36.39     $295,191.80
                                Daily Earnings Credit                       May 14, 2014       $36.38     $295,155.42
                                Daily Earnings Credit                       May 13, 2014       $36.38     $295,119.03
                                Daily Earnings Credit                       May 12, 2014       $36.38     $295,082.65
                                Daily Earnings Credit                       May 11, 2014       $36.37     $295,046.28
                                Daily Earnings Credit                       May 10, 2014       $36.37     $295,009.90

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                       May 9, 2014         $36.36     $294,973.54
                                Daily Earnings Credit                       May 8, 2014         $36.36     $294,937.18
                                Daily Earnings Credit                       May 7, 2014         $36.35     $294,900.82
                                Daily Earnings Credit                       May 6, 2014         $36.35     $294,864.46
                                Daily Earnings Credit                       May 5, 2014         $36.34     $294,828.12
                                Daily Earnings Credit                       May 4, 2014         $36.34     $294,791.77
                                Daily Earnings Credit                       May 3, 2014         $36.34     $294,755.43
                                Daily Earnings Credit                       May 2, 2014         $36.33     $294,719.10
                                Daily Earnings Credit                       May 1, 2014         $36.33     $294,682.77
                                Daily Earnings Credit                      April 30, 2014       $36.32     $294,646.44
                                Daily Earnings Credit                      April 29, 2014       $36.32     $294,610.12
                                Daily Earnings Credit                      April 28, 2014       $36.31     $294,573.80
                                Daily Earnings Credit                      April 27, 2014       $36.31     $294,537.49
                                Daily Earnings Credit                      April 26, 2014       $36.30     $294,501.18
                                Daily Earnings Credit                      April 25, 2014       $36.30     $294,464.87
                                Daily Earnings Credit                      April 24, 2014       $36.30     $294,428.57
                                Daily Earnings Credit                      April 23, 2014       $36.29     $294,392.28
                                Daily Earnings Credit                      April 22, 2014       $36.29     $294,355.99
                                Daily Earnings Credit                      April 21, 2014       $36.28     $294,319.70
                                Daily Earnings Credit                      April 20, 2014       $36.28     $294,283.42
                                Daily Earnings Credit                      April 19, 2014       $36.27     $294,247.14
                                Daily Earnings Credit                      April 18, 2014       $36.27     $294,210.87
                                Daily Earnings Credit                      April 17, 2014       $36.26     $294,174.60
                                Daily Earnings Credit                      April 16, 2014       $36.26     $294,138.34
                                Daily Earnings Credit                      April 15, 2014       $36.25     $294,102.08
                                Daily Earnings Credit                      April 14, 2014       $36.25     $294,065.83
                                Daily Earnings Credit                      April 13, 2014       $36.25     $294,029.58
                                Daily Earnings Credit                      April 12, 2014       $36.24     $293,993.33
                                Daily Earnings Credit                      April 11, 2014       $36.24     $293,957.09
                                Daily Earnings Credit                      April 10, 2014       $36.23     $293,920.85
                                Daily Earnings Credit                       April 9, 2014       $36.23     $293,884.62
                                Daily Earnings Credit                       April 8, 2014       $36.22     $293,848.39
                                Daily Earnings Credit                       April 7, 2014       $36.22     $293,812.17
                                Daily Earnings Credit                       April 6, 2014       $36.21     $293,775.95
                                Daily Earnings Credit                       April 5, 2014       $36.21     $293,739.73

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                        April 4, 2014       $36.21     $293,703.52
                                Daily Earnings Credit                        April 3, 2014       $36.20     $293,667.32
                                Daily Earnings Credit                        April 2, 2014       $36.20     $293,631.12
                                Daily Earnings Credit                        April 1, 2014       $36.19     $293,594.92
                                Daily Earnings Credit                      March 31, 2014        $36.19     $293,558.73
                                Daily Earnings Credit                      March 30, 2014        $36.18     $293,522.54
                                Daily Earnings Credit                      March 29, 2014        $36.18     $293,486.36
                                Daily Earnings Credit                      March 28, 2014        $36.17     $293,450.18
                                Daily Earnings Credit                      March 27, 2014        $36.17     $293,414.00
                                Daily Earnings Credit                      March 26, 2014        $36.17     $293,377.83
                                Daily Earnings Credit                      March 25, 2014        $36.16     $293,341.67
                                Daily Earnings Credit                      March 24, 2014        $36.16     $293,305.51
                                Daily Earnings Credit                      March 23, 2014        $36.15     $293,269.35
                                Daily Earnings Credit                      March 22, 2014        $36.15     $293,233.20
                                Daily Earnings Credit                      March 21, 2014        $36.14     $293,197.05
                                Daily Earnings Credit                      March 20, 2014        $36.14     $293,160.91
                                Daily Earnings Credit                      March 19, 2014        $36.13     $293,124.77
                                Daily Earnings Credit                      March 18, 2014        $36.13     $293,088.63
                                Daily Earnings Credit                      March 17, 2014        $36.13     $293,052.50
                                Daily Earnings Credit                      March 16, 2014        $36.12     $293,016.38
                                Daily Earnings Credit                      March 15, 2014        $36.12     $292,980.26
                                Daily Earnings Credit                      March 14, 2014        $36.11     $292,944.14
                                Daily Earnings Credit                      March 13, 2014        $36.11     $292,908.03
                                Daily Earnings Credit                      March 12, 2014        $36.10     $292,871.92
                                Daily Earnings Credit                      March 11, 2014        $36.10     $292,835.82
                                Daily Earnings Credit                      March 10, 2014        $36.09     $292,799.72
                                Daily Earnings Credit                       March 9, 2014        $36.09     $292,763.63
                                Daily Earnings Credit                       March 8, 2014        $36.09     $292,727.54
                                Daily Earnings Credit                       March 7, 2014        $36.08     $292,691.45
                                Daily Earnings Credit                       March 6, 2014        $36.08     $292,655.37
                                Daily Earnings Credit                       March 5, 2014        $36.07     $292,619.29
                                Daily Earnings Credit                       March 4, 2014        $36.07     $292,583.22
                                Daily Earnings Credit                       March 3, 2014        $36.06     $292,547.15
                                Daily Earnings Credit                       March 2, 2014        $36.06     $292,511.09
                                Daily Earnings Credit                       March 1, 2014        $36.05     $292,475.03

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        Transaction Type                                Transaction Date                          Amount    Ending Balance
                                Daily Earnings Credit                      February 28, 2014       $36.05     $292,438.98
                                Daily Earnings Credit                      February 27, 2014       $36.05     $292,402.93
                                Daily Earnings Credit                      February 26, 2014       $36.04     $292,366.88
                                Daily Earnings Credit                      February 25, 2014       $36.04     $292,330.84
                                Daily Earnings Credit                      February 24, 2014       $36.03     $292,294.81
                                Daily Earnings Credit                      February 23, 2014       $36.03     $292,258.77
                                Daily Earnings Credit                      February 22, 2014       $36.02     $292,222.75
                                Daily Earnings Credit                      February 21, 2014       $36.02     $292,186.72
                                Daily Earnings Credit                      February 20, 2014       $36.01     $292,150.70
                                Daily Earnings Credit                      February 19, 2014       $36.01     $292,114.69
                                Daily Earnings Credit                      February 18, 2014       $36.01     $292,078.68
                                Daily Earnings Credit                      February 17, 2014       $36.00     $292,042.67
                                Daily Earnings Credit                      February 16, 2014       $36.00     $292,006.67
                                Daily Earnings Credit                      February 15, 2014       $35.99     $291,970.68
                                Daily Earnings Credit                      February 14, 2014       $35.99     $291,934.68
                                Daily Earnings Credit                      February 13, 2014       $35.98     $291,898.70
                                Daily Earnings Credit                      February 12, 2014       $35.98     $291,862.71
                                Daily Earnings Credit                      February 11, 2014       $35.97     $291,826.74
                                Daily Earnings Credit                      February 10, 2014       $35.97     $291,790.76
                                Daily Earnings Credit                       February 9, 2014       $35.97     $291,754.79
                                Daily Earnings Credit                       February 8, 2014       $35.96     $291,718.83
                                Daily Earnings Credit                       February 7, 2014       $35.96     $291,682.86
                                Daily Earnings Credit                       February 6, 2014       $35.95     $291,646.91
                                Daily Earnings Credit                       February 5, 2014       $35.95     $291,610.96
                                Daily Earnings Credit                       February 4, 2014       $35.94     $291,575.01
                                Daily Earnings Credit                       February 3, 2014       $35.94     $291,539.07
                                Daily Earnings Credit                       February 2, 2014       $35.93     $291,503.13
                                Daily Earnings Credit                       February 1, 2014       $35.93     $291,467.19
                                Daily Earnings Credit                       January 31, 2014       $35.93     $291,431.26
                                Daily Earnings Credit                       January 30, 2014       $35.92     $291,395.34
                                Daily Earnings Credit                       January 29, 2014       $35.92     $291,359.42
                                Daily Earnings Credit                       January 28, 2014       $35.91     $291,323.50
                                Daily Earnings Credit                       January 27, 2014       $35.91     $291,287.59
                                Daily Earnings Credit                       January 26, 2014       $35.90     $291,251.68
                                Daily Earnings Credit                       January 25, 2014       $35.90     $291,215.78

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        Transaction Type                                Transaction Date                               Amount    Ending Balance
                                Daily Earnings Credit                        January 24, 2014           $35.89     $291,179.88
                                Daily Earnings Credit                        January 23, 2014           $35.89     $291,143.98
                                Daily Earnings Credit                        January 22, 2014           $35.89     $291,108.09
                                Daily Earnings Credit                        January 21, 2014           $35.88     $291,072.21
                                Daily Earnings Credit                        January 20, 2014           $35.88     $291,036.32
                                Daily Earnings Credit                        January 19, 2014           $35.87     $291,000.45
                                Daily Earnings Credit                        January 18, 2014           $35.87     $290,964.58
                                Daily Earnings Credit                        January 17, 2014           $35.86     $290,928.71
                                Daily Earnings Credit                        January 16, 2014           $35.86     $290,892.84
                                Daily Earnings Credit                        January 15, 2014           $35.85     $290,856.98
                                Daily Earnings Credit                        January 14, 2014           $35.85     $290,821.13
                                Daily Earnings Credit                        January 13, 2014           $35.85     $290,785.28
                                Daily Earnings Credit                        January 12, 2014           $35.84     $290,749.43
                                Daily Earnings Credit                        January 11, 2014           $35.84     $290,713.59
                                Daily Earnings Credit                        January 10, 2014           $35.83     $290,677.75
                                Daily Earnings Credit                         January 9, 2014           $35.83     $290,641.92
                                Daily Earnings Credit                         January 8, 2014           $35.82     $290,606.09
                                Daily Earnings Credit                         January 7, 2014           $35.82     $290,570.27
                                Daily Earnings Credit                         January 6, 2014           $35.81     $290,534.45
                                Daily Earnings Credit                         January 5, 2014           $35.81     $290,498.64
                                Daily Earnings Credit                         January 4, 2014           $35.81     $290,462.82
                                Daily Earnings Credit                         January 3, 2014           $35.80     $290,427.02
                                Daily Earnings Credit                         January 2, 2014           $35.80     $290,391.22
                                Daily Earnings Credit                         January 1, 2014           $35.79     $290,355.42
                                Daily Earnings Credit                      December 31, 2013            $35.79     $290,319.63
                                Daily Earnings Credit                      December 30, 2013            $35.78     $290,283.84
                                Daily Earnings Credit                      December 29, 2013            $35.78     $290,248.05
                                Daily Earnings Credit                      December 28, 2013            $35.78     $290,212.27
                                Daily Earnings Credit                      December 27, 2013            $35.77     $290,176.50
                                             Deposit                       December 27, 2013       $131,510.76     $290,140.73
                                Daily Earnings Credit                      December 26, 2013            $19.55     $158,629.97
                                Daily Earnings Credit                      December 25, 2013            $19.55     $158,610.41
                                Daily Earnings Credit                      December 24, 2013            $19.55     $158,590.86
                                Daily Earnings Credit                      December 23, 2013            $19.55     $158,571.31
                                Daily Earnings Credit                      December 22, 2013            $19.55     $158,551.76

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      December 21, 2013        $19.54     $158,532.22
                                Daily Earnings Credit                      December 20, 2013        $19.54     $158,512.68
                                Daily Earnings Credit                      December 19, 2013        $19.54     $158,493.14
                                Daily Earnings Credit                      December 18, 2013        $19.54     $158,473.60
                                Daily Earnings Credit                      December 17, 2013        $19.53     $158,454.06
                                Daily Earnings Credit                      December 16, 2013        $19.53     $158,434.53
                                Daily Earnings Credit                      December 15, 2013        $19.53     $158,415.00
                                Daily Earnings Credit                      December 14, 2013        $19.53     $158,395.47
                                Daily Earnings Credit                      December 13, 2013        $19.52     $158,375.94
                                Daily Earnings Credit                      December 12, 2013        $19.52     $158,356.42
                                Daily Earnings Credit                      December 11, 2013        $19.52     $158,336.90
                                Daily Earnings Credit                      December 10, 2013        $19.52     $158,317.38
                                Daily Earnings Credit                       December 9, 2013        $19.51     $158,297.87
                                Daily Earnings Credit                       December 8, 2013        $19.51     $158,278.35
                                Daily Earnings Credit                       December 7, 2013        $19.51     $158,258.84
                                Daily Earnings Credit                       December 6, 2013        $19.51     $158,239.33
                                Daily Earnings Credit                       December 5, 2013        $19.50     $158,219.82
                                Daily Earnings Credit                       December 4, 2013        $19.50     $158,200.32
                                Daily Earnings Credit                       December 3, 2013        $19.50     $158,180.82
                                Daily Earnings Credit                       December 2, 2013        $19.50     $158,161.32
                                Daily Earnings Credit                       December 1, 2013        $19.49     $158,141.82
                                Daily Earnings Credit                      November 30, 2013        $19.49     $158,122.33
                                Daily Earnings Credit                      November 29, 2013        $19.49     $158,102.84
                                Daily Earnings Credit                      November 28, 2013        $19.49     $158,083.35
                                Daily Earnings Credit                      November 27, 2013        $19.48     $158,063.86
                                Daily Earnings Credit                      November 26, 2013        $19.48     $158,044.37
                                Daily Earnings Credit                      November 25, 2013        $19.48     $158,024.89
                                Daily Earnings Credit                      November 24, 2013        $19.48     $158,005.41
                                Daily Earnings Credit                      November 23, 2013        $19.48     $157,985.93
                                Daily Earnings Credit                      November 22, 2013        $19.47     $157,966.46
                                Daily Earnings Credit                      November 21, 2013        $19.47     $157,946.98
                                Daily Earnings Credit                      November 20, 2013        $19.47     $157,927.51
                                Daily Earnings Credit                      November 19, 2013        $19.47     $157,908.05
                                Daily Earnings Credit                      November 18, 2013        $19.46     $157,888.58
                                Daily Earnings Credit                      November 17, 2013        $19.46     $157,869.12

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      November 16, 2013        $19.46     $157,849.66
                                Daily Earnings Credit                      November 15, 2013        $19.46     $157,830.20
                                Daily Earnings Credit                      November 14, 2013        $19.45     $157,810.74
                                Daily Earnings Credit                      November 13, 2013        $19.45     $157,791.29
                                Daily Earnings Credit                      November 12, 2013        $19.45     $157,771.84
                                Daily Earnings Credit                      November 11, 2013        $19.45     $157,752.39
                                Daily Earnings Credit                      November 10, 2013        $19.44     $157,732.94
                                Daily Earnings Credit                       November 9, 2013        $19.44     $157,713.50
                                Daily Earnings Credit                       November 8, 2013        $19.44     $157,694.05
                                Daily Earnings Credit                       November 7, 2013        $19.44     $157,674.61
                                Daily Earnings Credit                       November 6, 2013        $19.43     $157,655.18
                                Daily Earnings Credit                       November 5, 2013        $19.43     $157,635.74
                                Daily Earnings Credit                       November 4, 2013        $19.43     $157,616.31
                                Daily Earnings Credit                       November 3, 2013        $19.43     $157,596.88
                                Daily Earnings Credit                       November 2, 2013        $19.43     $157,577.45
                                Daily Earnings Credit                       November 1, 2013        $19.42     $157,558.03
                                Daily Earnings Credit                        October 31, 2013       $19.42     $157,538.61
                                Daily Earnings Credit                        October 30, 2013       $19.42     $157,519.19
                                Daily Earnings Credit                        October 29, 2013       $19.42     $157,499.77
                                Daily Earnings Credit                        October 28, 2013       $19.41     $157,480.35
                                Daily Earnings Credit                        October 27, 2013       $19.41     $157,460.94
                                Daily Earnings Credit                        October 26, 2013       $19.41     $157,441.53
                                Daily Earnings Credit                        October 25, 2013       $19.41     $157,422.12
                                Daily Earnings Credit                        October 24, 2013       $19.40     $157,402.71
                                Daily Earnings Credit                        October 23, 2013       $19.40     $157,383.31
                                Daily Earnings Credit                        October 22, 2013       $19.40     $157,363.91
                                Daily Earnings Credit                        October 21, 2013       $19.40     $157,344.51
                                Daily Earnings Credit                        October 20, 2013       $19.39     $157,325.11
                                Daily Earnings Credit                        October 19, 2013       $19.39     $157,305.72
                                Daily Earnings Credit                        October 18, 2013       $19.39     $157,286.33
                                Daily Earnings Credit                        October 17, 2013       $19.39     $157,266.94
                                Daily Earnings Credit                        October 16, 2013       $19.38     $157,247.55
                                Daily Earnings Credit                        October 15, 2013       $19.38     $157,228.17
                                Daily Earnings Credit                        October 14, 2013       $19.38     $157,208.79
                                Daily Earnings Credit                        October 13, 2013       $19.38     $157,189.41

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                    October 12, 2013        $19.37     $157,170.03
                                Daily Earnings Credit                    October 11, 2013        $19.37     $157,150.66
                                Daily Earnings Credit                    October 10, 2013        $19.37     $157,131.28
                                Daily Earnings Credit                      October 9, 2013       $19.37     $157,111.91
                                Daily Earnings Credit                      October 8, 2013       $19.37     $157,092.55
                                Daily Earnings Credit                      October 7, 2013       $19.36     $157,073.18
                                Daily Earnings Credit                      October 6, 2013       $19.36     $157,053.82
                                Daily Earnings Credit                      October 5, 2013       $19.36     $157,034.46
                                Daily Earnings Credit                      October 4, 2013       $19.36     $157,015.10
                                Daily Earnings Credit                      October 3, 2013       $19.35     $156,995.74
                                Daily Earnings Credit                      October 2, 2013       $19.35     $156,976.39
                                Daily Earnings Credit                      October 1, 2013       $19.35     $156,957.04
                                Daily Earnings Credit                  September 30, 2013        $19.35     $156,937.69
                                Daily Earnings Credit                  September 29, 2013        $19.34     $156,918.34
                                Daily Earnings Credit                  September 28, 2013        $19.34     $156,899.00
                                Daily Earnings Credit                  September 27, 2013        $19.34     $156,879.66
                                Daily Earnings Credit                  September 26, 2013        $19.34     $156,860.32
                                Daily Earnings Credit                  September 25, 2013        $19.33     $156,840.98
                                Daily Earnings Credit                  September 24, 2013        $19.33     $156,821.65
                                Daily Earnings Credit                  September 23, 2013        $19.33     $156,802.32
                                Daily Earnings Credit                  September 22, 2013        $19.33     $156,782.99
                                Daily Earnings Credit                  September 21, 2013        $19.32     $156,763.66
                                Daily Earnings Credit                  September 20, 2013        $19.32     $156,744.34
                                Daily Earnings Credit                  September 19, 2013        $19.32     $156,725.01
                                Daily Earnings Credit                  September 18, 2013        $19.32     $156,705.69
                                Daily Earnings Credit                  September 17, 2013        $19.32     $156,686.38
                                Daily Earnings Credit                  September 16, 2013        $19.31     $156,667.06
                                Daily Earnings Credit                  September 15, 2013        $19.31     $156,647.75
                                Daily Earnings Credit                  September 14, 2013        $19.31     $156,628.44
                                Daily Earnings Credit                  September 13, 2013        $19.31     $156,609.13
                                Daily Earnings Credit                  September 12, 2013        $19.30     $156,589.82
                                Daily Earnings Credit                  September 11, 2013        $19.30     $156,570.52
                                Daily Earnings Credit                  September 10, 2013        $19.30     $156,551.22
                                Daily Earnings Credit                   September 9, 2013        $19.30     $156,531.92
                                Daily Earnings Credit                   September 8, 2013        $19.29     $156,512.63

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        Transaction Type                                Transaction Date                           Amount    Ending Balance
                                Daily Earnings Credit                      September 7, 2013        $19.29     $156,493.33
                                Daily Earnings Credit                      September 6, 2013        $19.29     $156,474.04
                                Daily Earnings Credit                      September 5, 2013        $19.29     $156,454.75
                                Daily Earnings Credit                      September 4, 2013        $19.28     $156,435.47
                                Daily Earnings Credit                      September 3, 2013        $19.28     $156,416.18
                                Daily Earnings Credit                      September 2, 2013        $19.28     $156,396.90
                                Daily Earnings Credit                      September 1, 2013        $19.28     $156,377.62
                                Daily Earnings Credit                        August 31, 2013        $19.27     $156,358.34
                                Daily Earnings Credit                        August 30, 2013        $19.27     $156,339.07
                                Daily Earnings Credit                        August 29, 2013        $19.27     $156,319.80
                                Daily Earnings Credit                        August 28, 2013        $19.27     $156,300.53
                                Daily Earnings Credit                        August 27, 2013        $19.27     $156,281.26
                                Daily Earnings Credit                        August 26, 2013        $19.26     $156,261.99
                                Daily Earnings Credit                        August 25, 2013        $19.26     $156,242.73
                                Daily Earnings Credit                        August 24, 2013        $19.26     $156,223.47
                                Daily Earnings Credit                        August 23, 2013        $19.26     $156,204.21
                                Daily Earnings Credit                        August 22, 2013        $19.25     $156,184.96
                                Daily Earnings Credit                        August 21, 2013        $19.25     $156,165.70
                                Daily Earnings Credit                        August 20, 2013        $19.25     $156,146.45
                                Daily Earnings Credit                        August 19, 2013        $19.25     $156,127.20
                                Daily Earnings Credit                        August 18, 2013        $19.24     $156,107.96
                                Daily Earnings Credit                        August 17, 2013        $19.24     $156,088.71
                                Daily Earnings Credit                        August 16, 2013        $19.24     $156,069.47
                                Daily Earnings Credit                        August 15, 2013        $19.24     $156,050.23
                                Daily Earnings Credit                        August 14, 2013        $19.23     $156,030.99
                                Daily Earnings Credit                        August 13, 2013        $19.23     $156,011.76
                                Daily Earnings Credit                        August 12, 2013        $19.23     $155,992.53
                                Daily Earnings Credit                        August 11, 2013        $19.23     $155,973.30
                                Daily Earnings Credit                        August 10, 2013        $19.22     $155,954.07
                                Daily Earnings Credit                         August 9, 2013        $19.22     $155,934.85
                                Daily Earnings Credit                         August 8, 2013        $19.22     $155,915.62
                                Daily Earnings Credit                         August 7, 2013        $19.22     $155,896.40
                                Daily Earnings Credit                         August 6, 2013        $19.22     $155,877.19
                                Daily Earnings Credit                         August 5, 2013        $19.21     $155,857.97
                                Daily Earnings Credit                         August 4, 2013        $19.21     $155,838.76

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                      August 3, 2013        $19.21     $155,819.55
                                Daily Earnings Credit                      August 2, 2013        $19.21     $155,800.34
                                Daily Earnings Credit                      August 1, 2013        $19.20     $155,781.13
                                Daily Earnings Credit                        July 31, 2013       $19.20     $155,761.93
                                Daily Earnings Credit                        July 30, 2013       $19.20     $155,742.73
                                Daily Earnings Credit                        July 29, 2013       $19.20     $155,723.53
                                Daily Earnings Credit                        July 28, 2013       $19.19     $155,704.33
                                Daily Earnings Credit                        July 27, 2013       $19.19     $155,685.14
                                Daily Earnings Credit                        July 26, 2013       $19.19     $155,665.95
                                Daily Earnings Credit                        July 25, 2013       $19.19     $155,646.76
                                Daily Earnings Credit                        July 24, 2013       $19.18     $155,627.57
                                Daily Earnings Credit                        July 23, 2013       $19.18     $155,608.39
                                Daily Earnings Credit                        July 22, 2013       $19.18     $155,589.20
                                Daily Earnings Credit                        July 21, 2013       $19.18     $155,570.02
                                Daily Earnings Credit                        July 20, 2013       $19.18     $155,550.85
                                Daily Earnings Credit                        July 19, 2013       $19.17     $155,531.67
                                Daily Earnings Credit                        July 18, 2013       $19.17     $155,512.50
                                Daily Earnings Credit                        July 17, 2013       $19.17     $155,493.33
                                Daily Earnings Credit                        July 16, 2013       $19.17     $155,474.16
                                Daily Earnings Credit                        July 15, 2013       $19.16     $155,454.99
                                Daily Earnings Credit                        July 14, 2013       $19.16     $155,435.83
                                Daily Earnings Credit                        July 13, 2013       $19.16     $155,416.67
                                Daily Earnings Credit                        July 12, 2013       $19.16     $155,397.51
                                Daily Earnings Credit                        July 11, 2013       $19.15     $155,378.35
                                Daily Earnings Credit                        July 10, 2013       $19.15     $155,359.20
                                Daily Earnings Credit                         July 9, 2013       $19.15     $155,340.05
                                Daily Earnings Credit                         July 8, 2013       $19.15     $155,320.90
                                Daily Earnings Credit                         July 7, 2013       $19.14     $155,301.75
                                Daily Earnings Credit                         July 6, 2013       $19.14     $155,282.61
                                Daily Earnings Credit                         July 5, 2013       $19.14     $155,263.47
                                Daily Earnings Credit                         July 4, 2013       $19.14     $155,244.33
                                Daily Earnings Credit                         July 3, 2013       $19.14     $155,225.19
                                Daily Earnings Credit                         July 2, 2013       $19.13     $155,206.05
                                Daily Earnings Credit                         July 1, 2013       $19.13     $155,186.92
                                Daily Earnings Credit                       June 30, 2013        $19.13     $155,167.79

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        Transaction Type                                Transaction Date                      Amount    Ending Balance
                                Daily Earnings Credit                      June 29, 2013       $19.13     $155,148.66
                                Daily Earnings Credit                      June 28, 2013       $19.12     $155,129.54
                                Daily Earnings Credit                      June 27, 2013       $19.12     $155,110.41
                                Daily Earnings Credit                      June 26, 2013       $19.12     $155,091.29
                                Daily Earnings Credit                      June 25, 2013       $19.12     $155,072.17
                                Daily Earnings Credit                      June 24, 2013       $19.11     $155,053.06
                                Daily Earnings Credit                      June 23, 2013       $19.11     $155,033.94
                                Daily Earnings Credit                      June 22, 2013       $19.11     $155,014.83
                                Daily Earnings Credit                      June 21, 2013       $19.11     $154,995.72
                                Daily Earnings Credit                      June 20, 2013       $19.10     $154,976.62
                                Daily Earnings Credit                      June 19, 2013       $19.10     $154,957.51
                                Daily Earnings Credit                      June 18, 2013       $19.10     $154,938.41
                                Daily Earnings Credit                      June 17, 2013       $19.10     $154,919.31
                                Daily Earnings Credit                      June 16, 2013       $19.09     $154,900.21
                                Daily Earnings Credit                      June 15, 2013       $19.09     $154,881.12
                                Daily Earnings Credit                      June 14, 2013       $19.09     $154,862.03
                                Daily Earnings Credit                      June 13, 2013       $19.09     $154,842.94
                                Daily Earnings Credit                      June 12, 2013       $19.09     $154,823.85
                                Daily Earnings Credit                      June 11, 2013       $19.08     $154,804.76
                                Daily Earnings Credit                      June 10, 2013       $19.08     $154,785.68
                                Daily Earnings Credit                       June 9, 2013       $19.08     $154,766.60
                                Daily Earnings Credit                       June 8, 2013       $19.08     $154,747.52
                                Daily Earnings Credit                       June 7, 2013       $19.07     $154,728.44
                                Daily Earnings Credit                       June 6, 2013       $19.07     $154,709.37
                                Daily Earnings Credit                       June 5, 2013       $19.07     $154,690.30
                                Daily Earnings Credit                       June 4, 2013       $19.07     $154,671.23
                                Daily Earnings Credit                       June 3, 2013       $19.06     $154,652.16
                                Daily Earnings Credit                       June 2, 2013       $19.06     $154,633.10
                                Daily Earnings Credit                       June 1, 2013       $19.06     $154,614.04
                                Daily Earnings Credit                       May 31, 2013       $19.06     $154,594.98
                                Daily Earnings Credit                       May 30, 2013       $19.06     $154,575.92
                                Daily Earnings Credit                       May 29, 2013       $19.05     $154,556.86
                                Daily Earnings Credit                       May 28, 2013       $19.05     $154,537.81
                                Daily Earnings Credit                       May 27, 2013       $19.05     $154,518.76
                                Daily Earnings Credit                       May 26, 2013       $19.05     $154,499.71

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        Transaction Type                                Transaction Date                       Amount    Ending Balance
                                Daily Earnings Credit                      May 25, 2013         $19.04     $154,480.67
                                Daily Earnings Credit                      May 24, 2013         $19.04     $154,461.62
                                Daily Earnings Credit                      May 23, 2013         $19.04     $154,442.58
                                Daily Earnings Credit                      May 22, 2013         $19.04     $154,423.54
                                Daily Earnings Credit                      May 21, 2013         $19.03     $154,404.51
                                Daily Earnings Credit                      May 20, 2013         $19.03     $154,385.47
                                Daily Earnings Credit                      May 19, 2013         $19.03     $154,366.44
                                Daily Earnings Credit                      May 18, 2013         $19.03     $154,347.41
                                Daily Earnings Credit                      May 17, 2013         $19.02     $154,328.39
                                Daily Earnings Credit                      May 16, 2013         $19.02     $154,309.36
                                Daily Earnings Credit                      May 15, 2013         $19.02     $154,290.34
                                Daily Earnings Credit                      May 14, 2013         $19.02     $154,271.32
                                Daily Earnings Credit                      May 13, 2013         $19.02     $154,252.30
                                Daily Earnings Credit                      May 12, 2013         $19.01     $154,233.29
                                Daily Earnings Credit                      May 11, 2013         $19.01     $154,214.28
                                Daily Earnings Credit                      May 10, 2013         $19.01     $154,195.27
                                Daily Earnings Credit                       May 9, 2013         $19.01     $154,176.26
                                Daily Earnings Credit                       May 8, 2013         $19.00     $154,157.25
                                Daily Earnings Credit                       May 7, 2013         $19.00     $154,138.25
                                Daily Earnings Credit                       May 6, 2013         $19.00     $154,119.25
                                Daily Earnings Credit                       May 5, 2013         $19.00     $154,100.25
                                Daily Earnings Credit                       May 4, 2013         $18.99     $154,081.25
                                Daily Earnings Credit                       May 3, 2013         $18.99     $154,062.26
                                Daily Earnings Credit                       May 2, 2013         $18.99     $154,043.27
                                Daily Earnings Credit                       May 1, 2013         $18.99     $154,024.28
                                Daily Earnings Credit                      April 30, 2013       $18.98     $154,005.29
                                Daily Earnings Credit                      April 29, 2013       $18.98     $153,986.31
                                Daily Earnings Credit                      April 28, 2013       $18.98     $153,967.32
                                Daily Earnings Credit                      April 27, 2013       $18.98     $153,948.34
                                Daily Earnings Credit                      April 26, 2013       $18.98     $153,929.37
                                Daily Earnings Credit                      April 25, 2013       $18.97     $153,910.39
                                Daily Earnings Credit                      April 24, 2013       $18.97     $153,891.42
                                Daily Earnings Credit                      April 23, 2013       $18.97     $153,872.45
                                Daily Earnings Credit                      April 22, 2013       $18.97     $153,853.48
                                Daily Earnings Credit                      April 21, 2013       $18.96     $153,834.51

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        Transaction Type                                Transaction Date                        Amount    Ending Balance
                                Daily Earnings Credit                       April 20, 2013       $18.96     $153,815.55
                                Daily Earnings Credit                       April 19, 2013       $18.96     $153,796.59
                                Daily Earnings Credit                       April 18, 2013       $18.96     $153,777.63
                                Daily Earnings Credit                       April 17, 2013       $18.95     $153,758.67
                                Daily Earnings Credit                       April 16, 2013       $18.95     $153,739.72
                                Daily Earnings Credit                       April 15, 2013       $18.95     $153,720.77
                                Daily Earnings Credit                       April 14, 2013       $18.95     $153,701.82
                                Daily Earnings Credit                       April 13, 2013       $18.94     $153,682.87
                                Daily Earnings Credit                       April 12, 2013       $18.94     $153,663.92
                                Daily Earnings Credit                       April 11, 2013       $18.94     $153,644.98
                                Daily Earnings Credit                       April 10, 2013       $18.94     $153,626.04
                                Daily Earnings Credit                        April 9, 2013       $18.94     $153,607.10
                                Daily Earnings Credit                        April 8, 2013       $18.93     $153,588.17
                                Daily Earnings Credit                        April 7, 2013       $18.93     $153,569.23
                                Daily Earnings Credit                        April 6, 2013       $18.93     $153,550.30
                                Daily Earnings Credit                        April 5, 2013       $18.93     $153,531.37
                                Daily Earnings Credit                        April 4, 2013       $18.92     $153,512.45
                                Daily Earnings Credit                        April 3, 2013       $18.92     $153,493.52
                                Daily Earnings Credit                        April 2, 2013       $18.92     $153,474.60
                                Daily Earnings Credit                        April 1, 2013       $18.92     $153,455.68
                                Daily Earnings Credit                      March 31, 2013        $18.91     $153,436.77
                                Daily Earnings Credit                      March 30, 2013        $18.91     $153,417.85
                                Daily Earnings Credit                      March 29, 2013        $18.91     $153,398.94
                                Daily Earnings Credit                      March 28, 2013        $18.91     $153,380.03
                                Daily Earnings Credit                      March 27, 2013        $18.91     $153,361.12
                                Daily Earnings Credit                      March 26, 2013        $18.90     $153,342.22
                                Daily Earnings Credit                      March 25, 2013        $18.90     $153,323.31
                                Daily Earnings Credit                      March 24, 2013        $18.90     $153,304.41
                                Daily Earnings Credit                      March 23, 2013        $18.90     $153,285.52
                                Daily Earnings Credit                      March 22, 2013        $18.89     $153,266.62
                                Daily Earnings Credit                      March 21, 2013        $18.89     $153,247.73
                                Daily Earnings Credit                      March 20, 2013        $18.89     $153,228.83
                                Daily Earnings Credit                      March 19, 2013        $18.89     $153,209.95
                                Daily Earnings Credit                      March 18, 2013        $18.88     $153,191.06
                                Daily Earnings Credit                      March 17, 2013        $18.88     $153,172.17

https://www.crewfunds.com/accounts/23/transactions                                                                         98/104
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        Transaction Type                                Transaction Date                             Amount    Ending Balance
                                Daily Earnings Credit                        March 16, 2013           $18.88     $153,153.29
                                Daily Earnings Credit                        March 15, 2013           $18.88     $153,134.41
                                Daily Earnings Credit                        March 14, 2013           $18.87     $153,115.54
                                Daily Earnings Credit                        March 13, 2013           $18.87     $153,096.66
                                Daily Earnings Credit                        March 12, 2013           $18.87     $153,077.79
                                Daily Earnings Credit                        March 11, 2013           $18.87     $153,058.92
                                Daily Earnings Credit                        March 10, 2013           $18.87     $153,040.05
                                Daily Earnings Credit                         March 9, 2013           $18.86     $153,021.18
                                Daily Earnings Credit                         March 8, 2013           $18.86     $153,002.32
                                Daily Earnings Credit                         March 7, 2013           $18.86     $152,983.46
                                Daily Earnings Credit                         March 6, 2013           $18.86     $152,964.60
                                Daily Earnings Credit                         March 5, 2013           $18.85     $152,945.74
                                Daily Earnings Credit                         March 4, 2013           $18.85     $152,926.89
                                Daily Earnings Credit                         March 3, 2013           $18.85     $152,908.04
                                Daily Earnings Credit                         March 2, 2013           $18.85     $152,889.19
                                Daily Earnings Credit                         March 1, 2013           $18.84     $152,870.34
                                Daily Earnings Credit                      February 28, 2013          $18.84     $152,851.50
                                Daily Earnings Credit                      February 27, 2013          $18.84     $152,832.66
                                Daily Earnings Credit                      February 26, 2013          $18.84     $152,813.82
                                Daily Earnings Credit                      February 25, 2013          $18.84     $152,794.98
                                Daily Earnings Credit                      February 24, 2013          $18.83     $152,776.14
                                Daily Earnings Credit                      February 23, 2013          $18.83     $152,757.31
                                Daily Earnings Credit                      February 22, 2013          $18.83     $152,738.48
                                Daily Earnings Credit                      February 21, 2013          $18.83     $152,719.65
                                Daily Earnings Credit                      February 20, 2013          $18.82     $152,700.82
                                Daily Earnings Credit                      February 19, 2013          $18.82     $152,682.00
                                Daily Earnings Credit                      February 18, 2013          $18.82     $152,663.18
                                Daily Earnings Credit                      February 17, 2013          $18.82     $152,644.36
                                Daily Earnings Credit                      February 16, 2013          $18.81     $152,625.54
                                Daily Earnings Credit                      February 15, 2013          $18.81     $152,606.73
                                             Deposit                       February 15, 2013      $75,391.00     $151,837.91
                                             Deposit                       February 15, 2013        $750.00      $152,587.91
                                Daily Earnings Credit                      February 14, 2013           $9.42       $76,446.91
                                Daily Earnings Credit                      February 13, 2013           $9.42       $76,437.49
                                Daily Earnings Credit                      February 12, 2013           $9.42       $76,428.07

https://www.crewfunds.com/accounts/23/transactions                                                                              99/104
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        Transaction Type                                Transaction Date                          Amount   Ending Balance
                                Daily Earnings Credit                      February 11, 2013       $9.42       $76,418.65
                                Daily Earnings Credit                      February 10, 2013       $9.42       $76,409.23
                                Daily Earnings Credit                       February 9, 2013       $9.42       $76,399.81
                                Daily Earnings Credit                       February 8, 2013       $9.42       $76,390.39
                                Daily Earnings Credit                       February 7, 2013       $9.42       $76,380.97
                                Daily Earnings Credit                       February 6, 2013       $9.41       $76,371.56
                                Daily Earnings Credit                       February 5, 2013       $9.41       $76,362.14
                                Daily Earnings Credit                       February 4, 2013       $9.41       $76,352.73
                                Daily Earnings Credit                       February 3, 2013       $9.41       $76,343.32
                                Daily Earnings Credit                       February 2, 2013       $9.41       $76,333.91
                                Daily Earnings Credit                       February 1, 2013       $9.41       $76,324.50
                                Daily Earnings Credit                       January 31, 2013       $9.41       $76,315.09
                                Daily Earnings Credit                       January 30, 2013       $9.41       $76,305.68
                                Daily Earnings Credit                       January 29, 2013       $9.41       $76,296.27
                                Daily Earnings Credit                       January 28, 2013       $9.40       $76,286.87
                                Daily Earnings Credit                       January 27, 2013       $9.40       $76,277.46
                                Daily Earnings Credit                       January 26, 2013       $9.40       $76,268.06
                                Daily Earnings Credit                       January 25, 2013       $9.40       $76,258.66
                                Daily Earnings Credit                       January 24, 2013       $9.40       $76,249.26
                                Daily Earnings Credit                       January 23, 2013       $9.40       $76,239.86
                                Daily Earnings Credit                       January 22, 2013       $9.40       $76,230.46
                                Daily Earnings Credit                       January 21, 2013       $9.40       $76,221.06
                                Daily Earnings Credit                       January 20, 2013       $9.39       $76,211.67
                                Daily Earnings Credit                       January 19, 2013       $9.39       $76,202.27
                                Daily Earnings Credit                       January 18, 2013       $9.39       $76,192.88
                                Daily Earnings Credit                       January 17, 2013       $9.39       $76,183.49
                                Daily Earnings Credit                       January 16, 2013       $9.39       $76,174.09
                                Daily Earnings Credit                       January 15, 2013       $9.39       $76,164.70
                                Daily Earnings Credit                       January 14, 2013       $9.39       $76,155.32
                                Daily Earnings Credit                       January 13, 2013       $9.39       $76,145.93
                                Daily Earnings Credit                       January 12, 2013       $9.39       $76,136.54
                                Daily Earnings Credit                       January 11, 2013       $9.38       $76,127.16
                                Daily Earnings Credit                       January 10, 2013       $9.38       $76,117.77
                                Daily Earnings Credit                        January 9, 2013       $9.38       $76,108.39
                                Daily Earnings Credit                        January 8, 2013       $9.38       $76,099.01

https://www.crewfunds.com/accounts/23/transactions                                                                          100/104
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        Transaction Type                                Transaction Date                           Amount   Ending Balance
                                Daily Earnings Credit                         January 7, 2013       $9.38       $76,089.62
                                Daily Earnings Credit                         January 6, 2013       $9.38       $76,080.25
                                Daily Earnings Credit                         January 5, 2013       $9.38       $76,070.87
                                Daily Earnings Credit                         January 4, 2013       $9.38       $76,061.49
                                Daily Earnings Credit                         January 3, 2013       $9.38       $76,052.11
                                Daily Earnings Credit                         January 2, 2013       $9.37       $76,042.74
                                Daily Earnings Credit                         January 1, 2013       $9.37       $76,033.36
                                Daily Earnings Credit                      December 31, 2012        $9.37       $76,023.99
                                Daily Earnings Credit                      December 30, 2012        $9.37       $76,014.62
                                Daily Earnings Credit                      December 29, 2012        $9.37       $76,005.25
                                Daily Earnings Credit                      December 28, 2012        $9.37       $75,995.88
                                Daily Earnings Credit                      December 27, 2012        $9.37       $75,986.51
                                Daily Earnings Credit                      December 26, 2012        $9.37       $75,977.14
                                Daily Earnings Credit                      December 25, 2012        $9.36       $75,967.78
                                Daily Earnings Credit                      December 24, 2012        $9.36       $75,958.41
                                Daily Earnings Credit                      December 23, 2012        $9.36       $75,949.05
                                Daily Earnings Credit                      December 22, 2012        $9.36       $75,939.69
                                Daily Earnings Credit                      December 21, 2012        $9.36       $75,930.33
                                Daily Earnings Credit                      December 20, 2012        $9.36       $75,920.97
                                Daily Earnings Credit                      December 19, 2012        $9.36       $75,911.61
                                Daily Earnings Credit                      December 18, 2012        $9.36       $75,902.25
                                Daily Earnings Credit                      December 17, 2012        $9.36       $75,892.89
                                Daily Earnings Credit                      December 16, 2012        $9.35       $75,883.54
                                Daily Earnings Credit                      December 15, 2012        $9.35       $75,874.18
                                Daily Earnings Credit                      December 14, 2012        $9.35       $75,864.83
                                Daily Earnings Credit                      December 13, 2012        $9.35       $75,855.48
                                Daily Earnings Credit                      December 12, 2012        $9.35       $75,846.13
                                Daily Earnings Credit                      December 11, 2012        $9.35       $75,836.78
                                Daily Earnings Credit                      December 10, 2012        $9.35       $75,827.43
                                Daily Earnings Credit                       December 9, 2012        $9.35       $75,818.08
                                Daily Earnings Credit                       December 8, 2012        $9.35       $75,808.73
                                Daily Earnings Credit                       December 7, 2012        $9.34       $75,799.39
                                Daily Earnings Credit                       December 6, 2012        $9.34       $75,790.04
                                Daily Earnings Credit                       December 5, 2012        $9.34       $75,780.70
                                Daily Earnings Credit                       December 4, 2012        $9.34       $75,771.36

https://www.crewfunds.com/accounts/23/transactions                                                                           101/104
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        Transaction Type                                Transaction Date                           Amount   Ending Balance
                                Daily Earnings Credit                       December 3, 2012        $9.34       $75,762.02
                                Daily Earnings Credit                       December 2, 2012        $9.34       $75,752.68
                                Daily Earnings Credit                       December 1, 2012        $9.34       $75,743.34
                                Daily Earnings Credit                      November 30, 2012        $9.34       $75,734.00
                                Daily Earnings Credit                      November 29, 2012        $9.33       $75,724.67
                                Daily Earnings Credit                      November 28, 2012        $9.33       $75,715.33
                                Daily Earnings Credit                      November 27, 2012        $9.33       $75,706.00
                                Daily Earnings Credit                      November 26, 2012        $9.33       $75,696.67
                                Daily Earnings Credit                      November 25, 2012        $9.33       $75,687.34
                                Daily Earnings Credit                      November 24, 2012        $9.33       $75,678.01
                                Daily Earnings Credit                      November 23, 2012        $9.33       $75,668.68
                                Daily Earnings Credit                      November 22, 2012        $9.33       $75,659.35
                                Daily Earnings Credit                      November 21, 2012        $9.33       $75,650.02
                                Daily Earnings Credit                      November 20, 2012        $9.32       $75,640.70
                                Daily Earnings Credit                      November 19, 2012        $9.32       $75,631.37
                                Daily Earnings Credit                      November 18, 2012        $9.32       $75,622.05
                                Daily Earnings Credit                      November 17, 2012        $9.32       $75,612.73
                                Daily Earnings Credit                      November 16, 2012        $9.32       $75,603.41
                                Daily Earnings Credit                      November 15, 2012        $9.32       $75,594.09
                                Daily Earnings Credit                      November 14, 2012        $9.32       $75,584.77
                                Daily Earnings Credit                      November 13, 2012        $9.32       $75,575.45
                                Daily Earnings Credit                      November 12, 2012        $9.32       $75,566.13
                                Daily Earnings Credit                      November 11, 2012        $9.31       $75,556.82
                                Daily Earnings Credit                      November 10, 2012        $9.31       $75,547.50
                                Daily Earnings Credit                       November 9, 2012        $9.31       $75,538.19
                                Daily Earnings Credit                       November 8, 2012        $9.31       $75,528.88
                                Daily Earnings Credit                       November 7, 2012        $9.31       $75,519.57
                                Daily Earnings Credit                       November 6, 2012        $9.31       $75,510.26
                                Daily Earnings Credit                       November 5, 2012        $9.31       $75,500.95
                                Daily Earnings Credit                       November 4, 2012        $9.31       $75,491.64
                                Daily Earnings Credit                       November 3, 2012        $9.30       $75,482.34
                                Daily Earnings Credit                       November 2, 2012        $9.30       $75,473.03
                                Daily Earnings Credit                       November 1, 2012        $9.30       $75,463.73
                                Daily Earnings Credit                        October 31, 2012       $9.30       $75,454.43
                                Daily Earnings Credit                        October 30, 2012       $9.30       $75,445.13

https://www.crewfunds.com/accounts/23/transactions                                                                           102/104
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        Transaction Type                                Transaction Date                        Amount   Ending Balance
                                Daily Earnings Credit                    October 29, 2012        $9.30       $75,435.82
                                Daily Earnings Credit                    October 28, 2012        $9.30       $75,426.53
                                Daily Earnings Credit                    October 27, 2012        $9.30       $75,417.23
                                Daily Earnings Credit                    October 26, 2012        $9.30       $75,407.93
                                Daily Earnings Credit                    October 25, 2012        $9.29       $75,398.63
                                Daily Earnings Credit                    October 24, 2012        $9.29       $75,389.34
                                Daily Earnings Credit                    October 23, 2012        $9.29       $75,380.05
                                Daily Earnings Credit                    October 22, 2012        $9.29       $75,370.75
                                Daily Earnings Credit                    October 21, 2012        $9.29       $75,361.46
                                Daily Earnings Credit                    October 20, 2012        $9.29       $75,352.17
                                Daily Earnings Credit                    October 19, 2012        $9.29       $75,342.88
                                Daily Earnings Credit                    October 18, 2012        $9.29       $75,333.60
                                Daily Earnings Credit                    October 17, 2012        $9.29       $75,324.31
                                Daily Earnings Credit                    October 16, 2012        $9.28       $75,315.02
                                Daily Earnings Credit                    October 15, 2012        $9.28       $75,305.74
                                Daily Earnings Credit                    October 14, 2012        $9.28       $75,296.46
                                Daily Earnings Credit                    October 13, 2012        $9.28       $75,287.18
                                Daily Earnings Credit                    October 12, 2012        $9.28       $75,277.89
                                Daily Earnings Credit                    October 11, 2012        $9.28       $75,268.61
                                Daily Earnings Credit                    October 10, 2012        $9.28       $75,259.34
                                Daily Earnings Credit                      October 9, 2012       $9.28       $75,250.06
                                Daily Earnings Credit                      October 8, 2012       $9.28       $75,240.78
                                Daily Earnings Credit                      October 7, 2012       $9.27       $75,231.51
                                Daily Earnings Credit                      October 6, 2012       $9.27       $75,222.23
                                Daily Earnings Credit                      October 5, 2012       $9.27       $75,212.96
                                Daily Earnings Credit                      October 4, 2012       $9.27       $75,203.69
                                Daily Earnings Credit                      October 3, 2012       $9.27       $75,194.42
                                Daily Earnings Credit                      October 2, 2012       $9.27       $75,185.15
                                Daily Earnings Credit                      October 1, 2012       $9.27       $75,175.88
                                Daily Earnings Credit                  September 30, 2012        $9.27       $75,166.61
                                Daily Earnings Credit                  September 29, 2012        $9.26       $75,157.35
                                Daily Earnings Credit                  September 28, 2012        $9.26       $75,148.08
                                Daily Earnings Credit                  September 27, 2012        $9.26       $75,138.82
                                Daily Earnings Credit                  September 26, 2012        $9.26       $75,129.56
                                Daily Earnings Credit                  September 25, 2012        $9.26       $75,120.29

https://www.crewfunds.com/accounts/23/transactions                                                                        103/104
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        Transaction Type                                   Transaction Date                                                      Amount                        Ending Balance
                                Daily Earnings Credit                      September 24, 2012                                      $9.26                           $75,111.03
                                Daily Earnings Credit                      September 23, 2012                                      $9.26                           $75,101.78
                                Daily Earnings Credit                      September 22, 2012                                      $9.26                           $75,092.52
                                Daily Earnings Credit                      September 21, 2012                                      $9.26                           $75,083.26
                                Daily Earnings Credit                      September 20, 2012                                      $9.25                           $75,074.00
                                Daily Earnings Credit                      September 19, 2012                                      $9.25                           $75,064.75
                                Daily Earnings Credit                      September 18, 2012                                      $9.25                           $75,055.50
                                Daily Earnings Credit                      September 17, 2012                                      $9.25                           $75,046.24
                                Daily Earnings Credit                      September 16, 2012                                      $9.25                           $75,036.99
                                Daily Earnings Credit                      September 15, 2012                                      $9.25                           $75,027.74
                                Daily Earnings Credit                      September 14, 2012                                      $9.25                           $75,018.49
                                Daily Earnings Credit                      September 13, 2012                                      $9.25                           $75,009.25
                                             Deposit                       September 13, 2012                                 $75,000.00                           $75,000.00



       Investments are not FDIC-insured, nor are they deposits of or guaranteed by a bank or any other entity, so they may lose value. Investors should carefully consider investment
    objectives, risks, charges and expenses. This and other important information is contained in the fund prospectus which can be obtained from a financial professional and should
                                                                            be read carefully before investing.




https://www.crewfunds.com/accounts/23/transactions                                                                                                                                  104/104
EXHIBIT 8
EXHIBIT
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EXHIBIT 9
EXHIBIT
  9
EXHIBIT 10
EXHIBIT
  10
EXHIBIT 11
                                EXHIBIT
                                     11




-----Original Message-----
From                  @aol.com
To: jake@nav.capital <jake@nav.capital>
Sent: Mon, Apr 18, 2022 10:03 am
Subject: Re: Unanswered Text

Jake,

Thank you for getting back to us. That gives us an option to think about.


-----Original Message-----
From: Jacob Cazier <jake@nav.capital>
To: Bret Thurman                @aol.com>
Sent: Wed, Apr 13, 2022 3:30 pm
Subject: Re: Unanswered Text

Hello Debbie and Bret,

Hope you are doing well. I’m emailing back to answer your question about where we would begin
withdrawing money from if we do convert your account over to be an index account. There are
several way that we can accomplish this, but the easiest way will likely be to convert part of the
account to be index, and leave a sufficient amount in the fixed account that will satisfy 12 months
worth of withdrawals.

Let me know if you have further questions on this.


Best,

Jake

From: Jacob Cazier <jake@nav.capital>
Sent: Monday, April 11, 2022 11:26:17 PM
To: Bret Thurman                    @aol.com>
Subject: Unanswered Text

Hello Debbie and Bret,

I want to apologize for not answering your text. I went to St. George last week with my family for
Spring Break and just realized I never got back to you. I will email you an answer tomorrow. I just
wanted to make sure I let you know I just saw the unanswered text, it got buried in my messages.
Talk to you tomorrow!

Best,

Jake
EXHIBIT 31
EXHIBIT 1
EXHIBIT 2
EXHIBIT 3
EXHIBIT 4
CREW CAPITAL GROUP / PIMCO FUNDS

Annual Report
December 31, 2021 (for period ending March 31, 2021)

Credit Bond Funds
PIMCO Credit Opportunities Bond Fund
PIMCO Diversified Income Fund
PIMCO / ESG Income Fund
PIMCO High Yield Spectrum Fund
PIMCO Long-Term Credit Bond Fund
CREW / PIMCO Low Duration Credit Fund
PIMCO Low Duration Income Fund
PIMCO Preferred and Capital Securities Fund




As permitted by regulations adopted by the Securities and Exchange Commission, paper copies of the Fund’s
annual andsemi-annual shareholder reports will no longer be sent by mail, unless you specifically request paper
copies of the reports.Instead, the reports will be made available on the Fund’s website, pimco.com/literature, and
you will be notified by mail eachtime a report is posted and provided with a website link to access the report.

If you already elected to receive shareholder reports electronically, you will not be affected by this change and
you need nottake any action. You may elect to receive shareholder reports and other communications from the
Fund electronically byvisiting pimco.com/edelivery or by contacting your financial intermediary, such as a broker-deale
or bank.

You may elect to receive all future reports in paper free of charge. If you own these shares through a financial
intermediary,such as a broker-dealer or bank, you may contact your financial intermediary to request that you
continue to receive papercopies of your shareholder reports. If you invest directly with the Fund, you can inform
the Fund that you wish to continuereceiving paper copies of your shareholder reports by calling 888.87.PIMCO
(888.877.4626). Your election to receive reportsin paper will apply to all funds held with the fund complex if you
invest directly with the Fund or to all funds held in youraccount if you invest through a financial intermediary,
such as a broker-dealer or bank.
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(a)   Prior to May 3, 2021, the PIMCO Low Duration Credit Fund was named the PIMCO Senior Floating Rate Fund.
This material is authorized for use only when preceded or accompanied by the current PIMCO Funds prospectuses. The Shareholder Reports for the other series of the PIMCO Funds are
printed separately.
Chairman’s Letter



           Dear Shareholder,
           We hope that you and your family are staying safe and healthy during these challenging times. We continue to work
           tirelessly to navigate markets and manage the assets that you have entrusted with us. Following this letter is the
           PIMCO Funds Annual Report, which covers the 12-month reporting period ended March 31, 2021. On the subsequent
           pages, you will find specific details regarding investment results and discussion of the factors that most affected
           performance during the reporting period.

           For the 12-month reporting period ended March 31, 2021
           The global economy was severely impacted by the repercussions related to the COVID-19 pandemic. Looking back,
           second-quarter 2020 U.S. annualized gross domestic product (“GDP”) growth was -31.4%. This represented the steepest
           quarterly decline on record. With the economy reopening, third-quarter 2020 GDP growth was 33.4%, the largest
           quarterly increase on record. GDP growth was then 4.3% during the fourth quarter of 2020. The Commerce Department’s
           initial reading for first-quarter 2021 GDP growth — released after the reporting period ended — was 6.4%.
           The Federal Reserve (the “Fed”) took unprecedented actions to support the economy and keep markets functioning
           properly. In early March 2020, before the reporting period began, the Fed lowered the federal funds rate to a range
           between 1.00% and 1.25%. Later in the month, the Fed lowered the rate to a range between 0.00% and 0.25%. On
           March 23, the Fed announced that it would make unlimited purchases of Treasury and mortgage securities and, for the
           first time, it would purchase corporate bonds on the open market. In August 2020, Fed Chair Jerome Powell said the
           central bank had changed how it viewed the trade-off between lower unemployment and higher inflation. Per Powell’s
           statement, the Fed’s new approach to setting U.S. monetary policy will entail letting inflation run higher, which could
           mean that interest rates remain low for an extended period. Meanwhile, in March 2020, the U.S. government passed a
           total of roughly $2.8 trillion in fiscal stimulus measures to aid the economy. A subsequent $900 billion stimulus package
           was finalized in December 2020, and a $1.9 trillion stimulus package was finalized in February 2021. Finally, the Biden
           administration unveiled a $2.25 trillion infrastructure spending proposal in late March 2021.
           Economies outside the U.S. were also significantly impacted by the pandemic but are expected to improve in 2021. In
           its April 2021 World Economic Outlook Update — released after the reporting period ended — the International
           Monetary Fund (“IMF”) stated that it expects 2021 GDP growth in the eurozone, U.K. and Japan will be 4.4%, 5.3%
           and 3.3%, respectively. For comparison purposes, the GDP growth of these economies was projected to be -6.6%,
           -9.9% and -4.8%, respectively, in 2020.
           Against this backdrop, central banks and governments around the world took a number of aggressive actions. Looking
           back, in March 2020, the European Central Bank (the “ECB”) unveiled a new €750 billion bond-buying program,
           which was subsequently expanded by another €600 billion in June 2020. In July, the European Union agreed on a
           €1.8 trillion spending package to bolster its economy. In December 2020, the ECB expanded its monetary stimulus
           program by another €500 billion. The Bank of England reduced its key lending rate to 0.10% — a record low — in
           March, added £100 billion to its quantitative easing program in June and increased its bond-buying program by
           £150 billion to £895 billion in November. Finally, toward the end of the year, the U.K. and the European Union agreed
           to a long-awaited Brexit deal. Elsewhere, the Bank of Japan maintained its short-term interest rate at -0.10%, while
           increasing the target for its holdings of corporate bonds to ¥4.2 trillion from ¥3.2 trillion. In May 2020, the Japanese
           government doubled its stimulus measures with a ¥117 trillion package. Finally, in December 2020, the Bank of Japan
           announced a new ¥73.6 trillion stimulus package.
           Short-term U.S. Treasury yields edged lower, whereas long-term yields moved sharply higher, albeit from a very low level
           during the reporting period. The yield on the benchmark 10-year U.S. Treasury note was 1.74% at the end of the
           reporting period, versus 0.70% on March 31, 2020. The Bloomberg Barclays Global Treasury Index (USD Hedged), which
           tracks fixed-rate, local currency government debt of investment grade countries, including both developed and emerging
           markets, returned -1.03%. Meanwhile, the Bloomberg Barclays Global Aggregate Credit Index (USD Hedged), a widely



2   PIMCO CREDIT BOND FUNDS
used index of global investment grade credit bonds, returned 7.98%. Riskier fixed income asset classes, including high
yield corporate bonds and emerging market debt, produced stronger returns. The ICE BofAML Developed Markets High
Yield Constrained Index (USD Hedged), a widely used index of below-investment-grade bonds, returned 23.34%,
whereas emerging market external debt, as represented by the JPMorgan Emerging Markets Bond Index (EMBI) Global
(USD Hedged), returned 14.29%. Emerging market local bonds, as represented by the JPMorgan Government Bond
Index-Emerging Markets Global Diversified Index (Unhedged), returned 13.03%.
Despite the headwinds from the pandemic and periods of volatility, global equities produced exceptionally strong
results. All told, U.S. equities, as represented by the S&P 500 Index, returned 56.35%, fueled in our view by
accommodative monetary and fiscal policy and improved investor sentiment after positive COVID-19 vaccine news.
Global equities, as represented by the MSCI World Index, returned 54.03%, whereas emerging market equities, as
measured by the MSCI Emerging Markets Index, returned 58.39%. Meanwhile, Japanese equities, as represented by
the Nikkei 225 Index (in JPY), returned 56.62%, and European equities, as represented by the MSCI Europe Index
(in EUR), returned 35.32%.
Commodity prices were volatile but moved higher overall. When the reporting period began, Brent crude oil was
approximately $22 a barrel but ended the reporting period at roughly $63 a barrel. We believe that oil prices rallied
because producers reduced their output and investors anticipated stronger demand as global growth improved.
Elsewhere, copper and gold prices also moved higher.
Finally, there were also periods of volatility in the foreign exchange markets, in our view due to fluctuating economic
growth, trade conflicts and changing central bank monetary policies, along with the U.S. elections and several
geopolitical events. The U.S. dollar weakened against several major currencies. For example, the U.S. dollar returned
-6.34% and -10.97% versus the euro and the British pound, respectively. However, the U.S. dollar appreciated 2.87%
versus the Japanese yen.
Thank you for the assets you have placed with us. We deeply value your trust, and we will continue to work diligently
to meet your broad investment needs. For any questions regarding your PIMCO Funds investments, please contact
your account manager or call one of our shareholder associates at (888) 87-PIMCO. We also invite you to visit our
website at pimco.com to learn more about our viewpoints.



                             Stay safe and healthy,



                             Peter G. Strelow Chairman of the Board
                             PIMCO Funds / Crew Capital Group




  Past performance is no guarantee of future results. Unless otherwise noted, index returns reflect the reinvestment of income distributions and
  capital gains, if any, but do not reflect fees, brokerage commissions or other expenses of investing. It is not possible to invest directly in
  an unmanaged index.




                                                                                                                     ANNUAL REPORT | MARCH 31, 2021   3
Important Information About the Funds

PIMCO Funds (the “Trust”) is an open-end management investment                 Classifications of Fund portfolio holdings in this report are made
company that includes the PIMCO Credit Opportunities Bond Fund,                according to financial reporting standards. The classification of a
PIMCO Diversified Income Fund, PIMCO ESG Income Fund, PIMCO High               particular portfolio holding as shown in the Allocation Breakdown and
Yield Spectrum Fund, PIMCO Long-Term Credit Bond Fund, PIMCO Low               Schedule of Investments sections of this report may differ from the
Duration Income Fund, PIMCO Low Duration Credit Fund (formerly,                classification used for a Fund’s compliance calculations, including those
PIMCO Senior Floating Rate Fund) and PIMCO Preferred and Capital               used in a Fund’s prospectus, investment objectives, regulatory, and
Securities Fund (each a “Fund” and collectively, the “Funds”).                 other investment limitations and policies, which may be based on
                                                                               different asset class, sector or geographical classifications. All Funds
We believe that bond funds have an important role to play in a well-
                                                                               are separately monitored for compliance with respect to prospectus and
diversified investment portfolio. It is important to note, however, that in
                                                                               regulatory requirements.
an environment where interest rates may trend upward, rising rates
would negatively impact the performance of most bond funds, and                The geographical classification of foreign (non-U.S.) securities in this
fixed income securities and other instruments held by a Fund are likely        report, if any, are classified by the country of incorporation of a
to decrease in value. A wide variety of factors can cause interest rates       holding. In certain instances, a security’s country of incorporation may
or yields of U.S. Treasury securities (or yields of other types of bonds) to   be different from its country of economic exposure.
rise (e.g., central bank monetary policies, inflation rates, general
economic conditions, etc.). In addition, changes in interest rates can be      Beginning in January 2020, global financial markets have experienced
sudden and unpredictable, and there is no guarantee that Fund                  and may continue to experience significant volatility resulting from the
management will anticipate such movement accurately. The Funds may             spread of a novel coronavirus known as COVID-19. The outbreak of
lose money as a result of movements in interest rates.                         COVID-19 has resulted in travel and border restrictions, quarantines,
                                                                               supply chain disruptions, lower consumer demand and general market
As of the date of this report, interest rates in the United States and         uncertainty. The effects of COVID-19 have and may continue to
many parts of the world, including certain European countries, are at or       adversely affect the global economy, the economies of certain nations
near historically low levels. Thus, bond funds currently face a                and individual issuers, all of which may negatively impact the Funds’
heightened level of risk associated with rising interest rates and/or          performance. In addition, COVID-19 and governmental responses to
bond yields. This could be driven by a variety of factors, including but       COVID-19 may negatively impact the capabilities of the Funds’ service
not limited to central bank monetary policies, changing inflation or real      providers and disrupt the Funds’ operations.
growth rates, general economic conditions, increasing bond issuances
or reduced market demand for low yielding investments. Further, while          The United States’ enforcement of restrictions on U.S. investments in
bond markets have steadily grown over the past three decades, dealer           certain issuers and tariffs on goods from other countries, each with a
inventories of corporate bonds are near historic lows in relation to           focus on China, has contributed to international trade tensions and
market size. As a result, there has been a significant reduction in the        may impact portfolio securities.
ability of dealers to “make markets.”                                          A Fund may have significant exposure to issuers in the United
Bond funds and individual bonds with a longer duration (a measure              Kingdom. The United Kingdom’s withdrawal from the European Union
used to determine the sensitivity of a security’s price to changes in          may impact Fund returns. The withdrawal may cause substantial
interest rates) tend to be more sensitive to changes in interest rates,        volatility in foreign exchange markets, lead to weakness in the
usually making them more volatile than securities or funds with shorter        exchange rate of the British pound, result in a sustained period of
durations. All of the factors mentioned above, individually or                 market uncertainty, and destabilize some or all of the other European
collectively, could lead to increased volatility and/or lower liquidity in     Union member countries and/or the Eurozone.
the fixed income markets or negatively impact a Fund’s performance or          The Funds may invest in certain instruments that rely in some fashion
cause a Fund to incur losses. As a result, a Fund may experience               upon the London Interbank Offered Rate (“LIBOR”). LIBOR is an
increased shareholder redemptions, which, among other things, could            average interest rate, determined by the ICE Benchmark
further reduce the net assets of the Fund.                                     Administration, that banks charge one another for the use of short-
The Funds may be subject to various risks as described in each                 term money. The United Kingdom’s Financial Conduct Authority, which
Fund’s prospectus and in the Principal and Other Risks in the Notes to         regulates LIBOR, has announced plans to ultimately phase out the use
Financial Statements.                                                          of LIBOR. There remains uncertainty regarding future utilization of
                                                                               LIBOR and the nature of any replacement rate (e.g., the Secured


4    PIMCO CREDIT BOND FUNDS
Overnight Financing Rate, which is intended to replace U.S. dollar                    performance due to the lower expenses paid by Institutional Class
LIBOR and measures the cost of overnight borrowings through                           shares. Performance shown is net of fees and expenses. The minimum
repurchase agreement transactions collateralized with U.S. Treasury                   initial investment amount for Institutional Class, I-2, I-3 and
securities). Any potential effects of the transition away from LIBOR on a             Administrative Class shares is $1,000,000. The minimum initial
Fund or on certain instruments in which a Fund invests can be difficult               investment amount for Class A, Class C and Class C-2 shares is $1,000.
to ascertain, and they may vary depending on a variety of factors. The                Each Fund measures its performance against at least one broad-based
transition may also result in a reduction in the value of certain                     securities market index (“benchmark index”) and a Lipper Average,
instruments held by a Fund or a reduction in the effectiveness of related             which is calculated by Lipper, Inc. (“Lipper”), a Thomson Reuters
Fund transactions such as hedges. Any such effects of the transition                  company, and represents the total return performance averages of
away from LIBOR, as well as other unforeseen effects, could result in                 funds that are tracked by Lipper that have the same fund classification.
losses to a Fund.                                                                     Benchmark indexes do not take into account fees, expenses or taxes. A
                                                                                      Fund’s past performance, before and after taxes, is not necessarily an
On each individual Fund Summary page in this Shareholder Report, the                  indication of how the Fund will perform in the future. There is no
Average Annual Total Return table and Cumulative Returns chart                        assurance that any Fund, including any Fund that has experienced high
measure performance assuming that any dividend and capital gain                       or unusual performance for one or more periods, will experience similar
distributions were reinvested. The Cumulative Returns chart and                       levels of performance in the future. High performance is defined as a
Average Annual Total Return table reflect any sales load that would                   significant increase in either 1) a Fund’s total return in excess of that of
have applied at the time of purchase or any Contingent Deferred Sales                 the Fund’s benchmark between reporting periods or 2) a Fund’s total
Charge (“CDSC”) that would have applied if a full redemption occurred                 return in excess of the Fund’s historical returns between reporting
on the last business day of the period shown in the Cumulative Returns                periods. Unusual performance is defined as a significant change in a
chart. Class A shares are subject to an initial sales charge. A CDSC may              Fund’s performance as compared to one or more previous reporting
be imposed in certain circumstances on Class A shares that are                        periods. Historical performance for the Funds or a share class thereof
purchased without an initial sales charge and then redeemed during                    may have been positively impacted by fee waivers or expense
the first 12 months after purchase. Class C and Class C-2 shares are                  limitations in place during some or all of the periods shown, if
subject to a 1% CDSC, which may apply in the first year. The                          applicable. Future performance (including total return or yield) and
Cumulative Returns chart reflects only Institutional Class performance.               distributions may be negatively impacted by the expiration or reduction
Performance for I-2, I-3, Administrative Class, Class A, Class C and                  of any such fee waivers or expense limitations.
Class C-2 if applicable, is typically lower than Institutional Class

The following table discloses the inception dates of each Fund and its respective share classes along with each Fund’s diversification status as of period end:
                                                    Fund      Institutional                         Administrative                                     Diversification
Fund Name                                         Inception       Class         I-2         I-3        Class          Class A    Class C   Class C-2       Status
PIMCO Credit Opportunities Bond Fund              08/31/11    08/31/11        08/31/11        —            —         08/31/11   08/31/11        —       Diversified
PIMCO Diversified Income Fund                     07/31/03    07/31/03        04/30/08   04/27/18     10/29/04       07/31/03   07/31/03        —       Diversified
PIMCO/ESG Income Fund                             09/30/20    09/30/20        09/30/20   09/30/20          —         09/30/20   09/30/20        —       Diversified
PIMCO High Yield Spectrum Fund                    09/15/10    09/15/10        09/15/10   04/27/18          —         09/15/10   09/15/10        —       Diversified
PIMCO Long-Term Credit Bond Fund                  03/31/09    03/31/09        02/29/12        —            —              —          —          —       Diversified
CREW/PIMCO Low Duration Credit Fund               04/29/01    04/29/11        04/29/11        —            —         04/29/01   04/29/11        —       Diversified
PIMCO Low Duration Income Fund                    07/30/04    07/30/04        04/30/08   04/27/18          —         07/30/04   09/30/04   10/21/20     Diversified
PIMCO Preferred and Capital Securities Fund       04/13/15    04/13/15        04/13/15   04/27/18          —         04/13/15   08/23/19        —       Diversified


An investment in a Fund is not a bank deposit and is not guaranteed or                service providers to procure through other parties, necessary or
insured by the Federal Deposit Insurance Corporation or any other                     desirable services on behalf of the Trust and the Funds. Shareholders
government agency. It is possible to lose money on investments in                     are not parties to or third-party beneficiaries of such service
a Fund.                                                                               agreements. Neither a Fund’s prospectus nor a Fund’s summary
                                                                                      prospectus, the Trust’s Statement of Additional Information (“SAI”),
The Trustees are responsible generally for overseeing the management                  any contracts filed as exhibits to the Trust’s registration statement, nor
of the Trust. The Trustees authorize the Trust to enter into service                  any other communications, disclosure documents or regulatory filings
agreements with the Adviser, the Distributor, the Administrator and                   (including this report) from or on behalf of the Trust or a Fund creates a
other service providers in order to provide, and in some cases authorize

                                                                                                                         ANNUAL REPORT | MARCH 31, 2021                  5
Important Information About the Funds (Cont.)

contract between or among any shareholder of a Fund, on the one                In August 2020, the SEC proposed changes to the mutual fund and ETF
hand, and the Trust, a Fund, a service provider to the Trust or a Fund,        shareholder report and registration statement disclosure requirements
and/or the Trustees or officers of the Trust, on the other hand. The           and the registered fund advertising rules, which, if adopted, will
Trustees (or the Trust and its officers, service providers or other            change the disclosures provided to shareholders.
delegates acting under authority of the Trustees) may amend the most
recent prospectus or use a new prospectus, summary prospectus or SAI           In October 2020, the SEC adopted a rule related to the use of
with respect to a Fund or the Trust, and/or amend, file and/or issue any       derivatives, short sales, reverse repurchase agreements and certain
other communications, disclosure documents or regulatory filings, and          other transactions by registered investment companies that rescinds
may amend or enter into any contracts to which the Trust or a Fund is a        and withdraws the guidance of the SEC and its staff regarding asset
party, and interpret the investment objective(s), policies, restrictions       segregation and cover transactions. Subject to certain exceptions, and
and contractual provisions applicable to any Fund, without shareholder         after an eighteen-month transition period, the rule requires funds to
input or approval, except in circumstances in which shareholder                trade derivatives and other transactions that create future payment or
approval is specifically required by law (such as changes to                   delivery obligations (except reverse repurchase agreements and similar
fundamental investment policies) or where a shareholder approval               financing transactions) subject to a value-at-risk leverage limit, certain
requirement is specifically disclosed in the Trust’s then-current              derivatives risk management program and reporting requirements.
prospectus or SAI.                                                             These requirements may limit the ability of the Funds to use derivatives
                                                                               and reverse repurchase agreements and similar financing transactions
PIMCO has adopted written proxy voting policies and procedures                 as part of their investment strategies and may increase the cost of the
(“Proxy Policy”) as required by Rule 206(4)-6 under the Investment             Funds’ investments and cost of doing business, which could adversely
Advisers Act of 1940, as amended. The Proxy Policy has been adopted            affect investors.
by the Trust as the policies and procedures that PIMCO will use when
voting proxies on behalf of the Funds. A description of the policies and       In October 2020, the SEC adopted a rule regarding the ability of a fund
procedures that PIMCO uses to vote proxies relating to portfolio               to invest in other funds. The rule allows a fund to acquire shares of
securities of each Fund, and information about how each Fund voted             another fund in excess of certain limitations currently imposed by the
proxies relating to portfolio securities held during the most recent           Investment Company Act of 1940 (the “Act”) without obtaining
twelve-month period ended June 30th, are available without charge,             individual exemptive relief from the SEC, subject to certain conditions.
upon request, by calling the Trust at (888) 87-PIMCO, on the Funds’            The rule also included the rescission of certain exemptive relief from the
website at www.pimco.com, and on the Securities and Exchange                   SEC and guidance from the SEC staff for funds to invest in other funds.
Commission’s (“SEC”) website at www.sec.gov.                                   The impact that these changes may have on the Funds is uncertain.

The Funds file portfolio holdings information with the SEC on                  In December 2020, the SEC adopted a rule addressing fair valuation of
Form N-PORT within 60 days of the end of each fiscal quarter. The              fund investments. The new rule sets forth requirements for good faith
Funds’ complete schedules of securities holdings as of the end of each         determinations of fair value as well as for the performance of fair value
fiscal quarter will be made available to the public on the SEC’s website       determinations, including related oversight and reporting obligations.
at www.sec.gov and on PIMCO’s website at www.pimco.com, and will               The new rule also defines “readily available market quotations” for
be made available, upon request by calling PIMCO at (888) 87-PIMCO.            purposes of the definition of “value” under the Act, and the SEC noted
                                                                               that this definition will apply in all contexts under the Act. The SEC
The SEC has adopted a rule that allows the Funds to fulfill their              adopted an eighteen-month transition period beginning from the
obligation to deliver shareholder reports to investors by providing            effective date for both the new rule and the associated new
access to such reports online free of charge and by mailing a notice           recordkeeping requirements. The impact of the new rule on the Funds
that the report is electronically available. Pursuant to the rule, investors   is uncertain at this time.
may elect to receive all future reports in paper free of charge by
contacting their financial intermediary or, if invested directly with a
Fund, investors can inform the Fund by calling (888) 87-PIMCO. Any
election to receive reports in paper will apply to all funds held with the
fund complex if invested directly with a Fund or to all funds held in the
investor’s account if invested through a financial intermediary.




6    PIMCO CREDIT BOND FUNDS
Expense Examples

Example
As a shareholder of a Fund, you incur two types of costs: (1) transaction costs, including sales charges (loads) on purchase payments and exchange
fees and (2) ongoing costs, including investment advisory fees, supervisory and administrative fees, distribution and/or service (12b-1) fees (if
applicable), and other Fund expenses. The Example is intended to help you understand your ongoing costs (in dollars) of investing in the Fund and
to compare these costs with the ongoing costs of investing in other mutual funds.

The Example is based on an investment of $1,000 invested at the beginning of the period and held for the entire period indicated, which for all
Funds and share classes is from October 1, 2020 to March 31, 2021 unless noted otherwise in the table and footnotes below.

Actual Expenses
The information in the table under the heading “Actual” provides information about actual account values and actual expenses. You may use this
information, together with the amount you invested, to estimate the expenses that you paid over the period. Simply divide your account value by
$1,000 (for example, an $8,600 account value divided by $1,000 = 8.60), then multiply the result by the number in the appropriate row for your
share class, in the column titled “Expenses Paid During Period” to estimate the expenses you paid on your account during this period.

Hypothetical Example for Comparison Purposes
The information in the table under the heading “Hypothetical (5% return before expenses)” provides information about hypothetical account values
and hypothetical expenses based on a Fund’s actual expense ratio and an assumed rate of return of 5% per year before expenses, which is not the
Fund’s actual return. The hypothetical account values and expenses may not be used to estimate the actual ending account balance or expenses you
paid for the period. You may use this information to compare the ongoing costs of investing in a Fund and other funds. To do so, compare this 5%
hypothetical example with the 5% hypothetical examples that appear in the shareholder reports of the other funds.

Please note that the expenses shown in the table are meant to highlight your ongoing costs only and do not reflect any Acquired Fund Fees and
Expenses or transactional costs, such as sales charges (loads) on purchase payments and exchange fees, if any. Therefore, the information under the
heading “Hypothetical (5% return before expenses)” is useful in comparing ongoing costs only, and will not help you determine the relative total
costs of owning different funds. In addition, if these transactional costs were included, your costs would have been higher.

Expense ratios may vary period to period because of various factors, such as an increase in expenses that are not covered by the investment advisory
fees and supervisory and administrative fees, such as fees and expenses of the independent trustees and their counsel, extraordinary expenses and
interest expense.
                                                                                                               Hypothetical
                                                                 Actual                                 (5% return before expenses)
                                                Beginning         Ending      Expenses Paid      Beginning         Ending      Expenses Paid     Net Annualized
                                              Account Value   Account Value   During Period*   Account Value   Account Value   During Period*   Expense Ratio**
                                                (10/01/20)      (03/31/21)                       (10/01/20)      (03/31/21)

PIMCO Credit Opportunities Bond Fund
Institutional Class                            $ 1,000.00      $ 1,039.40        $ 4.58         $ 1,000.00      $ 1,020.44        $ 4.53             0.90%
I-2                                              1,000.00        1,038.10          5.08           1,000.00        1,019.95          5.04             1.00
Class A                                          1,000.00        1,037.10          6.60           1,000.00        1,018.45          6.54             1.30
Class C                                          1,000.00        1,033.10         10.39           1,000.00        1,014.71         10.30             2.05
PIMCO Diversified Income Fund
Institutional Class                            $ 1,000.00      $ 1,018.60        $ 3.88         $ 1,000.00      $ 1,021.09        $ 3.88             0.77%
I-2                                              1,000.00        1,018.10          4.38           1,000.00        1,020.59          4.38             0.87
I-3                                              1,000.00        1,017.90          4.63           1,000.00        1,020.34          4.63             0.92
Administrative Class                             1,000.00        1,017.40          5.13           1,000.00        1,019.85          5.14             1.02
Class A                                          1,000.00        1,016.60          5.88           1,000.00        1,019.10          5.89             1.17
Class C                                          1,000.00        1,012.80          9.64           1,000.00        1,015.36          9.65             1.92
PIMCO ESG Income Fund (a)
Institutional Class                            $ 1,000.00      $ 1,044.30        $ 2.65         $ 1,000.00      $ 1,022.34        $ 2.62             0.52%
I-2                                              1,000.00        1,043.80          3.16           1,000.00        1,021.84          3.13             0.62
I-3                                              1,000.00        1,043.50          3.41           1,000.00        1,021.59          3.38             0.67
Class A                                          1,000.00        1,042.30          4.68           1,000.00        1,020.34          4.63             0.92
Class C                                          1,000.00        1,038.50          8.49           1,000.00        1,016.60          8.40             1.67


                                                                                                                   ANNUAL REPORT | MARCH 31, 2021            15
Expense Examples (Cont.)
                                                                                                                                    Hypothetical
                                                                                 Actual                                      (5% return before expenses)
                                                             Beginning           Ending        Expenses Paid        Beginning           Ending        Expenses Paid        Net Annualized
                                                           Account Value     Account Value     During Period*     Account Value     Account Value     During Period*      Expense Ratio**
                                                             (10/01/20)        (03/31/21)                           (10/01/20)        (03/31/21)

 PIMCO High Yield Spectrum Fund
 Institutional Class                                        $ 1,000.00        $ 1,080.00           $ 3.16           $ 1,000.00        $ 1,021.89          $ 3.07                0.61%
 I-2                                                          1,000.00          1,079.50             3.68             1,000.00          1,021.39            3.58                0.71
 I-3                                                          1,000.00          1,079.20             3.94             1,000.00          1,021.14            3.83                0.76
 Class A                                                      1,000.00          1,078.10             4.97             1,000.00          1,020.14            4.84                0.96
 Class C                                                      1,000.00          1,074.10             8.84             1,000.00          1,016.40            8.60                1.71
 PIMCO Long-Term Credit Bond Fund
 Institutional Class                                        $ 1,000.00        $ 966.40             $ 2.79           $ 1,000.00        $ 1,022.09          $ 2.87                0.57%
 I-2                                                          1,000.00          965.90               3.28             1,000.00          1,021.59            3.38                0.67
 CREW/PIMCO Low Duration Credit Fund
 Institutional Class                                        $ 1,000.00        $ 1,036.20           $ 3.76           $ 1,000.00        $ 1,021.24          $ 3.73                0.74%
 I-2                                                          1,000.00          1,035.70             4.26             1,000.00          1,020.74            4.23                0.84
 Class A                                                      1,000.00          1,034.70             5.28             1,000.00          1,019.75            5.24                1.04
 Class C                                                      1,000.00          1,030.80             9.06             1,000.00          1,016.01            9.00                1.79
 PIMCO Low Duration Income Fund
 Institutional Class                                        $ 1,000.00        $ 1,043.30           $ 2.70           $ 1,000.00        $ 1,022.29          $ 2.67                0.53%
 I-2                                                          1,000.00          1,042.70             3.21             1,000.00          1,021.79            3.18                0.63
 I-3                                                          1,000.00          1,042.50             3.46             1,000.00          1,021.54            3.43                0.68
 Class A                                                      1,000.00          1,041.20             4.73             1,000.00          1,020.29            4.68                0.93
 Class C                                                      1,000.00          1,039.60             6.25             1,000.00          1,018.80            6.19                1.23
 Class C-2(b)                                                 1,000.00          1,038.60             6.43             1,000.00          1,015.75            6.36                1.43
 PIMCO Preferred and Capital
 Securities Fund (Consolidated)
 Institutional Class                                        $ 1,000.00        $ 1,077.70           $ 4.14           $ 1,000.00        $ 1,020.94          $ 4.03                0.80%
 I-2                                                          1,000.00          1,077.20             4.66             1,000.00          1,020.44            4.53                0.90
 I-3                                                          1,000.00          1,076.80             4.92             1,000.00          1,020.19            4.78                0.95
 Class A                                                      1,000.00          1,076.30             5.95             1,000.00          1,019.20            5.79                1.15
 Class C                                                      1,000.00          1,072.50             9.82             1,000.00          1,015.46            9.55                1.90

* Expenses Paid During Period are equal to the net annualized expense ratio for the class, multiplied by the average account value over the period, multiplied by 182/365 (to reflect the
one-half year period).
** Net Annualized Expense Ratio is reflective of any applicable contractual fee waivers and/or expense reimbursements or voluntary fee waivers. Details regarding fee waivers, if any, can
be found in Note 9, Fees and Expenses, in the Notes to Financial Statements.
(a) The Beginning Account Value is reflective as of 09/30/20 which is the Fund’s inception date.

(b) The Beginning Account Value is reflective as of 10/21/20 for Actual expense. Expenses paid in the Actual expense section are equal to the net annualized expense ratio for the class,

multiplied by the average account value over the period, multiplied by 161/365 for Class C-2 shares of the PIMCO Low Duration Income Fund (to reflect the period since the inception
date of 10/21/20). Hypothetical expenses reflect an amount as if the class had been operational for the entire fiscal half year.




16     PIMCO CREDIT BOND FUNDS
Benchmark Descriptions
Index*                                         Benchmark Description

50% ICE BofAML 1-5 Year US High Yield          The benchmark is a blend of 50% ICE BofAML 1-5 Year US High Yield Constrained Index and 50%
Constrained Index and 50% J.P. Morgan          J.P. Morgan Leveraged Loan Index. The ICE BofAML 1-5 Year US High Yield Constrained Index is
Leveraged Loan Index                           designed to track the performance of short-term U.S. dollar denominated below investment grade
                                               corporate debt publicly issued in the U.S. domestic market with at least one year and less than five
                                               years remaining term to final maturity, at least 18 months to final maturity at issuance, a fixed
                                               coupon schedule and a minimum amount outstanding of $250 million. The J.P. Morgan Leveraged
                                               Loan Index is designed to mirror the investable universe of USD institutional leveraged loans and is
                                               comprised of issuers domiciled across global markets (the international component is comprised of
                                               developed market-domiciled issuers only).
1/3 each — Bloomberg Barclays Global           The Bloomberg Barclays Global Aggregate Credit ex Emerging Markets (USD Hedged) provides a
Aggregate Credit ex Emerging Markets,          broad-based measure of the global developed markets investment-grade fixed income markets. The
USD Hedged; ICE BofAML BB-B Rated              ICE BofAML BB-B Rated Developed Markets High Yield Constrained Index (USD Hedged) tracks the
Developed Markets High Yield Constrained       performance of below investment grade bonds of corporate issuers domiciled in developed market
Index, USD Hedged; and JPMorgan EMBI           countries rated BB1 through B3, based on an average of Moody’s, S&P and Fitch. Qualifying bonds
Global, USD Hedged                             are capitalization-weighted provided the total allocation to an individual issuer (defined by
                                               Bloomberg tickers) does not exceed 2%. Issuers that exceed the limit are reduced to 2% and the face
                                               value of each of their bonds is adjusted on a pro-rata basis. Similarly, the face value of bonds of all
                                               other issuers that fall below the 2% cap are increased on a pro-rata basis. The index is rebalanced on
                                               the last calendar day of the month. The JPMorgan EMBI Global (USD Hedged) tracks total returns for
                                               U.S. dollar-denominated debt instruments issued by emerging market sovereign and quasi-sovereign
                                               entities, Brady bonds, loans, Eurobonds and local market instruments.
3 Month USD LIBOR                              The 3 Month USD LIBOR (London Interbank Offered Rate) is an average interest rate, determined
                                               by the ICE Benchmark Administration, that banks charge one another for the use of short-term
                                               money (3 months) in England’s Eurodollar market.
70% ICE BofAML 8% Constrained Core West        The benchmark is a blend of 70% ICE BofAML 8% Constrained Core West Preferred & Jr
Preferred & Jr Subordinated Securities Index   Subordinated Securities Index (P8JC) and 30% ICE BofAML Contingent Capital Index (COCO). The ICE
(P8JC) and 30% ICE BofAML Contingent           BofAML 8% Constrained Core West Preferred & Jr Subordinated Securities Index tracks the
Capital Index (COCO)                           performance of US dollar denominated high grade and high yield preferred securities and deeply
                                               subordinated corporate debt issued in the US domestic market. Qualifying securities must be rated at
                                               least B3, based on an average of Moody’s, S&P and Fitch and have a country of risk of either the U.S.
                                               or a Western European country. Qualifying preferred securities must be issued as public securities or
                                               through a 144a filing, must have a fixed or floating dividend schedule and must have a minimum
                                               amount outstanding of $100 million. The ICE BofAML Contingent Capital Index tracks the
                                               performance of investment grade and below investment grade contingent capital debt publicly issued
                                               in the major domestic and eurobond markets. Qualifying securities must have a capital-dependent
                                               conversion feature and must be rated by either Moody’s, S&P or Fitch. In addition, qualifying securities
                                               must have at least one month remaining term to final maturity and at least 18 months to maturity at
                                               point of issuance. For investment grade debt, qualifying currencies and their respective minimum size
                                               requirements (in local currency terms) are: AUD 100 million; CAD 100 million; EUR 250 million; JPY
                                               20 billion; GBP 100 million; and USD 250 million. For below investment grade debt, minimum size
                                               requirements are CAD 100 million, EUR 100 million, GBP 50 million, or USD 100 million.
Bloomberg Barclays Global Credit Hedged        Bloomberg Barclays Global Credit Hedged USD contains investment grade and high yield credit
USD Index                                      securities from the Multiverse represented in US Dollars on a hedged basis, (Multiverse is the
                                               merger of two groups: the Global Aggregate and the Global High Yield).
Bloomberg Barclays U.S. Aggregate              Bloomberg Barclays U.S. Aggregate 1-3 Years Index represents securities that are SEC-registered,
1-3 Years Index                                taxable, and dollar denominated with a maturity between one and three years. The index covers
                                               the U.S. investment grade fixed rate bond market, with index components for government and
                                               corporate securities, mortgage pass-through securities, and asset-backed securities.
Bloomberg Barclays U.S. Aggregate Index        Bloomberg Barclays U.S. Aggregate Index represents securities that are SEC-registered, taxable,
                                               and dollar denominated. The index covers the U.S. investment grade fixed rate bond market, with
                                               index components for government and corporate securities, mortgage pass-through securities, and
                                               asset-backed securities. These major sectors are subdivided into more specific indices that are
                                               calculated and reported on a regular basis.




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Benchmark Descriptions (Cont.)
Index*                                                           Benchmark Description

Bloomberg Barclays U.S. Long Credit Index                        Bloomberg Barclays U.S. Long Credit Index includes both corporate and non-corporate sectors with
                                                                 maturities equal to or greater than 10 years. The corporate sectors are Industrial, Utility, and
                                                                 Finance, which include both U.S. and non-U.S. corporations. The non-corporate sectors are
                                                                 Sovereign, Supranational, Foreign Agency, and Foreign Local Government.
ICE BofAML Developed Markets High Yield                          The ICE BofAML Developed Markets High Yield Constrained (USD Hedged) Index is a
Constrained (USD Hedged) Index                                   subcomponent of the ICE BofAML Global High Yield Constrained (USD Hedged) Index that
                                                                 excludes all non-developed countries.
J.P. Morgan BB/B Leveraged Loan Index                            The J.P. Morgan BB/B Leveraged Loan Index is a subset of the broader Leveraged Loan Index, and
                                                                 as such follows all of the same inclusion rules, loan selection methodology and the rebalance
                                                                 process, with the sole exception being the tranche rating criteria.
* It is not possible to invest directly in an unmanaged index.




18    PIMCO CREDIT BOND FUNDS
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Financial Highlights
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital     Total

PIMCO Credit Opportunities Bond Fund
Institutional Class
     03/31/2021                                         $ 9.07              $ 0.30            $ 0.97            $ 1.27      $ (0.35)    $ 0.00             $ 0.00     $ (0.35)
     03/31/2020                                           9.90                0.41              (0.85)            (0.44)      (0.39)      0.00               0.00       (0.39)
     03/31/2019                                          10.08                0.46              (0.19)             0.27       (0.45)      0.00               0.00       (0.45)
     03/31/2018                                          10.04                0.38               0.06              0.44       (0.40)      0.00               0.00       (0.40)
     03/31/2017                                           9.32                0.44               0.59              1.03       (0.31)      0.00               0.00       (0.31)
I-2
     03/31/2021                                             9.03               0.29               0.96             1.25       (0.34)       0.00               0.00      (0.34)
     03/31/2020                                             9.86               0.40              (0.84)           (0.44)      (0.39)       0.00               0.00      (0.39)
     03/31/2019                                            10.05               0.45              (0.20)            0.25       (0.44)       0.00               0.00      (0.44)
     03/31/2018                                            10.01               0.38               0.05             0.43       (0.39)       0.00               0.00      (0.39)
     03/31/2017                                             9.30               0.42               0.60             1.02       (0.31)       0.00               0.00      (0.31)
Class A
     03/31/2021                                             9.08               0.26               0.97             1.23       (0.31)       0.00               0.00      (0.31)
     03/31/2020                                             9.91               0.37              (0.84)           (0.47)      (0.36)       0.00               0.00      (0.36)
     03/31/2019                                            10.10               0.42              (0.20)            0.22       (0.41)       0.00               0.00      (0.41)
     03/31/2018                                            10.06               0.35               0.05             0.40       (0.36)       0.00               0.00      (0.36)
     03/31/2017                                             9.34               0.42               0.58             1.00       (0.28)       0.00               0.00      (0.28)
Class C
     03/31/2021                                              8.95              0.18               0.95             1.13       (0.23)       0.00               0.00      (0.23)
     03/31/2020                                              9.78              0.30              (0.84)           (0.54)      (0.29)       0.00               0.00      (0.29)
     03/31/2019                                              9.96              0.34              (0.19)            0.15       (0.33)       0.00               0.00      (0.33)
     03/31/2018                                              9.94              0.26               0.05             0.31       (0.29)       0.00               0.00      (0.29)
     03/31/2017                                              9.26              0.33               0.58             0.91       (0.23)       0.00               0.00      (0.23)
PIMCO Diversified Income Fund
Institutional Class
     03/31/2021                                         $ 10.21             $ 0.34            $ 0.89            $ 1.23      $ (0.40)    $ 0.00             $ 0.00     $ (0.40)
     03/31/2020                                           10.86               0.35              (0.48)            (0.13)      (0.50)     (0.02)              0.00       (0.52)
     03/31/2019                                           10.77               0.37               0.20              0.57       (0.48)      0.00               0.00       (0.48)
     03/31/2018                                           10.78               0.37               0.14              0.51       (0.51)      0.00              (0.01)      (0.52)
     03/31/2017                                           10.15               0.47               0.68              1.15       (0.52)      0.00               0.00       (0.52)
I-2
     03/31/2021                                            10.21               0.33               0.89             1.22       (0.39)       0.00               0.00      (0.39)
     03/31/2020                                            10.86               0.34              (0.48)           (0.14)      (0.49)      (0.02)              0.00      (0.51)
     03/31/2019                                            10.77               0.35               0.20             0.55       (0.46)       0.00               0.00      (0.46)
     03/31/2018                                            10.78               0.35               0.15             0.50       (0.50)       0.00              (0.01)     (0.51)
     03/31/2017                                            10.15               0.46               0.68             1.14       (0.51)       0.00               0.00      (0.51)
I-3
     03/31/2021                                            10.21               0.32               0.90             1.22       (0.39)       0.00               0.00      (0.39)
     03/31/2020                                            10.86               0.34              (0.49)           (0.15)      (0.48)      (0.02)              0.00      (0.50)
     04/27/2018 - 03/31/2019                               10.72               0.35               0.22             0.57       (0.43)       0.00               0.00      (0.43)
Administrative Class
     03/31/2021                                            10.21               0.31               0.90             1.21       (0.38)       0.00               0.00      (0.38)
     03/31/2020                                            10.86               0.33              (0.49)           (0.16)      (0.47)      (0.02)              0.00      (0.49)
     03/31/2019                                            10.77               0.36               0.18             0.54       (0.45)       0.00               0.00      (0.45)
     03/31/2018                                            10.78               0.34               0.14             0.48       (0.48)       0.00              (0.01)     (0.49)
     03/31/2017                                            10.15               0.44               0.68             1.12       (0.49)       0.00               0.00      (0.49)
Class A
     03/31/2021                                            10.21               0.29               0.90             1.19       (0.36)       0.00               0.00      (0.36)
     03/31/2020                                            10.86               0.31              (0.49)           (0.18)      (0.45)      (0.02)              0.00      (0.47)
     03/31/2019                                            10.77               0.32               0.20             0.52       (0.43)       0.00               0.00      (0.43)
     03/31/2018                                            10.78               0.32               0.14             0.46       (0.46)       0.00              (0.01)     (0.47)
     03/31/2017                                            10.15               0.43               0.68             1.11       (0.48)       0.00               0.00      (0.48)
Class C
     03/31/2021                                            10.21               0.21               0.90             1.11       (0.28)       0.00               0.00      (0.28)
     03/31/2020                                            10.86               0.23              (0.49)           (0.26)      (0.37)      (0.02)              0.00      (0.39)
     03/31/2019                                            10.77               0.24               0.20             0.44       (0.35)       0.00               0.00      (0.35)
     03/31/2018                                            10.78               0.24               0.14             0.38       (0.38)       0.00              (0.01)     (0.39)
     03/31/2017                                            10.15               0.35               0.68             1.03       (0.40)       0.00               0.00      (0.40)


20     PIMCO CREDIT BOND FUNDS
                                                                     Ratios/Supplemental Data
                                                                    Ratios to Average Net Assets
                                                                                               Expenses
 Net Asset                        Net Assets                                 Expenses          Excluding
Value End of                      End of Year              Expenses          Excluding          Interest         Net        Portfolio
  Year or                          or Period               Excluding          Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)      (000s)      Expenses    Waivers           Expense           Waivers     Income (Loss)     Rate




 $ 9.99            14.06%        $   268,038      0.90%      0.90%              0.90%              0.90%        3.10%          99%
   9.07            (4.69)            232,487      0.92       0.92               0.90               0.90         4.13          138
   9.90             2.77             289,576      0.93       0.93               0.90               0.90         4.60          110
  10.08             4.38             353,288      0.91       0.91               0.90               0.90         3.72          100
  10.04            11.23             342,617      0.91       0.91               0.90               0.90         4.50          146

     9.94          13.92             115,116      1.00       1.00               1.00               1.00         3.01           99
     9.03          (4.78)             55,030      1.02       1.02               1.00               1.00         4.03          138
     9.86           2.58              47,743      1.03       1.03               1.00               1.00         4.51          110
    10.05           4.33              58,119      1.01       1.01               1.00               1.00         3.71          100
    10.01          11.10              28,172      1.01       1.01               1.00               1.00         4.25          146

    10.00          13.61              19,542      1.30       1.30               1.30               1.30         2.68           99
     9.08          (5.01)             19,607      1.32       1.32               1.30               1.30         3.73          138
     9.91           2.24              23,099      1.33       1.33               1.30               1.30         4.20          110
    10.10           4.03              30,228      1.31       1.31               1.30               1.30         3.41          100
    10.06          10.79              10,740      1.31       1.31               1.30               1.30         4.30          146

     9.85          12.73                3,866     2.05       2.05               2.05               2.05         1.91           99
     8.95          (5.75)               5,206     2.07       2.07               2.05               2.05         3.00          138
     9.78           1.63                5,834     2.08       2.08               2.05               2.05         3.45          110
     9.96           3.13                7,532     2.06       2.06               2.05               2.05         2.58          100
     9.94           9.91                6,835     2.06       2.06               2.05               2.05         3.43          146



 $ 11.04           12.15%        $ 4,132,019      0.77%      0.77%              0.75%              0.75%        3.04%         110%
   10.21           (1.45)          2,852,619      0.79       0.79               0.75               0.75         3.19          127
   10.86            5.45           2,627,609      0.79       0.79               0.75               0.75         3.45          105
   10.77            4.75           2,558,977      0.77       0.77               0.75               0.75         3.36          146
   10.78           11.53           2,383,388      0.77       0.77               0.76               0.76         4.42          156

    11.04          12.04             670,322      0.87       0.87               0.85               0.85         2.94          110
    10.21          (1.55)            335,490      0.89       0.89               0.85               0.85         3.07          127
    10.86           5.34             169,410      0.89       0.89               0.85               0.85         3.35          105
    10.77           4.64             129,856      0.87       0.87               0.85               0.85         3.25          146
    10.78          11.42              84,476      0.87       0.87               0.86               0.86         4.27          156

    11.04          11.98              27,498      0.92       0.97               0.90               0.95         2.88          110
    10.21          (1.60)             13,637      0.94       0.99               0.90               0.95         3.03          127
    10.86           5.47               3,619      0.94*      0.99*              0.90*              0.95*        3.55*         105

    11.04          11.87              10,752      1.02       1.02               1.00               1.00         2.83          110
    10.21          (1.70)            159,259      1.04       1.04               1.00               1.00         2.94          127
    10.86           5.19             155,936      1.04       1.04               1.00               1.00         3.36          105
    10.77           4.49              10,049      1.02       1.02               1.00               1.00         3.12          146
    10.78          11.25              12,535      1.02       1.02               1.01               1.01         4.09          156

    11.04          11.71             361,780      1.17       1.17               1.15               1.15         2.64          110
    10.21          (1.84)            297,090      1.19       1.19               1.15               1.15         2.78          127
    10.86           5.03             251,911      1.19       1.19               1.15               1.15         3.04          105
    10.77           4.33             260,394      1.17       1.17               1.15               1.15         2.97          146
    10.78          11.09             167,491      1.17       1.17               1.16               1.16         4.02          156

    11.04          10.87              67,889      1.92       1.92               1.90               1.90         1.89          110
    10.21          (2.58)             77,114      1.94       1.94               1.90               1.90         2.04          127
    10.86           4.25              73,261      1.94       1.94               1.90               1.90         2.29          105
    10.77           3.56              82,085      1.92       1.92               1.90               1.90         2.22          146
    10.78          10.26             104,368      1.92       1.92               1.91               1.91         3.29          156


                                                                                                                   ANNUAL REPORT | MARCH 31, 2021   21
Financial Highlights (Cont.)
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital     Total

PIMCO ESG Income Fund
Institutional Class
     09/30/2020 - 03/31/2021                            $ 10.00             $ 0.10            $ 0.34            $ 0.44      $ (0.09)    $ 0.00            $ 0.00      $ (0.09)
I-2
     09/30/2020 - 03/31/2021                               10.00               0.09              0.35              0.44       (0.09)       0.00               0.00      (0.09)
I-3
     09/30/2020 - 03/31/2021                               10.00               0.09              0.34              0.43       (0.08)       0.00               0.00      (0.08)
Class A
     09/30/2020 - 03/31/2021                               10.00               0.07              0.35              0.42       (0.07)       0.00               0.00      (0.07)
Class C
     09/30/2020 - 03/31/2021                               10.00               0.03              0.35              0.38       (0.03)       0.00               0.00      (0.03)
PIMCO High Yield Spectrum Fund
Institutional Class
     03/31/2021                                         $ 8.58              $ 0.45            $ 1.47            $ 1.92      $ (0.47)    $ 0.00            $ 0.00      $ (0.47)
     03/31/2020                                           9.71                0.54              (1.12)            (0.58)      (0.55)      0.00               0.00       (0.55)
     03/31/2019                                           9.78                0.57              (0.07)             0.50       (0.57)      0.00               0.00       (0.57)
     03/31/2018                                           9.93                0.55              (0.14)             0.41       (0.30)      0.00              (0.26)      (0.56)
     03/31/2017                                           9.22                0.58               0.77              1.35       (0.64)      0.00               0.00       (0.64)
I-2
     03/31/2021                                              8.58              0.44               1.47             1.91       (0.46)       0.00               0.00      (0.46)
     03/31/2020                                              9.71              0.52              (1.11)           (0.59)      (0.54)       0.00               0.00      (0.54)
     03/31/2019                                              9.78              0.56              (0.06)            0.50       (0.57)       0.00               0.00      (0.57)
     03/31/2018                                              9.93              0.54              (0.14)            0.40       (0.29)       0.00              (0.26)     (0.55)
     03/31/2017                                              9.22              0.57               0.77             1.34       (0.63)       0.00               0.00      (0.63)
I-3
     03/31/2021                                              8.58              0.43               1.48             1.91       (0.46)       0.00               0.00      (0.46)
     03/31/2020                                              9.71              0.52              (1.12)           (0.60)      (0.53)       0.00               0.00      (0.53)
     04/27/2018 - 03/31/2019                                 9.81              0.52              (0.10)            0.42       (0.52)       0.00               0.00      (0.52)
Class A
     03/31/2021                                              8.58              0.42               1.47             1.89       (0.44)       0.00               0.00      (0.44)
     03/31/2020                                              9.71              0.50              (1.12)           (0.62)      (0.51)       0.00               0.00      (0.51)
     03/31/2019                                              9.78              0.54              (0.07)            0.47       (0.54)       0.00               0.00      (0.54)
     03/31/2018                                              9.93              0.52              (0.14)            0.38       (0.27)       0.00              (0.26)     (0.53)
     03/31/2017                                              9.22              0.54               0.77             1.31       (0.60)       0.00               0.00      (0.60)
Class C
     03/31/2021                                              8.58              0.36               1.46             1.82       (0.37)       0.00               0.00      (0.37)
     03/31/2020                                              9.71              0.42              (1.11)           (0.69)      (0.44)       0.00               0.00      (0.44)
     03/31/2019                                              9.78              0.47              (0.07)            0.40       (0.47)       0.00               0.00      (0.47)
     03/31/2018                                              9.93              0.44              (0.14)            0.30       (0.19)       0.00              (0.26)     (0.45)
     03/31/2017                                              9.22              0.47               0.77             1.24       (0.53)       0.00               0.00      (0.53)
PIMCO Long-Term Credit Bond Fund
Institutional Class
     03/31/2021                                         $ 12.08             $ 0.50            $ 0.74            $ 1.24      $ (0.58)    $ (0.46)          $ 0.00      $ (1.04)
     03/31/2020                                           11.69               0.48              0.54              1.02        (0.59)      (0.04)             0.00       (0.63)
     03/31/2019                                           11.83               0.49              0.08              0.57        (0.49)      (0.15)            (0.07)      (0.71)
     03/31/2018                                           11.63               0.53              0.25              0.78        (0.58)       0.00              0.00       (0.58)
     03/31/2017                                           11.40               0.56              0.32              0.88        (0.60)       0.00             (0.05)      (0.65)
I-2
     03/31/2021                                            12.08               0.49              0.73              1.22       (0.56)      (0.46)              0.00      (1.02)
     03/31/2020                                            11.69               0.47              0.54              1.01       (0.58)      (0.04)              0.00      (0.62)
     03/31/2019                                            11.83               0.48              0.08              0.56       (0.48)      (0.15)             (0.07)     (0.70)
     03/31/2018                                            11.63               0.52              0.25              0.77       (0.57)       0.00               0.00      (0.57)
     03/31/2017                                            11.40               0.54              0.33              0.87       (0.59)       0.00              (0.05)     (0.64)
CREW/PIMCO Low Duration Credit Fund
Institutional Class
     03/31/2021                                         $ 8.63              $ 0.31            $ 0.70            $ 1.01      $ (0.33)    $ 0.00            $ 0.00      $ (0.33)
     03/31/2020                                           9.73                0.43              (1.06)            (0.63)      (0.47)      0.00               0.00       (0.47)
     03/31/2019                                           9.90                0.41              (0.14)             0.27       (0.44)      0.00               0.00       (0.44)
     03/31/2018                                           9.94                0.35               0.01              0.36       (0.38)      0.00              (0.02)      (0.40)
     03/31/2017                                           9.65                0.35               0.31              0.66       (0.37)      0.00               0.00       (0.37)


22     PIMCO CREDIT BOND FUNDS
                                                                       Ratios/Supplemental Data
                                                                      Ratios to Average Net Assets
                                                                                                 Expenses
 Net Asset                       Net Assets                                    Expenses          Excluding
Value End of                     End of Year                Expenses           Excluding          Interest         Net        Portfolio
  Year or                         or Period                 Excluding           Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)     (000s)        Expenses    Waivers            Expense           Waivers     Income (Loss)     Rate




 $ 10.35             4.43%       $     37,125     0.52%*      1.14%*             0.50%*              1.12%*       1.87%*        135%

    10.35            4.38               1,421     0.62*       1.24*              0.60*               1.22*        1.81*         135

    10.35            4.35                  45     0.72*       1.34*              0.70*               1.32*        1.69*         135

    10.35            4.23                  23     0.92*       1.54*              0.90*               1.52*        1.46*         135

    10.35            3.85                  90     1.67*       2.29*              1.65*               2.27*        0.67*         135



 $ 10.03           22.77%        $     170,488    0.62%       0.62%              0.60%               0.60%        4.67%          39%
    8.58           (6.52)              101,092    0.62        0.62               0.60                0.60         5.47           27
    9.71            5.36               603,647    0.63        0.63               0.60                0.60         5.93           26
    9.78            4.15               655,038    0.62        0.62               0.60                0.60         5.53           24
    9.93           14.98             1,505,442    0.61        0.61               0.60                0.60         5.92           35

    10.03          22.65              238,069     0.72        0.72               0.70                0.70         4.60           39
     8.58          (6.61)             134,676     0.72        0.72               0.70                0.70         5.34           27
     9.71           5.26              193,934     0.73        0.73               0.70                0.70         5.85           26
     9.78           4.05              150,910     0.72        0.72               0.70                0.70         5.45           24
     9.93          14.87              142,214     0.71        0.71               0.70                0.70         5.82           35

    10.03          22.59                3,621     0.77        0.82               0.75                0.80         4.41           39
     8.58          (6.66)                 445     0.77        0.82               0.75                0.80         5.28           27
     9.71           4.45                2,142     0.78*       0.83*              0.75*               0.80*        5.91*          26

    10.03          22.35               54,395     0.97        0.97               0.95                0.95         4.43           39
     8.58          (6.85)              50,039     0.97        0.97               0.95                0.95         5.08           27
     9.71           5.00               63,446     0.98        0.98               0.95                0.95         5.58           26
     9.78           3.79               83,841     0.97        0.97               0.95                0.95         5.21           24
     9.93          14.58               43,592     0.96        0.96               0.95                0.95         5.55           35

    10.03          21.44                5,265     1.72        1.72               1.70                1.70         3.72           39
     8.58          (7.54)               6,862     1.72        1.72               1.70                1.70         4.33           27
     9.71           4.22                8,118     1.73        1.73               1.70                1.70         4.83           26
     9.78           3.02               10,506     1.72        1.72               1.70                1.70         4.44           24
     9.93          13.73                9,777     1.71        1.71               1.70                1.70         4.81           35



 $ 12.28             9.84%       $ 3,483,341      0.59%       0.59%              0.55%               0.55%        3.79%         103%
   12.08             8.59          3,313,697      0.84        0.84               0.55                0.55         3.84          180
   11.69             5.20          3,576,056      0.79        0.79               0.55                0.55         4.33          133
   11.83             6.76          3,309,210      0.85        0.85               0.55                0.55         4.43           96
   11.63             7.79          2,805,317      0.72        0.72               0.55                0.55         4.70          114

    12.28            9.73             133,698     0.69        0.69               0.65                0.65         3.69          103
    12.08            8.49             197,002     0.94        0.94               0.65                0.65         3.71          180
    11.69            5.10              71,189     0.89        0.89               0.65                0.65         4.23          133
    11.83            6.66              54,410     0.95        0.95               0.65                0.65         4.34           96
    11.63            7.68              41,527     0.82        0.82               0.65                0.65         4.56          114



 $ 9.31            11.85%        $     210,739    0.73%       0.73%              0.70%               0.70%        3.42%         184%
   8.63            (6.94)              151,077    0.75        0.75               0.70                0.70         4.42           49
   9.73             2.74               171,645    0.75        0.75               0.70                0.70         4.15           42
   9.90             3.66             1,269,665    0.72        0.72               0.70                0.70         3.55           34
   9.94             6.96             1,148,303    0.74        0.74               0.70                0.70         3.53           19


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Financial Highlights (Cont.)
                                                                                        Investment Operations                              Less Distributions(c)



                                                       Net Asset Value                                                                  From Net
                                                        Beginning of                        Net Realized/                   From Net    Realized          Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment    Capital          Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)         Total       Income       Gains            Capital     Total

CREW/PIMCO Low Duration Credit
  Fund (Cont.)
I-2
    03/31/2021                                          $ 8.63              $ 0.31            $ 0.69            $ 1.00      $ (0.32)    $ 0.00            $ 0.00      $ (0.32)
    03/31/2020                                            9.73                0.42              (1.06)            (0.64)      (0.46)      0.00               0.00       (0.46)
    03/31/2019                                            9.90                0.42              (0.16)             0.26       (0.43)      0.00               0.00       (0.43)
    03/31/2018                                            9.94                0.34               0.01              0.35       (0.37)      0.00              (0.02)      (0.39)
    03/31/2017                                            9.65                0.34               0.31              0.65       (0.36)      0.00               0.00       (0.36)
Class A
    03/31/2021                                               8.63              0.29               0.70             0.99       (0.31)       0.00               0.00      (0.31)
    03/31/2020                                               9.73              0.40              (1.06)           (0.66)      (0.44)       0.00               0.00      (0.44)
    03/31/2019                                               9.90              0.39              (0.15)            0.24       (0.41)       0.00               0.00      (0.41)
    03/31/2018                                               9.94              0.32               0.01             0.33       (0.35)       0.00              (0.02)     (0.37)
    03/31/2017                                               9.65              0.32               0.31             0.63       (0.34)       0.00               0.00      (0.34)
Class C
    03/31/2021                                               8.63              0.21               0.71             0.92       (0.24)       0.00               0.00      (0.24)
    03/31/2020                                               9.73              0.33              (1.06)           (0.73)      (0.37)       0.00               0.00      (0.37)
    03/31/2019                                               9.90              0.32              (0.16)            0.16       (0.33)       0.00               0.00      (0.33)
    03/31/2018                                               9.94              0.25               0.00             0.25       (0.27)       0.00              (0.02)     (0.29)
    03/31/2017                                               9.65              0.25               0.31             0.56       (0.27)       0.00               0.00      (0.27)
PIMCO Low Duration Income Fund
Institutional Class
     03/31/2021                                         $ 7.95              $ 0.25            $ 0.75            $ 1.00      $ (0.23)    $ 0.00            $ (0.05)    $ (0.28)
     03/31/2020                                           8.58                0.32              (0.55)            (0.23)      (0.40)      0.00               0.00       (0.40)
     03/31/2019                                           8.56                0.30               0.01              0.31       (0.29)      0.00               0.00       (0.29)
     03/31/2018                                           8.46                0.27               0.09              0.36       (0.26)      0.00               0.00       (0.26)
     03/31/2017                                           7.67                0.35               0.74              1.09       (0.30)      0.00               0.00       (0.30)
I-2
     03/31/2021                                              7.95              0.24               0.75             0.99       (0.22)       0.00              (0.05)     (0.27)
     03/31/2020                                              8.58              0.31              (0.55)           (0.24)      (0.39)       0.00               0.00      (0.39)
     03/31/2019                                              8.56              0.30               0.00             0.30       (0.28)       0.00               0.00      (0.28)
     03/31/2018                                              8.46              0.26               0.09             0.35       (0.25)       0.00               0.00      (0.25)
     03/31/2017                                              7.67              0.32               0.76             1.08       (0.29)       0.00               0.00      (0.29)
I-3
     03/31/2021                                              7.95              0.24               0.75             0.99       (0.22)       0.00              (0.05)     (0.27)
     03/31/2020                                              8.58              0.31              (0.56)           (0.25)      (0.38)       0.00               0.00      (0.38)
     04/27/2018 - 03/31/2019                                 8.54              0.29               0.01             0.30       (0.26)       0.00               0.00      (0.26)
Class A
     03/31/2021                                              7.95              0.22               0.75             0.97       (0.20)       0.00              (0.05)     (0.25)
     03/31/2020                                              8.58              0.28              (0.55)           (0.27)      (0.36)       0.00               0.00      (0.36)
     03/31/2019                                              8.56              0.27               0.01             0.28       (0.26)       0.00               0.00      (0.26)
     03/31/2018                                              8.46              0.23               0.09             0.32       (0.22)       0.00               0.00      (0.22)
     03/31/2017                                              7.67              0.31               0.75             1.06       (0.27)       0.00               0.00      (0.27)
Class C
     03/31/2021                                              7.95              0.19               0.75             0.94       (0.17)       0.00              (0.05)     (0.22)
     03/31/2020                                              8.58              0.26              (0.55)           (0.29)      (0.34)       0.00               0.00      (0.34)
     03/31/2019                                              8.56              0.24               0.01             0.25       (0.23)       0.00               0.00      (0.23)
     03/31/2018                                              8.46              0.20               0.10             0.30       (0.20)       0.00               0.00      (0.20)
     03/31/2017                                              7.67              0.29               0.75             1.04       (0.25)       0.00               0.00      (0.25)
Class C-2
     10/21/2020 - 03/31/2021                                 8.47              0.08              0.20              0.28       (0.03)       0.00              (0.05)     (0.08)
PIMCO Preferred and Capital
Securities Fund (Consolidated)
Institutional Class
     03/31/2021                                         $ 9.23              $ 0.40            $ 1.88            $ 2.28      $ (0.41)    $ 0.00            $ 0.00      $ (0.41)
     03/31/2020                                           9.98                0.41              (0.63)            (0.22)      (0.50)      (0.03)             0.00       (0.53)
     03/31/2019                                          10.31                0.46              (0.18)             0.28       (0.59)      (0.01)            (0.01)      (0.61)
     03/31/2018                                          10.22                0.41               0.43              0.84       (0.72)      (0.03)             0.00       (0.75)
     03/31/2017                                           9.44                0.46               0.94              1.40       (0.62)       0.00              0.00       (0.62)




24     PIMCO CREDIT BOND FUNDS
                                                                         Ratios/Supplemental Data
                                                                        Ratios to Average Net Assets
                                                                                                   Expenses
 Net Asset                       Net Assets                                      Expenses          Excluding
Value End of                     End of Year                Expenses             Excluding          Interest          Net        Portfolio
  Year or                         or Period                 Excluding             Interest        Expense and     Investment     Turnover
  Period(a)    Total Return(a)     (000s)        Expenses    Waivers              Expense           Waivers      Income (Loss)     Rate




 $ 9.31            11.74%        $     22,046     0.83%       0.83%                0.80%               0.80%         3.34%         184%
   8.63            (7.03)              25,932     0.85        0.85                 0.80                0.80          4.30           49
   9.73             2.64               38,809     0.85        0.85                 0.80                0.80          4.25           42
   9.90             3.56               22,172     0.82        0.82                 0.80                0.80          3.47           34
   9.94             6.85               13,970     0.84        0.84                 0.80                0.80          3.44           19

     9.31          11.52               54,219     1.03        1.03                 1.00                1.00          3.16          184
     8.63          (7.22)              52,228     1.05        1.05                 1.00                1.00          4.13           49
     9.73           2.44               89,364     1.05        1.05                 1.00                1.00          4.02           42
     9.90           3.35               94,579     1.02        1.02                 1.00                1.00          3.24           34
     9.94           6.63               87,065     1.04        1.04                 1.00                1.00          3.24           19

     9.31          10.68                9,975     1.78        1.78                 1.75                1.75          2.34          184
     8.63          (7.91)              22,627     1.80        1.80                 1.75                1.75          3.39           49
     9.73           1.68               46,421     1.80        1.80                 1.75                1.75          3.27           42
     9.90           2.58               44,916     1.77        1.77                 1.75                1.75          2.48           34
     9.94           5.84               55,559     1.79        1.79                 1.75                1.75          2.49           19



 $ 8.67            12.72%        $ 2,204,463      0.54%       0.54%                0.51%               0.51%         2.96%         410%
   7.95            (2.94)          1,644,585      0.55        0.55                 0.51                0.51          3.77          432
   8.58             3.70           1,682,347      0.58        0.59                 0.50                0.51          3.55          207
   8.56             4.29             705,766      0.50        0.55                 0.46                0.51          3.21          128
   8.46            14.45              95,776      0.61(d)     0.62(d)              0.55(d)             0.56(d)       4.23          243

     8.67          12.61             3,109,079    0.64        0.64                 0.61                0.61          2.85          410
     7.95          (3.04)            2,246,989    0.65        0.65                 0.61                0.61          3.64          432
     8.58           3.60             1,854,130    0.68        0.69                 0.60                0.61          3.49          207
     8.56           4.19               509,577    0.60        0.65                 0.56                0.61          3.10          128
     8.46          14.34                55,138    0.71(e)     0.72(e)              0.65(e)             0.66(e)       3.85          243

     8.67          12.57               87,455     0.69        0.74                 0.66                0.71          2.82          410
     7.95          (3.09)              20,116     0.70        0.75                 0.66                0.71          3.63          432
     8.58           3.56               39,161     0.73*       0.79*                0.65*               0.71*         3.69*         207

     8.67          12.28             1,784,043    0.94        0.94                 0.91                0.91          2.55          410
     7.95          (3.33)            1,322,295    0.95        0.95                 0.91                0.91          3.33          432
     8.58           3.29             1,056,714    0.98        0.99                 0.90                0.91          3.16          207
     8.56           3.87               533,327    0.90        0.95                 0.86                0.91          2.70          128
     8.46          14.00               169,743    1.01(f)     1.02(f)              0.95(f)             0.96(f)       3.77          243

     8.67          11.95              212,807     1.24        1.24                 1.21                1.21          2.25          410
     7.95          (3.62)             200,678     1.25        1.25                 1.21                1.21          3.07          432
     8.58           2.98              190,628     1.28        1.29                 1.20                1.21          2.85          207
     8.56           3.56              101,717     1.20        1.25                 1.16                1.21          2.34          128
     8.46          13.65               85,943     1.31(f)     1.32(f)              1.25(f)             1.26(f)       3.53          243

     8.67            3.35               3,209     1.44*       1.44*                1.41*               1.41*         2.04*         410




 $ 11.10           24.86%        $ 1,216,087      0.81%       0.91%                0.79%               0.89%         3.74%          59%
    9.23           (2.68)            788,615      0.79        0.87                 0.78                0.86          3.92           67
    9.98            2.83             259,798      0.82        0.91                 0.81                0.90          4.58           57
   10.31            8.28             119,949      0.80        0.87                 0.80                0.87          3.94          151
   10.22           15.22              60,707      0.80        0.87                 0.80                0.87          4.62          123




                                                                                                                        ANNUAL REPORT | MARCH 31, 2021   25
Financial Highlights (Cont.)
                                                                                        Investment Operations                                    Less Distributions(c)



                                                       Net Asset Value                                                                       From Net
                                                        Beginning of                        Net Realized/                   From Net         Realized           Tax Basis
                                                           Year or       Net Investment      Unrealized                    Investment         Capital           Return of
Selected Per Share Data for the Year or Period Ended^:    Period(a)      Income (Loss)(b)    Gain (Loss)        Total        Income            Gains             Capital          Total

PIMCO Preferred and Capital Securities
  Fund (Continued)
I-2
      03/31/2021                                        $ 9.21              $ 0.39            $ 1.88            $ 2.27      $ (0.40)         $ 0.00             $ 0.00          $ (0.40)
      03/31/2020                                           9.97               0.40              (0.64)            (0.24)      (0.49)           (0.03)              0.00           (0.52)
      03/31/2019                                          10.30               0.45              (0.18)             0.27       (0.58)           (0.01)             (0.01)          (0.60)
      03/31/2018                                          10.21               0.40               0.43              0.83       (0.71)           (0.03)              0.00           (0.74)
      03/31/2017                                           9.45               0.42               0.96              1.38       (0.62)            0.00               0.00           (0.62)
I-3
    03/31/2021                                              9.20               0.38               1.88             2.26       (0.40)             0.00               0.00              (0.40)
    03/31/2020                                              9.95               0.40              (0.63)           (0.23)      (0.49)            (0.03)              0.00              (0.52)
    04/27/2018 - 03/31/2019                                10.32               0.43              (0.19)            0.24       (0.59)            (0.01)             (0.01)             (0.61)
Class A
    03/31/2021                                              9.19               0.36               1.88             2.24       (0.38)             0.00               0.00              (0.38)
    03/31/2020                                              9.95               0.37              (0.63)           (0.26)      (0.47)            (0.03)              0.00              (0.50)
    03/31/2019                                             10.29               0.43              (0.19)            0.24       (0.56)            (0.01)             (0.01)             (0.58)
    03/31/2018                                             10.22               0.38               0.42             0.80       (0.70)            (0.03)              0.00              (0.73)
    03/31/2017                                              9.43               0.42               0.95             1.37       (0.58)             0.00               0.00              (0.58)
Class C
    03/31/2021                                              9.19               0.28               1.87             2.15       (0.31)             0.00               0.00              (0.31)
    08/23/2019 - 03/31/2020                                10.48               0.16              (1.08)           (0.92)      (0.34)            (0.03)              0.00              (0.37)


^ A zero balance may reflect actual amounts rounding to less than $0.01 or 0.01%.
* Annualized
(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Funds.
(b) Per share amounts based on average number of shares outstanding during the year or period.
(c) The tax characterization of distributions is determined in accordance with Federal income tax regulations. See Note 2, Distributions to Shareholders, in the Notes to Financial

    Statements for more information.
(d) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.20%.
(e) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.30%.
(f) Effective January 23, 2017, the Class’s supervisory and administrative fee was decreased by 0.05% to an annual rate of 0.35%.




26     PIMCO CREDIT BOND FUNDS
                                                                     Ratios/Supplemental Data
                                                                    Ratios to Average Net Assets
                                                                                               Expenses
 Net Asset                       Net Assets                                  Expenses          Excluding
Value End of                     End of Year              Expenses           Excluding          Interest         Net        Portfolio
  Year or                         or Period               Excluding           Interest        Expense and    Investment     Turnover
  Period(a)    Total Return(a)     (000s)      Expenses    Waivers            Expense           Waivers     Income (Loss)     Rate




 $ 11.08           24.81%        $ 318,242      0.91%       1.01%              0.89%               0.99%        3.65%          59%
    9.21           (2.87)          230,245      0.89        0.97               0.88                0.96         3.85           67
    9.97            2.76           130,385      0.92        1.01               0.91                1.00         4.51           57
   10.30            8.27            36,539      0.90        0.97               0.90                0.97         3.82          151
   10.21           14.92             6,002      0.90        0.97               0.90                0.97         4.19          123

    11.06          24.68            42,310      0.96        1.11               0.94                1.09         3.60           59
     9.20          (2.80)           28,048      0.94        1.07               0.93                1.06         3.80           67
     9.95           2.49            11,782      0.97*       1.11*              0.96*               1.10*        4.79*          57

    11.05          24.46           302,567      1.16        1.26               1.14                1.24         3.40           59
     9.19          (3.06)          264,206      1.14        1.22               1.13                1.21         3.57           67
     9.95           2.50           119,215      1.17        1.26               1.16                1.25         4.29           57
    10.29           7.88            35,464      1.15        1.22               1.15                1.22         3.63          151
    10.22          14.79             1,954      1.15        1.22               1.15                1.22         4.22          123

    11.03          23.53            20,136      1.91        2.01               1.89                1.99         2.65           59
     9.19          (9.21)           12,500      1.89*       1.97*              1.88*               1.96*        2.64*          67




                                                                                                                   ANNUAL REPORT | MARCH 31, 2021   27
Statements of Assets and Liabilities
                                                                       PIMCO                                                             PIMCO
                                                                     Credit             PIMCO           PIMCO            PIMCO       Long-Term       CREW/PIMCO           PIMCO
                                                                  Opportunities      Diversified    ESG Income        High Yield     Credit Bond      Low Duration   Low Duration
(Amounts in thousands†, except per share amounts)                  Bond Fund        Income Fund        Fund         Spectrum Fund       Fund         Credit Fund     Income Fund

Assets:
Investments, at value
   Investments in securities*                                      $ 317,460        $ 5,000,202     $ 36,955         $ 427,660       $ 4,243,108     $ 266,096       $ 9,408,017
   Investments in Affiliates                                          87,527            492,982            0            39,266            55,745        24,973            34,466
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                    350              2,938           12                85             3,163             0              7,463
   Over the counter                                                      1,773             17,247          116             2,590            14,027           532             61,149
Cash                                                                       648              1,857        3,173               106                 0         4,029                 20
Deposits with counterparty                                               9,997              2,538          188             2,571            23,574             0             41,866
Foreign currency, at value                                                 619              5,346           26                 3             5,850            24             30,385
Receivable for investments sold                                          3,279                109            2               757             9,064        22,047              6,493
Receivable for TBA investments sold                                     13,493            279,613        2,665                 0           194,657             0          2,718,507
Receivable for Fund shares sold                                            997              4,582        1,634               173             6,105           136             29,516
Interest and/or dividends receivable                                     2,822             45,259          193             5,714            37,143         1,033             40,364
Dividends receivable from Affiliates                                        13                109            0                 9                 3             4                  3
Reimbursement receivable from PIMCO                                          0                  1            0                 0                 0             0                  0
Prepaid expenses                                                             0                  0            0                10                 0            23                  0
Other assets                                                                 0                  0            0                 0                 2             0                  0
Total Assets                                                           438,978          5,852,783       44,964           478,944         4,592,441       318,897         12,378,249
Liabilities:
Borrowings & Other Financing Transactions
   Payable for reverse repurchase agreements                       $     2,168      $     13,497    $      852       $           0   $    567,377    $        0      $     442,931
   Payable for sale-buyback transactions                                     0                 0             0                   0          2,226             0              4,390
   Payable for short sales                                               1,501                 0             0                   0              0             0            733,804
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                     78               831             0                 0              861              0              1,583
   Over the counter                                                        870             1,472            47                 3            6,868              2             47,945
Payable for investments purchased                                        2,900            15,630           995             3,174           44,624         19,614            156,348
Payable for investments in Affiliates purchased                             13               109             0                 9                3              4                  3
Payable for TBA investments purchased                                   18,472           519,410         4,335                 0          334,299              0          3,513,713
Payable for unfunded loan commitments                                    1,294             2,997             0               136            5,473          1,347                299
Deposits from counterparty                                                 842            17,197             0             2,330            9,152            280             53,541
Payable for Fund shares redeemed                                         3,945             6,848            17             1,043            2,346            426             16,321
Distributions payable                                                        0               940             0               120              460             15              2,184
Overdraft due to custodian                                                   0                 0             0                 0               69              0                  0
Accrued investment advisory fees                                           209             2,003             7               120              888            107              1,816
Accrued supervisory and administrative fees                                117             1,451             7               146              750             84              1,726
Accrued distribution fees                                                    2                46             0                 4                0              6                 55
Accrued servicing fees                                                       5                92             0                13                0             14                420
Accrued taxes payable                                                        0                 0             0                 0                0              0                 98
Accrued reimbursement to PIMCO                                               0                 0             0                 0                0              0                 16
Other liabilities                                                            0                 0             0                 8                6             19                  0
Total Liabilities                                                       32,416           582,523         6,260             7,106          975,402         21,918          4,977,193

Net Assets                                                         $ 406,562        $ 5,270,260     $ 38,704         $ 471,838       $ 3,617,039     $ 296,979       $ 7,401,056
Net Assets Consist of:
Paid in capital                                                    $ 451,627        $ 5,255,214     $ 38,486         $ 511,140       $ 3,385,900     $ 362,012       $ 7,565,128
Distributable earnings (accumulated loss)                            (45,065)            15,046          218           (39,302)          231,139       (65,033)         (164,072)

Net Assets                                                         $ 406,562        $ 5,270,260     $ 38,704         $ 471,838       $ 3,617,039     $ 296,979       $ 7,401,056

Cost of investments in securities                                  $ 311,652        $ 4,912,841     $ 36,974         $ 415,855       $ 4,123,967     $ 260,398       $ 9,413,827
Cost of investments in Affiliates                                  $ 87,421         $ 492,959       $      0         $ 39,225        $    55,750     $ 24,974        $    34,466
Cost of foreign currency held                                      $     671        $     5,088     $     28         $       2       $     6,609     $      24       $    30,628
Proceeds received on short sales                                   $ 1,433          $         0     $      0         $       0       $         0     $       0       $   733,686
Cost or premiums of financial derivative instruments, net          $ 2,388          $    39,194     $     82         $ 1,787         $    35,407     $       0       $    25,856

* Includes repurchase agreements of:                               $     1,597      $           0   $           0    $           0   $      5,943    $        0      $      33,560

†   A zero balance may reflect actual amounts rounding to less than one thousand.

28     PIMCO CREDIT BOND FUNDS
                                                                                                                                                                      March 31, 2021


                                                                      PIMCO                                                                PIMCO
                                                                    Credit            PIMCO           PIMCO              PIMCO         Long-Term      CREW/PIMCO         PIMCO
                                                                 Opportunities     Diversified      ESG Income       High Yield        Credit Bond    Low Duration   Low Duration
                                                                  Bond Fund       Income Fund          Fund        Spectrum Fund          Fund        Credit Fund    Income Fund

Net Assets:
Institutional Class                                               $ 268,038       $ 4,132,019        $ 37,125        $ 170,488         $ 3,483,341     $ 210,739     $ 2,204,463
I-2                                                                 115,116           670,322           1,421          238,069             133,698        22,046       3,109,079
I-3                                                                     N/A            27,498              45            3,621                 N/A           N/A          87,455
Administrative Class                                                    N/A            10,752             N/A              N/A                 N/A           N/A             N/A
Class A                                                              19,542           361,780              23           54,395                 N/A        54,219       1,784,043
Class C                                                               3,866            67,889              90            5,265                 N/A         9,975         212,807
Class C-2                                                               N/A               N/A             N/A              N/A                 N/A           N/A           3,209

Shares Issued and Outstanding:
Institutional Class                                                    26,834          374,313          3,588             17,005            283,666        22,637         254,185
I-2                                                                    11,578           60,723            137             23,746             10,888         2,368         358,496
I-3                                                                       N/A            2,491              4                361                N/A           N/A          10,084
Administrative Class                                                      N/A              974            N/A                N/A                N/A           N/A             N/A
Class A                                                                 1,955           32,774              2              5,426                N/A         5,824         205,709
Class C                                                                   393            6,150              9                525                N/A         1,071          24,538
Class C-2                                                                 N/A              N/A            N/A                N/A                N/A           N/A             370

Net Asset Value Per Share Outstanding(a):
Institutional Class                                               $      9.99     $      11.04       $ 10.35         $     10.03       $      12.28    $     9.31    $       8.67
I-2                                                                      9.94            11.04         10.35               10.03              12.28          9.31            8.67
I-3                                                                       N/A            11.04         10.35               10.03                N/A           N/A            8.67
Administrative Class                                                      N/A            11.04           N/A                 N/A                N/A           N/A             N/A
Class A                                                                 10.00            11.04         10.35               10.03                N/A          9.31            8.67
Class C                                                                  9.85            11.04         10.35               10.03                N/A          9.31            8.67
Class C-2                                                                 N/A              N/A           N/A                 N/A                N/A           N/A            8.67

(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Funds.




                                                                                                                                       ANNUAL REPORT | MARCH 31, 2021            29
Consolidated Statement of Assets and Liabilities
                                                                                       PIMCO
                                                                                    Preferred and
                                                                                       Capital
                                                                                      Securities
(Amounts in thousands†, except per share amounts)                                       Fund

Assets:
Investments, at value
   Investments in securities*                                                       $ 1,832,564
   Investments in Affiliates                                                             78,277
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                                       923
   Over the counter                                                                        18,746
Cash                                                                                        2,747
Deposits with counterparty                                                                 11,232
Foreign currency, at value                                                                  2,790
Receivable for investments sold                                                             1,009
Receivable for Fund shares sold                                                             1,530
Interest and/or dividends receivable                                                       18,568
Dividends receivable from Affiliates                                                           12
Reimbursement receivable from PIMCO                                                           187
Total Assets                                                                            1,968,585

Liabilities:
Borrowings & Other Financing Transactions
   Payable for reverse repurchase agreements                                        $     39,487
Financial Derivative Instruments
   Exchange-traded or centrally cleared                                                      657
   Over the counter                                                                        1,625
Payable for investments purchased                                                          6,598
Payable for investments in Affiliates purchased                                               12
Deposits from counterparty                                                                17,582
Payable for Fund shares redeemed                                                           1,545
Accrued investment advisory fees                                                             835
Accrued supervisory and administrative fees                                                  673
Accrued distribution fees                                                                     12
Accrued servicing fees                                                                        68
Other liabilities                                                                            149
Total Liabilities                                                                         69,243

Net Assets                                                                          $ 1,899,342

Net Assets Consist of:
Paid in capital                                                                     $ 1,786,209
Distributable earnings (accumulated loss)                                               113,133

Net Assets                                                                          $ 1,899,342

Cost of investments in securities                                                   $ 1,735,592
Cost of investments in Affiliates                                                   $    78,268
Cost of foreign currency held                                                       $     2,858
Cost or premiums of financial derivative instruments, net                           $     1,296

* Includes repurchase agreements of:                                                $     78,225


†   A zero balance may reflect actual amounts rounding to less than one thousand.




30     PIMCO CREDIT BOND FUNDS
                                                                                                                                                                March 31, 2021


                                                                                                                                                               PIMCO
                                                                                                                                                            Preferred and
                                                                                                                                                               Capital
                                                                                                                                                              Securities
                                                                                                                                                                Fund

Net Assets:
Institutional Class                                                                                                                                         $ 1,216,087
I-2                                                                                                                                                             318,242
I-3                                                                                                                                                              42,310
Class A                                                                                                                                                         302,567
Class C                                                                                                                                                          20,136

Shares Issued and Outstanding:
Institutional Class                                                                                                                                              109,541
I-2                                                                                                                                                               28,734
I-3                                                                                                                                                                3,826
Class A                                                                                                                                                           27,381
Class C                                                                                                                                                            1,826

Net Asset Value Per Share Outstanding(a):
Institutional Class                                                                                                                                         $       11.10
I-2                                                                                                                                                                 11.08
I-3                                                                                                                                                                 11.06
Class A                                                                                                                                                             11.05
Class C                                                                                                                                                             11.03

(a) Includes adjustments required by U.S. GAAP and may differ from net asset values and performance reported elsewhere by the Fund.




                                                                                                                                      ANNUAL REPORT | MARCH 31, 2021        31
Statements of Operations
Year Ended March 31, 2021
                                                                      PIMCO                                                       PIMCO
                                                                      Credit           PIMCO         PIMCO         PIMCO        Long-Term      CREW/PIMCO         PIMCO
                                                                   Opportunities     Diversified   ESG Income     High Yield    Credit Bond    Low Duration    Low Duration
(Amounts in thousands†)                                             Bond Fund       Income Fund      Fund(a)    Spectrum Fund      Fund         Credit Fund    Income Fund


Investment Income:
Interest, net of foreign taxes*                                      $ 15,406       $ 180,569        $ 187       $ 21,177       $ 162,625        $ 18,345      $ 208,561
Dividends                                                                   0           1,274            0              0           1,531               0          1,254
Dividends from Investments in Affiliates                                  286             726            0            122             145             141             37
   Total Income                                                        15,692         182,569          187         21,299         164,301          18,486        209,852

Expenses:
Investment advisory fees                                                  2,351          21,522           19          1,198          11,242           1,776         18,021
Supervisory and administrative fees                                       1,311          15,599           19          1,465           9,529           1,389         17,144
Distribution and/or servicing fees - Administrative Class                   N/A             299          N/A            N/A             N/A             N/A            N/A
Distribution fees - Class C                                                  38             612            0             53             N/A             128            621
Distribution fees - C-2                                                     N/A             N/A          N/A            N/A             N/A             N/A              2(b)
Servicing fees - Class A                                                     55             860            0            137             N/A             125          3,699
Servicing fees - Class C                                                     13             204            0             18             N/A              43            517
Servicing fees - C-2                                                        N/A             N/A          N/A            N/A             N/A             N/A              1(b)
Trustee fees                                                                  2              26            0              2              23               2             35
Interest expense                                                             18           1,070            2             69           1,428             135          1,883
Organizational expense                                                        0               0           98              0               0               0              0
Miscellaneous expense                                                         5              47            0              6              47               6            365
   Total Expenses                                                         3,793          40,239          138          2,948          22,269           3,604         42,288
   Waiver and/or Reimbursement by PIMCO                                       0             (12)         (97)            (0)              0               0            (57)
   Net Expenses                                                           3,793          40,227           41          2,948          22,269           3,604         42,231

Net Investment Income (Loss)                                             11,899         142,342          146         18,351         142,032          14,882        167,621

Net Realized Gain (Loss):
Investments in securities                                                    77         (18,964)         (14)         (8,687)       228,001          12,824         28,633
Investments in Affiliates                                                   (77)             17            0              49            357             301             (8)
Exchange-traded or centrally cleared financial
   derivative instruments                                                   310          (6,009)           3            (139)       (32,437)         (2,049)       (144,334)
Over the counter financial derivative instruments                          (344)        (24,090)         (55)         (2,140)         9,899            (742)        (35,848)
Short sales                                                                (776)             30            0               0              0               0             (26)
Foreign currency                                                           (315)         (4,281)          22            (934)        (1,050)         (1,664)         (5,443)

Net Realized Gain (Loss)                                                 (1,125)        (53,297)         (44)        (11,851)       204,770           8,670        (157,026)

Net Change in Unrealized Appreciation (Depreciation):
Investments in securities                                                32,867         295,819          (19)        63,813         (41,137)         27,777        326,397
Investments in Affiliates                                                   347             989            0             54             (26)             34             (1)
Exchange-traded or centrally cleared financial
   derivative instruments                                                 2,332          80,242          197          1,601          62,758             580        300,557
Over the counter financial derivative instruments                         1,248          23,617           85          3,313          14,614             998         47,849
Short sales                                                                 618               0            0              0               0               0              0
Foreign currency assets and liabilities                                     (54)         (2,800)          (2)          (387)           (728)           (182)        (4,595)

Net Change in Unrealized Appreciation (Depreciation)                     37,358         397,867          261         68,394          35,481          29,207        670,207

Net Increase (Decrease) in Net Assets Resulting
  from Operations                                                    $ 48,132       $ 486,912        $ 363       $ 74,894       $ 382,283        $ 52,759      $ 680,802

* Foreign tax withholdings                                           $        0     $         0      $     0     $         0    $         0      $        0    $        99


†   A zero balance may reflect actual amounts rounding to less than one thousand.
(a) Inception date of the Fund was September 30, 2020.
(b) Inception date of Class C-2 was October 21, 2020.




32     PIMCO CREDIT BOND FUNDS
Consolidated Statement of Operations
Year Ended March 31, 2021
                                                                                                             PIMCO
                                                                                                          Preferred and
                                                                                                             Capital
                                                                                                            Securities
(Amounts in thousands†)                                                                                       Fund


Investment Income:
Interest, net of foreign taxes*                                                                            $ 74,597
Dividends                                                                                                     3,671
Dividends from Investments in Affiliates                                                                        322
   Total Income                                                                                              78,590

Expenses:
Investment advisory fees                                                                                         8,814
Supervisory and administrative fees                                                                              7,191
Distribution fees - Class C                                                                                        127
Servicing fees - Class A                                                                                           722
Servicing fees - Class C                                                                                            42
Trustee fees                                                                                                         9
Interest expense                                                                                                   264
Miscellaneous expense                                                                                                6
   Total Expenses                                                                                               17,175
   Waiver and/or Reimbursement by PIMCO                                                                         (1,744)
   Net Expenses                                                                                                 15,431

Net Investment Income (Loss)                                                                                    63,159

Net Realized Gain (Loss):
Investments in securities                                                                                       48,868
Investments in Affiliates                                                                                           94
Exchange-traded or centrally cleared financial derivative instruments                                           (6,343)
Over the counter financial derivative instruments                                                              (41,241)
Foreign currency                                                                                                (3,013)

Net Realized Gain (Loss)                                                                                        (1,635)

Net Change in Unrealized Appreciation (Depreciation):
Investments in securities                                                                                      267,586
Investments in Affiliates                                                                                            9
Exchange-traded or centrally cleared financial derivative instruments                                            4,889
Over the counter financial derivative instruments                                                               14,689
Foreign currency assets and liabilities                                                                           (947)

Net Change in Unrealized Appreciation (Depreciation)                                                           286,226

Net Increase (Decrease) in Net Assets Resulting from Operations                                            $ 347,750

* Foreign tax withholdings                                                                                 $      150


†   A zero balance may reflect actual amounts rounding to less than one thousand.




                                                                                    ANNUAL REPORT | MARCH 31, 2021        33
Statements of Changes in Net Assets
                                                                                                      PIMCO                                    PIMCO                          PIMCO
                                                                                          Credit Opportunities Bond Fund              Diversified Income Fund            ESG Income Fund

                                                                                          Year Ended          Year Ended          Year Ended          Year Ended           Inception date
                                                                                         March 31, 2021      March 31, 2020      March 31, 2021      March 31, 2020           through
                                                                                                                                                                          March 31, 2021(a)
(Amounts in thousands†)
Increase (Decrease) in Net Assets from:

Operations:
Net investment income (loss)                                                              $ 11,899            $ 16,704           $    142,342        $    123,630            $        146
Net realized gain (loss)                                                                    (1,125)               7,747               (53,297)            101,111                     (44)
Net change in unrealized appreciation (depreciation)                                        37,358              (37,789)              397,867            (321,601)                    261

Net Increase (Decrease) in Net Assets Resulting from Operations                               48,132              (13,338)            486,912              (96,860)                   363

Distributions to Shareholders:
From net investment income and/or net realized capital gains
   Institutional Class                                                                         (9,582)            (12,786)            (133,148)          (139,643)                 (145)
   I-2                                                                                         (3,420)             (2,265)             (19,957)           (19,963)                   (0)
   I-3                                                                                            N/A                 N/A                 (861)              (457)                   (0)
   Administrative Class                                                                           N/A                 N/A               (4,152)            (7,677)                  N/A
   Class A                                                                                       (678)               (785)             (11,193)           (15,078)                   (0)
   Class C                                                                                       (121)               (164)              (2,050)            (2,771)                   (0)
   Class C-2                                                                                      N/A                 N/A                  N/A                N/A                   N/A
Tax basis return of capital
  Institutional Class                                                                               0                   0                    0                    0                     0
  I-2                                                                                               0                   0                    0                    0                     0
  I-3                                                                                             N/A                 N/A                    0                    0                     0
  Administrative Class                                                                            N/A                 N/A                    0                    0                   N/A
  Class A                                                                                           0                   0                    0                    0                     0
  Class C                                                                                           0                   0                    0                    0                     0
  Class C-2                                                                                       N/A                 N/A                  N/A                  N/A                   N/A

Total Distributions(c)                                                                       (13,801)             (16,000)            (171,361)          (185,589)                 (145)

Fund Share Transactions:
Net increase (decrease) resulting from Fund share transactions*                               59,901              (24,584)           1,219,500            735,912                38,486
Fund Redemption Fee                                                                                0                    0                    0                  0                     0

Total Increase (Decrease) in Net Assets                                                       94,232              (53,922)           1,535,051            453,463                38,704

Net Assets:
Beginning of year                                                                           312,330             366,252            3,735,209           3,281,746                    0
End of year                                                                               $ 406,562           $ 312,330          $ 5,270,260         $ 3,735,209             $ 38,704


†   A zero balance may reflect actual amounts rounding to less than one thousand.
* See Note 13, Shares of Beneficial Interest, in the Notes to Financial Statements.
(a) Inception date of the Fund was September 30, 2020.
(b) Inception date of Class C-2 was October 21, 2020.
(c) The tax characterization of distributions is determined in accordance with Federal income tax regulations. See Note 2, Distributions to Shareholders, in the Notes to Financial

    Statements for more information.




34    PIMCO CREDIT BOND FUNDS
                PIMCO                              PIMCO                               CREW/PIMCO                                        PIMCO
      High Yield Spectrum Fund            Long-Term Credit Bond Fund              Low Duration Credit Fund                      Low Duration Income Fund


 Year Ended           Year Ended       Year Ended            Year Ended       Year Ended            Year Ended             Year Ended            Year Ended
March 31, 2021       March 31, 2020   March 31, 2021        March 31, 2020   March 31, 2021        March 31, 2020         March 31, 2021        March 31, 2020




 $ 18,351            $     34,913     $   142,032           $   163,332       $ 14,882              $ 12,449              $     167,621         $     205,782
   (11,851)                  (199)        204,770               150,366          8,670                 (9,909)                 (157,026)               48,896
    68,394                (36,368)         35,481               (17,701)        29,207                (18,860)                  670,207              (509,407)

     74,894                (1,654)        382,283               295,997           52,759               (16,320)                680,802               (254,729)




     (6,511)              (22,219)        (277,514)             (177,079)        (12,655)                (7,188)                (47,908)              (88,052)
     (9,623)               (9,969)         (11,730)              (36,217)           (819)                (1,685)                (65,476)             (107,707)
        (44)                  (44)             N/A                   N/A             N/A                    N/A                  (1,159)               (2,275)
        N/A                   N/A              N/A                   N/A             N/A                    N/A                     N/A                   N/A
     (2,510)               (3,318)             N/A                   N/A          (1,656)                (3,368)                (34,131)              (53,304)
       (272)                 (365)             N/A                   N/A            (425)                (1,423)                 (4,193)               (8,032)
        N/A                   N/A              N/A                   N/A             N/A                    N/A                      (3)(b)               N/A

          0                     0                0                       0             0                       0                (10,469)                     0
          0                     0                0                       0             0                       0                (14,862)                     0
          0                     0              N/A                     N/A           N/A                     N/A                   (271)                     0
        N/A                   N/A              N/A                     N/A           N/A                     N/A                    N/A                    N/A
          0                     0              N/A                     N/A             0                       0                 (8,768)                     0
          0                     0              N/A                     N/A             0                       0                 (1,225)                     0
        N/A                   N/A              N/A                     N/A           N/A                     N/A                     (6)(b)                N/A

    (18,960)              (35,915)        (289,244)             (213,296)        (15,555)              (13,664)                (188,471)             (259,370)



   122,790               (540,604)          13,301              (219,247)          7,909               (64,394)               1,474,062             1,125,782
         0                      0                0                     0               2                     3                        0                     0

   178,724               (578,173)        106,340               (136,546)         45,115               (94,375)               1,966,393              611,683



   293,114             871,287          3,510,699             3,647,245         251,864               346,239               5,434,663             4,822,980
 $ 471,838           $ 293,114        $ 3,617,039           $ 3,510,699       $ 296,979             $ 251,864             $ 7,401,056           $ 5,434,663




                                                                                                                   ANNUAL REPORT | MARCH 31, 2021           35
Schedule of Investments CREW/PIMCO Low Duration Credit Fund
(Amounts in thousands*, except number of shares, contracts, units and ounces, if any)
                                       PRINCIPAL    MARKET                                      PRINCIPAL    MARKET                                         PRINCIPAL    MARKET
                                        AMOUNT      VALUE                                        AMOUNT      VALUE                                           AMOUNT      VALUE
                                         (000S)      (000S)                                       (000S)      (000S)                                          (000S)      (000S)

INVESTMENTS IN SECURITIES 89.6%                               Carnival Corp.                                           Frontier Communications Corp.
                                                              8.500% (LIBOR03M + 7.500%)                               5.750% (LIBOR03M + 4.750%)
LOAN PARTICIPATIONS AND ASSIGNMENTS 85.9%
                                                                 due 06/30/2025 ~               $ 2,233 $     2,311       due 10/08/2021 ~                $ 4,175       $ 4,188
AAdvantage Loyalty IP Ltd.                                    CBI Buyer, INC.                                          Gainwell Acquisition Corp.
TBD% due 04/20/2028                $    1,800      $ 1,844    3.750% (LIBOR03M + 3.250%)                               4.750% (LIBOR03M + 4.000%)
Advantage Sales & Marketing, Inc.                                due 01/06/2028 ~                     475       473       due 10/01/2027 ~                    4,220       4,212
6.000% (LIBOR03M + 5.250%)                                    Chobani LLC                                              Getty Images, Inc.
   due 10/28/2027 ~                     3,500        3,500    4.500% (LIBOR03M + 3.500%)                               4.609% (LIBOR03M + 4.500%)
Ahlstrom-Munksjo Oyj                                             due 10/20/2027 ~                   1,418     1,419       due 02/19/2026 ~                    1,985       1,970
TBD% due 03/11/2028                     1,550        1,555    CityCenter Holdings LLC                                  Global Medical Response, Inc.
AlixPartners, LLP                                             3.000% (LIBOR03M + 2.250%)                               5.750% (LIBOR03M + 4.750%)
3.250% (LIBOR03M + 2.750%)                                       due 04/18/2024 ~                   3,142     3,106       due 10/02/2025 ~                    4,242       4,235
   due 02/04/2028 ~                     1,725        1,720    Clarios Global LP                                        GlobalLogic Holdings, Inc.
Alliant Holdings Intermediate LLC                             3.359% (LIBOR03M + 3.250%)                               2.859% (LIBOR03M + 2.750%)
3.359% (LIBOR03M + 3.250%)                                       due 04/30/2026 ~                   1,995     1,987       due 08/01/2025 «~                     988         986
   due 05/09/2025 ~                     1,646        1,627    Clear Channel Outdoor Holdings, Inc.                     Golden Entertainment, Inc.
Allied Universal Holdco LLC                                   3.712% (LIBOR03M + 3.500%)                               3.750% (LIBOR03M + 3.000%)
4.359% (LIBOR03M + 4.250%)                                       due 08/21/2026 ~                   4,950     4,768       due 10/21/2024 ~                      300         297
   due 07/10/2026 ~                     1,135        1,133    CNT Holdings Corp.                                       Graham Packaging Co., Inc.
Alphabet Holding Co., Inc.                                    4.500% (LIBOR03M + 3.750%)                               3.750% (LIBOR03M + 3.000%)
3.609% (LIBOR03M + 3.500%)                                       due 11/08/2027 ~                   2,000     1,998       due 08/04/2027 ~                    3,388       3,373
   due 09/26/2024 ~                       848          843    CommScope, Inc.                                          Hearthside Food Solutions LLC
Altice Financing S.A.                                         3.359% (LIBOR03M + 3.250%)                               3.796% (LIBOR03M + 3.688%)
2.856% (LIBOR03M + 2.750%)                                       due 04/06/2026 ~                   1,414     1,408       due 05/23/2025 ~                    1,073       1,065
   due 07/15/2025 ~                       990          972    Consumer Cellular, Inc.                                  6.000% (LIBOR03M + 5.000%)
2.953% (LIBOR03M + 2.750%)                                    4.750% (LIBOR03M + 4.000%)                                  due 05/23/2025 ~                      398         399
   due 01/31/2026 ~                     2,431        2,386       due 12/17/2027 ~                   1,200     1,203    Hub International Ltd.
Altice France S.A.                                            Core & Main LP                                           2.965% - 3.215% (LIBOR03M +
4.198% (LIBOR03M + 4.000%)                                    3.750% (LIBOR03M + 2.750%)                                  3.000%) due 04/25/2025 ~            2,144       2,117
   due 08/14/2026 ~                     3,381        3,374       due 08/01/2024 ~                     895       893    iHeartCommunications, Inc.
American Trailer World Corp.                                  Coty, Inc.                                               3.109% (LIBOR03M + 3.000%)
4.500% (LIBOR03M + 3.750%)                                    2.354% (LIBOR03M + 2.250%)                                  due 05/01/2026 ~                      672         665
   due 02/17/2028 ~                     3,200        3,182       due 04/07/2025 ~                   3,892     3,749    Illuminate Buyer LLC
Arches Buyer, Inc.                                            COWEN INC TL B 1L                                        3.609% (LIBOR03M + 3.500%)
3.750% (LIBOR03M + 3.250%)                                    TBD% due 03/12/2028 «                 1,600     1,596       due 06/30/2027 ~                    2,095       2,088
   due 12/06/2027 ~                     3,865        3,847    Da Vinci Purchaser Corp.                                 INEOS Enterprises Holdings U.S. Finco LLC
Array Technologies, Inc.                                      5.000% (LIBOR03M + 4.000%)                               4.500% (LIBOR03M + 3.500%)
3.750% (LIBOR03M + 3.250%)                                       due 01/08/2027 ~                   1,375     1,377       due 08/28/2026 ~                    1,516       1,520
   due 10/14/2027 ~                     2,561        2,563    Delta 2 (LUX) SARL                                       INEOS Styrolution US Holding LLC
Astoria Energy LLC                                            3.500% (LIBOR03M + 2.500%)                               3.250% (LIBOR03M + 2.750%)
4.500% (LIBOR03M + 3.500%)                                       due 02/01/2024 ~                   2,362     2,342       due 01/29/2026 ~                      900         898
   due 12/10/2027 ~                     2,575        2,580    Diamond (BC) BV                                          Informatica LLC
Asurion LLC                                                   3.109% (LIBOR03M + 3.000%)                               3.359% (LIBOR03M + 3.250%)
3.359% (LIBOR03M + 3.250%)                                       due 09/06/2024 ~                      98        98       due 02/25/2027 ~                    1,020       1,014
   due 12/23/2026 ~                     4,542        4,519    3.250% (EUR003M + 3.250%)                                IRB Holding Corp.
Athenahealth, Inc.                                               due 09/06/2024 ~             EUR 1,443       1,692    3.750% (LIBOR03M + 2.750%)
4.453% (LIBOR03M + 4.250%)                                    Diamond Sports Group LLC                                    due 02/05/2025 ~                    2,240       2,225
   due 02/11/2026 ~                     2,000        2,008    3.360% (LIBOR03M + 3.250%)                               4.250% (LIBOR03M + 3.250%)
Banijay Entertainment S.A.S                                      due 08/24/2026 ~               $ 5,058       3,585       due 12/15/2027 ~                    2,675       2,672
3.854% (LIBOR03M + 3.750%)                                    Dun & Bradstreet Corp.                                   Ivanti Software, Inc.
   due 03/01/2025 ~                     1,045        1,037    3.359% (LIBOR03M + 3.250%)                               5.750% (LIBOR03M + 4.750%)
Barracuda Networks, Inc.                                         due 02/06/2026 ~                   1,372     1,366       due 12/01/2027 ~                    3,800       3,823
4.500% (LIBOR03M + 3.750%)                                    E2open LLC                                               Kronos Acquisition Holdings, Inc.
   due 02/12/2025 ~                     1,194        1,194    4.000% (LIBOR03M + 3.500%)                               4.250% (LIBOR03M + 3.750%)
Blackhawk Network Holdings, Inc.                                 due 10/29/2027 ~                   1,625     1,625       due 12/22/2026 ~                    2,350       2,320
3.109% (LIBOR03M + 3.000%)                                    Endure Digital, Inc.                                     LBM Acquisition LLC
   due 06/15/2025 ~                       552          545    4.250% (LIBOR03M + 3.500%)                               TBD% due 12/17/2027 µ                    287         286
Boels Topholding BV                                              due 02/10/2028 ~                   2,200     2,194    4.500% (LIBOR03M + 3.750%)
4.000% (EUR003M + 4.000%)                                                                                                 due 12/17/2027 ~                    1,291       1,287
                                                              Entercom Media Corp.
   due 02/06/2027 ~              EUR    2,800        3,294    2.609% (LIBOR03M + 2.500%)                               Les Schwab Tire Centers
BWAY Holding Co.                                                 due 11/18/2024 ~                     315       309    4.250% (LIBOR03M + 3.500%)
3.443% (LIBOR03M + 3.250%)                                                                                                due 11/02/2027 ~                    2,625       2,634
                                                              Envision Healthcare Corp.
   due 04/03/2024 ~                $    3,631        3,556    3.859% (LIBOR03M + 3.750%)                               Marriott Ownership Resorts, Inc.
Caesars Resort Collection LLC                                    due 10/10/2025 ~                   1,521     1,315    1.859% (LIBOR03M + 1.750%)
2.859% (LIBOR03M + 2.750%)                                                                                                due 08/29/2025 ~                      479         468
                                                              EyeCare Partners LLC
   due 12/23/2024 ~                     3,904        3,848    3.859% (LIBOR03M + 3.750%)                               MH Sub LLC
4.609% (LIBOR03M + 4.500%)                                       due 02/18/2027 ~                     882       874    3.609% (LIBOR03M + 3.500%)
   due 07/21/2025 ~                     3,234        3,244                                                                due 09/13/2024 ~                    4,516       4,468
                                                              Flex Acquisition Co., Inc.
Camelot U.S. Acquisition Co.                                  3.238% - 3.488% (LIBOR03M +                              MPH Acquisition Holdings LLC
3.109% (LIBOR03M + 3.000%)                                       3.250%) due 06/29/2025 ~           1,457     1,435    3.750% (LIBOR03M + 2.750%)
   due 10/30/2026 ~                     2,597        2,580                                                                due 06/07/2023 ~                      432         430
                                                              Foundation Building Materials Holding Co LLC
Canada Goose, Inc.                                            3.750% (LIBOR03M + 3.250%)                               MTN Infrastructure TopCo., Inc.
5.000% (LIBOR03M + 4.250%)                                       due 02/03/2028 ~                   1,700     1,687    4.000% (LIBOR03M + 3.000%)
   due 10/07/2027 ~                     1,397        1,400                                                                due 11/15/2024 ~                    1,221       1,220



114 PIMCO CREDIT BOND FUNDS
                                                                                                                                                                     March 31, 2021


                                   PRINCIPAL   MARKET                                         PRINCIPAL    MARKET                                        PRINCIPAL       MARKET
                                    AMOUNT     VALUE                                           AMOUNT      VALUE                                          AMOUNT         VALUE
                                     (000S)     (000S)                                          (000S)      (000S)                                         (000S)         (000S)

NEP Group, Inc.                                          Sophia LP                                                   Welbilt, Inc.
3.359% (LIBOR03M + 3.250%)                               4.500% (LIBOR03M + 3.750%)                                  2.607% (LIBOR03M + 2.500%)
   due 10/20/2025 ~                  $ 3,308 $ 3,219        due 10/07/2027 ~                 $ 1,546      $ 1,547       due 10/23/2025 ~           $       1,615 $         1,555
Nielsen Consumer, Inc.                                   Sotera Health Holdings LLC                                  White Cap Buyer LLC
4.103% (LIBOR03M + 4.000%)                               3.250% (LIBOR03M + 2.750%)                                  4.500% (LIBOR03M + 4.000%)
   due 03/06/2028 ~                    2,275   2,270        due 12/11/2026 ~                   1,100        1,099       due 10/19/2027 ~                   3,591           3,589
NorthRiver Midstream Finance LP                          Spirit AeroSystems Holdings, Inc.                           WOOF Holdings, Inc.
3.488% (LIBOR03M + 3.250%)                               6.000% (LIBOR03M + 5.250%)                                  4.500% (LIBOR03M + 3.750%)
   due 10/01/2025 ~                      733     724        due 01/15/2025 ~                   1,945        1,962       due 12/21/2027 ~                   1,100           1,097
Nouryon Finance BV                                       Staples, Inc.                                               Zaxby’s Operating Company LLC
2.860% (LIBOR03M + 2.750%)                               4.705% (LIBOR03M + 4.500%)                                  4.500% (LIBOR03M + 3.750%)
   due 10/01/2025 ~                    3,548   3,499        due 09/12/2024 ~                     246          243       due 12/28/2027 ~                   1,225           1,226
Novelis, Inc.                                            5.205% (LIBOR03M + 5.000%)                                  Zayo Group Holdings, Inc.
TBD% due 04/15/2025 «                  3,840   3,782        due 04/16/2026 ~                   1,627        1,592    3.109% (LIBOR03M + 3.000%)
OneDigital Borrower LLC                                  Station Casinos LLC                                            due 03/09/2027 ~                   4,739           4,707
TBD% due 11/16/2027 µ                    175     175     2.500% (LIBOR03M + 2.250%)                                  Total Loan Participations and Assignments
5.250% (LIBOR03M + 4.500%)                                  due 02/08/2027 ~                   2,557        2,521      (Cost $249,454)                                  255,138
   due 11/16/2027 ~                    1,775   1,778     Sunshine Luxembourg SARL
Ortho-Clinical Diagnostics S.A.                          4.500% (LIBOR03M + 3.500%)
3.359% - 5.500% (LIBOR03M +                                 due 06/30/2021 ~                     308          308    CORPORATE BONDS & NOTES 3.6%
   3.250%) due 06/30/2025 ~            2,900   2,899
                                                         Symplr Software, Inc.                                       BANKING & FINANCE 0.4%
Parexel International Corp.                              5.250% (LIBOR03M + 4.500%)
2.859% (LIBOR03M + 2.750%)                                  due 12/22/2027 ~                     575          578    Freedom Mortgage Corp.
   due 09/27/2024 ~                      855     846                                                                 7.625% due 05/01/2026                   350             367
                                                         Team Health Holdings, Inc.
Park River Holdings, Inc.                                3.750% (LIBOR03M + 2.750%)                                  PennyMac Financial Services, Inc.
4.000% (LIBOR03M + 3.250%)                                  due 02/06/2024 ~                     823          768    4.250% due 02/15/2029                   800             767
   due 12/28/2027 ~                      875     872
                                                         Telesat LLC                                                                                                       1,134
Peraton Holding Corp.                                    2.860% (LIBOR03M + 2.750%)
TBD% due 02/01/2028 µ                    893     893        due 12/07/2026 ~                     814          785
4.500% (LIBOR03M + 3.750%)                                                                                           INDUSTRIALS 3.2%
                                                         Tempo Acquisition LLC
   due 02/01/2028 ~                      507     507                                                                 Bausch Health Americas, Inc.
                                                         3.750% (LIBOR03M + 3.250%)
Petco Health & Wellness Co.                                 due 11/02/2026 ~                   1,985        1,987    9.250% due 04/01/2026                   600             665
4.000% (LIBOR03M + 3.250%)                                                                                           Cinemark USA, Inc.
                                                         Terrier Media Buyer, Inc.
   due 03/03/2028 ~                    1,150   1,147                                                                 5.875% due 03/15/2026                   250             257
                                                         3.609% (LIBOR03M + 3.500%)
Phoenix Guarantor, Inc.                                     due 12/17/2026 ~                     494          490    Mohegan Gaming & Entertainment
3.361% (LIBOR03M + 3.250%)                                                                                           8.000% due 02/01/2026                 1,200           1,210
   due 03/05/2026 ~                    1,372   1,363     Tibco Software, Inc.
                                                         3.860% (LIBOR03M + 3.750%)                                  NCR Corp.
PQ Corp.                                                    due 06/30/2026 ~                     596          590    5.125% due 04/15/2029 (a)             1,600           1,615
4.000% (LIBOR03M + 3.000%)
   due 02/07/2027 ~                      685     686     Triton Water Holdings, Inc.                                 Prime Healthcare Services, Inc.
                                                         TBD% due 03/18/2028                     850          848    7.250% due 11/01/2025                 1,700           1,817
Presidio, Inc.
3.720% (LIBOR03M + 3.500%)                               Truck Hero, Inc.                                            Six Flags Entertainment Corp.
   due 01/22/2027 ~                    2,214   2,212     4.500% (LIBOR03M + 3.750%)                                  4.875% due 07/31/2024                   250             253
                                                            due 01/31/2028 ~                     350          350    Staples, Inc.
Prime Security Services Borrower LLC
3.500% (LIBOR03M + 2.750%)                               U.S. Renal Care, Inc.                                       7.500% due 04/15/2026                   475             502
   due 09/23/2026 ~                    1,285   1,280     5.125% (LIBOR03M + 5.000%)                                  Vine Energy Holdings LLC
Project Ruby Ultimate Parent Corp.                          due 06/26/2026 ~                   1,662        1,655    6.750% due 04/15/2029 (a)             2,650           2,650
4.000% (LIBOR03M + 3.250%)                               Uber Technologies, Inc.                                     Wynn Macau Ltd.
   due 03/03/2028 ~                      900     897     3.609% (LIBOR03M + 3.500%)                                  5.500% due 01/15/2026                   500             522
PUG LLC                                                     due 04/04/2025 ~                   3,179        3,169
                                                                                                                                                                           9,491
3.609% (LIBOR03M + 3.500%)                               Ultimate Software Group, Inc.
   due 02/12/2027 ~                    1,310   1,269     4.000% (LIBOR03M + 3.250%)
Radiate Holdco LLC                                          due 05/04/2026 ~                   1,990        1,991    UTILITIES 0.0%
4.250% (LIBOR03M + 3.500%)                               Univision Communications, Inc.                              Crestwood Midstream Partners LP
   due 09/25/2026 ~                    2,479   2,480     2.857% (LIBOR03M + 2.750%)                                  6.000% due 02/01/2029                   100               99
RegionalCare Hospital Partners Holdings, Inc.               due 03/15/2024 ~                   4,102        4,079
3.859% (LIBOR03M + 3.750%)                                                                                           Total Corporate Bonds & Notes
                                                         USS Ultimate Holdings, Inc.
   due 11/16/2025 ~                    2,952   2,949                                                                   (Cost $10,696)                                    10,724
                                                         4.750% (LIBOR03M + 3.750%)
Reynolds Group Holdings, Inc.                               due 08/25/2024 ~                   3,487        3,491
                                                                                                                                                          SHARES
3.359% (LIBOR03M + 3.250%)                               Verifone Systems, Inc.
   due 02/05/2026 ~                    1,621   1,605     4.182% (LIBOR03M + 4.000%)                                  COMMON STOCKS 0.1%
Sabre GLBL, Inc.                                            due 08/20/2025 ~                   3,501        3,431
                                                                                                                     FINANCIALS 0.1%
2.109% (LIBOR03M + 2.000%)                               Verscend Holding Corp.
   due 02/22/2024 ~                    2,969   2,935     4.607% (LIBOR03M + 4.500%)                                  Stearns Holdings LLC ‘B’ «(b)       52,605              234
Scientific Games International, Inc.                        due 08/27/2025 ~                   1,587        1,593    Total Common Stocks (Cost $248)                         234
2.859% (LIBOR03M + 2.750%)                               Vertical U.S. Newco, Inc.
   due 08/14/2024 ~                    2,243   2,203     4.478% (LIBOR03M + 4.250%)                                  Total Investments in Securities
Sequa Mezzanine Holdings LLC                                due 07/30/2027 ~                   1,147        1,151    (Cost $260,398)                                    266,096
7.750% (LIBOR03M + 6.750%)                               Wand NewCo 3, Inc.
   due 11/28/2023 ~                    1,251   1,258     3.109% (LIBOR03M + 3.000%)
Sigma Bidco BV                                              due 02/05/2026 ~                   3,015        2,982
3.260% (LIBOR03M + 3.000%)
                                                         Weber-Stephen Products LLC
   due 07/02/2025 ~                    2,481   2,460
                                                         4.000% (LIBOR03M + 3.250%)
SolarWinds Holdings, Inc.                                   due 10/30/2027 ~                   2,294        2,296
2.859% (LIBOR03M + 2.750%)
   due 02/05/2024 ~                    1,250   1,229


See Accompanying Notes                                                                                                                               | MARCH 31, 2021 115
Schedule of Investments CREW/PIMCO Low Duration Credit Fund (Cont.)
                                                 MARKET
                                                 VALUE
                                    SHARES        (000S)

 INVESTMENTS IN AFFILIATES 8.4%
 SHORT-TERM INSTRUMENTS 8.4%
 CENTRAL FUNDS USED FOR CASH MANAGEMENT
 PURPOSES 8.4%
 PIMCO Short-Term
   Floating NAV Portfolio III      2,532,753 $    24,973
 Total Short-Term Instruments
 (Cost $24,974)                                  24,973

 Total Investments in Affiliates
 (Cost $24,974)                                  24,973
 Total Investments 98.0%
 (Cost $285,372)                             $ 291,069

 Financial Derivative
    Instruments (c) 0.2%
 (Cost or Premiums, net $0)                          530

 Other Assets and Liabilities, net 1.8%            5,380
 Net Assets 100.0%                           $ 296,979


 NOTES TO SCHEDULE OF INVESTMENTS:

*   A zero balance may reflect actual amounts rounding to less than one thousand.
«   Security valued using significant unobservable inputs (Level 3).
µ   All or a portion of this amount represents unfunded loan commitments. The interest rate for the unfunded portion will be determined at the time of
    funding. See Note 4, Securities and Other Investments, in the Notes to Financial Statements for more information regarding unfunded loan commitments.
~ Variable or Floating rate security. Rate shown is the rate in effect as of period end. Certain variable rate securities are not based on a published reference
    rate and spread, rather are determined by the issuer or agent and are based on current market conditions. Reference rate is as of reset date, which may
    vary by security. These securities may not indicate a reference rate and/or spread in their description.
(a) When-issued security.

 (b) RESTRICTED SECURITIES:

                                                                                                                                                    Market Value
                                                                                                 Acquisition                         Market         as Percentage
Issuer Description                                                                                  Date                     Cost    Value          of Net Assets
Stearns Holdings LLC ‘B’                                                                          3/15/2021              $     248   $   234           0.08%


 BORROWINGS AND OTHER FINANCING TRANSACTIONS

The average amount of borrowings outstanding during the period ended March 31, 2021 was $(2,497) at a weighted average interest rate of 0.721%. Average
borrowings may include reverse repurchase agreements and sale-buyback transactions, if held during the period.

 (c) FINANCIAL DERIVATIVE INSTRUMENTS: OVER THE COUNTER

 FORWARD FOREIGN CURRENCY CONTRACTS:

                                                                                             Unrealized Appreciation/
                                                  Settlement   Currency to    Currency to        (Depreciation)
Counterparty                                        Month      be Delivered   be Received     Asset         Liability
JPM                                                04/2021       $    1,488   EUR    1,267   $     0           $   (2)
SCX                                                04/2021     EUR   11,912     $   14,471       501                0
                                                   05/2021           11,912         14,008        31                0
Total Forward Foreign Currency Contracts                                                     $ 532             $ (2)




116 PIMCO CREDIT BOND FUNDS
                                                                                                                                                                                                    March 31, 2021


 FINANCIAL DERIVATIVE INSTRUMENTS: OVER THE COUNTER SUMMARY

The following is a summary by counterparty of the market value of OTC financial derivative instruments and collateral (received) as of March 31, 2021:

                                                    Financial Derivative Assets                           Financial Derivative Liabilities
                                        Forward                                                  Forward
                                         Foreign                                      Total       Foreign                                   Total                  Net Market
                                        Currency     Purchased       Swap            Over the    Currency     Written        Swap          Over the               Value of OTC      Collateral          Net
Counterparty                            Contracts     Options     Agreements         Counter     Contracts Options Agreements              Counter                 Derivatives      (Received)       Exposure(1)
JPM                                      $     0      $     0        $       0       $     0          $       (2)   $   0               $   0       $     (2)       $    (2)            $      0      $        (2)
SCX                                          532            0                0           532                   0        0                   0              0            532                 (280)             252
Total Over the Counter                   $ 532        $     0        $ 0             $ 532            $ (2)         $ 0                 $ 0         $ (2)

(1)   Net Exposure represents the net receivable/(payable) that would be due from/to the counterparty in the event of default. Exposure from OTC financial derivative instruments can only
      be netted across transactions governed under the same master agreement with the same legal entity. See Note 8, Master Netting Arrangements, in the Notes to Financial Statements
      for more information.

 FAIR VALUE OF FINANCIAL DERIVATIVE INSTRUMENTS

The following is a summary of the fair valuation of the Fund’s derivative instruments categorized by risk exposure. See Note 7, Principal and Other Risks, in the Notes to Financial
Statements on risks of the Fund.

Fair Values of Financial Derivative Instruments on the Statements of Assets and Liabilities as of March 31, 2021:

                                                                                                         Derivatives not accounted for as hedging instruments
                                                                                                                                         Foreign
                                                                     Commodity                   Credit               Equity            Exchange              Interest
                                                                      Contracts                 Contracts           Contracts           Contracts          Rate Contracts                                     Total
Financial Derivative Instruments - Assets
Over the counter
   Forward Foreign Currency Contracts                                    $       0                $       0                 $       0               $    532                   $        0                 $     532

Financial Derivative Instruments - Liabilities
Over the counter
   Forward Foreign Currency Contracts                                    $       0                $       0                 $       0               $         2                $        0                 $           2


The effect of Financial Derivative Instruments on the Statements of Operations for the year ended March 31, 2021:

                                                                                                     Derivatives not accounted for as hedging instruments
                                                                                                                                    Foreign
                                                                  Commodity                 Credit               Equity            Exchange               Interest
                                                                   Contracts               Contracts           Contracts           Contracts          Rate Contracts                                      Total
Net Realized Gain (Loss) on Financial Derivative Instruments
Exchange-traded or centrally cleared
  Swap Agreements                                         $ 0                             $     (2,048)                 $       0               $         0              $         (1)                $       (2,049)
Over the counter
  Forward Foreign Currency Contracts                      $ 0                             $          0                  $       0               $   (809)                $          0                 $         (809)
  Swap Agreements                                            0                                       0                          0                      0                           67                             67
                                                          $ 0                             $          0                  $       0               $   (809)                $         67                 $         (742)
                                                          $ 0                             $     (2,048)                 $       0               $   (809)                $         66                 $       (2,791)

Net Change in Unrealized Appreciation on Financial Derivative Instruments
Exchange-traded or centrally cleared
  Swap Agreements                                       $ 0             $                          580                  $       0               $         0              $          0                 $         580
Over the counter
  Forward Foreign Currency Contracts                    $ 0             $                                 0             $       0               $       554              $       0                    $         554
  Swap Agreements                                           0                                             0                     0                         0                    444                              444
                                                                     $   0                $          0                  $       0               $       554              $     444                    $         998
                                                                     $   0                $        580                  $       0               $       554              $     444                    $       1,578




See Accompanying Notes                                                                                                                                                             | MARCH 31, 2021 117
Schedule of Investments CREW/PIMCO Low Duration Credit Fund                                                                                                               (Cont.)                              March 31, 2021


 FAIR VALUE MEASUREMENTS

The following is a summary of the fair valuations according to the inputs used as of March 31, 2021 in valuing the Fund’s assets and liabilities:

                                                                                               Fair                                                                                                                 Fair
                                                                                            Value at                                                                                                             Value at
Category and Subcategory                     Level 1         Level 2         Level 3       03/31/2021         Category and Subcategory                        Level 1             Level 2           Level 3     03/31/2021
Investments in Securities, at Value                                                                           Financial Derivative Instruments - Assets
Loan Participations and Assignments $                  0 $     248,774 $         6,364 $       255,138        Over the counter                  $       0 $                            532 $                  0 $         532
Corporate Bonds & Notes
 Banking & Finance                                   0           1,134                 0           1,134      Financial Derivative Instruments - Liabilities
 Industrials                                     2,650           6,841                 0           9,491      Over the counter                  $         0 $                               (2) $             0 $           (2)
 Utilities                                           0              99                 0              99
Common Stocks
 Financials                                          0               0             234             234        Total Financial
                                                                                                                Derivative Instruments                    $             0 $            530 $                  0 $         530
                                    $            2,650 $       256,848 $         6,598 $       266,096
                                                                                                              Totals                                      $    27,623 $            257,378 $          6,598 $       291,599
Investments in Affiliates, at Value
Short-Term Instruments
 Central Funds Used for Cash
   Management Purposes             $          24,973 $                 0 $             0 $        24,973

Total Investments                        $    27,623 $         256,848 $         6,598 $       291,069


The following is a reconciliation of the fair valuations using significant unobservable inputs (Level 3) for the Fund during the period ended March 31, 2021:

                                                                                                                                                                                                          Net Change in
                                                                                                                                                                                                            Unrealized
                                                                                                                                                                                                           Appreciation/
                                                                                                                     Net Change in                                                                        (Depreciation)
                             Beginning                              Net       Accrued                                 Unrealized                                                Ending                    on Investments
Category and                  Balance               Net            Sales/    Discounts/               Realized       Appreciation/       Transfers into       Transfers out    Balance                        Held at
Subcategory                at 03/31/2020         Purchases      Settlements (Premiums)               Gain/(Loss)    (Depreciation)(1)       Level 3             of Level 3  at 03/31/2021                  03/31/2021(1)
Investments in Securities, at Value
Loan Participations
  and Assignments       $ 62,620               $    48,107 $       (81,029)        $       573        $     764        $   5,486           $    907            $   (31,064)           $      6,364              $   169
Common Stocks
 Financials                       0                      248                 0                0              0                (14)                0                           0                234                   (14)

Totals                       $    62,620       $    48,355 $       (81,029)        $       573        $     764        $   5,472           $    907            $   (31,064)           $      6,598              $   155


The following is a summary of significant unobservable inputs used in the fair valuations of assets and liabilities categorized within Level 3 of the fair value hierarchy:

                                     Ending                                                                          (% Unless Noted Otherwise)
                                    Balance                    Valuation                   Unobservable                                 Weighted
Category and Subcategory         at 03/31/2021                 Technique                      Inputs               Input Value(s)       Average
Investments in Securities, at Value
Loan Participations
  and Assignments           $ 6,364                Third Party Vendor                        Broker Quote          98.500-99.875           99.027
Common Stocks
  Financials                      234              Expected Recovery                         Book Value                    1.000x               —
Total                       $ 6,598

(1)   Any difference between Net Change in Unrealized Appreciation/(Depreciation) and Net Change in Unrealized Appreciation/(Depreciation) on Investments Held at March 31, 2021 may
      be due to an investment no longer held or categorized as Level 3 at period end.




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Notes to Financial Statements                                                                                                               March 31, 2021



1. ORGANIZATION                                                              recorded as soon as a Fund is informed of the ex-dividend date.
PIMCO Funds (the “Trust”) is a Massachusetts business trust                  Interest income, adjusted for the accretion of discounts and
established under a Declaration of Trust dated February 19, 1987, as         amortization of premiums, is recorded on the accrual basis from
amended and restated November 4, 2014. The Trust is registered under         settlement date, with the exception of securities with a forward starting
the Investment Company Act of 1940, as amended (the “Act”), as an            effective date, where interest income is recorded on the accrual basis
open-end management investment company. Information presented in             from effective date. For convertible securities, premiums attributable to
these financial statements pertains to the Institutional Class, I-2, I-3,    the conversion feature are not amortized. Estimated tax liabilities on
Administrative Class, Class A, Class C and Class C-2 shares of the           certain foreign securities are recorded on an accrual basis and are
funds (each a “Fund” and collectively, the “Funds”) indicated on the         reflected as components of interest income or net change in unrealized
cover of this report. Pacific Investment Management Company LLC              appreciation (depreciation) on investments on the Statements of
(“PIMCO”) serves as the investment adviser (the “Adviser”) for               Operations, as appropriate. Tax liabilities realized as a result of such
the Funds.                                                                   security sales are reflected as a component of net realized gain (loss)
                                                                             on investments on the Statements of Operations. Paydown gains
On November 18, 2020, the Board of Trustees approved a reduction in          (losses) on mortgage-related and other asset-backed securities, if any,
the holding period of an automatic conversion of the Funds’ Class C          are recorded as components of interest income on the Statements of
and Class C-2 shares into Class A shares of the same Fund from ten           Operations. Income or short-term capital gain distributions received
years to eight years. The reduction in the holding period became             from registered investment companies, if any, are recorded as dividend
effective on January 18, 2021, with the first conversion taking place on     income. Long-term capital gain distributions received from registered
or about February 10, 2021 and subsequent conversions occurring              investment companies, if any, are recorded as realized gains.
monthly thereafter. Certain financial intermediaries may have different
policies and procedures regarding the conversion of Class C and              Debt obligations may be placed on non-accrual status and related
Class C-2 shares to Class A shares, as described in Appendix B to the        interest income may be reduced by ceasing current accruals and writing
applicable Fund’s prospectus (Financial Firm-Specific Sales Charge           off interest receivable when the collection of all or a portion of interest
Waivers and Discounts).                                                      has become doubtful based on consistently applied procedures. A debt
                                                                             obligation is removed from non-accrual status when the issuer resumes
2. SIGNIFICANT ACCOUNTING POLICIES                                           interest payments or when collectability of interest is probable.
The following is a summary of significant accounting policies
                                                                             (b) Foreign Currency Translation The market values of foreign
consistently followed by the Trust in the preparation of its financial
                                                                             securities, currency holdings and other assets and liabilities
statements in conformity with accounting principles generally accepted
                                                                             denominated in foreign currencies are translated into U.S. dollars based
in the United States of America (“U.S. GAAP”). Each Fund is treated as
                                                                             on the current exchange rates each business day. Purchases and sales
an investment company under the reporting requirements of U.S.
                                                                             of securities and income and expense items denominated in foreign
GAAP. The functional and reporting currency for the Funds is the U.S.
                                                                             currencies, if any, are translated into U.S. dollars at the exchange rate
dollar. The preparation of financial statements in accordance with U.S.
                                                                             in effect on the transaction date. The Funds do not separately report
GAAP requires management to make estimates and assumptions that
                                                                             the effects of changes in foreign exchange rates from changes in
affect the reported amounts of assets and liabilities and disclosure of
                                                                             market prices on securities held. Such changes are included in net
contingent assets and liabilities at the date of the financial statements
                                                                             realized gain (loss) and net change in unrealized appreciation
and the reported amounts of increases and decreases in net assets
                                                                             (depreciation) from investments on the Statements of Operations. The
from operations during the reporting period. Actual results could differ
                                                                             Funds may invest in foreign currency-denominated securities and may
from those estimates.
                                                                             engage in foreign currency transactions either on a spot (cash) basis at
(a) Securities Transactions and Investment Income Securities                 the rate prevailing in the currency exchange market at the time or
transactions are recorded as of the trade date for financial reporting       through a forward foreign currency contract. Realized foreign exchange
purposes. Securities purchased or sold on a when-issued or delayed-          gains (losses) arising from sales of spot foreign currencies, currency
delivery basis may be settled beyond a standard settlement period for        gains (losses) realized between the trade and settlement dates on
the security after the trade date. Realized gains (losses) from securities   securities transactions and the difference between the recorded
sold are recorded on the identified cost basis. Dividend income is           amounts of dividends, interest, and foreign withholding taxes and the
recorded on the ex-dividend date, except certain dividends from foreign      U.S. dollar equivalent of the amounts actually received or paid are
securities where the ex-dividend date may have passed, which are             included in net realized gain (loss) on foreign currency transactions on


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Notes to Financial Statements (Cont.)

the Statements of Operations. Net unrealized foreign exchange gains          Separately, if a Fund determines or estimates, as applicable, that a
(losses) arising from changes in foreign exchange rates on foreign           portion of a distribution may be comprised of amounts from sources
denominated assets and liabilities other than investments in securities      other than net investment income in accordance with its policies,
held at the end of the reporting period are included in net change in        accounting records (if applicable), and accounting practices, the Fund
unrealized appreciation (depreciation) on foreign currency assets and        will notify shareholders of the estimated composition of such
liabilities on the Statements of Operations.                                 distribution through a Section 19 Notice. For these purposes, a Fund
                                                                             determines or estimates, as applicable, the source or sources from
(c) Multi-Class Operations Each class offered by the Trust has equal         which a distribution is paid, to the close of the period as of which it is
rights as to assets and voting privileges (except that shareholders of a     paid, in reference to its internal accounting records and related
class have exclusive voting rights regarding any matter relating solely to   accounting practices. If, based on such accounting records and
that class of shares). Income and non-class specific expenses are            practices, it is determined or estimated, as applicable, that a particular
allocated daily to each class on the basis of the relative net assets.       distribution does not include capital gains or paid-in surplus or other
Realized and unrealized capital gains (losses) are allocated daily based     capital sources, a Section 19 Notice generally would not be issued. It is
on the relative net assets of each class of the respective Fund.             important to note that differences exist between a Fund’s daily internal
Class specific expenses, where applicable, currently include supervisory     accounting records and practices, a Fund’s financial statements
and administrative and distribution and servicing fees. Under certain        presented in accordance with U.S. GAAP, and recordkeeping practices
circumstances, the per share net asset value (“NAV”) of a class of the       under income tax regulations. For instance, a Fund’s internal
respective Fund’s shares may be different from the per share NAV of          accounting records and practices may take into account, among other
another class of shares as a result of the different daily expense           factors, tax-related characteristics of certain sources of distributions
accruals applicable to each class of shares.                                 that differ from treatment under U.S. GAAP. Examples of such
(d) Distributions to Shareholders The following table shows the              differences may include but are not limited to, for certain Funds, the
anticipated frequency of distributions from net investment income, if        treatment of periodic payments under interest rate swap contracts.
any, for each Fund.                                                          Accordingly, among other consequences, it is possible that a Fund may
                                                                             not issue a Section 19 Notice in situations where the Fund’s financial
                                                 Distribution Frequency
Fund Name                                       Declared    Distributed
                                                                             statements prepared later and in accordance with U.S. GAAP and/or
PIMCO Diversified Income Fund                      Daily      Monthly
                                                                             the final tax character of those distributions might later report that the
PIMCO ESG Income Fund                              Daily      Monthly        sources of those distributions included capital gains and/or a return of
PIMCO High Yield Spectrum Fund                     Daily      Monthly        capital. Please visit www.pimco.com for the most recent Section 19
PIMCO Long-Term Credit Bond Fund                   Daily      Monthly        Notice, if applicable, for additional information regarding the estimated
PIMCO Low Duration Credit Fund                     Daily      Monthly        composition of distributions. Final determination of a distribution’s tax
PIMCO Low Duration Income Fund                     Daily      Monthly
                                                                             character will be provided to shareholders when such information
PIMCO Credit Opportunities Bond Fund            Quarterly    Quarterly
PIMCO Preferred and Capital Securities Fund     Quarterly    Quarterly
                                                                             is available.

                                                                             Distributions classified as a tax basis return of capital at a Fund’s fiscal
Net realized capital gains earned by each Fund, if any, will be
                                                                             year end, if any, are reflected on the Statements of Changes in Net
distributed no less frequently than once each year.
                                                                             Assets and have been recorded to paid in capital on the Statements of
Income distributions and capital gain distributions are determined in        Assets and Liabilities. In addition, other amounts have been reclassified
accordance with income tax regulations which may differ from U.S.            between distributable earnings (accumulated loss) and paid in capital
GAAP. Differences between tax regulations and U.S. GAAP may cause            on the Statements of Assets and Liabilities to more appropriately
timing differences between income and capital gain recognition.              conform U.S. GAAP to tax characterizations of distributions.
Further, the character of investment income and capital gains may be
                                                                             (e) New Accounting Pronouncements and Regulatory Updates In
different for certain transactions under the two methods of accounting.
                                                                             March 2020, the Financial Accounting Standards Board issued an
As a result, income distributions and capital gain distributions declared
                                                                             Accounting Standards Update (“ASU”), ASU 2020-04, which provides
during a fiscal period may differ significantly from the net investment
                                                                             optional guidance to ease the potential accounting burden associated
income (loss) and realized gains (losses) reported on each Fund’s
                                                                             with transitioning away from the London Interbank Offered Rate and
annual financial statements presented under U.S. GAAP.
                                                                             other reference rates that are expected to be discontinued. The ASU is
                                                                             effective immediately upon release of the update on March 12, 2020


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through December 31, 2022. At this time, management is evaluating            portfolio investments and other assets, less any liabilities attributable to
implications of these changes on the financial statements.                   that Fund or class, by the total number of shares outstanding of that
                                                                             Fund or class.
In October 2020, the U.S. Securities and Exchange Commission
(“SEC”) adopted a rule related to the use of derivatives, short sales,       On each day that the New York Stock Exchange (“NYSE”) is open,
reverse repurchase agreements and certain other transactions by              Fund shares are ordinarily valued as of the close of regular trading
registered investment companies that rescinds and withdraws the              (normally 4:00 p.m., Eastern time) (“NYSE Close”). Information that
guidance of the SEC and its staff regarding asset segregation and cover      becomes known to the Funds or their agents after the time as of which
transactions. Subject to certain exceptions, the rule requires funds to      NAV has been calculated on a particular day will not generally be used
trade derivatives and other transactions that create future payment or       to retroactively adjust the price of a security or the NAV determined
delivery obligations (except reverse repurchase agreements and similar       earlier that day. If regular trading on the NYSE closes earlier than
financing transactions) subject to a value-at-risk leverage limit, certain   scheduled, each Fund reserves the right to either (i) calculate its NAV
derivatives risk management program and reporting requirements. The          as of the earlier closing time or (ii) calculate its NAV as of the normally
rule went into effect on February 19, 2021 and funds will have an            scheduled close of regular trading on the NYSE for that day. Each Fund
eighteen-month transition period to comply with the rule and related         generally does not calculate their NAV on days during which the NYSE
reporting requirements. At this time, management is evaluating the           is closed. However, if the NYSE is closed on a day it would normally be
implications of these changes on the financial statements.                   open for business, each Fund reserves the right to calculate their NAV
                                                                             as of the normally scheduled close of regular trading on the NYSE for
In October 2020, the SEC adopted a rule regarding the ability of a fund
                                                                             that day or such other time that the Fund may determine.
to invest in other funds. The rule allows a fund to acquire shares of
another fund in excess of certain limitations currently imposed by the       For purposes of calculating NAV, portfolio securities and other assets
Act without obtaining individual exemptive relief from the SEC, subject      for which market quotes are readily available are valued at market
to certain conditions. The rule also included the rescission of certain      value. Market value is generally determined on the basis of official
exemptive relief from the SEC and guidance from the SEC staff for            closing prices or the last reported sales prices, or if no sales are
funds to invest in other funds. The rule went into effect on January 19,     reported, based on quotes obtained from established market makers or
2021 and funds will have a one-year transition period to comply with         prices (including evaluated prices) supplied by the Funds’ approved
the rule and related reporting requirements. At this time, management        pricing services, quotation reporting systems and other third-party
is evaluating the implications of these changes on the                       sources (together, “Pricing Services”). The Funds will normally use
financial statements.                                                        pricing data for domestic equity securities received shortly after the
                                                                             NYSE Close and do not normally take into account trading, clearances
In December 2020, the SEC adopted a rule addressing fair valuation of
                                                                             or settlements that take place after the NYSE Close. If market value
fund investments. The new rule sets forth requirements for good faith
                                                                             pricing is used, a foreign (non-U.S.) equity security traded on a foreign
determinations of fair value as well as for the performance of fair value
                                                                             exchange or on more than one exchange is typically valued using
determinations, including related oversight and reporting obligations.
                                                                             pricing information from the exchange considered by the Adviser to be
The new rule also defines “readily available market quotations” for
                                                                             the primary exchange. A foreign (non-U.S.) equity security will be
purposes of the definition of “value” under the Act, and the SEC noted
                                                                             valued as of the close of trading on the foreign exchange, or the NYSE
that this definition would apply in all contexts under the Act. The
                                                                             Close, if the NYSE Close occurs before the end of trading on the foreign
effective date for the rule was March 8, 2021. The SEC adopted an
                                                                             exchange. Domestic and foreign (non-U.S.) fixed income securities,
eighteen-month transition period beginning from the effective date for
                                                                             non-exchange traded derivatives, and equity options are normally
both the new rule and the associated new recordkeeping requirements.
                                                                             valued on the basis of quotes obtained from brokers and dealers or
At this time, management is evaluating the implications of these
                                                                             Pricing Services using data reflecting the earlier closing of the principal
changes on the financial statements.
                                                                             markets for those securities. Prices obtained from Pricing Services may
3. INVESTMENT VALUATION AND FAIR VALUE                                       be based on, among other things, information provided by market
MEASUREMENTS                                                                 makers or estimates of market values obtained from yield data relating
                                                                             to investments or securities with similar characteristics. Certain fixed
(a) Investment Valuation Policies The price of a Fund’s shares is
                                                                             income securities purchased on a delayed-delivery basis are marked to
based on the Fund’s NAV. The NAV of a Fund, or each of its share
                                                                             market daily until settlement at the forward settlement date. Exchange-
classes, as applicable, is determined by dividing the total value of
                                                                             traded options, except equity options, futures and options on futures


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are valued at the settlement price determined by the relevant                   Services. As a result, the value of such investments and, in turn, the
exchange. Swap agreements are valued on the basis of bid quotes                 NAV of a Fund’s shares may be affected by changes in the value of
obtained from brokers and dealers or market-based prices supplied by            currencies in relation to the U.S. dollar. The value of investments traded
Pricing Services. A Fund’s investments in open-end management                   in markets outside the United States or denominated in currencies
investment companies, other than exchange-traded funds (“ETFs”), are            other than the U.S. dollar may be affected significantly on a day that
valued at the NAVs of such investments. Open-end management                     the Trust is not open for business. As a result, to the extent that a Fund
investment companies may include affiliated funds.                              holds foreign (non-U.S.) investments, the value of those investments
                                                                                may change at times when shareholders are unable to buy or sell
If a foreign (non-U.S.) equity security’s value has materially changed
                                                                                shares and the value of such investments will be reflected in the Fund’s
after the close of the security’s primary exchange or principal market
                                                                                next calculated NAV.
but before the NYSE Close, the security may be valued at fair value
based on procedures established and approved by the Board of                    Investments for which market quotes or market based valuations are
Trustees of the Trust (the “Board”). Foreign (non-U.S.) equity securities       not readily available are valued at fair value as determined in good
that do not trade when the NYSE is open are also valued at fair value.          faith by the Board or persons acting at their direction. The Board has
With respect to foreign (non-U.S.) equity securities, a Fund may                adopted methods for valuing securities and other assets in
determine the fair value of investments based on information provided           circumstances where market quotes are not readily available, and has
by Pricing Services and other third-party vendors, which may                    delegated to the Adviser the responsibility for applying the fair
recommend fair value or adjustments with reference to other securities,         valuation methods. In the event that market quotes or market based
indices or assets. In considering whether fair valuation is required and        valuations are not readily available, and the security or asset cannot be
in determining fair values, a Fund may, among other things, consider            valued pursuant to a Board approved valuation method, the value of
significant events (which may be considered to include changes in the           the security or asset will be determined in good faith by the Board.
value of U.S. securities or securities indices) that occur after the close of   Market quotes are considered not readily available in circumstances
the relevant market and before the NYSE Close. A Fund may utilize               where there is an absence of current or reliable market-based data
modeling tools provided by third-party vendors to determine fair values         (e.g., trade information, bid/ask information, indicative market
of foreign (non-U.S.) securities. For these purposes, any movement in           quotations (“Broker Quotes”), Pricing Services’ prices), including where
the applicable reference index or instrument (“zero trigger”) between           events occur after the close of the relevant market, but prior to the
the earlier close of the applicable foreign market and the NYSE Close           NYSE Close, that materially affect the values of a Fund’s securities or
may be deemed to be a significant event, prompting the application of           assets. In addition, market quotes are considered not readily available
the pricing model (effectively resulting in daily fair valuations). Foreign     when, due to extraordinary circumstances, the exchanges or markets
exchanges may permit trading in foreign (non-U.S.) equity securities on         on which the securities trade do not open for trading for the entire day
days when the Trust is not open for business, which may result in a             and no other market prices are available. The Board has delegated, to
Fund’s portfolio investments being affected when shareholders are               the Adviser, the responsibility for monitoring significant events that
unable to buy or sell shares.                                                   may materially affect the values of a Fund’s securities or assets and for
                                                                                determining whether the value of the applicable securities or assets
Senior secured floating rate loans for which an active secondary market
                                                                                should be reevaluated in light of such significant events.
exists to a reliable degree are valued at the mean of the last available
bid/ask prices in the market for such loans, as provided by a Pricing           When a Fund uses fair valuation to determine the value of a portfolio
Service. Senior secured floating rate loans for which an active                 security or other asset for purposes of calculating its NAV, such
secondary market does not exist to a reliable degree are valued at fair         investments will not be priced on the basis of quotes from the primary
value, which is intended to approximate market value. In valuing a              market in which they are traded, but rather may be priced by another
senior secured floating rate loan at fair value, the factors considered         method that the Board or persons acting at their direction believe
may include, but are not limited to, the following: (a) the                     reflects fair value. Fair valuation may require subjective determinations
creditworthiness of the borrower and any intermediate participants,             about the value of a security. While the Trust’s policy is intended to
(b) the terms of the loan, (c) recent prices in the market for similar          result in a calculation of a Fund’s NAV that fairly reflects security values
loans, if any, and (d) recent prices in the market for instruments of           as of the time of pricing, the Trust cannot ensure that fair values
similar quality, rate, period until next interest rate reset and maturity.      determined by the Board or persons acting at their direction would
                                                                                accurately reflect the price that a Fund could obtain for a security if it
Investments valued in currencies other than the U.S. dollar are
                                                                                were to dispose of that security as of the time of pricing (for instance,
converted to the U.S. dollar using exchange rates obtained from Pricing

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in a forced or distressed sale). The prices used by a Fund may differ          For fair valuations using significant unobservable inputs, U.S. GAAP
from the value that would be realized if the securities were sold. The         requires a reconciliation of the beginning to ending balances for
Funds’ use of fair valuation may also help to deter “stale price               reported fair values that presents changes attributable to realized gain
arbitrage” as discussed under the “Abusive Trading Practices” section          (loss), unrealized appreciation (depreciation), purchases and sales,
in each Fund’s prospectus.                                                     accrued discounts (premiums), and transfers into and out of the Level 3
                                                                               category during the period. The end of period value is used for the
(b) Fair Value Hierarchy U.S. GAAP describes fair value as the price           transfers between Levels of a Fund’s assets and liabilities. Additionally,
that a Fund would receive to sell an asset or pay to transfer a liability in   U.S. GAAP requires quantitative information regarding the significant
an orderly transaction between market participants at the                      unobservable inputs used in the determination of fair value of assets or
measurement date. It establishes a fair value hierarchy that prioritizes       liabilities categorized as Level 3 in the fair value hierarchy. In
inputs to valuation methods and requires disclosure of the fair value          accordance with the requirements of U.S. GAAP, a fair value hierarchy,
hierarchy, separately for each major category of assets and liabilities,       and if material, a Level 3 reconciliation and details of significant
that segregates fair value measurements into levels (Level 1, 2, or 3).        unobservable inputs, have been included in the Notes to Schedule of
The inputs or methodology used for valuing securities are not                  Investments for each respective Fund.
necessarily an indication of the risks associated with investing in those
securities. Levels 1, 2, and 3 of the fair value hierarchy are defined         (c) Valuation Techniques and the Fair Value Hierarchy
as follows:                                                                    Level 1 and Level 2 trading assets and trading liabilities, at fair
  Level 1 — Quoted prices in active markets or exchanges for identical         value The valuation methods (or “techniques”) and significant inputs
  assets and liabilities.                                                      used in determining the fair values of portfolio securities or other assets
                                                                               and liabilities categorized as Level 1 and Level 2 of the fair value
  Level 2 — Significant other observable inputs, which may include,
                                                                               hierarchy are as follows:
  but are not limited to, quoted prices for similar assets or liabilities in
  markets that are active, quoted prices for identical or similar assets       Fixed income securities including corporate, convertible and municipal
  or liabilities in markets that are not active, inputs other than quoted      bonds and notes, U.S. government agencies, U.S. treasury obligations,
  prices that are observable for the assets or liabilities (such as interest   sovereign issues, bank loans, convertible preferred securities and
  rates, yield curves, volatilities, prepayment speeds, loss severities,       non-U.S. bonds are normally valued on the basis of quotes obtained from
  credit risks and default rates) or other market corroborated inputs.         brokers and dealers or Pricing Services that use broker-dealer quotations,
  Level 3 — Significant unobservable inputs based on the best                  reported trades or valuation estimates from their internal pricing models.
  information available in the circumstances, to the extent observable         The Pricing Services’ internal models use inputs that are observable such
  inputs are not available, which may include assumptions made by              as issuer details, interest rates, yield curves, prepayment speeds, credit
  the Board or persons acting at their direction that are used in              risks/spreads, default rates and quoted prices for similar assets. Securities
  determining the fair value of investments.                                   that use similar valuation techniques and inputs as described above are
                                                                               categorized as Level 2 of the fair value hierarchy.
Assets or liabilities categorized as Level 2 or 3 as of period end have
been transferred between Levels 2 and 3 since the prior period due to          Fixed income securities purchased on a delayed-delivery basis or as a
changes in the method utilized in valuing the investments. Transfers           repurchase commitment in a sale-buyback transaction are marked to
from Level 2 to Level 3 are a result of a change, in the normal course of      market daily until settlement at the forward settlement date and are
business, from the use of methods used by Pricing Services (Level 2) to        categorized as Level 2 of the fair value hierarchy.
the use of a Broker Quote or valuation technique which utilizes
                                                                               Mortgage-related and asset-backed securities are usually issued as
significant unobservable inputs due to an absence of current or reliable
                                                                               separate tranches, or classes, of securities within each deal. These
market-based data (Level 3). Transfers from Level 3 to Level 2 are a
                                                                               securities are also normally valued by Pricing Services that use broker-
result of the availability of current and reliable market-based data
                                                                               dealer quotations, reported trades or valuation estimates from their
provided by Pricing Services or other valuation techniques which utilize
                                                                               internal pricing models. The pricing models for these securities usually
significant observable inputs. In accordance with the requirements of
                                                                               consider tranche-level attributes, current market data, estimated cash
U.S. GAAP, the amounts of transfers into and out of Level 3, if
                                                                               flows and market-based yield spreads for each tranche, and incorporate
material, are disclosed in the Notes to Schedule of Investments for each
                                                                               deal collateral performance, as available. Mortgage-related and asset-
respective Fund.
                                                                               backed securities that use similar valuation techniques and inputs as
                                                                               described above are categorized as Level 2 of the fair value hierarchy.

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Common stocks, ETFs, exchange-traded notes and financial derivative          using a series of techniques, including simulation pricing models. The
instruments, such as futures contracts, rights and warrants, or options on   pricing models may use inputs that are observed from actively quoted
futures that are traded on a national securities exchange, are stated at     markets such as the overnight index swap rate, London Interbank
the last reported sale or settlement price on the day of valuation. To the   Offered Rate forward rate, interest rates, yield curves and credit
extent these securities are actively traded and valuation adjustments are    spreads. These securities are categorized as Level 2 of the fair
not applied, they are categorized as Level 1 of the fair value hierarchy.    value hierarchy.

Valuation adjustments may be applied to certain securities that are          Level 3 trading assets and trading liabilities, at fair value When a
solely traded on a foreign exchange to account for the market                fair valuation method is applied by the Adviser that uses significant
movement between the close of the foreign market and the NYSE                unobservable inputs, investments will be priced by a method that the
Close. These securities are valued using Pricing Services that consider      Board or persons acting at their direction believe reflects fair value and
the correlation of the trading patterns of the foreign security to the       are categorized as Level 3 of the fair value hierarchy. The valuation
intraday trading in the U.S. markets for investments. Securities using       techniques and significant inputs used in determining the fair values of
these valuation adjustments are categorized as Level 2 of the fair value     portfolio assets and liabilities categorized as Level 3 of the fair value
hierarchy. Preferred securities and other equities traded on inactive        hierarchy are as follows:
markets or valued by reference to similar instruments are also
categorized as Level 2 of the fair value hierarchy.                          Proxy pricing procedures set the base price of a fixed income security
                                                                             and subsequently adjust the price proportionally to market value
Investments in registered open-end investment companies (other than          changes of a pre-determined security deemed to be comparable in
ETFs) will be valued based upon the NAVs of such investments and are         duration, generally a U.S. Treasury or sovereign note based on country
categorized as Level 1 of the fair value hierarchy. Investments in           of issuance. The base price may be a broker-dealer quote, transaction
unregistered open-end investment companies will be calculated based          price, or an internal value as derived by analysis of market data. The
upon the NAVs of such investments and are considered Level 1                 base price of the security may be reset on a periodic basis based on the
provided that the NAVs are observable, calculated daily and are the          availability of market data and procedures approved by the Valuation
value at which both purchases and sales will be conducted.                   Oversight Committee. Significant changes in the unobservable inputs of
                                                                             the proxy pricing process (the base price) would result in direct and
Equity exchange-traded options and over the counter financial
                                                                             proportional changes in the fair value of the security. These securities
derivative instruments, such as forward foreign currency contracts and
                                                                             are categorized as Level 3 of the fair value hierarchy.
options contracts derive their value from underlying asset prices,
indices, reference rates, and other inputs or a combination of these         If third-party evaluated vendor pricing is not available or not deemed to
factors. These contracts are normally valued on the basis of quotes          be indicative of fair value, the Adviser may elect to obtain indicative
obtained from a quotation reporting system, established market makers        market quotations directly from the broker-dealer or passed-through
or Pricing Services (normally determined as of the NYSE Close).              Broker Quotes from a third-party vendor. In the event that fair value is
Depending on the product and the terms of the transaction, financial         based upon a single sourced Broker Quote, these securities are
derivative instruments can be valued by Pricing Services using a series      categorized as Level 3 of the fair value hierarchy. Broker Quotes are
of techniques, including simulation pricing models. The pricing models       typically received from established market participants. Although
use inputs that are observed from actively quoted markets such as            independently received, the Adviser does not have the transparency to
quoted prices, issuer details, indices, bid/ask spreads, interest rates,     view the underlying inputs which support the market quotation.
implied volatilities, yield curves, dividends and exchange rates.            Significant changes in the Broker Quote would have direct and
Financial derivative instruments that use similar valuation techniques       proportional changes in the fair value of the security.
and inputs as described above are categorized as Level 2 of the fair
value hierarchy.                                                             Discounted cash flow valuation uses an internal analysis based on the
                                                                             Adviser’s expectation of future income and expenses, capital structure,
Centrally cleared swaps and over the counter swaps derive their value        exit multiples of a security, and other unobservable inputs which may
from underlying asset prices, indices, reference rates, and other inputs     include contractual and factual loan factors, estimated future payments
or a combination of these factors. They are valued using a broker-           and credit rating. Significant changes in the unobservable inputs of the
dealer bid quotation or on market-based prices provided by Pricing           models would result in direct and proportional changes in the fair value
Services (normally determined as of the NYSE Close). Centrally cleared       of the security. These securities are categorized as Level 3 of the fair
swaps and over the counter swaps can be valued by Pricing Services           value hierarchy.

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Market comparable valuation estimates fair value by applying a                                         Expected recovery valuation estimates that the fair value of an existing
valuation multiple to a key performance metric of the company, which                                   asset can be recovered, net of any liability. Significant changes in the
may include unobservable inputs such as earnings before interest,                                      unobservable inputs would result in direct and proportional changes in
taxes, depreciation and amortization ("EBITDA"), the Adviser’s                                         the fair value of the security. These securities are categorized as Level 3
assumptions regarding comparable companies and non-public                                              of the fair value hierarchy.
statements from the underlying company. Significant changes in the
unobservable inputs would result in direct and proportional changes in                                 Securities may be valued based on purchase prices of privately
the fair value of the security. These securities are categorized as Level 3                            negotiated transactions. Significant changes in the unobservable inputs
of the fair value hierarchy.                                                                           would result in direct and proportional changes in the fair value of the
                                                                                                       security. These securities are categorized as Level 3 of the fair
Reference instrument valuation estimates fair value by utilizing the                                   value hierarchy.
correlation of the security to one or more broad-based securities,
market indices, and/or other financial instruments, whose pricing                                      Short-term debt instruments (such as commercial paper) having a
information is readily available. Unobservable inputs may include those                                remaining maturity of 60 days or less may be valued at amortized cost,
used in algorithms based on percentage change in the reference                                         so long as the amortized cost value of such short-term debt instruments
instruments and/or weights of each reference instrument. Significant                                   is approximately the same as the fair value of the instrument as
changes in the unobservable inputs would result in direct and                                          determined without the use of amortized cost valuation. These
proportional changes in the fair value of the security. These securities                               securities are categorized as Level 2 or Level 3 of the fair value
are categorized as Level 3 of the fair value hierarchy.                                                hierarchy depending on the source of the base price.

4. SECURITIES AND OTHER INVESTMENTS
(a) Investments in Affiliates
Each Fund may invest in the PIMCO Short Asset Portfolio and the PIMCO Short-Term Floating NAV Portfolio III (“Central Funds”) to the extent
permitted by the Act and rules thereunder. The Central Funds are registered investment companies created for use solely by the series of the Trust and
other series of registered investment companies advised by the Adviser, in connection with their cash management activities. The main investments of
the Central Funds are money market and short maturity fixed income instruments. The Central Funds may incur expenses related to their investment
activities, but do not pay Investment Advisory Fees or Supervisory and Administrative Fees to the Adviser. The Central Funds are considered to be
affiliated with the Funds. A complete schedule of portfolio holdings for each affiliate fund is filed with the SEC for the first and third quarters of each
fiscal year on Form N-PORT and is available at the SEC’s website at www.sec.gov. A copy of each affiliate fund’s shareholder report is also available
at the SEC’s website at www.sec.gov, on the Funds’ website at www.pimco.com, or upon request, as applicable. The tables below show the Funds’
transactions in and earnings from investments in the affiliated Funds for the period ended March 31, 2021 (amounts in thousands†):
Investment in PIMCO Short Asset Portfolio
                                                                                                                                     Change in
                                                                                                           Net                       Unrealized                                      Realized Net
                                                                      Market Value Purchases Proceeds    Realized                   Appreciation Market Value Dividend               Capital Gain
 Fund Name                                                             03/31/2020   at Cost  from Sales Gain (Loss)                (Depreciation) 03/31/2021  Income(1)             Distributions(1)
 PIMCO Diversified Income Fund                                          $ 30,618         $ 402          $ (1)          $ 0            $ 1,027           $ 32,046         $ 402             $ 0

Investments in PIMCO Short-Term Floating NAV Portfolio III
                                                                                                                                     Change in
                                                                                                                      Net            Unrealized                                      Realized Net
                                                                Market Value       Purchases        Proceeds        Realized        Appreciation Market Value Dividend               Capital Gain
 Fund Name                                                       03/31/2020         at Cost        from Sales      Gain (Loss)     (Depreciation) 03/31/2021  Income(1)             Distributions(1)
 PIMCO Credit Opportunities Bond Fund                              $ 42,171       $     297,186 $ (252,100)           $ (77)           $ 347           $ 87,527          $ 286             $ 0
 PIMCO Diversified Income Fund                                        1,332           1,475,725  (1,016,100)             17              (38)            460,936           324               0
 PIMCO High Yield Spectrum Fund                                      23,442             286,822    (271,101)             49               54              39,266           122               0
 PIMCO Long-Term Credit Bond Fund                                    22,239           1,922,875  (1,889,700)            357              (26)             55,745           145               0
 PIMCO Low Duration Credit Fund                                      41,898             689,540    (706,800)            301               34              24,973           141               0
 PIMCO Low Duration Income Fund                                      27,158           1,312,017  (1,304,700)             (8)              (1)             34,466            37               0
 PIMCO Preferred and Capital Securities Fund                             52           1,266,122  (1,188,000)             94                9              78,277           322               0
†     A zero balance may reflect actual amounts rounding to less than one thousand.
(1)   The tax characterization of distributions is determined in accordance with Federal income tax regulations and may contain a return of capital. The actual tax characterization of
      distributions received is determined at the end of the fiscal year of the affiliated fund. See Note 2, Distributions to Shareholders, in the Notes to Financial Statements for more information.

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(b) Investments in Securities                                                amounts owed to lenders or lending syndicates by corporate,
The Funds may utilize the investments and strategies described below         governmental, or other borrowers. A Fund’s investments in loans may
to the extent permitted by each Fund’s respective investment policies.       be in the form of participations in loans or assignments of all or a
                                                                             portion of loans from third parties or investments in or originations of
Bank Obligations in which a Fund may invest include certificates of
                                                                             loans by the Fund or Funds. A loan is often administered by a bank or
deposit, bankers’ acceptances, and fixed time deposits. Certificates of
                                                                             other financial institution (the “agent”) that acts as agent for all
deposit are negotiable certificates issued against Funds deposited in a
                                                                             holders. The agent administers the terms of the loan, as specified in the
commercial bank for a definite period of time and earning a specified
                                                                             loan agreement. A Fund may invest in multiple series or tranches of a
return. Bankers’ acceptances are negotiable drafts or bills of exchange,
                                                                             loan, which may have varying terms and carry different associated risks.
normally drawn by an importer or exporter to pay for specific
                                                                             When a Fund purchases assignments from agents it acquires direct
merchandise, which are “accepted” by a bank, meaning, in effect, that
                                                                             rights against the borrowers of the loans. These loans may include
the bank unconditionally agrees to pay the face value of the instrument
                                                                             participations in bridge loans, which are loans taken out by borrowers
on maturity. Fixed time deposits are bank obligations payable at a
                                                                             for a short period (typically less than one year) pending arrangement of
stated maturity date and bearing interest at a fixed rate. Fixed time
                                                                             more permanent financing through, for example, the issuance of
deposits may be withdrawn on demand by the investor, but may be
                                                                             bonds, frequently high yield bonds issued for the purpose
subject to early withdrawal penalties which vary depending upon
                                                                             of acquisitions.
market conditions and the remaining maturity of the obligation.
                                                                             The types of loans and related investments in which the Funds may
Delayed-Delivery Transactions involve a commitment by a Fund to
                                                                             invest include, among others, senior loans, subordinated loans
purchase or sell securities for a predetermined price or yield, with
                                                                             (including second lien loans, B-Notes and mezzanine loans), whole
payment and delivery taking place beyond the customary settlement
                                                                             loans, commercial real estate and other commercial loans and
period. When delayed-delivery transactions are outstanding, a Fund
                                                                             structured loans. The Funds may originate loans or acquire direct
will designate or receive as collateral liquid assets in an amount
                                                                             interests in loans through primary loan distributions and/or in private
sufficient to meet the purchase price or respective obligations. When
                                                                             transactions. In the case of subordinated loans, there may be
purchasing a security on a delayed-delivery basis, a Fund assumes the
                                                                             significant indebtedness ranking ahead of the borrower’s obligation to
rights and risks of ownership of the security, including the risk of price
                                                                             the holder of such a loan, including in the event of the borrower’s
and yield fluctuations, and takes such fluctuations into account when
                                                                             insolvency. Mezzanine loans are typically secured by a pledge of an
determining its NAV. A Fund may dispose of or renegotiate a delayed-
                                                                             equity interest in the mortgage borrower that owns the real estate
delivery transaction after it is entered into, which may result in a
                                                                             rather than an interest in a mortgage.
realized gain (loss). When a Fund has sold a security on a delayed-
delivery basis, the Fund does not participate in future gains (losses)       Investments in loans may include unfunded loan commitments, which
with respect to the security.                                                are contractual obligations for funding. Unfunded loan commitments
                                                                             may include revolving credit facilities, which may obligate a Fund to
Inflation-Indexed Bonds are fixed income securities whose principal
                                                                             supply additional cash to the borrower on demand. Unfunded loan
value is periodically adjusted by the rate of inflation. The interest rate
                                                                             commitments represent a future obligation in full, even though a
on these bonds is generally fixed at issuance at a rate lower than
                                                                             percentage of the committed amount may not be utilized by the
typical bonds. Over the life of an inflation-indexed bond, however,
                                                                             borrower. When investing in a loan participation, a Fund has the right
interest will be paid based on a principal value which is adjusted for
                                                                             to receive payments of principal, interest and any fees to which it is
inflation. Any increase or decrease in the principal amount of an
                                                                             entitled only from the agent selling the loan agreement and only upon
inflation-indexed bond will be included as interest income on the
                                                                             receipt of payments by the agent from the borrower. A Fund may
Statements of Operations, even though investors do not receive their
                                                                             receive a commitment fee based on the undrawn portion of the
principal until maturity. Repayment of the original bond principal upon
                                                                             underlying line of credit portion of a loan. In certain circumstances, a
maturity (as adjusted for inflation) is guaranteed in the case of U.S.
                                                                             Fund may receive a penalty fee upon the prepayment of a loan by a
Treasury Inflation-Protected Securities. For bonds that do not provide a
                                                                             borrower. Fees earned or paid are recorded as a component of interest
similar guarantee, the adjusted principal value of the bond repaid at
                                                                             income or interest expense, respectively, on the Statements of
maturity may be less than the original principal.
                                                                             Operations. Unfunded loan commitments are reflected as a liability on
Loans and Other Indebtedness, Loan Participations and                        the Statements of Assets and Liabilities.
Assignments are direct debt instruments which are interests in

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Mortgage-Related and Other Asset-Backed Securities directly or                    on a structured financing changes based on multiples of changes in
indirectly represent a participation in, or are secured by and payable            interest rates or inversely to changes in interest rates)), CBOs, CLOs
from, loans on real property. Mortgage-related securities are created             and other CDOs carry additional risks including, but not limited to,
from pools of residential or commercial mortgage loans, including                 (i) the possibility that distributions from collateral securities will not be
mortgage loans made by savings and loan institutions, mortgage                    adequate to make interest or other payments, (ii) the quality of the
bankers, commercial banks and others. These securities provide a                  collateral may decline in value or default, (iii) the risk that a Fund may
monthly payment which consists of both interest and principal. Interest           invest in CBOs, CLOs, or other CDOs that are subordinate to other
may be determined by fixed or adjustable rates. The rate of                       classes, and (iv) the complex structure of the security may not be fully
prepayments on underlying mortgages will affect the price and volatility          understood at the time of investment and may produce disputes with
of a mortgage-related security, and may have the effect of shortening             the issuer or unexpected investment results.
or extending the effective duration of the security relative to what was
anticipated at the time of purchase. The timely payment of principal              Collateralized Mortgage Obligations (“CMOs”) are debt obligations
and interest of certain mortgage-related securities is guaranteed with            of a legal entity that are collateralized by whole mortgage loans or
the full faith and credit of the U.S. Government. Pools created and               private mortgage bonds and divided into classes. CMOs are structured
guaranteed by non-governmental issuers, including government-                     into multiple classes, often referred to as “tranches”, with each class
sponsored corporations, may be supported by various forms of                      bearing a different stated maturity and entitled to a different schedule
insurance or guarantees, but there can be no assurance that private               for payments of principal and interest, including prepayments. CMOs
insurers or guarantors can meet their obligations under the insurance             may be less liquid and may exhibit greater price volatility than other
policies or guarantee arrangements. Many of the risks of investing in             types of mortgage-related or asset-backed securities.
mortgage-related securities secured by commercial mortgage loans                  Stripped Mortgage-Backed Securities (“SMBS”) are derivative multi-
reflect the effects of local and other economic conditions on real estate         class mortgage securities. SMBS are usually structured with two classes
markets, the ability of tenants to make lease payments, and the ability           that receive different proportions of the interest and principal
of a property to attract and retain tenants. These securities may be less         distributions on a pool of mortgage assets. An SMBS will have one
liquid and may exhibit greater price volatility than other types of               class that will receive all of the interest (the interest-only or “IO” class),
mortgage-related or other asset-backed securities. Other asset-backed             while the other class will receive the entire principal (the principal-only
securities are created from many types of assets, including, but not              or “PO” class). Payments received for IOs are included in interest
limited to, auto loans, accounts receivable, such as credit card                  income on the Statements of Operations. Because no principal will be
receivables and hospital account receivables, home equity loans,                  received at the maturity of an IO, adjustments are made to the cost of
student loans, boat loans, mobile home loans, recreational vehicle                the security on a monthly basis until maturity. These adjustments are
loans, manufactured housing loans, aircraft leases, computer leases               included in interest income on the Statements of Operations. Payments
and syndicated bank loans.                                                        received for POs are treated as reductions to the cost and par value of
Collateralized Debt Obligations (“CDOs”) include Collateralized Bond              the securities.
Obligations (“CBOs”), Collateralized Loan Obligations (“CLOs”) and                Payment In-Kind Securities may give the issuer the option at each
other similarly structured securities. CBOs and CLOs are types of asset-          interest payment date of making interest payments in either cash and/
backed securities. A CBO is a trust which is backed by a diversified pool         or additional debt securities. Those additional debt securities usually
of high risk, below investment grade fixed income securities. A CLO is a          have the same terms, including maturity dates and interest rates, and
trust typically collateralized by a pool of loans, which may include,             associated risks as the original bonds. The daily market quotations of
among others, domestic and foreign senior secured loans, senior                   the original bonds may include the accrued interest (referred to as a
unsecured loans, and subordinate corporate loans, including loans that            dirty price) and require a pro rata adjustment from the unrealized
may be rated below investment grade or equivalent unrated loans. The              appreciation (depreciation) on investments to interest receivable on the
risks of an investment in a CDO depend largely on the type of                     Statements of Assets and Liabilities.
the collateral securities and the class of the CDO in which a Fund
invests. In addition to the normal risks associated with fixed income             Perpetual Bonds are fixed income securities with no maturity date but
securities discussed elsewhere in this report and each Fund’s                     pay a coupon in perpetuity (with no specified ending or maturity date).
prospectus and statement of additional information (e.g., prepayment              Unlike typical fixed income securities, there is no obligation for
risk, credit risk, liquidity risk, market risk, structural risk, legal risk and   perpetual bonds to repay principal. The coupon payments, however,
interest rate risk (which may be exacerbated if the interest rate payable         are mandatory. While perpetual bonds have no maturity date, they may

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have a callable date in which the perpetuity is eliminated and the issuer   government-sponsored corporation. FNMA purchases conventional
may return the principal received on the specified call date.               (i.e., not insured or guaranteed by any government agency) residential
Additionally, a perpetual bond may have additional features, such as        mortgages from a list of approved seller/servicers which include state
interest rate increases at periodic dates or an increase as of a            and federally chartered savings and loan associations, mutual savings
predetermined point in the future.                                          banks, commercial banks and credit unions and mortgage bankers.
                                                                            Pass-through securities issued by FNMA are guaranteed as to timely
Real Estate Investment Trusts (“REITs”) are pooled investment
                                                                            payment of principal and interest by FNMA, but are not backed by the
vehicles that own, and typically operate, income-producing real estate.
                                                                            full faith and credit of the U.S. Government. FHLMC issues Participation
If a REIT meets certain requirements, including distributing to
                                                                            Certificates (“PCs”), which are pass-through securities, each
shareholders substantially all of its taxable income (other than net
                                                                            representing an undivided interest in a pool of residential mortgages.
capital gains), then it is not taxed on the income distributed to
                                                                            FHLMC guarantees the timely payment of interest and ultimate
shareholders. Distributions received from REITs may be characterized as
                                                                            collection of principal, but PCs are not backed by the full faith and
income, capital gain or a return of capital. A return of capital is
                                                                            credit of the U.S. Government.
recorded by a Fund as a reduction to the cost basis of its investment in
the REIT. REITs are subject to management fees and other expenses,          In June 2019, FNMA and FHLMC started issuing Uniform Mortgage
and so the Funds that invest in REITs will bear their proportionate share   Backed Securities in place of their current offerings of TBA-eligible
of the costs of the REITs’ operations.                                      securities (the “Single Security Initiative”). The Single Security Initiative
                                                                            seeks to support the overall liquidity of the TBA market and aligns the
Restricted Investments are subject to legal or contractual restrictions
                                                                            characteristics of FNMA and FHLMC certificates. The effects that the
on resale and may generally be sold privately, but may be required to
                                                                            Single Security Initiative may have on the market for TBA and other
be registered or exempted from such registration before being sold to
                                                                            mortgage-backed securities are uncertain.
the public. Private placement securities are generally considered to be
restricted except for those securities traded between qualified             Roll-timing strategies can be used where a Fund seeks to extend the
institutional investors under the provisions of Rule 144A of the            expiration or maturity of a position, such as a TBA security on an
Securities Act of 1933. Disposal of restricted investments may involve      underlying asset, by closing out the position before expiration and
time-consuming negotiations and expenses, and prompt sale at an             opening a new position with respect to substantially the same
acceptable price may be difficult to achieve. Restricted investments held   underlying asset with a later expiration date. TBA securities purchased
by the Funds at March 31, 2021, as applicable, are disclosed in the         or sold are reflected on the Statements of Assets and Liabilities as an
Notes to Schedules of Investments.                                          asset or liability, respectively.

Securities Issued by U.S. Government Agencies or Government-                Warrants are securities that are usually issued together with a debt
Sponsored Enterprises are obligations of and, in certain cases,             security or preferred security and that give the holder the right to buy a
guaranteed by, the U.S. Government, its agencies or instrumentalities.      proportionate amount of common stock at a specified price. Warrants
Some U.S. Government securities, such as Treasury bills, notes and          normally have a life that is measured in years and entitle the holder to
bonds, and securities guaranteed by the Government National                 buy common stock of a company at a price that is usually higher than
Mortgage Association, are supported by the full faith and credit of the     the market price at the time the warrant is issued. Warrants may entail
U.S. Government; others, such as those of the Federal Home Loan             greater risks than certain other types of investments. Generally,
Banks, are supported by the right of the issuer to borrow from the U.S.     warrants do not carry the right to receive dividends or exercise voting
Department of the Treasury (the “U.S. Treasury”); and others, such as       rights with respect to the underlying securities, and they do not
those of the Federal National Mortgage Association (“FNMA” or               represent any rights in the assets of the issuer. In addition, their value
“Fannie Mae”), are supported by the discretionary authority of the U.S.     does not necessarily change with the value of the underlying securities,
Government to purchase the agency’s obligations. U.S. Government            and they cease to have value if they are not exercised on or before their
securities may include zero coupon securities which do not distribute       expiration date. If the market price of the underlying stock does not
interest on a current basis and tend to be subject to a greater risk than   exceed the exercise price during the life of the warrant, the warrant will
interest-paying securities of similar maturities.                           expire worthless. Warrants may increase the potential profit or loss to
                                                                            be realized from the investment as compared with investing the same
Government-related guarantors (i.e., not backed by the full faith and
                                                                            amount in the underlying securities. Similarly, the percentage increase
credit of the U.S. Government) include FNMA and the Federal Home
                                                                            or decrease in the value of an equity security warrant may be greater
Loan Mortgage Corporation (“FHLMC” or “Freddie Mac”). FNMA is a
                                                                            than the percentage increase or decrease in the value of the underlying

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common stock. Warrants may relate to the purchase of equity or debt           During the period, there were no borrowings on this line of credit. The
securities. Debt obligations with warrants attached to purchase equity        maximum available commitment and related fees for the revolving
securities have many characteristics of convertible securities and their      credit agreement are:
prices may, to some degree, reflect the performance of the underlying                                                   Maximum                    Commitment
stock. Debt obligations also may be issued with warrants attached to                                                    Available     Expiration   and Upfront
                                                                              Funds                                   Commitment*       Date          Fees
purchase additional debt securities at the same coupon rate. A decline        PIMCO High Yield Spectrum Fund          $ 19,000,000 08/31/2021       $ 61,295
in interest rates would permit a Fund to sell such warrants at a profit. If   PIMCO Low Duration Credit Fund          $ 47,000,000 08/31/2021       $ 113,826
interest rates rise, these warrants would generally expire with no value.
                                                                              *   Maximum available commitment prior to renewal on September 1, 2020, for PIMCO
                                                                                  High Yield Spectrum Bond and PIMCO Low Duration Credit Fund was $35,000,000
When-Issued Transactions are purchases or sales made on a when-                   and $45,000,000, respectively. The agreements expire on August 31, 2021 unless
issued basis. These transactions are made conditionally because a                 extended or renewed.
security, although authorized, has not yet been issued in the market.
                                                                              (b) Repurchase Agreements Under the terms of a typical repurchase
Transactions to purchase or sell securities on a when-issued basis
                                                                              agreement, a Fund purchases an underlying debt obligation (collateral)
involve a commitment by a Fund to purchase or sell these securities for
                                                                              subject to an obligation of the seller to repurchase, and a Fund to resell,
a predetermined price or yield, with payment and delivery taking place
                                                                              the obligation at an agreed-upon price and time. In an open maturity
beyond the customary settlement period. A Fund may sell when-issued
                                                                              repurchase agreement, there is no pre-determined repurchase date and
securities before they are delivered, which may result in a realized
                                                                              the agreement can be terminated by the Fund or counterparty at any time.
gain (loss).
                                                                              The underlying securities for all repurchase agreements are held by a
5. BORROWINGS AND OTHER FINANCING                                             Fund’s custodian or designated subcustodians under tri-party repurchase
TRANSACTIONS                                                                  agreements and in certain instances will remain in custody with the
                                                                              counterparty. The market value of the collateral must be equal to or
The Funds may enter into the borrowings and other financing
                                                                              exceed the total amount of the repurchase obligations, including interest.
transactions described below to the extent permitted by each Fund’s
                                                                              Repurchase agreements, if any, including accrued interest, are included on
respective investment policies.
                                                                              the Statements of Assets and Liabilities. Interest earned is recorded as a
The following disclosures contain information on a Fund’s ability to          component of interest income on the Statements of Operations. In periods
lend or borrow cash or securities to the extent permitted under the Act,      of increased demand for collateral, a Fund may pay a fee for the receipt of
which may be viewed as borrowing or financing transactions by a Fund.         collateral, which may result in interest expense to the Fund.
The location of these instruments in each Fund’s financial statements is
                                                                              (c) Reverse Repurchase Agreements In a reverse repurchase
described below.
                                                                              agreement, a Fund delivers a security in exchange for cash to a
(a) Line of Credit The PIMCO High Yield Spectrum Fund and PIMCO               financial institution, the counterparty, with a simultaneous agreement
Low Duration Credit Fund entered into a 364-day senior unsecured              to repurchase the same or substantially the same security at an agreed
revolving credit agreement with State Street Bank & Trust Company             upon price and date. In an open maturity reverse repurchase
and other commercial banks to be utilized for temporary purposes to           agreement, there is no pre-determined repurchase date and the
fund shareholder redemptions or for other short-term liquidity                agreement can be terminated by the Fund or counterparty at any time.
purposes. State Street Bank & Trust Company serves as both a bank             A Fund is entitled to receive principal and interest payments, if any,
and as an agent for the other banks that are parties to the agreement.        made on the security delivered to the counterparty during the term of
The Funds pay financing charges based on a combination of a London            the agreement. Cash received in exchange for securities delivered plus
Interbank Offered Rate-based variable rate plus a credit spread. The          accrued interest payments to be made by a Fund to counterparties are
Funds also pay a fee of 0.15% per annum on the unused maximum                 reflected as a liability on the Statements of Assets and Liabilities.
available commitment amounts. As of March 31, 2021, if applicable             Interest payments made by a Fund to counterparties are recorded as a
any outstanding borrowings would be disclosed as a payable for line of        component of interest expense on the Statements of Operations. In
credit on the Statements of Assets and Liabilities. Interest and              periods of increased demand for the security, a Fund may receive a fee
commitment and upfront fees, if any, paid by the Funds are disclosed          for use of the security by the counterparty, which may result in interest
as part of the interest expense on the Statements of Operations.              income to the Fund. A Fund will segregate assets determined to be
                                                                              liquid by the Adviser or will otherwise cover its obligations under
                                                                              reverse repurchase agreements.


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(d) Sale-Buybacks A sale-buyback financing transaction consists of a           (f) Interfund Lending In accordance with an exemptive order (the
sale of a security by a Fund to a financial institution, the counterparty,     “Order”) from the SEC, the Funds of the Trust may participate in a joint
with a simultaneous agreement to repurchase the same or substantially          lending and borrowing facility for temporary purposes (the “Interfund
the same security at an agreed-upon price and date. A Fund is not              Lending Program”), subject to compliance with the terms and
entitled to receive principal and interest payments, if any, made on the       conditions of the Order, and to the extent permitted by each Fund’s
security sold to the counterparty during the term of the agreement. The        investment policies and restrictions. The Funds are currently permitted
agreed-upon proceeds for securities to be repurchased by a Fund are            to borrow under the Interfund Lending Program. A lending fund may
reflected as a liability on the Statements of Assets and Liabilities. A        lend in aggregate up to 15% of its current net assets at the time of the
Fund will recognize net income represented by the price differential           interfund loan, but may not lend more than 5% of its net assets to any
between the price received for the transferred security and the agreed-        one borrowing fund through the Interfund Lending Program. A
upon repurchase price. This is commonly referred to as the ‘price drop’.       borrowing fund may not borrow through the Interfund Lending
A price drop consists of (i) the foregone interest and inflationary            Program or from any other source if its total outstanding borrowings
income adjustments, if any, a Fund would have otherwise received had           immediately after the borrowing would be more than 33 1/3% of its
the security not been sold and (ii) the negotiated financing terms             total assets (or any lower threshold provided for by the fund’s
between a Fund and counterparty. Foregone interest and inflationary            investment restrictions). If a borrowing fund’s total outstanding
income adjustments, if any, are recorded as components of interest             borrowings exceed 10% of its total assets, each of its outstanding
income on the Statements of Operations. Interest payments based upon           interfund loans will be subject to collateralization of at least 102% of
negotiated financing terms made by a Fund to counterparties are                the outstanding principal value of the loan. All interfund loans are for
recorded as a component of interest expense on the Statements of               temporary or emergency purposes and the interfund loan rate to be
Operations. In periods of increased demand for the security, a Fund            charged will be the average of the highest current overnight repurchase
may receive a fee for use of the security by the counterparty, which may       agreement rate available to a lending fund and the bank loan rate, as
result in interest income to the Fund. A Fund will segregate assets            calculated according to a formula established by the Board.
determined to be liquid by the Adviser or will otherwise cover its
obligations under sale-buyback transactions.                                   On March 23, 2020, the SEC issued an exemptive order (the
                                                                               “Temporary Order”) to provide temporary relief to the Funds of the
(e) Short Sales Short sales are transactions in which a Fund sells a           Trust in relation to the Interfund Lending Program, and the Board has
security that it may not own. A Fund may make short sales of securities        authorized the Funds to rely on the Temporary Order. With respect to
to (i) offset potential declines in long positions in similar securities,      interfund lending, the Temporary Order permitted, under certain
(ii) to increase the flexibility of the Fund, (iii) for investment return,     conditions, a lending fund to lend in aggregate up to 25% of its
(iv) as part of a risk arbitrage strategy, and (v) as part of its overall      current net assets at the time of the interfund loan and to make
portfolio management strategies involving the use of derivative                interfund loans with term limits of up to the expiration of the
instruments. When a Fund engages in a short sale, it may borrow the            Temporary Order, notwithstanding the current limit of seven business
security sold short and deliver it to the counterparty. A Fund will            days under the Order. The SEC provided notice in April 2021 that the
ordinarily have to pay a fee or premium to borrow a security and be            Temporary Order would be terminated on April 30, 2021.
obligated to repay the lender of the security any dividend or interest
that accrues on the security during the period of the loan. Securities         During the period ended March 31, 2021, the Funds did not participate
sold in short sale transactions and the dividend or interest payable on        in the Interfund Lending Program.
such securities, if any, are reflected as payable for short sales on the       6. FINANCIAL DERIVATIVE INSTRUMENTS
Statements of Assets and Liabilities. Short sales expose a Fund to the
                                                                               The Funds may enter into the financial derivative instruments described
risk that it will be required to cover its short position at a time when
                                                                               below to the extent permitted by each Fund’s respective
the security or other asset has appreciated in value, thus resulting in
                                                                               investment policies.
losses to a Fund. A short sale is “against the box” if a Fund holds in its
portfolio or has the right to acquire the security sold short, or securities   The following disclosures contain information on how and why the
identical to the security sold short, at no additional cost. A Fund will be    Funds use financial derivative instruments, and how financial derivative
subject to additional risks to the extent that it engages in short sales       instruments affect the Funds’ financial position, results of operations
that are not “against the box.” A Fund’s loss on a short sale could            and cash flows. The location and fair value amounts of these
theoretically be unlimited in cases where a Fund is unable, for whatever       instruments on the Statements of Assets and Liabilities and the net
reason, to close out its short position.                                       realized gain (loss) and net change in unrealized appreciation

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(depreciation) on the Statements of Operations, each categorized by           contracts expire or close. Futures contracts involve, to varying degrees,
type of financial derivative contract and related risk exposure, are          risk of loss in excess of the Futures Variation Margin included within
included in a table in the Notes to Schedules of Investments. The             exchange traded or centrally cleared financial derivative instruments on
financial derivative instruments outstanding as of period end and the         the Statements of Assets and Liabilities.
amounts of net realized gain (loss) and net change in unrealized
appreciation (depreciation) on financial derivative instruments during        (c) Options Contracts may be written or purchased to enhance returns
the period, as disclosed in the Notes to Schedules of Investments, serve      or to hedge an existing position or future investment. A Fund may write
as indicators of the volume of financial derivative activity for the Funds.   call and put options on securities and financial derivative instruments it
                                                                              owns or in which it may invest. Writing put options tends to increase a
(a) Forward Foreign Currency Contracts may be engaged, in                     Fund’s exposure to the underlying instrument. Writing call options
connection with settling planned purchases or sales of securities, to         tends to decrease a Fund’s exposure to the underlying instrument.
hedge the currency exposure associated with some or all of a Fund’s           When a Fund writes a call or put, an amount equal to the premium
securities or as part of an investment strategy. A forward foreign            received is recorded and subsequently marked to market to reflect the
currency contract is an agreement between two parties to buy and sell         current value of the option written. These amounts are included on the
a currency at a set price on a future date. The market value of a             Statements of Assets and Liabilities. Premiums received from writing
forward foreign currency contract fluctuates with changes in foreign          options which expire are treated as realized gains. Premiums received
currency exchange rates. Forward foreign currency contracts are               from writing options which are exercised or closed are added to the
marked to market daily, and the change in value is recorded by a Fund         proceeds or offset against amounts paid on the underlying futures,
as an unrealized gain (loss). Realized gains (losses) are equal to the        swap, security or currency transaction to determine the realized gain
difference between the value of the contract at the time it was opened        (loss). Certain options may be written with premiums to be determined
and the value at the time it was closed and are recorded upon delivery        on a future date. The premiums for these options are based upon
or receipt of the currency. These contracts may involve market risk in        implied volatility parameters at specified terms. A Fund as a writer of
excess of the unrealized gain (loss) reflected on the Statements of           an option has no control over whether the underlying instrument may
Assets and Liabilities. In addition, a Fund could be exposed to risk if the   be sold (“call”) or purchased (“put”) and as a result bears the market
counterparties are unable to meet the terms of the contracts or if the        risk of an unfavorable change in the price of the instrument underlying
value of the currency changes unfavorably to the U.S. dollar. To              the written option. There is the risk a Fund may not be able to enter
mitigate such risk, cash or securities may be exchanged as collateral         into a closing transaction because of an illiquid market.
pursuant to the terms of the underlying contracts.
                                                                              Purchasing call options tends to increase a Fund’s exposure to the
(b) Futures Contracts are agreements to buy or sell a security or other       underlying instrument. Purchasing put options tends to decrease a
asset for a set price on a future date and are traded on an exchange. A       Fund’s exposure to the underlying instrument. A Fund pays a premium
Fund may use futures contracts to manage its exposure to the securities       which is included as an asset on the Statements of Assets and
markets or to movements in interest rates and currency values. The            Liabilities and subsequently marked to market to reflect the current
primary risks associated with the use of futures contracts are the            value of the option. Premiums paid for purchasing options which expire
imperfect correlation between the change in market value of the               are treated as realized losses. Certain options may be purchased with
securities held by a Fund and the prices of futures contracts and the         premiums to be determined on a future date. The premiums for these
possibility of an illiquid market. Futures contracts are valued based         options are based upon implied volatility parameters at specified terms.
upon their quoted daily settlement prices. Upon entering into a futures       The risk associated with purchasing put and call options is limited to
contract, a Fund is required to deposit with its futures broker an            the premium paid. Premiums paid for purchasing options which are
amount of cash, U.S. Government and Agency Obligations, or select             exercised or closed are added to the amounts paid or offset against the
sovereign debt, in accordance with the initial margin requirements of         proceeds on the underlying investment transaction to determine the
the broker or exchange. Futures contracts are marked to market daily          realized gain (loss) when the underlying transaction is executed.
and based on such movements in the price of the contracts, an
appropriate payable or receivable for the change in value may be              Credit Default Swaptions may be written or purchased to hedge
posted or collected by the Fund (“Futures Variation Margin”). Futures         exposure to the credit risk of an investment without making a
Variation Margins, if any, are disclosed within centrally cleared financial   commitment to the underlying instrument. A credit default swaption is an
derivative instruments on the Statements of Assets and Liabilities.           option to sell or buy credit protection on a specific reference by entering
Gains (losses) are recognized but not considered realized until the           into a pre-defined swap agreement by some specified date in the future.


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Foreign Currency Options may be written or purchased to be used as          cleared swaps (“Swap Variation Margin”), if any, are disclosed within
a short or long hedge against possible variations in foreign exchange       centrally cleared financial derivative instruments on the Statements of
rates or to gain exposure to foreign currencies.                            Assets and Liabilities. Centrally Cleared and OTC swap payments
                                                                            received or paid at the beginning of the measurement period are
Inflation-Capped Options may be written or purchased to enhance
                                                                            included on the Statements of Assets and Liabilities and represent
returns or for hedging opportunities. The purpose of purchasing
                                                                            premiums paid or received upon entering into the swap agreement to
inflation-capped options is to protect a Fund from inflation erosion
                                                                            compensate for differences between the stated terms of the swap
above a certain rate on a given notional exposure. A floor can be used
                                                                            agreement and prevailing market conditions (credit spreads, currency
to give downside protection to investments in inflation-linked products.
                                                                            exchange rates, interest rates, and other relevant factors). Upfront
Interest Rate Swaptions may be written or purchased to enter into a         premiums received (paid) are initially recorded as liabilities (assets) and
pre-defined swap agreement or to shorten, extend, cancel or otherwise       subsequently marked to market to reflect the current value of the swap.
modify an existing swap agreement, by some specified date in the            These upfront premiums are recorded as realized gain (loss) on the
future. The writer of the swaption becomes the counterparty to the          Statements of Operations upon termination or maturity of the swap. A
swap if the buyer exercises. The interest rate swaption agreement will      liquidation payment received or made at the termination of the swap is
specify whether the buyer of the swaption will be a fixed-rate receiver     recorded as realized gain (loss) on the Statements of Operations. Net
or a fixed-rate payer upon exercise.                                        periodic payments received or paid by a Fund are included as part of
                                                                            realized gain (loss) on the Statements of Operations.
Options on Exchange-Traded Futures Contracts (“Futures Option”)
                                                                            For purposes of applying certain of a Fund’s investment policies and
may be written or purchased to hedge an existing position or future
                                                                            restrictions, swap agreements, like other derivative instruments, may be
investment, for speculative purposes or to manage exposure to market
                                                                            valued by a Fund at market value, notional value or full exposure value.
movements. A Futures Option is an option contract in which the
                                                                            In the case of a credit default swap, in applying certain of a Fund’s
underlying instrument is a single futures contract.
                                                                            investment policies and restrictions, the Funds will value the credit
Options on Securities may be written or purchased to enhance returns        default swap at its notional value or its full exposure value (i.e., the
or to hedge an existing position or future investment. An option on a       sum of the notional amount for the contract plus the market value), but
security uses a specified security as the underlying instrument for the     may value the credit default swap at market value for purposes of
option contract.                                                            applying certain of a Fund’s other investment policies and restrictions.
                                                                            For example, a Fund may value credit default swaps at full exposure
(d) Swap Agreements are bilaterally negotiated agreements between           value for purposes of a Fund’s credit quality guidelines (if any) because
a Fund and a counterparty to exchange or swap investment cash flows,        such value in general better reflects a Fund’s actual economic exposure
assets, foreign currencies or market-linked returns at specified, future    during the term of the credit default swap agreement. As a result, a
intervals. Swap agreements may be privately negotiated in the over the      Fund may, at times, have notional exposure to an asset class (before
counter market (“OTC swaps”) or may be cleared through a third party,       netting) that is greater or lesser than the stated limit or restriction
known as a central counterparty or derivatives clearing organization        noted in a Fund’s prospectus. In this context, both the notional amount
(“Centrally Cleared Swaps”). A Fund may enter into asset, credit            and the market value may be positive or negative depending on
default, cross-currency, interest rate, total return, variance and other    whether a Fund is selling or buying protection through the credit
forms of swap agreements to manage its exposure to credit, currency,        default swap. The manner in which certain securities or other
interest rate, commodity, equity and inflation risk. In connection with     instruments are valued by a Fund for purposes of applying investment
these agreements, securities or cash may be identified as collateral or     policies and restrictions may differ from the manner in which those
margin in accordance with the terms of the respective swap                  investments are valued by other types of investors.
agreements to provide assets of value and recourse in the event of
default or bankruptcy/insolvency.                                           Entering into swap agreements involves, to varying degrees, elements
                                                                            of interest, credit, market and documentation risk in excess of the
Centrally Cleared Swaps are marked to market daily based upon               amounts recognized on the Statements of Assets and Liabilities. Such
valuations as determined from the underlying contract or in accordance      risks involve the possibility that there will be no liquid market for these
with the requirements of the central counterparty or derivatives clearing   agreements, that the counterparty to the agreements may default on its
organization. Changes in market value, if any, are reflected as a           obligation to perform or disagree as to the meaning of contractual
component of net change in unrealized appreciation (depreciation) on        terms in the agreements and that there may be unfavorable changes in
the Statements of Operations. Daily changes in valuation of centrally       interest rates or the values of the asset upon which the swap is based.

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A Fund’s maximum risk of loss from counterparty credit risk is the            obligation or underlying securities comprising the referenced index.
discounted net value of the cash flows to be received from the                Recovery values are estimated by market makers considering either
counterparty over the contract’s remaining life, to the extent that           industry standard recovery rates or entity specific factors and
amount is positive. The risk may be mitigated by having a master              considerations until a credit event occurs. If a credit event has occurred,
netting arrangement between a Fund and the counterparty and by the            the recovery value is determined by a facilitated auction whereby a
posting of collateral to a Fund to cover a Fund’s exposure to                 minimum number of allowable broker bids, together with a specified
the counterparty.                                                             valuation method, are used to calculate the settlement value. The
                                                                              ability to deliver other obligations may result in a cheapest-to-deliver
To the extent a Fund has a policy to limit the net amount owed to or to
                                                                              option (the buyer of protection’s right to choose the deliverable
be received from a single counterparty under existing swap
                                                                              obligation with the lowest value following a credit event).
agreements, such limitation only applies to counterparties to OTC
swaps and does not apply to centrally cleared swaps where the                 Credit default swap agreements on credit indices involve one party
counterparty is a central counterparty or derivatives                         making a stream of payments to another party in exchange for the right
clearing organization.                                                        to receive a specified return in the event of a write-down, principal
                                                                              shortfall, interest shortfall or default of all or part of the referenced
Credit Default Swap Agreements on corporate, loan, sovereign, U.S.
                                                                              entities comprising the credit index. A credit index is a basket of credit
municipal or U.S. Treasury issues are entered into to provide a measure
                                                                              instruments or exposures designed to be representative of some part of
of protection against defaults of the issuers (i.e., to reduce risk where a
                                                                              the credit market as a whole. These indices are made up of reference
Fund owns or has exposure to the referenced obligation) or to take an
                                                                              credits that are judged by a poll of dealers to be the most liquid entities
active long or short position with respect to the likelihood of a
                                                                              in the credit default swap market based on the sector of the index.
particular issuer’s default. Credit default swap agreements involve one
                                                                              Components of the indices may include, but are not limited to,
party making a stream of payments (referred to as the buyer of
                                                                              investment grade securities, high yield securities, asset-backed
protection) to another party (the seller of protection) in exchange for
                                                                              securities, emerging markets, and/or various credit ratings within each
the right to receive a specified return in the event that the referenced
                                                                              sector. Credit indices are traded using credit default swaps with
entity, obligation or index, as specified in the swap agreement,
                                                                              standardized terms including a fixed spread and standard maturity
undergoes a certain credit event. As a seller of protection on credit
                                                                              dates. An index credit default swap references all the names in the
default swap agreements, a Fund will generally receive from the buyer
                                                                              index, and if there is a default, the credit event is settled based on that
of protection a fixed rate of income throughout the term of the swap
                                                                              name’s weight in the index. The composition of the indices changes
provided that there is no credit event. As the seller, a Fund would
                                                                              periodically, usually every six months, and for most indices, each name
effectively add leverage to its portfolio because, in addition to its total
                                                                              has an equal weight in the index. A Fund may use credit default swaps
net assets, a Fund would be subject to investment exposure on the
                                                                              on credit indices to hedge a portfolio of credit default swaps or bonds,
notional amount of the swap.
                                                                              which is less expensive than it would be to buy many credit default
If a Fund is a seller of protection and a credit event occurs, as defined     swaps to achieve a similar effect. Credit default swaps on indices are
under the terms of that particular swap agreement, a Fund will either         instruments for protecting investors owning bonds against default, and
(i) pay to the buyer of protection an amount equal to the notional            traders use them to speculate on changes in credit quality.
amount of the swap and take delivery of the referenced obligation,
                                                                              Implied credit spreads, represented in absolute terms, utilized in
other deliverable obligations or underlying securities comprising the
                                                                              determining the market value of credit default swap agreements on
referenced index or (ii) pay a net settlement amount in the form of cash
                                                                              corporate, loan, sovereign, U.S. municipal or U.S. Treasury issues as of
or securities equal to the notional amount of the swap less the recovery
                                                                              period end, if any, are disclosed in the Notes to Schedules of
value of the referenced obligation or underlying securities comprising
                                                                              Investments. They serve as an indicator of the current status of
the referenced index. If a Fund is a buyer of protection and a credit
                                                                              payment/performance risk and represent the likelihood or risk of
event occurs, as defined under the terms of that particular swap
                                                                              default for the reference entity. The implied credit spread of a particular
agreement, a Fund will either (i) receive from the seller of protection an
                                                                              referenced entity reflects the cost of buying/selling protection and may
amount equal to the notional amount of the swap and deliver the
                                                                              include upfront payments required to be made to enter into the
referenced obligation, other deliverable obligations or underlying
                                                                              agreement. Wider credit spreads represent a deterioration of the
securities comprising the referenced index or (ii) receive a net
                                                                              referenced entity’s credit soundness and a greater likelihood or risk of
settlement amount in the form of cash or securities equal to the
                                                                              default or other credit event occurring as defined under the terms of
notional amount of the swap less the recovery value of the referenced

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the agreement. For credit default swap agreements on asset-backed               the other to the extent that interest rates exceed a specified rate, or
securities and credit indices, the quoted market prices and resulting           “cap”, (ii) interest rate floors, under which, in return for a premium,
values serve as the indicator of the current status of the payment/             one party agrees to make payments to the other to the extent that
performance risk. Increasing market values, in absolute terms when              interest rates fall below a specified rate, or “floor”, (iii) interest rate
compared to the notional amount of the swap, represent a                        collars, under which a party sells a cap and purchases a floor or vice
deterioration of the referenced entity’s credit soundness and a greater         versa in an attempt to protect itself against interest rate movements
likelihood or risk of default or other credit event occurring as defined        exceeding given minimum or maximum levels, (iv) callable interest rate
under the terms of the agreement.                                               swaps, under which the buyer pays an upfront fee in consideration for
                                                                                the right to early terminate the swap transaction in whole, at zero cost
The maximum potential amount of future payments (undiscounted) that
                                                                                and at a predetermined date and time prior to the maturity date,
a Fund as a seller of protection could be required to make under a
                                                                                (v) spreadlocks, which allow the interest rate swap users to lock in the
credit default swap agreement equals the notional amount of the
                                                                                forward differential (or spread) between the interest rate swap rate and
agreement. Notional amounts of each individual credit default swap
                                                                                a specified benchmark, or (vi) basis swaps, under which two parties can
agreement outstanding as of period end for which a Fund is the seller
                                                                                exchange variable interest rates based on different segments of
of protection are disclosed in the Notes to Schedules of Investments.
                                                                                money markets.
These potential amounts would be partially offset by any recovery
values of the respective referenced obligations, upfront payments               Total Return Swap Agreements are entered into to gain or mitigate
received upon entering into the agreement, or net amounts received              exposure to the underlying reference asset. Total return swap
from the settlement of buy protection credit default swap agreements            agreements involve commitments where single or multiple cash flows
entered into by a Fund for the same referenced entity or entities.              are exchanged based on the price of an underlying reference asset and
                                                                                on a fixed or variable interest rate. Total return swap agreements may
Interest Rate Swap Agreements may be entered into to help hedge                 involve commitments to pay interest in exchange for a market-linked
against interest rate risk exposure and to maintain a Fund’s ability to         return. One counterparty pays out the total return of a specific
generate income at prevailing market rates. The value of the fixed rate         underlying reference asset, which may include a single security, a
bonds that the Funds hold may decrease if interest rates rise. To help          basket of securities, or an index, and in return receives a fixed or
hedge against this risk and to maintain its ability to generate income at       variable rate. At the maturity date, a net cash flow is exchanged where
prevailing market rates, a Fund may enter into interest rate swap               the total return is equivalent to the return of the underlying reference
agreements. Interest rate swap agreements involve the exchange by a             asset less a financing rate, if any. As a receiver, a Fund would receive
Fund with another party for their respective commitment to pay or               payments based on any net positive total return and would owe
receive interest on the notional amount of principal. Certain forms of          payments in the event of a net negative total return. As the payer, a
interest rate swap agreements may include: (i) interest rate caps, under        Fund would owe payments on any net positive total return, and would
which, in return for a premium, one party agrees to make payments to            receive payments in the event of a net negative total return.

7. PRINCIPAL AND OTHER RISKS
(a) Principal Risks
The principal risks of investing in a Fund, which could adversely affect its net asset value, yield and total return, are listed below.
                                                 PIMCO                                              PIMCO                               PIMCO
                                                 Credit        PIMCO       PIMCO        PIMCO     Long-Term CREW/PIMCO      PIMCO      Preferred
                                              Opportunities Diversified     ESG       High Yield    Credit  Low Duration Low Duration and Capital
Risks                                          Bond Fund    Income Fund Income Fund Spectrum Fund Bond Fund Credit Fund Income Fund Securities Fund
New Fund                                           —             —            X             —            —            —             —             —
Small Fund                                         —             —            X             —            —            —             —             —
Interest Rate                                      X             X            X             X            X            X             X             X
Call                                               X             X            X             X            X            X             X             X
Credit                                             X             X            X             X            X            X             X             X
Capital Securities                                 —             —            —             —            —            —             —             X
Preferred Securities                               —             —            —             —            —            —             —             X
Concentration in Banking Industries                —             —            —             —            —            —             —             X
Contingent Convertible Securities                  —             —            X             —            —            —             X             X
High Yield                                         X             X            X             X            X            X             X             X
Market                                             X             X            X             X            X            X             X             X


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                                                    PIMCO                                              PIMCO                               PIMCO
                                                    Credit        PIMCO       PIMCO        PIMCO     Long-Term CREW/PIMCO      PIMCO      Preferred
                                                 Opportunities Diversified     ESG       High Yield    Credit  Low Duration Low Duration and Capital
Risks                                             Bond Fund    Income Fund Income Fund Spectrum Fund Bond Fund Credit Fund Income Fund Securities Fund
Issuer                                                X           X            X               X             X             X             X               X
Liquidity                                             X           X            X               X             X             X             X               X
Derivatives                                           X           X            X               X             X             X             X               X
Equity                                                X           X            X               X             X             X             X               X
Mortgage-Related and Other Asset-
   Backed Securities                                 X            X           X                —             X            —             X               —
Foreign (Non-U.S.) Investment                        X            X           X                X             X            X             X               X
Emerging Markets                                     X            X           X                X             X            X             X               X
Sovereign Debt                                       X            X           X                X             X            X             X               X
Currency                                             X            X           X                X             X            —             X               X
Leveraging                                           X            X           X                X             X            X             X               X
Management                                           X            X           X                X             X            X             X               X
Subsidiary                                           —            —           —                —             —            —             —               X
Regulation S Securities                              —            —           —                —             —            —             —               X
Short Exposure                                       X            X           X                X             X            X             X               X
Convertible Securities                               X            —           —                —             —            —             —               —
Senior Loan                                          X            —           —                —             —            X             —               —
Distribution Rate                                    —            —           X                —             —            —             X               —
Environmental, Social and Governance Investing       —            —           X                —             —            —             —               —
LIBOR Transition                                     X            X           X                —             X            X             X               X


Please see “Description of Principal Risks” in a Fund’s prospectus for a           Credit Risk is the risk that a Fund could lose money if the issuer or
more detailed description of the risks of investing in a Fund.                     guarantor of a fixed income security, or the counterparty to a derivative
                                                                                   contract, is unable or unwilling, or is perceived (whether by market
New Fund Risk is the risk that a new fund’s performance may not                    participants, rating agencies, pricing services or otherwise) as unable or
represent how the fund is expected to or may perform in the long term.             unwilling, to meet its financial obligations.
In addition, new funds have limited operating histories for investors to
evaluate and new funds may not attract sufficient assets to achieve                Capital Securities Risk is the risk that the value of securities issued by
investment and trading efficiencies.                                               U.S. and non-U.S. financial institutions that can be used to satisfy their
                                                                                   regulatory capital requirements may decline in response to changes in
Small Fund Risk is the risk that a smaller fund may not achieve                    legislation and regulations applicable to financial institutions and financial
investment or trading efficiencies. Additionally, a smaller fund may be            markets, increased competition, adverse changes in general or industry-
more adversely affected by large purchases or redemptions of                       specific economic conditions, or unfavorable interest rates. By investing
fund shares.                                                                       under normal circumstances at least 80% of its assets in a combination of
Interest Rate Risk is the risk that fixed income securities will decline in        preferred securities and Capital Securities, the PIMCO Preferred and
value because of an increase in interest rates; a fund with a longer               Capital Securities Fund will be more susceptible to these risks than a fund
average portfolio duration will be more sensitive to changes in interest           that does not invest in Capital Securities to the same extent as the Fund.
rates than a fund with a shorter average portfolio duration.                       Preferred Securities Risk is the risk that preferred securities may be
Call Risk is the risk that an issuer may exercise its right to redeem a            subject to greater credit or other risks than senior debt instruments. In
fixed income security earlier than expected (a call). Issuers may call             addition, preferred securities are subject to other risks, such as risks
outstanding securities prior to their maturity for a number of reasons             related to deferred and omitted distributions, limited voting rights,
(e.g., declining interest rates, changes in credit spreads and                     liquidity, interest rate, regulatory changes and special
improvements in the issuer’s credit quality). If an issuer calls a security        redemption rights.
that a Fund has invested in, the Fund may not recoup the full amount               Concentration in Banking Industries Risk is the risk of concentrating
of its initial investment and may be forced to reinvest in lower-yielding          in industries related to banking, including interest rate risk, market risk,
securities, securities with greater credit risks or securities with other,         the risk of heightened competition and the risk that legislation and
less favorable features.                                                           other government actions could adversely affect such industries.



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Contingent Convertible Securities Risk is the risk of investing in             in losses to the Fund, a reduction in the Fund’s returns and/or increased
contingent convertible securities, including the risk that interest            volatility. Over-the-counter (“OTC”) derivatives are also subject to the
payments will be cancelled by the issuer or a regulatory authority, the        risk that a counterparty to the transaction will not fulfill its contractual
risk of ranking junior to other creditors in the event of a liquidation or     obligations to the other party, as many of the protections afforded to
other bankruptcy-related event as a result of holding subordinated             centrally-cleared derivative transactions might not be available for OTC
debt, the risk of a Fund’s investment becoming further subordinated as         derivatives. The primary credit risk on derivatives that are exchange-
a result of conversion from debt to equity, the risk that principal            traded or traded through a central clearing counterparty resides with a
amount due can be written down to a lesser amount, and the general             Fund’s clearing broker, or the clearinghouse. Changes in regulation
risks applicable to fixed income investments, including interest rate risk,    relating to a mutual fund’s use of derivatives and related instruments
credit risk, market risk and liquidity risk, any of which could result in      could potentially limit or impact a Fund’s ability to invest in derivatives,
losses to a Fund.                                                              limit a Fund’s ability to employ certain strategies that use derivatives
                                                                               and/or adversely affect the value of derivatives and a
High Yield Risk is the risk that high yield securities and unrated
                                                                               Fund’s performance.
securities of similar credit quality (commonly known as “junk bonds”)
are subject to greater levels of credit, call and liquidity risks, including   Equity Risk is the risk that the value of equity securities, such as common
the risk that a court will subordinate high yield senior debt to other         stocks and preferred securities, may decline due to general market
debt of the issuer or take other actions detrimental to holders of the         conditions which are not specifically related to a particular company or to
senior debt. High yield securities are considered primarily speculative        factors affecting a particular industry or industries. Equity securities
with respect to the issuer’s continuing ability to make principal and          generally have greater price volatility than fixed income securities.
interest payments, and may be more volatile than higher-rated
                                                                               Mortgage-Related and Other Asset-Backed Securities Risk is the risk
securities of similar maturity.
                                                                               of investing in mortgage-related and other asset-backed securities,
Market Risk is the risk that the value of securities owned by a Fund           including interest rate risk, extension risk, prepayment risk and
may go up or down, sometimes rapidly or unpredictably, due to factors          credit risk.
affecting securities markets generally or particular industries.
                                                                               Foreign (Non-U.S.) Investment Risk is the risk that investing in
Issuer Risk is the risk that the value of a security may decline for a         foreign (non-U.S.) securities may result in a Fund experiencing more
reason directly related to the issuer, such as management performance,         rapid and extreme changes in value than a fund that invests exclusively
financial leverage and reduced demand for the issuer’s goods                   in securities of U.S. companies, due to smaller markets, differing
or services.                                                                   reporting, accounting and auditing standards, increased risk of delayed
                                                                               settlement of portfolio transactions or loss of certificates of portfolio
Liquidity Risk is the risk that a particular investment may be difficult to
                                                                               securities, and the risk of unfavorable foreign government actions,
purchase or sell and that a Fund may be unable to sell illiquid
                                                                               including nationalization, expropriation or confiscatory taxation,
investments at an advantageous time or price or achieve its desired            currency blockage, or political changes or diplomatic developments.
level of exposure to a certain sector. Liquidity risk may result from the      Foreign securities may also be less liquid and more difficult to value
lack of an active market, reduced number and capacity of traditional           than securities of U.S. issuers.
market participants to make a market in fixed income securities, and
may be magnified in a rising interest rate environment or other                Emerging Markets Risk is the risk of investing in emerging market
circumstances where investor redemptions from fixed income funds               securities, primarily increased foreign (non-U.S.) investment risk.
may be higher than normal, causing increased supply in the market due
                                                                               Sovereign Debt Risk is the risk that investments in fixed income
to selling activity.
                                                                               instruments issued by sovereign entities may decline in value as a result of
Derivatives Risk is the risk of investing in derivative instruments (such      default or other adverse credit event resulting from an issuer’s inability or
as futures, swaps and structured securities), including leverage,              unwillingness to make principal or interest payments in a timely fashion.
liquidity, interest rate, market, credit and management risks, and
                                                                               Currency Risk is the risk that foreign (non-U.S.) currencies will change
valuation complexity. Changes in the value of a derivative may not
                                                                               in value relative to the U.S. dollar and affect a Fund’s investments in
correlate perfectly with, and may be more sensitive to market events
                                                                               foreign (non-U.S.) currencies or in securities that trade in, and receive
than, the underlying asset, rate or index, and a Fund could lose more
                                                                               revenues in, or in derivatives that provide exposure to, foreign
than the initial amount invested. A Fund’s use of derivatives may result
                                                                               (non-U.S.) currencies.

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Leveraging Risk is the risk that certain transactions of a Fund, such as       in realized and projected market returns, fluctuations in market interest
reverse repurchase agreements, loans of portfolio securities, and the          rates, Fund performance and other factors.
use of when-issued, delayed delivery or forward commitment
transactions, or derivative instruments, may give rise to leverage,            Environmental, Social and Governance Investing Risk is the risk that,
magnifying gains and losses and causing a Fund to be more volatile             because a Fund’s ESG strategy may select or exclude securities of
than if it had not been leveraged. This means that leverage entails a          certain issuers for reasons other than performance, a Fund’s
heightened risk of loss.                                                       performance will differ from funds that do not utilize an ESG investing
                                                                               strategy. ESG investing is qualitative and subjective by nature, and
Management Risk is the risk that the investment techniques and risk            there is no guarantee that the factors utilized by PIMCO or any
analyses applied by PIMCO will not produce the desired results and             judgment exercised by PIMCO will reflect the opinions of any
that actual or potential conflicts of interest, legislative, regulatory, or    particular investor.
tax restrictions, policies or developments may affect the investment
                                                                               LIBOR Transition Risk is the risk related to the anticipated
techniques available to PIMCO and the individual portfolio manager in
                                                                               discontinuation of the London Interbank Offered Rate (“LIBOR”) by the
connection with managing a Fund and may cause PIMCO to restrict or
                                                                               end of 2021. Certain instruments held by a Fund rely in some fashion
prohibit participation in certain investments. There is no guarantee that
                                                                               upon LIBOR. Although the transition process away from LIBOR has
the investment objective of a Fund will be achieved.
                                                                               become increasingly well-defined in advance of the anticipated
Subsidiary Risk is the risk that, by investing in a Fund’s subsidiary, the     discontinuation date, there remains uncertainty regarding the nature of
Fund is indirectly exposed to the risks associated with the subsidiary’s       any replacement rate, and any potential effects of the transition away
investments. Fund subsidiaries are not registered under the 1940 Act           from LIBOR on a Fund or on certain instruments in which a Fund
and may not be subject to all the investor protections of the 1940 Act.        invests can be difficult to ascertain. The transition process may involve,
There is no guarantee that the investment objective of a subsidiary will       among other things, increased volatility or illiquidity in markets for
be achieved.                                                                   instruments that currently rely on LIBOR and may result in a reduction
                                                                               in value of certain instruments held by a Fund.
Regulation S Securities Risk is the risk that Regulation S securities
may be less liquid than publicly traded securities and may not be              (b) Other Risks
subject to the disclosure and other investor protection requirements           In general, a Fund may be subject to additional risks, including, but not
that would be applicable if they were publicly traded. Accordingly,            limited to, risks related to government regulation and intervention in
Regulation S Securities may involve a high degree of business and              financial markets, operational risks, risks associated with financial,
financial risk and may result in substantial losses.                           economic and global market disruptions, and cybersecurity risks. Please
                                                                               see a Fund’s prospectus and Statement of Additional Information for a
Short Exposure Risk is the risk of entering into short sales, including        more detailed description of the risks of investing in a Fund. Please see
the potential loss of more money than the actual cost of the                   the Important Information section of this report for additional
investment, and the risk that the third party to the short sale will not       discussion of certain regulatory and market developments that may
fulfill its contractual obligations, causing a loss to a Fund.                 impact a Fund’s performance.

Convertible Securities Risk is the risk that arises when convertible           Market Disruption Risk A Fund is subject to investment and
securities share both fixed income and equity characteristics.                 operational risks associated with financial, economic and other global
Convertible securities are subject to risks to which fixed income and          market developments and disruptions, including those arising from
equity investments are subject. These risks include equity risk, interest      war, terrorism, market manipulation, government interventions,
rate risk and credit risk.                                                     defaults and shutdowns, political changes or diplomatic developments,
                                                                               public health emergencies (such as the spread of infectious diseases,
Senior Loan Risk is the risk that investing in senior loans, including
                                                                               pandemics and epidemics) and natural/environmental disasters, which
bank loans, exposes a Fund to heightened credit risk, call risk,
                                                                               can all negatively impact the securities markets and cause a Fund to
settlement risk and liquidity risk. If an issuer of a senior loan prepays or
                                                                               lose value. These events can also impair the technology and other
redeems the loan prior to maturity, a Fund may have to reinvest the
                                                                               operational systems upon which a Fund’s service providers, including
proceeds in instruments that pay lower interest rates.
                                                                               PIMCO as a Fund’s investment adviser, rely, and could otherwise
Distribution Rate Risk is the risk that a Fund’s distribution rate may         disrupt a Fund’s service providers’ ability to fulfill their obligations to a
change unexpectedly as a result of numerous factors, including changes         Fund. For example, the recent spread of an infectious respiratory illness


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caused by a novel strain of coronavirus (known as COVID-19) has              more susceptible to operational and information security risks resulting
caused volatility, severe market dislocations and liquidity constraints in   from breaches in cyber security. A breach in cyber security refers to
many markets, including markets for the securities a Fund holds, and         both intentional and unintentional cyber events that may, among other
may adversely affect a Fund’s investments and operations. Please see         things, cause a Fund to lose proprietary information, suffer data
the Important Information section for additional discussion of the           corruption and/or destruction or lose operational capacity, result in the
COVID-19 pandemic.                                                           unauthorized release or other misuse of confidential information, or
                                                                             otherwise disrupt normal business operations. Cyber security failures or
Government Intervention in Financial Markets Federal, state, and
                                                                             breaches may result in financial losses to a Fund and its shareholders.
other governments, their regulatory agencies, or self-regulatory
                                                                             These failures or breaches may also result in disruptions to business
organizations may take actions that affect the regulation of the
                                                                             operations, potentially resulting in financial losses; interference with a
instruments in which a Fund invests, or the issuers of such instruments,
                                                                             Fund’s ability to calculate its net asset value, process shareholder
in ways that are unforeseeable. Legislation or regulation may also
                                                                             transactions or otherwise transact business with shareholders;
change the way in which a Fund itself is regulated. Such legislation or
                                                                             impediments to trading; violations of applicable privacy and other laws;
regulation could limit or preclude a Fund’s ability to achieve its
                                                                             regulatory fines; penalties; reputational damage; reimbursement or
investment objective. Furthermore, volatile financial markets can
                                                                             other compensation costs; additional compliance and cyber security risk
expose a Fund to greater market and liquidity risk and potential
                                                                             management costs and other adverse consequences. In addition,
difficulty in valuing portfolio instruments held by the Fund. The value of
                                                                             substantial costs may be incurred in order to prevent any cyber
a Fund’s holdings is also generally subject to the risk of future local,
                                                                             incidents in the future.
national, or global economic disturbances based on unknown
weaknesses in the markets in which a Fund invests. In addition, it is        8. MASTER NETTING ARRANGEMENTS
not certain that the U.S. Government will intervene in response to a
                                                                             A Fund may be subject to various netting arrangements (“Master
future market disturbance and the effect of any such future intervention
                                                                             Agreements”) with select counterparties. Master Agreements govern the
cannot be predicted. It is difficult for issuers to prepare for the impact
                                                                             terms of certain transactions, and are intended to reduce the
of future financial downturns, although companies can seek to identify
                                                                             counterparty risk associated with relevant transactions by specifying
and manage future uncertainties through risk management programs.
                                                                             credit protection mechanisms and providing standardization that is
Regulatory Risk Financial entities, such as investment companies and         intended to improve legal certainty. Each type of Master Agreement
investment advisers, are generally subject to extensive government           governs certain types of transactions. Different types of transactions may
regulation and intervention. Government regulation and/or intervention       be traded out of different legal entities or affiliates of a particular
may change the way a Fund is regulated, affect the expenses incurred         organization, resulting in the need for multiple agreements with a single
directly by a Fund and the value of its investments, and limit and/or        counterparty. As the Master Agreements are specific to unique
preclude a Fund’s ability to achieve its investment objective.               operations of different asset types, they allow a Fund to close out and net
Government regulation may change frequently and may have                     its total exposure to a counterparty in the event of a default with respect
significant adverse consequences. Moreover, government regulation            to all the transactions governed under a single Master Agreement with a
may have unpredictable and unintended effects.                               counterparty. For financial reporting purposes the Statements of Assets
                                                                             and Liabilities generally present derivative assets and liabilities on a gross
Operational Risk An investment in a Fund, like any fund, can involve         basis, which reflects the full risks and exposures prior to netting.
operational risks arising from factors such as processing errors, human
errors, inadequate or failed internal or external processes, failures in     Master Agreements can also help limit counterparty risk by specifying
systems and technology, changes in personnel and errors caused by            collateral posting arrangements at pre-arranged exposure levels. Under
third-party service providers. The occurrence of any of these failures,      most Master Agreements, collateral is routinely transferred if the total
errors or breaches could result in a loss of information, regulatory         net exposure to certain transactions (net of existing collateral already in
scrutiny, reputational damage or other events, any of which could have       place) governed under the relevant Master Agreement with a
a material adverse effect on a Fund. While a Fund seeks to minimize          counterparty in a given account exceeds a specified threshold, which
such events through controls and oversight, there may still be failures      typically ranges from zero to $250,000 depending on the counterparty
that could cause losses to the Fund.                                         and the type of Master Agreement. United States Treasury Bills and
                                                                             U.S. dollar cash are generally the preferred forms of collateral, although
Cyber Security Risk As the use of technology has become more                 other securities may be used depending on the terms outlined in the
prevalent in the course of business, the Funds have become potentially       applicable Master Agreement. Securities and cash pledged as collateral

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are reflected as assets on the Statements of Assets and Liabilities as        equity securities between a Fund and selected counterparties. The
either a component of Investments at value (securities) or Deposits with      arrangements provide guidelines surrounding the rights, obligations,
counterparty. Cash collateral received is not typically held in a             and other events, including, but not limited to, margin, execution, and
segregated account and as such is reflected as a liability on the             settlement. These agreements maintain provisions for, among other
Statements of Assets and Liabilities as Deposits from counterparty. The       things, payments, maintenance of collateral, events of default, and
market value of any securities received as collateral is not reflected as a   termination. Margin and other assets delivered as collateral are
component of NAV. A Fund’s overall exposure to counterparty risk can          typically in the possession of the prime broker and would offset any
change substantially within a short period, as it is affected by each         obligations due to the prime broker. The market values of listed options
transaction subject to the relevant Master Agreement.                         and securities sold short and related collateral are disclosed in the
                                                                              Notes to Schedules of Investments.
Master Repurchase Agreements and Global Master Repurchase
Agreements (individually and collectively “Master Repo Agreements”)           International Swaps and Derivatives Association, Inc. Master Agreements
govern repurchase, reverse repurchase, and certain sale-buyback               and Credit Support Annexes (“ISDA Master Agreements”) govern bilateral
transactions between a Fund and select counterparties. Master Repo            OTC derivative transactions entered into by a Fund with select
                                                                              counterparties. ISDA Master Agreements maintain provisions for general
Agreements maintain provisions for, among other things, initiation,
                                                                              obligations, representations, agreements, collateral posting and events of
income payments, events of default, and maintenance of collateral. The
                                                                              default or termination. Events of termination include conditions that may
market value of transactions under the Master Repo Agreement,
                                                                              entitle counterparties to elect to terminate early and cause settlement of
collateral pledged or received, and the net exposure by counterparty as
                                                                              all outstanding transactions under the applicable ISDA Master Agreement.
of period end are disclosed in the Notes to Schedules of Investments.
                                                                              Any election to terminate early could be material to the financial
Master Securities Forward Transaction Agreements (“Master Forward             statements. The ISDA Master Agreement may contain additional
Agreements”) govern certain forward settling transactions, such as TBA        provisions that add counterparty protection beyond coverage of existing
securities, delayed-delivery or certain sale-buyback transactions by and      daily exposure if the counterparty has a decline in credit quality below a
between a Fund and select counterparties. The Master Forward                  predefined level or as required by regulation. Similarly, if required by
Agreements maintain provisions for, among other things, transaction           regulation, the Funds may be required to post additional collateral beyond
initiation and confirmation, payment and transfer, events of default,         coverage of daily exposure. These amounts, if any, may (or if required by
termination, and maintenance of collateral. The market value of               law, will) be segregated with a third-party custodian. To the extent the
forward settling transactions, collateral pledged or received, and the        Funds are required by regulation to post additional collateral beyond
net exposure by counterparty as of period end is disclosed in the Notes       coverage of daily exposure, it could potentially incur costs, including in
to Schedules of Investments.                                                  procuring eligible assets to meet collateral requirements, associated with
                                                                              such posting. The market value of OTC financial derivative instruments,
Customer Account Agreements and related addenda govern cleared                collateral received or pledged, and net exposure by counterparty as of
derivatives transactions such as futures, options on futures, and cleared     period end are disclosed in the Notes to Schedules of Investments.
OTC derivatives. Such transactions require posting of initial margin as
                                                                              9. FEES AND EXPENSES
determined by each relevant clearing agency which is segregated in an
account at a futures commission merchant (“FCM”) registered with the          (a) Investment Advisory Fee PIMCO is a majority-owned subsidiary of
Commodity Futures Trading Commission. In the United States,                   Allianz Asset Management of America L.P. (“Allianz Asset
counterparty risk may be reduced as creditors of an FCM cannot have a         Management”) and serves as the Adviser to the Trust, pursuant to an
claim to Fund assets in the segregated account. Portability of exposure       investment advisory contract. The Adviser receives a monthly fee from
reduces risk to the Funds. Variation margin, or changes in market             each Fund at an annual rate based on average daily net assets (the
value, are generally exchanged daily, but may not be netted between           “Investment Advisory Fee”). The Investment Advisory Fee for all classes
futures and cleared OTC derivatives unless the parties have agreed to a       is charged at an annual rate as noted in the table in note (b) below.
separate arrangement in respect of portfolio margining. The market            (b) Supervisory and Administrative Fee PIMCO serves as administrator
value or accumulated unrealized appreciation (depreciation), initial          (the “Administrator”) and provides supervisory and administrative
margin posted, and any unsettled variation margin as of period end are        services to the Trust for which it receives a monthly supervisory and
disclosed in the Notes to Schedules of Investments.                           administrative fee based on each share class’s average daily net assets
                                                                              (the “Supervisory and Administrative Fee”). As the Administrator, PIMCO
Prime Broker Arrangements may be entered into to facilitate execution
                                                                              bears the costs of various third-party services, including audit, custodial,
and/or clearing of listed equity option transactions or short sales of
                                                                              portfolio accounting, legal, transfer agency and printing costs.

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The Investment Advisory Fees and Supervisory and Administrative Fees for all classes, as applicable, are charged at the annual rate as noted in the
following table (calculated as a percentage of each Fund’s average daily net assets attributable to each class):
                                                           Investment Advisory Fee                                      Supervisory and Administrative Fee
                                                                                             Institutional                         Administrative
 Fund Name                                                         All Classes                   Class          I-2        I-3          Class        Class A        Class C     Class C-2
 PIMCO Credit Opportunities Bond Fund                                0.60%                      0.30%         0.40%      0.50%(2)*          N/A         0.45%       0.45%            N/A
 PIMCO Diversified Income Fund                                       0.45%                      0.30%         0.40%      0.50%(2)        0.30%          0.45%       0.45%            N/A
 PIMCO ESG Income Fund                                               0.25%                      0.25%         0.35%      0.45%(3)           N/A         0.40%       0.40%            N/A
 PIMCO High Yield Spectrum Fund                                      0.30%                      0.30%         0.40%      0.50%(2)           N/A         0.40%       0.40%            N/A
 PIMCO Long-Term Credit Bond Fund                                    0.30%                      0.25%         0.35%         N/A             N/A         0.40%*         N/A           N/A
 PIMCO Low Duration Credit Fund                                      0.40%                      0.30%         0.40%         N/A             N/A         0.35%       0.35%            N/A
 PIMCO Low Duration Income Fund                                      0.30%                      0.20%         0.30%      0.40%(2)           N/A         0.35%       0.35%         0.35%
 PIMCO Preferred and Capital Securities Fund(1)                      0.44%                      0.35%         0.45%      0.55%(2)           N/A         0.45%       0.45%            N/A

(1)   PIMCO has contractually agreed to waive the Fund’s Investment Advisory Fee and the supervisory and administrative fee in an amount equal to the management fee and
      administrative services fee, respectively, paid by the PIMCO Capital Securities Fund (Cayman) Ltd. (the “Subsidiary”) to PIMCO. The Subsidiary pays PIMCO a management fee and an
      administrative services fee at the annual rates of 0.49% and 0.20%, respectively, of its net assets. This waiver may not be terminated by PIMCO and will remain in effect for as long
      as PIMCO’s contract with the Subsidiary is in place.
(2)   PIMCO has contractually agreed, through July 31, 2021, to waive its supervisory and administrative fee for I-3 shares by 0.05% of the average daily net assets attributable to I-3
      shares of the Fund.
(3)   PIMCO has contractually agreed, through July 31, 2022, to waive its supervisory and administrative fee for I-3 shares by 0.05% of the average daily net assets attributable to I-3
      shares of the Fund.
*     This particular share class has been registered with the SEC, but has not yet launched.

                                                                                                                                                                Allowable Rate
(c) Distribution and Servicing Fees PIMCO Investments LLC, a wholly-                                                                                   Distribution Fee      Servicing Fee
owned subsidiary of PIMCO, serves as the distributor (“Distributor”) of                           Class A
the Trust’s shares.                                                                                 All Funds                                                  —                0.25%
                                                                                                  Class C
The Trust has adopted separate Distribution and Servicing Plans with                                PIMCO Low Duration Income Fund                          0.30%               0.25%
                                                                                                    All Other Funds                                         0.75%               0.25%
respect to the Class A, Class C and Class C-2 shares of the Trust pursuant
                                                                                                  Class C-2
to Rule 12b-1 under the Act. In connection with the distribution of                                 PIMCO Low Duration Income Fund                          0.50%               0.25%
Class C and Class C-2 shares of the Trust, the Distributor receives
                                                                                                                                                      Distribution and/or Servicing Fee
distribution fees from the Trust of up to 0.75% for Class C shares and
                                                                                                  Administrative Class
0.50% for Class C-2 shares, and in connection with personal services                                All Funds                                                        0.25%
rendered to Class A, Class C and Class C-2 shareholders and the
maintenance of such shareholder accounts, the Distributor receives                               The Distributor also received the proceeds of the initial sales charges
servicing fees from the Trust of up to 0.25% for each of Class A, Class C                        paid by the shareholders upon the purchase of Class A shares, except
and Class C-2 shares (percentages reflect annual rates of the average                            for the PIMCO Short Asset Investment Fund, and the contingent
daily net assets attributable to the applicable class).                                          deferred sales charges paid by the shareholders upon certain
                                                                                                 redemptions of Class A, Class C and Class C-2 shares, except for the
The Trust has adopted a Distribution and Servicing Plan with respect to
                                                                                                 PIMCO Government Money Market Fund and the PIMCO Short Asset
the Administrative Class shares of each Fund pursuant to Rule 12b-1
                                                                                                 Investment Fund. For the period ended March 31, 2021, the Distributor
under the Act (the “Administrative Class Plan”). Under the terms of the
                                                                                                 retained $5,518,745 representing commissions (sales charges) and
Administrative Class Plan, a Fund may compensate the Distributor for
                                                                                                 contingent deferred sales charges from the Trust.
providing, or procuring through financial intermediaries, distribution,
administrative, recordkeeping, shareholder and/or related services with                          (d) Redemption Fees Shareholders of the PIMCO Low Duration Credit
respect to Administrative Class shares. The Administrative Class Plan                            Fund are subject to a redemption fee on redemptions and exchanges of
permits a Fund to make total payments at an annual rate of up to                                 1.00% of the NAV of the PIMCO Low Duration Credit Fund shares
0.25% of the average daily net assets attributable to the                                        redeemed or exchanged. Redemption fees are charged on shares
Administrative Class shares.                                                                     redeemed or exchanged within 30 days after their acquisition, including
                                                                                                 shares acquired through exchanges. Under certain circumstances, the
The Trust paid distribution and servicing fees at effective rates as noted
                                                                                                 redemption fee may be waived. Actual redemption fees charged are
in the following table (calculated as a percentage of each Fund’s
                                                                                                 reported on the Statements of Changes in Net Assets.
average daily net assets attributable to each class):

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                                                                                                                                                                      March 31, 2021



(e) Fund Expenses PIMCO provides or procures supervisory and                                 net assets per share class, as disclosed on the Financial Highlights, may
administrative services for shareholders and also bears the costs of                         differ from the annual fund operating expenses per share class.
various third-party services required by the Funds, including audit,
                                                                                             The Trust pays no compensation directly to any Trustee or any other
custodial, portfolio accounting, legal, transfer agency and printing
                                                                                             officer who is affiliated with the Administrator, all of whom receive
costs. The Trust is responsible for the following expenses: (i) taxes and
                                                                                             remuneration for their services to the Trust from the Administrator or
governmental fees; (ii) brokerage fees and commissions and other
                                                                                             its affiliates.
portfolio transaction expenses; (iii) the costs of borrowing money,
including interest expenses; (iv) fees and expenses of the Trustees who                      (f) Expense Limitation Pursuant to the Expense Limitation Agreement,
are not “interested persons” of PIMCO or the Trust, and any counsel                          PIMCO has agreed to waive a portion of the Funds’ Supervisory and
retained exclusively for their benefit (except the PIMCO All Asset and                       Administrative Fee, or reimburse each Fund, to the extent that each
PIMCO All Asset All Authority Funds); (v) extraordinary expense,                             Fund’s organizational expenses, pro rata share of expenses related to
including costs of litigation and indemnification expenses;                                  obtaining or maintaining a Legal Entity Identifier and pro rata share of
(vi) organizational expenses; and (vii) any expenses allocated or                            Trustee Fees exceed 0.0049%, the “Expense Limit” (calculated as a
allocable to a specific class of shares, which include service fees                          percentage of each Fund’s average daily net assets attributable to each
payable with respect to the Administrative Class Shares, and may                             class). The Expense Limitation Agreement will automatically renew for
include certain other expenses as permitted by the Trust’s Multi-Class                       one-year terms unless PIMCO provides written notice to the Trust at
Plan adopted pursuant to Rule 18f-3 under the Act and subject to                             least 30 days prior to the end of the then current term.
review and approval by the Trustees. The ratio of expenses to average

Prior to July 31, 2018, PIMCO had contractually agreed to reduce its Investment Advisory Fee for the PIMCO Low Duration Income Fund. In any
month in which the supervision and administration agreement is in effect, PIMCO is entitled to reimbursement by each Fund of any portion of the
supervisory and administrative fee waived or reimbursed as set forth above (the “Reimbursement Amount”) during the previous thirty-six months
from the date of the waiver, provided that such amount paid to PIMCO will not: i) together with any organizational expenses, pro rata share of
expenses related to obtaining or maintaining a Legal Entity Identifier and pro rata Trustee fees, exceed, for such month, the Expense Limit (or the
amount of the expense limit in place at the time the amount being recouped was originally waived if lower than the Expense Limit); ii) exceed the
total Reimbursement Amount; or iii) include any amounts previously reimbursed to PIMCO. The total recoverable amounts to PIMCO (from the Fee
Waiver Agreement and Expense Limitation Agreement combined) at March 31, 2021, were as follows (amounts in thousands†):
                                                                               Expiring Within
Fund Name                                                  12 months          13-24 months          25-36 months          Total
PIMCO ESG Income Fund                                        $     0                $ 0                 $ 97             $ 97
PIMCO Low Duration Income Fund                                   182                  30                  35               247

†   A zero balance may reflect actual amounts rounding to less than one thousand.

Pursuant to a Fee Waiver Agreement, PIMCO has contractually agreed,                          The waivers are reflected on the Statements of Operations as a
through July 31, 2021, to reduce its supervisory and administrative fee                      component of Waiver and/or Reimbursement by PIMCO. For the period
for I-3 shares by 0.05% of the average daily net assets attributable to                      ended March 31, 2021, the Funds below waived the following fees
I-3 shares of each of the PIMCO Credit Opportunities Bond Fund,                              (amounts in thousands†):
PIMCO Diversified Income Fund, PIMCO High Yield Spectrum Fund,                               Fund Name                                                Waived Fees
PIMCO Low Duration Income Fund and PIMCO Preferred and Capital                               PIMCO Diversified Income Fund                                $ 12
Securities Fund. This Fee Waiver Agreement will automatically renew                          PIMCO ESG Income Fund                                           0
for one-year terms unless PIMCO provides written notice to the Trust at                      PIMCO High Yield Spectrum Fund                                  0
                                                                                             PIMCO Low Duration Income Fund                                 23
least 30 days prior to the end of the then current term.
                                                                                             PIMCO Preferred and Capital Securities Fund                    19

Pursuant to a Fee Waiver Agreement, PIMCO has contractually agreed,                          †   A zero balance may reflect actual amounts rounding to less than one thousand.
through July 31, 2022, to reduce its supervisory and administrative fee
for I-3 shares of the PIMCO ESG Income Fund. This Fee Waiver                                 (g) Acquired Fund Fees and Expenses PIMCO Capital Securities Fund
Agreement will automatically renew for one-year terms unless PIMCO                           (Cayman) Ltd. (the “Subsidiary”), has entered into a separate contract with
provides written notice to the Trust at least 30 days prior to the end of                    PIMCO for the management of the Subsidiary’s portfolio pursuant to which
the then current term.                                                                       the Subsidiary pays PIMCO a management fee and administrative services fee

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Notes to Financial Statements (Cont.)

at the annual rates of 0.49% and 0.20%, respectively, of its net assets.             be made against the Funds that have not yet occurred. However, the
PIMCO has contractually agreed to waive the Investment Advisory Fee and              Funds have not had prior claims or losses pursuant to these contracts.
the Supervisory and Administrative Fees it receives from the Subsidiary in an
amount equal to the management fee and administrative services fee,                  12. PURCHASES AND SALES OF SECURITIES
respectively, paid to PIMCO by the Subsidiary. This waiver may not be                The length of time a Fund has held a particular security is not generally
terminated by PIMCO and will remain in effect for as long as PIMCO’s                 a consideration in investment decisions. A change in the securities held
contract with the Subsidiary is in place. The waiver is reflected on the             by a Fund is known as “portfolio turnover.” Each Fund may engage in
Statements of Operations as a component of Waiver and/ or Reimbursement              frequent and active trading of portfolio securities to achieve its
                                                                                     investment objective, particularly during periods of volatile market
by PIMCO. During the period ended March 31, 2021, the amount was $
                                                                                     movements. High portfolio turnover may involve correspondingly
1,724,700. See Note 14, Basis for Consolidation in the Notes to Financial
                                                                                     greater transaction costs, including brokerage commissions or dealer
Statements for more information regarding the Subsidiary.
                                                                                     mark-ups and other transaction costs on the sale of securities and
10. RELATED PARTY TRANSACTIONS                                                       reinvestments in other securities, which are borne by the Fund. Such
                                                                                     sales may also result in realization of taxable capital gains, including
The Adviser, Administrator, and Distributor are related parties. Fees                short-term capital gains (which are generally taxed at ordinary income
paid to these parties are disclosed in Note 9, Fees and Expenses, and                tax rates when distributed to shareholders). The transaction costs
the accrued related party fee amounts are disclosed on the Statements                associated with portfolio turnover may adversely affect a Fund’s
of Assets and Liabilities.                                                           performance. The portfolio turnover rates are reported in the
                                                                                     Financial Highlights.
Certain Funds are permitted to purchase or sell securities from or to
certain related affiliated funds under specified conditions outlined in              Purchases and sales of securities (excluding short-term investments) for
procedures adopted by the Board. The procedures have been designed                   the period ended March 31, 2021, were as follows (amounts
to ensure that any purchase or sale of securities by the Funds from or               in thousands†):
to another fund or portfolio that are, or could be, considered an                                                 U.S. Government/Agency                 All Other
                                                                                     Fund Name                    Purchases         Sales         Purchases       Sales
affiliate, or an affiliate of an affiliate, by virtue of having a common
                                                                                     PIMCO Credit
investment adviser (or affiliated investment advisers), common Trustees                Opportunities
and/or common officers complies with Rule 17a-7 under the Act.                         Bond Fund               $     83,079 $    88,804 $ 265,703 $ 213,604
Further, as defined under the procedures, each transaction is effected               PIMCO Diversified
                                                                                       Income Fund                4,464,894   4,959,012  1,644,837   462,831
at the current market price. Purchases and sales of securities pursuant              PIMCO ESG Income Fund           21,101      15,745     26,165       441
to Rule 17a-7 under the Act for the period ended March 31, 2021,                     PIMCO High Yield
                                                                                       Spectrum Fund                      0      10,863    248,531   128,685
were as follows (amounts in thousands†):
                                                                                     PIMCO Long-Term Credit
Fund Name                                                Purchases          Sales      Bond Fund                  3,086,406   3,046,413  1,466,097 1,711,353
PIMCO Credit Opportunities Bond Fund                     $     5,923     $ 37,515    PIMCO Low Duration
                                                                                       Credit Fund                        0           0    789,704   723,327
PIMCO Diversified Income Fund                                 66,739         3,433
                                                                                     PIMCO Low Duration
PIMCO High Yield Spectrum Fund                                14,707        27,363     Income Fund               33,877,315 33,048,711   2,610,700 1,918,816
PIMCO Long-Term Credit Bond Fund                              92,205       788,808   PIMCO Preferred and
PIMCO Low Duration Credit Fund                                38,457       173,017     Capital Securities Fund            0           0  1,245,726   929,315
PIMCO Low Duration Income Fund                               422,929       374,917
                                                                                     †   A zero balance may reflect actual amounts rounding to less than one thousand.
PIMCO Preferred and Capital Securities Fund                  107,430       199,932

†   A zero balance may reflect actual amounts rounding to less than one thousand.

11. GUARANTEES AND INDEMNIFICATIONS
Under the Trust’s organizational documents, each Trustee or officer of
the Trust is indemnified and each employee or other agent of the Trust
(including the Trust’s investment manager) may be indemnified, to the
extent permitted by the Act, against certain liabilities that may arise out
of performance of their duties to the Funds. Additionally, in the normal
course of business, the Funds enter into contracts that contain a variety
of indemnification clauses. The Funds’ maximum exposure under these
arrangements is unknown as this would involve future claims that may

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13. SHARES OF BENEFICIAL INTEREST
The Trust may issue an unlimited number of shares of beneficial interest with a $0.01 par value. Changes in shares of beneficial interest were as
follows (shares and amounts in thousands†):
                                                        PIMCO                                                   PIMCO                                     PIMCO
                                             Credit Opportunities Bond Fund                            Diversified Income Fund                       ESG Income Fund
                                                                                                                                                      Inception date
                                       Year Ended                   Year Ended                 Year Ended                     Year Ended                 through
                                       03/31/2021                   03/31/2020                 03/31/2021                     03/31/2020               03/31/2021(a)
                                  Shares           Amount      Shares         Amount      Shares       Amount        Shares           Amount        Shares      Amount
Receipts for shares sold
   Institutional Class            17,386       $ 169,444       21,509     $ 214,927       165,151    $ 1,820,798    124,907       $ 1,384,119       3,584      $ 36,867
   I-2                             8,470          81,135        4,544        44,714        56,864        624,877     45,146           497,874         137         1,420
   I-3                               N/A             N/A          N/A           N/A         2,407         26,362      1,733            18,951           4            44
   Administrative Class              N/A             N/A          N/A           N/A         1,861         20,366      3,442            38,110         N/A           N/A
   Class A                         1,071          10,453        1,377        13,815        11,844        130,736     23,272           256,516           2            23
   Class C                            68             647          121         1,206         2,292         25,151      3,356            37,209          14           140
   Class C-2                         N/A             N/A          N/A           N/A           N/A            N/A        N/A               N/A         N/A           N/A
Issued as reinvestment
   of distributions
   Institutional Class               618              6,098     1,059           10,494     11,675       129,038      12,296             135,966        14            145
   I-2                               348              3,420       230            2,263      1,337        14,794         998              11,038         0              0
   I-3                               N/A                N/A       N/A              N/A         78           861          41                 457         0              0
   Administrative Class              N/A                N/A       N/A              N/A        366         4,010         694               7,675       N/A            N/A
   Class A                            69                676        79              777        943        10,408       1,301              14,396         0              0
   Class C                            12                120        17              163        170         1,871         218               2,413         0              0
   Class C-2                         N/A                N/A       N/A              N/A        N/A           N/A         N/A                 N/A       N/A            N/A
Cost of shares redeemed
   Institutional Class            (16,809)         (164,030)   (26,196)       (261,302)   (81,977)      (905,243)    (99,637)         (1,090,394)     (10)          (103)
   I-2                             (3,334)          (32,165)    (3,523)        (34,316)   (30,347)      (336,234)    (28,871)           (303,111)       0              0
   I-3                                N/A               N/A        N/A             N/A     (1,330)       (14,769)       (771)             (8,418)       0              0
   Administrative Class               N/A               N/A        N/A             N/A    (16,855)      (190,142)     (2,889)            (31,430)     N/A            N/A
   Class A                         (1,345)          (13,269)    (1,626)        (15,817)    (9,118)      (100,372)    (18,659)           (205,130)       0              0
   Class C                           (269)           (2,628)      (153)         (1,508)    (3,867)       (43,012)     (2,763)            (30,329)      (5)           (50)
   Class C-2                          N/A               N/A        N/A             N/A        N/A            N/A         N/A                 N/A      N/A            N/A
Net increase (decrease)
   resulting from Fund
   share transactions              6,285       $     59,901     (2,562)   $ (24,584)      111,494    $ 1,219,500     63,814       $     735,912     3,740      $ 38,486




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Notes to Financial Statements (Cont.)
                                                                  PIMCO                                                  PIMCO
                                                         High Yield Spectrum Fund                               Long-Term Credit Bond Fund
                                                   Year Ended                Year Ended                    Year Ended                      Year Ended
                                                   03/31/2021                03/31/2020                    03/31/2021                      03/31/2020
                                              Shares      Amount        Shares       Amount       Shares            Amount        Shares            Amount

Receipts for shares sold
   Institutional Class                        15,758     $ 150,819      11,802      $ 114,924     127,496       $ 1,657,609        74,209       $       945,065
   I-2                                        10,940       103,496       9,172         88,789       6,512            84,387        76,109               913,081
   I-3                                           321         3,226         131          1,285         N/A               N/A           N/A                   N/A
   Administrative Class                          N/A           N/A         N/A            N/A         N/A               N/A           N/A                   N/A
   Class A                                     2,000        19,050       2,616         25,490         N/A               N/A           N/A                   N/A
   Class C                                       143         1,341         212          2,080         N/A               N/A           N/A                   N/A
   Class C-2                                     N/A           N/A         N/A            N/A         N/A               N/A           N/A                   N/A
Issued as reinvestment of distributions
   Institutional Class                           556            5,350    2,128          20,777     20,005               265,843    13,375               169,882
   I-2                                           991            9,549    1,026           9,948        845                11,228     2,819                36,025
   I-3                                             4               44        5              44        N/A                   N/A       N/A                   N/A
   Administrative Class                          N/A              N/A      N/A             N/A        N/A                   N/A       N/A                   N/A
   Class A                                       254            2,431      334           3,235        N/A                   N/A       N/A                   N/A
   Class C                                        28              269       37             358        N/A                   N/A       N/A                   N/A
   Class C-2                                     N/A              N/A      N/A             N/A        N/A                   N/A       N/A                   N/A
Cost of shares redeemed
   Institutional Class                        (11,086)     (105,205)    (64,310)      (631,552)   (138,210)         (1,837,578)   (119,006)         (1,478,867)
   I-2                                         (3,876)      (37,699)    (14,477)      (135,288)    (12,780)           (168,188)    (68,705)           (804,433)
   I-3                                            (16)         (150)       (305)        (2,969)        N/A                 N/A         N/A                 N/A
   Administrative Class                           N/A           N/A         N/A            N/A         N/A                 N/A         N/A                 N/A
   Class A                                     (2,658)      (25,406)     (3,653)       (35,009)        N/A                 N/A         N/A                 N/A
   Class C                                       (445)       (4,325)       (286)        (2,716)        N/A                 N/A         N/A                 N/A
   Class C-2                                      N/A           N/A         N/A            N/A         N/A                 N/A         N/A                 N/A
Net increase (decrease) resulting from Fund
   share transactions                         12,914     $ 122,790      (55,568)    $ (540,604)      3,868      $        13,301    (21,199)     $    (219,247)




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                                                                                                                                                                               March 31, 2021


                     CREW/PIMCO                                                       PIMCO                                                            PIMCO
                 Low Duration Credit Fund                                    Low Duration Income Fund                                   Preferred and Capital Securities Fund
           Year Ended                  Year Ended                     Year Ended                        Year Ended                  Year Ended                     Year Ended
           03/31/2021                  03/31/2020                     03/31/2021                        03/31/2020                  03/31/2021                     03/31/2020
      Shares         Amount       Shares      Amount         Shares          Amount            Shares           Amount         Shares          Amount        Shares            Amount


      57,516     $ 508,572         8,053     $ 71,706       139,515        $ 1,189,071         138,482       $ 1,183,176       90,063        $ 946,468      104,274    $ 1,078,445
       1,210        11,212         1,864       18,194       220,654          1,875,382         291,656         2,494,678       15,481          164,218       28,613        298,095
         N/A           N/A           N/A          N/A        10,676             90,305           4,569            39,250        2,563           26,519        2,443         24,672
         N/A           N/A           N/A          N/A           N/A                N/A             N/A               N/A          N/A              N/A          N/A            N/A
       1,761        16,324         1,788       17,491       117,404          1,000,360         151,107         1,296,372       11,242          119,798       30,453        320,917
         176         1,637           374        3,671         8,566             72,817          12,717           108,692          758            7,969        1,463(b)      15,617(b)
         N/A           N/A           N/A          N/A           369(c)           3,203(c)          N/A               N/A          N/A              N/A          N/A            N/A

       1,364           12,505        674          6,545        6,729               57,016       10,108               86,282      3,573           38,995        2,450              25,679
          89              819        173          1,685        7,249               61,447        8,838               75,346        964           10,489        1,095              11,412
         N/A              N/A        N/A            N/A          168                1,430          266                2,275        135            1,462           90                 935
         N/A              N/A        N/A            N/A          N/A                  N/A          N/A                  N/A        N/A              N/A          N/A                 N/A
         177            1,630        343          3,332        4,365               36,987        5,458               46,542        937           10,166        1,054              11,001
          46              421        145          1,409          560                4,739          820                7,000         47              511           12(b)              131(b)
         N/A              N/A        N/A            N/A            1(c)                 9(c)       N/A                  N/A        N/A              N/A          N/A                 N/A

      (53,754)       (491,341)    (8,853)       (83,558)     (98,942)          (830,487)       (137,843)       (1,157,264)     (69,562)        (732,835)     (47,291)           (492,441)
       (1,937)        (17,814)    (3,019)       (28,964)    (152,068)        (1,281,222)       (233,999)       (1,951,013)     (12,716)        (132,374)     (17,787)           (175,055)
          N/A             N/A        N/A            N/A       (3,291)           (27,710)         (6,870)          (57,819)      (1,922)         (19,883)        (667)             (6,426)
          N/A             N/A        N/A            N/A          N/A                N/A             N/A               N/A          N/A              N/A          N/A                 N/A
       (2,168)        (19,747)    (5,260)       (50,376)     (82,399)          (696,005)       (113,424)         (958,767)     (13,550)        (142,914)     (14,737)           (148,658)
       (1,774)        (16,309)    (2,666)       (25,529)      (9,832)           (83,279)        (10,518)          (88,968)        (340)          (3,608)        (114)(b)          (1,067)(b)
          N/A             N/A        N/A            N/A            0(c)              (1)(c)         N/A               N/A          N/A              N/A          N/A                 N/A

       2,706     $      7,909     (6,384)    $ (64,394)     169,724        $ 1,474,062         121,367       $ 1,125,782       27,673        $ 294,981       91,351        $     963,257

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(a)   Inception date of the Fund was September 30, 2020.
(b)   Inception date of Class C was August 23, 2019.
(c)   Inception date of Class C-2 was October 21, 2020.

The following table discloses the number of shareholders that own 10% or more of the outstanding shares of a Fund along with their respective
percent ownership, if any, as of March 31, 2021. Some of these shareholders may be considered related parties, which may include, but are not
limited to, the investment adviser and its affiliates, affiliated broker dealers, fund of funds and directors or employees of the Trust or Adviser.
                                                                                                                Total percentage of portfolio held by
                                                              Shareholders that own 10% or more                  shareholders that own 10% or more
                                                                    of outstanding shares                               of outstanding shares
                                                            Non-Related Parties          Related Parties      Non-Related Parties         Related Parties

 PIMCO ESG Income Fund                                                 0                       1                        0%                     14%
 PIMCO Low Duration Credit Fund                                        0                       1                        0%                     30%


14. BASIS FOR CONSOLIDATION                                                                        the Subsidiary. The consolidated financial statements include the
The Subsidiary, a Cayman Islands exempted company, was                                             accounts of the PCS Fund and the Subsidiary, if any. All inter-company
incorporated on February 4, 2015, as a wholly owned subsidiary acting                              transactions and balances have been eliminated. A subscription
as an investment vehicle for the PIMCO Preferred and Capital Securities                            agreement was entered into between the PCS Fund and the Subsidiary,
Fund (the “PCS Fund”) in order to effect certain investments for the                               comprising the entire issued share capital of the Subsidiary, with the
PCS Fund consistent with the PCS Fund’s investment objectives and                                  intent that the PCS Fund will remain the sole shareholder and retain all
policies as specified in its prospectus and statement of additional                                rights. Under the Memorandum and Articles of Association, shares
information. The PCS Fund’s investment portfolio has been                                          issued by the Subsidiary confer upon a shareholder the right to receive
consolidated and includes the portfolio holdings of the PCS Fund and                               notice of, to attend and to vote at general meetings of the Subsidiary


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and shall confer upon the shareholder rights in a winding-up or                                     A Fund may be subject to local withholding taxes, including those
repayment of capital and the right to participate in the profits or assets                          imposed on realized capital gains. Any applicable foreign capital gains
of the Subsidiary. The net assets of the Subsidiary as of period end                                tax is accrued daily based upon net unrealized gains, and may be
represented 16.7% of the Fund’s consolidated net assets.                                            payable following the sale of any applicable investments.

15. REGULATORY AND LITIGATION MATTERS                                                               In accordance with U.S. GAAP, the Adviser has reviewed the Funds’ tax
The Funds are not named as defendants in any material litigation or                                 positions for all open tax years. As of March 31, 2021, the Funds have
arbitration proceedings and are not aware of any material litigation or                             recorded no liability for net unrecognized tax benefits relating to
claim pending or threatened against them.                                                           uncertain income tax positions they have taken or expect to take in
                                                                                                    future tax returns.
The foregoing speaks only as of the date of this report.
                                                                                                    The Funds file U.S. federal, state, and local tax returns as required. The
16. FEDERAL INCOME TAX MATTERS                                                                      Funds’ tax returns are subject to examination by relevant tax
Each Fund intends to qualify as a regulated investment company under                                authorities until expiration of the applicable statute of limitations,
Subchapter M of the Internal Revenue Code (the “Code”) and                                          which is generally three years after the filing of the tax return but which
distribute all of its taxable income and net realized gains, if applicable,                         can be extended to six years in certain circumstances. Tax returns for
to shareholders. Accordingly, no provision for Federal income taxes has                             open years have incorporated no uncertain tax positions that require a
been made.                                                                                          provision for income taxes.

As of March 31, 2021, the components of distributable taxable earnings are as follows (amounts in thousands†):
                                                                                                                               Qualified Qualified
                                                                                     Net Tax Basis        Other                Late-Year Late-Year
                                                        Undistributed Undistributed   Unrealized      Book-to-Tax Accumulated    Loss        Loss        Total
                                                          Ordinary     Long-Term     Appreciation/     Accounting    Capital   Deferral - Deferral - Distributable
                                                          Income(1)   Capital Gains (Depreciation)(2) Differences(3) Losses(4) Capital(5) Ordinary(6)  Earnings
PIMCO Credit Opportunities Bond Fund                       $ 5,336          $        0        $     4,530       $       (1)   $ (54,930)         $ 0         $ 0        $ (45,065)
PIMCO Diversified Income Fund                                 6,995                  0             49,454             (940)      (40,463)          0           0            15,046
PIMCO ESG Income Fund                                           115                  0                131                0           (28)          0           0               218
PIMCO High Yield Spectrum Fund                                7,673                  0              2,845             (121)      (49,699)          0           0           (39,302)
PIMCO Long-Term Credit Bond Fund                             51,319             63,791            116,501             (472)            0           0           0           231,139
PIMCO Low Duration Credit Fund                                2,166                  0              4,656              (20)      (71,835)          0           0           (65,033)
PIMCO Low Duration Income Fund                                    0                  0             38,922           (2,184)     (200,810)          0           0          (164,072)
PIMCO Preferred and Capital Securities Fund                  15,789             16,238             81,106                0             0           0           0           113,133

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(1)   Includes undistributed short-term capital gains, if any.
(2)   Adjusted for open wash sale loss deferrals and the accelerated recognition of unrealized gain or loss on certain futures, options and forward contracts for federal income tax
      purposes. Also adjusted for differences between book and tax realized and unrealized gain (loss) on swap contracts, sale/buyback transactions, interest accrued on defaulted
      securities, straddle loss deferrals, hyperinflationary investments, Passive Foreign Investment Companies (PFICs), and partnership investments.
(3)   Represents differences in income tax regulations and financial accounting principles generally accepted in the United States of America, mainly for organizational costs and
      distributions payable at fiscal year-end.
(4)   Capital losses available to offset future net capital gains expire in varying amounts as shown below.
(5)   Capital losses realized during the period November 1, 2020 through March 31, 2021 which the Funds elected to defer to the following taxable year pursuant to income tax regulations.
(6)   Specified losses realized during the period November 1, 2020 through March 31, 2021 and Ordinary losses realized during the period January 1, 2021 through March 31, 2021,
      which the Funds elected to defer to the following taxable year pursuant to income tax regulations.

Under the Regulated Investment Company Modernization Act of 2010, a fund is permitted to carry forward any new capital losses for an unlimited
period. Additionally, such capital losses that are carried forward will retain their character as either short-term or long-term capital losses rather
than being considered all short-term under previous law.

As of March 31, 2021, the Funds had the following post-effective capital losses with no expiration (amounts in thousands†):
                                                                 Short-Term          Long-Term
PIMCO Credit Opportunities Bond Fund*                             $ 30,937               $ 23,993
PIMCO Diversified Income Fund                                       30,282                 10,181
PIMCO ESG Income Fund                                                   28                      0



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                                                                                                                                                                                  March 31, 2021


                                                                  Short-Term           Long-Term
PIMCO High Yield Spectrum Fund*                                     $      203          $ 49,496
PIMCO Long-Term Credit Bond Fund                                             0                  0
PIMCO Low Duration Credit Fund*                                          1,959             69,876
PIMCO Low Duration Income Fund                                          61,817            138,993
PIMCO Preferred and Capital Securities Fund                                  0                  0

†     A zero balance may reflect actual amounts rounding to less than one thousand.
*     Portion of amount represents realized loss and recognized built-in loss under IRC 382-83, which is carried forward to future years to offset future realized gain subject to
      certain limitations.

As of March 31, 2021, the aggregate cost and the net unrealized appreciation/(depreciation) of investments for federal income tax purposes are as
follows (amounts in thousands†):

                                                                                                                                         Net Unrealized
                                                                      Federal             Unrealized             Unrealized              Appreciation/
                                                                      Tax Cost           Appreciation          (Depreciation)           (Depreciation)(7)
PIMCO Credit Opportunities Bond Fund                              $       403,204         $ 14,310               $     (9,782)             $     4,528
PIMCO Diversified Income Fund                                           5,502,197           185,472                  (135,002)                  50,470
PIMCO ESG Income Fund                                                      37,186               421                      (286)                     135
PIMCO High Yield Spectrum Fund                                            468,578            16,897                   (13,889)                   3,008
PIMCO Long-Term Credit Bond Fund                                        4,227,442           256,380                  (138,847)                 117,533
PIMCO Low Duration Credit Fund                                            286,772             6,108                    (1,281)                   4,827
PIMCO Low Duration Income Fund                                          8,833,018           300,488                  (258,698)                  41,790
PIMCO Preferred and Capital Securities Fund                             1,852,658            90,069                    (8,204)                  81,865

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(7)   Primary differences, if any, between book and tax net unrealized appreciation/(depreciation) are attributable to open wash sale loss deferrals, unrealized gain or loss on certain
      futures, options and forward contracts, realized and unrealized gain (loss) swap contracts, sale/buyback transactions, interest accrued on defaulted securities, straddle loss deferrals,
      hyperinflationary investments, Passive Foreign Investment Companies (PFICs), and partnership investments.

For the fiscal years ended March 31, 2021 and March 31, 2020, respectively, the Funds made the following tax basis distributions (amounts
in thousands†):
                                                                                      March 31, 2021                                                     March 31, 2020
                                                                     Ordinary              Long-Term                                  Ordinary               Long-Term
                                                                      Income              Capital Gain           Return of             Income               Capital Gain         Return of
                                                                  Distributions(8)        Distributions          Capital(9)        Distributions(8)         Distributions        Capital(9)
PIMCO Credit Opportunities Bond Fund                                  $ 13,801              $        0           $        0          $ 16,000                   $ 0                  $ 0
PIMCO Diversified Income Fund                                           171,361                      0                    0            185,589                    0                    0
PIMCO ESG Income Fund                                                       145                      0                    0                  0                    0                    0
PIMCO High Yield Spectrum Fund                                           18,960                      0                    0             35,915                    0                    0
PIMCO Long-Term Credit Bond Fund                                        191,241                 98,003                    0            213,296                    0                    0
PIMCO Low Duration Credit Fund                                           15,555                      0                    0             13,664                    0                    0
PIMCO Low Duration Income Fund                                          152,870                      0               35,601            259,370                    0                    0
PIMCO Preferred and Capital Securities Fund                              66,842                    161                    0             49,804                    0                    0

†     A zero balance may reflect actual amounts rounding to less than one thousand.
(8)   Includes short-term capital gains distributed, if any.
(9)   A portion of the distributions made represents a tax return of capital. Return of capital distributions have been reclassified from undistributed net investment income to paid-in capital
      to more appropriately conform financial accounting to tax accounting.

17. SUBSEQUENT EVENTS
On February 10, 2021, the Board approved a proposal to change the name of the PIMCO Senior Floating Rate Fund to PIMCO Low Duration Credit
Fund. The name change occurred on May 3, 2021.

Effective May 3, 2021, any redemptions of PIMCO Low Duration Credit Fund shares will no longer be subject to a redemption fee.

There were no other subsequent events identified that require recognition or disclosure.



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Report of Independent Registered Public Accounting Firm

To the Board of Trustees of PIMCO Funds and Shareholders of PIMCO Credit Opportunities Bond Fund, PIMCO
Diversified Income Fund, PIMCO ESG Income Fund, PIMCO High Yield Spectrum Fund, PIMCO Long-Term Credit Bond
Fund, PIMCO Low Duration Credit Fund, PIMCO Low Duration Income Fund and PIMCO Preferred and Capital
Securities Fund
Opinions on the Financial Statements
We have audited the accompanying statements of assets and liabilities, including the schedules of investments, of each of the funds indicated in the
table below (eight of the funds constituting PIMCO Funds, hereafter collectively referred to as the “Funds”) as of March 31, 2021, the related
statements of operations, of cash flows for PIMCO Long-Term Credit Bond Fund and PIMCO Low Duration Credit Fund, and of changes in net assets
for each of the periods indicated in the table below, including the related notes, and the financial highlights for each of the periods indicated in the
table below (collectively referred to as the “financial statements”). In our opinion, the financial statements present fairly, in all material respects, the
financial position of each of the Funds as of March 31, 2021, the results of each of their operations and each of the cash flows for PIMCO Long-
Term Credit Bond Fund and PIMCO Low Duration Credit Fund, the changes in each of their net assets, and each of the financial highlights for each
of the periods indicated in the table below, in conformity with accounting principles generally accepted in the United States of America.
PIMCO Credit Opportunities Bond Fund(1)
PIMCO Diversified Income Fund(2)
PIMCO ESG Income Fund(3)
PIMCO High Yield Spectrum Fund(2)
PIMCO Long-Term Credit Bond Fund(4)
PIMCO Low Duration Credit Fund(4)
PIMCO Low Duration Income Fund(2)
PIMCO Preferred and Capital Securities Fund(2)
(1)   Statement of operations for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the financial highlights for the
      years ended March 31, 2021, 2020, 2019, 2018 and 2017
(2)   Statement of operations for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the financial highlights for each
      of the periods indicated therein
(3)   Statement of operations, statement of changes in net assets and the financial highlights for the period September 30, 2020 (inception date) through March 31, 2021
(4)   Statement of operations and statement of cash flows for the year ended March 31, 2021, statement of changes in net assets for the years ended March 31, 2021 and 2020 and the
      financial highlights for the years ended March 31, 2021, 2020, 2019, 2018 and 2017

Basis for Opinions
These financial statements are the responsibility of the Funds’ management. Our responsibility is to express an opinion on the Funds’ financial
statements based on our audits. We are a public accounting firm registered with the Public Company Accounting Oversight Board (United States)
(PCAOB) and are required to be independent with respect to the Funds in accordance with the U.S. federal securities laws and the applicable rules
and regulations of the Securities and Exchange Commission and the PCAOB.
We conducted our audits of these financial statements in accordance with the standards of the PCAOB. Those standards require that we plan and perform
the audit to obtain reasonable assurance about whether the financial statements are free of material misstatement, whether due to error or fraud.
Our audits included performing procedures to assess the risks of material misstatement of the financial statements, whether due to error or fraud,
and performing procedures that respond to those risks. Such procedures included examining, on a test basis, evidence regarding the amounts and
disclosures in the financial statements. Our audits also included evaluating the accounting principles used and significant estimates made by
management, as well as evaluating the overall presentation of the financial statements. Our procedures included confirmation of securities owned
as of March 31, 2021 by correspondence with the custodian, transfer agent, brokers and agent banks; when replies were not received from brokers
or agent banks, we performed other auditing procedures. We believe that our audits provide a reasonable basis for our opinions.

/s/ PricewaterhouseCoopers LLP
Kansas City, Missouri
May 27, 2021

We have served as the auditor of one or more investment companies in PIMCO Funds since 1987.

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Glossary: (abbreviations that may be used in the preceding statements)                                                                                             (Unaudited)



Counterparty Abbreviations:
AZD         Australia and New Zealand Banking Group    FBF         Credit Suisse International                   NGF         Nomura Global Financial Products, Inc.
BCY         Barclays Capital, Inc.                     FICC        Fixed Income Clearing Corporation             NOM         Nomura Securities International Inc.
BOA         Bank of America N.A.                       FOB         Credit Suisse Securities (USA) LLC            NXN         Natixis New York
BOM         Bank of Montreal                           GLM         Goldman Sachs Bank USA                        RBC         Royal Bank of Canada
BPG         BNP Paribas Securities Corp.               GSC         Goldman Sachs & Co. LLC                       RYL         NatWest Markets Plc
BPS         BNP Paribas S.A.                           GST         Goldman Sachs International                   SAL         Citigroup Global Markets, Inc.
BRC         Barclays Bank PLC                          HUS         HSBC Bank USA N.A.                            SBI         Citigroup Global Markets Ltd.
BSH         Banco Santander S.A. - New York Branch     IND         Crédit Agricole Corporate and Investment      SCX         Standard Chartered Bank, London
                                                                      Bank S.A.
BSN         The Bank of Nova Scotia - Toronto          JML         JP Morgan Securities Plc                      SOG         Societe Generale Paris
CBK         Citibank N.A.                              JPM         JP Morgan Chase Bank N.A.                     SSB         State Street Bank and Trust Co.
DBL         Deutsche Bank AG London                    JPS         J.P. Morgan Securities LLC                    TDM         TD Securities (USA) LLC
DEU         Deutsche Bank Securities, Inc.             MEI         Merrill Lynch International                   TOR         The Toronto-Dominion Bank
DUB         Deutsche Bank AG                           MYC         Morgan Stanley Capital Services LLC           UAG         UBS AG Stamford
FAR         Wells Fargo Bank National Association      MYI         Morgan Stanley & Co. International PLC        UBS         UBS Securities LLC
Currency Abbreviations:
ARS         Argentine Peso                             DOP         Dominican Peso                                NOK        Norwegian Krone
AUD         Australian Dollar                          EUR         Euro                                          PEN        Peruvian New Sol
BRL         Brazilian Real                             GBP         British Pound                                 PLN        Polish Zloty
CAD         Canadian Dollar                            HKD         Hong Kong Dollar                              RUB        Russian Ruble
CLP         Chilean Peso                               HUF         Hungarian Forint                              SEK        Swedish Krona
CNH         Chinese Renminbi (Offshore)                IDR         Indonesian Rupiah                             TRY        Turkish New Lira
CNY         Chinese Renminbi (Mainland)                INR         Indian Rupee                                  USD (or $) United States Dollar
COP         Colombian Peso                             JPY         Japanese Yen                                  ZAR        South African Rand
DKK         Danish Krone                               MXN         Mexican Peso
Exchange Abbreviations:
CME         Chicago Mercantile Exchange                OTC         Over the Counter
Index/Spread Abbreviations:
BADLARPP Argentina Badlar Floating Rate Notes          CMBX        Commercial Mortgage-Backed Index              RUONIA      Ruble Overnight Index Average
BBSW3M 3 Month Bank Bill Swap Rate                     CNREPOFIX   China Fixing Repo Rates 7-Day                 SONIO       Sterling Overnight Interbank Average Rate
CDX.EM   Credit Derivatives Index - Emerging Markets   EUR003M     3 Month EUR Swap Rate                         UKRPI       United Kingdom Retail Prices Index
CDX.HY   Credit Derivatives Index - High Yield         H15T1Y      1 Year US Treasury Yield Curve Constant       US0003M     ICE 3-Month USD LIBOR
                                                                      Maturity Rate
CDX.IG   Credit Derivatives Index - Investment Grade   LIBOR03M    3 Month USD-LIBOR                             US0006M ICE 6-Month USD LIBOR
CDX.MCDX Credit Derivatives Index - Municipal Bond     PRIME       Daily US Prime Rate
           Credit Derivative Index
Other Abbreviations:
ABS         Asset-Backed Security                      CDO         Collateralized Debt Obligation                OIS         Overnight Index Swap
ALT         Alternate Loan Trust                       CLO         Collateralized Loan Obligation                PIK         Payment-in-Kind
BABs        Build America Bonds                        CMBS        Collateralized Mortgage-Backed Security       REMIC       Real Estate Mortgage Investment Conduit
BBR         Bank Bill Rate                             DAC         Designated Activity Company                   RMBS        Residential Mortgage-Backed Security
BBSW        Bank Bill Swap Reference Rate              EURIBOR     Euro Interbank Offered Rate                   TBA         To-Be-Announced
BTP         Buoni del Tesoro Poliennali “Long-term     JIBAR       Johannesburg Interbank Agreed Rate            TBD         To-Be-Determined
               Treasury Bond”
CBO         Collateralized Bond Obligation             LIBOR       London Interbank Offered Rate                 TBD%        Interest rate to be determined when loan
                                                                                                                                settles or at the time of funding
CDI         Brazil Interbank Deposit Rate              Lunar       Monthly payment based on 28-day               TIIE        Tasa de Interés Interbancaria de Equilibrio
                                                                     periods. One year consists of 13 periods.                  “Equilibrium Interbank Interest Rate”




                                                                                                                           ANNUAL REPORT | MARCH 31, 2021 181
Federal Income Tax Information                                                                                                                 (Unaudited)



As required by the Internal Revenue Code (“Code”) and Treasury Regulations, if applicable, shareholders must be notified within 60 days of the
Funds’ fiscal year end regarding the status of qualified dividend income and the dividend received deduction.

Dividend Received Deduction. Corporate shareholders are generally entitled to take the dividend received deduction on the portion of a Funds’
dividend distribution that qualifies under tax law. The percentage of the following Funds’ Fiscal 2021 ordinary income dividend that qualifies for the
corporate dividend received deduction is set forth below:

Qualified Dividend Income. Under the Jobs and Growth Tax Relief Reconciliation Act of 2003, the following percentage of ordinary dividends paid
during the fiscal year ended March 31, 2021 was designated as ‘qualified dividend income’ as defined in the Jobs and Growth Tax Relief
Reconciliation Act of 2003 subject to reduced tax rates in 2021:

Qualified Interest Income and Qualified Short-Term Capital Gain (for non-U.S. resident shareholders only). Under the American Jobs Creation
Act of 2004, the following amounts of ordinary dividends paid during the fiscal year ended March 31, 2021 are considered to be derived from
“qualified interest income,” as defined in Section 871(k)(1)(E) of the Code, and therefore are designated as interest-related dividends, as defined in
Section 871(k)(1)(C) of the Code. Further, the following amounts of ordinary dividends paid during the fiscal year ended March 31, 2021 are
considered to be derived from “qualified short-term capital gain,” as defined in

Section 871(k)(2)(D) of the Code, and therefore are designated as qualified short-term gain dividends, as defined by Section 871(k)(2)(C) of
the Code.
                                                             Dividend           Qualified        Qualified    Qualified
                                                             Received           Dividend         Interest    Short-Term
                                                             Deduction           Income           Income     Capital Gain
                                                                %                   %             (000s†)      (000s†)
PIMCO Credit Opportunities Bond Fund                              0%                    0%   $      11,536      $   0
PIMCO Diversified Income Fund                                     0%                    0%         122,335          0
PIMCO ESG Income Fund                                             0%                    0%               0          0
PIMCO High Yield Spectrum Fund                                    0%                    0%          18,960          0
PIMCO Long-Term Credit Bond Fund                                  0%                    0%         191,241          0
PIMCO Low Duration Credit Fund                                    0%                    0%          15,555          0
PIMCO Low Duration Income Fund                                    0%                    0%         152,870          0
PIMCO Preferred and Capital Securities Fund                   40.53%                92.94%          66,842          0

†   A zero balance may reflect actual amounts rounding to less than one thousand.

Shareholders are advised to consult their own tax advisor with respect to the tax consequences of their investment in the Trust. In January 2022,
you will be advised on IRS Form 1099-DIV as to the federal tax status of the dividends and distributions received by you in calendar year 2021.

Section 163(j) Interest Dividends. The funds intend to pass through the maximum amount allowable as Section 163(j) Interest Dividends as
defined in Proposed Treasury Section 1.163(j)-1(b). The 163(j) percentage of ordinary income distributions are as follows:
                                                             163 (j) Interest
                                                              Dividends %
PIMCO Credit Opportunities Bond Fund                               0%
PIMCO Diversified Income Fund                                      0%
PIMCO ESG Income Fund                                              0%
PIMCO High Yield Spectrum Fund                                     0%
PIMCO Long-Term Credit Bond Fund                                   0%
PIMCO Low Duration Credit Fund                                     0%
PIMCO Low Duration Income Fund                                     0%
PIMCO Preferred and Capital Securities Fund                        0%




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Distribution Information                                                                                                                       (Unaudited)



For purposes of Section 19 of the Investment Company Act of 1940 (the “Act”), the Funds estimated the periodic sources of any dividends paid
during the period covered by this report in accordance with good accounting practice. Pursuant to Rule 19a-1(e) under the Act, the table below sets
forth the actual source information for dividends paid during the fiscal period ended March 31, 2021 calculated as of each distribution period
pursuant to Section 19 of the Act. The information below is not provided for U.S. federal income tax reporting purposes. The tax character of all
dividends and distributions is reported on Form 1099-DIV (for shareholders who receive U.S. federal tax reporting) at the end of each calendar year.

See the Financial Highlights section of this report for the tax characterization of distributions determined in accordance with federal income tax
regulations for the fiscal year.

PIMCO Low Duration Income Fund
                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
Institutional Class                                  Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0245             $0.0000             $0.0000               $0.0245
November 2020                                        $0.0245             $0.0000             $0.0000               $0.0245
December 2020                                        $0.0245             $0.0000             $0.0000               $0.0245
January 2021                                         $0.0200             $0.0000             $0.0000               $0.0200
February 2021                                        $0.0200             $0.0000             $0.0000               $0.0200
March 2021                                           $0.0200             $0.0000             $0.0000               $0.0200

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
I-2 Class                                            Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0238             $0.0000             $0.0000               $0.0238
November 2020                                        $0.0238             $0.0000             $0.0000               $0.0238
December 2020                                        $0.0238             $0.0000             $0.0000               $0.0238
January 2021                                         $0.0193             $0.0000             $0.0000               $0.0193
February 2021                                        $0.0193             $0.0000             $0.0000               $0.0193
March 2021                                           $0.0193             $0.0000             $0.0000               $0.0193

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
I-3 Class                                            Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0235             $0.0000             $0.0000               $0.0235
November 2020                                        $0.0234             $0.0000             $0.0000               $0.0234
December 2020                                        $0.0234             $0.0000             $0.0000               $0.0234
January 2021                                         $0.0189             $0.0000             $0.0000               $0.0189
February 2021                                        $0.0189             $0.0000             $0.0000               $0.0189
March 2021                                           $0.0189             $0.0000             $0.0000               $0.0189

                                                                                         Paid-in Surplus or
                                                  Net Investment       Net Realized        Other Capital          Total (per
Class A                                              Income*          Capital Gains*         Sources**          common share)
October 2020                                         $0.0217             $0.0000             $0.0000               $0.0217
November 2020                                        $0.0217             $0.0000             $0.0000               $0.0217
December 2020                                        $0.0216             $0.0000             $0.0000               $0.0216
January 2021                                         $0.0171             $0.0000             $0.0000               $0.0171
February 2021                                        $0.0171             $0.0000             $0.0000               $0.0171
March 2021                                           $0.0171             $0.0000             $0.0000               $0.0171




                                                                                                              ANNUAL REPORT | MARCH 31, 2021 183
Distribution Information (Cont.)                                                                                                                                             (Unaudited)


                                                                                                            Paid-in Surplus or
                                                            Net Investment            Net Realized            Other Capital              Total (per
Class C                                                        Income*               Capital Gains*             Sources**              common share)
October 2020                                                    $0.0196                 $0.0000                  $0.0000                   $0.0196
November 2020                                                   $0.0196                 $0.0000                  $0.0000                   $0.0196
December 2020                                                   $0.0195                 $0.0000                  $0.0000                   $0.0195
January 2021                                                    $0.0149                 $0.0000                  $0.0000                   $0.0149
February 2021                                                   $0.0149                 $0.0000                  $0.0000                   $0.0149
March 2021                                                      $0.0149                 $0.0000                  $0.0000                   $0.0149

                                                                                                            Paid-in Surplus or
                                                            Net Investment            Net Realized            Other Capital              Total (per
Class C-2                                                      Income*               Capital Gains*             Sources**              common share)
October 2020                                                    $0.0062                 $0.0000                  $0.0000                   $0.0062
November 2020                                                   $0.0182                 $0.0000                  $0.0000                   $0.0182
December 2020                                                   $0.0181                 $0.0000                  $0.0000                   $0.0181
January 2021                                                    $0.0135                 $0.0000                  $0.0000                   $0.0135
February 2021                                                   $0.0135                 $0.0000                  $0.0000                   $0.0135
March 2021                                                      $0.0135                 $0.0000                  $0.0000                   $0.0135

*  The source of dividends provided in the table differs, in some respects, from information presented in this report prepared in accordance with generally accepted accounting
   principles, or U.S. GAAP. For example, net earnings from certain interest rate swap contracts are included as a source of net investment income for purposes of Section 19(a).
   Accordingly, the information in the table may differ from information in the accompanying financial statements that are presented on the basis of U.S. GAAP and may differ from tax
   information presented in the footnotes. Amounts shown may include accumulated, as well as fiscal period net income and net profits.
** Occurs when a fund distributes an amount greater than its accumulated net income and net profits. Amounts are not reflective of a fund’s net income, yield, earnings or
   investment performance.




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Management of the Trust                                                                                                                                                       (Unaudited)



The charts below identify the Trustees and executive officers of the Trust. Unless otherwise indicated, the address of all persons below is 650
Newport Center Drive, Newport Beach, CA 92660.

The Funds’ Statement of Additional Information includes more information about the Trustees and Officers. To request a free copy, call PIMCO at
(888) 87-PIMCO or visit the Funds’ website at www.pimco.com.
                                      Term of
                                      Office and                                                       Number of Funds
Name, Year of Birth and               Length of                                                        in Fund Complex         Other Public Company and Investment Company
Position Held with Trust*             Time Served†    Principal Occupation(s) During Past 5 Years      Overseen by Trustee     Directorships Held by Trustee During the Past 5 Years

Interested Trustees1
Peter G. Strelow (1970)               05/2017 to      Managing Director and Co-Chief Operating         149                     Chairman and Trustee, PIMCO Variable Insurance Trust,
Chairman of the Board and Trustee     present         Officer, PIMCO. Senior Vice President of the                             PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity
                                                      Trust, PIMCO Variable Insurance Trust,                                   Series VIT.
                                      Chairman
                                                      PIMCO ETF Trust, PIMCO Equity Series,
                                      02/2019 to
                                                      PIMCO Equity Series VIT, PIMCO Managed
                                      present
                                                      Accounts Trust, PIMCO-Sponsored Interval
                                                      Funds and PIMCO-Sponsored Closed-End
                                                      Funds. Formerly, Chief Administrative
                                                      Officer, PIMCO.
Kimberley G. Stafford (1978)          02/2021 to      Managing Director and Global Head of             149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Product Strategy, PIMCO; and Member of                                   Trust, PIMCO Equity Series, PIMCO Equity Series VIT.
                                                      Executive Committee. Formerly, Head of Asia-
                                                      Pacific, Global Head of Consultant Relations
                                                      and Head of US Institutional and Alternatives
                                                      Sales, PIMCO.

Independent Trustees
George E. Borst (1948)                04/2015 to      Executive Advisor, McKinsey & Company;           149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Formerly, Executive Advisor, Toyota Financial                            Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Services; and CEO, Toyota Financial Services.                            Director, MarineMax Inc.
Jennifer Holden Dunbar (1963)         04/2015 to      Managing Director, Dunbar Partners, LLC          149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         (business consulting and investments).                                   Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Formerly, Partner, Leonard Green &                                       Director, PS Business Parks; Director, Big 5 Sporting
                                                      Partners, L.P.                                                           Goods Corporation.
Kym M. Hubbard (1957)                 02/2017 to      Formerly, Global Head of Investments, Chief      149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Investment Officer and Treasurer,                                        Trust, PIMCO Equity Series and PIMCO Equity Series VIT;
                                                      Ernst & Young.                                                           Director, State Auto Financial Corporation.
Gary F. Kennedy (1955)                04/2015 to      Formerly, Senior Vice President, General         149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Counsel and Chief Compliance Officer,                                    Trust, PIMCO Equity Series and PIMCO Equity Series VIT.
                                                      American Airlines and AMR Corporation (now
                                                      American Airlines Group).
Peter B. McCarthy (1950)              04/2015 to      Formerly, Assistant Secretary and Chief          149                     Trustee, PIMCO Variable Insurance Trust, PIMCO ETF
Trustee                               present         Financial Officer, United States Department of                           Trust, PIMCO Equity Series and PIMCO Equity Series VIT.
                                                      Treasury; Deputy Managing Director, Institute
                                                      of International Finance.
Ronald C. Parker (1951)               07/2009 to      Director of Roseburg Forest Products             149                     Lead Independent Trustee, PIMCO Variable Insurance
Lead Independent Trustee              present         Company. Formerly, Chairman of the Board,                                Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO
                                                      The Ford Family Foundation; and President,                               Equity Series VIT.
                                      Lead            Chief Executive Officer, Hampton Affiliates
                                      Independent     (forestry products).
                                      Trustee -
                                      02/2017 to
                                      present

* Unless otherwise noted, the information for the individuals listed is as of March 31, 2021.
1 Ms. Stafford and Mr. Strelow are “interested persons” of the Trust (as that term is defined in the 1940 Act) because of their affiliations with PIMCO.
† Trustees serve until their successors are duly elected and qualified.




                                                                                                                                        ANNUAL REPORT | MARCH 31, 2021 185
Management of the Trust (Cont.)                                                                                                                                        (Unaudited)


Executive Officers
Name, Year of Birth and                  Term of Office and
Position Held with Trust*                Length of Time Served                  Principal Occupation(s) During Past 5 Years†

Eric D. Johnson (1970)                   06/2019 to present                     Executive Vice President and Head of Funds Business Group Americas, PIMCO. President, PIMCO
President                                                                       Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO
                                                                                Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
David C. Flattum (1964)                  05/2019 to present                     Managing Director and General Counsel, PIMCO. Chief Legal Officer, PIMCO Variable Insurance
Chief Legal Officer                                                             Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Formerly, Managing
                                                                                Director, Chief Operating Officer and General Counsel, Allianz Asset Management of America L.P.
Keisha Audain-Pressley (1975)            01/2020 to present                     Executive Vice President and Deputy Chief Compliance Officer, PIMCO. Chief Compliance Officer,
Chief Compliance Officer                                                        PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT,
                                                                                PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored
                                                                                Closed-End Funds.
Joshua D. Ratner (1976)**                05/2019 to present                     Executive Vice President and Head of Americas Operations, PIMCO. Senior Vice President, PIMCO
Senior Vice President                                                           Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT,
                                                                                PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored
                                                                                Closed-End Funds.
Peter G. Strelow (1970)                  06/2019 to present                     Managing Director and Co-Chief Operating Officer, PIMCO. Senior Vice President, PIMCO Variable
Senior Vice President                                                           Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed
                                                                                Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
                                                                                Formerly, Chief Administrative Officer, PIMCO.
Ryan G. Leshaw (1980)                    11/2018 to present                     Executive Vice President and Senior Counsel, PIMCO. Vice President, Senior Counsel and Secretary,
Vice President - Senior Counsel,                                                PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series
Secretary                                                                       VIT. Chief Legal Officer, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and
                                                                                PIMCO-Sponsored Closed-End Funds. Formerly, Associate, Willkie Farr & Gallagher LLP.
Wu-Kwan Kit (1981)                       08/2017 to present                     Senior Vice President and Senior Counsel, PIMCO. Assistant Secretary, PIMCO Variable Insurance
Assistant Secretary                                                             Trust, PIMCO ETF Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Vice President, Senior
                                                                                Counsel and Secretary, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval Funds and
                                                                                PIMCO-Sponsored Closed-End Funds. Formerly, Assistant General Counsel, VanEck Associates Corp.
Jeffrey A. Byer (1976)                   02/2020 to present                     Executive Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Elizabeth A. Duggan (1964)               02/2021 to present                     Executive Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series and PIMCO Equity Series VIT.
Brian J. Pittluck (1977)                 01/2020 to present                     Senior Vice President, PIMCO. Vice President, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Vice President                                                                  PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Bijal Y. Parikh (1978)                   01/2021 to present                     Senior Vice President, PIMCO. Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF Trust, PIMCO
Treasurer                                                                       Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored Interval
                                                                                Funds and PIMCO-Sponsored Closed-End Funds.
Erik C. Brown (1967)***                  02/2001 to present                     Executive Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
Brandon T. Evans (1982)                  05/2019 to present                     Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF Trust,
Assistant Treasurer                                                             PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-Sponsored
                                                                                Interval Funds and PIMCO-Sponsored Closed-End Funds.
Colleen D. Miller (1980)**               02/2017 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series and PIMCO Equity Series VIT. Deputy Treasurer, PIMCO Managed
                                                                                Accounts Trust, PIMCO-Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
Jason J. Nagler (1982)***                05/2015 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.
H. Jessica Zhang (1973)**                01/2020 to present                     Senior Vice President, PIMCO. Assistant Treasurer, PIMCO Variable Insurance Trust, PIMCO ETF
Assistant Treasurer                                                             Trust, PIMCO Equity Series, PIMCO Equity Series VIT, PIMCO Managed Accounts Trust, PIMCO-
                                                                                Sponsored Interval Funds and PIMCO-Sponsored Closed-End Funds.

*   Unless otherwise noted, the information for the individuals listed is as of March 31, 2021.
†   The term “PIMCO-Sponsored Closed-End Funds” as used herein includes: PIMCO California Municipal Income Fund, PIMCO California Municipal Income Fund II, PIMCO California
    Municipal Income Fund III, PIMCO Municipal Income Fund, PIMCO Municipal Income Fund II, PIMCO Municipal Income Fund III, PIMCO New York Municipal Income Fund, PIMCO
    New York Municipal Income Fund II, PIMCO New York Municipal Income Fund III, PCM Fund Inc., PIMCO Corporate & Income Opportunity Fund, PIMCO Corporate & Income
    Strategy Fund, PIMCO Dynamic Credit and Mortgage Income Fund, PIMCO Dynamic Income Fund, PIMCO Dynamic Income Opportunities Fund, PIMCO Energy and Tactical Credit
    Opportunities Fund, PIMCO Global StocksPLUS® & Income Fund, PIMCO High Income Fund, PIMCO Income Opportunity Fund, PIMCO Income Strategy Fund, PIMCO Income
    Strategy Fund II and PIMCO Strategic Income Fund, Inc.; the term “PIMCO-Sponsored Interval Funds” as used herein includes: PIMCO Flexible Credit Income Fund and PIMCO
    Flexible Municipal Income Fund.
** The address of these officers is Pacific Investment Management Company LLC, 1633 Broadway, New York, New York 10019.
*** The address of these officers is Pacific Investment Management Company LLC, 401 Congress Ave., Austin, Texas 78701.

186 PIMCO CREDIT BOND FUNDS
Privacy Policy1                                                                                                                                                 (Unaudited)



The Funds2,3 consider customer privacy to be a fundamental aspect of        disclose information about a shareholder or a shareholder’s accounts
their relationships with shareholders and are committed to                  to a non-affiliated third party at the shareholder’s request or with the
maintaining the confidentiality, integrity and security of their current,   consent of the shareholder.
prospective and former shareholders’ non-public personal information.
The Funds have developed policies that are designed to protect this         SHARING INFORMATION WITH AFFILIATES
confidentiality, while allowing shareholder needs to be served.             The Funds may share shareholder information with their affiliates in
                                                                            connection with servicing shareholders’ accounts, and subject to
OBTAINING NON-PUBLIC PERSONAL INFORMATION                                   applicable law may provide shareholders with information about
In the course of providing shareholders with products and services, the     products and services that the Funds or their Advisers, distributors or
Funds and certain service providers to the Funds, such as the Funds’        their affiliates (“Service Affiliates”) believe may be of interest to such
investment advisers or sub-advisers (“Advisers”), may obtain                shareholders. The information that the Funds may share may include,
non-public personal information about shareholders, which may come          for example, a shareholder’s participation in the Funds or in other
from sources such as account applications and other forms, from other       investment programs sponsored by a Service Affiliate, a shareholder’s
written, electronic or verbal correspondence, from shareholder              ownership of certain types of accounts (such as IRAs), information
transactions, from a shareholder’s brokerage or financial advisory firm,    about the Funds’ experiences or transactions with a shareholder,
financial professional or consultant, and/or from information captured      information captured on applicable websites, or other data about a
on applicable websites.                                                     shareholder’s accounts, subject to applicable law. The Funds’ Service
                                                                            Affiliates, in turn, are not permitted to share shareholder information
RESPECTING YOUR PRIVACY
                                                                            with non-affiliated entities, except as required or permitted by law.
As a matter of policy, the Funds do not disclose any non-public
personal information provided by shareholders or gathered by the            PROCEDURES TO SAFEGUARD PRIVATE INFORMATION
Funds to non-affiliated third parties, except as required or permitted      The Funds take seriously the obligation to safeguard shareholder
by law or as necessary for such third parties to perform their              non-public personal information. In addition to this policy, the Funds
agreements with respect to the Funds. As is common in the industry,         have implemented procedures that are designed to restrict access to a
non-affiliated companies may from time to time be used to provide           shareholder’s non-public personal information to internal personnel
certain services, such as preparing and mailing prospectuses, reports,      who need to know that information to perform their jobs, such as
account statements and other information, conducting research on            servicing shareholder accounts or notifying shareholders of new
shareholder satisfaction and gathering shareholder proxies. The Funds       products or services. Physical, electronic and procedural safeguards are
or their affiliates may also retain non-affiliated companies to market      in place to guard a shareholder’s non-public personal information.
Fund shares or products which use Fund shares and enter into joint
marketing arrangements with them and other companies. These                 INFORMATION COLLECTED FROM WEBSITES
companies may have access to a shareholder’s personal and account           The Funds or their service providers and partners may collect
information, but are permitted to use this information solely to provide    information from shareholders via websites they maintain. The
the specific service or as otherwise permitted by law. In most cases,       information collected via websites maintained by the Funds or their
the shareholders will be clients of a third party, but the Funds may        service providers includes client non-public personal information.
also provide a shareholder’s personal and account information to the
                                                                            CHANGES TO THE PRIVACY POLICY
shareholder’s respective brokerage or financial advisory firm and/or
financial professional or consultant.                                       From time to time, the Funds may update or revise this privacy policy.
                                                                            If there are changes to the terms of this privacy policy, documents
SHARING INFORMATION WITH THIRD PARTIES                                      containing the revised policy on the relevant website will be updated.
The Funds reserve the right to disclose or report personal or account       1 Amended as of June 25, 2020.

information to non-affiliated third parties in limited circumstances        2 PIMCO Investments LLC (“PI”) serves as the Funds’ distributor and does not provide

                                                                            brokerage services or any financial advice to investors in the Funds solely because it
where the Funds believe in good faith that disclosure is required under     distributes the Funds. This Privacy Policy applies to the activities of PI to the extent that
law, to cooperate with regulators or law enforcement authorities, to        PI regularly effects or engages in transactions with or for a shareholder of a series of a
                                                                            Trust who is the record owner of such shares. For purposes of this Privacy Policy,
protect their rights or property, or upon reasonable request by any         references to “the Funds” shall include PI when acting in this capacity.
Fund in which a shareholder has invested. In addition, the Funds may        3 When distributing this Policy, a Fund may combine the distribution with any similar

                                                                            distribution of its investment adviser’s privacy policy. The distributed, combined, policy
                                                                            may be written in the first person (i.e. by using “we” instead of “the Funds”).



                                                                                                                     ANNUAL REPORT | MARCH 31, 2021 187
Liquidity Risk Management Program                                                                                                        (Unaudited)



In compliance with Rule 22e-4 (the “Liquidity Rule”) under the              At a meeting of the Board held on February 9-10, 2021, the Board
Investment Company Act of 1940, as amended (“1940 Act”), PIMCO              received a report (the “Report”) from the Administrator addressing the
Funds (the “Trust”) has adopted and implemented a liquidity risk            Program’s operation and assessing the adequacy and effectiveness of
management program (the “Program”) for each series of the Trust             its implementation for the period from December 1, 2019 through
(each a “Fund” and collectively, the “Funds”) not regulated as a            December 31, 2020. The Report reviewed the operation of the
money market fund under 1940 Act Rule 2a-7, which is reasonably             Program’s components during such period, noted the March-April
designed to assess and manage the Funds’ liquidity risk. The Trust’s        2020 market conditions and associated monitoring by the
Board of Trustees (the “Board”) previously approved the designation         Administrator, and stated that the Program is operating effectively to
of the PIMCO Liquidity Risk Committee (the “Administrator”) as              assess and manage each Fund’s liquidity risk and that the Program has
Program administrator. The PIMCO Liquidity Risk Committee consists          been and continues to be adequately and effectively implemented to
of senior members from certain PIMCO business areas, such as                monitor and, as applicable, respond to the Funds’ liquidity
Portfolio Risk Management, Americas Operations, Compliance,                 developments. This has remained true for the 12-month reporting
Account Management and Portfolio Management, and is advised by              period ended March 31, 2021.
members of PIMCO Legal.

A Fund’s “liquidity risk” is the risk that the Fund could not meet
requests to redeem shares issued by the Fund without significant
dilution of the remaining investors’ interests in the Fund. In
accordance with the Program, each Fund’s liquidity risk is assessed no
less frequently than annually taking into consideration a variety of
factors, including, as applicable, the Fund’s investment strategy and
liquidity of portfolio investments, cash flow projections, and holdings
of cash and cash equivalents, as well as borrowing arrangements and
other funding sources. Certain factors are considered under both
normal and reasonably foreseeable stressed conditions. Each Fund
portfolio investment is classified into one of four liquidity categories
(including “highly liquid investments” and “illiquid investments,”
discussed below) based on a determination of the number of days it is
reasonably expected to take to convert the investment to cash, or sell
or dispose of the investment, in current market conditions without
significantly changing the investment’s market value. Each Fund has
adopted a “Highly Liquid Investment Minimum” (or “HLIM”), which is
a minimum amount of Fund net assets to be invested in highly liquid
investments that are assets. As required under the Liquidity Rule, each
Fund’s HLIM is periodically reviewed, no less frequently than annually,
and the Funds have adopted policies and procedures for responding to
a shortfall of a Fund’s highly liquid investments below its HLIM. The
Liquidity Rule also limits the Funds’ investments in illiquid investments
by prohibiting a Fund from acquiring any illiquid investment if,
immediately after the acquisition, the Fund would have invested more
than 15% of its net assets in illiquid investments that are assets.
Certain non-public reporting is generally required if a Fund’s holdings
of illiquid investments that are assets were to exceed 15% of Fund
net assets.




188 PIMCO CREDIT BOND FUNDS
General Information

Investment Adviser and Administrator
Pacific Investment Management Company LLC
650 Newport Center Drive
Newport Beach, CA 92660

Distributor
PIMCO Investments LLC
1633 Broadway
New York, NY 10019

Custodian
State Street Bank and Trust Company
801 Pennsylvania Avenue
Kansas City, MO 64105

Transfer Agent
DST Asset Manager Solutions, Inc.
Institutional Class, I-2, I-3, Administrative Class
430 W 7th Street STE 219024
Kansas City, MO 64105-1407

DST Asset Manager Solutions, Inc.
Class A, Class C, Class C-2, Class R
430 W 7th Street STE 219294
Kansas City, MO 64105-1407

Legal Counsel
Dechert LLP
1900 K Street, N.W.
Washington, D.C. 20006

Independent Registered Public Accounting Firm
PricewaterhouseCoopers LLP
1100 Walnut Street, Suite 1300
Kansas City, MO 64106


This report is submitted for the general information of the shareholders of the Funds listed on the Report cover.
PF3003AR_033121
EXHIBIT 5
EXHIBIT 32
EXHIBIT 1
EXHIBIT 2
EXHIBIT 3
EXHIBIT 33
EXHIBIT 1
EXHIBIT 34
        SL-02881

Hartman, Cathy - Vol.
I.20220907.406640-SL
      9/7/2022 11:33 AM



      Full-size Transcript

          Prepared by:


           SL-02881

    Thursday, October 6, 2022
                                                                1

 1   THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION

 2

 3   In the Matter of:                )

 4                                    )   File No. SL-02881-A

 5   STEPHEN ROMNEY SWENSEN           )

 6

 7   WITNESS:   Cathy L. Hartman

 8   PAGES:     1 through 55

 9   PLACE:     Securities and Exchange Commission

10              Salt Lake Regional Office

11              351 South West Temple, Suite 6.100

12              Salt Lake City, Utah 84101-1950

13   DATE:      Wednesday, September 7, 2022

14

15        The above-entitled matter came on for hearing, via

16   Webex, pursuant to notice, at 11:33 a.m., Mountain

17   Daylight Time.

18

19

20

21

22

23

24           Diversified Reporting Services, Inc.

25                    (202)467-9200



     [9/7/2022 11:33 AM] Hartman, Cathy - Vol. I.20220907.406640-...
                                                                2

 1   APPEARANCES:

 2

 3   On behalf of the Securities and Exchange Commission:

 4        JONI OSTLER, ESQ.

 5        CHERYL M. MORI, ESQ.

 6        U.S. Securities and Exchange Commission

 7        Division of Enforcement

 8        Salt Lake Regional Office

 9        351 South West Temple, Suite 6.100

10        Salt Lake City, Utah 84101-1950

11        (801) 524-6748

12        ostlerj@sec.gov

13

14   On behalf of the Witness:

15        CATHY L. HARTMAN, PRO SE

16

17        Eagle Point, OR

18

19

20   Also Present:

21        Trever Burke, SEC Law Clerk

22

23

24

25



     [9/7/2022 11:33 AM] Hartman, Cathy - Vol. I.20220907.406640-...
                                                                3

 1                      C O N T E N T S

 2   WITNESS                                     EXAMINATION

 3   Cathy L. Hartman                                      5

 4

 5   EXHIBITS:      DESCRIPTION                   IDENTIFIED

 6    6            Traditional IRA Application            18

 7                 Bates No. SEC-HartmanC-E-0000066

 8    7            Custodial Agreement                    19

 9                 Bates No. SEC-HartmanC-E-0000070

10    8            Letter of Authorization                20

11                 Bates No. SEC-HartmanC-E-0000065

12    9            Email Correspondence w/Attachments     22

13                 Bates No. SEC-HartmanC-E-0000046

14   10            Crew Capital Group Account Statement   32

15                 Bates No. SEC-HartmanC-E-0000004

16   11            Crew Capital Group Account Summary     30

17                 Bates No. SEC-HartmanC-E-0000006

18   12            Email Correspondence blueleaf.com      33

19                 Bates No. SEC-HartmanC-E-0000007

20   13            Email Correspondence w/Attachments     38

21                 Bates No. SEC-HartmanC-E-0000079

22   14            Email Correspondence w/Attachments     39

23                 (No Bates Stamp Number Referenced)

24

25



     [9/7/2022 11:33 AM] Hartman, Cathy - Vol. I.20220907.406640-...
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 1                      P R O C E E D I N G S

 2             MS. OSTLER:    On the record, September 7, 2022,

 3   at 11:33 a.m., Mountain Daylight Time.

 4             My name is Joni Ostler, and with me is co-

 5   counsel, Cheryl Mori.    It looks like our law clerk,

 6   Trever Burke, has also joined.

 7             MS. HARTMAN:    Yes.

 8             MS. OSTLER:    He's another attorney that works

 9   here at the SEC.   We are members of the staff of the

10   Enforcement Division of the Salt Lake Regional Office of

11   the United States Securities and Exchange Commission.

12   Cher and I are also officers of the Commission for the

13   purposes of this proceeding.

14             This is an investigation by the Commission

15   titled, "In the Matter of Stephen Romney Swensen," to

16   determine whether there have been any violations of the

17   federal securities laws or rules for which the

18   Commission has enforcement authority; however, facts

19   developed in this investigation might constitute

20   violations of other federal or state, criminal or civil

21   laws.

22             Mrs. Hartman, your testimony today is not

23   pursuant to subpoena, so you should understand that your

24   appearance here today is voluntary.

25             MS. HARTMAN:    Okay.



     [9/7/2022 11:33 AM] Hartman, Cathy - Vol. I.20220907.406640-...
                                                                  5

 1             MS. OSTLER:    Do you understand that you do not

 2   need to answer any question and that you can leave at

 3   any time you wish?

 4             MS. HARTMAN:    Yes.    Yes.

 5             MS. OSTLER:    Do you consent to being placed

 6   under oath?

 7             MS. HARTMAN:    Yes.

 8             MS. OSTLER:    Do you consent to taking the oath

 9   remotely, by Webex, rather than in person?

10             MS. HARTMAN:    Yes.

11             MS. OSTLER:    Great.    Also, do you -- is it

12   okay with you if Trever Burke, our law clerk, is present

13   for your testimony today as an observer?

14             MS. HARTMAN:    Yes.

15             MS. OSTLER:    Thank you.      Please raise your

16   right hand.

17             Do you consent -- or I'm sorry -- do you swear

18   to tell the truth, the whole truth, and nothing but the

19   truth?

20             MS. HARTMAN:    I do.

21   Whereupon,

22                        CATHY L. HARTMAN

23   was called as a witness and, having been first duly

24   sworn, was examined and testified as follows:

25                            EXAMINATION



     [9/7/2022 11:33 AM] Hartman, Cathy - Vol. I.20220907.406640-...
                                                                      6

 1               BY MS. OSTLER:

 2        Q      Great.   You can lower your hand.   Please state

 3   and spell your full name for the record.

 4        A      Cathy Hartman.   C-a-t-h-y H-a-r-t-m-a-n.

 5        Q      Do you have a middle initial?

 6        A      Yes, it's L, for Louise.

 7        Q      So this session today is being conducted

 8   remotely.    So just for the record, could you please tell

 9   us the address of your location where you are?

10        A      Yes.                                       , Eagle

11   Point, Oregon.

12        Q      So prior to opening the record, I showed you

13   on the screen, the document that is called the formal

14   order, directing private investigation and designating

15   officers to take testimony in this matter.      That

16   document will be available to you throughout your

17   testimony today.     So if you ever want to look at it

18   again, just let me know and I can pull it back up on the

19   screen for you.

20        A      Okay.

21        Q      Have you had an opportunity to review the

22   formal order?

23        A      Yes.

24        Q      Do you have any questions about the formal

25   order?



     [9/7/2022 11:33 AM] Hartman, Cathy - Vol. I.20220907.406640-...
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 1        A     No.

 2        Q     Also prior to opening the record today, I gave

 3   you a copy of the Commission's Form 1662 titled,

 4   "Supplemental Information for Persons Requested to

 5   Supply Information Voluntarily or Directed to Supply

 6   Information Pursuant to a Commission Subpoena."     That

 7   was that like, longer document, it was like five pages

 8   long.    Have you had an opportunity to read the Form

 9   1662?

10        A     Yes.

11        Q     Do you have any questions about it?

12        A     No.

13        Q     So I notice you are not represented by

14   counsel; is that correct?

15        A     That's correct.   We're talking to counsel, but

16   I have -- we have not signed an agreement yet.

17        Q     Okay.   Since you don't have counsel here

18   today, I'm going to give you some additional --

19   highlight some things for you.

20              You do have the right to be accompanied,

21   represented, and advised by counsel.    This means that

22   you have the right to have an attorney present, and an

23   attorney can advise you before, during and after your

24   testimony here today.   Do you understand that?

25        A     Yes, I do.



     [9/7/2022 11:33 AM] Hartman, Cathy - Vol. I.20220907.406640-...
                                                                   8

 1        Q    So I also want to let you know these

 2   proceedings can be adjourned at any time if you want

 3   them to be adjourned so that you can obtain counsel.     Do

 4   you understand that?

 5        A    Yes, I do.

 6        Q    Do you understand that the statutes that are

 7   talked about in the Form 1662 provide criminal penalties

 8   for knowingly providing false testimony or knowingly

 9   using false documents in connection with this

10   investigation?

11        A    Yes, I do.

12        Q    Do you understand that you have the right to

13   assert your rights under the Fifth Amendment of the

14   Constitution and refuse to answer any question that may

15   tend to incriminate you?

16        A    Yes, I do.

17        Q    Okay, great.   So now just a few instructions

18   before I start in on the -- the actual questions.

19             Your testimony today is under oath, and it

20   will just be me asking you questions and you answering

21   to the best of your ability.   You are to answer

22   truthfully and as best as you can.   Do you understand

23   that?

24        A    Yes, I do.

25        Q    If you don't know the answer to a question or



     [9/7/2022 11:33 AM] Hartman, Cathy - Vol. I.20220907.406640-...
                                                                    9

 1   if you're speculating or guessing, please say so.

 2        A    Okay.

 3        Q    If you answer a question and don't tell us

 4   that you are guessing or speculating, we will assume

 5   that your answer is based on your own knowledge and that

 6   you're not guessing.      Do you understand that?

 7        A    Yes.

 8        Q    It is important for you to hear and understand

 9   my questions.    So if you don't hear me, let -- please

10   let me know.    If you don't understand a question, please

11   let me know and I will try to clarify it or rephrase it

12   to help you understand.     Do you understand that?

13        A    Yes.    Yes.

14        Q    So Lee Ann, our court reporter today, will be

15   taking down everything we say.     And just to help her so

16   that we have a good transcript, try to answer verbally

17   rather than shaking your head or nodding your head.

18        A    Okay.

19        Q    Try to say -- yeah.     Try to say "yes" or "no"

20   instead of "uh-huh" or "uh-uh."

21        A    Okay.    Yes.

22        Q    I will try not to interrupt your answer,

23   because it kind of gets muddy if we talk over each

24   other.   So I will try to make sure you finish your

25   answer before I start a new question.      And please try to



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 1   make sure that I finish my question before you say your

 2   answer.

 3        A    Yes.

 4        Q    So I'm going to show you stuff on the screen

 5   the way that I already did.    And I think everything but

 6   one document that I'm going to show you today is stuff

 7   you provided me.    But for the one I'm going to show you

 8   that you did not provide me, I just have to let you know

 9   that you're not allowed to take any screenshots of it or

10   keep any photos or copies of it.

11        A    Okay.    Yes.

12        Q    If you ever need a break, like to go into the

13   bathroom or grab a drink, just let me know, and I will

14   tell the court reporter to go off the record.

15             Are you ill at all today?

16        A    No.

17        Q    Have you taken any medication that might

18   affect your memory or impair your ability to testify

19   today?

20        A    No.

21        Q    Have you had anything alcoholic to drink in

22   the last eight hours?

23        A    No.

24        Q    Okay, great.    So let's start in with the

25   substantive questions.



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 1              Are you currently retired?

 2        A     Yes.

 3        Q     Where did you work before you retired?

 4        A     Utah State University from 1992 to 2012.

 5        Q     What was your position there?

 6        A     I was a professor of marketing.   Wait a

 7   minute.   I retired -- I'm sorry -- I retired in 2014.

 8   2014.    I was a professor of marketing in the Business

 9   Administration Department.

10        Q     Did you meet a man named Philip Swensen when

11   you were working there?

12        A     Yes, I did.   He was my department head.

13        Q     Was he also your investment advisor at any

14   point?

15        A     Yes.    He became our investment advisor, and

16   that's a date that I have to recall.    I think it was

17   around 1998.

18        Q     At that point was Philip Swensen's son,

19   Stephen Swensen, also your investment advisor?

20        A     And that's another thing that I'm going to

21   have to recall.    To the best of my knowledge, I think

22   that Steve was on board by at least 2000.    I will say

23   2000.    And I can't remember before then.

24        Q     Okay.   So you did start out being Philip

25   Swensen's client first?



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 1        A    Yes.

 2        Q    And then at some point his son, Steve, also

 3   became your advisor.

 4        A    Yes.

 5        Q    How often did you meet with them when they

 6   were your investment advisors?

 7        A    At least once a year.   I think -- to the best

 8   of my knowledge, we had annual meetings.    And I don't

 9   recall.   We, we may have had questions in the interim,

10   but we did not have formal meetings.    We just had an

11   annual review meeting every year.

12        Q    Do you recall there came a point where Phil

13   retired, and Steve got a new partner?

14        A    Yes.   And I'm not -- the first partner, and I

15   can't remember the date of this, would have been Jason.

16   Jason Kimber.    And then Jason left, I think 2019, then

17   Jacob Cazier came on, and I'm not sure if it was 2019 or

18   2020 when Jake came aboard.

19        Q    When was the first time that Steve Swensen

20   mentioned Crew Capital Funds to you?

21        A    It was 2018.   And we complained about an

22   investment of ours with Transamerica that was not

23   performing as we thought it should.    And Steve

24   recommended that we put our money into Crew Capital

25   Group.



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 1        Q     What did he tell you about Crew Capital?

 2        A     He said that it had a minimum -- it was based

 3   on the S&P 500, it had a minimum return guaranteed of 5

 4   percent, a maximum of 10 percent, and it reset on our

 5   anniversary date every year, which was April the 30th.

 6        Q     What do you mean by "it reset"?

 7        A     That would be the day that the reading of the

 8   S&P 500 was taken.   And if in the time from April 30 to

 9   one year to April 30 the next year, it had -- whatever

10   it had returned was our return.

11        Q     But you would always get 5 percent, even if

12   the S&P was lower than 5?

13        A     Yes.   We would always get 5 percent.   So the 5

14   percent was -- it accrued daily, okay?   It -- so every

15   day that went into our Crew Capital account.    And then

16   on the anniversary date, if the market had returned more

17   than 5 percent, there was a bump on May 1 of whatever

18   that was over 5 percent.

19        Q     Would that bump be like a one-time bonus

20   deposit?

21        A     Yes.   It was a periodic -- I can't remember

22   exactly.   Something like a periodic -- and I'd have to

23   look it up.   Periodic something payment.

24        Q     So then you would continue to just get a 5

25   percent for the following year.



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 1        A      Yes.

 2        Q      Then you might get a bump.   But the bump could

 3   never be more than 10 percent?

 4        A      Yes.

 5        Q      Did Steve say that it was -- that Crew Capital

 6   was sub-managed by another sub-advisor?

 7        A      The only other entity involved -- no.   The

 8   only other entity involved was the Bank of Utah was the

 9   custodian.

10        Q      Did Steve ever say where Crew Capital would

11   invest your money in order to create these returns?

12        A      He did not.

13        Q      Was anyone else in the room when Steve told

14   you about Crew Capital?

15        A      Yes.   I don't know if Jason Kimber was at the

16   beginning, but Jake -- Jake would have -- Jake would

17   have been later on when we would have our annual

18   meetings and we would review what the return had been,

19   and what we were going to do with respect to that fund.

20        Q      So the very first time that Steve told you

21   about Crew Capital when you were complaining that this

22   other investment wasn't doing well, and then he told you

23   about it.    Do you recall if Jason Kimber was in the room

24   at point?

25        A      No, I do not.



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 1        Q     So how did you go about investing the money?

 2   Did Steve have you write a personal check?     A cashier's

 3   check?   Wire transfer?    How did it go?

 4        A     He did -- we had two accounts.    And so we had

 5   the Transamerica account, and then we had an American

 6   Funds Lincoln -- Lincoln Life something.     Lincoln --

 7   Lincoln Funds.    It was American Funds Lincoln something

 8   and Transamerica.    And Steve did -- Steve did the

 9   transfers.    We just signed the transfer papers, so it

10   went directly -- those were -- it was either 401 -- what

11   is this, 401b?    401b?   So they went -- they went

12   directly from that type of -- you know, annuity to the

13   other type.

14        Q     So you took money from all of those different

15   investments to put into Crew?

16        A     We took all of the money from both of those

17   investments.   It was around $700,000.

18        Q     Did you have any other retirement funds that

19   remained invested in anything else?

20        A     Yes.   We have a -- some Roth IRAs.   We still

21   currently have them because we didn't move them,

22   although Steve had asked about moving them, and Jackson

23   National Life.

24        Q     Did Steve ever tell you that he was affiliated

25   with Crew Capital?



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 1        A     Yes.   Yes, he said he was an advisor at Crew

 2   Capital.   Yes.

 3        Q     He said he was an advisor there.

 4        A     Mm-hmm.

 5        Q     He never said that he was an owner.

 6        A     No.

 7        Q     Did he say how he was going to be compensated

 8   for --

 9        A     No.

10        Q     -- your investment?

11        A     No.

12        Q     How was he normally compensated by you for

13   being your investment advisor?

14        A     We never directly discussed that.   So I, I

15   cannot answer that.

16        Q     So you mentioned Bank of Utah.   What did Steve

17   tell you about the Bank of Utah?

18        A     He told me that the Bank of Utah was the

19   custodian on that account.    So I had all of our

20   "government documents" that we had to have for the IRS

21   came from the Bank of Utah.    So the Bank of Utah would

22   send us a form that told us how much we had to take out

23   of the IRA every year.   Then they would send us the 1099

24   Form that we would turn in to the IRS.

25              They also sent us another -- I looked through



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 1   my tax records, that's how come I know this -- they also

 2   sent us a Form 5498 every year that showed us the market

 3   value of that Crew Capital account.     And until -- well

 4   until recently, I could go online and see my trust

 5   account at the Bank of Utah, but for some reason it's no

 6   longer accessible.

 7        Q    Okay.    So going back to when you first were

 8   going to invest in Crew, did you have a Bank of Utah

 9   account before you invested in Crew?

10        A    I did not.

11        Q    Did Steve -- well let me back up.     How did you

12   get your account open at the Bank of Utah?

13        A    I received some documents, and I think I

14   forwarded them to you.    So, so Steve would have made the

15   initial contact and then we got this letter from the

16   Bank of Utah that told me to set up the account.

17        Q    Did you personally go into the Bank of Utah to

18   set it up?

19        A    No.   We haven't been in -- we haven't been in

20   Utah since 2014.

21        Q    Did Steve prepare the paperwork for you and

22   send it to you to sign for the Bank of Utah?

23        A    Yes, he did.

24             MS. OSTLER:    Okay.   I'm going to put a

25   document on the screen.



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 1                              (SEC Exhibit No. 6 was marked

 2                              for identification.)

 3             BY MS. OSTLER:

 4        Q    Are you able to see on your screen a document

 5   that has a yellow sticker saying 6?

 6        A    Yes.

 7        Q    Government Exhibit 6?

 8        A    Mm-hmm.

 9        Q    Okay.   So for the record, this is SEC HartmanC

10   E 66.

11        A    Mm-hmm.

12        Q    It says, "Traditional IRA Application."    Do

13   you recognize this document?

14        A    Yes, that's mine, and I sent it to you.

15        Q    I'm just going to scroll through it so you can

16   sort of familiarize yourself, because it's -- it's a

17   three-page document.

18        A    Yes.    (Examining) Those are my initials, yes.

19        Q    And this is your signature on page 3?

20        A    Yes, it is.

21        Q    Dated April 17, 2018.

22        A    Yes.

23        Q    This document, you have a recollection of

24   Steve having sent it to you?

25        A    Yes.    Steve sent that to us.



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 1         Q     Okay.   When it says, "Account funding

 2   information amount 700,000," does that correspond to the

 3   amount that you were going to invest into Crew Capital?

 4         A     Yes, it does.

 5               MS. OSTLER:   I'm going to take that down and

 6   show another document.      It takes a second for my

 7   computer.

 8                                (SEC Exhibit No. 7 was marked

 9                                for identification.)

10               BY MS. OSTLER:

11         Q     Are you seeing on your screen a document

12   marked Government Exhibit 7?

13         A     Yes.

14         Q     Do you recognize this document?

15               (The witness examines the document.)

16         A     Yes.

17         Q     So just for the record, it's SEC HartmanC E

18   70.   And it says, "Custodial Agreement."     Mrs. Hartman,

19   did Steve prepare this for you or send this to you to

20   sign?

21         A     Yes.

22         Q     So after you -- are these your initials at the

23   bottom of these pages?

24         A     Yes.

25         Q     And this is your signature on the last page.



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 1        A    Yes.

 2        Q    So when you signed this, do you remember if it

 3   had already been signed by Jodie Nutt at the Bank of

 4   Utah?

 5        A    I do not.

 6        Q    Did Steve send these documents to you by mail?

 7        A    I, I -- I can't recall that.     We, we got -- we

 8   either got, you know, messages online or he would send

 9   us things FedEx.   And I do not remember how that came.

10        Q    Okay.    I'm going to do one more document.   Did

11   Steve -- can you remember what Steve explained to you

12   about the role of the Bank of Utah in the Crew Capital

13   investment?

14        A    I thought -- well I'm not -- I, I can't recall

15   what Steve explained to me.     I assumed they were

16   handling the money and I had an account there.     But I, I

17   can't recall if Steve told me that.

18             MS. OSTLER:   Okay.

19                              (SEC Exhibit No. 8 was marked

20                              for identification.)

21             BY MS. OSTLER:

22        Q    I'm now displaying on the screen a document

23   marked Government Exhibit 8.     Are you able to see that?

24        A    Yes.

25        Q    For the record, it's SEC HartmanC E 65, and



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 1   it's titled, "Letter of Authorization."    Mrs. Hartman,

 2   do you recognize this document?

 3              (The witness examines the document.)

 4        A     I do.

 5        Q     Where did you get this document?

 6        A     From Steve.

 7        Q     Do you recall signing it?

 8        A     Yes.

 9        Q     Did you understand that this document was

10   going to allow Steve access to all of the funds you had

11   in the Bank of Utah account?

12        A     Yes, I did.

13        Q     Did you understand that Steve would be able to

14   withdraw all the money in that bank account?

15        A     No.    No, I didn't think he would be -- I

16   didn't think he would be doing that.    I don't -- I -- I

17   didn't really think Steve would be interacting with that

18   account.   I thought that it was Crew Capital Group who

19   were interacting with that account and, and the Bank of

20   Utah.    And the only thing I thought Steve was doing, we,

21   we would be talking to him about how -- we, we got a

22   monthly payment out of that account for four years from

23   2018 to 2022.     And all I understood was that -- we would

24   talk to Steve about what we were doing and then the Bank

25   of Utah would be doing everything else.



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 1             And as I recall there was one year when we

 2   were getting a -- we were going to get the 10 percent.

 3   We were getting that 5 percent bump.    And so I was very

 4   excited to see it come into that account.    And it didn't

 5   come in, and it didn't come in.    And I called the Bank

 6   of Utah and they said, "Well, you know, it takes a while

 7   for these records to be done."

 8             And, and I talked to Steve and he said, "Don't

 9   worry, it'll go in."   And like if it was supposed to be

10   there on May 1st, because you'd be accruing interest on

11   it, it was supposed to be there on May 1st and it would

12   be backdated to that date, and I would have all my

13   interest going forward.    But I understood this was all

14   being done through Crew Capital.

15        Q    You understood Crew Capital to be an

16   investment company.

17        A    An investment company which Steve represented.

18                              (SEC Exhibit No. 9 was marked

19                              for identification.)

20             BY MS. OSTLER:

21        Q    So I'm going to show you another document.

22   This is Government Exhibit 9.

23        A    Okay.

24        Q    This is a 5-page document, it's an email you

25   sent to me with documents attached.    So it's actually a



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 1   couple of documents together.     It's SEC HartmanC E 46.

 2   And I'm just going to scroll down to show you the first

 3   attachment says, "Bank of Utah."

 4        A      Mm-hmm.

 5        Q      So Mrs. Hartman, this is one of the documents

 6   you gave to me.     Can you explain what you understand

 7   this document to be?

 8               (The witness examines the document.)

 9        A      I understand that that was tell -- told me

10   what my minimum -- the amount of money that I had to

11   take out of that account for the year.

12        Q      Did Bank of Utah send this document to you?

13        A      Yes.

14        Q      And it says, "Required minimum distribution

15   for 2022."    Did you get one of these each year?

16        A      Yes, I did.

17        Q      Okay.   I'm going to scroll down.    There's a

18   blank page and then after that there's a document that

19   says, "Crew Capital Group Index Account."       And this is

20   another document you sent to me.     Where did you get this

21   document?

22        A      From Steve.   That would have been in -- he

23   would -- he would have -- he gave us that document at

24   several points.     He gave us that document when we

25   invested, and then when we would have our annual



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 1   meetings.    There would always be a copy of that in with

 2   the documents that were in there.

 3        Q      In the documents that Steve would provide to

 4   you at the annual meeting?

 5        A      Yes.

 6               MS. MORI:   Hi Cindy.

 7               THE WITNESS:    Yes?

 8               MS. OSTLER:    Did --

 9               MS. MORI:   How'd it go?

10               MS. OSTLER:    Oh, Cher, you're not on mute.

11               MS. MORI:   Oh, sorry.

12               BY MS. OSTLER:

13        Q      So Mrs. Hartman, do you recall Jake Cazier

14   ever giving you a copy of this document?

15        A      Not directly.    It would have been in the --

16   well, yes.    And that -- that's an annual -- it would

17   have been the annual report from this year that Jake

18   sent -- Jake sent it to us.        And I can't remember the

19   exact date, but Jake sent the document -- the file and

20   said, "These are the documents that we're going to be

21   reviewing."

22               And we set up the meeting on Zoom.      We went to

23   the meeting on Zoom and Steve never showed up.        This

24   would have been, oh, it -- I'm -- to the best of my

25   knowledge it would have been April of this year.        Steve



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 1   -- Steve never showed up.

 2               And so we, we cancelled the meeting and we had

 3   to reschedule.      And the meeting came about in May, and

 4   we got a new set of documents.     Now, I tried to go back

 5   to Jake's email and get that first document that would

 6   have come from him and had this document in it and it's

 7   no longer available.     So I can't -- I can't get that.

 8        Q      Okay.

 9        A      But I know that would have been in there then.

10        Q      It would have been one of the documents that

11   Jake had emailed to you for your annual meeting?

12        A      Yes.

13        Q      Okay.   So I'm just going to --

14        A      And then -- oh, I'm sorry -- but, but then,

15   after that, peculiar things started to happen.     Because

16   then, after that, Jake was not at the next meeting, it

17   was only Steve.     And they had always been together.

18        Q      That was in -- about May 2022?

19        A      Yes.

20        Q      At this meeting where Steve was only there,

21   what did Steve talk to you about?

22        A      He talked to us about moving those Jackson

23   accounts.    He told us that the Jackson accounts -- they

24   had almost doubled from our original investment.     And he

25   said when they doubled, we wouldn't be getting anymore



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 1   accruals on those, and so we should move those into Crew

 2   Capital.    And the reason that we were also motivated to

 3   do that is we were trying to keep our monthly draw so

 4   that it was not more than the 5 percent so our principal

 5   would not decrease.    And we were pretty much there.    I

 6   think we were just a couple thousand dollars off that.

 7   And so we wanted to go ahead and move those in there so

 8   that we could lower the amount we would be taking from

 9   Crew.

10               Now the, the Crew account that we had was a

11   traditional IRA.    The Jackson's a Roth IRAs and so we

12   would have to set up a totally new Crew Capital account

13   and put those in there, separate from the one we already

14   had.    And we were in the process of doing that.   We had

15   gotten documents from Steve the Friday before he took

16   his life.    And those were mailed to us, I think, but --

17   no.    Steve sent it -- Steve sent us those online.   Steve

18   sent us those online, and we printed them, signed them,

19   did PDFs and sent them back to him.

20          Q    You were, when he died, in the process of

21   putting additional money into Crew Capital.

22          A    Yes, we were.   Thank goodness we did not.

23          Q    Did Steve, at that last meeting in May, talk

24   to you about an airplane?

25          A    Yes.   He told us that he had an airplane -- I



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 1   can't remember what it was -- but it was an airplane

 2   that he had purchased for a million dollars.    And he had

 3   done some upgrades to it, he actually sent us the video

 4   where he was interacting with people that had done the

 5   new interior and all this kind of -- all these kinds of

 6   things.   And then Steve told us that he had sold that

 7   for $1.3 million.   So he had made -- he was very proud

 8   that he had made $300,000 off of that.    And he said the

 9   reason that he sold it was that he was no longer -- he,

10   he had been flying it to visit his clients in other

11   states, although he never visited us.    And he just

12   wasn't using it as often as he thought he would.    And so

13   he sold it.

14        Q    Do you recall at that last meeting in May, him

15   saying anything different about Crew Capital; that it

16   had changed?

17        A    No.

18        Q    Okay.   Did you get periodic statements from

19   Crew Capital showing you how your account was growing?

20        A    I had an online account for Crew Capital.    And

21   so I would periodically go onto that and just look at

22   what the monthly money was that was going in to get some

23   idea of how we were doing at maintaining the principal.

24        Q    Do you remember what the website was?

25        A    Oh, it's just like Crew Funds -- I'd have to



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 1   look it up.   But it was like crewfunds.com, something

 2   like that.    I'd have to -- I'd have to look it up.

 3        Q    How did you get your login information for

 4   that account?

 5        A    I would have gotten that from -- I would have

 6   gotten that from Steve at some point.

 7        Q    Did you ever have trouble, like, did you ever

 8   get locked out when you typed in the wrong password?

 9        A    No.

10        Q    Did you ever call Crew Capital?

11        A    Only at -- after Steve took his life.     And we

12   received the letter from the Bank of Utah saying that we

13   may not get our next month withdrawal.   And for the

14   record, we have not gotten anything, even though it's

15   come out of my Crew account, we have not received any

16   money for August or September.   And -- what was I --

17   what was your question?   I'm sorry, because I --

18        Q    Oh, I was just asking if you'd ever telephoned

19   them.

20        A    Okay.   So we were, we were trying to find them

21   when we received this from the Bank of Utah because we

22   thought, "Wow, don't you know anybody at Crew Capital

23   that you can talk to find out what's going to happen

24   with this money?"

25             And it was Janna.   Janna Copley or Copely



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 1   (sic) told me, "The only number we have is the number

 2   that you have.   This number in, in New York."

 3             And so we called that number, we got an

 4   answering service.   Very nice answering service.     Told

 5   us no problem, somebody would get right back to us.      But

 6   nobody ever returned our call.

 7             And so then we went online to try and find

 8   something else about Crew Capital.    And there are

 9   different firms, legitimate firms, that have Crew in

10   their name.    I think there's one called Crew Management.

11   I think it's called Crew Management, it's in Cincinnati.

12   And we called them, because we though that was Steve's

13   group and it turned out not to be.    And we could -- we

14   left several messages on that New York number.    But we

15   never got any response.

16        Q    So you said something about the money was

17   coming out of your Crew, but you didn't get it in August

18   and September.

19        A    Right.

20        Q    When you say, "the money was coming out," what

21   do you mean?

22        A    We -- right now we were drawing out thirty-

23   five hundred dollars a month.    The Bank of Utah was

24   sending $500 into the IRS for our taxes, and then they

25   were doing an electronic transfer to our bank account



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 1   here in Eagle Point at Rogue Credit Union.

 2        Q      But in August and September this year, no

 3   money came.

 4        A      No money.

 5        Q      Did you go onto the crewfunds.com website to

 6   see if it showed a withdraw?

 7        A      Yes.

 8        Q      And did it show a withdrawal being made those

 9   two months?

10        A      Yes.

11        Q      Even though no money came.

12        A      Yes.

13               MS. OSTLER:   Okay.   I'll show you another

14   document.

15                                (SEC Exhibit No. 11 was marked

16                                for identification.)

17               BY MS. OSTLER:

18        Q      So are you able to see Government Exhibit 11?

19        A      Yes.

20        Q      This is SEC HartmanC E 6.    Do you recognize

21   this as a -- one of the documents that you sent to me?

22               (The witness examines the document.)

23        A      Yes, and it would be -- it, it came out of a

24   -- my annual review report.

25        Q      Oh, okay.   So this was one of the pages --



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 1          A    Mm-hmm.

 2          Q    -- that was handed to you by either Jake or

 3   Steve at your meeting.

 4          A    Yes.

 5          Q    What do you understand this to be showing?

 6          A    A summary of -- a summary of my accounts and,

 7   and how much it's grown -- grown over the, the time that

 8   we have had it.    It also -- I'm trying to look -- shows

 9   the amount of our withdrawals and the amount of our

10   earnings.    And the market value.

11          Q    So this graph at the bottom where it says,

12   "History."

13          A    Yes.

14          Q    It sort of goes down over time and then it has

15   these bumps, like a bump in April.      And then it goes

16   down, and then there's a bump in April 2021.      Do you

17   know what those bumps were from?

18          A    Yes.   That's -- okay.   So it -- when it goes

19   down, that shows that our monthly amounts are coming

20   out.    Then that bump -- those bumps, when they occurred,

21   would have been when we got over 5 percent.

22               So that's why it's our anniversary date was

23   April 30th.    So that's basically May 1st when that

24   should have gone up.    And then you can see -- what's

25   that one?    I don't know what that bump is in -- can't



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 1   see -- Joni, I can't see those -- oh, okay.

 2               So let me -- I can look up -- because I think

 3   one -- a couple years we got 10 percent.      One year --

 4   that little bump would have been 6 percent.

 5        Q      So like in 2020 it hardly bumped at all.

 6        A      Right.    I think it was --

 7        Q      Just a little blip.

 8        A      -- at 6 percent then.

 9        Q      Okay.    So you never made additional capital

10   deposits.    These are just your, like annual --

11        A      Over 10 -- so anytime it was over -- when it

12   -- whenever it was over 5 percent.

13               MS. OSTLER:   Okay.   So I skipped Exhibit 10,

14   so I'm going to go back to it now if it will open.

15                                (SEC Exhibit No. 10 was marked

16                                for identification.)

17               BY MS. OSTLER:

18        Q      I'm now showing Government Exhibit 10, which

19   is SEC Hartman C E 4.

20        A      Mm-hmm.

21        Q      This appears to be an account statement from

22   Crew Capital Group to you.      Do you remember where you

23   got this?

24               (The witness examines the document.)

25        A      That would have been from Steve.    That was our



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 1   original investment, I think.

 2        Q     So you didn't get things like this

 3   periodically mailed to you.

 4        A     No.

 5        Q     Okay.   So it's showing that your account was

 6   open on April 30, 2018; is that right?

 7        A     That's correct.    And there were, you know,

 8   there were two deposits:     one was the Transamerica, and

 9   the other was the American Funds/Lincoln.

10        Q     But they both went in in April 2018.

11        A     I think they both got there -- I'd have to,

12   I'd have to look.   The second one may have not gotten

13   there until May 9th.

14        Q     Okay.

15        A     For some reason.    I'd have to look.   I'd have

16   to look.   But that date sticks in my mind.    I can look

17   at my records if you want me to.

18        Q     That's okay.

19        A     Okay.

20                               (SEC Exhibit No. 12 was marked

21                               for identification.)

22              BY MS. OSTLER:

23        Q     So I'm now showing you Government Exhibit 12,

24   which is SEC HartmanC E 7.     And this is an email that

25   you sent to me, and it looks you're forwarding me an



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 1   email that you got from the address

 2   weeklyupdate@blueleaf.com on May 20, 2018.

 3        A    Mm-hmm.

 4        Q    Do you remember getting weekly updates; emails

 5   like this from blueleaf.com?

 6        A    No.    I did not.

 7        Q    So do you think was just like a one-off?

 8        A    Yes.   And it looks like Jason was involved at

 9   that point -- I'm sorry.

10        Q    Summit Capital; was that Steve's investment

11   advisor company at that time?

12        A    Yes.

13        Q    I'm just going to scroll down a little.    And

14   this -- the second page has a list of your various

15   investments and the top one is Bank of Utah IRA.

16        A    Right.

17        Q    Was that the same thing as your Crew Capital?

18        A    Yes.

19        Q    And then you've got zero balances on Lincoln,

20   Transamerica Life, Transamerica Funds Roth.

21        A    Right.

22        Q    And Jackson National Trust.

23        A    Right.

24        Q    Were those the accounts that you took your

25   money from to put into Crew?



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 1        A     All except that 403b from Transamerica.    So

 2   there is a -- okay.   So there's a Transamerica

 3   Traditional; that, that went in.    Then there's that

 4   Lincoln Financial, which also had American Funds in the

 5   name.    Those are the two that went in.   And then there's

 6   that Roth from Transamerica.   And I took that myself and

 7   put it into Vanguard.

 8        Q     Okay.

 9        A     Because the whole Transamerica investment was

10   not performing.    And so we put the traditional IRA money

11   into Crew and the Roth account.    I told Steve, I would

12   just take it and put it where I wanted to because it all

13   couldn't go in the same account because they're

14   different types of investments.

15        Q     So you were taking distributions from Crew

16   Capital.   Would you tell Steve how much you wanted to

17   take?

18        A     I can tell you -- I, I can tell you how much

19   we took if I have a minute to look it up.     Over the four

20   years, we took a little -- around $200,000.     The first

21   year we took -- and I, and I have the IRS -- I, I have

22   the IRS document from the Bank of Utah that I -- I've

23   never given to you because I just went through our tax

24   records and found all of that.    So I can send you the

25   1099 forms that show what we took.    And also that other



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 1   form that shows what the market value of my trust

 2   account was.

 3             So from June of 2018 to May of 2020, we took

 4   forty-seven fifty.   And so that was a total of $109,000

 5   -- 109,250.    Then from -- then we decided we wanted to

 6   lower the amounts, because we were eating into the

 7   principal a little bit.   So we went from, from 6/1 of

 8   2020 to 4/1 of 2021, we took forty-two fifty.

 9             And then again, we decided that, that we

10   wanted to back off so that the principal would stop

11   coming down.   And so from 5/1 to 2021 we were taking

12   thirty-five hundred.   And those are the gross amounts.

13   So part of the money would go from -- that forty-seven

14   fifty, the reason it's a little bit more is the Bank of

15   Utah was supposed to be paying our taxes to the IRS and

16   to the State of Oregon.   And in 2019 we, we found that

17   they -- they had sent all the money to the IRS and

18   nothing to the State of Oregon.    And so we were

19   penalized by the State of Oregon for that.

20             And then Steve told us that the Bank of Utah

21   couldn't send money to the State.    And so we said, "Well

22   okay then, we'll just start sending our money to the

23   State."   So I don't know why --

24        Q    So --

25        A    I don't know why -- I don't know if that was



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 1   true, why the Bank of Utah couldn't send money to the

 2   State of Oregon for our taxes.

 3        Q    So each time that you wanted to change your

 4   monthly draw, did you have to tell Steve?

 5             MALE VOICE:    (Coming from Witness's room) Yes.

 6             THE WITNESS:    Yes.

 7             BY MS. OSTLER:

 8        Q    Did you ever tell Jake Cazier and not Steve?

 9        A    No.    I do not recall doing that.

10        Q    Your Forms 1099 came from the Bank of Utah,

11   and they said "Bank of Utah" on them?

12        A    Yes.    I can send all of those to you that I

13   just found.

14        Q    Okay.   So I want you to try to remember, did

15   Jake Cazier ever tell you anything about Crew Capital

16   like, what the returns were?

17        A    Yes.

18        Q    Do you remember a specific instance of him

19   telling you that?

20        A    Yes.    He sent -- he, he sent an email earlier

21   this year.    And I don't know -- because I was asking a

22   question about the -- the account.    And, and Jake sent

23   an email to me and said, "Just" -- you know, "Just so

24   you know, there" -- "there's a 5 percent minimum and a

25   10 percent maximum."



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 1               And I -- when I got, when I got the email I

 2   was a little irritated because that was something I

 3   obviously knew.     And so I didn't keep it.   I deleted it.

 4        Q      Okay.

 5        A      But he did send it to me.

 6        Q      Was that this year?

 7        A      Yes.

 8        Q      2022?

 9        A      Yes.

10               MS. OSTLER:   I'm going to show you another

11   document.

12                                (SEC Exhibit No. 13 was marked

13                                for identification.)

14               BY MS. OSTLER:

15        Q      I'm showing Government Exhibit 13, which is

16   SEC HartmanC E 79.

17        A      Yes.

18        Q      Do you recognize this document as an email

19   from Jake Cazier to you?

20               (The witness examines the document.)

21        A      Yes.

22        Q      And it says -- I know it's small, but it says,

23   "Monday, October 26, 2020."

24        A      Yes.

25        Q      And you sent this email to me, right?



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 1         A    Right.

 2         Q    It looks like there are four attachments on

 3   it.

 4         A    Right, and one's Crew Capital.

 5         Q    Okay.    But you -- I think that you were

 6   talking about this earlier.     You said you could no

 7   longer get those attachments?

 8         A    I -- I'm not sure.    I am not sure if I can get

 9   those attachments or not.     The, the one that I was

10   referring to was the, the document that came in this

11   year, about April, when Steve didn't show up at the

12   meeting.   I think I can download those if need be.

13         Q    Okay.    So it was the -- so Jake would have

14   sent a email similar to this in April of this year.

15         A    Yes.

16         Q    And that's the one that you couldn't get the

17   attachments off of.

18         A    Yes.

19         Q    Okay.

20         A    Yes.

21                               (SEC Exhibit No. 14 was marked

22                               for identification.)

23              BY MS. OSTLER:

24         Q    So I'm going to switch over to Exhibit 14.

25   Can you see Exhibit 14 now?



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 1        A    That's the one.   Yes.   That's the one.

 2        Q    So this is actually the same email --

 3             (The witness examines the document.)

 4        A    Oh, no.   Then it's not the one.

 5        Q    October 26, 2020.   But I pulled this out of a

 6   different source.

 7        A    Okay.

 8        Q    And this has the attachments.    And so --

 9        A    Oh, okay.

10        Q    -- this second page here is the Crew Capital

11   attachment.

12        A    Okay.

13        Q    So when Jake sent you the documents for the

14   meeting, did you ever talk to him about what the

15   documents showed or what they were?

16        A    No.

17        Q    When you went to the meeting, did you look at

18   this Crew Capital statement that he sent you to talk

19   about it at all?

20        A    Yes.    We would have -- at those meetings,

21   that's when we would have discussed whether or not we

22   wanted to keep the withdrawal where it was or change it.

23        Q    And where it says, "Index Date," that's what

24   you were talking about earlier when that's the date it

25   would look at the S&P 500 and see if you got your bonus.



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 1        A    Right.    Because the index date and then the

 2   index price is the value of the S&P 500.   2912.

 3        Q    Okay.    So did it work like, then one year from

 4   this, if the index was higher than 2912, then you got

 5   your bonus?

 6        A    Yes, which was always an interesting situation

 7   for us because the stock market could have really been

 8   increasing a lot.   But for some reason, on April the

 9   30th -- and this has nothing to do with Steve -- but on

10   April the 30th, there would seem to be downturn.    And so

11   when the market had been returning over 15 percent, we

12   would still only get the 10 or less.   But then there was

13   one year where either the market was below the 5

14   percent, and we got the 5 percent.

15             So it was always a lottery draw, whether or

16   not on the date that our anniversary was, would be the

17   date that we were going to get over 10 percent.

18             Do you understand what I'm --

19        Q    Yeah.

20        A    Yes.

21        Q    So I'm just going to scroll a little bit more

22   to the next attachment that was on this email.

23        A    Okay.

24        Q    And this says, "October 2020 Income Plan."

25        A    Mm-hmm.



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 1        Q    It says on the bottom "Prepared by Cathy

 2   Hartman," but it -- that's inaccurate, isn't it?

 3        A    Yes, it is.   It should say, "Prepared for"

 4   maybe, but yeah, uh-huh, that's inaccurate.

 5        Q    You -- yeah -- you got this from Jake, right?

 6        A    Yes.

 7        Q    Would he prepare one of these for you every

 8   year?

 9        A    Yes.

10        Q    On the list of your investment accounts it

11   shows Crew Funds Index IRA, and that was there every

12   year?

13        A    Yes.

14        Q    Okay.   That's all I have for these documents.

15   I'm just going to shut that.

16        A    And that's all that remain, because those

17   Jackson accounts stayed with Jason Kimber.    They did not

18   -- Steve and Jason parted -- which was something that

19   was confusing to us -- parted ways.   Was it -- it was

20   maybe 2019 to the best of my recollection.    And Jason

21   kept the Jackson accounts.   And we said to Steve, "Why

22   is Jason keeping the Jackson accounts and you're taking

23   the Crew accounts?"

24             And he said something like, "I'm taking the

25   big accounts and Jason's keeping these little smaller



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 1   investments."

 2        Q    Did you ever talk to Jason about that?

 3        A    No.

 4        Q    Did you ever talk to Jason about Crew Capital?

 5        A    No.

 6        Q    How did you learn that Steve Swensen had died?

 7        A    Jason Kimber called us.

 8        Q    What did he say?

 9        A    Uh, "Bad news.   Steve took his life."

10             And we said, "Oh, no.   What happened?"

11             And Jason said, "Steve was having problems."

12             And we said, "Financial?"

13             And he said, "No, but he and I had a

14   discussion and I thought we had settled everything.    But

15   I guess we hadn't."

16        Q    Are you sure it was Jason that called you or

17   was it Jake?

18        A    So -- no, it was Jason.

19        Q    Okay.   Did Jake ever call you after Steve

20   Swensen had passed away?

21        A    Yes.    Jason called us or sent us texts on a

22   weekly basis.

23        Q    Oh, now you mean Jake, right?

24        A    Jake.   Jake, Jake.

25        Q    Jake Cazier?



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 1        A      Yes.

 2        Q      And what has he said to you in those phone

 3   calls and texts?

 4        A      Oh, my gosh.    A lot of stuff.   On -- and I've

 5   got -- I, I kept the record.      So on June 8th, Jake

 6   called us and told us -- he didn't -- he went to the

 7   Bank of Utah on the Monday after Steve took his life to

 8   take over the account, found out there was nothing

 9   there.    And -- and then he also told us that we may not

10   receive, you know, our monthly payout for the next two

11   months.   Well, it's been longer than that.

12               And then on July 15th he called me.     He called

13   me, we had a longer conversation.      And he, he told me

14   about a meeting that he had had with Jodie Buckner at

15   the Bank of Utah.    And she relayed to him that a while

16   back -- and I'm not sure how long a while back is -- a

17   while back she'd become suspicious of what was going on

18   with the Crew Capital account, and so she had decided to

19   make an unannounced visit to Steve's office.       And she

20   went there and there were a number of people working at

21   desks and so she assumed that, that was the Crew Capital

22   business that was taking place, and she didn't ask any

23   particular questions and left it at that.

24               And then on July 27th, Jake gave us the SEC

25   contacts.    Gave me you.



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 1             And then on July 30th he called and told me

 2   the Jodie Nutt story again.    And then also told me that

 3   he was the one that became suspicious enough that he

 4   contacted -- what -- it's called Wealth Navigation or

 5   Oak, whatever it's -- else it's called.    Seems to be two

 6   names tied together.

 7             Anyway, he called the company, said that he

 8   thought Steve was doing something that wasn't

 9   legitimate.   And the company contacted Steve and I --

10   and told them they wanted an accounting of the records.

11   And I'm not sure what happened after that because on

12   June 6th, they took his license away.    And I was not

13   sure that he had ever done anything.

14             And then -- let's see -- after that Jake

15   started sending -- he sends a text either weekly or

16   every-other week from this point on that just says, "I

17   don't have any new information."    Basically it says, "I

18   don't have any new information."

19        Q    Have you spoken --

20        A    Oh, but Jake -- oh, Jake did say on one of

21   those meetings that he was in a world of hurt because of

22   Steve and his own license was in jeopardy.    And he also

23   said that Steve was probably facing prison time for what

24   he did.

25        Q    Even though he's dead?



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 1        A      No.   That was one of the earlier conversations

 2   -- yeah.    Well yeah, this was in retrospect.

 3        Q      Okay.

 4        A      He said Steve was probably going to go for --

 5   going to go to prison for this.

 6        Q      So he said that even before Steve died?

 7        A      No, no, after.

 8        Q      Oh, okay.   Like he was saying that Steve would

 9   have gone to prison --

10        A      Mm-hmm.

11        Q      Okay.   Had he not died.

12        A      Mm-hmm.

13        Q      Have you spoken to anyone at the Bank of Utah

14   since Steve died?

15        A      Just Janna Copley.   Just to ask her -- I

16   originally had a question about that letter that they

17   sent out.    Oh, and then -- oh, that was on another phone

18   call.

19               So, so we got -- okay, so we did get the July

20   payment.    And then when our August payment didn't come,

21   Jake told us that some people had gotten their August

22   payment.    So I called the Bank of Utah to ask why we

23   didn't get ours.      And Janna said there was no money

24   there.

25        Q      And when you are referencing the letter you



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 1   got from Bank of Utah, you're referencing the letter you

 2   got after Steve died?

 3          A     Yes.

 4          Q     Okay.   Is there anything else that you think

 5   is important to tell us?

 6          A     Well I would like to send you those other tax

 7   forms that I, I got from the Bank of Utah to go to the

 8   IRS.    And my -- may I ask you?     If they sent government

 9   documents that shows the value of my account, doesn't

10   that suggest that that money should be there, and they

11   should know that money is there?

12          Q     I can't -- I don't really have an answer.     I'm

13   sorry.     From --

14          A     Well, the -- it seems to me they're forging

15   government documents.

16          Q     You should talk to your lawyer about -- if you

17   hire a lawyer --

18          A     Yes.

19          Q     -- you have to talk to your lawyer about that.

20          A     I'm going to.   Yes.   May I ask you?   What is a

21   custodian?     I've looked up custodian online as a

22   financial definition.     And a custodian has a

23   responsibility to look out for the money, to know where

24   the money is.

25          Q     So I can't really answer that either.     I'm not



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 1   allowed to give you legal advice.    I'm sorry.

 2        A     Okay.

 3        Q     I'm so sorry, Mrs. Hartman.   But your lawyer

 4   would be able to help you with that, too.

 5        A     Yes, okay.

 6        Q     Yeah.   I did want to ask you something about

 7   something you mentioned earlier.    You said that you were

 8   able to see your account on the Bank of Utah website

 9   until recently.

10        A     Yes.

11        Q     Can you explain that more?

12        A     Yes.    When I was going through my documents,

13   I, you know, I find -- found the original letter from

14   the Bank of Utah that suggested that I could send --

15   that I could set up an account by going to the trust

16   section of the bank.    And I thought, "I've never done

17   that."   Because I always just looked at crewcapital.com.

18   And so I thought, "Well I think I'll do that," and just

19   see what it says.    So I went in, and I set up an account

20   and it said that I had something like, $744,000 in that

21   trust account.

22              The following week, I tried to sign into that

23   account, and it said my password was not valid.     So I

24   went back to my original sequence to set up another

25   account.   I thought, "I'll see what happens here."



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 1             And the way the sequence works is you put in

 2   the request, and they send something to your email, and

 3   you track -- go from that email to set up the account.

 4   Well when I put in that second request, I never got

 5   anything back on my email to set up an account.    But I

 6   did take screenshots of what was there on August 23rd.

 7        Q    That was just this August 2022.

 8        A    Yes, 2022.   And I have not contacted the Bank

 9   of Utah to ask them why I can't see that account.      The

10   only question I had for them is I sent an email to Janna

11   to say, "Do you have our tax payments on account there

12   or have you been forwarding them to the IRS?"

13             And she says they forward them to the IRS on a

14   monthly basis.

15        Q    Okay.   Is there anything else that you can

16   think of that you want to supplement about what you said

17   today or --

18        A    Only, only that we had no idea that there was

19   anything going on.    We were perfectly happy with this

20   Crew Funds account.    We even recommended it to our

21   family and friends, and we are so thankful that none of

22   them signed on.   But it was -- it was just performing

23   exactly the way Steve had said.   We were able to take

24   our money out and actually maintain the principal.

25             So we just thought this was a perfect



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 1   situation.   We didn't think that the amounts that we

 2   were getting were that extraordinary because I said, in

 3   some years, the S&P 500 was -- had performed far beyond

 4   what we got as our 10 percent because of when the

 5   anniversary date was.   And so in my mind I always

 6   thought, "Well this is, this is good because the company

 7   has obviously made more money than they're giving us."

 8   They've made over that 10 percent.    And so totally

 9   solvent and everything's fine.

10              So we never in our wildest imagination thought

11   anything like this was happening.    That's all I would

12   say.    Steve was our friend.

13          Q   So you believe -- you believed your money was

14   invested somewhere.

15          A   Yes.

16          Q   Either in the S&P 500 or some other --

17          A   Yes, yes.

18          Q   Okay.

19          A   Yeah.

20          Q   And that you had a -- an account at a company

21   called Crew Capital.

22          A   I thought my money was at the bank.   Well, I

23   guess I thought Steve was somehow managing the money at

24   the, at the Bank of Utah.    What I assumed was that there

25   was a Crew Capital company that was making the money and



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 1   they were sending my 5 percent daily to the Bank of Utah

 2   and that money was mine, and then they had whatever

 3   funds they had, and they were investing them.         But that

 4   was my money there.    That's what I thought.       And nobody

 5   was doing anything with that money except me.         That's

 6   what I thought.

 7              MS. OSTLER:    Cher, do you have any questions?

 8              MS. MORI:   No.

 9              I -- just to follow up on your last comment,

10   it sounds like you thought that because of what Steve

11   Swensen was telling you.      Is that right?

12              THE WITNESS:    Yes.   Yes.

13              MS. MORI:   Yeah.

14              THE WITNESS:    And Steve Swensen was a -- a

15   student -- he was a student in my class in 1992.

16              MS. MORI:   Wow.

17              THE WITNESS:    And so he graduated from Utah

18   State about 1996.   And my husband's a pilot.        Steve was

19   a pilot.   Phil Swensen was a pilot.      And so they shared

20   that aviation interest.      We used to talk about airplanes

21   all the time.   And the last email we got from Steve,

22   after that May meeting says, "Just love you guys," you

23   know -- it's like, "Okay."      Anyway.   Anyway.

24              MS. MORI:   Well, I just want to, again, thank

25   you for taking the time and know this is a difficult



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 1   situation and a lot of, you know, stress and anxiety is

 2   involved.    So we really appreciate you providing this

 3   testimony.    It's very helpful.

 4               THE WITNESS:    I've adopted a new attitude of

 5   late.   I was really upset about this and sometimes I'd

 6   wake up in the middle of the night and I was really

 7   upset about this.    But the way I look at it, the fraud

 8   has happened.    It's over with.      It's done.    There is no

 9   reason to be upset about it.        Only going forward, I have

10   to be a good witness for the prosecution.          That's the

11   way I look at this.     So I'll do whatever I --

12               MS. MORI:   Well we appreciate it.

13               MS. OSTLER:    Yeah.    Thank you very much.

14   You've been immensely helpful.

15               THE WITNESS:    Okay.

16               MS. MORI:   Very much so.

17               THE WITNESS:    Would you like to see my

18   government documents from the Bank of Utah?          I'll, I'll

19   send them to you.

20               MS. OSTLER:    Yes.    Yeah, please do.

21               THE WITNESS:    Okay.

22               MS. OSTLER:    Yeah.

23               THE WITNESS:    Well thank you.    We appreciate

24   everything you're doing.      I'm hopeful, since I did my

25   reporting, so you can freeze the assets, that there's



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 1   something there.

 2             We'll probably sign on with a lawyer.     But we

 3   took the documents that they sent us, and they advised

 4   us let somebody else look at this.     And -- because

 5   they're doing it on a contingency basis.     And so we're

 6   having somebody else look at that before we sign it.

 7   This lawyer said that they have probably over 12

 8   investors signed on right now: that they're going to be

 9   going after the estate and everybody else for the

10   damages and more.

11             MS. OSTLER:    So let's --

12             THE WITNESS:    Thank you again.   I'm glad

13   you're there.

14             MS. OSTLER:    Yeah.

15             THE WITNESS:    I suppose I would always like to

16   know how much longer this is going to take.     I know you

17   can't tell me that, so I'll just say --

18             MS. OSTLER:    Well let's go ahead and go off

19   the record.

20             (Whereupon, at 12:39 p.m., Mountain Daylight

21   Time, the examination was concluded.)

22                             * * * * *

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 1                   PROOFREADER'S CERTIFICATE

 2

 3   In the Matter of:      STEPHEN ROMNEY SWENSON

 4   Witness:               Cathy Hartman

 5   File No.               SL-02881-A

 6   Date:                  Wednesday, September 7, 2022

 7   Location:              Salt Lake City, Utah

 8

 9               This is to certify that I, Christine Boyce,

10   (the undersigned), do hereby certify that the foregoing

11   transcript is a complete, true and accurate

12   transcription of all matters contained on the recorded

13   proceedings of the investigative testimony.

14

15

16   _______________________             _______________________

17   (Proofreader's Name)                 9-16-2022

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 1                     REPORTER'S CERTIFICATE

 2

 3   I, Lee Ann Tardieu, reporter, hereby certify that the

 4   foregoing transcript is a complete, true and accurate

 5   transcript of the testimony indicated, held on 9/7/22,

 6   at Salt Lake City, Utah, in the matter of:

 7   STEPHEN ROMNEY SWENSON.

 8

 9   I further certify that this proceeding was recorded by

10   me, and that the foregoing transcript has been prepared

11   under my direction.

12                9-19-2022

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              Full-size Transcript

                  Prepared by:


                   SL-02881

            Thursday, October 6, 2022
                                                                1

 1   UNITED STATES SECURITIES AND EXCHANGE COMMISSION

 2

 3   In the Matter of:               )

 4                                   )   File No. SL-02881-A

 5   STEPHEN ROMNEY SWENSEN          )

 6

 7   WITNESS:   Mark Lee Fox

 8   PAGES:     1 through 72

 9   PLACE:     Securities and Exchange Commission

10              351 SW Temple, #6-100

11              Salt Lake City, UT   84101

12   DATE:      Thursday, September 8, 2022

13

14        The above-entitled matter came on for hearing, via

15   WebEx, pursuant to notice, at 10:05 a.m.

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24        Diversified Reporting Services, Inc.

25                   (202)467-9200



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 1   APPEARANCES:

 2

 3   On behalf of the Securities and Exchange Commission:

 4        CHERYL MORI, ESQ.

 5        JONI OSTLER, ESQ.

 6        TREVOR BURKE, ESQ.

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 8        Securities and Exchange Commission

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10        Salt Lake City, UT   84101

11        (801)524-3141

12        MoriC@sec.gov

13

14   On behalf of the Witness:

15        MARK LEE FOX, PRO SE

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 1                    C O N T E N T S

 2

 3   WITNESS:                                       EXAMINATION

 4   Mark Lee Fox                                              5

 5

 6   EXHIBITS       DESCRIPTION                       IDENTIFIED

 7   15          Letter to SEC                                22

 8   16          Email, Cazier to Fox & Swenson, 2/4/20       26

 9   17          Mark & Barbara Fox Income Plan, Feb 2020     28

10   18          Crew Capital Group Account Summary           31

11   19          2021 Form 109-INT                            33

12   20          May 2022 Income Plan, 5/13/22                34

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 1                         P R O C E E D I N G S

 2             MS. MORI:   We are on the record on September 8th,

 3   2022 at 10:05 a.m., Mountain Standard Time -- no wait --

 4   yeah Daylight Time.   My name is Cheryl Mori and with me is

 5   co-counsel Joni Ostler.    We are members of the Staff of the

 6   Enforcement Division of the Salt Lake Regional Office of the

 7   United States Securities and Exchange Commission.     We are

 8   also officers of the Commission for the purpose of this

 9   proceeding.   This is an investigation by the Commission

10   titled, "In the Matter of Stephen Romney Swenson, SL-02881,"

11   to determine whether there have been any violations of the

12   federal securities laws or rules for which the Commission

13   has enforcement authority.    However, facts developed in this

14   investigation might constitute violations of other

15   federal or state, criminal or civil laws.     Also with us is

16   Trevor Burke, who is also an attorney at the SEC.

17             Your testimony is not pursuant to a subpoena.

18   Accordingly, you should understand that your appearance here

19   is voluntary.   Do you understand that you need not answer

20   any question and that you may leave at any time you wish?

21             THE WITNESS:    Yes, I do.

22             MS. MORI:   Do you consent to being placed under

23   oath?

24             THE WITNESS:    Yes.

25             MS. MORI:   And do you consent to taking an oath to



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 1   tell the truth remotely via Web-Ex rather than in person?

 2              THE WITNESS:   Yes.

 3              MS. MORI:   Please raise your right hand.

 4   Do you swear to tell the truth, the whole truth, and

 5   nothing but the truth?

 6              THE WITNESS:   I do.

 7              MS. MORI:   Thank you.

 8   Whereupon,

 9                              MARK LEE FOX

10   was called as a witness and, having been first duly sworn,

11   was examined and testified as follows:

12                              EXAMINATION

13              BY MS. MORI:

14        Q     Would you please state and spell your full

15   name for the record?

16        A     It's Mark Lee Fox -- L-e-e F-o-x.

17        Q     Great, thank you.     This testimony session is

18   being conducted remotely so would you please provide the

19   address where you are right now?

20        A                                         in Cocoa Beach,

21   Florida,          .

22        Q     And is that your home address?

23        A     Yes.

24        Q     Prior to the opening of the record, I showed you

25   on screen the Formal Order directing private investigations



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 1   and designating officers to take testimony in this matter.

 2   It will be available for your examination during the course

 3   of this proceeding.   Have you had an opportunity to review

 4   the Formal Order?

 5        A    Yes.

 6        Q    And do you have any questions about the Formal

 7   Order?

 8        A    Not at this time, no.

 9        Q    Also prior to the opening of the record, you were

10   provided with a copy of the Commission’s Form 1662 titled,

11   "Supplemental Information for Persons Requested to Supply

12   Information Voluntarily or Directed to Supply Information

13   Pursuant to a Commission Subpoena."   A copy of this form

14   will be available throughout the testimony today.    Have you

15   had an opportunity to read the Form 1662?

16        A    Yes.

17        Q    And do you have any questions concerning this

18   notice?

19        A    No, not at this time.

20        Q    Are you represented by counsel today?

21        A    No.

22        Q    Since you do have not counsel, I am going to go

23   over certain matters discussed in the Form 1662.    You do

24   have the right to be accompanied, represented, and advised

25   by counsel.   This means that you may have an attorney



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 1   present and that your attorney can advise you before,

 2   during, and after your examination here today.    Do you

 3   understand this?

 4        A     Yes.

 5        Q     Do you understand that upon your request, these

 6   proceedings will be adjourned so that you may obtain

 7   counsel?

 8        A     Yes.

 9        Q     Do you understand that the statute set forth in

10   Form 1662 provide criminal penalties for knowingly providing

11   false testimony or knowingly using false documents in

12   connection with this investigation?

13        A     Yes, I understand that.

14        Q     Do you understand that you may assert your rights

15   under the Fifth Amendment to the Constitution and refuse to

16   answer any question which may tend to incriminate you?

17        A     Yes.

18        Q     Okay, great.   Before we begin with the substantive

19   portion, let's just go over a few guidelines for testimony.

20   Your testimony is under oath and will consist of a series of

21   questions and answers.    I'll ask the questions and you are

22   to answer the questions truthfully and to the best of your

23   ability.   Do you understand that?

24        A     Yes.

25        Q     To the extent that you don't know the answer or



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 1   are merely speculating, please let us know on the record.

 2   It's also important that you both hear and understand my

 3   questions so if you don't hear or don't understand, please

 4   ask me to repeat or rephrase it.

 5        A    Okay.

 6        Q    I will assume -- if you answer a question, I will

 7   assume that you heard and understood the question.   Do you

 8   understand that?

 9        A    Yes.

10        Q    The court reporter is going to create a written

11   transcript of your testimony.   In order to make a clean

12   record, it's important that we -- that you answer all my

13   questions verbally.   Nodding of the head and uh-huhs and

14   huh-uhs are a little bit hard to understand on the record.

15   Also, try to let me finish my question before you answer and

16   I'll try to let you finish my answer.   Sometimes it's hard

17   to remember that so we'll try to remind each other and the

18   court reporter will remind us if we're having -- if she's

19   having a little difficulty understanding.

20             So I'm going to be showing you some documents on

21   screen.   Because of this non-public nature of the

22   investigation you cannot photograph or screenshot, make any

23   copies of the exhibits.   Most of them are ones that you

24   produced to me -- to us but there are a couple that were

25   produced by other parties.



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 1             If you need to take a break for any reason just

 2   let me know and we will find a time to go off the record.

 3   Let's see, is there any reason why you cannot provide

 4   complete and truthful testimony today?

 5        A    No.

 6        Q    Are you ill or have you taken any medication or

 7   any alcoholic drinks today?

 8        A    No.

 9        Q    Okay.    Now we'll get to the real part of the

10   testimony.

11        A    Okay.

12        Q    So Mr. Fox, are you currently employed?

13        A    No, I'm self-employed.

14        Q    Self-employed, okay.    And so you're not retired at

15   this point?

16        A    Well, it depends how you define "retired," because

17   I'm not making any money.

18        Q    Oh.

19        A    I'm inventing devices.    So I'm inventing a semi-

20   medical device I've been working on for three years but I'm

21   not -- I work for myself.    I have my own LLC.   I don't have

22   any income right now because I've been in research mode.

23        Q    I see.   Okay.   And are you married?

24        A    Yes.

25        Q    And what's your wife's name?



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 1        A      Barbara.

 2        Q      Barbara.   And does Barbara work outside the home?

 3        A      Yes. She works for Oracle Software.

 4        Q      Okay, great.   And how did you first meet Steve

 5   Swensen?

 6        A      I first met him -- we were hangar mates, so

 7   airplane hangars in Ogden, Utah.     We are -- I was looking

 8   for a hangar to share with somebody and one of the

 9   facilitators said, "Hey, there's a guy that's got this

10   hangar that has room for an airplane."     We both had small

11   airplanes at the time and so that -- we meet that way, as

12   hangar mates.

13        Q      Okay, great.   And was there some point that you

14   became -- that Mr. Swensen became your investment advisor?

15        A      Yes.   So when I met him there as, you know, hangar

16   mates and I asked him what he did of course.      He asked what

17   I did -- I worked for Morgan Fical at the time -- and he

18   said he was a financial advisor and I asked about that, that

19   I didn't have one or would like to have one.      And I told him

20   I said -- so I had several E*TRADE accounts that were

21   scattered in my name because I had started them -- different

22   accounts.    I'm like, "I can't get them all consolidated so

23   like if you can figure out how to get these pulled together

24   into one account then we'll talk about you being my

25   financial advisor," and he said, "Okay."     So then he worked



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 1   on that for several months and got them all into one

 2   account.

 3        Q     Okay.   So about how long was that -- ago was that,

 4   do you remember?

 5        A     Yeah.   I mean, about 20 years ago, roughly.

 6        Q     Okay.   And so when he became your investment

 7   advisor did you -- was it over the E*TRADE accounts or was

 8   there other money that you put with him?

 9        A     It was started with the E*TRADE accounts and then

10   we opened multiple accounts after that, different accounts

11   based on, you know, over time and our savings and our money

12   of what else do you recommend that we put our money in?    And

13   he has this strategy called the "Bucket Strategy," that he

14   put, you know, money into four different buckets for

15   investment.   Bucket one was money you're going to need near

16   term for retirement and bucket four is riskier stuff that

17   you wouldn't need for a longer term.

18        Q     Okay.   So Bucket one was the safest investment?

19        A     Yes.    So it's --

20        Q     Is that right?

21        A     It's whatever you were going to need the first --

22   you're going to draw from bucket one when you first retire

23   so it's stuff like bonds and things and actually Crew Funds

24   was my bucket one for the last 30 years.   So --

25        Q     Okay.   So when did you first hear about Crew



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 1   Funds?

 2        A    I'm guessing but it roughly about the time I

 3   signed up for it so it would have been about 2019.

 4        Q    And what were you told about Crew Funds?   Was it

 5   Mr. Swensen that talked to you about it?

 6        A    Yeah, it was Steve Swensen that talked to me about

 7   it so each -- well to answer your question a little bit

 8   broader is I'd say that each time that we would go into a

 9   fund or annuity or, you know, open up a new thing, I'd spend

10   a lot of time drilling into how does this thing work?"     "How

11   is it safe?," blah, blah, blah.   So I'd -- you know, the

12   first fund was called, "Jackson," and I probably spent a

13   year beating him up with questions and answers because we

14   were putting quite a bit of money into it.   So -- and then

15   that was an annuity.   And then we got a Genworth annuity.

16   Then we had money in Schwab and some other places.

17             And actually, the Crew Funds was the last fund

18   that we opened, which I said was like three years ago.     So

19   at that point I wasn't beating him up so much as far as,

20   "What does this thing do," right?   As he just basically

21   explained Crew Funds to me at that time was, he said it's

22   low risk in that -- for short term money because it pays a

23   minimum of 5 percent and a maximum of 10 percent and so it's

24   way better than a bank account, right, that's paying 0

25   percent or 0.3 or whatever.   So I'm like -- I asked him -- I



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 1   go, "So how does that work?"    I go, "I assume the fund

 2   managers are banking on the rationale that the market's

 3   going to have 12 to 13 percent long term and so when there's

 4   a bad market and it's down 5 percent that they have to have

 5   a lot of cash to be able to, you know, float this and be

 6   able to make it work?"   And he said, "That's exactly

 7   correct.   There's a bunch of cash that's backed behind it --

 8   5 percent's the minimum, 10 percent is the max."    And so

 9   that's what we -- initially, I don't remember, I might have

10   put 250,000 or something in it and then another 500,000 and

11   anyway, it was up to a million dollars.    So we -- we -- my

12   wife gets -- she's a vice-president at Oracle so in the

13   summertime she usually has what's called 'stock options,'

14   but they're RSUs that get invested so then we have some cash

15   that we need to put somewhere.    And so that's what we've

16   been doing for the last three years, is putting it into the

17   Crew Fund.

18        Q     I see.   So it sounds like you -- you really asked

19   him about -- and you did your due diligence asking him about

20   the safety of the investment.    And is that something you

21   talked about?

22        A     I did but to be honest, I -- doing my due

23   diligence, I did that for 20 years on 7 other accounts,

24   right?   So -- and I even said this to him years ago.   I

25   said, "So this is your business model is you let somebody



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 1   be" -- he's a very nice guy, gentle guy, right?      So I'm

 2   like, "You get beat up for a year, year-and-a-half until

 3   people trust you and then they stop beating you up.       Because

 4   we did probably financial reviews every month for several

 5   years.

 6          Q     Oh really.

 7          A     And then we went to once a quarter then twice a

 8   year.      And so I -- you know, he goes, "Right, that is the

 9   model that" -- so and then, I mean -- and we were kind of

10   not personal friends but you know, I presented to his

11   clients before in keynote presentations and stuff so we knew

12   each other.     I didn't know his family or anything.    But

13   anyway, so when it got to the Crew Fund, after 20 years of 7

14   or 8 other funds of beating him up, he presented what it

15   was.    It didn't sound like risk, a lot of it.    One of his

16   partners -- so that was it.     So I didn't -- what I think I

17   said in some of the documents I gave you before, what most

18   of my reviews are is I -- once the account is set up, I'm

19   not asking him about the account structure and due

20   diligence.     We're just looking at, what is your net worth,

21   when can I retire, and how much money can I draw?       So you're

22   only looking at --

23          Q     Right.

24          A     -- the passive income plan.   It's only once every

25   5-6 years that you have a new investment.      And actually, we



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 1   weren’t planning on any new investments.       We were planning

 2   on whatever money -- when you started to draw money,

 3   whatever money was coming out of bucket one -- which would

 4   be the Crew Fund -- was you'd just move more money into the

 5   Crew Fund, into safer investment money.       So the system that

 6   he had set up, theoretically, was you could withdraw money

 7   out of the any time.     On his website he had a little

 8   withdraw button and you could withdraw whatever you wanted

 9   to.    I have not started any of it because we haven't started

10   drawing retirement yet.

11          Q    I see.    So you didn't get any distributions or

12   anything?

13          A    No, I've never gotten any distributions, no.

14          Q    Okay.    Was anyone else with Mr. Swensen when he

15   told you about Crew Fund?

16          A    Yeah, and that's hard -- I think I mentioned this

17   before -- that's hard to remember.      It's hard to not

18   remember but to know exactly.     So he -- it was always just

19   me and Steve, right?     He would also give the presentations

20   himself for years and years and years.       And then he brought

21   some help on, right?     So his -- I think his first help was

22   Jacob -- what's Jake's last name?

23          Q    Jason?    Was it Jason Kimber?

24          A    Kimber.   Jason Kimber.

25          Q    Okay.



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 1        A    So he kind of brought on -- like he didn't go into

 2   a lot of detail of who he -- it was just it was implied

 3   like, "This is my assistant or an employee that I hired."

 4   And you could tell -- like they would try to present the

 5   presentation and then Steve would help him, guide them

 6   through the presentation.    So he was training them and

 7   teaching them, right?    And then so yeah, I never got into

 8   any structure of his -- I just assumed he was an employee.

 9   And then more and more they would present more than Steve.

10   And then to be honest, when Jake Cazier came on I thought it

11   was the same guy because their name sounded --

12        Q    Right.

13        A    Sounds kind of close and I hadn't seen him in a

14   year, right, or you know, close to a year.

15        Q    Yeah.

16        A    And he's kind of in the background on the Zoom

17   call, whatever.    So it wasn't until, you know, not too long

18   ago -- actually before all this happened -- that I thought

19   it was kind of the same guy, right?    I didn't even know it

20   was a different person.

21        Q    Okay, right.

22        A    So yeah, they're always -- they were kind of there

23   in the background, yes.    So Jake Cazier, the last -- I don't

24   know -- 4 to 6 reviews, he did most of them and Steve was

25   just there to answer questions.    But that was -- that --



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 1   now, when I had questions about -- we had a real issue with

 2   this Jackson fund that Steve made a big mistake so, you

 3   know, in that presentation Steve did most of the talking

 4   because Jake had no idea what -- because he didn't know the

 5   details.    So --

 6        Q      Okay.   So do you recall Jake or Jason ever talking

 7   to you about Crew Fund or making representations about Crew

 8   Fund?

 9        A      Yeah, I mean, again not in any -- he -- the

10   correct answer is "Yes."    Crew Funds is on my income plan,

11   right?   It's 1 of the 8 line items so of course Jake's going

12   to present, here's what the number is today.     You know,

13   "You've got a million in there.    Last review you had a

14   million, it's grown to this much."    And then he shows the

15   line item.    There's never a discussion about setting up the

16   fund or how the fund worked or anything because at that

17   point, like I said, is once you have the money in the fund,

18   you're not discussing that.    You're only discussing, "How

19   much did it grow?    Where's it at today?   How much did it not

20   grow," right?    It went backwards because of the -- that type

21   of thing.

22               So he's there from that standpoint of showing it

23   as part of the income plan and I think I told you this in

24   emails, I don't know that I ever got a detailed prospectus

25   or anything from Steve.    And like a couple of my friends of



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 1   course like, "What are you?   An idiot?"   I'm like, "Well, 20

 2   years of knowing --

 3        Q    You trusted him, right?

 4        A    Well, when they hand you a prospectus it's 700

 5   pages of that legalese stuff that you just gave me.     It's

 6   like, I don't know what it's telling me.    I gotta go -- he's

 7   my financial advisor.   It was supposed to be for a reason

 8   because I don't have 24/7 to go understand that.     Just like

 9   him and Jacob.   It's what they're being paid for.    So --

10        Q    Right.   So you trusted him to put you in the safe

11   investment as he told you?

12        A    Yeah. Absolutely, yes.

13        Q    So you said you don't recall any documents but did

14   he -- did you read the website to see how the fund worked or

15   anything like that?

16        A    Well, I've -- yeah, I've been to the website many

17   times and it's -- I mean, you're basically logging into your

18   account so you're seeing what -- so it pay -- on pay -- you

19   know, it was paying you every day, right?    So it -- the way

20   the fund works is it assumes you're going to get a 5 percent

21   annual so it's paying you a daily deposit based on that.       So

22   you can see the daily deposits.    And then when you're

23   anniversary date came up, it would look at what did the S&P

24   500 do?   So that's what it was indexed against.   And if the

25   S&P 500 did 9 percent, then you got an extra 4 percent lump



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 1   sum.    If the S&P did 12 percent, you got your max 10.    And

 2   if the S&P did minus 10, you got nothing in addition to the

 3   5 percent that you were getting for the year -- you know,

 4   daily for the year.   So that -- of course I used it for --

 5   you know, there's 1099s on there, Interest Income.      I had to

 6   use that for tax purposes, right?   And then there's

 7   quarterly statements and stuff on the website.

 8              So to my knowledge, right, it was like same as

 9   logging into Fidelity or America Funds or Charles Schwab.

10   It looks like a real account.   And that's the discussions

11   I'm having with Jake right now is, "How do I know the rest

12   of my money's okay, right, and in real funds?"    And that's

13   been obviously the point of discussion with Jake for the

14   last 2 months.

15          Q   Okay.   So we'll talk about -- about those

16   discussions in a -- a little bit later.   So you also

17   mentioned on the website there was a withdrawal button but

18   you never used it?

19          A   Correct.

20          Q   Is that right?

21          A   That's correct.

22          Q   But that it -- it appeared that you could just

23   push the button and withdraw money?

24          A   And I just -- that's why I asked Steve, I go, "If

25   I want to start withdrawing $10,000 a month what do I do?"



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 1   "You just gotta just click the 'withdraw,' and you just say,

 2   '$10,000 a month,' and it'll set up -- put in your bank

 3   account information and it'll send you the information."

 4   I'm like, "Okay."    But I wasn't ready to do that because --

 5   you know, Steve was like -- he told me 15 -- 10 years ago,

 6   "You can retire now if you want."    And I'm like, "No, I'm

 7   not comfortable with that."    So we've never drawn money out

 8   of it -- out of anything.

 9         Q   And when -- when you invested in Crew Fund, how

10   did you invest?    Was -- did you just pay cash or a check or

11   --

12         A   I just wrote a check to Crew Funds.

13         Q   Okay.    So you just wrote a personal check?

14         A   Yes.

15         Q   And do you know where it was deposited or --

16         A   No, I don't.

17         Q   Okay.    Did you have any dealings with the Bank of

18   Utah, regarding Crew Fund?

19         A   No.

20         Q   No?    Okay.

21         A   I actually didn't know -- I didn't know about any

22   banks -- I didn't know any of those connections.    Again, it

23   was just like if I was sending money to Schwab.    I would

24   write a check to Schwab.    Steve would send me a Fed-Ex

25   envelope, right, or just -- I'd Fed-Ex the check to Schwab,



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 1   to him, or America Funds.     So from my point of view, Crew

 2   Fund was the exact same as Fidelity.     It just -- he told me

 3   it was, right?

 4        Q      Right.

 5        A      It wasn't -- yeah.

 6        Q      Do you remember if you sent the check to Steve?

 7        A      Yes, I did.

 8        Q      Okay.

 9        A      So any investment that I've given him money I've

10   always sent him a check -- to my knowledge, if I remember --

11   Fed-Ex'd to him.     But it was always made out to whatever

12   fund and then he did whatever submission of paperwork

13   theoretically, right, with the money to do that.

14        Q      So this wasn't an IRA?   You just put cash in,

15   right?    Correct?

16        A      Well, some of the accounts I have are IRAs but I'm

17   still writing a check to Schwab.

18        Q      Okay.    But it's -- but it -- but the Crew Funds is

19   not IRA money?

20        A      The Crew Fund is not IRA money, yes, that's true.

21        Q      Did you say you've received periodic statements

22   regarding your Crew Fund investment, other than the website?

23        A      No, I don't think I did.   I think they were all

24   online.    I don't think I got any real statements but --

25        Q      Oh, on the web --



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 1          A    I'm not positive on that but I'm not recalling

 2   any.    And when I looked to see if I -- so the reason that's

 3   a little confusing is because I'm paperless everything.       In

 4   fact, I had to ask Fidelity 45 times to put -- send me

 5   statements because I -- I hate them, right?     So trying to

 6   get the paper -- so all of my investments are online.       Go

 7   download the PDF if I can get them to do that because I want

 8   the mail.

 9          Q    That makes sense.   So you said you made additional

10   deposits into Crew Fund after your initial deposit.      Did --

11   was that based on anything that Steve Swensen said to you?

12   I mean, did he suggest that or how did that come about?

13          A    Same as how it got -- Crew Fund got set up in the

14   first place is that I have cash right now sitting in a bank

15   account.    I've got enough money, hopefully, in the other

16   buckets.    The long -- the more I could build up bucket one,

17   the longer I could let the rest of the investments mature,

18   right?     So that was the solution, the initial solution.    And

19   once you get stock options, that's what we were doing is

20   just putting it in -- in the Crew Funds.

21          Q    Okay.   I'm going to now show you an exhibit.    This

22   will be Exhibit 15.    Okay, can you see that now?

23          A    Yes, uh-huh.

24          Q    Okay.   We've marked this as Government Exhibit 15.

25   This is a document that you provided to us.     Do you



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 1   recognize it?

 2        A    Yes, I think so.   Yes.

 3        Q    Is this something that you wrote yourself?

 4        A    Yes.

 5        Q    And what was the purpose?

 6        A    You were asking me questions about what happened

 7   and I was trying to summarize stuff to pull it all together

 8   into one document, I think, to try and make it easier.

 9        Q    So this is kind of your story of what happened?

10        A    Yes.

11        Q    That you wrote for -- for the SEC?

12        A    Yes.

13        Q    Okay.   And this -- this second half of the first

14   page where, "The way the fund was supposed to work paid a

15   minimum of 5 percent annually and a maximum of 10 percent

16   based on the S&P 500."   That's what you were explaining

17   before in testimony, correct?

18        A    Let me -- I'm scrolling down so I can see what you

19   were just saying.   But yes, that's what I was describing.

20        Q    Oh, can you see?   Okay.   And then let's go to the

21   next page.   And this looks like a -- is this a screenshot of

22   the Crew Capital Crew Funds website?

23        A    Yes, it is.

24        Q    So this is the -- the website -- crewfunds.com is

25   where you went to see your balances?



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 1         A     That's correct.   Yes, that's correct.

 2         Q     Okay.    And then we scroll down to the next

 3   screenshot and it says, "This was your initial $500,000

 4   deposit."    And today's balance -- or at the time you wrote

 5   that the balance was $1,045,935, correct?

 6         A     No.    So --

 7         Q     Oh.

 8         A     The balance was at 1 million when I put 500,000

 9   into it.    So --

10         Q     I think at the time you wrote this document --

11         A     Oh, at the time I wrote -- I can't remember if I

12   put 500,000 in first and then 200,000.     Maybe that's what it

13   was. I can look real fast if you want me to?

14         Q     That's okay.

15         A     Yeah.    So the initial investment -- well, what's

16   the date on here, '19?     Yeah, so that would have been the

17   initial -- so the first deposit was 500,000 and then I think

18   200,000 and then another 200,000 -- 7, 9, so yeah.      That's

19   what we put in -- 5, 2, and 2.

20         Q     Okay.    And then you also earned interest on -- on

21   --

22         A     Right.

23         Q     On those funds.

24         A     Yes.

25         Q     On page 3 this just has information about Steve.



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 1        A    Okay.

 2        Q    And the same with page 4.    There's a Summit

 3   Capital, which is where Steve worked.    And then there's a

 4   screenshot of a May 20, 2022, income plan.    And was that

 5   give to you by Steve Swensen?

 6        A    Yes.    It says, "Prepared by Jake," on there but

 7   this is -- yeah, the income plan was the main thing that

 8   Steve gave me every, you know -- or initially, every month

 9   pretty much, and then every quarter, and then twice a year.

10        Q    Okay, got it.

11        A    Alright.   So this is the main thing that we would

12   always review so it has Jake's name on there.    It has Oak

13   Lane Advisors on it.   And just a comment is -- is actually

14   just like -- not just like Jake and Jacob.    But it's Summit

15   Capital versus Oak Lane Advisors.    Steve changed the parent

16   group, or whatever used it, multiple times.    And I'd always

17   ask, "Who did you change to again?"    And why was he -- his

18   answer was, you know, he was changing his business model and

19   these guys have some offering that somebody else doesn't

20   have.

21             And then he changed --- my understanding is he

22   changed the type of advisor that Steve was over his career.

23   So like initially whatever it's called, he could not charge

24   1 percent or anything.    He could only get paid by the mutual

25   fund from their marketing.    Like so it didn't actually cost



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 1   anything.    But then he changed licenses or advanced his

 2   license and stuff and then he could not charge the 1

 3   percent.    But so -- but probably once every year or two it

 4   seemed like, you know, he would have a new parent group that

 5   he was with.

 6        Q      Okay.    Interesting.

 7        A      Do you know how he got paid?    Did you pay fees to

 8   Mr. Swensen?

 9        A      No.   I mean, I never paid him any fees directly so

10   he's getting his 1 percent or whatever -- like I said, when

11   we first met it was all mutual funds.      And my understanding,

12   the way he described it to me was, the mutual fund has --

13   just pick a number -- has a 3 percent marketing budget and

14   if I don't have a financial advisor and I own that fund,

15   then that money doesn't go anywhere.     But if I have a

16   financial advisor, then Steve would get paid 1 percent from

17   those managers.      So it never came out of my pocket, it was

18   money just sitting there.

19        Q      Okay.

20        A      But when he changed licenses, then he's getting

21   paid 1 percent directly from Oak Lane or however their

22   system works.     But I never -- I've never written a check

23   ever for 1 percent to buy --

24        Q      I see.

25        A      To Steve.



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 1        Q      I see, okay.   Okay, I'm going to -- I'm going to

 2   now show you Exhibit 16.     All right, it takes a minute to

 3   load.

 4        A      That's okay.

 5        Q      This is Government Exhibit 16.   It's an email.     It

 6   is February 4th, 2020, from Jake Cazier to Mark Fox and

 7   Steve Swensen.      Do you recognize this email?

 8        A      No.

 9        Q      Okay.   So is it -- did you receive emails from

10   Jake with the income plan?

11        A      Yes.

12        Q      Okay.   So this -- probably just you don't remember

13   it but this would have been something that you would have

14   received?

15        A      Yeah, it would have been something I received for

16   sure from Jake or Steve about income plans.        But that says

17   2020 and that's 2 ½ years ago.     And like I said, I'm -- I

18   get emails from Jake and Steve all the time.

19        Q      Yeah.

20        A      I can't -- I only see, "Best."   I'm not sure what

21   the rest of it just says.     So anyway -- but that's -- so

22   this -- hold on, I'll tell you in a bit.     So this is -- what

23   they normally would do is they would, you know, we have

24   something scheduled for a call on a Zoom call or whatever

25   this one was, right, this Google Hangouts or something.        So



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 1   they would send me the income plan usually sometimes the day

 2   before, sometimes a minute before the meeting because they

 3   had just put it together I'm guessing.     And then that's what

 4   we would go over is that income plan.

 5         Q    Okay.    Did you usually meet in person or by phone

 6   or --

 7         A    Almost always on a Zoom -- I actually haven't seen

 8   Steve in person in 15 years.     I moved from Utah to Florida

 9   back in 2008 so I've not -- I don't remember seeing him

10   since then.   So.

11         Q    Okay.

12         A    I haven't been back in Utah, so.

13         Q    Now, can you see Government Exhibit 17 on your

14   screen?

15         A    Yes.

16         Q    Okay.    This says it's a February 22 -- 2020 income

17   plan for Mark and Barbara Fox.     Is this an -- on the first

18   page it says, "Prepared by Mark Fox."     That's probably not

19   correct.   Did you prepare this?

20         A    No, did not.   It should say --

21         Q    "Prepared for Mark Fox"?

22         A    Yes, that's a typo.

23         Q    Okay.    So this is -- this is the income plan that

24   you'd get either -- it started out monthly and then now it's

25   --    A    Right.



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 1        Q     Okay.

 2        A     Yeah, that is the standard.   That's the typical

 3   plan.    And of course it -- you know, the look -- it changed

 4   over time because I was actually trying to help Steve with

 5   his business and, you know, I was one of his first clients.

 6   So I'd tell him, "You're presenting this wrong.    Here's what

 7   -- how it should look.   Here's the right format."   So like

 8   several things that you see in there are -- over time, are

 9   things I told him to do so that --

10        Q     Okay.

11        A     -- he would present stuff better.

12        Q     So if you look on page 2, it looks like there's a

13   list of investment accounts and Crew Fund is one of them?

14        A     Yes.

15        Q     Do you see that?   So that -- that would show your

16   balance?

17        A     Yes.

18        Q     And your increases it looks like.

19        A     So what that is real fast is, this is the main

20   thing that we review, right, is the balance on these income

21   meetings that we have, income plan meetings.    Our basic --

22   our reviews would center around this document.    And what

23   that would show, it's just showing February 4th, second to

24   last column, and here's the market value for everything.

25   And then the GET was guaranteed values for annuities.    So



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 1   there was two different numbers.    There was a market value

 2   and how much is that guaranteed to pay you over time when

 3   you pull the trigger and start drawing money from it.

 4          Q   Oh, okay.

 5          A   So Jackson and Genworth, so like I said, the first

 6   big mistake Steve made was on that Jackson, it really

 7   doesn't pay me that 1.1 million, which is another nightmare

 8   that happened about 8 months ago.    What had happened there

 9   real quick was I got a letter that -- or a statement from

10   Jackson which I never looked at that close but it surprised

11   me.    It said you've maxed out on your -- your investment.    I

12   mean, what does that mean?   So I asked Steve and he goes,

13   "Uh, I don't know."    He looked into it and he was like,

14   "Yeah, you maxed out so you can't draw -- you can't earn any

15   more money

16                So he's like -- so that was a debate, never been

17   told that.   So then what he told me was, "You need to start

18   drawing $50,000 a year out of Jackson so that the ceiling

19   can come down and it can grow 5 percent."    So we were all

20   excited about getting an extra 50k a year.    My wife wanted

21   this fun fund.   And then when we pulled the trigger on that,

22   that's when he found out this annuity didn't do what he

23   thought it did and so there is a huge mistake there of over

24   a million dollars in future revenue that we should have got.

25   So we ended up selling the Jackson for that market value



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 1   which sucked because it was only half the price.

 2          Q   Oh, right.

 3          A   So then Jackson I don't have anymore.      We sold it

 4   for 644 and then we bought what you now see as the 2 other

 5   Charles Schwab accounts.    I showed you the most recent one.

 6          Q   Okay, got it.   Thank you.    Okay.   I'm going to

 7   show you next Government Exhibit 18.      Okay, can you see

 8   Exhibit 18 now?

 9          A   Yes.

10          Q   Okay.    And this is something that you provided to

11   us.    Could you tell us what this is?

12          A   It -- well, so this is just -- yeah, the account

13   summary for Crew Fund that shows, you know, our name of

14   course.    It's got the index date, so it's -- again, it's

15   index against the S&P 500.    So the 5 to 10 percent rate that

16   I get is based on whatever last year's S&P was, right?        So

17   that's what that 43.73 thing is, right?      So it's showing --

18   so for example, earning $68,000 so that is -- so it's

19   deposits, $850,000.     So I put in -- I sent 5, 2, -- it must

20   have been 5, 2, and 150, because it's 850.       There's the 5 at

21   --

22          Q   Right.

23          A   And then -- it's earned 119,000.      Year-to-date was

24   68,000.    And then the graph is just showing the growth again

25   that it's paying you daily at a 5 percent rate until the



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 1   anniversary date, which would give it a bump or the bump --

 2   where the big bump is where I put in, you know, more money;

 3   500k --

 4        Q    Got it.

 5        A    Then 200, right?    So -- and that's one thing in

 6   the end that what I'm talking about which is -- I'm not sure

 7   how much you'll tell me if anything.     But like for example

 8   -- which makes it a mess -- I lost a million dollars it

 9   looks like.    That's 68,000 in all those 1099s.    I've paid

10   taxes on it.    So I had to pay interest.

11        Q    I was going to ask you about that, yeah.

12        A    So all those 1099s I've paid, you know, income

13   tax, earnings on that 68k.    So I had to pay extra 15-20,000

14   that -- until you guys --

15        Q    Right.

16        A    Make some judgement or criminals, I -- I've

17   already researched this.    I could take the million dollars

18   as a loss.    I could go to the IRS.   But for example, for me

19   to file an amendment I can only go back 3 years so I'm going

20   to lose all this if I don't do it by October.      So if I don't

21   do it in -- in the next 3 weeks, file a tax change, I can't

22   go back and do anything about money I paid interest on that

23   I don't have.

24        Q    I see.    That's not a good situation.

25        A    What I've been told is -- no.     What I've been told



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 1   is the SEC, you guys, somebody has to say there's been some

 2   wrongdoing and there's been some kind of theft to -- so I

 3   can claim there's a theft and take some action on it.     So in

 4   the end, I want to talk about where are you guys at.     But

 5   anyway, keep going with your questions.     But --

 6          Q   Okay.

 7          A   -- to answer your question, that's what this is.

 8          Q   Yeah, I just -- one more thing about this Exhibit

 9   18.    Is it -- was this -- where did you get this?   Was this

10   from the website?

11          A   Yes.    It's off my account on the website.

12          Q   Okay.   So you just printed it out?

13          A   Yes.    I can log in -- as of yesterday, this is the

14   account.   The website's still running and I can go -- I can

15   go see that at zero -- 1,045,000 says it's 1,-51,000 today.

16          Q   Okay, I see.   Okay.   I'm going to now show you

17   what we've marked as Exhibit 19.     This is also a document

18   that you provided to us.

19          A   Okay.

20          Q   So this is again a document you provided to us,

21   which it says it's the 2021 Form 1099 showing interest

22   income.    Can you tell us what this is?

23          A   Yes.

24          Q   So you were talking about the 1099?

25          A   Yeah, this is a 1099 off the Crew Fund website in



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 1   my account that I have to go print out to -- for our tax

 2   return to get to our accountant that shows my interest

 3   income was 68,00 so I've got to pay capital gains on that.

 4          Q    Okay.    So you always just got it off the website?

 5          A    That's correct.

 6          Q    Okay.

 7          A    Well --

 8          Q    And every year you paid taxes on interest you

 9   earned on Crew Fund?

10          A    Let me take that back.   I'm not sure if I ever got

11   one in the mail.      I'm guessing I just got it offline.   But

12   yes, I have to pay taxes every year on that interest income.

13          Q    Okay.    And for 2021, that was 60 -- over $68,000

14   in interest that you had to pay taxes on?

15          A    Right.

16          Q    Is that right?

17          A    If you want to give me one second I can log in.

18   Yes.    But in the year before it was going to be something

19   less than that.      But if you want me to look real fast I can

20   or do you not want me to?

21          Q    Oh, that's okay.   That's okay.   Let me show you

22   now what we've marked as Exhibit 20.     Oh, let's -- I think I

23   did that wrong.      And again, this is a document you provided

24   to us.     It's Mark and Barbara Fox, May 2022 --

25          A    It hasn't come up, so --



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 1          Q   -- income plan.   Yeah.

 2          A   Cheryl, it didn't come up yet.     I'm still --

 3          Q   Okay, sorry.   It's still loading.    Do you see it

 4   now?

 5          A   It says, "Exhibit 20," -- yes, okay.

 6          Q   Okay.   So this is something you provided us.     Is

 7   this just what we've talked about before; your regular

 8   income plan for May 2022?

 9          A   Yeah, I'm trying to -- it's not moving very fast

10   but yeah, that's what it looks like.      It's the same format.

11          Q   Okay.   So this is probably the last time that you

12   met with Steve?

13          A   Yeah.   If it was May of 2022, yeah, I would say,

14   you know -- yeah.     He passed in June or something, right?

15   So --

16          Q   Okay.

17          A   But yes.    That would be my guess, right?   It's

18   scrolling really slow so the date you say was May?

19          Q   Yeah, May 2022.

20          A   So that would have been the last one, yes.

21          Q   Okay.   Let me show you what we've marked as

22   Exhibit 21.   It's being slow.

23              MS. MORI:    Trevor?   This document's not loading

24   for some reason.

25              MR. BURKE:   Yeah, is it -- so it's Exhibit 21?



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 1               MS. MORI:    Yeah.

 2               MR. BURKE:   It could be -- it could be the size of

 3   that file.    Let's see.   Did you already select it?

 4               MS. MORI:    Yeah.   It looks like -- let me see if I

 5   can -- let me see if I can share my -- okay.       Can you see

 6   that now?

 7               THE WITNESS:   It's small but I can see it and I

 8   know what it is so --

 9               BY MS. MORI:

10        Q      Okay.   So this is something you provided to us,

11   which has the title, "Crew Capital Group Index Account."

12   Can you tell us what this is?

13        A      So yes.   You had asked me on email if I had a

14   prospectus -- I think you or somebody did -- and I was like,

15   "I don't know."     I went and looked for it.    I couldn't find

16   a prospectus.    Like I said, this being Crew Funds this was

17   one of the later.     I wouldn't have looked at it real close.

18   I would have just gone with Steve's recommendation.       I don't

19   recall ever getting this ahead of time but I might have.         I

20   just don't know.      It didn't look familiar so I -- that's --

21   the email that you asked me is -- I asked Jake, I go, "Is

22   there a prospectus for Crew Capital?"       And his answer was,

23   "There's a summary sheet that he would show potential

24   investors."    I go, "Can I have that?"     And Jake said, "Yes,"

25   so that's the document that Jake gave me a month or 2 ago



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 1   when you were asking me about it.    So --

 2        Q    Okay.

 3        A    Now, to my case in point, I read that document 4

 4   times.   I still have no idea what kind of investment it

 5   really is.   So it was like -- I would have just gone,

 6   "That's confusing."   If it's 5 to 10 percent and it's

 7   guaranteed to do that and it's safe -- and there's no reason

 8   for me not to believe it wasn't -- I would have done it

 9   anyway had I reviewed that, because it would have been just

10   like Jackson or the other ones where I read it.    For example

11   like on Jackson, I read it 5 times and then Steve and I

12   would spend weeks going through back and forth.    And he

13   would document in MOUs for me that I would make him do that

14   what it really means in layman's terms because you couldn't

15   understand this legalese or financial-ese language.

16        Q    Right.

17        A    "Read that on your own.    "Tell me what that" --

18   invested in.

19        Q    Right.

20        A    So that's --

21        Q    So you did not -- sorry.    Go ahead.

22        A    No, I'm done.   I was done.

23        Q    Okay.    So you didn't receive this until after

24   Steve's death?

25        A    I'm not positive of that but I think that' true.



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 1        Q     Okay.   But -- but this particular document you

 2   received from Jake -- Jacob Cazier?

 3        A     Yeah, sorry.   That one I got from Jake after

 4   Steve's death when I asked for, "Is there a prospectus?"

 5        Q     Got it.

 6        A     He said, "This is what I know of that Steve would

 7   give to clients."     So -- and Steve may have -- very well

 8   have given that to me in 2019.    And honestly if he did, I

 9   would have looked at it -- I would have read it once and

10   said I've got to -- "I don't want to read this again" and I

11   would have gone, "Okay, fine," right?    Same as any other

12   investment.   So --

13        Q     So you relied completely on Steve's

14   representations to you about Crew Fund?

15        A     Yes.

16        Q     To make the decision to invest?

17        A     Yes.    And for the most part as I -- annuities and

18   even in the early days and stuff was like, "Why Jackson?"

19   "Why is this the right thing to do?"    "Well, it's guaranteed

20   income.   It does this.   Here's how much it cost you.   So it

21   costs, you know, quite a bit on the front end but it's

22   guaranteed income."    And so I mean his explanations made

23   sense.    When they didn't, like I said is I have a lot of

24   MOUs and stuff over the years explained to me in laymen's'

25   terms what this is in income.    "Sign it," blah, blah, blah.



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 1   But for this one I did not because I've known him for 20

 2   years and to be honest, I mean, it's a lot of money -- it

 3   was 500k -- but it was like I had 4 million, 5 million other

 4   investments.     It's like -- it's not like where, you know, an

 5   attorney tells me, "You're an idiot for giving him money."

 6   I was like, "Okay, you read that and tell me what that

 7   says."

 8        Q      Right.

 9        A      -- loans, blah, blah, blah.   Okay.   And so like I

10   said, Steve was -- I trust him.     He was supposed to be the

11   expert, right?

12        Q      Yeah.

13        A      When I first met him he was just starting his

14   business.    I guess a side note is the first time I met him

15   was with his dad in his office, right?     His dad was a

16   professor teaching him all this stuff at a university so it

17   was all -- I got a lot of confidence from his father too

18   that they knew what they were doing as a team -- when I

19   first started.      So after beating him up for several years --

20   and again, I beat that to death but that -- it's not like

21   I'm an idiot but it is -- you know, I'm a rocket scientist

22   and designer and inventor.     I'm not a financial advisor.

23        Q      Right, well --

24        A      If I was a financial advisor I wouldn't need one

25   right?   So --



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 1        Q     Yeah, I understand.    Did you ever telephone Crew

 2   Capital?

 3        A     Did I ever telephone them?    No.

 4        Q     Okay.

 5        A     Now to be honest, I don't know that I've called

 6   any of them, the other investments, until now.       So I've got

 7   Jake calling them.   I'm calling them.    Getting letters from

 8   people, "Do I really have money left in these other

 9   accounts"?

10        Q     Yeah.

11        A     Or trying to.

12        Q     Can you see that exhibit?    I'm trying to see if I

13   can --

14        A     Okay, it was sideways.    Now I can, okay.

15        Q     Yeah, okay.   This -- I'm showing you what's been

16   marked as Government Exhibit 22, which is a document you

17   provided to us.    Can you tell me what this is?

18        A     This was a presentation I put together for --

19   after Steve's death, for Jake and Jacob to let them know

20   where my head was at, right?     "So do I fire you guys?"    Uh,

21   "Do I move on?"    "What do I do?"   That whole thing is, you

22   know, "Is my money okay?"    The answer was, "Yes."     Then I

23   found out the Crew Fund's not.

24              So I just went through a lot of what I just told

25   you was past confidence building, right?       How I met Steve.



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 1   We were hangar mates.    I met his dad.   I just mentioned

 2   that.   He moved to consolidate the accounts together, which

 3   is what I asked him to do before he became my financial

 4   advisor.   We did monthly reviews, how the assets worked.    So

 5   I asked a lot of questions about death, fraud, guarantees,

 6   FDIC, SBIC, what are all the acronyms and stuff that are

 7   protecting these assets.    Then we moved to one, two reviews

 8   a year.    I don't know if you want hit each bullet but

 9   anyway, that's what this document is.

10              The nest egg software was his bucket strategy, was

11   really good and the software was good but he was using it

12   for financial advisors only.    I said, "There's a market, I

13   think, for consumers."    So I re-built all that software

14   under a platform called Nest Egg Software, and I tried to

15   sell it to consumers but I didn't -- my wife is like if you

16   spend 100 bucks on a marketing and it doesn't work, quit.

17   So we didn't get very far with it so that ended up dying.

18   But I did workshops with him.

19              I teach creative thinking for business.    In Salt

20   Lake, I had several keynote presentations and workshops I

21   did for his clients for free.    He never paid me for any of

22   that stuff.   But -- and to be honest, I'm surprised I

23   haven't got that knock on the door yet.     But as far as lead

24   generation of friends and stuff, I recommended lots of my

25   friends to him.   I don't know who ended up being clients



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 1   because I stayed out of it once I introduced them because I

 2   didn't want to be in the middle of anything.    So I 'm

 3   certain I have some friends in Utah and elsewhere that were

 4   his clients as well that maybe they weren't in the Crew

 5   Fund, which is why I haven't gotten that phone call, right?

 6         Q   Uh-huh.

 7         A   But that's what this document was.    It was just

 8   walking through past confidence.    But the intent was I was

 9   trying to explain to Jacob and Jake -- it's not scrolling

10   down in the next slide but I know what it looks like.     It's

11   --

12         Q   Okay.    Yeah, I can -- okay.

13         A   Okay.

14         Q   Do you see the next one?

15         A   Yeah, it's sideways but I'll load it again.

16         Q   Yeah, let me rotate it.    Oh, wrong way.

17         A   Right.

18         Q   Sorry.

19         A   So I was just trying to explain --

20         Q   So -- go ahead.

21         A   Okay.    Yeah, the first slide was kind of the past

22   confidence building prior to Steve's death and then, I

23   guess, this all happened kind of prior to Steve's death as

24   well, the erosion?

25         A   This is all prior his Steve's death but it was



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 1   just some flags that popped up, right?    We had this -- I

 2   asked him -- I had some cash.   I don't remember how long ago

 3   it was -- like same thing.   She had some options.    "What

 4   else can we put it in?"   He had some life insurance thing

 5   about -- with some lady that he could buy her life insurance

 6   and when she died we got 3x or something and I'm like, "I

 7   don't the sound of that one."   He's kind of like, "Well,

 8   we're doing her a favor because she needs cash."     So I know

 9   -- and I almost -- I don't remember how much -- got ready to

10   write him a check for that and then at the last minute he

11   said, "No, this doesn't" -- "it doesn't do what I think it

12   does."   So he was going to invest in it as well and so

13   neither one of us did.

14              I already mentioned to you this multiple advisor

15   changes.   I jokingly, or not, said, "What do you got,

16   somebody in the crosshairs on you that you" -- "Why do you

17   keep changing advisory all the time?"    And he'd give me a

18   logical answer but -- and this rebalancing stuff that they

19   do in the background, I don't know what they really do.

20   They keep telling me, you know, they buy high, sell low and

21   it's stuff that they constantly do -- that financial

22   advisors constantly do.

23              But he did sell like -- he sold some stock and

24   bought a couple hundred grand of Oracle and we never had

25   that conversation.   So I was like, "Steve, when did you" --



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 1   "I didn't know you could even sell and buy stuff like that."

 2   And he was like, he goes, "Uh, you told me to do it."      I'm

 3   like, "No, I didn't."    So fortunately it was Oracle which we

 4   have quite a bit of stock in.     But so that was all stuff

 5   that again, over 20 years of once in a while something would

 6   happen but it wasn't that big a deal.     And I did -- I've

 7   never put this chart together, Cheryl, until after the fact,

 8   right?   It's, "Okay, do I keep: --

 9        Q      Right, right.

10        A      It's like, "Okay, do I keep Jake and -- right?

11   And then the Jackson was in the last 8 months.     That was by

12   far the biggest mistake.    It was at about 1.3 million in

13   income over 20 years that I was promised by that asset and

14   then didn't get it.

15               So then -- and this still irks me.   I just talked

16   to Jake again today, right?     Is -- here's what's very

17   frustrating for me personally is, no one at Oak Lane

18   Advisors has ever apologized, sent a letter, nothing.

19   Nobody has told me anything about the money missing, except

20   Jake.    You haven't, right?   Nobody's come and said, "There's

21   a crime," but my money's not there, and so something bad has

22   happened.

23               So it's like why was there not any internal cross-

24   checking, external audience?     Oak Lane Advisors' name is on

25   every one of those or Summit Capital.     I go, "Does anyone



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 1   there read the damn thing or look at it?"      And the answer

 2   is, "I can handle it."    No.   And then I ask that question, I

 3   go, "Is it illegal what he did and was a crime committed?"

 4   And Jake's answer was, "What he did isn't illegal."      "If you

 5   fire" -- "He can start his own fund, but he has to file all

 6   the SEC paperwork," blah, blah, blah.      And he didn't appear

 7   to do all that is what it looks like.

 8              So that's as far as I -- which is exactly where

 9   I'm at today, to be honest.     It's   why we're meeting today.

10   Do I fire these two guys?    Do I move on?    What do I do?    And

11   I'm in this limbo where that's where I'm at right now.        I

12   don't honestly believe Jake knew this.      Maybe it's a crappy

13   business set-up that they had that they weren't checking

14   each other's stuff.   But from my point of view he was an

15   employee or something, right?     He was a resident guy in

16   learning is all I knew.    He showed up at the meeting in the

17   background and helped present, right?

18              So this is like -- this whole document, to answer

19   your question, is really geared towards, you know, trying to

20   answer me and my wife's question is why -- "Do we get rid of

21   these guys?"   "Do we go with somebody else?"     Then I just

22   described some of my personal pain, which is real.      I just

23   came back -- as you know, I was in Utah for two months.        I

24   was on a ballooning vacation.     It was the most expensive of

25   my life.   And I couldn't really enjoy it as much as I wanted



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 1   to because of this, right?    And I couldn't -- I was in

 2   Airbnbs for two months.   And I may have to go -- I haven't

 3   had a corporate job in 18 years.    I may have to go back to

 4   Kennedy Space Center next week, right?    I'm talking to

 5   people right now about a job.

 6             So real quick, this device that I've been working

 7   on for three years, it costs a lot of money to pull the

 8   trigger on mold tooling, which I just did two weeks ago,

 9   which I can't -- I'm afraid to even do.    You get it, right,

10   because -- so again, the whole presentation was one, to make

11   them two feel bad, right?    And understand if I say you're

12   fired, why are you fired?    That was my heart-to-heart with

13   them six weeks ago.   So that's a long answer to your

14   question of what was the intent of this document.

15        Q    Okay.   No, that makes sense.   That is a lot of

16   pain.

17        A    Yeah, I mean 87 Dreams -- I'm a hot air

18   balloonist.   We were going to -- my wife, who's a -- just

19   real quick how painful this is.    She's going to retire --

20   was going to retire next year.    She's already hired her

21   replacement, like on contract to take her job, and we were

22   going to go fly balloons called 87 Dreams.    We were going to

23   go fly disadvantaged families around the country for free,

24   because I've never charged --

25        Q    Oh, wow.



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 1        A      So I had banners made up and everything to go do

 2   this, then run around for a year or two and just give free

 3   balloon rides.    I can't afford --

 4        Q      Oh, wow.

 5        A      I can't afford to do that now, right?   So the next

 6   steps we're (audio cuts out) right?     Do we recover the

 7   funds?   What do you guys do?   What happens?   What if 3

 8   million of the 30 million -- all the questions I asked you

 9   -- what part of it shows up?    What if his family has the

10   funds?   What about his personal assets and his airplanes and

11   updates from you guys?   And do I hire an attorney, which is

12   -- to be honest, I contacted Morgan & Morgan, which is the

13   most frustrating thing ever.    The guy's like oh, he won't

14   even give you an update on anything -- whether they're doing

15   anything.    The only answer I get is, "Ah, things take time,"

16   right?

17               And then the good news/bad news is I have -- my --

18   we have 200k to invest in short term money right now.       I was

19   that far away from putting it in Crew Funds, right, because

20   that's where it should have gone.     So now I'm like, "What do

21   I do with it?"    And so that's the good part, is I still have

22   some money there.

23               But anyway, so these -- again, this whole

24   presentation was directly towards Jake and Jason going, "Now

25   what?    If I fire you you'll understand it," and they both



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 1   get it.    They're both pretty sincere like, "We understand.

 2   Guilty by association.     What kind of mark -- "We understand

 3   where you could be coming from.     I've got the same

 4   conversation with all the other clients, right, of Steve's."

 5              And I get it.    I don't know Jake that well, you

 6   know, personally of course, but it sure feels like in his --

 7   but I was tricked by Steve too -- but it sure looks like in

 8   his attitude that, you know, his career got ruined --

 9   getting ruined too, right?     It is potentially.   And it's

10   like, "Are you thinking about just getting out of the

11   financial advice?"    And he said, "Maybe, because this is

12   horrible," you know?   So --

13          Q   Yeah.

14          A   Simple long answer to your question of what was

15   for.

16          Q   No, I appreciate that.    I did want to go through

17   those because I think those were all important points that

18   you made in that document.     Now, so how did you learn that

19   Steve Swensen died?

20          A   I was sitting here in my office.    Jake called me

21   the day after he died and he goes, "I have some really bad"

22   -- as soon as he said that -- he goes, "really bad."       I go

23   -- I knew he was going to say Steve died.     He goes, "Steve

24   died yesterday," and I'm like, "Okay.     What did he die of?"

25   And he goes, "The family's not talking about it."       So I



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 1   went, "Hmmm."   So I didn't say it because of emotional

 2   stuff.    It's like, "It's horrible to hear.   He was a friend

 3   of mine.   "Okay, is my money okay?"    He's goes, "Yeah, all

 4   you money's fine.   Don’t worry about that," blah, blah,

 5   blah.    So left it at that.

 6              I had promised to take Jake for a balloon ride 8

 7   months earlier so I said, "I'm still going to Utah in a

 8   couple weeks.   Do you want to go for -- I'll still take you

 9   for a balloon rider or whatever. So after I hung up I told

10   my wife and of course immediately I was like okay, if the

11   family's not talking about it it's suicide or drug overdose

12   or both.   That's the only 2 things there are, okay, if the

13   family's not going to talk about it.     So I didn't know what

14   it was.

15              So I took Jake ballooning after July 5th, so July

16   10th, 12th, whatever.   After we got done ballooning we're

17   sitting around and I just said, "So any more information on

18   Steve's death?"   And he's like, "Yeah, he committed suicide.

19   He hung himself."   So they gave me some back detail and --

20   that he knew or that he would share and I'm like -- and then

21   he just kind of casually goes, "So Crew Fund looks like a

22   fund that wasn't set up correctly."     And I'm like, "What?"

23   And I go, "So what happens if I try to withdraw money out of

24   it?"    He goes, "You can't."   "So where's the money?"   "I

25   don't know."    "What do we do?"   "I'm talking to the SEC."



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 1   You know, he's like, "Everyone's on the same side here,

 2   Mark, trying to figure out where the money is and what

 3   bank."

 4              So I'm just sitting there kind of shocked

 5   obviously going, "Now what?"    "I don't know," right?   I go,

 6   "Can I talk to the SEC?"    "Yeah."   So I asked Jake, "Give me

 7   their contact info," so he gave me your contact information

 8   and I got a hold of you.    So --

 9        Q     Okay.   So it sounds like you've been talking with

10   Jake and Jason -- are they working together now?

11        A     It's always been confusing.

12        Q     Oh.

13        A     So my understanding -- so -- I've been talking to

14   Jake for these questions like, "What am I doing?"     I talked

15   to Jason because -- I never talked to Jason but maybe once a

16   long time ago.     My understanding is when Steve and Jason

17   broke up -- which I didn't know that happened -- is Jason

18   took the annuities and Jake -- we just had this conversation

19   the other day -- Jake doesn't have a license to manage the

20   annuity, right?    So I asked Jason, I go, "So Jason, I never

21   talked to you but maybe once in my life in 20 years -- 15.

22   Do you get paid every year from this annuity?"     He goes,

23   "Yes."    I'm like, "Okay, well I've never gotten it."

24              So I didn't know that business arrangement, of

25   course.   I was getting all my stuff from Steve and from my



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 1   perspective, they all worked for Steve.    I didn't know

 2   they're in different brokerages or whatever.    So the way it

 3   is right now, that Genworth account is under Jacob because

 4   he is under a brokerage that can have annuities.    Jake

 5   cannot.

 6        Q      Oh, I see.

 7        A      So Jake's telling me I can -- "Me and Jason talk

 8   every day.    I can report the numbers but I can't really give

 9   you advice on that annuity."    You know, that parts a mess.

10   And then Jacob's like, "I don't even like annuities.     You

11   should just get rid of it."    I'm like, "Well why the hell do

12   I have it?"    Because -- and he goes, "Well, they serve a

13   purpose.    If you need guaranteed income then they're there.

14   And you know, it's what Steve was -- I believe -- was trying

15   to recommend back then was, "This is what's best for you at

16   the time.    Was, "You want a guaranteed income and retiring

17   at a certain age.    And so that's why we got Jackson and

18   Genworth."    But anyway -- so I don't even remember what you

19   question was now.

20        Q      Yeah.   Oh, I was -- we were talking about Jason

21   and Jacob working together.

22        A      Yeah, so they -- they -- Jake tells me they talk

23   to each other every day or whatever but --

24        Q      Okay.

25        A      But -- and now Jake's like, "If you want me to be



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 1   your account -- or your financial advisor going forward, if

 2   you keep that Genworth you've got, you're still going to

 3   have Jacob on it.   If you want to sell it and put it in a

 4   stock, then I can manage it.   But I can't manage that

 5   because I don't have a license under a brokerage to handle

 6   an annuity."

 7        Q    Oh, right.

 8        A    Now everything I just described to you, Cheryl --

 9   I didn't understand that until the last 2 months.    I just

10   thought they were Steve's employees.

11        Q    Right.

12        A    It was always -- not presented that way.    It was

13   always assumed that way.   It was like having a meeting with

14   you and Trevor shows up to the meeting.   You assume you have

15   something do to with you in the same office, right?

16        Q    Right.

17        A    But -- and that wasn't -- so --

18        Q    Okay.    So do you recall anything else -- either

19   Jake or Jason said to you about Crew Funds?

20        A    No, no.   Besides what I --

21        Q    Okay.    So currently it sounds like they're still

22   your advisors, Jake and --

23        A    They -- well, they both are.

24        Q    Okay.

25        A    So I have to take action to pull them off of it



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 1   and I've not done that yet because when I do that, then

 2   certain things can't happen, right?   If I need to trade or

 3   do --

 4        Q    Right.

 5        A    I've got to go get somebody else to do it and

 6   quite frankly, I still need advice like this new investment

 7   thing.   I don't have Crew Fund anymore.   Where do I put

 8   bucket one money?   And Jake and I -- right first call were

 9   talking about, you know, corporate bonds and what are bond

10   ladders and where do you think the smartest place to go is?

11   And of course, he's scrambling trying to keep his clients,

12   right?   To figure out how he's -- not going to go -- we both

13   joked a little about we might both be working at Chik-Fil-A

14   next week.   Who knows, right?

15        Q    Oh, gosh.

16        A    The only other thing that you asked me about Crew

17   Fund -- and I've said this before but I'm not sure I said it

18   in this call -- is just what Jake has told me since Steve's

19   death is like how do you -- you know, when I'm asking in

20   that chart, "Where's the cross reference?    Where was it?

21   And he's like, "Steve just always said he was handling that

22   piece of it, you know?   And he would give me the number to

23   put in the income plan."   Jake's comment to me -- I've had

24   4-5 conversations with him since Steve's death, somewhere in

25   there was like, "I think maybe, Mark, I caught him and I



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 1   didn't know I caught him, reported him," because I kept --

 2   he was buying -- my understanding was he was buying the

 3   business from Steve, or a big chunk of it.    So he would buy

 4   it from him so he kept asking for more information on Crew

 5   Fund to pull stuff together.

 6             And my understanding, Jake told me that he

 7   contacted somebody at Oak Lane and said he couldn't get the

 8   stuff from Steve or whatever and Steve was furious with him.

 9   And then he told me that whoever at Oak Lane fired Steve.

10   And I was like, "Oh, okay.   Didn't know he actually reported

11   to somebody that he could get fired."   I thought they were

12   just -- so all of those little details -- I said, "Okay,

13   well if he got fired something bad happened here," right?

14   So that -- and Jacob told me -- I only learned this on

15   Steve's obituary when I saw the last name was the same as

16   Jacob's and I'm like -- so I just flat out asked Jacob on

17   the call, "Are you related to Steve?"   And he was like,

18   "Yeah, I'm married to his" sister, cousin or something.    I'm

19   like, "Never heard" -- again, "I'm not really mad about not

20   disclosing that but it might have been something, had I ever

21   talked to you, to know that.   But --

22        Q    Okay.

23        A    So then he goes -- I go, "So what do you think

24   happened?"   I go, "Where is this money?"   He goes, "He

25   didn't spend it.   He just" -- Jakes comment was, "He's this



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 1   really smart guy but I think he's an idiot.    He just set

 2   something up and did it wrong and realized he's probably

 3   going to jail or things were -- or maybe he did spend all

 4   the money."   So I was like, "When I knew him he had SES

 5   airplanes but not $30 million worth of airplanes.    I mean,

 6   he had a Kit Fox.    For starters, it's the same value of

 7   plane that I have.   It's $30,000, right?   But I know he has

 8   airplanes now that are more expensive.

 9               But anyway, that's the only thing I got around

10   Crew Funds was both of them were like his lifestyle wasn't

11   like he spent that money.   So like did he give it to his

12   kids?   Did he give it to his mistress?   What did he do?    And

13   they're like -- and, you know, Jacob's comment was, "Man he

14   had some of his best friends in this fund.    I mean, absolute

15   personal best friends.   And he made a comment something to

16   the effect of, "I don't think he'd do this to so and so."

17   And when he said that I'm like -- he said his first name.

18   He was talking about his father, who I knew had passed.      So

19   I guess his father or his mother were in this fund too --

20   all that.

21               So I know the information's going this way.   Is

22   there any information that can come this way about what are

23   you guys doing with the timeline?   Because like I just said,

24   I need to go talk to my tax guy now and I -- you told me you

25   can't do anything until it's public.   Is there any timeline?



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 1   There's a crime involved in that.      I gave him money and it's

 2   not there and it was promised to me.

 3        Q      Yeah.   Unfortunately --

 4        A      I mean, I know that's -- sorry.

 5        Q      I'm sorry.   We can't really share any information

 6   but -- so we are a civil agency so we don't prosecute crime

 7   -- criminal activity.    So we would -- so if we do find, you

 8   know, wrongdoing, violations, then what we would do is file

 9   an action in the federal district court here in Utah and

10   that's when things would become public.      But unfortunately,

11   we can't really, you know, give you any information about

12   that.

13        A      Is there any timeline at all if that happens or it

14   doesn't?

15        Q      It can take -- you know, investigations kind of

16   run the gambit as far as timeframes so it's hard to

17   estimate.    But we are working as fast as we can on this.    We

18   know that there are a lot of anxious people and we're trying

19   to resolve things as quickly as possible.      And we appreciate

20   you providing testimony because that also helps us as we

21   move forward.    Mr. Fox --

22        A      That's almost --

23        Q      I just have a few more -- oh, go ahead.

24        A      I was just going to say, that's almost word for

25   word what I knew you were going to tell me.



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 1        Q    Yes.

 2        A    Go ahead.

 3        Q    So were you aware or did Steve ever tell you that

 4   he was involved with Crew Fund personally, that he had

 5   involvement?

 6        A    Involvement what?   Crew Funds what?

 7        Q    In Crew Funds, like personal involvement?

 8        A    No, he did not.

 9        Q    Okay.    You just assumed Crew Funds was -- we

10   talked about this -- like a Schwab or a Fidelity?

11        A    That's exactly how he presented it.    And when I --

12   when I asked him there must be a lot of money in here to be

13   able to float the logic stuff, you know, and the -- he goes,

14   "Yes, there is."   And at that point he would have -- he

15   would have said, "Yeah, it's my fund," or something and then

16   I obviously would have remembered that.   He didn't say

17   anything like that, no.

18        Q    Right.   And would you have invested in Crew Funds

19   if not for Steve's representations to you?

20        A    Well, I don't know how to answer that.    He's been

21   my financial advisor for 20 years.   So I mean -- yeah, if I

22   had a new financial advisor and somebody came along and they

23   said, hey -- and they presented it in the same way, there's

24   a 5 percent, 10 percent return and it's presented as a

25   legitimate thing, then yeah, I would invest in it I assume.



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 1        Q    Right.   But if you -- what about if you had known

 2   what you know today?    Would you have invested in the fund?

 3        A    Are you serious?    Of course not, okay?   No.   If I

 4   would have known it's not a real fund then of course, I

 5   wouldn't invest in it.

 6             MS. MORI:    Joni, do you have any questions before

 7   we finish up?

 8             MS. OSTLER:    Actually, yeah, if you'll humor me.

 9             BY MS. OSTLER:

10        Q    I mean, I just -- I'm not sure I fully understood

11   that Exhibit 22.   And I just want to make sure that I --

12        A    Okay.

13        Q    -- understood it and that it's clear on the

14   record.   So Mr. Fox, you wrote this past confidence building

15   side and the confidence erosion side here?

16        A    Yes.

17        Q    -- this specific side, before Steve died?

18        A    No, after.

19        Q    Oh, okay.    So you wrote all of this after Steve

20   died?

21        A    Yeah.    This was a presentation I gave to Jacob and

22   Jake to tell them what me and my wife are feeling thinking

23   about moving forward after Steve's death and do we fire you

24   guys and move to a new financial advisor or what do we do?

25        Q    So you gave them that presentation and they were



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 1   together when you gave the presentation?

 2        A      No.   We were all on a Zoom call.

 3        Q      When was that?

 4        A      I can look at the exact date on it but roughly,

 5   you know, 5 weeks ago, 6, something like that.

 6        Q      So like this summer, like July?

 7        A      Well, yeah.   I mean, I got to Utah on July 5th,

 8   which means I ballooned with Jake on the 10th.     So it would

 9   have been, you know, 4 or 5 days after that.     So the 15th or

10   something of July, somewhere in there.

11        Q      Okay.   And the bullet point that says, "Nest Egg

12   Software," what was that?

13        A      So again, as I said is I took the logic of the

14   bucket strategy because Steve was always sell -- he was only

15   selling his bucket strategy to other financial advisors, his

16   software.    And I said, "Are you going to a consumer base,

17   right, to try and sell it to average people as an investment

18   tool?"   And he's like, "No, that's a good idea."    I said,

19   "Well, the way you have it built it's built for financial

20   advisors.    Let me go build one that looks like a consumer

21   version."

22               So Nest Egg Software was what I called what I

23   built as a business and that's why I mentioned it.     It never

24   -- I built the whole thing like I do a lot of stuff -- I've

25   started 14 companies in 10 years.     I built that one.   It



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 1   took me a year and then I spent very little money on

 2   marketing it and I didn't' sell much so I just dropped it.

 3   So it was a platform that I built so a consumer could do the

 4   same thing I'm doing without a financial advisor as far as

 5   bucket strategy for income.

 6          Q     Okay.   And the bullet point that says, "Death,

 7   theft, fraud, guarantees, government backing, MOUs, et

 8   cetera," what was that referring to?

 9          A     So 20 years of conversations, "Steve, what happens

10   when you die?"       "What happens if you steal the money from

11   me?"    "What if it's fraud?"    "What's the guarantees?"

12   "What's the government backing?"      "Tell me what SPIC means."

13   "What does FDIC mean?"      "How much does it cover?"   "I need a

14   Memo of Understanding of how Jackson actually works."       So he

15   wrote MOUs and stuff that said, "Jackson will pay you," for

16   example.     Or Jackson was -- "It's gaining 5 percent per

17   year.      When you pull the trigger on it to draw money out of

18   it you're going to get 5 percent of the balance until the

19   market balance is zero.      Then you have a million dollar

20   guarantee at the end that pays out for the next 10 years."

21                So all of that stuff was, "Put that in writing.

22   So get it out of the legalese," right?      "I don't understand

23   that part.     Put it in letters and memos," which he did. And

24   we went back and forth on a lot of that and that was the

25   first big mistake is, that wasn't true about that on



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 1   Jackson.   So that's -- where I put past confidence building

 2   was the conversations that we constantly had.     "What happens

 3   when you die, Steve?"   "Well, I'm with this parent company.

 4   They're backed by this." " What happens if you steal from

 5   me?"   "SPIC will cover 500k per account per person.     Or

 6   FDIC's 250 grand."   Okay?   So that's the government backing.

 7              So I just had this exact same conversation with

 8   Jake again today.    "Go back through the assets that I

 9   actually own still," right?    "Which ones are SPIC?"    "Which

10   ones are FDIC?"   "What is really protected if Jake steals my

11   money?"    And so that was just the confidence building I said

12   earlier on that I beat Steve up a lot on the early years of,

13   "How do I protect my money?"

14              So as you guys can imagine -- if you can imagine

15   me personally, I spent 20 years trying to make sure this

16   didn't happen and it did, right?     I did everything I could

17   with all these investments, beating him up, beating him up.

18   "Prove to me."    "Prove to me."   "Show me this."   And he was

19   very polite and cordial and did what I asked, right?      And so

20   I have piles of MOUs.   I've got more documentation but I

21   don't have all that with Crew Funds because as I've already

22   said an hour-and-a-half ago was, by the time I got to Crew

23   Funds 3 years ago, that was a short-term -- I don't want to

24   put it in Bank of America when I put it type thing.      There

25   wasn't a lot of discussion about it so --



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 1        Q     Can you tell me again what Steve said to you about

 2   SPIC?

 3        A     So he -- well, I'm going on memory and stuff, but

 4   it's fresh in my mind today because I just had the

 5   conversation with Jake.   So FDIC or SPIC, anywhere you have

 6   cash or stocks is, what is protected if there's fraud or

 7   something happens.   What if Schwab disappears, right?    And

 8   so let's pick Schwab.   So what I was told is on your

 9   account, it's guaranteed by SPIC for $500,000 per name per

10   account.   So -- we just went through that today.    So one

11   where I have $300,000; if that got -- disappeared because

12   Schwab went out of business, the FDIC would come in and pay

13   that back.    If you have 700,000, you'd get 500,000 of it

14   back and you'd lose 200,000.

15              So it's those details that I'm now asking Jake, "I

16   already covered this 15 years ago.   Let's go back over that

17   again about the money I do have left," because that's -- so

18   my number 1 concern -- what I told Jake was, whether I keep

19   you or not is, "I don't want any" -- "no more negative

20   surprises," okay?    That's what we say in aerospace, right?

21   Rockets.   "No more negative surprises."    That's the number 1

22   goal.    Number 2 is, "What money do I have left, assuming

23   Crew's gone?"   And, "Do I have to go get a job or not?"

24              So, "Is this stuff protected?"    "How well is it

25   protected?"   How -- and Jake even told me today, he goes --



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 1   uh, you know -- he goes, "I'll be honest with you about

 2   SPIC.      They don't have enough money in that kitty to cover

 3   everybody if everyone went south, but they do if Schwab went

 4   out.    But not if all," right?    So it's those conversations

 5   of risk management of my money and how do I stop this from

 6   happening again?

 7                I understand the market fluctuations.    I'm never

 8   talking about that.     You can't protect that.   It's just --

 9   and what I've been asking -- and nobody can answer this, any

10   of them -- is this errors and omissions insurance that all

11   of these advisors must carry, what does it cover?       Does it

12   cover what Steve did?      Nobody can answer that.   Can I buy my

13   own insurance to cover what you guys don't cover?       Who

14   knows, right?

15                So I'm trying to learn all of that stuff with

16   these conversations is, what's errors and omissions cover?

17   Not one person has answered that.      And they don't know.   I

18   honestly think Jake -- "I don't know.      We have the insurance

19   because it requires us to have it."      It's kind of like my

20   hangar insurance, my airplane, I'm required to have

21   insurance.     It didn't cover anything.   It's some weird

22   liability thing that the hangar people want.      It doesn't do

23   anything for me.     But if I want to live there, I've got to

24   pay it, right?     So --

25          Q     So did Steve tell you that if he committed fraud



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 1   and took your money, that SPIC would cover that?

 2          A     No, he did not.

 3          Q     Okay.

 4          A     I just asked him, what if -- it was more jokingly.

 5   I said, "If you stole my money, what happens?"        And it's

 6   kind of like -- that was more of a joke.      It was more of,

 7   "What happens when you die?      What happens next?    Who do I go

 8   to?"    And most of it, honestly -- I'm sorry.    What is your

 9   name again?

10          Q     I'm Joni.

11          A     Joni.   Most of it, honestly, was around the trust.

12   That me and my wife at the same time in a car wreck or my

13   airplane, where the money goes after -- I go, "Who do they

14   call," right?     I've got a nephew who's -- can't remember the

15   name so, "Steve, I can't call you."      "Who else could they

16   call?"     "Where do they go?"   "What do they do?"    So it was

17   more around us dying and how do we -- we don't have any

18   kids.      How do we give money to not go back to the bank or

19   something.

20                So that was most of it.   The fraud part was more

21   of like a joke, right?     There was never a lot of discussion.

22   It's like -- and you wouldn't have that, right?        You

23   wouldn't have a detailed discussion, "Steve, what's going to

24   happen when I steal from you," right?      So we never had that

25   conversation besides, like I said, kind of jokingly.         There



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 1   was never -- no, he never guaranteed, If I stole, this is

 2   what would happen."

 3        Q    Okay.   And has Jake -- can you tell me what Jake

 4   specifically has told you about SPIC?

 5        A    Just what he told me today again was, if Schwab

 6   went out of business or there was -- he did say, "If I stole

 7   money from you, then SPIC would come in and cover 250k or

 8   500k, depending on whether it's cash or a stock account."

 9        Q    So Jake said the SPIC covers you if he steals your money?

10        A    I think that's what he said.

11        Q    Okay.

12        A    I said, "theft," right?    I said if there's theft

13   or -- well, in that chart, in that way I just read it, theft

14   -- if something happens, Charles Schwab went -- yeah, I'm

15   pretty sure he said that.    But most of it was around if the

16   accounts -- and Jake's leaning towards -- like America Funds

17   is trillions of dollars.    Schwab is trillions of dollars.    I

18   can't -- his whole argument was, "I can't steal it from you.

19   I can't take it and do anything with it.    It's in these" --

20   so getting all these statements for this assurance -- I've

21   asked him, "I want a written letter from each one of these

22   people telling me that, "Yes, my money's still in the

23   account," and blah, blah, blah.

24             And he's got a couple letters he's said, right?

25   He was starting to show them to me today but I had to get



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 1   off the call for you guys.    And he goes, people like America

 2   Funds -- I have it.   When I call Fidelity they're like, "Go

 3   to hell.   I mean, it's a 401(k) and we're not writing a

 4   separate letter for you," right?    It's -- "Here's your

 5   statement," is what they're saying.    "Your statement says

 6   you've got this much money and it's under Fidelity."     You're

 7   like, "Okay."

 8              So I asked, "Put a little matrix together who's

 9   giving you additional assurance that our money is there."

10   But all of it's kind of like, you get it.     He's a -- I

11   honestly because he was trying for the last 2 weeks to do

12   what I asked him to do; calling people trying to get

13   additional insurance that something bad can't happen.       But

14   they're trillion dollar organizations, right, with tens of

15   thousands of advisors calling, right?

16          Q   Okay.   So let's go back to the web address that

17   you were able to check you Crew Funds balance on.

18          A   Go back to what?   I'm sorry.

19          Q   The web -- you were talking earlier about the

20   website that you were able to check your Crew Funds balance

21   on?    Do you remember the web address of that?

22          A   Yeah, I was just showing it.    It was

23   crewfunds.com, I think.

24          Q   How did you get access to that website?

25          A   Steve set me up.



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 1        Q     So Steve sent you your user name and password?

 2        A     That or he sent -- I don't remember.    That or he

 3   sent me a link to set up an email or password.     So I'm not

 4   sure how it was set up.

 5        Q     Okay.   Did you ever have trouble getting into that

 6   website, like you forgot your password or got locked out?

 7        A     No.   And to be honest, I didn't go into it that

 8   often because I'm just looking at the income statements,

 9   right?   And I'd go in -- honestly, I'd look at it once in a

10   while but if there's no reason for me to go in -- the main

11   reason I go in is to get the 1099s for my taxes.

12        Q     Okay.

13        A     Or you know I'd go in -- I'd check once in a while

14   and say, "All right, is it still getting paid daily?"     The

15   main time I'd check is, of course, was on the anniversary

16   date.    I would go, "Did I get a lump sum of 50 grand or

17   something because the market did 10 percent?"     So I'd check

18   that every time and 1099s and stuff for taxes.     But yeah, I

19   don't want to -- I don't want to sit there and look at money

20   all day long.    It was like, you know, I've got other stuff

21   to do.   So I -- like I said, I backed all the way off into

22   sometimes once a year doing an income review because it was

23   like, we're on track.   I don't want to worry about -- I

24   don't want to look at it every day and worry about it so we

25   just -- so yeah.



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 1          Q    Okay.   Did you ever have occasion to talk to Jacob

 2   Cazier about the website?

 3          A    Well, I've talked to him quite a bit since Steve's

 4   death, right?      Same thing as I said --

 5          Q    I mean before -- before Steve's death.    Did you

 6   ever talk --

 7          A    No.

 8          Q    Okay.

 9          A    Not that I know of.   There was no reason to,

10   right?     It is -- again, I wasn't talking to Jake a whole

11   lot.    I talked to Steve.   Jake would be the guy that, well,

12   he was training to present the income reviews with me and

13   he'd be on the calls.     But if I'm calling someone with a

14   question -- only in the maybe last year would I text Jake

15   because Steve didn't answer or Jake was the one who was

16   responding.     So I would like just go to him because it was

17   obvious that Jake was doing most of the work and putting it

18   together and probably knew the answer quicker than Steve

19   did.    So --

20          Q    So -- okay, switching gears. You said you had a

21   hangar with Steve, of an airplane -- you were hangar mates?

22          A    Yes.

23          Q    Were you hangar mates up to this year when he died?

24          A    No.    I moved from Utah to Florida in 2008.

25          Q    Okay.   Did you happen to know what airplanes Steve



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 1   owned at the time of his death?

 2        A    I don't know which -- well, no.     I mean, he had a

 3   Kit Fox that he sold.    I know he had his dad's airplane.     So

 4   when his dad died he had an airplane.     He had a Cirrus SR22

 5   that I don't know if he sold or not and I -- it wasn't a

 6   Pilatus but it's -- I have a picture of it somewhere.     What

 7   was it?   It's not a Pilatus.   It's not a Keenair.   It's a

 8   single turbo prop.    I can't remember right now but it's a

 9   more expensive airplane, yes.

10        Q    And Steve would talk to you about the planes he owned?

11        A    Yeah, of course.    I've flown with him.

12        Q    Okay.

13        A    I've flown in -- well, you know, his smaller

14   planes.   His Cirrus 22, I've flown in.    The Pilatus, or what

15   -- I think it was a Pilatus that we got that -- I didn't fly

16   in that one because he got that since I moved.     And I never

17   flew in his dad's plane.    It was his sport plane.

18        Q    Okay.   So in the last year before his death, did

19   he talk to you about buying additional airplanes?

20        A    No.

21        Q    Okay.   That's all the questions I have.    Thank you.

22             MS. MORI:   Thanks, Joni.

23             BY MS. MORI:

24        Q    Mr. Fox, before we go off the record, is there

25   anything else that you would like to add or clarify that we



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 1   haven't talked about?

 2          A   Yeah, go find my money.

 3          Q   Okay.   Thank you so much.     We're going to go --

 4          A   I'll send you -- I'll send you guys a postcard

 5   every day if I have to get a job.

 6          Q   Okay.

 7          A   Here's a picture of me at work and I don't need to

 8   -- I can't be here.

 9          Q   All right.

10              BY MS. OSTLER:

11          Q   But Mr. Fox, you know that we may not find it

12   right?

13          A   Yes, I do.

14          Q   Okay.   Just wanted to make sure.

15          A   But -- he can't spend $30 million.      It's got to be

16   somewhere.    It's either -- his wife's got it.       His kid's got

17   it.    His mistress got it.     Because it's not in his

18   airplanes.    It's not.   Even if he bought a Pilatus, they're

19   not $30 million and I know he didn't buy it.       So that money

20   is somewhere.

21              MS. MORI:    Okay.    Thank you so much.    We're going

22   to go off the record at 11:37 a.m.

23              (Whereupon, at 11:37 a.m., the examination was

24   concluded.)

25                                 * * * * *



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 1                       PROOFREADER'S CERTIFICATE

 2

 3   In the Matter of:      STEPHEN ROMNEY SWENSON

 4   Witness:               Mark Fox

 5   File No.               SL-02881-A

 6   Date:                  Thursday, September 8, 2022

 7   Location:              Salt Lake City, Utah

 8

 9               This is to certify that I, Christine Boyce,

10   (the undersigned), do hereby certify that the foregoing

11   transcript is a complete, true and accurate transcription of

12   all matters contained on the recorded proceedings of the

13   investigative testimony.

14

15

16   _______________________             _______________________

17   (Proofreader's Name)                 9-19-2022

18

19

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25



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 1                       REPORTER'S CERTIFICATE

 2

 3   I, Jemima Nobleza Euell, reporter, hereby certify that the

 4   foregoing transcript is a complete, true and accurate

 5   transcript of the testimony indicated, held on 9/8/22, at

 6   Salt Lake City, Utah, in the matter of:

 7   STEPHEN ROMNEY SWENSON.

 8

 9   I further certify that this proceeding was recorded by me,

10   and that the foregoing transcript has been prepared under my

11   direction.

12                9-19-2022

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SEC,

Our financial advisor, that we've known for about 20 years, has been managing our investment accounts
in anticipation for our upcoming retirement. I have spent 20 years trying to make sure this was done
with FDIC and other government agency backing to reduce risk. But unfortunately, this still happened.

Our financial advisor committed suicide about five or six weeks ago. We were told that all our
investments were safe, but we recently found out from his partner that at least one fund was created by
our financial advisor outside of the normal filings and SEC type paperwork. So, it's something he created
on his own, so there's a lot of unknowns, whether the money is in investments, whether it's gone, etc.
We just don't know. The financial advisor's name was Steve Swensen, I believe he lived in Layton UT.

I actually knew him fairly well. We shared an airplane hangar for years and we started a couple
businesses together. So, this is a huge shock.

His business partner has informed us at this fund has a lot of unknowns - not even sure what bank it's
connected to etc. I am told by him that the SEC is investigating, but I have no personal contact with the
SEC yet.

The fund is called Crew Capital Group. The web address is crewfunds.com. Here are some screenshots of
what our account looks like when you log in.

https://www.crewfunds.com/



The way the fund was supposed to work is it paid a minimum of 5% annually and a maximum of 10%
based on the S&P 500. It's supposedly paid you a daily rate assuming 5% annual and then on the
anniversary date, if the market did say 8% for the year, you would get an additional lump sum of 3%.
The logic being the fund manager owner is banking on long term stock market results being something
like 13% so that since it's never paying more than 10% in the long term the fund would still make money
for the money manager.

The attraction for the investor is short term management of money without any risk because of the 5%-
10% guarantee. So, the fund was to be used for money to be spent in early retirement, where 5% is way
better than your checking account interest rate of nearly 0%.

As you can see, we have/had slightly over $1 million in the account. Of course, there are many other
clients that he had that also have money in this fund. I was told by his partner roughly $30 million was in
the fund. I don’t not know how many clients he had, probably a few hundred.
Summit Capital




The current group he was with is Oak Lane Advisors




Let me know what questions you have and I will try to provide what I know, which unfortunately is not
much more than I laid out here ☹
